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                                                                                        Southern
                                                                                                           000953
                                                                           COMPLX, DUPFILER, LEAD, COMPLX


                                                      U.S. Bankruptcy Court
                                                Southern District of Texas (Houston)
                                                  Bankruptcy Petition #: 20-30336
                                                                                  Date filed: 01/21/2020
 Assigned to: David R Jones
 Chapter 11
 Voluntary
 Asset



 Debtor                                                         represented by Matthew D Cavenaugh
 McDermott International, Inc.                                                 Jackson Walker LLP
 757 North Eldridge Parkway                                                    1401 McKinney Street
 Houston, TX 77079                                                             Ste 1900
 HARRIS-TX                                                                     Houston, TX 77010
 Tax ID / EIN: XX-XXXXXXX                                                      713-752-4200
                                                                               Email: mcavenaugh@jw.com

                                                                             Jeffrey L Diamond
                                                                             J Diamon Assoc PLLC
                                                                             730 North Loop
                                                                             Houston, TX 77009
                                                                             713-227-6800
                                                                             Email: Jeffrey@jdiamondandassociates.com

                                                                             Ciara Foster
                                                                             Kirkland & Ellis LLP
                                                                             601 Lexington Ave.
                                                                             New York, NY 10022
                                                                             212-446-4800
                                                                             Email: ciara.foster@kirkland.com

                                                                             Christopher T Greco
                                                                             Kirkland & Ellis LLP
                                                                             601 Lexington Ave
                                                                             New York, NY 10022
                                                                             212-446-4800
                                                                             Email: christopher.greco@kirkland.com

                                                                             Anthony R. Grossi
                                                                             Kirkland & Ellis LLP
                                                                             1301 Pennsylvania Avenue, N.W.
                                                                             Washington, DC 20004
                                                                             (202) 389-5000

                                                                             John R. Luze
                                                                             Kirkland & Ellis LLP
                                                                             300 North LaSalle
                                                                             Chicago, IL 60654
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                             1/133
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                                                                                                         000954
                                                                         312-862-2000
                                                                         Email: john.luze@kirkland.com

                                                                           Kristhy M Peguero
                                                                           Jackson Walker LLP
                                                                           1401 McKinney St
                                                                           Ste 1900
                                                                           Houston, TX 77010
                                                                           713-752-4440
                                                                           Email: kpeguero@jw.com

                                                                           Veronica Ann Polnick
                                                                           Jackson Walker, LLP
                                                                           1401 McKinney St.
                                                                           Suite 1900
                                                                           Houston, TX 77010
                                                                           713-752-4200
                                                                           Fax : 713-754-6716
                                                                           Email: vpolnick@jw.com

                                                                           Joshua A Sussberg
                                                                           Kirkland & Ellis LLP
                                                                           601 Lexington Avenue
                                                                           New York, NY 10022
                                                                           212-446-4800
                                                                           Email: joshua.sussberg@kirkland.com

 Debtor                                                      represented by 850 Pine Street LLC
 850 Pine Street LLC                                                        PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                      represented by A & B Builders, Ltd.
 A & B Builders, Ltd.                                                       PRO SE
 5324 Gorman Rd.
 Beaumont, TX 77705
 JEFFERSON-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                      represented by Aiton & Co Limited
 Aiton & Co Limited                                                         PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                      represented by Arabian CBI Co Ltd.
 Arabian CBI Co Ltd.                                                        PRO SE
 3rd Floor Sadat Tower-Dammam-Khobar Hwy
 Al Khobar

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                                                                                        Southern
                                                                                                        000955
 OUTSIDE U. S.
 Saudi Arabia 31952
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Arabian CBI Tank Manufacturing
 Arabian CBI Tank Manufacturing Company,                                   Company, Ltd.
 Ltd.                                                                      PRO SE
 3rd Floor Sadat Tower-Dammam-Khobar Hwy
 Al Khobar
 OUTSIDE U. S.
 Saudi Arabia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Asia Pacific Supply Co.
 Asia Pacific Supply Co.                                                   PRO SE
 71501 North Division Street
 Plainfield, IL 60544
 WILL-IL
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Atlantic Contingency Constructors II,
 Atlantic Contingency Constructors II, LLC                                 LLC
 757 North Eldridge Parkway                                                PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Atlantis Contractors Inc.
 Atlantis Contractors Inc.                                                 PRO SE
 1501 North Division Street
 Plainfield, IL 60544
 WILL-IL
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Catalytic Distillation Technologies
 Catalytic Distillation Technologies                                       PRO SE
 10100 Bay Area Blvd.
 Pasadena, TX 77507
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I (US) Holdings, Limited
 CB&I (US) Holdings, Limited                                               PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Brazil Holdings,Inc.
 CB&I Brazil Holdings,Inc.                                                 PRO SE
 2370 Towne Center Blvd.
 Baton Rouge, LA 70806
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                           3/133
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                                                                                                   000956
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Canada Ltd.
 CB&I Canada Ltd.                                                         PRO SE
 2900-550 Burrard Street
 Vancouver V6C0A3
 OUTSIDE U. S.
 Canada
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Clearfield, Inc.
 CB&I Clearfield, Inc.                                                    PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Cojafex B.V.
 CB&I Cojafex B.V.                                                        PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Connecticut, Inc.
 CB&I Connecticut, Inc.                                                   PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Constructors Limited
 CB&I Constructors Limited                                                PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 United Kingdom
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I El Dorado, Inc.
 CB&I El Dorado, Inc.                                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Energy Services, LLC
 CB&I Energy Services, LLC                                                PRO SE
 10404 Twin Port Road
 Delcambre, LA 70528
 IBERIA-LA
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    4/133
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                                                                                                   000957
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Europe B.V.
 CB&I Europe B.V.                                                         PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Fabrication, LLC
 CB&I Fabrication, LLC                                                    PRO SE
 2370 Towne Center Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Finance Company Limited
 CB&I Finance Company Limited                                             PRO SE
 10 Earlsfort Terrace
 Dublin 2, Ireland
 Dublin D02T380
 OUTSIDE U. S.
 Ireland
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Financial Resources LLC
 CB&I Financial Resources LLC                                             PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Global Operations International,
 CB&I Global Operations International, Pte.                               Pte. Ltd.
 Ltd.                                                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Global Operations US Pte. Ltd.
 CB&I Global Operations US Pte. Ltd.                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Global, L.L.C.
 CB&I Global, L.L.C.                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
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                                                                                                   000958
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Group Inc.
 CB&I Group Inc.                                                          PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Group UK Holdings
 CB&I Group UK Holdings                                                   PRO SE
 40 Eastbourne Terrace
 London, England
 OUTSIDE U. S.
 United Kingdom
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Holdco International, LLC
 CB&I Holdco International, LLC                                           PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Holdco, LLC
 CB&I Holdco, LLC                                                         PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Holdings (UK) Limited
 CB&I Holdings (UK) Limited                                               PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Holdings B.V.
 CB&I Holdings B.V.                                                       PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 06 LLC
 CB&I Houston 06 LLC                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX

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                                                                                                   000959
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 07 LLC
 CB&I Houston 07 LLC                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 08 LLC
 CB&I Houston 08 LLC                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 09 LLC
 CB&I Houston 09 LLC                                                      PRO SE
 757 North Eldridge PArkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 10 LLC
 CB&I Houston 10 LLC                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 11 LLC
 CB&I Houston 11 LLC                                                      PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 12 LLC
 CB&I Houston 12 LLC                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston 13 LLC
 CB&I Houston 13 LLC                                                      PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Houston LLC
 CB&I Houston LLC                                                         PRO SE
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                                                                                                   000960
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I International One, LLC
 CB&I International One, LLC                                              PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I International, Inc.
 CB&I International, Inc.                                                 PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I International, LLC
 CB&I International, LLC                                                  PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Lake Charles, L.L.C.
 CB&I Lake Charles, L.L.C.                                                PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Laurens, Inc.
 CB&I Laurens, Inc.                                                       PRO SE
 366 Old Aiport Road
 Laurens, SC 29360
 LAURENS-SC
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I LLC
 CB&I LLC                                                                 PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I London
 CB&I London                                                              PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    8/133
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                                                                                                   000961
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Matamoros, S. de R.L. de C.V.
 CB&I Matamoros, S. de R.L. de C.V.                                       PRO SE
 Calle Guillermo Gonzalez Camarena 560
 Parque Industrial La Ventana. Carr.
 Matamoros-Reynosa KM 9.6, Matamoros
 Tamaulipas 87360
 OUTSIDE U. S.
 Mexico
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Middle East Holding, Inc.
 CB&I Middle East Holding, Inc.                                           PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Nederland B.V.
 CB&I Nederland B.V.                                                      PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I North Carolina, Inc.
 CB&I North Carolina, Inc.                                                PRO SE
 500 East Morehead
 Suite 400
 Charlotte, NC 28202
 MECKLENBURG-NC
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Offshore Services, Inc.
 CB&I Offshore Services, Inc.                                             PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Oil & Gas Europe B.V.
 CB&I Oil & Gas Europe B.V.                                               PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Paddington Limited
 CB&I Paddington Limited                                                  PRO SE
 40 Eastbourne Terrace
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                                                                                                        000962
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Power Company B.V.
 CB&I Power Company B.V.                                                   PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Power International, Inc.
 CB&I Power International, Inc.                                            PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Power Limited
 CB&I Power Limited                                                        PRO SE
 500 Elder Gate, Milton Keynes
 Buckinghamshire MD9 1BA
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Power, LLC
 CB&I Power, LLC                                                           PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Project Services Group, LLC
 CB&I Project Services Group, LLC                                          PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Rio Grande Holdings, L.L.C.
 CB&I Rio Grande Holdings, L.L.C.                                          PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by CB&I Rio Grande Valley Fabrication &
 CB&I Rio Grande Valley Fabrication &                                      Manufacturing, L.L.C.
 Manufacturing, L.L.C.                                                     PRO SE
 2370 Towne Centre Blvd.
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 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Rusland B.V.
 CB&I Rusland B.V.                                                        PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Singapore Pte. Ltd.
 CB&I Singapore Pte. Ltd.                                                 PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Storage Tank Solutions LLC
 CB&I Storage Tank Solutions LLC                                          PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I STS Delaware LLC
 CB&I STS Delaware LLC                                                    PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I STS Holdings LLC
 CB&I STS Holdings LLC                                                    PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Tyler LLC
 CB&I Tyler LLC                                                           PRO SE
 1501 North Division Street
 Plainfield, IL 60544
 WILL-IL
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I UK Limited
 CB&I UK Limited                                                          PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 United Kingdom
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    11/133
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 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CB&I Walker LA, L.L.C.
 CB&I Walker LA, L.L.C.                                                   PRO SE
 30103 Sunland Drive
 Walker, LA 70785
 LIVINGSTON-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Americas Ltd.
 CBI Americas Ltd.                                                        PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Company B.V.
 CBI Company B.V.                                                         PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Company Ltd.
 CBI Company Ltd.                                                         PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Company Two B.V.
 CBI Company Two B.V.                                                     PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Constructors Pty. Ltd.
 CBI Constructors Pty. Ltd.                                               PRO SE
 58 Thomas Road
 Kwinana Beach WA
 W. Australia 6167
 OUTSIDE U. S.
 Australia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Eastern Anstalt
 CBI Eastern Anstalt                                                      PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
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                                                                                                   000965
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI HoldCo Two Inc.
 CBI HoldCo Two Inc.                                                      PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Overseas (Far East) Inc.
 CBI Overseas (Far East) Inc.                                             PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Overseas, LLC
 CBI Overseas, LLC                                                        PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Panama, S.A.
 CBI Panama, S.A.                                                         PRO SE
 Calle 50, Apt. 0816-01098
 Edificio Plaza 2000
 Panama City
 OUTSIDE U. S.
 Panama
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI Services, LLC
 CBI Services, LLC                                                        PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI UK Cayman Acquisition Limited
 CBI UK Cayman Acquisition Limited                                        PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 United Kingdom
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CBI US Holding Company Inc.
 CBI US Holding Company Inc.                                              PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    13/133
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                                           CM/ECFFiled   onBankruptcy
                                                  LIVE - US 11/19/21    in TXSD
                                                                      Court-Texas      Page 14 of 550
                                                                                  Southern
                                                                                                   000966
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Central Trading Company Ltd.
 Central Trading Company Ltd.                                             PRO SE
 1501 North Division Street
 Plainfield, IL 60544
 WILL-IL
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chartering Company (Singapore) Pte.
 Chartering Company (Singapore) Pte. Ltd.                                 Ltd.
 Level 24, Menara Hap Seng 2, No. 1                                       PRO SE
 Jalan P. Ramlee
 Kuala Lumpur 500250
 OUTSIDE U. S.
 Malaysia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chemical Research and Licensing, LLC
 Chemical Research and Licensing, LLC                                     PRO SE
 10100 Bay Area Blvd.
 Houston, TX 77507
 OUTSIDE U. S.
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chicago Bridge & Iron (Antilles) N.V.
 Chicago Bridge & Iron (Antilles) N.V.                                    PRO SE
 Schottegatweg Oost 44
 P.O. Box 812
 Curacao
 OUTSIDE U. S.
 Netherlands Antilles
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Chicago Bridge & Iron Company                                            (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chicago Bridge & Iron Company
 Chicago Bridge & Iron Company                                            PRO SE
 14105 S Rt 59
 Plainfield, IL 60544
 WILL-IL
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chicago Bridge & Iron Company
 Chicago Bridge & Iron Company (Delaware)                                 (Delaware)
 757 North Eldridge Parkway                                               PRO SE
 Houston, TX 77079
 HARRIS-TX
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                      14/133
                Case
11/18/21, 11:12 AM4:21-cv-03369 DocumentBK10-2
                                           CM/ECFFiled   onBankruptcy
                                                  LIVE - US 11/19/21    in TXSD
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                                                                                  Southern
                                                                                                   000967
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chicago Bridge & Iron Company B.V.
 Chicago Bridge & Iron Company B.V.                                       PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Chicago Bridge de Mexico, S.A. de C.V.
 Chicago Bridge de Mexico, S.A. de C.V.                                   PRO SE
 San Uriel No. 685
 Colonia Chapalita Oriente
 Zapopan
 Jalisco 45040
 OUTSIDE U. S.
 Mexico
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Comet II B.V.
 Comet II B.V.                                                            PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Constructors International, L.L.C.
 Constructors International, L.L.C.                                       PRO SE
 3102 East Fifth Street
 P.O. Box 956
 Tyler, TX 75710
 SMITH-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by CSA Trading Company Ltd.
 CSA Trading Company Ltd.                                                 PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Eastern Marine Services, Inc.
 Eastern Marine Services, Inc.                                            PRO SE
 P.O. Box 16961
 Jebel Ali Free Trade Zone
 Dubai
 OUTSIDE U. S.
 United Arab Emirates
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by EDS Equipment Company, LLC
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                       15/133
                Case
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                                           CM/ECFFiled   onBankruptcy
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                                                                                                   000968
 EDS Equipment Company, LLC                                        PRO SE
 500 East Morehead
 Suite 400
 Charlotte, NC 28202
 MECKLENBURG-NC
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Environmental Solutions (Cayman) Ltd.
 Environmental Solutions (Cayman) Ltd.                                    PRO SE
 757 Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Environmental Solutions Holding Ltd.
 Environmental Solutions Holding Ltd.                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Environmental Solutions Ltd.
 Environmental Solutions Ltd.                                             PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by HBI Holdings, LLC
 HBI Holdings, LLC                                                        PRO SE
 3102 East Fifth Street
 Tyler, TX 75710
 SMITH-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Highland Trading Company, Ltd.
 Highland Trading Company, Ltd.                                           PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Horton CBI, Limited
 Horton CBI, Limited                                                      PRO SE
 55116 Hwy 825
 Sturgeon Industrial Park
 Alberta T8L5C1
 OUTSIDE U. S.
 Canada
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Howe-Baker Engineers, Ltd.
 Howe-Baker Engineers, Ltd.                                               PRO SE
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                     16/133
                Case
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                                                                                                   000969
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Howe-Baker Holdings, L.L.C.
 Howe-Baker Holdings, L.L.C.                                              PRO SE
 3102 East FifthStreet
 Tyler, TX 75710
 SMITH-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Howe-Baker International Management,
 Howe-Baker International Management,                                     LLC
 LLC                                                                      PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Howe-Baker International, LLC
 Howe-Baker International, LLC                                            PRO SE
 3102 East Fifth Street
 Tyler, TX 75701
 SMITH-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Howe-Baker Management, L.L.C.
 Howe-Baker Management, L.L.C.                                            PRO SE
 3102 East Fifth Street
 Tyler, TX 75710
 SMITH-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Hydro Marine Services, Inc.
 Hydro Marine Services, Inc.                                              PRO SE
 P.O. Box 16961
 Jebel Ali Free Trade Zone
 Dubai
 OUTSIDE U. S.
 United Arab Emirates
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by International Consultants, L.L.C.
 International Consultants, L.L.C.                                        PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray Holdings, Inc.
 J. Ray Holdings, Inc.                                                    PRO SE
 757 North Elridge Parkway
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                      17/133
                Case
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                                                                                                   000970
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott (Aust.) Holding Pty.
 J. Ray McDermott (Aust.) Holding Pty.                                    Limited
 Limited                                                                  PRO SE
 5-17 William Street
 Level 8, Australia Place
 Perth
 OUTSIDE U. S.
 Western Australia 600, Australia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott (Norway), AS
 J. Ray McDermott (Norway), AS                                            PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott (Qingdao) Pte. Ltd.
 J. Ray McDermott (Qingdao) Pte. Ltd.                                     PRO SE
 Level 24, Menara Hap Seng 2, No. 1
 Jalan P. Ramlee
 Kuala Lumpur 500250
 OUTSIDE U. S.
 Malaysia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott de Mexico, S.A. De
 J. Ray McDermott de Mexico, S.A. De C.V.                                 C.V.
 757 North Eldridge Parkway                                               PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott Far East, Inc.
 J. Ray McDermott Far East, Inc.                                          PRO SE
 Level 24, Menara Hap Seng 2
 Jalan P. Ramlee
 Kuala Lumpur
 OUTSIDE U. S.
 Malaysia 50250
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott Holdings, LLC
 J. Ray McDermott Holdings, LLC                                           PRO SE
 757 North Elridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                     18/133
                Case
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                                                                                                      000971
 Debtor                                             represented by J. Ray McDermott International           Vessels,
 J. Ray McDermott International Vessels, Ltd.                         Ltd.
 757 North Eldridge Parkway                                           PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by J. Ray McDermott International, Inc.
 J. Ray McDermott International, Inc.                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 J. Ray McDermott Solutions, Inc.                                         (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 J. Ray McDermott Technology, Inc.                                        (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 J. Ray McDermott Underwater Services, Inc.                               (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 J. Ray McDermott, S.A.                                                   (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lealand Finance Company B.V.                                             (See above for address)
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lummus Arabia Ltd. Co.                                                   (See above for address)
 3rd Floor Sadat Tower-Dammam-Khobar Hwy
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                        19/133
                Case
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                                                                                                        000972
 P.O. Box 31682
 Al Khobar 31952
 OUTSIDE U. S.
 Saudi Arabia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lummus Consultants International Limited                                  (See above for address)
 2103 Research Forest Drive
 The Woodlands, TX 77380
 OUTSIDE U. S.
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Lummus Consultants International LLC
 Lummus Consultants International LLC                                      PRO SE
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lummus Gasification Technology Licensing                                  (See above for address)
 LLC
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Lummus Technology B.V.
 Lummus Technology B.V.                                                    PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lummus Technology Heat Transfer B.V.                                      (See above for address)
 Prinses Beatrixlaan 35
 The Netherlands 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lummus Technology International, LLC                                      (See above for address)
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lummus Technology LLC                                                     (See above for address)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                         20/133
                Case
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                                                                                                   000973
 1515 Broad Street
 Bloomfield, NJ 07003
 ESSEX-NJ
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lummus Technology Overseas LLC                                           (See above for address)
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lummus Technology Services LLC                                           (See above for address)
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lummus Technology Ventures LLC                                           (See above for address)
 2103 Research Forest Drive
 The Woodlands, TX 77380
 MONTGOMERY-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lutech Project Solutions B.V.                                            (See above for address)
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lutech Projects B.V.                                                     (See above for address)
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lutech Resources B.V.                                                    (See above for address)
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Lutech Resources Canada Ltd.                                             (See above for address)
 261 Seneca Road
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    21/133
                Case
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                                                                                        Southern
                                                                                                        000974
 Sherwood Park
 Alberta T8A4G6
 OUTSIDE U. S.
 Canada
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lutech Resources Inc.                                                     (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Lutech Resources Limited                                                  (See above for address)
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 Matrix Engineering, Ltd.                                                  (See above for address)
 5324 Gorman Rd.
 Beaumont, TX 77705
 JEFFERSON-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matrix Management Services, L.L.C.
 Matrix Management Services, L.L.C.                                        PRO SE
 5324 Gorman Road
 Beaumont, TX 77705
 JEFFERSON-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by Matthew D Cavenaugh
 McDermott (Amazon Chartering), Inc.                                       (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by McDermott Arabia Company Limited
 McDermott Arabia Company Limited                                          PRO SE
 Sumou Tower, 5th Floor
 Prince Salman & Prince Turkey
 Bin Abdulaziz, Corniche, PO Box 20582
 Al Khobar
 OUTSIDE U. S.
 Saudi Arabia 31952
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                     represented by McDermott Asia Pacific Pte. Ltd.
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                         22/133
                Case
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                                           CM/ECFFiled   onBankruptcy
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                                                                                                   000975
 McDermott Asia Pacific Pte. Ltd.                                  PRO SE
 Level 24, Menara Hap Seng 2, No. 1
 Jalan P. Ramlee
 Kuala Lumpur 500250
 OUTSIDE U. S.
 Malaysia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Asia Pacific Sdn. Bhd.
 McDermott Asia Pacific Sdn. Bhd.                                         PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Australia Pty. Ltd.
 McDermott Australia Pty. Ltd.                                            PRO SE
 15-17 William Street
 Level 8, Australia Place
 Perth 6000
 OUTSIDE U. S.
 Australia
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Blackbird Holdings, LLC
 McDermott Blackbird Holdings, LLC                                        PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Caspian Contractors, Inc.
 McDermott Caspian Contractors, Inc.                                      PRO SE
 Jebel Ali Free Trade Zone
 P.O. Box 16961
 Dubai
 OUTSIDE U. S.
 United Arab Emirates
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Cayman Ltd.
 McDermott Cayman Ltd.                                                    PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Eastern Hemisphere, Ltd.
 McDermott Eastern Hemisphere, Ltd.                                       PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX

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                                           CM/ECFFiled   onBankruptcy
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                                                                                                   000976
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Engineering, LLC
 McDermott Engineering, LLC                                               PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Finance L.L.C.
 McDermott Finance L.L.C.                                                 PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Gulf Operating Company,
 McDermott Gulf Operating Company, Inc.                                   Inc.
 757 North Eldridge Parkway                                               PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Holdings (U.K.) Limited
 McDermott Holdings (U.K.) Limited                                        PRO SE
 Global House
 1 Ashley Avenue
 Epsom, Surrey KT17 1JG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott International Investments
 McDermott International Investments Co.,                                 Co., Inc.
 Inc.                                                                     PRO SE
 Cedar House, 41 Cedar Ave
 Hamilton
 OUTSIDE U. S.
 Bermuda HM 12
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott International Management,
 McDermott International Management, S. de                                S. de RL.
 RL.                                                                      PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott International Marine
 McDermott International Marine                                           Investments N.V.
 Investments N.V.                                                         PRO SE
 757 North Eldridge Parkway
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                      24/133
                Case
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                                                                                                   000977
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott International Trading Co.,
 McDermott International Trading Co., Inc.                                Inc.
 757 North Eldridge Parkway                                               PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott International Vessels, Inc.
 McDermott International Vessels, Inc.                                    PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Investments, LLC
 McDermott Investments, LLC                                               PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Marine Construction
 McDermott Marine Construction Limited                                    Limited
 Global House                                                             PRO SE
 1 Ashley Avenue
 Epsom, Surrey KT17 1JG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Marine Mexico, S.A. de C.V.
 McDermott Marine Mexico, S.A. de C.V.                                    PRO SE
 Paseo de la Reforma 505, Piso 49
 Col. Cuauhtemoc
 Piso 06500 C.P.
 OUTSIDE U. S.
 Mexico
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Middle East, Inc.
 McDermott Middle East, Inc.                                              PRO SE
 Plot 56, Jebel Ali Free Trade Zone
 P.O. Box 16961
 Dubai
 OUTSIDE U. S.
 United Arab Emirates
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Offshore Services Company,
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                      25/133
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                                                                                                   000978
 McDermott Offshore Services Company, Inc.                         Inc.
 757 North Eldridge Parkway                                        PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Old JV Office, Inc.
 McDermott Old JV Office, Inc.                                            PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Overseas Investment Co.
 McDermott Overseas Investment Co. N.V.                                   N.V.
 757 North Eldridge Parkway                                               PRO SE
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Overseas, Inc.
 McDermott Overseas, Inc.                                                 PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Servicos Offshore do Brasil
 McDermott Servicos Offshore do Brasil Ltda.                              Ltda.
 Avenida Republica do Chile                                               PRO SE
 No 230, sala 1301, Centro
 Rio de Janeiro
 OUTSIDE U. S.
 Brazil
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Subsea Engineering, Inc.
 McDermott Subsea Engineering, Inc.                                       PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Subsea, Inc.
 McDermott Subsea, Inc.                                                   PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 The Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology (2), B.V.
 McDermott Technology (2), B.V.                                           PRO SE
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                       26/133
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                                                                                  Southern
                                                                                                   000979
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology (3), B.V.
 McDermott Technology (3), B.V.                                           PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology (Americas) Inc.
 McDermott Technology (Americas) Inc.                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology (US), Inc.
 McDermott Technology (US), Inc.                                          PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology, B.V.
 McDermott Technology, B.V.                                               PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Technology, LLC
 McDermott Technology, LLC                                                PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Trinidad Ltd
 McDermott Trinidad Ltd                                                   PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by McDermott Inc.
 McDermott Inc.                                                           PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                    27/133
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                                                                                                   000980
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Netherlands Operating Company B.V.
 Netherlands Operating Company B.V.                                       PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by North Atlantic Vessel, Inc.
 North Atlantic Vessel, Inc.                                              PRO SE
 Level 24, Menara Hap Seng 2
 Jalan P. Ramlee
 Kuala Lumpur
 OUTSIDE U. S.
 Malaysia 50250
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by North Ocean 105 AS
 North Ocean 105 AS                                                       PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Novolen Technology Holdings C.V.
 Novolen Technology Holdings C.V.                                         PRO SE
 Prinses Beatrixlaan 35
 The Hague 2595 AK
 OUTSIDE U. S.
 Netherlands
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Nuclear Energy Holdings, L.L.C.
 Nuclear Energy Holdings, L.L.C.                                          PRO SE
 2370 Town Center Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Oasis Supply Company, Ltd.
 Oasis Supply Company, Ltd.                                               PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Oceanic Contractors, Inc.
 Oceanic Contractors, Inc.                                                PRO SE
 1501 North Division Street
 Plainfield, IL 60544
 WILL-IL
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                     28/133
                Case
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                                                                                                   000981
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Offshore Pipelines International, Ltd.
 Offshore Pipelines International, Ltd.                                   PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by OPI Vessels, Inc.
 OPI Vessels, Inc.                                                        PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Oxford Metal Supply Limited
 Oxford Metal Supply Limited                                              PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Pike Properties II, Inc.
 Pike Properties II, Inc.                                                 PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Pipework Engineering and Developments
 Pipework Engineering and Developments                                    Limited
 Limited                                                                  PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Prospect Industries (Holdings) Inc.
 Prospect Industries (Holdings) Inc.                                      PRO SE
 2370 Towne Center Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by S C Woods, L.L.C.
 S C Woods, L.L.C.                                                        PRO SE
 2370 Towne Centre Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA

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                                                                                                   000982
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Servicios de Fabricacion de Altamira,
 Servicios de Fabricacion de Altamira, S.A. de                            S.A. de C. V.
 C. V.                                                                    PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Servicios Profesionales de Altamira, S.A.
 Servicios Profesionales de Altamira, S.A. de                             de C.V.
 C.V.                                                                     PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Beneco, Inc.
 Shaw Beneco, Inc.                                                        PRO SE
 2370 Towne Centre Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Connex, Inc.
 Shaw Connex, Inc.                                                        PRO SE
 81 Connex Way
 Troutville, VA 24175
 BOTETOURT-VA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Dunn Limited
 Shaw Dunn Limited                                                        PRO SE
 40 Eastbourne Terrace
 London
 OUTSIDE U. S.
 England W2 6LG
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw E & I International Ltd.
 Shaw E & I International Ltd.                                            PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Energy Services, Inc.
 Shaw Energy Services, Inc.                                               PRO SE
 2370 Towne Centre Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                       30/133
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                                                                                                   000983
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Fabricators, Inc.
 Shaw Fabricators, Inc.                                                   PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Far East Services, LLC
 Shaw Far East Services, LLC                                              PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Group UK Limited
 Shaw Group UK Limited                                                    PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Home Louisiana, LLC
 Shaw Home Louisiana, LLC                                                 PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw International Inc.
 Shaw International Inc.                                                  PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw International Management
 Shaw International Management Services                                   Services Two, Inc.
 Two, Inc.                                                                PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw JV Holdings, L.L.C.
 Shaw JV Holdings, L.L.C.                                                 PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

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                                                                                                   000984
 Debtor                                          represented by Shaw Managed Services, LLC
 Shaw Managed Services, LLC                                        PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Management Services One, Inc.
 Shaw Management Services One, Inc.                                       PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Shaw NC Company, Inc.                                                    (See above for address)
 500 East Morehad, Suite 400
 Charlotte, NC 28202
 MECKLENBURG-NC
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Shaw Nuclear Energy Holdings (UK), Inc.                                  (See above for address)
 2370 Towne center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Shaw Overseas (Middle East) Ltd.                                         (See above for address)
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Matthew D Cavenaugh
 Shaw Power Delivery Systems, Inc.                                        (See above for address)
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Power Services Group, L.L.C.
 Shaw Power Services Group, L.L.C.                                        PRO SE
 2370 Towne Center Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Power Services, LLC
 Shaw Power Services, LLC                                                 PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                      32/133
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                                                                                                   000985
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Power Technologies, Inc.
 Shaw Power Technologies, Inc.                                            PRO SE
 2370 Towne Centre Blvd.
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Process Fabricators, Inc.
 Shaw Process Fabricators, Inc.                                           PRO SE
 36445 Perkins Road
 Prairieville, LA 70769
 ASCENSION-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Services, L.L.C.
 Shaw Services, L.L.C.                                                    PRO SE
 2370 Towne Centre Blvd.
 East Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw SSS Fabricators, Inc.
 Shaw SSS Fabricators, Inc.                                               PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Transmission & Distribution
 Shaw Transmission & Distribution Services                                Services International, Inc.
 International, Inc.                                                      PRO SE
 500 East Morehead
 Suite 400
 Charlotte, NC 28202
 MECKLENBURG-NC
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by Shaw Transmission & Distribution
 Shaw Transmission & Distribution Services,                               Services, Inc.
 Inc.                                                                     PRO SE
 2730 Towne Centre Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                    represented by SparTEC, Inc.
 SparTEC, Inc.                                                            PRO SE
 757 North Eldridge Parkway
 Houston, TX 77079
 HARRIS-TX
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                     33/133
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                                                                                                   000986
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                          represented by TVL Lender II, Inc.
 TVL Lender II, Inc.                                                            PRO SE
 2370 Towne Centre Boulevard
 Baton Rouge, LA 70806
 EAST BATON ROUGE-LA
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                          represented by Varsy International N.V.
 Varsy International N.V.                                                       PRO SE
 757 North Eldridge Parkway
 Houston, TX 70079
 HARRIS-TX
 Tax ID / EIN: XX-XXXXXXX

 Debtor                                                          represented by Whessoe Piping Systems Limited
 Whessoe Piping Systems Limited                                                 PRO SE
 40 Eastbourne Terrace
 London W2 6LG
 OUTSIDE U. S.
 England
 Tax ID / EIN: XX-XXXXXXX

 U.S. Trustee                                                    represented by Alicia Lenae Barcomb
 US Trustee                                                                     Office of the US Trustee
 Office of the US Trustee                                                       515 Rusk Street
 515 Rusk Ave                                                                   Ste 3516
 Ste 3516                                                                       Houston, TX 77002
 Houston, TX 77002                                                              713-718-4650
 (713) 718-4650                                                                 Email: alicia.barcomb@usdoj.gov

                                                                                  Hector Duran, Jr
                                                                                  U.S. Trustee
                                                                                  515 Rusk
                                                                                  Ste 3516
                                                                                  Houston, Tx 77002
                                                                                  7137184650
                                                                                  Email: Hector.Duran.Jr@usdoj.gov

                                                                                  Stephen Douglas Statham
                                                                                  Office of US Trustee
                                                                                  515 Rusk
                                                                                  Ste 3516
                                                                                  Houston, TX 77002
                                                                                  713-718-4650 Ext 252
                                                                                  Fax : 713-718-4670
                                                                                  Email: stephen.statham@usdoj.gov

      Filing Date                          #                                           Docket Text

   01/21/2020                            1                 Chapter 11 Voluntary Petition Non-Individual Fee Amount $1717 Filed
                                         (27 pgs)          by McDermott International, Inc.. (Cavenaugh, Matthew) (Entered:
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                    34/133
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                                                            01/21/2020)                                                000987



                                         2                  Notice of Appearance and Request for Notice Filed by Alfredo R Perez
                                         (3 pgs)            Filed by on behalf of Zachry Industrial, Inc. (Perez, Alfredo) (Entered:
   01/21/2020                                               01/21/2020)

                                                            Notice of Appearance and Request for Notice Filed by Stephen Douglas
   01/21/2020                                               Statham (Statham, Stephen) (Entered: 01/21/2020)

                                         3                  Notice of Appearance and Request for Notice Filed by Hugh Massey Ray
                                         (4 pgs)            III Filed by on behalf of Illuminate Buyer, LLC (Ray, Hugh) (Entered:
   01/21/2020                                               01/21/2020)

                                         4                  Disclosure Statement Filed by McDermott International, Inc..
   01/22/2020                            (304 pgs)          (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         5                  Chapter 11 Plan of Reorganization Filed by McDermott International,
   01/22/2020                            (66 pgs)           Inc.. (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         6                  Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
                                         (14 pgs; 2 docs)   File a Consolidated List of Creditors and a Consolidated List of the 50
                                                            Largest Unsecured Creditors, (II) Waiving the Requirement to File a List
                                                            of Equity Security Holders, and (III) Authorizing the Debtors to Redact
                                                            Certain Personal Identification Information Filed by Debtor McDermott
                                                            International, Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at
                                                            Houston, Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order)
   01/22/2020                                               (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         7                  Emergency Motion Application for Entry of an Order Authorizing the
                                         (42 pgs; 2 docs)   Retention and Appointment of Prime Clerk LLC as Claims, Noticing, and
                                                            Solicitation Agent Filed by Debtor McDermott International, Inc.
                                                            Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
                                                            400 (DRJ). (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew)
   01/22/2020                                               (Entered: 01/22/2020)

                                         8                  Emergency Motion for Entry of an Order (I) Approving the Debtors'
                                         (31 pgs; 2 docs)   Proposed Adequate Assurance of Payment for Future Utility Services,
                                                            (II) Prohibiting Utility Providers from Altering, Refusing, or
                                                            Discontinuing Services, and (III) Approving the Debtors' Proposed
                                                            Procedures for Resolving Adequate Assurance Requests Filed by Debtor
                                                            McDermott International, Inc. Hearing scheduled for 1/23/2020 at 09:00
                                                            AM at Houston, Courtroom 400 (DRJ). (Attachments: # 1 Proposed
   01/22/2020                                               Order) (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                                            Receipt of Voluntary Petition (Chapter 11)(20-30336) [misc,volp11]
                                                            (1717.00) Filing Fee. Receipt number 21813518. Fee amount $1717.00.
   01/22/2020                                               (U.S. Treasury) (Entered: 01/22/2020)

                                         9                  Emergency Motion for Entry of an Order Authorizing the Debtors to (I)
                                         (37 pgs; 2 docs)   Pay Prepetition Wages, Salaries, Other Compensation, and
                                                            Reimbursable Expenses and (II) Continue Employee Benefits Programs
                                                            Filed by Debtor McDermott International, Inc. Hearing scheduled for
                                                            1/23/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
                                                            (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                               01/22/2020)

   01/22/2020                            10                 Emergency Motion for Entry of an Order (I) Restating and Enforcing the
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          35/133
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                                         (26 pgs; 2 docs)   Worldwide Automatic Stay, Anti-Discrimination Provisions,000988
                                                                                                                        and Ipso
                                                            Facto Protections of the Bankruptcy Code, (II) Permitting the Debtors to
                                                            Modify the Automatic Stay in Their Sole Discretion to Proceed With
                                                            Litigation or Contested Matter Commenced Prepetition, and (III)
                                                            Approving the Form and Manner of Notice Filed by Debtor McDermott
                                                            International, Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at
                                                            Houston, Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order)
                                                            (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         11                 Emergency Motion for Entry of an Order Authorizing the Debtors to (I)
                                         (38 pgs; 2 docs)   Continue Insurance Coverage Entered Into Prepetition and Satisfy
                                                            Prepetition Obligations Related Thereto, (II) Renew, Amend, Supplement,
                                                            Extend, or Purchase Insurance Policies, (III) Honor the Terms of the
                                                            Premium Financing Agreement and Pay Premiums Thereunder, and (IV)
                                                            Enter Into New Premium Financing Agreement Filed by Debtor
                                                            McDermott International, Inc. Hearing scheduled for 1/23/2020 at 09:00
                                                            AM at Houston, Courtroom 400 (DRJ). (Attachments: # 1 Proposed
   01/22/2020                                               Order) (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         12                 Emergency Motion for Entry of An Order Authorizing the Debtors to (I)
                                         (26 pgs; 2 docs)   Honor and Incur Obligations Under Customer Contracts, (II) Obtain
                                                            New Customer Contracts, and (III) Utilize the Contract Procedures to
                                                            Settle Post-Petition Disputes Filed by Debtor McDermott International,
                                                            Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at Houston,
                                                            Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order) (Cavenaugh,
   01/22/2020                                               Matthew) (Entered: 01/22/2020)

                                         13                 Emergency Motion for Entry of Interim and Final Orders (I) Authorizing
                                         (37 pgs; 3 docs)   the Payment of Foreign Claims, Lien Claims, 503(b)(9) Claims, and
                                                            Other Claims, and (II) Confirming Administrative Expense Priority of
                                                            Outstanding Purchase Orders Filed by Debtor McDermott International,
                                                            Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at Houston,
                                                            Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order Interim Order
                                                            # 2 Proposed Order Final Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                               01/22/2020)

                                         14                 Emergency Motion for Entry of an Order Authorizing the Payment of
                                         (27 pgs; 2 docs)   Certain Taxes and Fees Filed by Debtor McDermott International, Inc.
                                                            Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
                                                            400 (DRJ). (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew)
   01/22/2020                                               (Entered: 01/22/2020)

                                         15                 Emergency Motion for Entry of Interim and Final Orders Authorizing the
                                         (62 pgs; 3 docs)   Debtors to (I) Continue to Operate Their Cash Management System and
                                                            Maintenance Existing Bank Accounts and (II) Continue to Perform
                                                            Intercompany Transactions Filed by Debtor McDermott International,
                                                            Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at Houston,
                                                            Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order Interim Order
                                                            # 2 Proposed Order Final Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                               01/22/2020)

                                         16                 Emergency Motion for Entry of an Order Approving Notification and
                                         (60 pgs; 2 docs)   Hearing Procedures for Certain Transfers of Declarations of
                                                            Worthlessness with Respect to Common Stock and Preferred Stock Filed
                                                            by Debtor McDermott International, Inc. Hearing scheduled for
                                                            1/23/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
                                                            (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                               01/22/2020)

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                                                                                                                       000989
   01/22/2020                            17                  Designation of Complex Chapter 11 Bankruptcy Case (Filed By
                                         (4 pgs; 2 docs)     McDermott International, Inc. ). (Attachments: # 1 Proposed Order)
                                                             (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         18                  Emergency Motion for Entry of an Order Approving Continuation of the
                                         (29 pgs; 2 docs)    Surety Bond Program Filed by Debtor McDermott International, Inc.
                                                             Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
                                                             400 (DRJ). (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew)
   01/22/2020                                                (Entered: 01/22/2020)

                                         19                  Emergency Motion for Entry of an Order (I) Authorizing the Debtors to
                                         (50 pgs; 2 docs)    (A) Enter Into, and Perform Under, Amended and Restated Hedge
                                                             Agreements, (B) Enter Into, and Perform Under, New Hedge Agreements,
                                                             (C) Grant Superpriority Claims, and (D) Modify the Automatic Stay, and
                                                             (II) Granting Related Relief Filed by Debtor McDermott International,
                                                             Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, 515 Rusk
                                                             Suite 3401. (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew)
   01/22/2020                                                (Entered: 01/22/2020)

                                         20                  Motion to Appear pro hac vice Ciara Foster. Filed by Debtor McDermott
   01/22/2020                            (1 pg)              International, Inc. (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         21                  Motion to Appear pro hac vice Christopher T. Greco, P.C.. Filed by
                                         (1 pg)              Debtor McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   01/22/2020                                                01/22/2020)

                                         22                  Motion to Appear pro hac vice Anthony R. Grossi. Filed by Debtor
                                         (1 pg)              McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   01/22/2020                                                01/22/2020)

                                         23                  Motion to Appear pro hac vice John R. Luze. Filed by Debtor McDermott
   01/22/2020                            (1 pg)              International, Inc. (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         24                  Motion to Appear pro hac vice Joshua A. Sussberg. Filed by Debtor
                                         (1 pg)              McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   01/22/2020                                                01/22/2020)

                                         25                  Emergency Motion for Entry of (A) an Order (I) Approving the Stalking
                                         (47 pgs)            Horse Protections, (II) Approving Bidding Procedures for the Sale of the
                                                             Lummus Assets and Interests, and (III) Approving Contract Assumption
                                                             and Assignment Procedures, and (B) Order Authorizing the Debtors to
                                                             Enter Into a Definitive Purchase Agreement Subject to Entry of the
                                                             Confirmation Order Filed by Debtor McDermott International, Inc.
                                                             Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
   01/22/2020                                                400 (DRJ). (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         26                  Proposed Order RE: Emergency Motion for Entry of (A) an Order (I)
                                         (216 pgs)           Approving the Stalking Horse Protections, (II) Approving Bidding
                                                             Procedures for the Sale of the Lummus Assets and Interests, and (III)
                                                             Approving Contract Assumption and Assignment Procedures, and (B)
                                                             Order Authorizing the Debtors to Enter Into a Definitive Purchase
                                                             Agreement Subject to Entry of the Confirmation Order (Filed By
                                                             McDermott International, Inc. ).(Related document(s):25 Emergency
   01/22/2020                                                Motion) (Cavenaugh, Matthew) (Entered: 01/22/2020)

   01/22/2020                            27                  Emergency Motion for Entry of an Order (I) Scheduling a Combined
                                         (106 pgs; 2 docs)   Disclosure Statement Approval and Plan Confirmation Hearing, (II)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             37/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                             Establishing Plan and Disclosure Statement Objection and 000990
                                                                                                                        Reply
                                                             Deadlines and Related Procedures, (III) Approving the Form and
                                                             Manner of Notice of Commencement, (IV) Approving the Rights Offering
                                                             Procedures and Related Materials, (V) Waiving the Requirement that the
                                                             U.S. Trustee Convene a Meeting of Creditors, (VI) Waiving the
                                                             Requirement That the Debtors File Schedules and Statements, (VII)
                                                             Approving the Form and Manner of Notice of Bid Deadlines and an
                                                             Auction, and (VIII) Granting Related Relief Filed by Debtor McDermott
                                                             International, Inc. Hearing scheduled for 1/23/2020 at 09:00 AM at
                                                             Houston, Courtroom 400 (DRJ). (Attachments: # 1 Proposed Order)
                                                             (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         28                  Declaration re: Declaration of John R. Castellano, Chief Transformation
                                         (95 pgs)            Officer of McDermott International, Inc., In Support of the Debtors' First
                                                             Day Motions (Filed By McDermott International, Inc. ). (Cavenaugh,
   01/22/2020                                                Matthew) (Entered: 01/22/2020)

                                         29                  Declaration re: Declaration of David Dickson, President and Chief
                                         (11 pgs)            Executive Officer of McDermott International, Inc., in Support of the
                                                             Chapter 11 Petitions (Filed By McDermott International, Inc. ).
   01/22/2020                                                (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         30                  Notice of Appearance and Request for Notice Filed by T. Josh Judd Filed
                                         (3 pgs)             by on behalf of Bo-Mac Contractors, Ltd. (Judd, T.) (Entered:
   01/22/2020                                                01/22/2020)

                                         31                  Notice of Appearance and Request for Notice Filed by Patrick Andrew
                                         (3 pgs)             Kelly Filed by on behalf of Apache Industrial Services, Inc. (Kelly,
   01/22/2020                                                Patrick) (Entered: 01/22/2020)

                                         32                  Emergency Motion for Entry of an Order (I) Directing Joint
                                         (106 pgs; 2 docs)   Administration of the Chapter 11 Cases and (II) Granting Related Relief
                                                             Filed by Debtor McDermott International, Inc. Hearing scheduled for
                                                             1/23/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
                                                             (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                                01/22/2020)

                                                             Judge David R Jones added to case. Involvement of Judge Marvin Isgur
   01/22/2020                                                Terminated (emiller) (Entered: 01/22/2020)

                                         33                  Notice of Appearance and Request for Notice Filed by Paul M Green
                                         (4 pgs)             Filed by on behalf of Cameron LNG, LLC (Green, Paul) (Entered:
   01/22/2020                                                01/22/2020)

                                         34                  Motion to Appear pro hac vice of Daniel J. Merrett. Filed by Creditor
   01/22/2020                            (1 pg)              Cameron LNG, LLC (Green, Paul) (Entered: 01/22/2020)

                                         35                  Notice of Appearance and Request for Notice Filed by William Ross
                                         (3 pgs)             Spence Filed by on behalf of Curtis Kelly, Inc. (Spence, William)
   01/22/2020                                                (Entered: 01/22/2020)

                                         36                  Notice of Appearance and Request for Notice Filed by Henry Flores
                                         (4 pgs)             Filed by on behalf of Ad Hoc Noteholder Groups (Flores, Henry)
   01/22/2020                                                (Entered: 01/22/2020)

   01/22/2020                            37                  Notice of Appearance and Request for Notice Filed by Charles A
                                         (4 pgs)             Beckham Jr Filed by on behalf of Chiyoda International Corporation
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             38/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                           (Beckham, Charles) (Entered: 01/22/2020)                  000991



                                         38                Notice of Appearance and Request for Notice Filed by Ashley L. Harper
                                         (3 pgs)           Filed by on behalf of UMB Bank, N.A., as Successor Indenture Trustee
   01/22/2020                                              for Senior Notes (Harper, Ashley) (Entered: 01/22/2020)

                                         39                Motion to Appear pro hac vice Seth H. Lieberman. Filed by Creditor
                                         (1 pg)            UMB Bank, N.A., as Successor Indenture Trustee for Senior Notes
   01/22/2020                                              (Harper, Ashley) (Entered: 01/22/2020)

                                         40                Motion to Appear pro hac vice Patrick Sibley. Filed by Creditor UMB
                                         (1 pg)            Bank, N.A., as Successor Indenture Trustee for Senior Notes (Harper,
   01/22/2020                                              Ashley) (Entered: 01/22/2020)

                                         41                Motion to Appear pro hac vice Matthew W. Silverman. Filed by Creditor
                                         (1 pg)            UMB Bank, N.A., as Successor Indenture Trustee for Senior Notes
   01/22/2020                                              (Harper, Ashley) (Entered: 01/22/2020)

                                         42                Notice of Appearance and Request for Notice Filed by Robin B
                                         (3 pgs)           Cheatham Filed by on behalf of Harvey Gulf International Marine, LLC
   01/22/2020                                              (Cheatham, Robin) (Entered: 01/22/2020)

                                         43                Notice of Appearance and Request for Notice Filed by Trent L Rosenthal
                                         (2 pgs)           Filed by on behalf of Marnoy Interest Ltd., d/b/a OP (Rosenthal, Trent)
   01/22/2020                                              (Entered: 01/22/2020)

                                         44                Motion to Appear pro hac vice Margot B. Schonholtz of Linklaters LLP.
                                         (1 pg)            Filed by Creditor Credit Agricole Corporate and Investment Bank
                                                           Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
   01/22/2020                                              400 (DRJ). (Wood, William) (Entered: 01/22/2020)

                                         45                Motion to Appear pro hac vice Penelope J. Jensen of Linklaters LLP.
                                         (1 pg)            Filed by Creditor Credit Agricole Corporate and Investment Bank
                                                           Hearing scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom
   01/22/2020                                              400 (DRJ). (Wood, William) (Entered: 01/22/2020)

                                         46                Motion to Appear pro hac vice Eric Hilmo of Linklaters LLP. Filed by
                                         (1 pg)            Creditor Credit Agricole Corporate and Investment Bank Hearing
                                                           scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
   01/22/2020                                              (Wood, William) (Entered: 01/22/2020)

                                         47                Motion to Appear pro hac vice Amy Edgy of Linklaters LLP. Filed by
                                         (1 pg)            Creditor Credit Agricole Corporate and Investment Bank Hearing
                                                           scheduled for 1/23/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
   01/22/2020                                              (Wood, William) (Entered: 01/22/2020)

                                                           Notice of Appearance and Request for Notice Filed by Hector Duran Jr
   01/22/2020                                              (Duran, Hector) (Entered: 01/22/2020)

                                         48                Motion to Appear pro hac vice of Robert J. Stark. Filed by Creditor Ad
   01/22/2020                            (1 pg)            Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         49                Notice of Appearance and Request for Notice Filed by Smith County,
   01/22/2020                            (1 pg)            Dallas County (Weller, H) (Entered: 01/22/2020)

   01/22/2020                            50                Motion to Appear pro hac vice of Bennett S. Silverberg. Filed by Creditor
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          39/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)                                                                      000992
                                                             Ad Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         51                  Motion to Appear pro hac vice of Andrew N. Rosenberg. Filed by
                                         (1 pg)              Creditor Ad Hoc Noteholder Groups (Fuller, Melissa) (Entered:
   01/22/2020                                                01/22/2020)

                                         52                  Motion to Appear pro hac vice of Alice B. Eaton. Filed by Creditor Ad
   01/22/2020                            (1 pg)              Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         53                  Motion to Appear pro hac vice of Diane Meyers. Filed by Creditor Ad
   01/22/2020                            (1 pg)              Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         54                  Motion to Appear pro hac vice of Alice Nofzinger. Filed by Creditor Ad
   01/22/2020                            (1 pg)              Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         55                  Motion to Appear pro hac vice of Omid Rahnama. Filed by Creditor Ad
   01/22/2020                            (1 pg)              Hoc Noteholder Groups (Fuller, Melissa) (Entered: 01/22/2020)

                                         56                  Emergency Motion for Entry of Interim and Final Orders (A)
                                         (353 pgs; 2 docs)   Authorizing the Debtors to Obtain Postpetition Financing, (B)
                                                             Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens and
                                                             Providing Claims with Superpriority Administrative Expense Status, (D)
                                                             Granting Adequate Protection to the Prepetition Secured Parties, (E)
                                                             Modifying the Automatic Stay, (F) Scheduling a Final Hearing, and (G)
                                                             Granting Related Relief Filed by Debtor McDermott International, Inc.
                                                             (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   01/22/2020                                                01/22/2020)

                                         57                  Order for Joint Administration Signed on 1/22/2020 (aaloadi) (Related
   01/22/2020                            (51 pgs)            Doc # 32) (Entered: 01/22/2020)

                                         58                  Notice of Appearance and Request for Notice Filed by Owen Mark Sonik
                                         (3 pgs)             Filed by on behalf of Spring Branch Independent School District (Sonik,
   01/22/2020                                                Owen) (Entered: 01/22/2020)

                                         59                  Motion to Appear pro hac vice Robert Britton. Filed by Interested Party
   01/22/2020                            (1 pg)              Illuminate Buyer, LLC (Ray, Hugh) (Entered: 01/22/2020)

                                         60                  Motion to Appear pro hac vice Neal Donnelly. Filed by Interested Party
   01/22/2020                            (1 pg)              Illuminate Buyer, LLC (Ray, Hugh) (Entered: 01/22/2020)

                                         61                  Notice of Appearance and Request for Notice Filed by Hugh Massey Ray
                                         (4 pgs)             III Filed by on behalf of Illuminate Buyer, LLC (Ray, Hugh) (Entered:
   01/22/2020                                                01/22/2020)

                                         62                  Declaration re: Declaration of John R. Castellano, Chief Transformation
                                         (95 pgs)            Officer of McDermott International, Inc., In Support of the Debtors' First
                                                             Day Motions (Filed By McDermott International, Inc. ). (Cavenaugh,
   01/22/2020                                                Matthew) (Entered: 01/22/2020)

                                         63                  Notice of Appearance and Request for Notice Filed by Robert P Franke
                                         (2 pgs)             Filed by on behalf of Flowserve Corporation and Flowserve US Inc.
   01/22/2020                                                (Franke, Robert) (Entered: 01/22/2020)

   01/22/2020                            64                  Agenda for Hearing on 1/23/2020 (Filed By McDermott International,
                                         (6 pgs)             Inc. ). (Cavenaugh, Matthew) (Entered: 01/22/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           40/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                                                                                     000993

                                         65                Notice of Appearance and Request for Notice Filed by James S Carr
                                         (2 pgs)           Filed by on behalf of Infosys Limited (Carr, James) (Entered:
   01/22/2020                                              01/22/2020)

                                         66                Notice of Appearance and Request for Notice Filed by Tara L
                                         (1 pg)            Grundemeier Filed by on behalf of Jefferson County, Fort Bend County,
                                                           Galveston County, Harris County, Montgomery County, Cleveland ISD,
   01/22/2020                                              Cypress Fairbanks ISD (Grundemeier, Tara) (Entered: 01/22/2020)

                                         67                Order Authorizing the Retention and Appointment of Prime Clerk LLC
                                         (6 pgs)           as Claims, Noticing, and Solicitation Agent (Related Doc # 7) Signed on
   01/22/2020                                              1/22/2020. (emiller) (Entered: 01/22/2020)

                                         68                Order Granting Motion To Appear pro hac vice - Ciara Foster (Related
   01/22/2020                            (1 pg)            Doc # 20) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         69                Notice of Appearance and Request for Notice Filed by John F Higgins IV
                                         (3 pgs)           Filed by on behalf of Ad Hoc Group of Term Lenders (Higgins, John)
   01/22/2020                                              (Entered: 01/22/2020)

                                         70                Order Granting Motion To Appear pro hac vice - Christopher T. Greco
   01/22/2020                            (1 pg)            (Related Doc # 21) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         71                Notice of Appearance and Request for Notice Filed by Nathan F Coco
                                         (4 pgs)           Filed by on behalf of Bo-Mac Contractors, Ltd. (Coco, Nathan) (Entered:
   01/22/2020                                              01/22/2020)

                                         72                Order Granting Motion To Appear pro hac vice - Anthony R. Grossi
   01/22/2020                            (1 pg)            (Related Doc # 22) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         73                Motion to Appear pro hac vice of Damian S. Schaible. Filed by Interested
                                         (1 pg)            Party Ad Hoc Group of Term Lenders (Higgins, John) (Entered:
   01/22/2020                                              01/22/2020)

                                         74                Order Granting Motion To Appear pro hac vice - John R. Luze (Related
   01/22/2020                            (1 pg)            Doc # 23) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         75                Order Granting Motion To Appear pro hac vice - Joshua A. Sussberg
   01/22/2020                            (1 pg)            (Related Doc # 24) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         76                Motion to Appear pro hac vice of Natasha Tsiouris. Filed by Interested
                                         (1 pg)            Party Ad Hoc Group of Term Lenders (Higgins, John) (Entered:
   01/22/2020                                              01/22/2020)

                                         77                Motion to Appear pro hac vice Bradley Thomas Giordano. Filed by
   01/22/2020                            (1 pg)            Creditor Bo-Mac Contractors, Ltd. (Coco, Nathan) (Entered: 01/22/2020)

                                         78                Order Granting Motion To Appear pro hac vice - Daniel J. Merrett
   01/22/2020                            (1 pg)            (Related Doc # 34) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         79                Order Granting Motion To Appear pro hac vice - Seth H. Lieberman
   01/22/2020                            (1 pg)            (Related Doc # 39) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

   01/22/2020                            80                Order Granting Motion To Appear pro hac vice - Patrick Sibley (Related
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                        41/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)                                                                      000994
                                                           Doc # 40) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         81                Order Granting Motion To Appear pro hac vice - Matthew W. Silverman
   01/22/2020                            (1 pg)            (Related Doc # 41) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         82                Order Granting Motion To Appear pro hac vice - Margot B. Schonholtz
   01/22/2020                            (1 pg)            (Related Doc # 44) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         83                Order Granting Motion To Appear pro hac vice - Penelope J. Jensen
   01/22/2020                            (1 pg)            (Related Doc # 45) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         84                Order Granting Motion To Appear pro hac vice - Eric Hilmo (Related
   01/22/2020                            (1 pg)            Doc # 46) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         85                Order Granting Motion To Appear pro hac vice - Amy Edgy (Related
   01/22/2020                            (1 pg)            Doc # 47) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         86                Order Granting Motion To Appear pro hac vice - Robert J. Stark (Related
   01/22/2020                            (1 pg)            Doc # 48) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         87                Order Granting Motion To Appear pro hac vice - Bennett S. Silverberg
   01/22/2020                            (1 pg)            (Related Doc # 50) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         88                Order Granting Motion To Appear pro hac vice - Andrew N. Rosenberg
   01/22/2020                            (1 pg)            (Related Doc # 51) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         89                Order Granting Motion To Appear pro hac vice - Alice B. Eaton (Related
   01/22/2020                            (1 pg)            Doc # 52) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         90                Order Granting Motion To Appear pro hac vice - Diane Meyers (Related
   01/22/2020                            (1 pg)            Doc # 53) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         91                Order Granting Motion To Appear pro hac vice - Alice Nofzinger
   01/22/2020                            (1 pg)            (Related Doc # 54) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         92                Order Granting Motion To Appear pro hac vice - Omid Rahnama
   01/22/2020                            (1 pg)            (Related Doc # 55) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         93                Order Granting Motion To Appear pro hac vice - Robert Britton (Related
   01/22/2020                            (1 pg)            Doc # 59) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         94                Order Granting Motion To Appear pro hac vice - Neal Donnelly (Related
   01/22/2020                            (1 pg)            Doc # 60) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

   01/22/2020                            95                No Creditor Mailing List (RubenCastroadi) (Entered: 01/22/2020)

                                         96                Notice of Appearance and Request for Notice Filed by Lynn Hamilton
                                         (3 pgs)           Butler Filed by on behalf of Sun Industrial Group, LLC (Butler, Lynn)
   01/22/2020                                              (Entered: 01/22/2020)

                                         97                Notice of Appearance and Request for Notice Filed by Timothy Aaron
                                         (3 pgs)           Million Filed by on behalf of Sun Industrial Group, LLC (Million,
   01/22/2020                                              Timothy) (Entered: 01/22/2020)


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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   01/22/2020                            98                  Motion to Appear pro hac vice Craig Solomon Ganz. Filed 000995
                                                                                                                       by Creditor
                                         (1 pg)              Insight Direct USA, Inc. (Ganz, Craig) (Entered: 01/22/2020)

                                         99                  Order Granting Motion To Appear pro hac vice - Damian S. Schaible
   01/22/2020                            (1 pg)              (Related Doc # 73) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         100                 Notice of Appearance and Request for Notice Filed by Michael Edward
                                         (3 pgs)             Collins Filed by on behalf of Fianzas Monterrey, S.A., Federal Insurance
                                                             Company, Westchester Fire Insurance Company (Collins, Michael)
   01/22/2020                                                (Entered: 01/22/2020)

                                         101                 Order Granting Motion To Appear pro hac vice - Natasha Tsiouris
   01/22/2020                            (1 pg)              (Related Doc # 76) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         102                 Order Granting Motion To Appear pro hac vice - Bradley Thomas
                                         (1 pg)              Giordano (Related Doc # 77) Signed on 1/22/2020. (emiller) (Entered:
   01/22/2020                                                01/22/2020)

                                         103                 Motion to Appear pro hac vice Robert W. Miller. Filed by Creditors
                                         (1 pg)              Federal Insurance Company, Fianzas Monterrey, S.A., Westchester Fire
   01/22/2020                                                Insurance Company (Collins, Michael) (Entered: 01/22/2020)

                                         104                 Motion to Appear pro hac vice Michael A. DiGiacomo. Filed by Creditor
   01/22/2020                            (1 pg)              Insight Direct USA, Inc. (DiGiacomo, Michael) (Entered: 01/22/2020)

                                         105                 Notice of Appearance and Request for Notice Filed by William Alfred
                                         (3 pgs)             Wood III Filed by on behalf of Credit Agricole Corporate and Investment
   01/22/2020                                                Bank (Wood, William) (Entered: 01/22/2020)

                                         106                 Statement of Manier & Herod, P.C. Pursuant to Federal Rule of
                                         (3 pgs)             Bankruptcy Procedure 2019 (Filed By Federal Insurance Company,
                                                             Fianzas Monterrey, S.A., Westchester Fire Insurance Company ).
   01/22/2020                                                (Collins, Michael) (Entered: 01/22/2020)

                                         107                 Order Granting Motion To Appear pro hac vice - Craig Solomon Ganz
   01/22/2020                            (1 pg)              (Related Doc # 98) Signed on 1/22/2020. (emiller) (Entered: 01/22/2020)

                                         108                 Order Granting Motion To Appear pro hac vice - Robert W. Miller
                                         (1 pg)              (Related Doc # 103) Signed on 1/22/2020. (emiller) (Entered:
   01/22/2020                                                01/22/2020)

                                         109                 Order Granting Complex Chapter 11 Bankruptcy Case Treatment Signed
                                         (1 pg)              on 1/22/2020 (Related document(s):17 Designation of Complex Chapter
   01/22/2020                                                11 Bankruptcy Case) (emiller) (Entered: 01/22/2020)

                                         110                 Amended Motion for Entry of (A) an Order (I) Approving the Stalking
                                         (262 pgs; 3 docs)   Horse Protections, (II) Approving Bidding Procedures for the Sale of the
                                                             Lummus Assets and Interest, and (III) Approving Contract Assumption
                                                             and Assignment Procedures, and (B) an Order Authorizing the Debtors
                                                             to Enter Into a Definitive Purchase Agreement Subject to Entry of the
                                                             Confirmation Order Filed by Debtor McDermott International, Inc.
                                                             (Attachments: # 1 Proposed Order # 2 Proposed Order Proposed Sale
   01/22/2020                                                Order) (Cavenaugh, Matthew) (Entered: 01/22/2020)

   01/22/2020                            111                 Notice of Appearance and Request for Notice Filed by William James
                                         (3 pgs)             Hotze Filed by on behalf of Larsen & Toubro Hydrocarbon Engineering
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          43/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                             Limited (Hotze, William) (Entered: 01/22/2020)           000996



                                         112                 Motion to Appear pro hac vice Patrick J. Potter. Filed by Creditor
                                         (1 pg)              Larsen & Toubro Hydrocarbon Engineering Limited (Hotze, William)
   01/22/2020                                                (Entered: 01/22/2020)

                                         113                 Notice of Appearance and Request for Notice Filed by Julie Goodrich
                                         (3 pgs)             Harrison Filed by on behalf of ExxonMobil Pipeline Company, Gulf
   01/22/2020                                                Coast Growth Ventures LLC (Harrison, Julie) (Entered: 01/22/2020)

                                         114                 Notice of Appearance and Request for Notice Filed by Sean B Davis
                                         (3 pgs)             Filed by on behalf of Powell Electrical Systems, Inc. (Davis, Sean)
   01/22/2020                                                (Entered: 01/22/2020)

                                         115                 Motion to Appear pro hac vice for Andrew M. Parlen. Filed by Interested
   01/22/2020                            (1 pg)              Party Barclays Bank PLC (Mayer, Simon) (Entered: 01/22/2020)

                                         116                 Motion to Appear pro hac vice for Anupama Yerramalli. Filed by
                                         (1 pg)              Interested Party Barclays Bank PLC (Mayer, Simon) (Entered:
   01/22/2020                                                01/22/2020)

                                         117                 Motion to Appear pro hac vice for Andrew Sorkin. Filed by Interested
   01/22/2020                            (1 pg)              Party Barclays Bank PLC (Mayer, Simon) (Entered: 01/22/2020)

                                         118                 Notice of Appearance and Request for Notice Filed by Thomas A
                                         (3 pgs)             Howley Filed by on behalf of Total Petrochemicals & Refining USA,
   01/22/2020                                                Inc. (Howley, Thomas) (Entered: 01/22/2020)

                                         119                 Motion to Appear pro hac vice Lisa M. Schweitzer. Filed by Interested
                                         (1 pg)              Party Total Petrochemicals & Refining USA, Inc. (Howley, Thomas)
   01/22/2020                                                (Entered: 01/22/2020)

                                         120                 Motion to Appear pro hac vice Jane VanLare. Filed by Interested Party
                                         (1 pg)              Total Petrochemicals & Refining USA, Inc. (Howley, Thomas) (Entered:
   01/22/2020                                                01/22/2020)

                                         121                 Amended Chapter 11 Plan Filed by McDermott International, Inc..
                                         (134 pgs; 2 docs)   (Related document(s):5 Chapter 11 Plan) (Attachments: # 1 Redline)
   01/22/2020                                                (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         122                 Proposed Order RE: Emergency Motion for Entry of Interim and Final
                                         (32 pgs; 2 docs)    Orders Authorizing the Debtors to (I) Continue to Operate Their Cash
                                                             Management System and Maintenance Existing Bank Accounts and (II)
                                                             Continue to Perform Intercompany Transactions (Filed By McDermott
                                                             International, Inc. ).(Related document(s):15 Emergency Motion)
   01/22/2020                                                (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         123                 Proposed Order RE: Emergency Motion for Entry of an Order
                                         (22 pgs; 2 docs)    Authorizing the Debtors to (I) Continue Insurance Coverage Entered Into
                                                             Prepetition and Satisfy Prepetition Obligations Related Thereto, (II)
                                                             Renew, Amend, Supplement, Extend, or Purchase Insurance Policies,
                                                             (III) Honor the Terms of the Premium Financing Agreement and Pay
                                                             Premiums Thereunder, and (IV) Enter Into New Premium Financing
                                                             Agreement (Filed By McDermott International, Inc. ).(Related
                                                             document(s):11 Emergency Motion) (Attachments: # 1 Redline)
   01/22/2020                                                (Cavenaugh, Matthew) (Entered: 01/22/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            44/133
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                                                                                                                       000997
   01/22/2020                            124                Proposed Order RE: Emergency Motion for Entry of an Order (I)
                                         (16 pgs; 2 docs)   Restating and Enforcing the Worldwide Automatic Stay, Anti-
                                                            Discrimination Provisions, and Ipso Facto Protections of the Bankruptcy
                                                            Code, (II) Permitting the Debtors to Modify the Automatic Stay in Their
                                                            Sole Discretion to Proceed With Litigation or Contested Matter
                                                            Commenced Prepetition, and (III) Approving the Form and Manner of
                                                            Notice (Filed By McDermott International, Inc. ).(Related
                                                            document(s):10 Emergency Motion) (Attachments: # 1 Redline)
                                                            (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         125                Affidavit Re: of Christina Pullo Regarding Disclosure Statement Book,
                                         (122 pgs)          DS Prepack Joint Ballot, Class 9 Master Ballot, Class 9 Beneficial
                                                            Ballot, and Return Envelope. (related document(s):4 Disclosure
                                                            Statement, 5 Chapter 11 Plan). Filed by Prime Clerk LLC (Steele,
   01/22/2020                                               Benjamin) (Entered: 01/22/2020)

                                         126                Proposed Order RE: Emergency Motion for Entry of an Order
                                         (12 pgs; 2 docs)   Authorizing the Debtors to (I) Pay Prepetition Wages, Salaries, Other
                                                            Compensation, and Reimbursable Expenses and (II) Continue Employee
                                                            Benefits Programs (Filed By McDermott International, Inc. ).(Related
                                                            document(s):9 Emergency Motion) (Attachments: # 1 Redline)
   01/22/2020                                               (Cavenaugh, Matthew) (Entered: 01/22/2020)

                                         127                Affidavit Re: of Nicholas Vass Regarding First Day Emergency Motions,
                                         (27 pgs)           Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of
                                                            Reorganization of McDermott International, Inc. and Its Debtor
                                                            Affiliates, Joint Prepackaged Chapter 11 Plan of Reorganization of
                                                            McDermott International, Inc. and Its Debtor Affiliates, Debtors
                                                            Emergency Application for Entry of an Order Authorizing the Retention
                                                            and Appointment of Prime Clerk LLC as Claims, Noticing, and
                                                            Solicitation Agent, Notice of Designation as Complex Chapter 11
                                                            Bankruptcy Case, Declarations of David Dickson and John R.
                                                            Castellano, Joint Administration Order, First Day Hearing Agenda,
                                                            Prime Clerk Retention Order, Order Granting Complex Chapter 11
                                                            Bankruptcy Case Treatment, and Debtors Amended Motion for Entry of
                                                            (A) an Order (I) Approving the Stalking Horse Protections, (II)
                                                            Approving Bidding Procedures for the Sale of the Lummus Assets and
                                                            Interests, and (III) Approving Contract Assumption and Assignment
                                                            Procedures, and (B) an Order Authorizing the Debtors to Enter into a
                                                            Definitive Purchase Agreement Subject to Entry of the Confirmation
                                                            Order. (related document(s):4 Disclosure Statement, 5 Chapter 11 Plan, 6
                                                            Emergency Motion, 8 Emergency Motion, 9 Emergency Motion, 10
                                                            Emergency Motion, 11 Emergency Motion, 12 Emergency Motion, 13
                                                            Emergency Motion, 14 Emergency Motion, 15 Emergency Motion, 16
                                                            Emergency Motion, 18 Emergency Motion, 19 Emergency Motion, 27
                                                            Emergency Motion, 29 Declaration, 56 Emergency Motion, 57 Order for
                                                            Joint Administration, 62 Declaration, 64 Agenda, 67 Order on
                                                            Emergency Motion, 109 Generic Order, 110 Generic Motion). Filed by
   01/23/2020                                               Prime Clerk LLC (Steele, Benjamin) (Entered: 01/23/2020)

                                         128                Notice and Order regarding exchanging of exhibits and witness lists in all
   01/23/2020                            (1 pg)             contested matters and adversary proceedings. (Entered: 01/23/2020)

                                         129                Order Granting Motion To Appear pro hac vice - Michael A. DiGiacomo
                                         (1 pg)             (Related Doc # 104) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                               01/23/2020)

   01/23/2020                            130                Order Granting Motion To Appear pro hac vice - Patrick J. Potter
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          45/133
                Case
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                                         (1 pg)                                                                       000998
                                                             (Related Doc # 112) Signed on 1/23/2020. (emiller) (Entered:
                                                             01/23/2020)

                                         131                 Order Granting Motion To Appear pro hac vice - Andrew M. Parlen
                                         (1 pg)              (Related Doc # 115) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                                01/23/2020)

                                         132                 Order Granting Motion To Appear pro hac vice - Anupama Yerramalli
                                         (1 pg)              (Related Doc # 116) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                                01/23/2020)

                                         133                 Order Granting Motion To Appear pro hac vice - Andrew Sorkin
                                         (1 pg)              (Related Doc # 117) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                                01/23/2020)

                                         134                 Order Granting Motion To Appear pro hac vice - Lisa M. Schweitzer
                                         (1 pg)              (Related Doc # 119) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                                01/23/2020)

                                         135                 Order Granting Motion To Appear pro hac vice - Jane VanLare (Related
   01/23/2020                            (1 pg)              Doc # 120) Signed on 1/23/2020. (emiller) (Entered: 01/23/2020)

                                         136                 Statement of Davis Polk & Wardwell LLP and Porter Hedges LLP
                                         (12 pgs)            Pursuant to Federal Rule of Bankruptcy Procedure 2019 (Filed By Ad
   01/23/2020                                                Hoc Group of Term Lenders ). (Higgins, John) (Entered: 01/23/2020)

                                         137                 Proposed Order RE: Emergency Motion for Entry of an Order
                                         (12 pgs; 2 docs)    Authorizing the Debtors to (I) Pay Prepetition Wages, Salaries, Other
                                                             Compensation, and Reimbursable Expenses and (II) Continue Employee
                                                             Benefits Programs (Filed By McDermott International, Inc. ).(Related
                                                             document(s):9 Emergency Motion) (Attachments: # 1 Redline)
   01/23/2020                                                (Cavenaugh, Matthew) (Entered: 01/23/2020)

                                         138                 Proposed Order RE: Emergency Motion for Entry of an Order (I)
                                         (145 pgs; 2 docs)   Scheduling a Combined Disclosure Statement Approval and Plan
                                                             Confirmation Hearing, (II) Establishing Plan and Disclosure Statement
                                                             Objection and Reply Deadlines and Related Procedures, (III) Approving
                                                             the Form and Manner of Notice of Commencement, (IV) Approving the
                                                             Rights Offering Procedures and Related Materials, (V) Waiving the
                                                             Requirement that the U.S. Trustee Convene a Meeting of Creditors, (VI)
                                                             Waiving the Requirement That the Debtors File Schedules and
                                                             Statements, (VII) Approving the Form and Manner of Notice of Bid
                                                             Deadlines and an Auction, and (VIII) Granting Related Relief (Filed By
                                                             McDermott International, Inc. ).(Related document(s):27 Emergency
                                                             Motion) (Attachments: # 1 Redline) (Peguero, Kristhy) (Entered:
   01/23/2020                                                01/23/2020)

                                         139                 Proposed Order RE: Emergency Motion for Entry of an Order (I)
                                         (68 pgs; 2 docs)    Authorizing the Debtors to (A) Enter Into, and Perform Under, Amended
                                                             and Restated Hedge Agreements, (B) Enter Into, and Perform Under,
                                                             New Hedge Agreements, (C) Grant Superpriority Claims, and (D) Modify
                                                             the Automatic Stay, and (II) Granting Related Relief (Filed By
                                                             McDermott International, Inc. ).(Related document(s):19 Emergency
                                                             Motion) (Attachments: # 1 Redline) (Peguero, Kristhy) (Entered:
   01/23/2020                                                01/23/2020)

   01/23/2020                            140                 Proposed Order RE: Emergency Motion for Entry of Interim and Final
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         46/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (167 pgs; 2 docs)   Orders (A) Authorizing the Debtors to Obtain Postpetition 000999
                                                                                                                       Financing,
                                                             (B) Authorizing the Debtors to Use Cash Collateral, (C) Granting Liens
                                                             and Providing Claims with Superpriority Administrative Expense Status,
                                                             (D) Granting Adequate Protection to the Prepetition Secured Parties, (E)
                                                             Modifying the Automatic Stay, (F) Scheduling a Final Hearing, and (G)
                                                             Granting Related Relief (Filed By McDermott International, Inc. ).
                                                             (Related document(s):56 Emergency Motion) (Attachments: # 1 Redline)
                                                             (Cavenaugh, Matthew) (Entered: 01/23/2020)

                                         141                 Proposed Order RE: Emergency Motion for Entry of Interim and Final
                                         (34 pgs; 2 docs)    Orders Authorizing the Debtors to (I) Continue to Operate Their Cash
                                                             Management System and Maintenance Existing Bank Accounts and (II)
                                                             Continue to Perform Intercompany Transactions (Filed By McDermott
                                                             International, Inc. ).(Related document(s):15 Emergency Motion)
   01/23/2020                                                (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 01/23/2020)

                                         142                 Notice of Appearance and Request for Notice Filed by Carl Dore Jr Filed
                                         (2 pgs)             by on behalf of Trinidad Offshore Fabricators Unlimited (Dore, Carl)
   01/23/2020                                                (Entered: 01/23/2020)

                                         143                 Notice of Appearance and Request for Notice Filed by Allyson Sasha
                                         (2 pgs)             Johnson Filed by on behalf of Trinidad Offshore Fabricators Unlimited
   01/23/2020                                                (Johnson, Allyson) (Entered: 01/23/2020)

                                         144                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              D. Cavenaugh. This is to order a transcript of 1/23/2020 before Judge
                                                             David R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed
                                                             By McDermott International, Inc. ). (Cavenaugh, Matthew)
                                                             Electronically forwarded to Access Transcripts on January 24, 2020.
                                                             Estimated completion date: January 25, 2020. Modified on 1/24/2020
   01/23/2020                                                (ClaudiaGutierrez). (Entered: 01/23/2020)

                                         145                 Order (I) Authorizing the Debtors to Enter into and Perform Under (A)
                                         (34 pgs)            Amended and Restated Hedge Agreements and (B) New Hedge
                                                             Agreements, (II) Granting DIP Liens and DIP Superpriority Claims, (III)
                                                             Modifying the Automatic Stay and (IV) Granting Related Relief (Related
   01/23/2020                                                Doc # 19) Signed on 1/23/2020. (emiller) (Entered: 01/23/2020)

                                         146                 Interim Order (A) Authorizing the Debtors to Obtain Postpetition
                                         (84 pgs)            Financing, (B) Authorizing the Debtors to Use Cash Collateral, (C)
                                                             Granting Liens and Providing Claims with Superpriority Administrative
                                                             Expense Status, (D) Granting Adequate Protection to the Prepetition
                                                             Secured Parties, (E) Modifying the Automatic Stay, (F) Scheduling a
                                                             Final Hearing, and (G) Granting Related Relief Signed on 1/23/2020
                                                             (Related document(s):56 Emergency Motion) Final Hearing scheduled
                                                             for 2/24/2020 at 12:00 PM at Houston, Courtroom 400 (DRJ).
   01/23/2020                                                (emiller) (Entered: 01/23/2020)

                                         147                 Interim Order Authorizing the Debtors to (I) Continue to Operate Their
                                         (21 pgs)            Cash Management System and Maintain Existing Bank Accounts and (II)
                                                             Continue to Perform Intercompany Transactions Signed on 1/23/2020
                                                             (Related document(s):15 Emergency Motion) Final Hearing scheduled
                                                             for 3/12/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
   01/23/2020                                                (emiller) (Entered: 01/23/2020)

   01/23/2020                            148                 Notice of Appearance and Request for Notice Filed by Antonio J
                                         (2 pgs)             Rodriguez Filed by on behalf of Calamity Jane Transport Chartering

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          47/133
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                                                 CM/ECFFiled   onBankruptcy
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                                                                                        Southern
                                                                                                                    001000
                                                           N.V., Allseas Marine Contractors S.A. (Rodriguez, Antonio) (Entered:
                                                           01/23/2020)

                                         149               Order Authorizing the Debtors to (I) Pay Prepetition Wages, Salaries,
                                         (6 pgs)           Other Compensation, and Reimbursable Expenses and (II) Continue
                                                           Employee Benefits Programs (Related Doc # 9) Signed on 1/23/2020.
   01/23/2020                                              (emiller) (Entered: 01/23/2020)

                                         150               Order Authorizing the Debtors to (I) Honor and Incur Obligations Under
                                         (6 pgs)           Customer Contracts, (II) Obtain New Customer Contracts, and (III)
                                                           Utilize the Contract Procedures to Settle Post-Petition Disputes (Related
   01/23/2020                                              Doc # 12) Signed on 1/23/2020. (emiller) (Entered: 01/23/2020)

                                         151               Order (I) Authorizing the Debtors to File a Consolidated List of Creditors
                                         (3 pgs)           and a Consolidated List of the 50 Largest Unsecured Creditors, (II)
                                                           Waiving the Requirement to File a List of Equity Security Holders, and
                                                           (III) Authorizing the Debtors to Redact Certain Personal Identification
                                                           Information (Related Doc # 6) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                              01/23/2020)

                                         152               Order (I) Approving the Debtors' Proposed Adequate Assurance of
                                         (17 pgs)          Payment for Future Utility Services, (II) Prohibiting Utility Providers
                                                           from Altering, Refusing, or Discontinuing Services, and (III) Approving
                                                           the Debtors' Proposed Procedures for Resolving Adequate Assurance
                                                           Requests (Related Doc # 8) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                              01/23/2020)

                                         153               Interim Order (I) Authorizing the Payment of Foreign Claims, Lien
                                         (7 pgs)           Claims, 503(B)(9) Claims, and Other Claims, and (II) Confirming
                                                           Administrative Expense Priority of Outstanding Purchase Orders Signed
                                                           on 1/23/2020 (Related document(s):13 Emergency Motion) Final
                                                           Hearing scheduled for 2/24/2020 at 12:00 PM at Houston,
   01/23/2020                                              Courtroom 400 (DRJ). (emiller) (Entered: 01/23/2020)

                                         154               Order Authorizing the Payment of Certain Prepetition Taxes and Fees
   01/23/2020                            (5 pgs)           (Related Doc # 14) Signed on 1/23/2020. (emiller) (Entered: 01/23/2020)

                                         155               Order Approving Notification and Hearing Procedures for Certain
                                         (40 pgs)          Transfers of and Declarations of Worthlessness with Respect to Common
                                                           Stock and Preferred Stock (Related Doc # 16) Signed on 1/23/2020.
   01/23/2020                                              (emiller) (Entered: 01/23/2020)

                                         156               Order Approving Continuation of the Surety Bond Program (Related Doc
   01/23/2020                            (14 pgs)          # 18) Signed on 1/23/2020. (emiller) (Entered: 01/23/2020)

                                         157               Order Authorizing the Debtors to (I) Continue Insurance Coverage
                                         (16 pgs)          Entered into Prepetition and Satisfy Prepetition Obligations Related
                                                           Thereto, (II) Renew, Amend, Supplement, Extend, or Purchase Insurance
                                                           Policies, (III) Honor the Terms of the Premium Financing Agreement and
                                                           Pay Premiums Thereunder, and (IV) enter into New Premium Financing
                                                           Agreements (Related Doc # 11) Signed on 1/23/2020. (emiller) (Entered:
   01/23/2020                                              01/23/2020)

   01/23/2020                            158               Order (I) Restating and Enforcing the Worldwide Automatic Stay, Anti-
                                         (11 pgs)          Discrimination Provisions, and Ipso Facto Protections of the Bankruptcy
                                                           Code, (II) Permitting the Debtors to Modify the Automatic Stay in Their
                                                           Sole Discretion to Proceed with Litigation or Contested Matters
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           48/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                           Commenced Prepetition, and (III) Approving the Form and001001
                                                                                                                     Manner of
                                                           Notice (Related Doc # 10) Signed on 1/23/2020. (emiller) (Entered:
                                                           01/23/2020)

                                         159               Notice of Appearance and Request for Notice Filed by Robert Bernard
                                         (4 pgs)           Bruner Filed by on behalf of The Standard Bank of South Africa,
   01/23/2020                                              Limited (Bruner, Robert) (Entered: 01/23/2020)

                                         160               Order (I) Scheduling a Combined Disclosure Statement Approval and
                                         (72 pgs)          Plan Confirmation Hearing, (II) Establishing Plan and Disclosure
                                                           Statement Objection and Reply Deadlines and Related Procedures, (III)
                                                           Approving the Form and Manner of Notice of Commencement, (IV)
                                                           Approving the Rights Offering Procedures and Related Materials, (V)
                                                           Waiving the Requirement that the U.S. Trustee Convene a Meeting of
                                                           Creditors, (VI) Waiving the Requirement that the Debtors File Schedules
                                                           and Statements, (IX) Approving the Form and Manner of Notice of Bid
                                                           Deadlines and an Auction, and (VII) Granting Related Relief Signed on
                                                           1/23/2020 (Related document(s):27 Emergency Motion) A Combined
                                                           Disclosure Statement Approval and Confirmation hearing to be held
                                                           on 3/12/2020 at 09:00 AM at Houston, Courtroom 400 (DRJ).
   01/23/2020                                              (emiller) (Entered: 01/23/2020)

                                         161               AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Patricia
                                         (2 pgs)           B. Tomasco. This is to order a transcript of Hearing on First Day
                                                           Pleadings held on January 23, 2020, before Judge David R. Jones. Court
                                                           Reporter/Transcriber: Judicial Transcribers of Texas (Filed By Monterra
                                                           ). (Tomasco, Patricia) Electronically forwarded to Original requested
                                                           Transcriber Access Transcripts on January 24, 2020. Estimated
                                                           completion date: January 24, 2020. Modified on 1/24/2020
   01/23/2020                                              (ClaudiaGutierrez). (Entered: 01/23/2020)

   01/23/2020                                              Courtroom Minutes. Time Hearing Held: 9:00 AM. Appearances:
                                                           Matthew Cavenaugh, Joshua Sussberg, John Luze, Chris Greco, Anthony
                                                           Grossi, Anna Rotman, Andrw McGaan; Trey Wood, Margo Schonholtz,
                                                           and Penelope Jensen; Kenneth Krock, Melissa Fuller, Robert Stark,
                                                           Andrew Roosenberg, Alice Nofzinger, and Diane Meyers; Philip
                                                           Eisenburg, Anu Yerramalli, Brett Newman, and Andrew Sorkin; Hugh
                                                           Ray III, Bob Britton and Nal Donnelly; John Higgins, Kiran Vakamudi,
                                                           Damian Schaible and Natasha Tsiouris; Tom Howley and Jane VanLare;
                                                           Cliff Carlson and Alfredo Perez; Paul Green and Daniel Merrett; Ashley
                                                           Harper and Patrick Sibley; Jason Boland and Julie Harrison; Charles
                                                           Beckham, Kelli Norfleet, Ken Kattner, Kourtney Lyda; Hector Duran and
                                                           Stephen Statham and Jason R.; Carl Dore and Allyson Johnson; Bill
                                                           Greendyke (by phone). Declarations of David Dickson, John R.
                                                           Castellano, and Shah submitted at docket nos. 62 and 29 admitted.
                                                           Witnesses: David Dickson, John Castellano. The Court approved the
                                                           DIP/Cash Collateral motion 56. The revised order submitted at docket
                                                           no. 140 was signed on the record. A final hearing on the motion is
                                                           scheduled for 02/24/2020 at 12:00 PM at Houston, Courtroom 400
                                                           (DRJ).The Court approved the hedging motion 19. The revised proposed
                                                           order submitted at docket no. 139 was signed on the record. The Court
                                                           approved the Cash Management Motion 15. The revised proposed order
                                                           submitted at docket no. 141 was signed on the record. A Final hearing is
                                                           scheduled for 03/12/2020 at 9:00 AM at Houston, Courtroom 400
                                                           (DRJ). The Court approved the wages motion 9. The revised order
                                                           submitted at docket no. 137 was signed on the record. The Court
                                                           approved the customer motion 12. Order to be entered. The Court
                                                           approved the vendor motion 13. Order to be entered. A final hearing on
                                                           the motion is scheduled for 02/24/2020 at 12:00 PM at Houston,

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         49/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                           Courtroom 400 (DRJ). The Court approved the surety motion  001002
                                                                                                                           18. Order
                                                           to be entered. The Court approved the insurance motion 11. The revised
                                                           order submitted at docket no. 123 was signed on the record. The Court
                                                           approved the taxes motion 14. Order to be entered. The Court approved
                                                           the Motion for Entry of Interim and Final Orders Approving Notification
                                                           and Hearing Procedures for Certain Transfers of and Declarations of
                                                           Worthlessness with Respect to Common Stock and Preferred Stock 16.
                                                           Order to be entered. The Court approved the automatic stay motion 10.
                                                           The revised proposed order submitted at docket no. 124 was signed on
                                                           the record. The Court approved the utility motion 8. Order to be entered.
                                                           The Court approved the creditor matrix motion 6. Order to be entered.
                                                           The Court approved the scheduling motion 27. The revised proposed
                                                           order submitted at docket no. 138 was signed on the record.
                                                           (VrianaPortillo) (Entered: 01/23/2020)

                                         162               Notice of Appearance and Request for Notice Filed by Diane Wade
                                         (1 pg)            Sanders Filed by on behalf of Nueces County, Live Oak CAD (Sanders,
   01/23/2020                                              Diane) (Entered: 01/23/2020)

                                         163               Notice of Appearance and Request for Notice Filed by Thomas Patrick
                                         (3 pgs)           Henican Filed by on behalf of Boh Bros. Construction Co., L.L.C.
   01/23/2020                                              (Henican, Thomas) (Entered: 01/23/2020)

                                         164               Motion to Appear pro hac vice Gerardo Mijares-Shafai. Filed by
   01/23/2020                            (1 pg)            Interested Party BP America, Inc. (Callagy, Sean) (Entered: 01/23/2020)

                                         165               Motion to Appear pro hac vice Rosa J. Evergreen. Filed by Interested
   01/23/2020                            (1 pg)            Party BP America, Inc. (Callagy, Sean) (Entered: 01/23/2020)

                                         166               Notice of Appearance and Request for Notice Filed by Sean Michael
                                         (4 pgs)           Callagy Filed by on behalf of BP America, Inc. (Callagy, Sean) (Entered:
   01/23/2020                                              01/23/2020)

                                         167               Letter from Shareholder Sai Kumar (JeannieAndresen) (Entered:
   01/23/2020                            (1 pg)            01/23/2020)

                                                           Notice of Appearance and Request for Notice Filed by Alicia Lenae
   01/23/2020                                              McCullar (McCullar, Alicia) (Entered: 01/23/2020)

                                         168               Notice of Appearance and Request for Notice Filed by William Ross
                                         (3 pgs)           Spence Filed by on behalf of Morris-Shea Bridge Company, Inc.
   01/23/2020                                              (Spence, William) (Entered: 01/23/2020)

                                         169               Notice of Appearance and Request for Notice Filed by William R
                                         (3 pgs)           Greendyke Filed by on behalf of Golden Pass LNG Terminal LLC
   01/23/2020                                              (Greendyke, William) (Entered: 01/23/2020)

                                         170
                                         (1 pg)                PDF with attached Audio File. Court Date & Time [ 1/23/2020
                                                           9:10:06 AM ]. File Size [ 85580 KB ]. Run Time [ 02:58:18 ]. (First Day
                                                           Hearings. Hearing held January 23, 2020.). (admin). (Entered:
   01/23/2020                                              01/23/2020)

                                         171               Notice of Appearance and Request for Notice Filed by Elizabeth E
                                         (4 pgs)           Klingensmith Filed by on behalf of MMR Constructors Inc.
   01/23/2020                                              (Klingensmith, Elizabeth) (Entered: 01/23/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          50/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   01/23/2020                            172               Letter from Shareholder Sean Connolly (JeannieAndresen) 001003
                                                                                                                   (Entered:
                                         (2 pgs)           01/23/2020)

                                         173               Motion to Appear pro hac vice by Morgan L. Patterson. Filed by
                                         (1 pg)            Creditor MMR Constructors Inc. (Klingensmith, Elizabeth) (Entered:
   01/23/2020                                              01/23/2020)

                                         174               Motion to Appear pro hac vice by Matthew P. Ward. Filed by Creditor
   01/23/2020                            (1 pg)            MMR Constructors Inc. (Klingensmith, Elizabeth) (Entered: 01/23/2020)

                                         175               Notice of Appearance and Request for Notice Filed by Jarett Dillard
                                         (4 pgs)           Filed by on behalf of Amec Foster Wheeler USA Corp f/k/a Foster
   01/23/2020                                              Wheeler USA Corporation (Dillard, Jarett) (Entered: 01/23/2020)

                                         176               Motion and Order for Admission Pro Hac Vice Filed by Interested Party
                                         (1 pg)            Amec Foster Wheeler USA Corp f/k/a Foster Wheeler USA Corporation
   01/23/2020                                              (Dillard, Jarett) (Entered: 01/23/2020)

                                         177               AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Illuminate
                                         (2 pgs)           Buyer, LLC/Hugh M. Ray, III. This is to order a transcript of First Day
                                                           Hearing, January 23, 2020 before Judge David R. Jones. Court
                                                           Reporter/Transcriber: Judicial Transcribers of Texas (Filed By Illuminate
                                                           Buyer, LLC ). (Ray, Hugh) Electronically forwarded to Access
                                                           Transcripts, LLC on January 27, 2020. Estimated completion date:
                                                           January 28, 2020. Modified on 1/27/2020 (ClaudiaGutierrez). (Entered:
   01/23/2020                                              01/23/2020)

                                         178               Notice of Appearance and Request for Service of Papers. Filed by
                                         (2 pgs)           Coastal Welding Supply and Coastal Welding Supply of Louisiana
   01/24/2020                                              (McKinney, Christopher) (Entered: 01/24/2020)

                                         179               Motion to Appear pro hac vice . Filed by Creditor Oceanwide Houston,
   01/24/2020                            (1 pg)            Inc. (Mashburn-Myrick, I.) (Entered: 01/24/2020)

                                         180               Notice of Appearance and Request for Notice Filed by Scott Robert
                                         (6 pgs)           Cheatham Filed by on behalf of Honeywell International, Inc.
   01/24/2020                                              (Cheatham, Scott) (Entered: 01/24/2020)

                                         181               Motion to Appear pro hac vice D. Tyler Nurnberg. Filed by Interested
   01/24/2020                            (1 pg)            Party BP America, Inc. (Callagy, Sean) (Entered: 01/24/2020)

                                         182               Motion to Appear pro hac vice of Alexandra J. Kirincic. Filed by
                                         (1 pg)            Interested Party Lloyds Bank Corporate Markets Plc (Trausch, David)
   01/24/2020                                              (Entered: 01/24/2020)

                                         183               Notice of Appearance and Request for Notice Filed by David A Trausch
                                         (4 pgs)           Filed by on behalf of Lloyds Bank Corporate Markets Plc (Trausch,
   01/24/2020                                              David) (Entered: 01/24/2020)

                                         184               BNC Certificate of Mailing. (Related document(s):57 Order for Joint
                                         (53 pgs)          Administration) No. of Notices: 7. Notice Date 01/24/2020. (Admin.)
   01/24/2020                                              (Entered: 01/25/2020)

   01/24/2020                            185               BNC Certificate of Mailing. (Related document(s):67 Order on
                                         (8 pgs)           Emergency Motion) No. of Notices: 8. Notice Date 01/24/2020.
                                                           (Admin.) (Entered: 01/25/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          51/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                                                                                    001004
                                         186                BNC Certificate of Mailing. (Related document(s):68 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 8. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         187                BNC Certificate of Mailing. (Related document(s):70 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 8. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         188                BNC Certificate of Mailing. (Related document(s):72 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 8. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         189                BNC Certificate of Mailing. (Related document(s):74 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 8. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         190                BNC Certificate of Mailing. (Related document(s):75 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 8. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         191                BNC Certificate of Mailing. (Related document(s):78 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 11. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         192                BNC Certificate of Mailing. (Related document(s):79 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         193                BNC Certificate of Mailing. (Related document(s):80 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         194                BNC Certificate of Mailing. (Related document(s):81 Order on Motion to
                                         (3 pgs)            Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                               (Admin.) (Entered: 01/25/2020)

                                         195               BNC Certificate of Mailing. (Related document(s):82 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         196               BNC Certificate of Mailing. (Related document(s):83 Order on Motion to
                                         (6 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         197               BNC Certificate of Mailing. (Related document(s):84 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         198               BNC Certificate of Mailing. (Related document(s):85 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

   01/24/2020                            199               BNC Certificate of Mailing. (Related document(s):86 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
                                                           (Admin.) (Entered: 01/25/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       52/133
                Case
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                                         200               BNC Certificate of Mailing. (Related document(s):87 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         201               BNC Certificate of Mailing. (Related document(s):88 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         202               BNC Certificate of Mailing. (Related document(s):89 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         203               BNC Certificate of Mailing. (Related document(s):90 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         204               BNC Certificate of Mailing. (Related document(s):91 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         205               BNC Certificate of Mailing. (Related document(s):92 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         206               BNC Certificate of Mailing. (Related document(s):93 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         207               BNC Certificate of Mailing. (Related document(s):94 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 12. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         208               BNC Certificate of Mailing. (Related document(s):99 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 13. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         209               BNC Certificate of Mailing. (Related document(s):101 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 13. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         210               BNC Certificate of Mailing. (Related document(s):102 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 13. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         211               BNC Certificate of Mailing. (Related document(s):107 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 13. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

                                         212               BNC Certificate of Mailing. (Related document(s):108 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 13. Notice Date 01/24/2020.
   01/24/2020                                              (Admin.) (Entered: 01/25/2020)

   01/24/2020                            279               Motion to Appear pro hac vice - Kimberly E. Neureiter. Filed by
                                         (1 pg)            Interested Party Pension Benefit Guaranty Corporation (MelissaMorgan)
                                                           (Entered: 02/03/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       53/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                                                        001006

                                         280               Motion to Appear pro hac vice - Hannah Leah Uricchio. Filed by
                                         (1 pg)            Interested Party Pension Benefit Guaranty Corporation (MelissaMorgan)
   01/24/2020                                              (Entered: 02/03/2020)

                                         213               Transcript RE: First Day Hearing held on 1/23/20 before Judge David R.
                                         (135 pgs)         Jones. Transcript is available for viewing in the Clerk's Office. Filed by
                                                           Transcript access will be restricted through 04/24/2020.
   01/25/2020                                              (AccessTranscripts) (Entered: 01/25/2020)

                                         214               BNC Certificate of Mailing. (Related document(s):128 Order Regarding
                                         (10 pgs)          the Exchange of Exhibits and Witness lists in all contested matters and
                                                           adversary proceedings) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         215               BNC Certificate of Mailing. (Related document(s):109 Generic Order) No.
   01/25/2020                            (3 pgs)           of Notices: 14. Notice Date 01/25/2020. (Admin.) (Entered: 01/25/2020)

                                         216               BNC Certificate of Mailing. (Related document(s):129 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         217               BNC Certificate of Mailing. (Related document(s):130 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         218               BNC Certificate of Mailing. (Related document(s):131 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         219               BNC Certificate of Mailing. (Related document(s):132 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         220               BNC Certificate of Mailing. (Related document(s):133 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         221               BNC Certificate of Mailing. (Related document(s):134 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         222               BNC Certificate of Mailing. (Related document(s):135 Order on Motion to
                                         (3 pgs)           Appear pro hac vice) No. of Notices: 16. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         223               BNC Certificate of Mailing. (Related document(s):145 Order on
                                         (36 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         224               BNC Certificate of Mailing. (Related document(s):146 Order Setting
                                         (86 pgs)          Hearing) No. of Notices: 32. Notice Date 01/25/2020. (Admin.) (Entered:
   01/25/2020                                              01/25/2020)

   01/25/2020                            225               BNC Certificate of Mailing. (Related document(s):149 Order on
                                         (8 pgs)           Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           54/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                           (Admin.) (Entered: 01/25/2020)                                001007



                                         226               BNC Certificate of Mailing. (Related document(s):150 Order on
                                         (8 pgs)           Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         227               BNC Certificate of Mailing. (Related document(s):151 Order on
                                         (5 pgs)           Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         228               BNC Certificate of Mailing. (Related document(s):152 Order on
                                         (19 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         229               BNC Certificate of Mailing. (Related document(s):153 Order Setting
                                         (9 pgs)           Hearing) No. of Notices: 32. Notice Date 01/25/2020. (Admin.) (Entered:
   01/25/2020                                              01/25/2020)

                                         230               BNC Certificate of Mailing. (Related document(s):154 Order on
                                         (7 pgs)           Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         231               BNC Certificate of Mailing. (Related document(s):155 Order on
                                         (42 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         232               BNC Certificate of Mailing. (Related document(s):156 Order on
                                         (16 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         233               BNC Certificate of Mailing. (Related document(s):157 Order on
                                         (18 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         234               BNC Certificate of Mailing. (Related document(s):158 Order on
                                         (13 pgs)          Emergency Motion) No. of Notices: 32. Notice Date 01/25/2020.
   01/25/2020                                              (Admin.) (Entered: 01/25/2020)

                                         235               BNC Certificate of Mailing. (Related document(s):160 Order Setting
                                         (74 pgs)          Hearing) No. of Notices: 32. Notice Date 01/25/2020. (Admin.) (Entered:
   01/25/2020                                              01/25/2020)

                                         236               Notice of Filing of Official Transcript as to 213 Transcript. Parties notified
   01/27/2020                            (1 pg)            (Related document(s):213 Transcript) (jdav) (Entered: 01/27/2020)

                                         237               Letter from shareholder Staffan Bonnier (JeannieAndresen) (Entered:
   01/27/2020                            (2 pgs)           01/27/2020)

                                         239               Notice of Appearance and Request for Notice Filed by T. Josh Judd Filed
                                         (3 pgs)           by on behalf of Gerab National Enterprises LLC (Judd, T.) (Entered:
   01/27/2020                                              01/27/2020)

                                         240               Notice of Withdrawal of Notice of Appearance. (Related document(s):30
                                         (1 pg)            Notice of Appearance) Filed by Bo-Mac Contractors, Ltd. (Judd, T.)
   01/27/2020                                              (Entered: 01/27/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             55/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                                                      001008
   01/27/2020                            241               Notice of Appearance and Request for Notice Filed by Alexander Rafael
                                         (2 pgs)           Perez Filed by on behalf of Foster, LLP (Perez, Alexander) (Entered:
                                                           01/27/2020)

                                         242               Motion to Appear pro hac vice for Sam H. Poteet, Jr.. Filed by Creditors
                                         (1 pg)            Federal Insurance Company, Fianzas Monterrey, S.A., Westchester Fire
   01/27/2020                                              Insurance Company (Collins, Michael) (Entered: 01/27/2020)

                                         243               Notice of Appearance and Request for Notice Filed by Lloyd A. Lim Filed
   01/27/2020                            (3 pgs)           by on behalf of Puffer-Sweiven LP (Lim, Lloyd) (Entered: 01/27/2020)

                                         244               Letter from Shareholder Jason Morris (JeannieAndresen) (Entered:
   01/28/2020                            (1 pg)            01/28/2020)

                                         245               Letter from Shareholder Daniel Gad (JeannieAndresen) (Entered:
   01/28/2020                            (1 pg)            01/28/2020)

                                         246               Order Granting Motion To Appear pro hac vice - Gerardo Mijares-Shafai
   01/28/2020                            (1 pg)            (Related Doc # 164) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         247               Order Granting Motion To Appear pro hac vice - Rosa J. Evergreen
   01/28/2020                            (1 pg)            (Related Doc # 165) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         248               Order Granting Motion To Appear pro hac vice - Morgan L. Patterson
   01/28/2020                            (1 pg)            (Related Doc # 173) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         249               Order Granting Motion To Appear pro hac vice - Matthew P. Ward
   01/28/2020                            (1 pg)            (Related Doc # 174) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         250               Order Granting Motion To Appear pro hac vice - Danielle Mashburn-
                                         (1 pg)            Myrick (Related Doc # 179) Signed on 1/28/2020. (emiller) (Entered:
   01/28/2020                                              01/28/2020)

                                         251               Order Granting Motion To Appear pro hac vice - D. Tyler Nurnberg
   01/28/2020                            (1 pg)            (Related Doc # 181) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         252               Order Granting Motion To Appear pro hac vice - Alexandra J. Kirincic
   01/28/2020                            (1 pg)            (Related Doc # 182) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         253               Letter/Motion to Intervene and Access to Filing System.
                                         (1 pg)            Objections/Request for Hearing Due in 21 days. Filed by Interested Party
   01/28/2020                                              Michael Van Deelen (BrendaLacy) (Entered: 01/28/2020)

                                         254               Order Granting Motion To Appear pro hac vice - Sam H. Poteet, Jr.
   01/28/2020                            (1 pg)            (Related Doc # 242) Signed on 1/28/2020. (emiller) (Entered: 01/28/2020)

                                         255               Notice of Appearance and Request for Notice Filed by Craig E Power
                                         (3 pgs)           Filed by on behalf of David E. Harvey Builders, Inc. (Power, Craig)
   01/28/2020                                              (Entered: 01/28/2020)

                                         256               Notice of Appearance and Request for Notice Filed by Katharine Battaia
                                         (2 pgs)           Clark Filed by on behalf of Sundyne, LLC (Clark, Katharine) (Entered:
   01/28/2020                                              01/28/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          56/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                        Southern
   01/28/2020                            257               Motion to Appear pro hac vice of Courtney E. Jackson. Filed001009
                                                                                                                       by Creditor
                                         (1 pg)            Sundyne, LLC (Clark, Katharine) (Entered: 01/28/2020)

                                         258               Notice of Appearance and Request for Notice Filed by Sharon Marie
                                         (4 pgs)           Beausoleil Filed by on behalf of Glander International Bunkering, Inc.,
                                                           Dan-Bunkering (America), Inc. (Beausoleil, Sharon) (Entered:
   01/29/2020                                              01/29/2020)

                                         259               Motion to Appear pro hac vice Michael J. Small. Filed by Creditors Dan-
                                         (1 pg)            Bunkering (America), Inc., Glander International Bunkering, Inc. (Small,
   01/29/2020                                              Michael) (Entered: 01/29/2020)

                                         260               BNC Certificate of Mailing. (Related document(s):236 Notice of Filing of
                                         (4 pgs)           Official Transcript (Form)) No. of Notices: 37. Notice Date 01/29/2020.
   01/29/2020                                              (Admin.) (Entered: 01/29/2020)

                                         261               Notice of Appearance and Request for Notice Filed by Alan H Katz Filed
   01/30/2020                            (2 pgs)           by on behalf of Entergy Texas, Inc (Katz, Alan) (Entered: 01/30/2020)

                                         262               Notice Proof of Interest and Request for Service of Papers. Filed by
   01/30/2020                            (6 pgs)           Michael D Deelen (hler) (Entered: 01/30/2020)

                                         263               Motion to Appear pro hac vice - James M. Liston. Filed by Creditor BAC
   01/30/2020                            (1 pg)            Canton Holdings LLC (MelissaMorgan) (Entered: 01/30/2020)

                                         264               Notice of Appearance and Request for Notice Filed by Alan H Katz, Omer
                                         (2 pgs)           F Kuebel III Filed by on behalf of Entergy Texas, Inc (Kuebel, Omer)
   01/30/2020                                              (Entered: 01/30/2020)

                                         265               Notice of Filing of Revised Exhibit to Disclosure Statement for the Joint
                                         (12 pgs)          Prepackaged Chapter 11 Plan of Reorganization of McDermott
                                                           International, Inc. and Its Debtor Affiliates. (Related document(s):4
                                                           Disclosure Statement) Filed by McDermott International, Inc.
   01/30/2020                                              (Cavenaugh, Matthew) (Entered: 01/30/2020)

                                         266               Affidavit Re: (Publication) of Keenan K. Baldeo Regarding the Notice of
                                         (8 pgs)           Commencement of Prepackaged Chapter 11 Bankruptcy Cases and
                                                           Hearing on the Disclosure Statement and Confirmation on the Joint
                                                           Prepackaged Chapter 11 Plan.. Filed by Prime Clerk LLC (Steele,
   01/30/2020                                              Benjamin) (Entered: 01/30/2020)

                                         267               BNC Certificate of Mailing. (Related document(s):246 Order on Motion to
                                         (4 pgs)           Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                              (Admin.) (Entered: 01/30/2020)

                                         268               BNC Certificate of Mailing. (Related document(s):247 Order on Motion to
                                         (4 pgs)           Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                              (Admin.) (Entered: 01/30/2020)

                                         269               BNC Certificate of Mailing. (Related document(s):248 Order on Motion to
                                         (4 pgs)           Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                              (Admin.) (Entered: 01/30/2020)

   01/30/2020                            270               BNC Certificate of Mailing. (Related document(s):249 Order on Motion to
                                         (4 pgs)           Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
                                                           (Admin.) (Entered: 01/30/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             57/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                                                       001010
                                         271                BNC Certificate of Mailing. (Related document(s):250 Order on Motion to
                                         (4 pgs)            Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                               (Admin.) (Entered: 01/30/2020)

                                         272                BNC Certificate of Mailing. (Related document(s):251 Order on Motion to
                                         (4 pgs)            Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                               (Admin.) (Entered: 01/30/2020)

                                         273                BNC Certificate of Mailing. (Related document(s):252 Order on Motion to
                                         (4 pgs)            Appear pro hac vice) No. of Notices: 38. Notice Date 01/30/2020.
   01/30/2020                                               (Admin.) (Entered: 01/30/2020)

                                         274                BNC Certificate of Mailing. (Related document(s):254 Order on Motion to
                                         (4 pgs)            Appear pro hac vice) No. of Notices: 44. Notice Date 01/30/2020.
   01/30/2020                                               (Admin.) (Entered: 01/30/2020)

                                                            Previous case filed in the USBC SD/NY, Case Number 17-10761. (mmap)
   01/31/2020                                               (Entered: 01/31/2020)

                                         275                Letter from Shareholder TM Kumar (JeannieAndresen) (Entered:
   01/31/2020                            (7 pgs)            01/31/2020)

                                         276                Statement of Paul, Weiss, Rifkind, Wharton & Garrison LLP, Brown
                                         (9 pgs)            Rudnick LLP and Rapp & Krock, PC, Pursuant to Fed. R. Bankr. P. 2019
                                                            (Filed By Ad Hoc Noteholder Groups ). (Flores, Henry) (Entered:
   01/31/2020                                               01/31/2020)

                                         277                Motion for Entry of an Order (I) Authorizing Assumption of the Existing
                                         (87 pgs; 3 docs)   Insurance Programs, (II) Authorizing the Debtors to Enter Into the New
                                                            Insurance Programs, and (III) Granting Related Relief Filed by Debtor
                                                            McDermott International, Inc. (Attachments: # 1 Exhibit A and B # 2
   01/31/2020                                               Proposed Order) (Cavenaugh, Matthew) (Entered: 01/31/2020)

                                         278                Sealed Document Creditor Matrix (Filed By McDermott International,
   01/31/2020                                               Inc. ). (Cavenaugh, Matthew) (Entered: 01/31/2020)

                                         281
   01/31/2020                            (1 pg)             Letter from John D. Scott (MelissaMorgan) (Entered: 02/03/2020)

                                         282                Letter from John D. Scott re: Objection (MelissaMorgan) (Entered:
   01/31/2020                            (1 pg)             02/03/2020)

                                         283                Order Granting Motion To Appear pro hac vice -- Courtney E. Jackson
                                         (1 pg)             (Related Doc # 257) Signed on 2/3/2020. (VrianaPortillo) (Entered:
   02/03/2020                                               02/03/2020)

                                         284                Order Granting Motion To Appear pro hac vice -- Michael J. Small
                                         (1 pg)             (Related Doc # 259) Signed on 2/3/2020. (VrianaPortillo) (Entered:
   02/03/2020                                               02/03/2020)

                                         285                Statement Amended Verified Statement of Paul, Weiss, Rifkind, Wharton &
                                         (9 pgs)            Garrison LLP, Brown Rudnick LLP and Rapp & Krock, PC Pursuant to
                                                            Fed. R. Bankr. P. 2019 (Filed By Ad Hoc Noteholder Groups ). (Flores,
   02/03/2020                                               Henry) (Entered: 02/03/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          58/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   02/03/2020                            286                                                                          001011
                                                           Order Granting Motion To Appear pro hac vice - James M. Liston
                                         (1 pg)            (Related Doc # 263) Signed on 2/3/2020. (emiller) (Entered: 02/03/2020)

                                         287               Letter from Shareholder Vishnu Kumar (JeannieAndresen) (Entered:
   02/03/2020                            (4 pgs)           02/03/2020)

                                         299               Notice of Appearance and Request for Notice Filed by Eboney Delane
                                         (2 pgs)           Cobb Filed by on behalf of Richardson ISD (JessicaVillarreal) (Entered:
   02/03/2020                                              02/05/2020)

                                         288               Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: Atlas Copco
                                         (3 pgs; 2 docs)   Compressors LLC To Cowen Special Investments LLC Fee Amount $25
   02/04/2020                                              (Rosenblum, Gail) (Entered: 02/04/2020)

                                         289               Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: Atlas Copco
                                         (3 pgs; 2 docs)   Compressors LLC To Cowen Special Investments LLC Fee Amount $25
   02/04/2020                                              (Rosenblum, Gail) (Entered: 02/04/2020)

                                         290               Notice of Appearance and Request for Notice Filed by Simon Richard
                                         (4 pgs)           Mayer Filed by on behalf of Barclays Bank PLC (Mayer, Simon)
   02/04/2020                                              (Entered: 02/04/2020)

                                         291               Motion to Appear pro hac vice Jon David Kelley. Filed by Debtor
                                         (1 pg)            McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   02/04/2020                                              02/04/2020)

                                         292               Motion to Appear pro hac vice Andrew R. McGaan. Filed by Debtor
                                         (1 pg)            McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   02/04/2020                                              02/04/2020)

                                         293               Notice of Appearance and Request for Notice Filed by John E Mitchell
                                         (4 pgs)           Filed by on behalf of W-Industries of Texas LLC (Mitchell, John)
   02/04/2020                                              (Entered: 02/04/2020)

                                         294                 Motion to Appear pro hac vice (Amos U. Priester, IV). Filed by Creditor
   02/04/2020                            (1 pg)              Duke Energy Progress, LLC (Cornwell, John) (Entered: 02/04/2020)

                                         295                 Notice of Appearance and Request for Notice Filed by John David
                                         (3 pgs)             Cornwell Filed by on behalf of Duke Energy Progress, LLC (Cornwell,
   02/04/2020                                                John) (Entered: 02/04/2020)

                                         296                 Notice of Appearance and Request for Notice Filed by Shawn M
                                         (2 pgs)             Christianson Filed by on behalf of Oracle America, Inc. (Christianson,
   02/04/2020                                                Shawn) (Entered: 02/04/2020)

                                         297                 Notice Under Section 546(b) of Perfection of Interest in Property. Filed
                                         (57 pgs)            by Harvey Gulf International Marine, LLC (Cheatham, Robin)
   02/04/2020                                                (Entered: 02/04/2020)

                                         305                 Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)              Number Filed. Does this document change the social security number
                                                             for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                                this case? No. (JessicaVillarreal) (Entered: 02/05/2020)

   02/04/2020                            306                 Motion to Appear pro hac vice (Hamid R. Rafatjoo). Filed by Creditor

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          59/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)                                                               001012
                                                           Maire Tecnimont SPA and MET Gas Processing Technologies SPA
                                                           (LupitaCorbett) (Entered: 02/05/2020)

                                         311               Declaration re: For Electronic Filing Of Bankruptcy Petition And
                                         (1 pg)            Master Mailing List (MATRIX) (Filed By Chicago Bridge & Iron
   02/04/2020                                              Company ). (bmendoza) (Entered: 02/06/2020)

                                         313               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By J. Ray McDermott Solutions, Inc. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         316               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By J. Ray McDermott Technology, Inc. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         317               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         318               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         319               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         320               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         321               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         322               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         323               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         324               Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)            Number Filed. Does this document change the social security number
                                                           for one or more debtors? No. Has the Meeting of Creditors been set in
   02/04/2020                                              this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       60/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                                                     001013
   02/04/2020                            325                 Declaration for Electronic Filing and Statement of Social Security
                                         (1 pg)              Number Filed. Does this document change the social security number
                                                             for one or more debtors? No. Has the Meeting of Creditors been set in
                                                             this case? No. (JessicaVillarreal) (Entered: 02/06/2020)

                                         326                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By J. Ray McDermott Underwater Services, Inc. ). (bmendoza)
   02/04/2020                                                (Entered: 02/06/2020)

                                         327                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
   02/04/2020                                                (Filed By J. Ray McDermott, S.A. ). (bmendoza) (Entered: 02/06/2020)

                                         328                 Declaration re: Electronic Filing of Bankruptcy Petition and Matrix
                                         (53 pgs; 53 docs)   (Filed By McDermott International, Inc. ).(Related document(s):1
                                                             Voluntary Petition (Chapter 11)) (Attachments: # 1 20-30449 # 2 20-
                                                             30474 # 3 20-30480 # 4 20-30335 # 5 20-30495 # 6 20-30453 # 7 20-
                                                             30482 # 8 20-30384 # 9 20-30387 # 10 20-30383 # 11 20-30395 # 12
                                                             20-30389 # 13 20-30388 # 14 20-30399 # 15 20-30397 # 16 20-30405 #
                                                             17 20-30391 # 18 20-30505 # 19 20-30372 # 20 20-30509 # 21 20-
                                                             30377 # 22 20-30513 # 23 20-30385 # 24 20-30390 # 25 20-30394 # 26
                                                             20-30392 # 27 20-30517 # 28 20-30393 # 29 20-30519 # 30 20-30396 #
                                                             31 20-30524 # 32 20-30375 # 33 20-30381 # 34 20-30379 # 35 20-
                                                             30526 # 36 20-30539 # 37 20-30543 # 38 20-30547 # 39 20-30530 # 40
                                                             20-30531 # 41 20-30536 # 42 20-30551 # 43 20-30542 # 44 20-30527 #
                                                             45 20-30529 # 46 20-30532 # 47 20-30554 # 48 20-30556 # 49 20-
                                                             30557 # 50 20-30558 # 51 20-30559 # 52 20-30560) (sgue) Modified
   02/04/2020                                                on 2/6/2020 (sgue). (Entered: 02/06/2020)

                                         329                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By Lealand Finance Company B.V. ). (bmendoza) (Entered:
   02/04/2020                                                02/06/2020)

                                         330                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By Lummus Arabia Ltd. Co. ). (bmendoza) (Entered:
   02/04/2020                                                02/06/2020)

                                         331                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By Lummus Consultants International Limited ). (bmendoza)
   02/04/2020                                                (Entered: 02/06/2020)

                                         332                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By Lummus Gasification Technology Licensing LLC ).
   02/04/2020                                                (bmendoza) (Entered: 02/06/2020)

                                         333                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                             (Filed By Lummus Technology Heat Transfer B.V. ). (bmendoza)
   02/04/2020                                                (Entered: 02/06/2020)

   02/04/2020                            334                 Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)              BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         61/133
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                                                                                        Southern
                                                                                                                001014
                                                           (Filed By Lummus Technology International, LLC ). (bmendoza)
                                                           (Entered: 02/06/2020)

                                         335               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lummus Technology LLC ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         336               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lummus Technology Overseas LLC ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         337               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lummus Technology Services LLC ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         338               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lummus Technology Ventures LLC ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         339               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lutech Project Solutions B.V. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         340               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
   02/04/2020                                              (Filed By Lutech Projects B.V. ). (bmendoza) (Entered: 02/06/2020)

                                         341               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
   02/04/2020                                              (Filed By Lutech Resources B.V. ). (bmendoza) (Entered: 02/06/2020)

                                         342               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lutech Resources Canada Ltd. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         343               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
   02/04/2020                                              (Filed By Lutech Resources Inc. ). (bmendoza) (Entered: 02/06/2020)

                                         344               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Lutech Resources Limited ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         345               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Matrix Engineering, Ltd. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

   02/04/2020                            346               Declaration re: DECLARATION FOR ELECTRONIC FILING OF

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                     62/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                        Southern
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST           001015
                                                                                                                   (MATRIX)
                                                           (Filed By McDermott (Amazon Chartering), Inc. ). (bmendoza)
                                                           (Entered: 02/06/2020)

                                         347               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
   02/04/2020                                              (Filed By Shaw NC Company, Inc. ). (bmendoza) (Entered: 02/06/2020)

                                         348               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Shaw Nuclear Energy Holdings (UK), Inc. ). (bmendoza)
   02/04/2020                                              (Entered: 02/06/2020)

                                         349               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Shaw Overseas (Middle East) Ltd. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         350               Declaration re: DECLARATION FOR ELECTRONIC FILING OF
                                         (1 pg)            BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)
                                                           (Filed By Shaw Power Delivery Systems, Inc. ). (bmendoza) (Entered:
   02/04/2020                                              02/06/2020)

                                         doc               Declaration for Electronic Filing Of Bankruptcy Petition and Master
                                         (1 pg)            Mailing List (Matrix), (LupitaCorbett) Additional attachment(s) added
   02/04/2020                                              on 2/6/2020 (LupitaCorbett). (Entered: 02/06/2020)

                                                           Declaration for Electronic Filing Of Bankruptcy Petition and Master
                                                           Mailing List (Matrix), (Filed By Shaw Process Fabricators, Inc., 20-
   02/04/2020                                              30537(DRJ)) (LupitaCorbett) (Entered: 02/06/2020)

                                         doc               Declaration for Electronic Filing of Bankruptcy Petition and Master
                                         (1 pg)            Mailing List (Matrix), (Filed By Shaw Services, L.L.C., 20-
                                                           30541(DRJ))(LupitaCorbett) Additional attachment(s) added on
   02/04/2020                                              2/6/2020 (LupitaCorbett). (Entered: 02/06/2020)

                                                           Declaration for Electronic Filing Of Bankruptcy Petition and Master
                                                           Mailing List (Matrix), (Filed By Shaw SSS Fabricators, Inc., 20-
   02/04/2020                                              30546(DRJ)) (LupitaCorbett) (Entered: 02/06/2020)

                                         298               Motion to Appear pro hac vice Scott A. Zuber. Filed by Creditor Euler
                                         (1 pg)            Hermes North America Insurance Company (Laney Hill, Anne)
   02/05/2020                                              (Entered: 02/05/2020)

                                         300               Order Granting Motion To Appear pro hac vice -- Kimberly E.
                                         (1 pg)            Neureiter (Related Doc # 279) Signed on 2/5/2020. (VrianaPortillo)
   02/05/2020                                              (Entered: 02/05/2020)

                                         301               Order Granting Motion To Appear pro hac vice -- Hannah Leah
                                         (1 pg)            Uricchio (Related Doc # 280) Signed on 2/5/2020. (VrianaPortillo)
   02/05/2020                                              (Entered: 02/05/2020)

                                         302               Order Granting Motion To Appear pro hac vice -- Jon David Kelley
                                         (1 pg)            (Related Doc # 291) Signed on 2/5/2020. (VrianaPortillo) (Entered:
   02/05/2020                                              02/05/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          63/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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   02/05/2020                            303               Order Granting Motion To Appear pro hac vice -- Andrew001016
                                                                                                                     R. McGaan
                                         (1 pg)            (Related Doc # 292) Signed on 2/5/2020. (VrianaPortillo) (Entered:
                                                           02/05/2020)

                                         304               Order Granting Motion To Appear pro hac vice -- Amos U. Priester, IV
                                         (1 pg)            (Related Doc # 294) Signed on 2/5/2020. (VrianaPortillo) (Entered:
   02/05/2020                                              02/05/2020)

                                         307               Affidavit Re: Mailings for the Period from January 25, 2020 through
                                         (338 pgs)         February 3, 2020, including Affidavits of Publication of Notice of
                                                           Disclosure Procedures Applicable to Certain Holder of Common Stock
                                                           and Preferred Stock, Disclosure Procedures for Transfers of and
                                                           Declarations of Worthlessness With Respect to Common Stock and
                                                           Preferred Stock and Notice of Auction for the Sale of the Lummus Assets
                                                           and Interests. (related document(s):4 Disclosure Statement, 13
                                                           Emergency Motion, 15 Emergency Motion, 27 Emergency Motion, 29
                                                           Declaration, 56 Emergency Motion, 57 Order for Joint Administration,
                                                           62 Declaration, 67 Order on Emergency Motion, 109 Generic Order,
                                                           110 Generic Motion, 121 Amended Chapter 11 Plan, 123 Proposed
                                                           Order, 124 Proposed Order, 137 Proposed Order, 138 Proposed Order,
                                                           139 Proposed Order, 140 Proposed Order, 141 Proposed Order, 145
                                                           Order on Emergency Motion, 146 Order Setting Hearing, 147 Order
                                                           Setting Hearing, 149 Order on Emergency Motion, 150 Order on
                                                           Emergency Motion, 151 Order on Emergency Motion, 152 Order on
                                                           Emergency Motion, 153 Order Setting Hearing, 154 Order on
                                                           Emergency Motion, 155 Order on Emergency Motion, 156 Order on
                                                           Emergency Motion, 157 Order on Emergency Motion, 158 Order on
                                                           Emergency Motion, 160 Order Setting Hearing, 265 Notice, 277
                                                           Generic Motion). Filed by Prime Clerk LLC (Steele, Benjamin)
   02/05/2020                                              (Entered: 02/05/2020)

                                         308               BNC Certificate of Mailing. (Related document(s):283 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 270. Notice Date 02/05/2020.
   02/05/2020                                              (Admin.) (Entered: 02/05/2020)

                                         309               BNC Certificate of Mailing. (Related document(s):284 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 270. Notice Date 02/05/2020.
   02/05/2020                                              (Admin.) (Entered: 02/05/2020)

                                         310               BNC Certificate of Mailing. (Related document(s):286 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 270. Notice Date 02/05/2020.
   02/05/2020                                              (Admin.) (Entered: 02/05/2020)

                                         351               Motion to Appear pro hac vice . Filed by Creditor Pension Benefit
   02/05/2020                            (1 pg)            Guaranty Corporation (JessicaVillarreal) (Entered: 02/06/2020)

                                         352               Motion to Appear pro hac vice . Filed by Creditor Pension Benefit
   02/05/2020                            (1 pg)            Guaranty Corporation (JessicaVillarreal) (Entered: 02/06/2020)

                                         312               Motion to Appear pro hac vice Christopher T. Caplinger. Filed by
                                         (1 pg)            Interested Party Travelers Indemity Company (Kadden, Benjamin)
   02/06/2020                                              (Entered: 02/06/2020)

                                         314               Motion to Appear pro hac vice Kristopher T. Wilson. Filed by Interested
                                         (1 pg)            Party Travelers Indemity Company (Kadden, Benjamin) (Entered:
   02/06/2020                                              02/06/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       64/133
                Case
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   02/06/2020                            315               Motion to Appear pro hac vice Coleman Torrans. Filed by001017
                                                                                                                   Interested
                                         (1 pg)            Party Travelers Indemity Company (Kadden, Benjamin) (Entered:
                                                           02/06/2020)

                                         353               BNC Certificate of Mailing. (Related document(s):288 Transfer of
                                         (10 pgs)          Claim) No. of Notices: 1. Notice Date 02/06/2020. (Admin.) (Entered:
   02/06/2020                                              02/07/2020)

                                         354               BNC Certificate of Mailing. (Related document(s):289 Transfer of
                                         (10 pgs)          Claim) No. of Notices: 1. Notice Date 02/06/2020. (Admin.) (Entered:
   02/06/2020                                              02/07/2020)

                                         355               Notice of Appearance and Request for Notice Filed by Annie E Catmull
                                         (1 pg)            Filed by on behalf of Oracle America, Inc. (Catmull, Annie) (Entered:
   02/07/2020                                              02/07/2020)

                                         356               Certificate of Service (Filed By Oracle America, Inc. ).(Related
                                         (24 pgs)          document(s):355 Notice of Appearance) (Catmull, Annie) (Entered:
   02/07/2020                                              02/07/2020)

                                         357               Notice of Appearance and Request for Notice Filed by Charles Stephen
                                         (3 pgs)           Kelley Filed by on behalf of Commercial Bank of Dubai (Kelley,
   02/07/2020                                              Charles) (Entered: 02/07/2020)

                                         358               Notice of Filing of Revised Rights Offering Procedures. (Related
                                         (106 pgs)         document(s):160 Order Setting Hearing) Filed by McDermott
   02/07/2020                                              International, Inc. (Cavenaugh, Matthew) (Entered: 02/07/2020)

                                         359               Notice of Appearance and Request for Notice Filed by Michael Seth
                                         (5 pgs)           Etkin Filed by on behalf of Public Employees' Retirement System of
   02/07/2020                                              Mississippi ("Lead Plaintiff") (Etkin, Michael) (Entered: 02/07/2020)

                                         360               BNC Certificate of Mailing. (Related document(s):300 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 275. Notice Date 02/07/2020.
   02/07/2020                                              (Admin.) (Entered: 02/07/2020)

                                         361               BNC Certificate of Mailing. (Related document(s):301 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 275. Notice Date 02/07/2020.
   02/07/2020                                              (Admin.) (Entered: 02/07/2020)

                                         362               BNC Certificate of Mailing. (Related document(s):302 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 275. Notice Date 02/07/2020.
   02/07/2020                                              (Admin.) (Entered: 02/07/2020)

                                         363               BNC Certificate of Mailing. (Related document(s):303 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 275. Notice Date 02/07/2020.
   02/07/2020                                              (Admin.) (Entered: 02/07/2020)

                                         364               BNC Certificate of Mailing. (Related document(s):304 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 275. Notice Date 02/07/2020.
   02/07/2020                                              (Admin.) (Entered: 02/07/2020)

                                         369               Motion to Appear pro hac vice for Slalom, LLC. Filed by Creditor
   02/07/2020                            (1 pg)            Slalom, LLC (ClaudiaGutierrez) (Entered: 02/11/2020)

   02/10/2020                            365               Notice of Appearance and Request for Notice Filed by Howard Marc
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                        65/133
                Case
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                                         (2 pgs)                                                                      001018
                                                              Spector Filed by on behalf of 2103 Research Forest Holding Company,
                                                              LLC (Spector, Howard) (Entered: 02/10/2020)

                                         366                  Notice of Withdrawal of Notice Under Section 546(b) of Perfection of
                                         (16 pgs)             Interest in Property. (Related document(s):297 Notice) Filed by Harvey
                                                              Gulf International Marine, LLC (Cheatham, Robin) (Entered:
   02/10/2020                                                 02/10/2020)

                                         367                  Emergency Motion for Entry of an Order (I) Authorizing and Approving
                                         (64 pgs; 2 docs)     the Debtors' (A) Key Employee Incentive Plan and (B) Key Employee
                                                              Retention Plan and (II) Granting Related Relief Filed by Debtor
                                                              McDermott International, Inc. (Attachments: # 1 Proposed Order)
   02/10/2020                                                 (Cavenaugh, Matthew) (Entered: 02/10/2020)

                                         368                  Emergency Motion for Entry of an Order Authorizing the Debtors to
                                         (110 pgs; 2 docs)    Retain and Employ Ernst & Young LLP as Auditors Filed by Debtor
                                                              McDermott International, Inc. (Attachments: # 1 Proposed Order)
   02/10/2020                                                 (Cavenaugh, Matthew) (Entered: 02/10/2020)

                                         370                  Affidavit Re: of Andrew Q. Chan Regarding Claim Transfer Notices.
                                         (3 pgs)              (related document(s):288 Transfer of Claim, 289 Transfer of Claim).
   02/11/2020                                                 Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 02/11/2020)

                                         371                  Order Granting Motion To Appear pro hac vice -- Scott A. Zuber
                                         (1 pg)               (Related Doc # 298) Signed on 2/11/2020. (VrianaPortillo) (Entered:
   02/11/2020                                                 02/11/2020)

                                         372                  Order Granting Motion To Appear pro hac vice -- Hamid R. Rafatjoo
                                         (1 pg)               (Related Doc # 306) Signed on 2/11/2020. (VrianaPortillo) (Entered:
   02/11/2020                                                 02/11/2020)

                                         373                  Notice of Appearance and Request for Notice Filed by J Michael
                                         (3 pgs)              Sutherland Filed by on behalf of CTCI Corp. (Taiwan) (Sutherland, J)
   02/11/2020                                                 (Entered: 02/11/2020)

                                         374                  Notice of Appearance and Request for Notice Filed by Tricia Macaluso
                                         (2 pgs)              Filed by on behalf of Amiad USA Inc. (Macaluso, Tricia) (Entered:
   02/12/2020                                                 02/12/2020)

                                         375                  Notice of Appearance and Request for Notice Filed by George A.
                                         (2 pgs)              Kurisky Jr. Filed by on behalf of Eutex International (Kurisky, George)
   02/12/2020                                                 (Entered: 02/12/2020)

                                         376                  Notice of Appearance and Request for Notice Filed by Aaron Matthew
                                         (2 pgs)              Guerrero Filed by on behalf of Intergraph Corporation d/b/a Hexagon
   02/12/2020                                                 PPM (Guerrero, Aaron) (Entered: 02/12/2020)

                                         377                  Notice of Filing Creditor Matrix. (Related document(s):151 Order on
                                         (3814 pgs; 2 docs)   Emergency Motion) Filed by McDermott International, Inc.
                                                              (Attachments: # 1 Creditor Matrix) (Cavenaugh, Matthew) (Entered:
   02/12/2020                                                 02/12/2020)

                                         378                  Motion to Appear pro hac vice of Joanne Molinaro. Filed by Creditor
   02/12/2020                            (1 pg)               ITT Goulds Pumps (Riordan, Michael) (Entered: 02/12/2020)

   02/12/2020                            379                  Notice of Appearance and Request for Notice Filed by Michael Kevin
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            66/133
                Case
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                                         (3 pgs)                                                                   001019
                                                             Riordan Filed by on behalf of ITT Goulds Pumps (Riordan, Michael)
                                                             (Entered: 02/12/2020)

                                         380                 Notice of Appearance and Request for Notice Filed by Michael Kevin
                                         (3 pgs)             Riordan Filed by on behalf of ITT Goulds Pumps (Riordan, Michael)
   02/12/2020                                                (Entered: 02/12/2020)

                                         381                 Motion to Appear pro hac vice (Carollynn H.G. Callari). Filed by
                                         (1 pg)              Creditor Maire Tecnimont SPA and MET Gas Processing Technologies
   02/12/2020                                                SPA (Rafatjoo, Hamid) (Entered: 02/12/2020)

                                         382                 Objection Limited Objection to Debtor's Motion for Entry of (A) an
                                         (10 pgs)            Order (I) Approving the Stalking Horse Protections, (II) Approving
                                                             Bidding Procedures for the Sale of the Lummus Assets and Interest, and
                                                             (III) Approving Contract Assumption and Assignment Procedures, and
                                                             (B) an Order Authorizing the Debtors to Enter Into a Definitive
                                                             Purchase Agreement Subject to Entry of the Confirmation Order
                                                             (related document(s):110 Generic Motion). Filed by Maire Tecnimont
                                                             SPA and MET Gas Processing Technologies SPA (Rafatjoo, Hamid)
   02/12/2020                                                (Entered: 02/12/2020)

                                         383                 Declaration re: Declaration of Hamid R. Rafatjoo In Support of Limited
                                         (197 pgs; 3 docs)   Objection to Debtor's Motion for Entry of (A) an Order (I) Approving
                                                             the Stalking Horse Protections, (II) Approving Bidding Procedures for
                                                             the Sale of the Lummus Assets and Interest, and (III) Approving
                                                             Contract Assumption and Assignment Procedures, and (B) an Order
                                                             Authorizing the Debtors to Enter Into a Definitive Purchase Agreement
                                                             Subject to Entry of the Confirmation Order (Filed By Maire Tecnimont
                                                             SPA and MET Gas Processing Technologies SPA ).(Related
                                                             document(s):382 Objection) (Attachments: # 1 Exhibit A # 2 Exhibit B)
   02/12/2020                                                (Rafatjoo, Hamid) (Entered: 02/12/2020)

                                         402                 Motion to Appear pro hac vice for Bryan R. Lentz. Filed by Interested
   02/12/2020                            (1 pg)              Party Hussein Adel Dahroug (LisaHoward) (Entered: 02/14/2020)

                                         403                 Motion to Appear pro hac vice for Albert M. Belmont, III. Filed by
                                         (1 pg)              Interested Party Hussein Adel Dahroug (LisaHoward) (Entered:
   02/12/2020                                                02/14/2020)

                                         384                 Affidavit Re: of Alex Orchowski Regarding Rights Offering Procedures,
                                         (7 pgs)             Subscription Form, and Subscription Agreement. (related
                                                             document(s):358 Notice). Filed by Prime Clerk LLC (Steele, Benjamin)
   02/13/2020                                                (Entered: 02/13/2020)

                                         385                 Notice of Appearance and Request for Notice Filed by Christopher
                                         (3 pgs)             Todd Caplinger Filed by on behalf of Travelers Indemity Company
   02/13/2020                                                (Caplinger, Christopher) (Entered: 02/13/2020)

                                         386                 Order Granting Motion to Appear Pro Hac Vice - Blaine E. Adams
                                         (1 pg)              (Related Doc # 176) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                                02/13/2020)

                                         387                 Order Granting Motion To Appear pro hac vice - Christopher T.
                                         (1 pg)              Caplinger (Related Doc # 312) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                                02/13/2020)

   02/13/2020                            388                 Order Granting Motion To Appear pro hac vice - Kristopher T. Wilson
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          67/133
                Case
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                                         (1 pg)                                                                     001020
                                                            (Related Doc # 314) Signed on 2/13/2020. (emiller) (Entered:
                                                            02/13/2020)

                                         389               Order Granting Motion To Appear pro hac vice - Coleman Torrans
                                         (1 pg)            (Related Doc # 315) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                         390               Order Granting Motion To Appear pro hac vice - Kimberly E. Neureiter
                                         (1 pg)            (Related Doc # 351) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                         391               Order Granting Motion To Appear pro hac vice - Hannah Leah Uricchio
                                         (1 pg)            (Related Doc # 352) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                         392               Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: Bedford
                                         (4 pgs; 2 docs)   Reinforced Plastics To CRG Financial, LLC Fee Amount $25 (Polanco,
   02/13/2020                                              Odalisa) (Entered: 02/13/2020)

                                         393               Order Granting Motion To Appear pro hac vice - Daniel R. Merkle
                                         (1 pg)            (Related Doc # 369) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                         394               Order Granting Motion To Appear pro hac vice - Joanne Molinaro
                                         (1 pg)            (Related Doc # 378) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                         395               Order Granting Motion To Appear pro hac vice - Carollynn H.G. Callari
                                         (1 pg)            (Related Doc # 381) Signed on 2/13/2020. (emiller) (Entered:
   02/13/2020                                              02/13/2020)

                                                           Receipt of Transfer of Claim(20-30336) [claims,trclm] ( 25.00) Filing
                                                           Fee. Receipt number 21884570. Fee amount $ 25.00. (U.S. Treasury)
   02/13/2020                                              (Entered: 02/13/2020)

                                         396               Affidavit Re: Mailings for the Period from February 1, 2020 through
                                         (96 pgs)          February 7, 2020. (related document(s):109 Generic Order, 152 Order on
                                                           Emergency Motion, 358 Notice). Filed by Prime Clerk LLC (Steele,
   02/13/2020                                              Benjamin) (Entered: 02/13/2020)

                                         397               Notice of Appearance and Request for Notice Filed by Anne Marie
                                         (3 pgs)           Laney Hill Filed by on behalf of Euler Hermes North America Insurance
   02/13/2020                                              Company (Laney Hill, Anne) (Entered: 02/13/2020)

                                         398               BNC Certificate of Mailing. (Related document(s):371 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 278. Notice Date 02/13/2020.
   02/13/2020                                              (Admin.) (Entered: 02/13/2020)

                                         399               BNC Certificate of Mailing. (Related document(s):372 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 278. Notice Date 02/13/2020.
   02/13/2020                                              (Admin.) (Entered: 02/13/2020)

                                         405               Motion to Appear pro hac vice Allan Shuldiner. Filed by Creditor
                                         (1 pg)            Pension Plan for the Pension Trust Fund of Operating Engineers (mmap)
   02/13/2020                                              (Entered: 02/14/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           68/133
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                                                 CM/ECFFiled   onBankruptcy
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   02/14/2020                            400               Letter from Shareholder Nicola Difonzo (JeannieAndresen)001021
                                                                                                                    (Entered:
                                         (6 pgs)           02/14/2020)

                                         401               Response Limited Objection to Key Employee Incentive Plan (submitted
                                         (4 pgs)           by Christopher Komatinsky, pro se) (related document(s):367 Emergency
   02/14/2020                                              Motion). Filed by (JeannieAndresen) (Entered: 02/14/2020)

                                         404               Notice of Appearance and Request for Notice Filed by Richard A.
                                         (2 pgs)           Kincheloe Filed by on behalf of United States of America (Kincheloe,
   02/14/2020                                              Richard) (Entered: 02/14/2020)

                                         437               Motion to Appear pro hac vice for Todd E. Hatcher. Filed by Creditor
   02/14/2020                            (1 pg)            Yancey Bros. Co. (LisaHoward) (Entered: 02/20/2020)

                                         406               BNC Certificate of Mailing. (Related document(s):386 Generic Order)
                                         (8 pgs)           No. of Notices: 276. Notice Date 02/15/2020. (Admin.) (Entered:
   02/15/2020                                              02/15/2020)

                                         407               BNC Certificate of Mailing. (Related document(s):387 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 276. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         408               BNC Certificate of Mailing. (Related document(s):388 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 276. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         409               BNC Certificate of Mailing. (Related document(s):389 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 276. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         410               BNC Certificate of Mailing. (Related document(s):390 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 276. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         411               BNC Certificate of Mailing. (Related document(s):391 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 276. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         412               BNC Certificate of Mailing. (Related document(s):393 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 277. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         413               BNC Certificate of Mailing. (Related document(s):394 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 277. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         414               BNC Certificate of Mailing. (Related document(s):395 Order on Motion
                                         (8 pgs)           to Appear pro hac vice) No. of Notices: 277. Notice Date 02/15/2020.
   02/15/2020                                              (Admin.) (Entered: 02/15/2020)

                                         415               BNC Certificate of Mailing. (Related document(s):392 Transfer of
                                         (11 pgs)          Claim) No. of Notices: 1. Notice Date 02/15/2020. (Admin.) (Entered:
   02/15/2020                                              02/15/2020)

   02/17/2020                            416               Motion to Appear pro hac vice Stephen L. Iacovo. Filed by Debtor

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          69/133
                Case
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                                         (1 pg)                                                                     001022
                                                             McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
                                                             02/17/2020)

                                         417                 Notice of Appearance and Request for Notice Filed by Kevin S. Wiley
                                         (2 pgs)             Filed by on behalf of Lehigh Hanson Inc. (Wiley, Kevin) (Entered:
   02/18/2020                                                02/18/2020)

                                         418                 Affidavit Re: of Andrew Q. Chan Regarding Claim Transfer Notices.
                                         (3 pgs)             (related document(s):392 Transfer of Claim). Filed by Prime Clerk LLC
   02/18/2020                                                (Steele, Benjamin) (Entered: 02/18/2020)

                                         451                 Motion to Appear pro hac vice Matthew W. McDade. Filed by Interested
                                         (1 pg)              Party Mississippi State Port Authority at Gulfport (ShoshanaArnow)
   02/18/2020                                                (Entered: 02/21/2020)

                                         492                 Letter of Objection by Shareholder David Wilde (JesusGuajardo)
   02/18/2020                            (2 pgs)             (Entered: 02/26/2020)

                                         493                 Letter of Objection by David Wild (JesusGuajardo) (Entered:
   02/18/2020                            (6 pgs)             02/26/2020)

                                         419                 Letter from Shareholder Libor Kralicek (JeannieAndresen) (Entered:
   02/19/2020                            (3 pgs)             02/19/2020)

                                         420                 Notice of Appearance and Request for Notice Filed by Matthew Brian
                                         (3 pgs)             Probus Filed by on behalf of Aker Solutions, Inc. (Probus, Matthew)
   02/19/2020                                                (Entered: 02/19/2020)

                                         421                 Letter from Shareholder Asad Khan (JeannieAndresen) (Entered:
   02/19/2020                            (2 pgs)             02/19/2020)

                                         422                 Letter from Shareholder Daniel O'Donnell (JeannieAndresen) (Entered:
   02/19/2020                            (2 pgs)             02/19/2020)

                                         423                 Affidavit Re: Mailings for the Period from February 8, 2020 through
                                         (36 pgs)            February 15, 2020. (related document(s):152 Order on Emergency
                                                             Motion, 367 Emergency Motion, 368 Emergency Motion, 377 Notice).
   02/19/2020                                                Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 02/19/2020)

                                         424                 Application to Employ Jackson Walker LLP as Co-Counsel and Conflicts
                                         (48 pgs; 4 docs)    Counsel to the Debtors and the Debtors-In-Possession.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Exhibit A # 2 Exhibit B
   02/19/2020                                                # 3 Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         425                 Application to Employ Baker Botts, L.L.P. as Special Counsel to the
                                         (113 pgs; 4 docs)   Debtors and the Debtors-In-Possession. Objections/Request for Hearing
                                                             Due in 21 days. Filed by Debtor McDermott International, Inc.
                                                             (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order)
   02/19/2020                                                (Cavenaugh, Matthew) (Entered: 02/19/2020)

   02/19/2020                            426                 Application to Employ KPMG, LLP as Tax Compliance, Tax Consultant,
                                         (256 pgs; 4 docs)   Financial Accountant and Advisor. Objections/Request for Hearing Due
                                                             in 21 days. Filed by Debtor McDermott International, Inc. (Attachments:
                                                             # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order) (Cavenaugh, Matthew)
                                                             (Entered: 02/19/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           70/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                                                                        Southern
                                                                                                                       001023
                                         427                 Application to Employ Evercore Group, L.L.C. and Evercore Partners
                                         (138 pgs; 3 docs)   International, LLP as Investment Banker to the Debtors and the Debtors-
                                                             In-Possession. Objections/Request for Hearing Due in 21 days. Filed by
                                                             Debtor McDermott International, Inc. (Attachments: # 1 Exhibit A # 2
   02/19/2020                                                Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         428                 Application to Employ Kirkland & Ellis LLP and Kirkland & Ellis
                                         (146 pgs; 3 docs)   International LLP as Attorneys for the Debtors and Debtors-In-
                                                             Possession. Objections/Request for Hearing Due in 21 days. Filed by
                                                             Debtor McDermott International, Inc. (Attachments: # 1 Exhibit A # 2
   02/19/2020                                                Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         429                 Application to Employ Holland & Knight LLP as Special Litigation and
                                         (172 pgs; 4 docs)   Colombia Counsel to the Debtors and the Debtors-In-Possession.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Exhibit A # 2 Exhibit B
   02/19/2020                                                # 3 Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         430                 Application to Employ PricewaterhouseCoopers LLP as to Provide
                                         (96 pgs; 4 docs)    Certain Accounting, Transaction, and Valuation Services to the Debtors.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Exhibit A # 2 Exhibit B
   02/19/2020                                                # 3 Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         431                 Application to Employ K&L Gates, LLP as Special Counsel to the
                                         (226 pgs; 4 docs)   Debtors. Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Exhibit A # 2 Exhibit B
   02/19/2020                                                # 3 Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         432                 Declaration re: Declaration of John R. Castellano in Support of the
                                         (8 pgs)             Debtors' Applications for Entry of Orders Authorizing the Retention of
                                                             Various Professionals (Filed By McDermott International, Inc. ).(Related
                                                             document(s):368 Emergency Motion, 424 Application to Employ, 425
                                                             Application to Employ, 426 Application to Employ, 427 Application to
                                                             Employ, 428 Application to Employ, 429 Application to Employ, 430
                                                             Application to Employ, 431 Application to Employ) (Cavenaugh,
   02/19/2020                                                Matthew) (Entered: 02/19/2020)

                                         433                 Sealed Document related to the Debtors' Application for Entry of an
                                                             Order Authorizing the Retention and Employment of Kirkland & Ellis
                                                             LLP and Kirkland & Ellis International LLP as Attorneys for the Debtors
                                                             and Debtors in Possession, ECF No. 428 (Filed By McDermott
   02/19/2020                                                International, Inc. ). (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         434                 Application to Employ AP Services, LLC as Restructuring Advisor and
                                         (134 pgs; 3 docs)   Designate John R. Castellano as Chief Transformation Officer.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Exhibit A # 2 Proposed
   02/19/2020                                                Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

                                         435                 Motion for Entry of an Order Authorizing the Retention and
                                         (38 pgs; 2 docs)    Compensation of Certain Professionals Utilized in the Ordinary Course
                                                             of Business Filed by Debtor McDermott International, Inc. (Attachments:
   02/19/2020                                                # 1 Proposed Order) (Cavenaugh, Matthew) (Entered: 02/19/2020)

   02/19/2020                            436                 Motion for Appointment of Trustee or Examiner and the earliest possible

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            71/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (4 pgs)           hearing date Filed by Interested Party Michael Van Deelen001024
                                                                                                                     (jdav)
                                                           (Entered: 02/20/2020)

                                         438               Exhibit List, Witness List (Filed By Ad Hoc Noteholder Groups ).
   02/20/2020                            (4 pgs)           (Flores, Henry) (Entered: 02/20/2020)

                                         439               Witness List, Exhibit List (Filed By McDermott International, Inc. ).
   02/20/2020                            (5 pgs)           (Cavenaugh, Matthew) (Entered: 02/20/2020)

                                         440               Witness List, Exhibit List (Filed By Ad Hoc Group of Term Lenders ).
   02/20/2020                            (2 pgs)           (Higgins, John) (Entered: 02/20/2020)

                                         441               Motion to Appoint Trustee. Objections/Request for Hearing Due in 21
                                         (6 pgs; 2 docs)   days. Filed by Interested Party Michael Van Deelen (Attachments: # 1
   02/20/2020                                              Proposed Order) (mmap) (Entered: 02/20/2020)

                                         442               Order Granting Motion To Appear pro hac vice - Bryan R. Lentz
                                         (1 pg)            (Related Doc # 402) Signed on 2/20/2020. (emiller) (Entered:
   02/20/2020                                              02/20/2020)

                                         443               Order Granting Motion To Appear pro hac vice - Albert M. Belmont, III
                                         (1 pg)            (Related Doc # 403) Signed on 2/20/2020. (emiller) (Entered:
   02/20/2020                                              02/20/2020)

                                         444               Order Granting Motion To Appear pro hac vice - Allan Shuldiner
                                         (1 pg)            (Related Doc # 405) Signed on 2/20/2020. (emiller) (Entered:
   02/20/2020                                              02/20/2020)

                                         445               Order Granting Motion To Appear pro hac vice - Stephen L. Iacovo
                                         (1 pg)            (Related Doc # 416) Signed on 2/20/2020. (emiller) (Entered:
   02/20/2020                                              02/20/2020)

                                         446               Motion to Appear pro hac vice Catherine B. Heitzenrater. Filed by
   02/21/2020                            (1 pg)            Creditor Chubb Companies (Weideman, Corey) (Entered: 02/21/2020)

                                         447               Objection (related document(s):56 Emergency Motion). Filed by
                                         (6 pgs)           Jefferson County, Cleveland ISD, Cypress Fairbanks ISD, Dallas County,
                                                           Fort Bend County, Galveston County, Harris County, Live Oak CAD,
                                                           Montgomery County, Nueces County, Smith County (Grundemeier, Tara)
   02/21/2020                                              (Entered: 02/21/2020)

                                         448               Notice of Appearance and Request for Notice Filed by Todd Brice
                                         (3 pgs)           Headden Filed by on behalf of Texas Commission on Environmental
   02/21/2020                                              Quality (Headden, Todd) (Entered: 02/21/2020)

                                         449               Response Joinder to Objection Filed by Texas Taxing Authorities at
                                         (6 pgs)           Docket 447 (related document(s):56 Emergency Motion). Filed by
   02/21/2020                                              Certain Texas Taxing Entities (Valdez, Melissa) (Entered: 02/21/2020)

                                         450               Exhibit List, Witness List (Filed By US Trustee ).(Related
                                         (2 pgs)           document(s):367 Emergency Motion) (Duran, Hector) (Entered:
   02/21/2020                                              02/21/2020)

   02/21/2020                            452               Notice of Appearance and Request for Notice Filed by Bradley Roland
                                         (4 pgs)           Foxman Filed by on behalf of Standard Chartered Bank (Foxman,
                                                           Bradley) (Entered: 02/21/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           72/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         453                 Proposed Order RE: Final Order (A) Authorizing the Debtors to Obtain
                                         (171 pgs; 2 docs)   Postpetition Financing, (B) Authorizing the Debtors to Use Cash
                                                             Collateral, (C) Granting Liens and Providing Claims with Superpriority
                                                             Administrative Expense Status, (D) Granting Adequate Protection to the
                                                             Prepetition Secured Parties, (E) Modifying the Automatic Stay, and (F)
                                                             Granting Related Relief (Filed By McDermott International, Inc. ).
                                                             (Related document(s):56 Emergency Motion, 146 Order Setting Hearing)
   02/21/2020                                                (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 02/21/2020)

                                         454                 Notice of Appearance and Request for Notice Filed by Reese W Baker
                                         (1 pg)              Filed by on behalf of Reese Coligado Shareholder Group (Baker, Reese)
   02/21/2020                                                (Entered: 02/21/2020)

                                         455                 Response (related document(s):367 Emergency Motion). Filed by US
                                         (12 pgs; 2 docs)    Trustee (Attachments: # 1 Proposed Order) (Duran, Hector) (Entered:
   02/21/2020                                                02/21/2020)

                                         456                 Proposed Order RE: Order (I) Approving the Stalking Horse Protections,
                                         (354 pgs; 2 docs)   (II) Approving Bidding Procedures for the Sale of the Lummus Assets and
                                                             Interest, and (III) Approving Contract Assumption and Assignment
                                                             Procedures (Filed By McDermott International, Inc. ).(Related
                                                             document(s):110 Generic Motion) (Attachments: # 1 Redline)
   02/21/2020                                                (Cavenaugh, Matthew) (Entered: 02/21/2020)

                                         457                 Proposed Order RE: Order (I) Authorizing Assumption for the Existing
                                         (18 pgs; 2 docs)    Insurance Programs, (II) Authorizing the Debtors to Enter Into the New
                                                             Insurance Programs, and (III) Granting Related Relief (Filed By
                                                             McDermott International, Inc. ).(Related document(s):277 Generic
                                                             Motion) (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered:
   02/21/2020                                                02/21/2020)

                                         481                 Notice of Appearance and Request for Notice Filed by Office of
                                         (1 pg)              Unemployment Compensation Tax Services (ClaudiaGutierrez) (Entered:
   02/21/2020                                                02/25/2020)

                                         458                 BNC Certificate of Mailing. (Related document(s):442 Order on Motion
                                         (8 pgs)             to Appear pro hac vice) No. of Notices: 286. Notice Date 02/22/2020.
   02/22/2020                                                (Admin.) (Entered: 02/22/2020)

                                         459                 BNC Certificate of Mailing. (Related document(s):443 Order on Motion
                                         (8 pgs)             to Appear pro hac vice) No. of Notices: 286. Notice Date 02/22/2020.
   02/22/2020                                                (Admin.) (Entered: 02/22/2020)

                                         460                 BNC Certificate of Mailing. (Related document(s):444 Order on Motion
                                         (8 pgs)             to Appear pro hac vice) No. of Notices: 286. Notice Date 02/22/2020.
   02/22/2020                                                (Admin.) (Entered: 02/22/2020)

                                         461                 BNC Certificate of Mailing. (Related document(s):445 Order on Motion
                                         (8 pgs)             to Appear pro hac vice) No. of Notices: 286. Notice Date 02/22/2020.
   02/22/2020                                                (Admin.) (Entered: 02/22/2020)

   02/23/2020                            462                 Proposed Order RE: Final Order (I) Authorizing the Payment of Foreign
                                         (15 pgs; 2 docs)    Claims, Lien Claims, 503(b)(9) Claims, and Other Claims, and (II)
                                                             Confirming Administrative Expense Priority of Outstanding Purchase
                                                             Orders (Filed By McDermott International, Inc. ).(Related

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           73/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                             document(s):13 Emergency Motion, 153 Order Setting Hearing)
                                                             (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 02/23/2020)

                                         463                 Proposed Order RE: Final Order (I) Approving the Stalking Horse
                                         (531 pgs; 3 docs)   Protections, (II) Approving Bidding Procedures for the Sale of the
                                                             Lummus Assets and Interest, and (III) Approving Contract Assumption
                                                             and Assignment Procedures (Filed By McDermott International, Inc. ).
                                                             (Related document(s):110 Generic Motion) (Attachments: # 1 Redline to
                                                             ECF No. 110 # 2 Redline to ECF No. 456) (Cavenaugh, Matthew)
   02/23/2020                                                (Entered: 02/23/2020)

                                         464                 Proposed Order RE: Final Order (A) Authorizing the Debtors to Obtain
                                         (258 pgs; 3 docs)   Postpetition Financing, (B) Authorizing the Debtors to Use Cash
                                                             Collateral, (C) Granting Liens and Providing Claims with Superpriority
                                                             Administrative Expense Status, (D) Granting Adequate Protection to the
                                                             Prepetition Secured Parties, (E) Modifying the Automatic Stay, (F)
                                                             Granting Related Relief (Filed By McDermott International, Inc. ).
                                                             (Related document(s):56 Emergency Motion, 146 Order Setting Hearing)
                                                             (Attachments: # 1 Redline to ECF No. 146 # 2 Redline to ECF No. 453)
   02/23/2020                                                (Cavenaugh, Matthew) (Entered: 02/23/2020)

                                         465                 Proposed Order RE: Authorizing the Debtors to Retain and Employ
                                         (13 pgs; 2 docs)    Ernst&Young, LLP as Auditors (Filed By McDermott International, Inc.
                                                             ).(Related document(s):368 Emergency Motion) (Attachments: # 1
   02/24/2020                                                Redline) (Cavenaugh, Matthew) (Entered: 02/24/2020)

                                         466                 Agenda for Hearing on 2/24/2020 (Filed By McDermott International,
   02/24/2020                            (6 pgs)             Inc. ). (Cavenaugh, Matthew) (Entered: 02/24/2020)

                                         467                 Letter from Shareholder Kirk Rispone (JeannieAndresen) (Entered:
   02/24/2020                            (2 pgs)             02/24/2020)

                                         468                 Order Granting Motion To Appear pro hac vice - Todd E. Hatcher
                                         (1 pg)              (Related Doc # 437) Signed on 2/24/2020. (emiller) (Entered:
   02/24/2020                                                02/24/2020)

                                         469                 Order Granting Motion To Appear pro hac vice - Catherine B.
                                         (1 pg)              Heitzenrater (Related Doc # 446) Signed on 2/24/2020. (emiller)
   02/24/2020                                                (Entered: 02/24/2020)

                                         470                 Order Granting Motion To Appear pro hac vice - Matthew W.
                                         (1 pg)              McDade(Related Doc # 451) Signed on 2/24/2020. (emiller) (Entered:
   02/24/2020                                                02/24/2020)

                                         471                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              Cavenaugh. This is to order a transcript of 2/24/2020 before Judge David
                                                             R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed By
                                                             McDermott International, Inc. ). (Cavenaugh, Matthew) Electronically
                                                             forwarded to Access Transcripts on 2/25/2020. Estimated completion
                                                             date: 2/26/2020. Modified on 2/25/2020 (MelissaMorgan). (Entered:
   02/24/2020                                                02/24/2020)

   02/24/2020                                                Courtroom Minutes. Time Hearing Held: 12:01 PM. Appearances:
                                                             Matthew Cavenaugh, Veronica Polnick, Chris Greco, Anna Rotman,
                                                             Alexandra Caritis, Ciera Foster, and Anthony Grossi for the Debtors;
                                                             Carollyn Ellis, Penelope Jensen and Margo Schonholtz; John Higgins
                                                             and Nathsha Tsiouris; Philip Eisenburg, Simon Mayer, Anu Yerramalli;
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          74/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                                           Hugh Ray and Robert Britton; Josh Judd and Carollynn Callari;    Hector
                                                           Duran; Tom Howley Jae VanLare (by phone); Henry Flores and Bennett
                                                           Silverberg (Related document(s):13 Emergency Motion, 56 Emergency
                                                           Motion, 110 Generic Motion, 277 Generic Motion, 367 Emergency
                                                           Motion, 368 Emergency Motion) Witnesses: John Castellano and
                                                           Zachary Georgeson. Trustees exhibits 1-4 admitted without objection.
                                                           The Court approved the post-petition financing motion 56 on a final
                                                           basis. The revised proposed order submitted at docket no. 464 was signed
                                                           on the record. The Court approved the key incentive plan motion 367.
                                                           Order to be entered. The Court approved the bidding procedures motion
                                                           110. The revised proposed order submitted at docket no. 463 was signed
                                                           on the record. The Court approved the Emergency Motion for Entry of
                                                           Interim and Final Orders (I) Authorizing the Payment of Foreign Claims,
                                                           Lien Claims, 503(b)(9) Claims, and Other Claims, and (II) Confirming
                                                           Administrative Expense Priority of Outstanding Purchase Orders 13 on a
                                                           final basis. The revised proposed order submitted at docket no. 462 was
                                                           signed on the record. The Court approved the insurance programs motion
                                                           277. The revised proposed order submitted at docket no. 457 was signed
                                                           on the record. Finally, the Court approved the Emergency Motion for
                                                           Entry of an Order Authorizing the Debtors to Retain and Employ Ernst &
                                                           Young LLP as Auditors 368. The revised proposed order submitted at
                                                           docket no. 465 was signed on the record. (VrianaPortillo) (Entered:
                                                           02/24/2020)

                                         472
                                         (1 pg)                PDF with attached Audio File. Court Date & Time [ 2/24/2020
                                                           12:01:41 PM ]. File Size [ 43094 KB ]. Run Time [ 01:29:47 ]. (In ref to
                                                           Second Day Hearings. Hearing held February 24, 2020.). (admin).
   02/24/2020                                              (Entered: 02/24/2020)

                                         473               Order Authorizing and Approving the Debtors' Motion for Entry of an
                                         (3 pgs)           Order (I) Authorizing and Approving the Debtors' (A) Key Employee
                                                           Incentive Plan and (B) Key Employee Retention Plan and (II) Granting
                                                           Related Relief (Related Doc # 367) Signed on 2/24/2020.
   02/24/2020                                              (VrianaPortillo) (Entered: 02/24/2020)

                                         474               Order (I) Authorizing Assumption of the Existing Insurance Programs,
                                         (9 pgs)           (II) Authorizing the Debtors to Enter Into the New Insurance Programs,
                                                           and (III) Granting Related Relief (Related Doc # 277) Signed on
   02/24/2020                                              2/24/2020. (VrianaPortillo) (Entered: 02/24/2020)

                                         475               Final Order (I) Authorizing the Payment of Foreign Claims, Lien Claims,
                                         (7 pgs)           503(B)(9) Claims, and Other Claims, and (II) Confirming Administrative
                                                           Expense Priority of Outstanding Purchase Orders (Related Doc # 13)
   02/24/2020                                              Signed on 2/24/2020. (VrianaPortillo) (Entered: 02/24/2020)

                                         476               Order (I) Approving the Stalking Horse Protections, (II) Approving
                                         (177 pgs)         Bidding Procedures for the Sale of the Lummus Assets and Interests, and
                                                           (III) Approving Contract Assumption and Assignment Procedures
                                                           (Related Doc # 110) Signed on 2/24/2020. (VrianaPortillo) (Entered:
   02/24/2020                                              02/24/2020)

   02/24/2020                            477               Final Order (A) Authorizing the Debtors to Obtain Postpetition
                                         (84 pgs)          Financing, (B) Authorizing the Debtors to Use Cash Collateral, (C)
                                                           Granting Liens and Providing Claims with Superpriority Administrative
                                                           Expense Status, (D) Granting Adequate Protection to the Prepetition
                                                           Secured Parties, (E) Modifying the Automatic Stay, and (F) Granting
                                                           Related Relief (Related Doc # 56) Signed on 2/24/2020. (VrianaPortillo)
                                                           (Entered: 02/24/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         75/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         478                 Order Authorizing the Debtors to Retain and Employ Ernst & Young
                                         (6 pgs)             LLP as Auditors (Related Doc # 368) Signed on 2/24/2020.
   02/24/2020                                                (VrianaPortillo) (Entered: 02/24/2020)

                                         479                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Marty L.
                                         (1 pg)              Brimmage, Jr.. This is to order a transcript of February 24, 2020 before
                                                             Judge David R. Jones. Court Reporter/Transcriber: Judicial Transcribers
                                                             of Texas (Filed By Akin Gump Strauss Hauer & Feld LLP ). (Brimmage,
                                                             Marty) Electronically forwarded to the original transcriber: Access
                                                             Transcripts, LLC on 2/25/2020. Estimated completion date: 2/26/2020.
   02/24/2020                                                Modified on 2/25/2020 (MelissaMorgan). (Entered: 02/24/2020)

                                         482                 Limited Objection by Christopher Komatinsky (Related document(s):4
                                         (6 pgs)             Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of
   02/24/2020                                                Reorganization) (ClaudiaGutierrez) (Entered: 02/25/2020)

                                         488                 Copy of Letter provided to McDermott Claims Center (JesusGuajardo)
   02/24/2020                            (2 pgs)             (Entered: 02/26/2020)

                                         489                 Letter of Objection against McDermott International Inc. By David Wild
   02/24/2020                            (2 pgs)             (JesusGuajardo) (Entered: 02/26/2020)

                                         490                 Letter from Shareholder Fredrick D. Braid (JesusGuajardo) (Entered:
   02/24/2020                            (2 pgs)             02/26/2020)

                                         491                 Letter from Shareholder Mary Ellen Holub (JesusGuajardo) (Entered:
   02/24/2020                            (1 pg)              02/26/2020)

                                         480                 Notice of Lien Perfection. Filed by Olsen & Guerra Lumber Company
   02/25/2020                            (45 pgs; 2 docs)    (Attachments: # 1 Exhibit) (Aderholt, Ben) (Entered: 02/25/2020)

                                         483                Motion to Appear pro hac vice , Lindsey Henrikson. (rcas) (Entered:
   02/25/2020                            (1 pg)             02/25/2020)

                                         484                Motion to Appear pro hac vice , Matthew L. Warren. (rcas) (Entered:
   02/25/2020                            (1 pg)             02/25/2020)

                                         485                Declaration re: Declaration of Status as a Substantial Shareholder (Filed
                                         (10 pgs)           By Apicorp Managed Account Investment Vehicle, L.P., West Street
                                                            Capital Partners VII - Parallel B, L.P., West Street Capital Partners VII
                                                            Investments B, L.P., West Street Capital Partners VII Offshore
                                                            Investments, L.P. ).(Related document(s):155 Order on Emergency
   02/25/2020                                               Motion) (Grissel, Katherine) (Entered: 02/25/2020)

                                         486                Declaration re: Declaration of Status as a 50-Percent Shareholder (Filed
                                         (10 pgs)           By Apicorp Managed Account Investment Vehicle, L.P., West Street
                                                            Capital Partners VII - Parallel B, L.P., West Street Capital Partners VII
                                                            Investments B, L.P., West Street Capital Partners VII Offshore
                                                            Investments, L.P. ).(Related document(s):155 Order on Emergency
   02/25/2020                                               Motion) (Grissel, Katherine) (Entered: 02/25/2020)

                                         487                Motion to Appear pro hac vice . Filed by Creditor Sonia Chae U.S.
   02/26/2020                            (1 pg)             Securities & Exchange Commission (Chae, Sonia) (Entered: 02/26/2020)

   02/26/2020                            494                Order Granting Motion To Appear pro hac vice -- Matthew L. Warren
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           76/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)                                                                       001029
                                                           (Related Doc # 484) Signed on 2/26/2020. (VrianaPortillo) (Entered:
                                                           02/26/2020)

                                         495               Order Granting Motion To Appear pro hac vice -- Lindsey Henrikson
                                         (1 pg)            (Related Doc # 483) Signed on 2/26/2020. (VrianaPortillo) (Entered:
   02/26/2020                                              02/26/2020)

                                         496               Affidavit Re: Mailings for the Period from February 15, 2020 through
                                         (22 pgs)          February 21, 2020. (related document(s):152 Order on Emergency
                                                           Motion, 453 Proposed Order, 456 Proposed Order, 457 Proposed Order).
   02/26/2020                                              Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 02/26/2020)

                                         497               BNC Certificate of Mailing. (Related document(s):468 Order on Motion to
                                         (8 pgs)           Appear pro hac vice) No. of Notices: 290. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         498               BNC Certificate of Mailing. (Related document(s):469 Order on Motion to
                                         (8 pgs)           Appear pro hac vice) No. of Notices: 290. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         499               BNC Certificate of Mailing. (Related document(s):470 Order on Motion to
                                         (8 pgs)           Appear pro hac vice) No. of Notices: 290. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         500               BNC Certificate of Mailing. (Related document(s):473 Order on
                                         (10 pgs)          Emergency Motion) No. of Notices: 291. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         501               BNC Certificate of Mailing. (Related document(s):474 Generic Order) No.
   02/26/2020                            (16 pgs)          of Notices: 291. Notice Date 02/26/2020. (Admin.) (Entered: 02/26/2020)

                                         502               BNC Certificate of Mailing. (Related document(s):475 Order on
                                         (14 pgs)          Emergency Motion) No. of Notices: 291. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         503               BNC Certificate of Mailing. (Related document(s):476 Generic Order) No.
   02/26/2020                            (184 pgs)         of Notices: 291. Notice Date 02/26/2020. (Admin.) (Entered: 02/26/2020)

                                         504               BNC Certificate of Mailing. (Related document(s):477 Order on
                                         (91 pgs)          Emergency Motion) No. of Notices: 291. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         505               BNC Certificate of Mailing. (Related document(s):478 Order on
                                         (13 pgs)          Emergency Motion) No. of Notices: 291. Notice Date 02/26/2020.
   02/26/2020                                              (Admin.) (Entered: 02/26/2020)

                                         506               Order Granting Motion To Appear pro hac vice (Related Doc # 487)
   02/27/2020                            (1 pg)            Signed on 2/27/2020. (VrianaPortillo) (Entered: 02/27/2020)

                                         507               Transcript RE: Hearing held on 02/24/20 before Judge David R. Jones.
                                         (74 pgs)          Transcript is available for viewing in the Clerk's Office. Filed by
                                                           Transcript access will be restricted through 05/27/2020.
   02/27/2020                                              (AccessTranscripts) (Entered: 02/27/2020)

   02/27/2020                            509               Motion for Entry of Order Filed by Interested Party Michael Van Deelen
                                         (156 pgs)         (hler) Modified on 2/28/2020 (hler). (Entered: 02/28/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          77/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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                                         510                Objection to Confirmation of Plan Filed by Michael Van Deelen. (hler)
   02/27/2020                            (156 pgs)          (Entered: 02/28/2020)

                                         511                Exhibit and Witness List ref: hrg set 3/12/2020 (Filed By Michael Van
                                         (3 pgs)            Deelen ). (hler) Modified on 2/28/2020 (hler). Additional attachment(s)
   02/27/2020                                               added on 2/28/2020 (hler). (Entered: 02/28/2020)

                                         508                Notice of Filing of Official Transcript as to 507 Transcript. Parties notified
   02/28/2020                            (1 pg)             (Related document(s):507 Transcript) (jdav) (Entered: 02/28/2020)

                                         512                Emergency Motion to Shorten Deadline for Debtors to Respond to
                                         (67 pgs; 3 docs)   Discovery Filed by Creditor Maire Tecnimont SPA and MET Gas
                                                            Processing Technologies SPA (Attachments: # 1 Callari Declaration # 2
   02/28/2020                                               Proposed Order) (Judd, T.) (Entered: 02/28/2020)

                                         513                Notice of Appearance and Request for Notice Filed by Timothy Q Karcher
                                         (4 pgs)            Filed by on behalf of Bollore Transport & Logistics (Karcher, Timothy)
   02/28/2020                                               (Entered: 02/28/2020)

                                         514                Notice of Appearance and Request for Notice Filed by Albert M Belmont
                                         (5 pgs)            III Filed by on behalf of Hussein Adel Dahroug (Belmont, Albert)
   02/28/2020                                               (Entered: 02/28/2020)

                                         515                Notice of Appearance and Request for Notice Filed by Michael P Ridulfo
                                         (2 pgs)            Filed by on behalf of Sparrows Offshore LLC (Ridulfo, Michael)
   02/28/2020                                               (Entered: 02/28/2020)

                                         516                Notice of Appearance and Request for Notice Filed by Sonia Anne Chae
                                         (3 pgs)            Filed by on behalf of Sonia Chae U.S. Securities & Exchange Commission
   02/28/2020                                               (Chae, Sonia) (Entered: 02/28/2020)

                                         517                Objection to Confirmation of Plan Filed by Sonia Chae U.S. Securities &
                                         (12 pgs)           Exchange Commission. (Related document(s):121 Amended Chapter 11
   02/28/2020                                               Plan) (Chae, Sonia) (Entered: 02/28/2020)

                                         518                BNC Certificate of Mailing. (Related document(s):494 Order on Motion to
                                         (8 pgs)            Appear pro hac vice) No. of Notices: 296. Notice Date 02/28/2020.
   02/28/2020                                               (Admin.) (Entered: 02/28/2020)

                                         519                BNC Certificate of Mailing. (Related document(s):495 Order on Motion to
                                         (8 pgs)            Appear pro hac vice) No. of Notices: 296. Notice Date 02/28/2020.
   02/28/2020                                               (Admin.) (Entered: 02/28/2020)

                                         520                Notice of Filing of Plan Supplement. (Related document(s):121 Amended
                                         (172 pgs)          Chapter 11 Plan) Filed by McDermott International, Inc. (Cavenaugh,
   02/29/2020                                               Matthew) (Entered: 02/29/2020)

                                         521                BNC Certificate of Mailing. (Related document(s):506 Order on Motion to
                                         (8 pgs)            Appear pro hac vice) No. of Notices: 296. Notice Date 02/29/2020.
   02/29/2020                                               (Admin.) (Entered: 02/29/2020)

                                         522                Notice of Appearance and Request for Notice Filed by William G. Harris
                                         (2 pgs)            Filed by on behalf of Veronica Porter (Harris, William) (Entered:
   03/01/2020                                               03/01/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                              78/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   03/01/2020                            523                BNC Certificate of Mailing. (Related document(s):508 Notice of Filing of
                                         (8 pgs)            Official Transcript (Form)) No. of Notices: 296. Notice Date 03/01/2020.
                                                            (Admin.) (Entered: 03/01/2020)

                                         524                Notice of Appearance and Request for Notice Filed by Charles A
                                         (4 pgs)            Beckham Jr Filed by on behalf of John R Castellano, AP Services, LLC,
   03/02/2020                                               AlixPartners LLP (Beckham, Charles) (Entered: 03/02/2020)

                                         525                Notice Regarding the Debtors' Application for Entry of an Order
                                         (3 pgs)            Authorizing the (I) Retention of AP Services and (II) Designation of John
                                                            R. Castellano as Chief Transformation Officer of the Debtors. (Related
                                                            document(s):434 Application to Employ) Filed by AP Services, LLC,
                                                            AlixPartners LLP, John R Castellano (Beckham, Charles) (Entered:
   03/02/2020                                               03/02/2020)

                                         526                Motion to Appear pro hac vice Valerie Bantner Peo. Filed by Creditor
   03/02/2020                            (1 pg)             Oracle America, Inc. (Catmull, Annie) (Entered: 03/02/2020)

                                         527                Notice Expert Report. Filed by Michael Van Deelen (hler) (Entered:
   03/02/2020                            (4 pgs)            03/02/2020)

                                         528                Objection to Confirmation of Plan, Response/Objection Filed by Reese
                                         (22 pgs; 2 docs)   Coligado Shareholder Group. (Related document(s):4 Disclosure
                                                            Statement, 5 Chapter 11 Plan, 121 Amended Chapter 11 Plan, 160 Order
                                                            Setting Hearing) (Attachments: # 1 Exhibit List of Members of Coligado
   03/02/2020                                               Shareholders Group)(Baker, Reese) (Entered: 03/02/2020)

                                         529                Objection Limited Objection to Confirmation of the Amended Joint
                                         (10 pgs; 2 docs)   Prepackaged Chapter 11 Plan of Reorganization of McDermott
                                                            International, Inc. and its Debtor Affiliates. Filed by B.F.E. S.r.l.
                                                            (Attachments: # 1 Proposed Order) (Durrschmidt, Michael) (Entered:
   03/02/2020                                               03/02/2020)

                                         530                Response/Objection Filed by Wholesale Electric Supply Co., of Houston,
                                         (31 pgs)           Inc., Gas Innovations, VPF Fire Systems, Inc., MLN Service Company,
                                                            Wilson Fire Equipment & Service Co., Inc., Network Cabling Services,
                                                            Inc., Inventure Design, LLC, Kelkar LLC d/b/a Troop Industrial,
                                                            Nooter/Eriksen, Inc., Remedial Construction Services, L.P., Trio Electric,
                                                            LLC, CFI Mechanical, Inc., DGI-Menard, Inc., W.T. Byler Co., Inc.,
                                                            Apache Industrial Painting, Inc., Apache Industrial Services, Inc., Gerab
                                                            National Enterprises LLC. (Related document(s):121 Amended Chapter
   03/02/2020                                               11 Plan) (Judd, T.) (Entered: 03/02/2020)

                                         531                Certificate of Serice for Objection to Disclosure Statement and Chapter 11
                                         (30 pgs)           Plan (Filed By Reese Coligado Shareholder Group ).(Related
                                                            document(s):528 Objection to Confirmation of the Plan,
   03/02/2020                                               Response/Objection) (Baker, Reese) (Entered: 03/02/2020)

                                         532                Objection Limited Objection of The Travelers Indemnity Company to the
                                         (5 pgs)            Disclosure Statement and Plan Supplement for the Amended Joint
                                                            Prepackaged Chapter 11 Plan of Reorganization of McDermott
                                                            International, Inc. and its Debtor Affiliates. Filed by Travelers Indemity
   03/02/2020                                               Company (Caplinger, Christopher) (Entered: 03/02/2020)

   03/02/2020                            533                Objection to Confirmation of the Joint Prepackaged Chapter 11 Plan of
                                         (11 pgs)           McDermott International, Inc. and Its Debtor Affiliates. Filed by Yancey
                                                            Bros. Co. (Hatcher, Todd) (Entered: 03/02/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            79/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         534               Notice of Appearance and Request for Notice Filed by Bryan Roy Lentz
                                         (5 pgs)           Filed by on behalf of Hussein Adel Dahroug (Lentz, Bryan) (Entered:
   03/02/2020                                              03/02/2020)

                                         535               Objection to Confirmation of Plan Filed by Oracle America, Inc.. (Related
                                         (30 pgs)          document(s):121 Amended Chapter 11 Plan) (Catmull, Annie) (Entered:
   03/02/2020                                              03/02/2020)

                                         536               Motion to Appear pro hac vice Peter S. Bryant. Filed by Creditor Hussein
   03/02/2020                            (1 pg)            Adel Dahroug (dnor) (Entered: 03/02/2020)

                                         537               Response (Filed By Air Products and Chemicals, Inc ).(Related
                                         (3 pgs)           document(s):121 Amended Chapter 11 Plan) (Grogan, James) (Entered:
   03/02/2020                                              03/02/2020)

                                         538               Objection to Confirmation of Plan Filed by Veronica Porter. (Related
                                         (4 pgs)           document(s):121 Amended Chapter 11 Plan) (Harris, William) (Entered:
   03/02/2020                                              03/02/2020)

                                         539               Response (Filed By Public Employees' Retirement System of Mississippi
                                         (5 pgs)           ("Lead Plaintiff") ).(Related document(s):4 Disclosure Statement, 121
   03/02/2020                                              Amended Chapter 11 Plan) (Etkin, Michael) (Entered: 03/02/2020)

                                         540               Objection to Confirmation of Plan Filed by Sparrows Offshore LLC.
   03/02/2020                            (4 pgs)           (Ridulfo, Michael) (Entered: 03/02/2020)

                                         541               Notice of Reservation of Rights. (Related document(s):121 Amended
                                         (3 pgs)           Chapter 11 Plan) Filed by MMR Constructors Inc. (Klingensmith,
   03/02/2020                                              Elizabeth) (Entered: 03/02/2020)

                                         542               Notice of Appearance and Request for Notice Filed by Iron Mountain
                                         (3 pgs; 2 docs)   Information Management, LLC (Attachments: # 1 Certificate of Service)
   03/02/2020                                              (Corrigan, Joseph) (Entered: 03/02/2020)

                                         543               Notice of Cancellation of Auction for the Sale of Lummus Assets and
                                         (3 pgs)           Interests. (Related document(s):160 Order Setting Hearing) Filed by
                                                           McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   03/03/2020                                              03/03/2020)

                                         544               Response/Objection Filed by Maire Tecnimont SPA and MET Gas
                                         (41 pgs)          Processing Technologies SPA. (Related document(s):4 Disclosure
                                                           Statement, 121 Amended Chapter 11 Plan) (Judd, T.) (Entered:
   03/03/2020                                              03/03/2020)

                                         545               Certificate of Service (Filed By Public Employees' Retirement System of
                                         (2 pgs)           Mississippi ("Lead Plaintiff") ).(Related document(s):539 Response)
   03/03/2020                                              (Etkin, Michael) (Entered: 03/03/2020)

                                         546               Amended Objection to Confirmation of Plan Filed by Veronica Porter.
                                         (18 pgs)          (Related document(s):121 Amended Chapter 11 Plan, 538 Objection to
   03/03/2020                                              Confirmation of the Plan) (Harris, William) (Entered: 03/03/2020)

   03/03/2020                            547               Order Granting Motion To Appear pro hac vice -- Valerie Bantner Peo
                                         (1 pg)            (Related Doc # 526) Signed on 3/3/2020. (VrianaPortillo) (Entered:
                                                           03/03/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         80/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         548                Order Granting Motion To Appear pro hac vice -- Peter R. Bryant Esquire
                                         (1 pg)             (Related Doc # 536) Signed on 3/3/2020. (VrianaPortillo) (Entered:
   03/03/2020                                               03/03/2020)

                                         549                Emergency Motion for Entry of an Order (I) Authorizing and Approving
                                         (24 pgs; 2 docs)   the Settlements By and Among the Debtors and the Insurers, and (II)
                                                            Granting Related Relief Filed by Debtor McDermott International, Inc.
                                                            (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   03/03/2020                                               03/03/2020)

                                         550                Emergency Motion for Entry of an Order Authorizing the Debtors to File
                                         (11 pgs; 2 docs)   the Settlement Agreements Under Seal Filed by Debtor McDermott
                                                            International, Inc. (Attachments: # 1 Proposed Order) (Cavenaugh,
   03/03/2020                                               Matthew) (Entered: 03/03/2020)

                                         551                Sealed Document Exhibit A to ECF No. 549 (Filed By McDermott
   03/03/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 03/03/2020)

                                         552                Sealed Document Exhibit B to ECF No. 549 (Filed By McDermott
   03/03/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 03/03/2020)

                                         553                Sealed Document Exhibit C to ECF No. 549 (Filed By McDermott
   03/03/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 03/03/2020)

                                         554                Stipulation By McDermott International, Inc. and FIRST Insurance
                                         (23 pgs)           Funding, a Division of Lake Forest Bank & Trust Company, N.A.. Does
                                                            this document include an agreed order or otherwise request that the judge
                                                            sign a document? Yes. (Filed By McDermott International, Inc. ).
   03/03/2020                                               (Cavenaugh, Matthew) (Entered: 03/03/2020)

                                         555                Proposed Order RE: Authorizing the Retention and Employment of Baker
                                         (10 pgs; 2 docs)   Botts, L.L.P. as Special Counsel to the Debtors and the Debtors In
                                                            Possession (Filed By McDermott International, Inc. ).(Related
                                                            document(s):425 Application to Employ) (Attachments: # 1 Redline)
   03/03/2020                                               (Cavenaugh, Matthew) (Entered: 03/03/2020)

                                         556                Affidavit Re: Mailings for the Period from February 22, 2020 through
                                         (126 pgs)          February 28, 2020. (related document(s):424 Application to Employ, 425
                                                            Application to Employ, 426 Application to Employ, 427 Application to
                                                            Employ, 428 Application to Employ, 429 Application to Employ, 430
                                                            Application to Employ, 431 Application to Employ, 432 Declaration, 434
                                                            Application to Employ, 435 Generic Motion, 462 Proposed Order, 463
                                                            Proposed Order, 464 Proposed Order, 465 Proposed Order, 466 Agenda,
                                                            473 Order on Emergency Motion, 474 Generic Order, 475 Order on
                                                            Emergency Motion, 476 Generic Order, 477 Order on Emergency Motion,
                                                            478 Order on Emergency Motion). Filed by Prime Clerk LLC (Steele,
   03/04/2020                                               Benjamin) (Entered: 03/04/2020)

                                         557                EXPEDITED Motion for an Order Continuing the March 12, 2020 Plan
                                         (6 pgs; 2 docs)    Hearing Filed by Interested Party Michael Van Deelen (Attachments: # 1
   03/04/2020                                               Proposed Order) (mmap) (Entered: 03/04/2020)

                                         563                Motion to Appear pro hac vice David H. Conaway. Filed by Creditor
                                         (1 pg)             Toshiba America Energy Systems Corporation (dnor) (Entered:
   03/04/2020                                               03/05/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           81/133
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                                                 CM/ECFFiled   onBankruptcy
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   03/05/2020                            558                Letter from Shareholder Chamath Kodituwakku (JeannieAndresen)
                                         (2 pgs)            (Entered: 03/05/2020)

                                         559                Notice of REQUEST FOR A HEARING. Filed by Michael D Deelen (Olin)
   03/05/2020                            (2 pgs)            (Entered: 03/05/2020)

                                         560                Notice of Appearance and Request for Notice Filed by James M Liston
                                         (2 pgs)            Filed by on behalf of BAC CANTON HOLDINGS LLC (Liston, James)
   03/05/2020                                               (Entered: 03/05/2020)

                                                            Hearing Set On Michael D. Van Deelen's Motion for an Order Continuing
                                                            the March 12, 2020 Plan Hearing (Related document(s):557 Motion to
                                                            Extend Time) Hearing scheduled for 3/9/2020 at 09:00 AM at Houston,
                                                            Courtroom 400 (DRJ). Movant to serve notice and file a certificate of
   03/05/2020                                               service with the Court. (JeannieAndresen) (Entered: 03/05/2020)

                                         561                Proposed Order RE: Authorizing the Retention and Employment of
                                         (14 pgs; 2 docs)   Evercore Group L.L.C. and Evercore Partners International LLP as
                                                            Investment Banker to the Debtors and Debtors In Possession (Filed By
                                                            McDermott International, Inc. ).(Related document(s):427 Application to
                                                            Employ) (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered:
   03/05/2020                                               03/05/2020)

                                         562                Notice of Appearance and Request for Notice Filed by James M Liston
                                         (2 pgs)            Filed by on behalf of BAC CANTON HOLDINGS LLC (Liston, James)
   03/05/2020                                               (Entered: 03/05/2020)

                                         564                Proposed Order RE: Authorizing the Debtors and Debtors In Possession to
                                         (14 pgs; 2 docs)   (I) Retain and Employ KPMG LLP as Tax Compliance, Tax Consultant,
                                                            Financial Accountant and Advisor, and (II) Waiving Certain Information
                                                            Requirements Imposed by Local Rule 2016-2 (Filed By McDermott
                                                            International, Inc. ).(Related document(s):426 Application to Employ)
   03/05/2020                                               (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 03/05/2020)

                                         565                Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: Madesta To
                                         (3 pgs; 2 docs)    Cowen Special Investments LLC Fee Amount $25 Filed by Cowen
   03/05/2020                                               Special Investments LLC (Rosenblum, Gail) (Entered: 03/05/2020)

                                         566                Proposed Order RE: Granting the Application of Debtors and Debtors-In-
                                         (9 pgs; 2 docs)    Possession to Retain Jackson Walker LLP as Co-Counsel and Conflicts
                                                            Counsel for Debtors and Debtors-In-Possession (Filed By McDermott
                                                            International, Inc. ).(Related document(s):424 Application to Employ)
   03/05/2020                                               (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 03/05/2020)

                                         567                Motion to Appear pro hac vice for Jeffrey Michalik. Filed by Debtor
                                         (1 pg)             McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   03/05/2020                                               03/05/2020)

                                         568                BNC Certificate of Mailing. (Related document(s):547 Order on Motion to
                                         (9 pgs)            Appear pro hac vice) No. of Notices: 297. Notice Date 03/05/2020.
   03/05/2020                                               (Admin.) (Entered: 03/05/2020)

                                         569                BNC Certificate of Mailing. (Related document(s):548 Order on Motion to
                                         (9 pgs)            Appear pro hac vice) No. of Notices: 297. Notice Date 03/05/2020.
   03/05/2020                                               (Admin.) (Entered: 03/05/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          82/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   03/06/2020                            570                                                                          001035
                                                            Proposed Order RE: Authorizing the Retention and Employment   of
                                         (10 pgs; 2 docs)   Holland & Knight LLP as Special Litigation and Colombia Counsel to the
                                                            Debtors and Debtors in Possession (Filed By McDermott International,
                                                            Inc. ).(Related document(s):429 Application to Employ) (Attachments: # 1
                                                            Redline) (Cavenaugh, Matthew) (Entered: 03/06/2020)

                                         571                Proposed Order RE: Authorizing the Employment and Retention of
                                         (11 pgs; 2 docs)   PricewaterhouseCoopers LLP to Provide Certain Accounting,
                                                            Transaction, and Valuation Services to the Debtors (Filed By McDermott
                                                            International, Inc. ).(Related document(s):430 Application to Employ)
   03/06/2020                                               (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 03/06/2020)

                                         572                Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: WoodRiver
                                         (4 pgs; 2 docs)    Energy, LLC To Fair Harbor Capital, LLC Fee Amount $25 (Grand,
   03/06/2020                                               Joseph) (Entered: 03/06/2020)

                                         573                Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: WoodRiver
                                         (4 pgs; 2 docs)    Energy, LLC To Fair Harbor Capital, LLC Fee Amount $25 (Grand,
   03/06/2020                                               Joseph) (Entered: 03/06/2020)

                                                            Receipt of Transfer of Claim(20-30336) [claims,trclm] ( 25.00) Filing Fee.
                                                            Receipt number 21945858. Fee amount $ 25.00. (U.S. Treasury) (Entered:
   03/06/2020                                               03/06/2020)

                                                            Receipt of Transfer of Claim(20-30336) [claims,trclm] ( 25.00) Filing Fee.
                                                            Receipt number 21945858. Fee amount $ 25.00. (U.S. Treasury) (Entered:
   03/06/2020                                               03/06/2020)

                                         574                Proposed Order RE: Authorizing the Employment and Retention of K&L
                                         (8 pgs; 2 docs)    Gates LLP as Special Counsel to the Debtors (Filed By McDermott
                                                            International, Inc. ).(Related document(s):431 Application to Employ)
   03/06/2020                                               (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered: 03/06/2020)

                                         575                Proposed Order RE: Authorizing the Retention and Compensation of
                                         (16 pgs; 2 docs)   Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ).(Related document(s):435 Generic
                                                            Motion) (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered:
   03/06/2020                                               03/06/2020)

                                         576                Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: Mpw
                                         (4 pgs; 2 docs)    Industrial Water Services, Inc. To CRG Financial, LLC Fee Amount $25
   03/06/2020                                               (Polanco, Odalisa) (Entered: 03/06/2020)

                                                            Receipt of Transfer of Claim(20-30336) [claims,trclm] ( 25.00) Filing Fee.
                                                            Receipt number 21947128. Fee amount $ 25.00. (U.S. Treasury) (Entered:
   03/06/2020                                               03/06/2020)

                                         577                Motion to Appear pro hac vice Eric Handler. Filed by Creditor Autodesk,
   03/06/2020                            (1 pg)             Inc.; PlanGrid, Inc. (dnor) (Entered: 03/06/2020)

                                         578                Response to Maire Tecnimont S.P.A. and MET Gas Processing
                                         (5 pgs)            Technologies S.P.A.'s Emergency Motion to Shorten Deadline for Debtors
                                                            to Respond to Discovery (related document(s):512 Emergency Motion).
                                                            Filed by McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   03/06/2020                                               03/06/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          83/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
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   03/07/2020                            579               Stipulation and Agreed Order Signed on 3/7/2020 (Related    001036
                                         (23 pgs)          document(s):554 Stipulation) (aalo) (Entered: 03/08/2020)

                                         581               BNC Certificate of Mailing. (Related document(s):565 Transfer of Claim)
                                         (12 pgs)          No. of Notices: 1. Notice Date 03/07/2020. (Admin.) (Entered:
   03/07/2020                                              03/08/2020)

                                         580               Order Granting Emergency Motion to File Settlement Agreements Under
                                         (2 pgs)           Seal (Related Doc # 550) Signed on 3/8/2020. (aalo) (Entered:
   03/08/2020                                              03/08/2020)

                                         582               Response to Expedited Motion for an Order Continuing the March 12,
                                         (4 pgs)           2020 Plan Confirmation Hearing Until Such Time as The Lummus
                                                           Stalking Horse Purchaser Has Shown It Has Obtained, Or Can Obtain,
                                                           Funds to Consummate The Lummus Purchase and Request for Earliest
                                                           Possible Hearing Date On This Motion (related document(s):557 Motion
                                                           to Extend Time). Filed by McDermott International, Inc. (Cavenaugh,
   03/08/2020                                              Matthew) (Entered: 03/08/2020)

                                         583               BNC Certificate of Mailing. (Related document(s):572 Transfer of Claim)
                                         (12 pgs)          No. of Notices: 1. Notice Date 03/08/2020. (Admin.) (Entered:
   03/08/2020                                              03/09/2020)

                                         584               BNC Certificate of Mailing. (Related document(s):573 Transfer of Claim)
                                         (12 pgs)          No. of Notices: 1. Notice Date 03/08/2020. (Admin.) (Entered:
   03/08/2020                                              03/09/2020)

                                                            Courtroom Minutes. Time Hearing Held: 9:01 AM. Appearances: Anna
                                                            Rotman, Matthew Cavenaugh, Ciara Foster for the Debtors; Michael Van
                                                            Deelen, Interested Party; Shane Johnson; Hugh Ray III (By phone)
                                                            (Related document(s):557 Motion to Extend Time) For the reasons stated
                                                            on the record, the Court denied the Motion for an Order Continuing the
                                                            March 12, 2020 Plan Hearing 557. Order to be entered (VrianaPortillo)
   03/09/2020                                               (Entered: 03/09/2020)

                                         585
                                         (1 pg)                 PDF with attached Audio File. Court Date & Time [ 3/9/2020
                                                            9:01:51 AM ]. File Size [ 18064 KB ]. Run Time [ 00:37:38 ]. (In ref to
                                                            doc no. 557. Hearing held March 9, 2020.). (admin). (Entered:
   03/09/2020                                               03/09/2020)

                                         586                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)             Cavenaugh. This is to order a transcript of 3/9/2020 before Judge David
                                                            R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) Electronically
                                                            forwarded to Access Transcripts on 3-10-2020. Estimated completion
                                                            date: 3-11-2020. Modified on 3/10/2020 (MelissaMorgan). (Entered:
   03/09/2020                                               03/09/2020)

                                         587                Order (Related Doc # 557) Signed on 3/9/2020. (VrianaPortillo)
   03/09/2020                            (1 pg)             (Entered: 03/09/2020)

                                         588                Declaration re: Declaration of Christina Pullo of Prime Clerk LLC
                                         (14 pgs)           Regarding Solicitation of Votes and Tabulation of Ballots Cast on the
                                                            Joint Pre-Packaged Chapter 11 Plan of Reorganization of McDermott
                                                            International, Inc. and Its Debtor Affiliates (Filed By McDermott
   03/09/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 03/09/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            84/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
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                                                                                                                        001037
   03/09/2020                            589                 Brief (Filed By McDermott International, Inc. ).(Related document(s):4
                                         (122 pgs)           Disclosure Statement, 121 Amended Chapter 11 Plan) (Cavenaugh,
                                                             Matthew) (Entered: 03/09/2020)

                                         590                 Order Authorizing the Debtors and Debtors in Possession to (I) Retain
                                         (7 pgs)             and Employ KPMG LLP as Tax Compliance, Tax Consultant, Financial
                                                             Accountant and Advisor, and (II) Waiving Certain Information
                                                             Requirements Imposed by Local Rule 2016-2 (Related Doc # 426)
   03/09/2020                                                Signed on 3/9/2020. (VrianaPortillo) (Entered: 03/09/2020)

                                         591                 Order Granting the Application of Debtors and Debtors-In-Possession to
                                         (3 pgs)             Retain Jackson Walker LLP as Co-Counsel and Conflicts Counsel for
                                                             Debtors and Debtors-In-Possession (Related Doc # 424) Signed on
   03/09/2020                                                3/9/2020. (VrianaPortillo) (Entered: 03/09/2020)

                                         592                 Adversary case 20-03056. Nature of Suit: (21 (Validity, priority or extent
                                         (175 pgs; 4 docs)   of lien or other interest in property)),(91 (Declaratory judgment))
                                                             Complaint for Declaratory Relief by Lummus Technology LLC against
                                                             Maire Tecnimont S.p.A. an Italian Company, MET Gas Processing
                                                             Technologies S.p.A.. Fee Amount $350 (Attachments: # 1 Exhibit A # 2
                                                             Exhibit B # 3 Adversary Cover Sheet) (Cavenaugh, Matthew) (Entered:
   03/09/2020                                                03/09/2020)

                                         593                 Proposed Order RE: Authorizing the Retention and Employment of
                                         (12 pgs; 2 docs)    Kirkland & Ellis LLP and Kirkland & Ellis International LLP as
                                                             Attorneys for the Debtors and Debtors in Possession (Filed By
                                                             McDermott International, Inc. ).(Related document(s):428 Application to
                                                             Employ) (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered:
   03/09/2020                                                03/09/2020)

                                         606                 Order Authorizing the Retention and Employment of Baker Botts L.L.P.
                                         (5 pgs)             as Special Counsel to the Debtors and Debtors in Possession (Related
   03/09/2020                                                Doc # 425) Signed on 3/9/2020. (VrianaPortillo) (Entered: 03/10/2020)

                                         608                 Order Authorizing the Retention and Employment of Evercore Group
                                         (7 pgs)             L.L.C. and Evercore Partners International LLP as Investment Banker to
                                                             the Debtors in Possession (Related Doc # 427) Signed on 3/9/2020.
   03/09/2020                                                (VrianaPortillo) (Entered: 03/10/2020)

                                         609                 Order Authorizing the Retention and Employment of Holland & Knight
                                         (5 pgs)             LLP as Special Litigation and Colombia Counsel to the Debtors and
                                                             Debtors in Possession (Related Doc # 429) Signed on 3/9/2020.
   03/09/2020                                                (VrianaPortillo) (Entered: 03/10/2020)

                                         611                 Order Authorizing the Employment and Retention of K&L Gates LLP as
                                         (4 pgs)             Special Counsel to the Debtors (Related Doc # 431) Signed on 3/9/2020.
   03/09/2020                                                (VrianaPortillo) (Entered: 03/10/2020)

                                         612                 Order Authorizing the Retention and Compensation of Certain
                                         (27 pgs)            Professionals Utilized in the Ordinary Course of Business (Related Doc #
   03/09/2020                                                435) Signed on 3/9/2020. (VrianaPortillo) (Entered: 03/10/2020)

                                         624                 Notice of Unliquidated Claim for CB & I LLC filed by Jean Hoffman.
   03/09/2020                            (1 pg)              (ClaudiaGutierrez) (Entered: 03/11/2020)

   03/09/2020                            625                 Notice of Unliquidated Claim for Shaw Services LLC filed by Jean
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            85/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)             Hoffman. (ClaudiaGutierrez) (Entered: 03/11/2020)          001038



                                         626                Notice for Unliquidated Claim for Lutech Resources Inc filed by Jean
   03/09/2020                            (1 pg)             Hoffman. (ClaudiaGutierrez) (Entered: 03/11/2020)

                                         594                Witness List (Filed By Reese Coligado Shareholder Group ).
   03/10/2020                            (23 pgs; 2 docs)   (Attachments: # 1 Exhibit List) (Baker, Reese) (Entered: 03/10/2020)

                                         595                Notice of response and reservation of rights regarding proposed sale.
                                         (9 pgs)            (Related document(s):476 Generic Order) Filed by Oracle America, Inc.
   03/10/2020                                               (Catmull, Annie) (Entered: 03/10/2020)

                                         596                Certificate of service (Filed By Oracle America, Inc. ).(Related
   03/10/2020                            (28 pgs)           document(s):595 Notice) (Catmull, Annie) (Entered: 03/10/2020)

                                         597                Notice Shawna Green, Individually, and as Personal Representative of
                                         (34 pgs)           the Estate of Aaron Green Deceased's Notice of Joinder to the Limited
                                                            Objection to the Amended Joint Prepackaged Chapter 11 Plan of
                                                            Reorganization of McDermott International, Inc. and Its Debtor
                                                            Affiliates. (Related document(s):530 Response/Objection) Filed by
                                                            Shawna Green, Individually, and as Personal Representative of the Estate
   03/10/2020                                               of Aaron Green Deceased (Judd, T.) (Entered: 03/10/2020)

                                         598                Exhibit List, Witness List (Filed By Oracle America, Inc. ).(Related
                                         (28 pgs)           document(s):535 Objection to Confirmation of the Plan, 595 Notice)
   03/10/2020                                               (Catmull, Annie) (Entered: 03/10/2020)

                                         599                Exhibit List, Witness List (Filed By Apache Industrial Painting, Inc.,
                                         (2 pgs)            Apache Industrial Services, Inc., CFI Mechanical, Inc., DGI-Menard,
                                                            Inc., Gas Innovations, Gerab National Enterprises LLC, Inventure
                                                            Design, LLC, Kelkar LLC d/b/a Troop Industrial, MLN Service
                                                            Company, Network Cabling Services, Inc., Nooter/Eriksen, Inc.,
                                                            Remedial Construction Services, L.P., Shawna Green, Individually, and
                                                            as Personal Representative of the Estate of Aaron Green Deceased, Trio
                                                            Electric, LLC, VPF Fire Systems, Inc., W.T. Byler Co., Inc., Wholesale
                                                            Electric Supply Co., of Houston, Inc., Wilson Fire Equipment & Service
                                                            Co., Inc. ).(Related document(s):530 Response/Objection) (Judd, T.)
   03/10/2020                                               (Entered: 03/10/2020)

                                         600                Witness List, Exhibit List (Filed By Sonia Chae U.S. Securities &
   03/10/2020                            (3 pgs)            Exchange Commission ). (Chae, Sonia) (Entered: 03/10/2020)

                                         601                Exhibit List, Witness List (Filed By Maire Tecnimont SPA and MET Gas
                                         (3 pgs)            Processing Technologies SPA ).(Related document(s):544
   03/10/2020                                               Response/Objection) (Judd, T.) (Entered: 03/10/2020)

                                         602                Exhibit List (Filed By Credit Agricole Corporate and Investment Bank ).
   03/10/2020                            (3 pgs)            (Wood, William) (Entered: 03/10/2020)

                                         603                Witness List, Exhibit List (Filed By McDermott International, Inc. ).
   03/10/2020                            (5 pgs)            (Cavenaugh, Matthew) (Entered: 03/10/2020)

                                         604                Motion to Appear pro hac vice by Nacif Taousse. Filed by Creditor
   03/10/2020                            (1 pg)             Chevron Corporation (Zottnick, Kelsey) (Entered: 03/10/2020)

   03/10/2020                            605                Notice of Appearance and Request for Notice Filed by Kelsey Zottnick
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            86/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (1 pg)                                                                       001039
                                                             Filed by on behalf of Chevron Corporation (Zottnick, Kelsey) (Entered:
                                                             03/10/2020)

                                         607                 Letter from Shareholder Vishvanath Yellore (JeannieAndresen) (Entered:
   03/10/2020                            (3 pgs)             03/10/2020)

                                         610                 Order Authorizing the Employment and Retention of
                                         (5 pgs)             PricewaterhouseCoopers LLP to Provide Certain Services to the Debtors
                                                             (Related Doc # 430) Signed on 3/10/2020. (VrianaPortillo) (Entered:
   03/10/2020                                                03/10/2020)

                                         613                 Response/Objection Filed by Christopher Komatinsky. (Related
   03/10/2020                            (2 pgs)             document(s):589 Brief) (JeannieAndresen) (Entered: 03/10/2020)

                                         614                 Supplemental Objection TO DEBTORS AMENDED MOTION FOR
                                         (52 pgs; 2 docs)    ENTRY OF (A) AN ORDER (I) APPROVING THE STALKING HORSE
                                                             PROTECTIONS, (II) APPROVING BIDDING PROCEDURES FOR THE
                                                             SALE OF THE LUMMUS ASSETS AND INTERESTS, AND (III)
                                                             APPROVING CONTRACT ASSUMPTION AND ASSIGNMENT
                                                             PROCEDURES, AND (B) AN ORDER AUTHORIZING THE DEBTORS
                                                             TO ENTER INTO A DEFINITIVE PURCHASE AGREEMENT SUBJECT
                                                             TO ENTRY OF THE CONFIRMATION ORDER. Filed by Maire
                                                             Tecnimont SPA and MET Gas Processing Technologies SPA
   03/10/2020                                                (Attachments: # 1 Declaration) (Judd, T.) (Entered: 03/10/2020)

                                         615                 Proposed Order RE: Final Order Authorizing the Debtors to (I) Continue
                                         (22 pgs; 2 docs)    to Operate Their Cash Management System and Maintain Existing Bank
                                                             Accounts and (II) Continue to Perform Intercompany Transactions (Filed
                                                             By McDermott International, Inc. ).(Related document(s):15 Emergency
                                                             Motion, 147 Order Setting Hearing) (Attachments: # 1 Redline)
   03/10/2020                                                (Cavenaugh, Matthew) (Entered: 03/10/2020)

                                         616                 Notice of Revised Exhibit B to Motion for Entry of Interim and Final
                                         (10 pgs)            Orders Authorizing the Debtors to (I) Continue to Operate Their Cash
                                                             Management System and Maintain Existing Bank Accounts and (II)
                                                             Continue to Perform Intercompany Transactions. (Related
                                                             document(s):15 Emergency Motion) Filed by McDermott International,
   03/10/2020                                                Inc. (Cavenaugh, Matthew) (Entered: 03/10/2020)

                                         617                 Amended Objection AMENDED SUPPLEMENTAL OBJECTION TO
                                         (117 pgs; 2 docs)   DEBTORS AMENDED MOTION FOR ENTRY OF (A) AN ORDER (I)
                                                             APPROVING THE STALKING HORSE PROTECTIONS, (II)
                                                             APPROVING BIDDING PROCEDURES FOR THE SALE OF THE
                                                             LUMMUS ASSETS AND INTERESTS, AND (III) APPROVING
                                                             CONTRACT ASSUMPTION AND ASSIGNMENT PROCEDURES, AND
                                                             (B) AN ORDER AUTHORIZING THE DEBTORS TO ENTER INTO A
                                                             DEFINITIVE PURCHASE AGREEMENT SUBJECT TO ENTRY OF
                                                             THE CONFIRMATION ORDER. Filed by Maire Tecnimont SPA and
                                                             MET Gas Processing Technologies SPA (Attachments: # 1 Declaration)
   03/10/2020                                                (Judd, T.) (Entered: 03/10/2020)

                                         618                 Response to the Amended Motion for Order Appointing a Trustee or
                                         (4 pgs)             Examiner Pursuant to U.S.C. Section 1104 (related document(s):441
                                                             Motion to Appoint Trustee). Filed by McDermott International, Inc.
   03/10/2020                                                (Cavenaugh, Matthew) (Entered: 03/11/2020)

   03/11/2020                            619                 Letter from Shareholder T.M. Kumar (JeannieAndresen) (Entered:

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          87/133
                Case
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                                         (9 pgs)             03/11/2020)                                                001040



                                         620                 Second Amended Chapter 11 Plan Filed by McDermott International,
                                         (143 pgs; 2 docs)   Inc.. (Attachments: # 1 Redline)(Cavenaugh, Matthew) (Entered:
   03/11/2020                                                03/11/2020)

                                         621                 Withdraw Document (Filed By Air Products and Chemicals, Inc ).
                                         (2 pgs)             (Related document(s):537 Response) (Grogan, James) (Entered:
   03/11/2020                                                03/11/2020)

                                         622                 Notice of Filing of Amended Plan Supplement. (Related document(s):520
                                         (309 pgs)           Notice, 620 Amended Chapter 11 Plan) Filed by McDermott
   03/11/2020                                                International, Inc. (Cavenaugh, Matthew) (Entered: 03/11/2020)

                                         623                 Affidavit Re: Mailings for the Period from February 29, 2020 through
                                         (283 pgs)           March 6, 2020. (related document(s):520 Notice, 543 Notice, 549
                                                             Emergency Motion, 554 Stipulation, 555 Proposed Order, 561 Proposed
                                                             Order, 564 Proposed Order, 566 Proposed Order). Filed by Prime Clerk
   03/11/2020                                                LLC (Steele, Benjamin) (Entered: 03/11/2020)

                                         627                 Proposed Order RE: Approving the Debtors' Disclosure Statement and
                                         (257 pgs; 2 docs)   Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                             Reorganization of McDermott International, Inc. and its Debtor Affiliates
                                                             (Filed By McDermott International, Inc. ).(Related document(s):620
                                                             Amended Chapter 11 Plan) (Attachments: # 1 Redline - Sale Order)
   03/11/2020                                                (Cavenaugh, Matthew) (Entered: 03/11/2020)

                                         628                 Objection Limited Objection and Reservation of Rights. Filed by Toshiba
                                         (5 pgs)             America Energy Systems Corporation (Conaway, David) (Entered:
   03/11/2020                                                03/11/2020)

                                         629                 Objection Reservation of Rights. Filed by Certain Contract
   03/11/2020                            (6 pgs)             Counterparties (Henrikson, Lindsey) (Entered: 03/11/2020)

                                         630                 Order Granting Motion To Appear pro hac vice - David H. Conaway
                                         (1 pg)              (Related Doc # 563) Signed on 3/11/2020. (emiller) (Entered:
   03/11/2020                                                03/11/2020)

                                         631                 Order Granting Motion To Appear pro hac vice - Jeffrey Michalik
                                         (1 pg)              (Related Doc # 567) Signed on 3/11/2020. (emiller) (Entered:
   03/11/2020                                                03/11/2020)

                                         632                 Order Granting Motion To Appear pro hac vice - Eric Handler (Related
   03/11/2020                            (1 pg)              Doc # 577) Signed on 3/11/2020. (emiller) (Entered: 03/11/2020)

                                         633                 Order Granting Motion To Appear pro hac vice - Nacif Taousse (Related
   03/11/2020                            (1 pg)              Doc # 604) Signed on 3/11/2020. (emiller) (Entered: 03/11/2020)

                                         634                 Withdraw Document (Filed By Sparrows Offshore LLC ).(Related
                                         (2 pgs)             document(s):540 Objection to Confirmation of the Plan) (Ridulfo,
   03/11/2020                                                Michael) (Entered: 03/11/2020)

                                         635                 Notice Under Section 546(b) of Perfection of Interest in Property. Filed
                                         (57 pgs; 3 docs)    by Innova Global Inc. (Attachments: # 1 Exhibit A # 2 Exhibit B)
   03/11/2020                                                (Peirce, Steve) (Entered: 03/11/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           88/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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   03/11/2020                            636                                                                          001041
                                                             Application to Employ AlixPartners LLP as Financial Advisor.
                                         (156 pgs; 2 docs)   Objections/Request for Hearing Due in 21 days. Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Proposed Order)
                                                             (Cavenaugh, Matthew) (Entered: 03/11/2020)

                                         637                 Application to Employ AP Services and John R. Castellano as Chief
                                         (153 pgs; 2 docs)   Transformation Officer (relates to ECF No. 434). Objections/Request for
                                                             Hearing Due in 21 days. Filed by Debtor McDermott International, Inc.
                                                             (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   03/11/2020                                                03/11/2020)

                                         638                 Response Reservation of Rights by the Chevron Corporation and Certain
                                         (4 pgs)             of its Affiliates. Filed by Chevron Corporation (Zottnick, Kelsey)
   03/11/2020                                                (Entered: 03/11/2020)

                                         639                 Emergency Motion for Entry of an Order Authorizing the Debtors to (I)
                                         (17 pgs; 2 docs)    File Under Seal the Names of Certain Confidential Parties in Interest
                                                             Related to Kirkland & Ellis LLP and Kirkland & Ellis International
                                                             LLP's Retention Application and (II) Maintain the Confidentiality of a
                                                             Certain Confidential Client Previously Filed Under Seal Related to
                                                             Kirkland & Ellis LLP and Kirkland & Ellis International LLP's Retention
                                                             Application Filed by Debtor McDermott International, Inc. (Attachments:
   03/11/2020                                                # 1 Proposed Order) (Cavenaugh, Matthew) (Entered: 03/11/2020)

                                         640                 Sealed Document Schedule 1 to Motion for Entry of an Order
                                                             Authorizing the Debtors to (I) File Under Seal the Names of Certain
                                                             Confidential Parties in Interest Related to Kirkland & Ellis LLP and
                                                             Kirkland & Ellis International LLP's Retention Application and (II)
                                                             Maintain the Confidentiality of a Certain Confidential Client Previously
                                                             Filed Under Seal Related to Kirkland & Ellis LLP and Kirkland & Ellis
                                                             International LLP's Retention Application (related to ECF No. 639)
                                                             (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   03/11/2020                                                (Entered: 03/11/2020)

                                                             Hearing Set On Debtors' Emergency Motion to File Under Seal (Related
                                                             document(s):639 Emergency Motion) Hearing scheduled for 3/12/2020
                                                             at 09:00 AM at Houston, Courtroom 400 (DRJ). (JeannieAndresen)
   03/11/2020                                                (Entered: 03/11/2020)

                                         641                 BNC Certificate of Mailing. (Related document(s):579 Generic Order)
                                         (31 pgs)            No. of Notices: 300. Notice Date 03/11/2020. (Admin.) (Entered:
   03/11/2020                                                03/11/2020)

                                         642                 BNC Certificate of Mailing. (Related document(s):580 Order on
                                         (10 pgs)            Emergency Motion) No. of Notices: 300. Notice Date 03/11/2020.
   03/11/2020                                                (Admin.) (Entered: 03/11/2020)

                                         643                 BNC Certificate of Mailing. (Related document(s):587 Order on Motion
                                         (9 pgs)             to Extend Time) No. of Notices: 300. Notice Date 03/11/2020. (Admin.)
   03/11/2020                                                (Entered: 03/11/2020)

                                         644                 BNC Certificate of Mailing. (Related document(s):590 Order on
                                         (15 pgs)            Application to Employ) No. of Notices: 300. Notice Date 03/11/2020.
   03/11/2020                                                (Admin.) (Entered: 03/11/2020)

   03/11/2020                            645                 BNC Certificate of Mailing. (Related document(s):591 Order on
                                         (11 pgs)            Application to Employ) No. of Notices: 300. Notice Date 03/11/2020.
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           89/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
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                                                             (Admin.) (Entered: 03/11/2020)                            001042



                                         646                 BNC Certificate of Mailing. (Related document(s):576 Transfer of
                                         (12 pgs)            Claim) No. of Notices: 1. Notice Date 03/11/2020. (Admin.) (Entered:
   03/11/2020                                                03/11/2020)

                                         674                 Motion to Appear pro hac vice Andrew J. Herink. Filed by Interested
                                         (1 pg)              Party Central States, Southeast and Southwest Areas Pension Fund
   03/11/2020                                                (ShoshanaArnow) (Entered: 03/13/2020)

                                         647                 Notice of Filing of Second Amended Plan Supplement. (Related
                                         (115 pgs)           document(s):520 Notice, 622 Notice) Filed by McDermott International,
   03/12/2020                                                Inc. (Cavenaugh, Matthew) (Entered: 03/12/2020)

                                         648                 Motion to Appear pro hac vice by Daniel Guyder. Filed by Creditor IHC
   03/12/2020                            (1 pg)              Services B.V. (Lippman, Kevin) (Entered: 03/12/2020)

                                         649                 Response (Filed By US Trustee ).(Related document(s):639 Emergency
                                         (10 pgs; 2 docs)    Motion) (Attachments: # 1 Proposed Order) (Statham, Stephen) (Entered:
   03/12/2020                                                03/12/2020)

                                         650                 Agenda for Hearing on 3/12/2020 (Filed By McDermott International,
   03/12/2020                            (9 pgs)             Inc. ). (Cavenaugh, Matthew) (Entered: 03/12/2020)

                                         651                 Amended Chapter 11 Plan Filed by McDermott International, Inc..
                                         (215 pgs; 3 docs)   (Attachments: # 1 Redline to January 22 version # 2 Redline to March 11
   03/12/2020                                                version)(Cavenaugh, Matthew) (Entered: 03/12/2020)

                                         652                 Notice of Appearance and Request for Notice Filed by Kevin M
                                         (3 pgs)             Lippman Filed by on behalf of IHC Services B.V. (Lippman, Kevin)
   03/12/2020                                                (Entered: 03/12/2020)

                                         653                 Withdraw Document (Filed By Yancey Bros. Co. ).(Related
   03/12/2020                            (3 pgs)             document(s):533 Objection) (Hatcher, Todd) (Entered: 03/12/2020)

                                         654                 Statement Amended Verified Statement of Davis Polk & Wardwell LLP
                                         (14 pgs)            and Porter Hedges LLP Pursuant to Federal Rule of Bankruptcy
                                                             Procedure 2019 (Filed By Ad Hoc Group of Term Lenders ). (Higgins,
   03/12/2020                                                John) (Entered: 03/12/2020)

                                         655                 Withdraw Document (Filed By Apache Industrial Painting, Inc., Apache
                                         (26 pgs)            Industrial Services, Inc., CFI Mechanical, Inc., DGI-Menard, Inc., Gas
                                                             Innovations, Gerab National Enterprises LLC, Inventure Design, LLC,
                                                             Kelkar LLC d/b/a Troop Industrial, MLN Service Company, Network
                                                             Cabling Services, Inc., Nooter/Eriksen, Inc., Remedial Construction
                                                             Services, L.P., Shawna Green, Individually, and as Personal
                                                             Representative of the Estate of Aaron Green Deceased, Trio Electric,
                                                             LLC, VPF Fire Systems, Inc., W.T. Byler Co., Inc., Wholesale Electric
                                                             Supply Co., of Houston, Inc., Wilson Fire Equipment & Service Co., Inc.
                                                             ).(Related document(s):530 Response/Objection) (Judd, T.) (Entered:
   03/12/2020                                                03/12/2020)

                                         656                 Notice of Inability to Appoint Creditors' Committee by the United States
   03/12/2020                            (2 pgs)             Trustee (Duran, Hector) (Entered: 03/12/2020)

   03/12/2020                            657                 Proposed Order RE: Order Approving the Debtors' Disclosure Statement
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            90/133
                Case
11/18/21, 11:12 AM      4:21-cv-03369 DocumentBK10-2
                                                 CM/ECFFiled   onBankruptcy
                                                        LIVE - US 11/19/21    in TXSD
                                                                            Court-Texas      Page 91 of 550
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                                         (288 pgs; 2 docs)   and Confirming the Second Amended Joint Prepackaged Chapter001043 11
                                                             Plan of Reorganization (Technical Modifications) of McDermott
                                                             International, Inc. and its Debtor Affiliates (Filed By McDermott
                                                             International, Inc. ).(Related document(s):651 Amended Chapter 11
                                                             Plan) (Attachments: # 1 Redline) (Cavenaugh, Matthew) (Entered:
                                                             03/12/2020)

                                         658                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              Cavenaugh. This is to order a transcript of 3/12/2020 before Judge David
                                                             R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed By
                                                             McDermott International, Inc. ). (Cavenaugh, Matthew) Electronically
                                                             forwarded to Access Transcripts on 3-13-2020. Estimated completion
                                                             date: 3-14-2020. Modified on 3/13/2020 (MelissaMorgan). (Entered:
   03/12/2020                                                03/12/2020)

                                         659                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              Whitaker. This is to order a transcript of Plan Hearing on March 9 2020
                                                             before Judge David R. Jones. Court Reporter/Transcriber: Access
                                                             Transcripts. (JenniferOlson) Electronically forwarded to the original
                                                             transcriber: Access Transcripts on 3-13-2020. Estimated completion date:
                                                             3-14-2020. Modified on 3/13/2020 (MelissaMorgan). (Entered:
   03/12/2020                                                03/12/2020)

                                         660                 Proposed Order RE: Approving the Debtors' Disclosure Statement and
                                         (316 pgs; 2 docs)   Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                             Reorganization (Technical Modifications) of McDermott International,
                                                             Inc. and Its Debtor Affiliates (Filed By McDermott International, Inc. ).
                                                             (Related document(s):651 Amended Chapter 11 Plan) (Attachments: # 1
   03/12/2020                                                Redline) (Cavenaugh, Matthew) (Entered: 03/12/2020)

   03/12/2020                                                Courtroom Minutes. Time Hearing Held: 9:00 AM. Appearances:
                                                             Matthew Cavenaugh, Veronica Polnick, Joshua Sussberg, Anthony
                                                             Grossi, Anna Rotman, Ciara Foster, Chris Greco for the Debtors;
                                                             Penelope Jensen, Margo Schonholtz; Simon Mayer and Anu Yerramalli;
                                                             Michael Van Deelen; Hugh Ray, Robert Britton, and Neal Donnelly;
                                                             Kenneth Krock; John Higgins, Damien Schaible, and Natasha Tsiouris;
                                                             Carollynn Callari and Josh Judd (by phone); Ashley Harper; Tom
                                                             Howley nd Jane VanLare; Cliff Carlson; Reese Baker; and Ken Kattner,
                                                             Charlie Beckham and Courtney Lyda; Michael Etkin; Michael Collins;
                                                             Michael Durrschmidt; Daniel Myrick; Zach Clement; Annie Catmull;
                                                             Christopher Komatinshy (by phone); Christopher Caplinger (by phone);
                                                             Catherine Heitzenrater (by phone); Sonia Chae (by phone) (Related
                                                             document(s):15 Emergency Motion, 428 Application to Employ, 512
                                                             Emergency Motion, 549 Emergency Motion, 639 Emergency Motion)
                                                             Witnesses: Dimitrios Georgiou, Todd Kramer, Mark Brown, Roopesh
                                                             Shah, and John Castellano. Docket no. 588 admitted. Debtors exhibit B,
                                                             D and F admitted without objection. For the reasons stated on the record,
                                                             the Court approved the debtors disclosure statement and confirmed the
                                                             second amended joint prepackaged chapter 11 plan. The parties to submit
                                                             a revised confirmation order. The Court approved the Amended Motion
                                                             for Entry of (A) an Order (I) Approving the Stalking Horse Protections,
                                                             (II) Approving Bidding Procedures for the Sale of the Lummus Assets
                                                             and Interest, and (III) Approving Contract Assumption and Assignment
                                                             Procedures, and (B) an Order Authorizing the Debtors to Enter Into a
                                                             Definitive Purchase Agreement Subject to Entry of the Confirmation
                                                             Order 110. The Motion to Appoint Trustee 441 is now moot. The
                                                             Emergency Motion to Shorten Deadline for Debtors to Respond to
                                                             Discovery 512 was withdrawn on the record. The Court approved the
                                                             Cash Management Motion 15 on a final basis. The revised proposed final

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            91/133
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                                                           order submitted at docket no. 615 was signed on the record.001044
                                                                                                                       The Court
                                                           approved the Insurance Motion 549. Order to be entered. The retention
                                                           application submitted at docket no. 428 was approved. Order to be
                                                           entered. (VrianaPortillo) (Entered: 03/12/2020)

                                         661               Order Authorizing the Debtors to (I) File Under Seal the Names of
                                         (3 pgs)           Certain Confidential Parties in Interest Related to Kirkland & Ellis LLP
                                                           and Kirkland & Ellis LLP International LLP's Retention Application and
                                                           (II) Maintain the Confidentiality of Certain Confidential Client
                                                           Previously Filed Under Seal Related to Kirkland & Ellis LLP nd
                                                           Kirkland & Ellis International LLP's Retention Application (Related Doc
   03/12/2020                                              # 639) Signed on 3/12/2020. (VrianaPortillo) (Entered: 03/12/2020)

                                         662               Final Order Authorizing the Debtors to (I) Continue to Operate their
                                         (11 pgs)          Cash Management System and Maintain Existing Bank Accounts and (II)
                                                           Continue to Perform Intercompany Transactions Signed on 3/12/2020
                                                           (Related document(s):15 Emergency Motion, 147 Order Setting Hearing)
   03/12/2020                                              (VrianaPortillo) (Entered: 03/12/2020)

                                         663               Order (I) Authorizing and Approving the Settlement by nd Among the
                                         (7 pgs)           Debtors and the Insurers, and (II) Granting Related Relief (Related Doc #
   03/12/2020                                              549) Signed on 3/12/2020. (VrianaPortillo) (Entered: 03/12/2020)

                                         664               Transcript RE: Hearing held on 03/09/20 before Judge David R. Jones.
                                         (32 pgs)          Transcript is available for viewing in the Clerk's Office. Filed by
                                                           Transcript access will be restricted through 06/10/2020.
   03/12/2020                                              (AccessTranscripts) (Entered: 03/12/2020)

                                         665               Order Approving the Debtors' Disclosure Statement and Confirming the
                                         (213 pgs)         Second Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                           (Technical Modifications) of McDermott International, Inc. and Its
                                                           Debtor Affiliates Signed on 3/12/2020 (Related document(s):651
   03/12/2020                                              Amended Chapter 11 Plan) (emiller) (Entered: 03/12/2020)

                                         666
                                         (1 pg)                PDF with attached Audio File. Court Date & Time [ 3/12/2020
                                                           9:02:25 AM ]. File Size [ 105979 KB ]. Run Time [ 03:40:47 ]. (In ref to
                                                           Confirmation and doc nos. 15, 110, 512, 428, 639, 549, and 441. Hearing
   03/12/2020                                              held March 12, 2020.). (admin). (Entered: 03/12/2020)

                                         667               BNC Certificate of Mailing. (Related document(s):606 Order on
                                         (13 pgs)          Application to Employ) No. of Notices: 300. Notice Date 03/12/2020.
   03/12/2020                                              (Admin.) (Entered: 03/13/2020)

                                         668               BNC Certificate of Mailing. (Related document(s):608 Order on
                                         (15 pgs)          Application to Employ) No. of Notices: 300. Notice Date 03/12/2020.
   03/12/2020                                              (Admin.) (Entered: 03/13/2020)

                                         669               BNC Certificate of Mailing. (Related document(s):609 Order on
                                         (13 pgs)          Application to Employ) No. of Notices: 300. Notice Date 03/12/2020.
   03/12/2020                                              (Admin.) (Entered: 03/13/2020)

                                         670               BNC Certificate of Mailing. (Related document(s):610 Order on
                                         (13 pgs)          Application to Employ) No. of Notices: 300. Notice Date 03/12/2020.
   03/12/2020                                              (Admin.) (Entered: 03/13/2020)

   03/12/2020                            671               BNC Certificate of Mailing. (Related document(s):611 Order on
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         92/133
                Case
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                                         (12 pgs)                                                                    001045
                                                            Application to Employ) No. of Notices: 300. Notice Date 03/12/2020.
                                                            (Admin.) (Entered: 03/13/2020)

                                         672                BNC Certificate of Mailing. (Related document(s):612 Generic Order)
                                         (35 pgs)           No. of Notices: 300. Notice Date 03/12/2020. (Admin.) (Entered:
   03/12/2020                                               03/13/2020)

                                         673                Notice of Filing of Official Transcript as to 664 Transcript. Parties
                                         (1 pg)             notified (Related document(s):664 Transcript) (jdav) (Entered:
   03/13/2020                                               03/13/2020)

                                         675                Declaration re: Disinterstedness of Armstrong Teasdale LLP (Filed By
   03/13/2020                            (4 pgs)            Armstrong Teasdale LLP ). (Engel, Richard) (Entered: 03/13/2020)

                                         676                Declaration re: Declaration of Disinterestedness of Ughi E Nunziante
                                         (2 pgs)            Studio Legale Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course
                                                            of Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/13/2020                                               Matthew) (Entered: 03/13/2020)

                                         677                Declaration re: Declaration of Disinterestedness of Fieldfisher, LLP
                                         (5 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/13/2020                                               03/13/2020)

                                         678                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (2 pgs)            Whitaker. This is to order a transcript of Motion Hearing, 2/24/2020
                                                            before Judge David R. Jones. Court Reporter/Transcriber: Access
                                                            Transcripts. (mmap) Electronically forwarded to the original transcriber:
                                                            Access Transcripts on 3-13-2020. Estimated completion date: 3-14-2020.
   03/13/2020                                               Modified on 3/13/2020 (MelissaMorgan). (Entered: 03/13/2020)

                                         679                Notice of Declaration of Disinterestedness of Foster LLP. Filed by
   03/13/2020                            (8 pgs)            Foster, LLP (Perez, Alexander) (Entered: 03/13/2020)

                                         680                BNC Certificate of Mailing. (Related document(s):630 Order on Motion
                                         (9 pgs)            to Appear pro hac vice) No. of Notices: 300. Notice Date 03/13/2020.
   03/13/2020                                               (Admin.) (Entered: 03/13/2020)

                                         681                BNC Certificate of Mailing. (Related document(s):631 Order on Motion
                                         (9 pgs)            to Appear pro hac vice) No. of Notices: 300. Notice Date 03/13/2020.
   03/13/2020                                               (Admin.) (Entered: 03/13/2020)

                                         682               BNC Certificate of Mailing. (Related document(s):632 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 300. Notice Date 03/13/2020.
   03/13/2020                                              (Admin.) (Entered: 03/13/2020)

                                         683               BNC Certificate of Mailing. (Related document(s):633 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 300. Notice Date 03/13/2020.
   03/13/2020                                              (Admin.) (Entered: 03/13/2020)

   03/14/2020                            684               Amended Order Approving the Debtors' Disclosure Statement and
                                         (213 pgs)         Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                           Reorganization (Technical Modifications) of McDermott International,


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            93/133
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                                                            Inc. and Its Debtor Affiliates Signed on 3/14/2020 (Related 001046
                                                            document(s):660 Proposed Order) (aalo) (Entered: 03/14/2020)

                                         685                BNC Certificate of Mailing. (Related document(s):661 Order on
                                         (11 pgs)           Emergency Motion) No. of Notices: 301. Notice Date 03/14/2020.
   03/14/2020                                               (Admin.) (Entered: 03/14/2020)

                                         686                BNC Certificate of Mailing. (Related document(s):662 Generic Order) No.
   03/14/2020                            (19 pgs)           of Notices: 301. Notice Date 03/14/2020. (Admin.) (Entered: 03/14/2020)

                                         687                BNC Certificate of Mailing. (Related document(s):663 Order on
                                         (15 pgs)           Emergency Motion) No. of Notices: 301. Notice Date 03/14/2020.
   03/14/2020                                               (Admin.) (Entered: 03/14/2020)

                                         688                BNC Certificate of Mailing. (Related document(s):665 Generic Order) No.
   03/14/2020                            (221 pgs)          of Notices: 301. Notice Date 03/14/2020. (Admin.) (Entered: 03/14/2020)

                                         689                BNC Certificate of Mailing. (Related document(s):673 Notice of Filing of
                                         (9 pgs)            Official Transcript (Form)) No. of Notices: 301. Notice Date 03/15/2020.
   03/15/2020                                               (Admin.) (Entered: 03/15/2020)

                                         690                Transcript RE: Hearing held on 03/12/20 before Judge David R. Jones.
                                         (188 pgs)          Transcript is available for viewing in the Clerk's Office. Filed by
                                                            Transcript access will be restricted through 06/15/2020.
   03/16/2020                                               (AccessTranscripts) (Entered: 03/16/2020)

                                         691                Transfer of Claim Transfer Agreement 3001 (e) 2 Transferor: RR
                                         (3 pgs; 2 docs)    Donnelly & Sons Co. To Cedar Glade LP Fee Amount $25 (Tanabe,
   03/16/2020                                               Kesha) (Entered: 03/16/2020)

                                                            Receipt of Transfer of Claim(20-30336) [claims,trclm] ( 25.00) Filing Fee.
                                                            Receipt number 21971506. Fee amount $ 25.00. (U.S. Treasury) (Entered:
   03/16/2020                                               03/16/2020)

                                         692                Order Authorizing the Retention and Employment of Kirkland & Ellis
                                         (6 pgs)            LLP (Related Doc # 428) Signed on 3/17/2020. (aalo) (Entered:
   03/17/2020                                               03/17/2020)

                                         693                Notice of Filing of Official Transcript as to 690 Transcript. Parties notified
   03/17/2020                            (1 pg)             (Related document(s):690 Transcript) (dhan) (Entered: 03/17/2020)

                                         694                Emergency Motion for Michael Van Deelen to Appear and Show Cause
                                         (21 pgs; 4 docs)   Why He Should Not be Held in Contempt of Court and Prohibited from
                                                            Further Contact with the Debtors, Their Officers, or Their Counsel Filed
                                                            by Debtor McDermott International, Inc. (Attachments: # 1 Complaint A-
                                                            Sussberg Affidavit # 2 Exhibit B-Spence Affidavit # 3 Proposed Order)
   03/17/2020                                               (Cavenaugh, Matthew) (Entered: 03/17/2020)

                                         695                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (2 pgs)            Whitaker. This is to order a transcript of Motion hearing, 3/12/2020,
                                                            before Judge David R. Jones. Court Reporter/Transcriber: Access
                                                            Transcripts. (mmap) Electronically forwarded to the original transcriber:
                                                            Access Transcripts on 3-18-2020. Estimated completion date 3-19-2020.
   03/17/2020                                               Modified on 3/18/2020 (MelissaMorgan). (Entered: 03/17/2020)

   03/17/2020                            696                Notice of Filing of Third Amended Plan Supplement. (Related
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                              94/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         (257 pgs)                                                                  001047 Inc.
                                                            document(s):684 Generic Order) Filed by McDermott International,
                                                            (Cavenaugh, Matthew) (Entered: 03/17/2020)

                                         697                Declaration re: Declaration of Disinterestedness of Cohen International
                                         (4 pgs)            Consulting Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/17/2020                                               Matthew) (Entered: 03/17/2020)

                                         698                Order Granting Motion To Appear pro hac vice - Daniel Guyder (Related
   03/18/2020                            (1 pg)             Doc # 648) Signed on 3/18/2020. (emiller) (Entered: 03/18/2020)

                                         699                Order Granting Motion To Appear pro hac vice - Andrew J. Herink
   03/18/2020                            (1 pg)             (Related Doc # 674) Signed on 3/18/2020. (emiller) (Entered: 03/18/2020)

                                         700                Notice of Appearance and Request for Notice Filed by Eric A Handler
                                         (3 pgs)            Filed by on behalf of Autodesk, Inc.; PlanGrid, Inc. (Handler, Eric)
   03/18/2020                                               (Entered: 03/18/2020)

                                         701                Response (related document(s):694 Emergency Motion). Filed by Michael
                                         (22 pgs; 2 docs)   Van Deelen (Attachments: # 1 Proposed Order) (sgue) (Entered:
   03/18/2020                                               03/18/2020)

                                         702                Witness and Exhibit List (Filed By Michael Van Deelen ). (sgue) (Entered:
   03/18/2020                            (4 pgs)            03/18/2020)

                                         703                Affidavit Re: of Andrew Q. Chan Regarding Claim Transfer Notices.
                                         (3 pgs)            (related document(s):565 Transfer of Claim, 572 Transfer of Claim, 573
                                                            Transfer of Claim, 576 Transfer of Claim). Filed by Prime Clerk LLC
   03/18/2020                                               (Steele, Benjamin) (Entered: 03/18/2020)

                                         704                Affidavit Re: Mailings for the Period from March 7, 2020 through March
                                         (222 pgs)          13, 2020. (related document(s):57 Order for Joint Administration, 152
                                                            Order on Emergency Motion, 570 Proposed Order, 571 Proposed Order,
                                                            574 Proposed Order, 575 Proposed Order, 578 Response, 579 Generic
                                                            Order, 580 Order on Emergency Motion, 582 Response, 588 Declaration,
                                                            589 Brief, 590 Order on Application to Employ, 591 Order on Application
                                                            to Employ, 593 Proposed Order, 606 Order on Application to Employ, 608
                                                            Order on Application to Employ, 609 Order on Application to Employ,
                                                            610 Order on Application to Employ, 611 Order on Application to
                                                            Employ, 612 Generic Order, 615 Proposed Order, 616 Notice, 618
                                                            Response, 620 Amended Chapter 11 Plan, 622 Notice, 627 Proposed
                                                            Order, 636 Application to Employ, 637 Application to Employ, 647
                                                            Notice, 650 Agenda, 651 Amended Chapter 11 Plan, 661 Order on
                                                            Emergency Motion, 662 Generic Order, 663 Order on Emergency Motion,
                                                            665 Generic Order, 676 Declaration, 677 Declaration). Filed by Prime
   03/18/2020                                               Clerk LLC (Steele, Benjamin) (Entered: 03/18/2020)

                                         705                Letter from Shareholder -- Fazal Hosein (VrianaPortillo) (Entered:
   03/18/2020                            (1 pg)             03/18/2020)

   03/18/2020                            706                Affidavit Re: Affidavit of Christopher T. Greco In Support of the Debtors'
                                         (3 pgs)            Emergency Motion for Michael Van Deelen to Appear and Show Cause
                                                            Why He Should Not be Held in Contempt of Court and Prohibited from
                                                            Further Contact with the Debtors, Their Officers, or Their Counsel (Filed
                                                            By McDermott International, Inc. ).(Related document(s):694 Emergency
                                                            Motion) (Cavenaugh, Matthew) (Entered: 03/18/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           95/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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                                         707               BNC Certificate of Mailing. (Related document(s):684 Generic Order) No.
   03/18/2020                            (221 pgs)         of Notices: 302. Notice Date 03/18/2020. (Admin.) (Entered: 03/18/2020)

                                         708               Notice of Change of Firm Affiliation and Related Change of Address of
   03/19/2020                            (2 pgs)           Counsel. Filed by Sundyne, LLC (Clark, Katharine) (Entered: 03/19/2020)

                                         709               Order Signed on 3/19/2020 (Related document(s):427 Application to
                                         (1 pg)            Employ) Hearing scheduled for 4/14/2020 at 02:30 PM at Houston,
   03/19/2020                                              Courtroom 400 (DRJ). (aalo) (Entered: 03/19/2020)

                                         710               BNC Certificate of Mailing. (Related document(s):693 Notice of Filing of
                                         (9 pgs)           Official Transcript (Form)) No. of Notices: 303. Notice Date 03/19/2020.
   03/19/2020                                              (Admin.) (Entered: 03/19/2020)

                                         711               BNC Certificate of Mailing. (Related document(s):692 Order on
                                         (14 pgs)          Application to Employ) No. of Notices: 303. Notice Date 03/19/2020.
   03/19/2020                                              (Admin.) (Entered: 03/19/2020)

                                         712               BNC Certificate of Mailing. (Related document(s):691 Transfer of Claim)
                                         (12 pgs)          No. of Notices: 1. Notice Date 03/19/2020. (Admin.) (Entered:
   03/19/2020                                              03/19/2020)

                                         713               Declaration re: Disinterestedness of Stibbs & Co., P.C. (Filed By Stibbs &
   03/20/2020                            (3 pgs)           Co., P.C. ). (Lapp, Stuart) (Entered: 03/20/2020)

                                         714               Response from Jee Hyun Kim (Related document(s):651 Amended
   03/20/2020                            (5 pgs)           Chapter 11 Plan) (ShoshanaArnow) (Entered: 03/20/2020)

                                         715               BNC Certificate of Mailing. (Related document(s):698 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 302. Notice Date 03/20/2020.
   03/20/2020                                              (Admin.) (Entered: 03/20/2020)

                                         716               BNC Certificate of Mailing. (Related document(s):699 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 302. Notice Date 03/20/2020.
   03/20/2020                                              (Admin.) (Entered: 03/20/2020)

                                         717               BNC Certificate of Mailing. (Related document(s):709 Order Setting
                                         (9 pgs)           Hearing) No. of Notices: 302. Notice Date 03/22/2020. (Admin.) (Entered:
   03/22/2020                                              03/22/2020)

                                         718               Declaration re: Disinterestedness of Sulzer & Williams LLC. (gclair)
   03/23/2020                            (4 pgs)           (Entered: 03/23/2020)

                                         719               Order Signed on 3/23/2020 (Related document(s):694 Emergency Motion)
   03/23/2020                            (2 pgs)           (aalo) (Entered: 03/23/2020)

                                         720               Declaration of Disinterestedness of Elig Gurkaynak Attorney at Law
                                         (10 pgs)          Pursuant to The Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business.
   03/23/2020                                              (JesusGuajardo) (Entered: 03/23/2020)

                                         721               Notice of Appearance and Request for Notice Filed by Tammy Jayk Dunn
                                         (2 pgs)           Filed by on behalf of Osha Liang LLP (Dunn, Tammy) (Entered:
   03/24/2020                                              03/24/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          96/133
                Case
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                                                 CM/ECFFiled   onBankruptcy
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   03/24/2020                            722               Declaration re: Declaration of Disinterestedness of Osha Liang LLP
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                           By Osha Liang LLP ).(Related document(s):612 Generic Order) (Dunn,
                                                           Tammy) (Entered: 03/24/2020)

                                         723               Request for Hearing (Filed By Michael Van Deelen ).(Related
                                         (5 pgs; 2 docs)   document(s):719 Generic Order) (Attachments: # 1 Proposed Order)
   03/24/2020                                              (mmap) (Entered: 03/24/2020)

                                         724               Declaration re: of Disinterestedness of Assessment Technologies, Ltd.
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                           By McDermott International, Inc. ).(Related document(s):612 Generic
   03/25/2020                                              Order) (Cavenaugh, Matthew) (Entered: 03/25/2020)

                                         725               Declaration re: Disinterestedness of Patterson + Sheridan, LLP Pursuant
                                         (3 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By
   03/25/2020                                              Patterson + Sheridan, LLP ). (Segura, Misty) (Entered: 03/25/2020)

                                         726               Declaration re: Decleration of Disinterestedness (Filed By McDermott
   03/25/2020                            (3 pgs)           International, Inc. ). (Diamond, Jeffrey) (Entered: 03/25/2020)

                                         727               Notice of Appearance and Request for Notice Filed by Bryan Patrick
                                         (2 pgs)           Vezey Filed by on behalf of Sinclair Wyoming Refining Company (Vezey,
   03/25/2020                                              Bryan) (Entered: 03/25/2020)

                                         728               Motion to Appear pro hac vice (Frederick E. Schmidt). Filed by Creditor
                                         (1 pg)            Sinclair Wyoming Refining Company (Vezey, Bryan) (Entered:
   03/25/2020                                              03/25/2020)

                                         729               Affidavit Re: Mailings for the Period from March 14, 2020 through March
                                         (262 pgs)         20, 2020. (related document(s):684 Generic Order, 692 Order on
                                                           Application to Employ, 696 Notice, 697 Declaration, 709 Order Setting
                                                           Hearing). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered:
   03/25/2020                                              03/25/2020)

                                         730               BNC Certificate of Mailing. (Related document(s):719 Generic Order) No.
   03/25/2020                            (10 pgs)          of Notices: 304. Notice Date 03/25/2020. (Admin.) (Entered: 03/25/2020)

                                         731               Declaration re: Declaration of Disinterestedness of Arnold & Porter Kaye
                                         (4 pgs)           Scholer LLP Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/26/2020                                              Matthew) (Entered: 03/26/2020)

                                         732               Declaration re: Declaration of Disinterestedness of ELIG Gurkaynak,
                                         (6 pgs)           Attorney At Law, Pursuant to the Order Authorizing The Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/26/2020                                              Matthew) (Entered: 03/26/2020)

   03/26/2020                            733               Declaration re: Declaration of Disinterestedness of Trahan Kornegay
                                         (3 pgs)           Partners LLP Purusant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          97/133
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                                                 CM/ECFFiled   onBankruptcy
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                                                           Business (Filed By McDermott International, Inc. ).(Related 001050
                                                           document(s):612 Generic Order) (Cavenaugh, Matthew) (Entered:
                                                           03/26/2020)

                                         734               Declaration re: Declaration of Disinterestedness of Holman Fenwick
                                         (3 pgs)           Willian LLP, Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/27/2020                                              Matthew) (Entered: 03/27/2020)

                                         735               Order Granting Motion To Appear pro hac vice - Frederick E. Schmidt
   03/27/2020                            (1 pg)            (Related Doc # 728) Signed on 3/27/2020. (emiller) (Entered: 03/27/2020)

                                         736               Declaration re: Declaration of Disinterestedness of Galloway, Johnson,
                                         (4 pgs)           Tompkins, Burr & Smith Pursuant to the Order Authorizing the Retention
                                                           and Compensation of Certain Professionals Utilized in the Ordinary
                                                           Course of Business (Filed By McDermott International, Inc. ).
   03/27/2020                                              (Cavenaugh, Matthew) (Entered: 03/27/2020)

                                         737               Declaration re: Declaration of Disinterestedness of Ferguson Braswell
                                         (3 pgs)           Fraser Kubasta PC Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/27/2020                                              Matthew) (Entered: 03/27/2020)

                                         738               BNC Certificate of Mailing. (Related document(s):735 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 305. Notice Date 03/29/2020.
   03/29/2020                                              (Admin.) (Entered: 03/29/2020)

                                         739               Declaration re: Declaration Of Disinterestedness Of Jones Day Pursuant
                                         (4 pgs)           To The Order Authorizing The Retention And Compensation Of Certain
                                                           Professionals Utilized In The Ordinary Course Of Business (Filed By
   03/30/2020                                              Jones Day ). (Zeltner, Oliver) (Entered: 03/30/2020)

                                         740               Declaration re: Declaration of Disinterestedness of Essak & Associados
                                         (4 pgs)           Advogados, Sociedade Unipessoal Limitada, Pursuant to the Order
                                                           Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott
   03/30/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 03/30/2020)

                                         741               Declaration re: Declaration of Disinterestedness of King & Jurgens, LLC
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                           By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/30/2020                                              03/30/2020)

                                         742               Declaration re: Declaration of Disinterestedness of ARIAS, FABREGA &
                                         (4 pgs)           FABREGA Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/30/2020                                              Matthew) (Entered: 03/30/2020)

   03/30/2020                            743               Declaration re: Declaration of Disinterestedness of Pinto Coates Kyre &
                                         (3 pgs)           Bowers, PLLC Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh,
                                                           Matthew) (Entered: 03/30/2020)
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                                         744                Declaration re: Declaration of Disinterestedness of BarentsKrans
                                         (4 pgs)            Cooperatief U.A. Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/30/2020                                               Matthew) (Entered: 03/30/2020)

                                         745                Notice of Filing of Amended Exhibits Attached to the Debtors' Motion for
                                         (29 pgs)           Entry of an Order Authorizing the Retention and Compensation of Certain
                                                            Professionals Utilized in the Ordinary Course of Business. (Related
                                                            document(s):612 Generic Order) Filed by McDermott International, Inc.
   03/30/2020                                               (Cavenaugh, Matthew) (Entered: 03/30/2020)

                                         746                Notice of Additional Supplemental Agreement to the Debtors Emergency
                                         (16 pgs)           Motion for Entry of an Order Authorizing the Debtors to Retain and
                                                            Employ Ernst & Young LLP as Auditors. (Related document(s):478 Order
                                                            on Emergency Motion) Filed by McDermott International, Inc.
   03/30/2020                                               (Cavenaugh, Matthew) (Entered: 03/30/2020)

                                         747                Motion for Relief from Stay Motion of Sinclair Wyoming Refining
                                         (13 pgs; 3 docs)   Company for Relief from the Automatic Stay to Permit Continuation of
                                                            Litigation Pending Against Certain of the Debtors in the United States
                                                            Court of Appeals for the Tenth Circuit. Fee Amount $181. Filed by
                                                            Creditor Sinclair Wyoming Refining Company Hearing scheduled for
                                                            4/27/2020 at 01:30 PM at Houston, Courtroom 400 (DRJ). (Attachments:
                                                            # 1 Certificate Pursuant to BLR 4001-1 # 2 Proposed Order) (Vezey,
   03/30/2020                                               Bryan) (Entered: 03/30/2020)

                                                            Receipt of Motion for Relief From Stay(20-30336) [motion,mrlfsty] (
                                                            181.00) Filing Fee. Receipt number 22007155. Fee amount $ 181.00.
   03/30/2020                                               (U.S. Treasury) (Entered: 03/30/2020)

                                         748                Declaration re: Declaration of Disinterestedness of Redgrave LLP
                                         (3 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/30/2020                                               03/30/2020)

                                         749                Declaration re: Declaration of Disinterestedness of Dinsmore & Shohl
                                         (4 pgs)            LLP Pursuant to the Order Authorizing the Retention and Compensation
                                                            of Certain Professionals Utilized in the Ordinary Course of Business
                                                            (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   03/30/2020                                               (Entered: 03/30/2020)

                                         750                Declaration re: Declaration of Disinterestedness of Calfee, Halter &
                                         (4 pgs)            Griswold LLP Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/30/2020                                               Matthew) (Entered: 03/30/2020)

                                         751                Declaration re: Declaration of Disinterestedness of Cornejo, Mendez,
                                         (4 pgs)            Gonzalez y Duarte, S.C., Pursuant to the Order Authorizing the Retention
                                                            and Compensation of Certain Professionals Utilized in the Ordinary
                                                            Course of Business (Filed By McDermott International, Inc. ).
   03/31/2020                                               (Cavenaugh, Matthew) (Entered: 03/31/2020)

   03/31/2020                            752                Declaration re: Declaration of Disinterestedness of NautaDutilh New York
                                         (4 pgs)            P.C. Pursuant to the Order Authorizing the Retention and Compensation
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          99/133
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                                                            of Certain Professionals Utilized in the Ordinary Course of Business
                                                            (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
                                                            (Entered: 03/31/2020)

                                         753                Declaration re: Declaration of Disinterestedness of Schonherr Pursuant to
                                         (4 pgs)            the Order Authorizing the Retention and Compensation of Certain
                                                            Professionals Utilized in the Ordinary Course of Business (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/31/2020                                               03/31/2020)

                                         754                Declaration re: Declaration of Disinterestedness of Arthur Cox Pursuant
                                         (4 pgs)            to the Order Authorizing the Retention and Compensation of Certain
                                                            Professionals Utilized in the Ordinary Course of Business (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/31/2020                                               03/31/2020)

                                         755                Declaration re: Declaration of Disinterestedness of Kelley Drye & Warren
                                         (4 pgs)            LLP Pursuant to the Order Authorizing the Retention and Compensation
                                                            of Certain Professionals Utilized in the Ordinary Course of Business
                                                            (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   03/31/2020                                               (Entered: 03/31/2020)

                                         756                Certificate of Service Regarding Motion of Sinclair Wyoming Refining
                                         (12 pgs)           Company for Relief from the Automatic Stay to Permit Continuation of
                                                            Litigation Pending Against Certain of the Debtors in the United States
                                                            Court of Appeals for the Tenth Circuit (Filed By Sinclair Wyoming
                                                            Refining Company ).(Related document(s):747 Motion for Relief From
   03/31/2020                                               Stay) (Vezey, Bryan) (Entered: 03/31/2020)

                                         757                Declaration re: Declaration of Disinterestedness of Bennett Jones LLP,
                                         (4 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/31/2020                                               03/31/2020)

                                         758                Declaration re: Declaration of Disinterestedness of DLA Piper Pursuant to
                                         (4 pgs)            the Order Authorizing the Retention and Compensation of Certain
                                                            Professionals Utilized in the Ordinary Course of Business (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   03/31/2020                                               03/31/2020)

                                         759                Declaration re: Declaration of Disinterestedness of Clarke Gittens Farmer,
                                         (4 pgs)            Attorneys-At-Law, Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   03/31/2020                                               Matthew) (Entered: 03/31/2020)

                                         760                Withdrawal of Claim: (Attachments: # 1 Exhibit A - Proposed Order # 2
   04/01/2020                            (65 pgs; 3 docs)   Callari Declaration)(Judd, T.) (Entered: 04/01/2020)

                                         761                Affidavit Re: Mailings for the Period from March 21, 2020 through March
                                         (76 pgs)           27, 2020. (related document(s):713 Declaration, 718 Declaration, 719
                                                            Generic Order, 720 Document, 722 Declaration, 724 Declaration, 725
                                                            Declaration, 726 Declaration, 731 Declaration, 732 Declaration, 733
                                                            Declaration, 734 Declaration, 736 Declaration, 737 Declaration). Filed by
   04/01/2020                                               Prime Clerk LLC (Steele, Benjamin) (Entered: 04/01/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           100/133
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   04/01/2020                            762                Declaration re: Declaration of Disinterestedness of Baker & 001053
                                         (4 pgs)            McKenzie.Wong & Leow Pursuant to the Order Authorizing the Retention
                                                            and Compensation of Certain Professionals Utilized in the Ordinary
                                                            Course of Business (Filed By McDermott International, Inc. ).
                                                            (Cavenaugh, Matthew) (Entered: 04/01/2020)

                                         763                Declaration re: Declaration of Disinterestedness of Gorodissky &
                                         (4 pgs)            Partners, Ltd. Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   04/01/2020                                               Matthew) (Entered: 04/01/2020)

                                         764                Declaration re: Declaration of Disinterestedness of Hodge & Hodge
                                         (4 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/01/2020                                               04/01/2020)

                                         765                Declaration re: Declaration of Disinterestedness of Spilman Thomas &
                                         (4 pgs)            Battle, PLLC Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                            Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   04/01/2020                                               Matthew) (Entered: 04/01/2020)

                                         766                Declaration re: Declaration of Disinterestedness of Milligan Herns, PC
                                         (4 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/01/2020                                               04/01/2020)

                                         767                Declaration re: Declaration of Disinterestedness of Michael B. Burris CPA
                                         (4 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/01/2020                                               04/01/2020)

                                         768                Declaration re: Supplemental Declaration of Roopesh Shah in Support of
                                         (10 pgs)           the Debtors' Application for Entry of an Order Authorizing the Retention
                                                            and Employment of Evercore Group L.L.C. and Evercore Partners
                                                            International LLP as Investment Banker to the Debtors and the Debtors-
                                                            In-Possession (Filed By McDermott International, Inc. ).(Related
                                                            document(s):427 Application to Employ) (Cavenaugh, Matthew) (Entered:
   04/01/2020                                               04/01/2020)

                                         769                Emergency Motion for Entry of an Order Authorizing the Debtors to File
                                         (13 pgs; 2 docs)   Under Seal The Names of Certain Confidential Parties In Interest Related
                                                            to the Evercore Group L.L.C and Evercore Partners International LLP's
                                                            Retention Application Filed by Debtor McDermott International, Inc.
                                                            (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   04/01/2020                                               04/01/2020)

                                         770                Sealed Document Related to ECF No. 769 (Filed By McDermott
   04/01/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/01/2020)

   04/02/2020                            771                Declaration re: Declaration of Disinterestedness of Stephenson Harwood
                                         (3 pgs)            LLP Pursuant to the Order Authorizing the Retention and Compensation
                                                            of Certain Professionals Utilized in the Ordinary Course of Business

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                                                                                                                           001054
                                                                 (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
                                                                 (Entered: 04/02/2020)

                                         772                     Declaration re: Declaration of Disinterestedness of Appleby, Mauritius
                                         (4 pgs)                 Office, Pursuant to the Order Authorizing the Retention and
                                                                 Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                                 Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   04/02/2020                                                    Matthew) (Entered: 04/02/2020)

                                         773                     Declaration re: Declaration of Disinterestedness of Rose Law Firm, a
                                         (4 pgs)                 Professional Association, Pursuant to the Order Authorizing the Retention
                                                                 and Compensation of Certain Professionals Utilized in the Ordinary
                                                                 Course of Business (Filed By McDermott International, Inc. ).
   04/02/2020                                                    (Cavenaugh, Matthew) (Entered: 04/02/2020)

                                         774                     Declaration re: Declaration of Disinterestedness of The Moore Law Firm
                                         (3 pgs)                 Pursuant to the Order Authorizing the Retention and Compensation of
                                                                 Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                                 By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/02/2020                                                    04/02/2020)

                                         775                     Declaration re: Declaration of Disinterestedness of Eason Law Firm
                                         (4 pgs)                 Pursuant to the Order Authorizing the Retention and Compensation of
                                                                 Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                                 By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/02/2020                                                    04/02/2020)

                                         776                     Declaration re: Declaration of Disinterestedness of NeunerPate Law Firm
                                         (4 pgs)                 Pursuant to the Order Authorizing the Retention and Compensation of
                                                                 Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                                 By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/02/2020                                                    04/02/2020)

                                         777                     Declaration re: Declaration of Disinterestedness of Ogletree, Deakins,
                                         (3 pgs)                 Nash, Smoak & Stewart P.C. Pursuant to the Order Authorizing the
                                                                 Retention and Compensation of Certain Professionals Utilized in the
                                                                 Ordinary Course of Business (Filed By McDermott International, Inc. ).
   04/02/2020                                                    (Cavenaugh, Matthew) (Entered: 04/02/2020)

                                         778                     Declaration re: Declaration of Disinterestedness of Ernest Richardson
                                         (2 pgs)                 Pursuant to the Order Authorizing the Retention and Compensation of
                                                                 Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                                 By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   04/02/2020                                                    04/02/2020)

                                         779                     Declaration re: Declaration of Disinterestedness of Ricci Tyrrell Johnson
                                         (3 pgs)                 & Grey PLLC Pursuant to the Order Authorizing the Retention and
                                                                 Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                                 Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   04/02/2020                                                    Matthew) (Entered: 04/02/2020)

                                         780               Declaration re: Declaration of Disinterestedness of Lewis Silkin LLP Pursuant to
                                         (4 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/03/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

   04/03/2020                            781               Declaration re: Declaration of Disinterestedness of Lewis Brisbois Bisgaard and
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                               102/133
11/18/21, 11:12 Case
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                                         (4 pgs)                                                                             001055
                                                           Smith LLP Pursuant to the Order Authorizing the Retention and Compensation
                                                           of Certain Professionals Utilized in the Ordinary Course of Business (Filed By
                                                           McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         782               Declaration re: Declaration of Disinterestedness of Pinsent Masons LLP
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         783               Declaration re: Declaration of Disinterestedness of Seed Intellectual Property
                                         (4 pgs)           Law Group LLP, Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   04/03/2020                                              (Entered: 04/03/2020)

                                         784               Declaration re: Declaration of Disinterestedness of Fangda Partners Pursuant to
                                         (4 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/03/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         785               Declaration re: Declaration of Disinterestedness of Blue Williams, LLP Pursuant
                                         (4 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         786               Declaration re: Declaration of Disinterestedness of Tauil E Chequer Advogados
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         787               Declaration re: Declaration of Disinterestedness of Haynsworth Sinkler Boyd,
                                         (4 pgs)           P.A. Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/03/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         788               Declaration re: Declaration of Disinterestedness of Hillier International Ltd.
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         789               Declaration re: Declaration of Disinterestedness of Mark Hackett Associates
                                         (3 pgs)           LLP Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/03/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         790               Declaration re: Declaration of Disinterestedness of Philip Joseph Chapman
                                         (2 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         791               Declaration re: Declaration of Disinterestedness of Prias Cadavid Abogados
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

   04/03/2020                            792               Declaration re: Declaration of Disinterestedness of Robert J. Bridges Pursuant
                                         (2 pgs)           to the Order Authorizing the Retention and Compensation of Certain
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                                103/133
11/18/21, 11:12 Case
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                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
                                                           International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         793               Declaration re: Declaration of Disinterestedness of Terry Anderson Baker
                                         (6 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         794               Declaration re: Declaration of Disinterestedness of VT Servicios Legales S.A.S.
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         795               Declaration re: Declaration of Disinterestedness of Watson Millican & Company
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/03/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         796               Declaration re: Declaration of Disinterestedness of Z-Axis LLC Pursuant to the
                                         (3 pgs)           Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/03/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         797               Declaration re: Declaration of Disinterestedness of Danny Reeves Pursuant to
                                         (2 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/03/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         798               Declaration re: Declaration of Disinterestedness of TLS Associazione
                                         (4 pgs)           Professionale di Avvocati e Commercialisti, (PwC TLS) Pursuant to the Order
                                                           Authorizing the Retention and Compensation of Certain Professionals Utilized in
                                                           the Ordinary Course of Business (Filed By McDermott International, Inc. ).
   04/03/2020                                              (Cavenaugh, Matthew) (Entered: 04/03/2020)

                                         804               Order Authorizing the Debtors to File Under Seal the Names of Certain
                                         (3 pgs)           Confidential Parties in Interest Related to Evercore Group, L.L.C. and Evercore
                                                           Partners International LLP's Retention Application (Related Doc # 769) Signed
   04/03/2020                                              on 4/3/2020. (emiller) (Entered: 04/04/2020)

                                         799               Declaration re: Declaration of Disinterestedness of Wikborg Rein Advokatfirma
                                         (4 pgs)           AS, Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/04/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/04/2020)

                                         800               Declaration re: Declaration of Disinterestedness of Grata Azerbaijan LLC,
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/04/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/04/2020)

                                         801               Declaration re: Declaration of Disinterestedness of Epiq Systems Pursuant to the
                                         (3 pgs)           Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/04/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/04/2020)

   04/04/2020                            802               Declaration re: Declaration of Disinterestedness of Jimeno Acevedo Pursuant to
                                         (3 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals

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                                                           Utilized in the Ordinary Course of Business (Filed By McDermott 001057
                                                                                                                           International,
                                                           Inc. ). (Cavenaugh, Matthew) (Entered: 04/04/2020)

                                         803               Declaration re: Declaration of Disinterestedness of Custom Information LLC
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/04/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/04/2020)

                                         805               Declaration re: Declaration of Disinterestedness of Secretariat International Inc.
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         806               Declaration re: Declaration of Disinterestedness of Michelle L. Tipton Pursuant
                                         (2 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         807               Declaration re: Declaration of Disinterestedness of Clayton Utz Pursuant to the
                                         (4 pgs)           Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         808               Declaration re: Declaration of Disinterestedness of GRATA Law Firm, LLP,
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         809               Declaration re: Declaration of Disinterestedness of SEDLAKOVA LEGAL S.R.O.
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         810               Declaration re: Declaration of Disinterestedness of Wong & Partners Pursuant
                                         (4 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         811               Declaration re: Declaration of Disinterestedness of Jones Walker, LLP Pursuant
                                         (3 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         812               Declaration re: Declaration of Disinterestedness of Tucker Ellis LLP Pursuant to
                                         (3 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         813               Declaration re: Declaration of Disinterestedness of Luz Marina Esponiza
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

   04/06/2020                            814               Declaration re: Declaration of Disinterestedness of BPMAW Pursuant to the
                                         (4 pgs)           Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
                                                           Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                                 105/133
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                                         815               Declaration re: Declaration of Disinterestedness of Locke Lord LLP, Pursuant to
                                         (4 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         816               Declaration re: Declaration of Disinterestedness of Ankura Consulting Group,
                                         (5 pgs)           LLC Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/06/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         817               Declaration re: Declaration of Disinterestedness of Foley Hoag LLP Pursuant to
                                         (3 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         818               Declaration re: Declaration of Disinterestedness of McCarter English, LLP
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         819               Declaration re: Declaration of Disinterestedness of Fish & Richardson P.C.
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         820               Declaration re: Declaration of Disinterestedness of Barry McTiernan & Moore
                                         (4 pgs)           LLC Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/06/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         821               Declaration re: Declaration of Disinterestedness of Basch & Rameh Advogados
                                         (3 pgs)           Associados Pursuant to the Order Authorizing the Retention and Compensation
                                                           of Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/06/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         822               Declaration re: Declaration of Disinterestedness of FTI Consulting Technology
                                         (5 pgs)           LLC Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/06/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         823               Declaration re: Declaration of Disinterestedness of BDO USA LLP Pursuant to
                                         (5 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         824               Declaration re: Declaration of Disinterestedness of Compass Lexecon Pursuant
                                         (4 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/06/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         825               Declaration re: Declaration of Disinterestedness of Arrubla Devis Asociados
                                         (9 pgs)           S.A.S. Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/06/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                              106/133
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   04/06/2020                            826               Declaration re: Declaration of Disinterestedness of Carlos Ernesto001059
                                                                                                                              Molina
                                         (7 pgs)           Monsalve Pursuant to the Order Authorizing the Retention and Compensation of
                                                           Certain Professionals Utilized in the Ordinary Course of Business (Filed By
                                                           McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         827               Declaration re: Declaration of Disinterestedness of Todd E. Minnich Pursuant to
                                         (5 pgs)           the Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/06/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/06/2020)

                                         828               Declaration re: Declaration of Disinterestedness of Alvarado y Asociados
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/07/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/07/2020)

                                         829               Declaration re: Declaration of Disinterestedness of Juge, Napolitano, Guilbeau,
                                         (3 pgs)           Ruli & Frieman Pursant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
   04/07/2020                                              Business (Filed By Denis Paul Juge ). (ltre) (Entered: 04/07/2020)

                                         830               Declaration re: Declaration of Disinterestedness of Gilbert LLP Pursuant to the
                                         (4 pgs)           Order Authorizing the Retention and Compensation of Certain Professionals
                                                           Utilized in the Ordinary Course of Business (Filed By McDermott International,
   04/07/2020                                              Inc. ). (Cavenaugh, Matthew) (Entered: 04/07/2020)

                                         831               Notice of Appearance and Request for Notice Filed by Frederick Zarate Filed by
                                         (2 pgs)           on behalf of Steamfitters & Plumbers Local Union No 464 Pension Fund (gclair)
   04/08/2020                                              (Entered: 04/08/2020)

                                         832               Declaration re: Declaration of Disinterestedness of Brons & Salas Law Firm
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/08/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/08/2020)

                                         833               Declaration re: Amended Declaration of Disinterestedness of ARIAS, FABREGA
                                         (4 pgs)           & FABREGA Pursuant to the Order Authorizing the Retention and
                                                           Compensation of Certain Professionals Utilized in the Ordinary Course of
                                                           Business (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   04/08/2020                                              (Entered: 04/08/2020)

                                         834               Motion to Appear pro hac vice filed by Frederick Zarate. (rcas) (Entered:
   04/08/2020                            (1 pg)            04/08/2020)

                                         835               Statement STATEMENT OF THE ACTING UNITED STATES TRUSTEE
                                         (14 pgs)          REGARDING DEBTORS APPLICATION FOR ENTRY OF AN ORDER
                                                           AUTHORIZING THE EMPLOYMENT AND RETENTION OF ALIXPARTNERS,
                                                           LLP AS FINANCIAL ADVISOR NUNC PRO TUNC TO THE PETITION DATE
                                                           [DOCKET NO. 636] (Filed By US Trustee ).(Related document(s):636
   04/08/2020                                              Application to Employ) (Statham, Stephen) (Entered: 04/08/2020)

   04/08/2020                            836               Affidavit Re: Mailings for the Period from March 28, 2020 through April 3,
                                         (85 pgs)          2020. (related document(s):675 Declaration, 739 Declaration, 740 Declaration,
                                                           741 Declaration, 742 Declaration, 743 Declaration, 744 Declaration, 745 Notice,
                                                           746 Notice, 748 Declaration, 749 Declaration, 750 Declaration, 751 Declaration,
                                                           752 Declaration, 753 Declaration, 754 Declaration, 755 Declaration, 757
                                                           Declaration, 758 Declaration, 759 Declaration, 762 Declaration, 763 Declaration,
                                                           764 Declaration, 765 Declaration, 766 Declaration, 767 Declaration, 768
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                               107/133
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                                                           Declaration, 771 Declaration, 772 Declaration, 773 Declaration, 774 Declaration,
                                                           775 Declaration, 776 Declaration, 777 Declaration, 778 Declaration, 779
                                                           Declaration, 780 Declaration, 781 Declaration, 782 Declaration, 783 Declaration,
                                                           784 Declaration, 785 Declaration, 786 Declaration, 787 Declaration, 788
                                                           Declaration, 789 Declaration, 790 Declaration, 791 Declaration, 792 Declaration,
                                                           793 Declaration, 794 Declaration, 795 Declaration, 796 Declaration, 797
                                                           Declaration, 798 Declaration). Filed by Prime Clerk LLC (Steele, Benjamin)
                                                           (Entered: 04/08/2020)

                                         837               BNC Certificate of Mailing. (Related document(s):804 Order on Emergency
                                         (11 pgs)          Motion) No. of Notices: 304. Notice Date 04/08/2020. (Admin.) (Entered:
   04/08/2020                                              04/09/2020)

                                         838               Order Granting Motion To Appear pro hac vice - Frederick Zarate (Related Doc
   04/10/2020                            (1 pg)            # 834) Signed on 4/10/2020. (emiller) (Entered: 04/10/2020)

                                         839               BNC Certificate of Mailing. (Related document(s):838 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 301. Notice Date 04/12/2020. (Admin.)
   04/12/2020                                              (Entered: 04/12/2020)

                                         840               Notice of Additional Supplemental Agreements. (Related document(s):610 Order
                                         (28 pgs)          on Application to Employ) Filed by McDermott International, Inc. (Cavenaugh,
   04/13/2020                                              Matthew) (Entered: 04/13/2020)

                                                           Certificate of Email Notice. The parties have contacted the Court and indicated
                                                           that an agreement has been met with respect to the retention application filed at
                                                           427. The parties will be uploading a revised proposed order with 14 days and
                                                           will contact the Court once that has been done. The hearing set for 4/14/2020 at
                                                           2:30 is cancelled. (Related document(s):427 Application to Employ) (aalo)
   04/13/2020                                              (Entered: 04/13/2020)

                                         841               Declaration re: Amended Declaration of Disinterestedness of Holman Fenwick
                                         (3 pgs)           Willan LLP Pursuant to the Order Authorizing the Retention and Compensation
                                                           of Certain Professionals Utilized in the Ordinary Course of Business (Filed By
   04/14/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/14/2020)

                                         842               Notice OF WITHDRAWAL OF APPEARANCE BY JAMES T. GROGAN. Filed
   04/14/2020                            (2 pgs)           by Air Products and Chemicals, Inc (Grogan, James) (Entered: 04/14/2020)

                                         843               Declaration re: Declaration of Disinterestedness of Erstad & Riemer, P.A.
                                         (4 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/15/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/15/2020)

                                         844               Affidavit Re: Mailings for the Period from April 4, 2020 through April 10, 2020.
                                         (51 pgs)          (related document(s):799 Declaration, 800 Declaration, 801 Declaration, 802
                                                           Declaration, 803 Declaration, 804 Order on Emergency Motion, 805 Declaration,
                                                           806 Declaration, 807 Declaration, 808 Declaration, 809 Declaration, 810
                                                           Declaration, 811 Declaration, 812 Declaration, 813 Declaration, 814 Declaration,
                                                           815 Declaration, 816 Declaration, 817 Declaration, 818 Declaration, 819
                                                           Declaration, 820 Declaration, 821 Declaration, 822 Declaration, 823 Declaration,
                                                           824 Declaration, 825 Declaration, 826 Declaration, 827 Declaration, 828
                                                           Declaration, 829 Declaration, 830 Declaration, 832 Declaration, 833
                                                           Declaration). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered:
   04/15/2020                                              04/15/2020)

   04/15/2020                            845               Notice to Contract Parties to Potentially Assumed or Assumed and Assigned
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                               108/133
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                                         (146 pgs)         Executory Contracts and Unexpired Leases in Connection with the001061
                                                                                                                           Sale of the
                                                           Debtors' Technology Business. (Related document(s):476 Generic Order, 684
                                                           Generic Order) Filed by McDermott International, Inc. (Cavenaugh, Matthew)
                                                           (Entered: 04/15/2020)

                                         846               Notice to Contract Parties to Potentially Assumed or Assumed and Assigned
                                         (146 pgs)         Executory Contracts and Unexpired Leases in Connection with the Sale of the
                                                           Debtors' Technology Business. (Related document(s):476 Generic Order, 684
                                                           Generic Order) Filed by McDermott International, Inc. (Cavenaugh, Matthew)
   04/16/2020                                              (Entered: 04/16/2020)

                                         847               Notice of Appearance and Request for Notice Filed by Christopher S Murphy
                                         (3 pgs)           Filed by on behalf of Texas Comptroller of Public Accounts (Murphy,
   04/17/2020                                              Christopher) (Entered: 04/17/2020)

                                         848               Statement Statement of AlixPartners, LLP And AP Services, LLC in Support of
                                         (14 pgs)          the Debtors Retention Applications and Request for Hearing (Filed By AP
                                                           Services, LLC, AlixPartners LLP ).(Related document(s):434 Application to
                                                           Employ, 636 Application to Employ, 637 Application to Employ, 835 Statement)
   04/18/2020                                              (Beckham, Charles) (Entered: 04/18/2020)

                                         849               Order Signed on 4/20/2020 (Related document(s):723 Request for Hearing)
   04/20/2020                            (1 pg)            (VrianaPortillo) (Entered: 04/20/2020)

                                         850               Motion to Appear pro hac vice Howard Teplinsky. Filed by Creditor Meridian
   04/20/2020                            (1 pg)            Leasing Corporation (JenniferOlson) (Entered: 04/20/2020)

                                         851               Notice of Appearance and Request for Notice Filed by Howard L. Teplinsky
                                         (2 pgs)           Filed by on behalf of Meridian Leasing Corporation (JenniferOlson) (Entered:
   04/20/2020                                              04/20/2020)

                                         852               Debtor-In-Possession Monthly Operating Report for Filing Period Chapter 11
                                         (18 pgs)          Post-Confirmation Report for the Quarter Ending 3/31/2020 (Filed By
   04/21/2020                                              McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/21/2020)

                                         853               Order Granting Motion To Appear pro hac vice - Howard L. Teplinsky (Related
   04/21/2020                            (1 pg)            Doc # 850) Signed on 4/21/2020. (emiller) (Entered: 04/21/2020)

                                         854               Declaration re: Declaration of Disinterestedness of Special Counsel, Inc.
                                         (7 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/21/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/21/2020)

                                         855               Declaration re: Declaration of Disinterestedness of Sack Rosendin, LLP
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/21/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/21/2020)

                                         856               Notice of Hearing on the Retention Applications for AlixPartners, LLP and AP
                                         (3 pgs)           Services, LLC. (Related document(s):434 Application to Employ, 636
                                                           Application to Employ, 637 Application to Employ, 835 Statement, 848
                                                           Statement) Filed by AP Services, LLC, AlixPartners LLP (Beckham, Charles)
   04/22/2020                                              (Entered: 04/22/2020)

   04/22/2020                            857               Affidavit Re: Mailings for the Period from April 11, 2020 through April 17,
                                         (79 pgs)          2020. (related document(s):840 Notice, 841 Declaration, 843 Declaration, 846

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             109/133
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                                                           Notice). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 04/22/2020)

                                         858               Declaration re: Declaration of Disinterestedness of Konig Rebholz Zechberger
                                         (3 pgs)           Pursuant to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/22/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/22/2020)

                                         859               Response to Maire Tecnimont S.P.A. and MET Gas Processing Technologies
                                         (7 pgs)           S.P.A.'s Motion to Withdraw Proofs of Claim. Filed by McDermott International,
   04/22/2020                                              Inc. (Cavenaugh, Matthew) (Entered: 04/22/2020)

                                         860               Stipulation By McDermott International, Inc. and Argonaut Insurance Company.
                                         (19 pgs)          Does this document include an agreed order or otherwise request that the judge
                                                           sign a document? Yes. (Filed By McDermott International, Inc. ).(Related
                                                           document(s):156 Order on Emergency Motion) (Cavenaugh, Matthew) (Entered:
   04/22/2020                                              04/22/2020)

                                         861               BNC Certificate of Mailing. (Related document(s):849 Generic Order) No. of
   04/22/2020                            (9 pgs)           Notices: 296. Notice Date 04/22/2020. (Admin.) (Entered: 04/22/2020)

                                         862               BNC Certificate of Mailing. (Related document(s):853 Order on Motion to
                                         (9 pgs)           Appear pro hac vice) No. of Notices: 297. Notice Date 04/23/2020. (Admin.)
   04/23/2020                                              (Entered: 04/23/2020)

                                         863               Exhibit List, Witness List (Filed By AP Services, LLC, AlixPartners LLP ).
   04/24/2020                            (3 pgs)           (Beckham, Charles) (Entered: 04/24/2020)

                                         864               Witness List, Exhibit List (Filed By US Trustee ). (Statham, Stephen) (Entered:
   04/24/2020                            (2 pgs)           04/24/2020)

                                                           Certificate of Email Notice. Contacted Martha Wyrick. Movant to notice all
                                                           interested parties and file a certificate of service with the court (Related
                                                           document(s):434 Application to Employ, 636 Application to Employ, 637
                                                           Application to Employ) Hearing scheduled for 4/28/2020 at 02:00 PM at
   04/24/2020                                              Houston, Courtroom 400 (DRJ). (aalo) (Entered: 04/24/2020)

                                                           Certificate of Email Notice. By agreement of the interested parties, the hearing
                                                           on the motion for relief from stay has been continued. Movant to notice all
                                                           interested parties and file a certificate of service with the court (Related
                                                           document(s):747 Motion for Relief From Stay) Hearing rescheduled for
   04/27/2020                                              5/6/2020 at 01:30 PM (aalo) (Entered: 04/27/2020)

                                         865               Notice of Continued Hearing. (Related document(s):747 Motion for Relief From
                                         (2 pgs)           Stay) Filed by Sinclair Wyoming Refining Company (Warner, Michael)
   04/27/2020                                              (Entered: 04/27/2020)

                                         869               Stipulation and Agreed Order Authorizing Performance Pursuant to Surety Bond
                                         (19 pgs)          Terms Argonaut Insurance Company Signed on 4/27/2020 (VrianaPortillo)
   04/27/2020                                              (Entered: 04/28/2020)

                                         866               Motion to Appear pro hac vice of Marc Abrams. Filed by Interested Parties AP
   04/28/2020                            (1 pg)            Services, LLC, AlixPartners LLP (Beckham, Charles) (Entered: 04/28/2020)

   04/28/2020                            867               Notice of Appearance and Request for Notice Filed by Michael D Warner Filed
                                         (3 pgs)           by on behalf of Sinclair Wyoming Refining Company (Warner, Michael)
                                                           (Entered: 04/28/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                                  110/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 111 of 550
                                                                                     Southern
                                                                                                                              001063
                                         868               AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew D.
                                         (1 pg)            Cavenaugh. This is to order a transcript of 04/28/2020 before Judge David R.
                                                           Jones. Court Reporter/Transcriber: Access Transcripts (Filed By McDermott
                                                           International, Inc. ). (Cavenaugh, Matthew) Electronically forwarded to Access
                                                           Transcripts on April 28, 2020. Estimated completion date: April 29, 2020.
   04/28/2020                                              Modified on 4/28/2020 (ClaudiaGutierrez). (Entered: 04/28/2020)

                                                           Courtroom Minutes. Time Hearing Held: 2:00-2:55. Appearances: Charles
                                                           Beckham, Martha Wyrick, Matt Cavenaugh, Veronica Polnick, John Castellano,
                                                           Penelope Jensen, Steve Statham, Esben Christensen. (Related document(s):636
                                                           Application to Employ, 637 Application to Employ) As stated on the record, the
                                                           Court will approve the retention of AP Services 637 and Alix Partners636. The
                                                           Court to issue a written opinion. Note: The application at 434 has been
   04/28/2020                                              withdrawn. (aalo) (Entered: 04/28/2020)

                                         870               Transcript RE: Application to Employ AlixPartners LLP as financial advisor;
                                         (33 pgs)          Application to Employ AP Services and John Castellano as Chief
                                                           Transformation Officer held on 04/28/2020 before Judge David R. Jones.
                                                           Transcript is available for viewing in the Clerk's Office. Filed by Transcript
                                                           access will be restricted through 07/28/2020. (AccessTranscripts) (Entered:
   04/29/2020                                              04/29/2020)

                                         871               AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by William A. (Trey)
                                         (2 pgs)           Wood. This is to order a transcript of April 28, 2020 before Judge David R.
                                                           Jones. Court Reporter/Transcriber: Access Transcripts (Filed By Credit Agricole
                                                           Corporate and Investment Bank ). (Wood, William) Electronically forwarded to
                                                           the original transcriber: Access Transcripts on 4-29-2020. Estimated completion
                                                           date: 4-30-2020. Modified on 4/29/2020 (MelissaMorgan). (Entered:
   04/29/2020                                              04/29/2020)

                                         872               Reply IN SUPPORT OF MOTION TO WITHDRAW PROOFS OF CLAIMS.
                                         (35 pgs)          Filed by Maire Tecnimont SPA and MET Gas Processing Technologies SPA
   04/29/2020                                              (Judd, T.) (Entered: 04/29/2020)

                                         873               Declaration re: Declaration of Disinterestedness of Maples and Calder Pursuant
                                         (4 pgs)           to the Order Authorizing the Retention and Compensation of Certain
                                                           Professionals Utilized in the Ordinary Course of Business (Filed By McDermott
   04/29/2020                                              International, Inc. ). (Cavenaugh, Matthew) (Entered: 04/29/2020)

                                         874               Order Granting Motion To Appear pro hac vice - Marc Abrams (Related Doc #
   04/29/2020                            (1 pg)            866) Signed on 4/29/2020. (emiller) (Entered: 04/29/2020)

                                         875               Affidavit Re: Mailings for the Period from April 18, 2020 through April 24,
                                         (42 pgs)          2020. (related document(s):846 Notice, 854 Declaration, 855 Declaration, 858
                                                           Declaration, 859 Response, 860 Stipulation). Filed by Prime Clerk LLC (Steele,
   04/29/2020                                              Benjamin) (Entered: 04/29/2020)

                                         876                      Notice of Filing of Further Amended Exhibits Attached to the Debtors'
                                         (29 pgs)                 Motion for Entry of an Order Authorizing the Retention and
                                                                  Compensation of Certain Professionals Utilized in the Ordinary Course
                                                                  of Business. (Related document(s):612 Generic Order, 745 Notice) Filed
                                                                  by McDermott International, Inc. (Polnick, Veronica) (Entered:
   04/30/2020                                                     04/30/2020)

   04/30/2020                            877                      Declaration re: Declaration of Disinterestedness of Norman Wohlgemuth
                                         (3 pgs)                  Chandler Jeter Barnett & Ray, PC Pursuant to the Order Authorizing the

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                                    111/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 112 of 550
                                                                                     Southern
                                                                                                                     001064
                                                            Retention and Compensation of Certain Professionals Utilized in the
                                                            Ordinary Course of Business (Filed By McDermott International, Inc. ).
                                                            (Polnick, Veronica) (Entered: 04/30/2020)

                                         878                Notice of Filing of Official Transcript as to 870 Transcript. Parties
                                         (1 pg)             notified (Related document(s):870 Transcript) (gclair) (Entered:
   04/30/2020                                               04/30/2020)

                                         879                Notice of Appearance and Request for Notice Filed by Kelsey Zottnick
                                         (1 pg)             Filed by on behalf of Chevron Lummus Global LLC (Zottnick, Kelsey)
   04/30/2020                                               (Entered: 04/30/2020)

                                         880                Objection . Filed by Chevron Lummus Global LLC (Zottnick, Kelsey)
   04/30/2020                            (5 pgs)            (Entered: 04/30/2020)

                                         881                Motion to Appear pro hac vice - Motion and Order for Admission Pro
                                         (1 pg)             Hac Vice of Michael L. Armstrong. Filed by Creditor Chevron Lummus
   04/30/2020                                               Global LLC (Zottnick, Kelsey) (Entered: 04/30/2020)

                                         882                BNC Certificate of Mailing. (Related document(s):869 Generic Order)
                                         (27 pgs)           No. of Notices: 296. Notice Date 04/30/2020. (Admin.) (Entered:
   04/30/2020                                               04/30/2020)

                                         883                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Charles
                                         (1 pg)             A. Beckham, Jr.. This is to order a transcript of Hearing Held on 4-28-20
                                                            before Judge David R. Jones. Court Reporter/Transcriber: Access
                                                            Transcripts (Filed By AP Services, LLC, AlixPartners LLP ). (Beckham,
                                                            Charles) Copy request forwarded to Access Transcripts on May 1, 2020.
                                                            Estimated completion date: May 2, 2020. Modified on 5/1/2020
   05/01/2020                                               (ClaudiaGutierrez). (Entered: 05/01/2020)

                                         884                BNC Certificate of Mailing. (Related document(s):874 Order on Motion
                                         (9 pgs)            to Appear pro hac vice) No. of Notices: 295. Notice Date 05/01/2020.
   05/01/2020                                               (Admin.) (Entered: 05/01/2020)

                                         885                BNC Certificate of Mailing. (Related document(s):878 Notice of Filing
                                         (9 pgs)            of Official Transcript (Form)) No. of Notices: 295. Notice Date
   05/02/2020                                               05/02/2020. (Admin.) (Entered: 05/02/2020)

                                         886                Declaration re: Supplemental Declaration of Thomas F. Holt, Jr. in
                                         (12 pgs)           Support of Debtors' Application for Entry of an Order Authorizing the
                                                            Employment and Retention of K&L Gates LLP as Special Counsel to the
                                                            Debtors (Filed By McDermott International, Inc. ). (Cavenaugh,
   05/04/2020                                               Matthew) (Entered: 05/04/2020)

                                         887                Emergency Motion for Entry of an Order Authorizing the Debtors to File
                                         (14 pgs; 2 docs)   Under Seal the Names of Certain Confidential Parties In Interest Related
                                                            to K&L Gates LLP's Retention Application Filed by Debtor McDermott
                                                            International, Inc. (Attachments: # 1 Proposed Order) (Cavenaugh,
   05/04/2020                                               Matthew) (Entered: 05/04/2020)

                                         888                Sealed Document Related to ECF No. 886 (Filed By McDermott
   05/04/2020                                               International, Inc. ). (Cavenaugh, Matthew) (Entered: 05/04/2020)

   05/04/2020                            889                Declaration re: Declaration of Disinterestedness of ENSafrica Pursuant
                                         (4 pgs)            to the Order Authorizing the Retention and Compensation of Certain

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            112/133
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                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 113 of 550
                                                                                     Southern
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                                                            Professionals Utilized in the Ordinary Course of Business (Filed
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
                                                            05/04/2020)

                                                            Certificate of Email Notice. Contacted Mike Warner. Movant to notice all
                                                            interested parties and file a certificate of service with the court (Related
                                                            document(s):747 Motion for Relief From Stay) Hearing rescheduled for
                                                            5/19/2020 at 10:30 AM at Houston, Courtroom 400 (DRJ). (aalo)
   05/04/2020                                               (Entered: 05/04/2020)

                                         890                Notice of Continued Hearing. (Related document(s):747 Motion for
                                         (2 pgs)            Relief From Stay, 865 Notice) Filed by Sinclair Wyoming Refining
   05/04/2020                                               Company (Warner, Michael) (Entered: 05/04/2020)

                                         891                Order Granting Motion To Appear pro hac vice - Michael L. Armstrong
   05/05/2020                            (1 pg)             (Related Doc # 881) Signed on 5/5/2020. (emiller) (Entered: 05/05/2020)

                                         892
                                         (1 pg)                 PDF with attached Audio File. Court Date & Time [ 4/28/2020
                                                            2:00:07 PM ]. File Size [ 23426 KB ]. Run Time [ 00:48:48 ]. (Hearing
                                                            held April 28, 2020. In ref to doc nos. 636 and 637.). (admin). (Entered:
   05/05/2020                                               05/05/2020)

                                         893                Objection Limited Objection to Motion to Seal (related document(s):887
                                         (8 pgs; 2 docs)    Emergency Motion). Filed by US Trustee (Attachments: # 1 Proposed
   05/05/2020                                               Order) (Statham, Stephen) (Entered: 05/05/2020)

                                         894                Affidavit Re: Mailings for the Period from April 25, 2020 through May
                                         (178 pgs)          1, 2020. (related document(s):520 Notice, 869 Generic Order, 873
                                                            Declaration, 876 Notice, 877 Declaration). Filed by Prime Clerk LLC
   05/06/2020                                               (Steele, Benjamin) (Entered: 05/06/2020)

                                         895                Creditor Request for Notices (Filed By Colorado Department of Revenue
   05/07/2020                            (2 pgs)            ). (dnor) (Entered: 05/07/2020)

                                         896                Witness List, Exhibit List (Filed By US Trustee ).(Related
                                         (2 pgs)            document(s):887 Emergency Motion) (Statham, Stephen) (Entered:
   05/07/2020                                               05/07/2020)

                                         897                BNC Certificate of Mailing. (Related document(s):891 Order on Motion
                                         (9 pgs)            to Appear pro hac vice) No. of Notices: 295. Notice Date 05/07/2020.
   05/07/2020                                               (Admin.) (Entered: 05/07/2020)

                                         898                Witness List, Exhibit List (Filed By McDermott International, Inc. ).
                                         (4 pgs)            (Related document(s):886 Declaration, 887 Emergency Motion, 888
   05/08/2020                                               Sealed Document) (Cavenaugh, Matthew) (Entered: 05/08/2020)

                                         899                Adversary case 20-03123. Nature of Suit: (21 (Validity, priority or extent
                                         (15 pgs; 2 docs)   of lien or other interest in property)) Complaint Seeking Relief Under 11
                                                            U.S.C. §§ 505 and 506 by McDermott International, Inc. against Harris
                                                            County Appraisal District, Calcasieu Parish Assessor, Cameron Parish
                                                            Assessor, Harrison County Assessor. Fee Amount $350 (Attachments: #
   05/08/2020                                               1 Adversary Cover Sheet) (Cavenaugh, Matthew) (Entered: 05/08/2020)

   05/08/2020                            900                Order Authorizing the Debtors to File Under Seal the Names of Certain
                                         (3 pgs)            Confidential Parties in Interest Related to K&L Gates LLP's Retention

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                            113/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 114 of 550
                                                                                     Southern
                                                                                                                    001066
                                                            Application (Related Doc # 887) Signed on 5/8/2020. (emiller) (Entered:
                                                            05/08/2020)

                                         901                Courtroom Minutes. Time Hearing Held: 9:00 AM- 9:05 AM.
                                                            Appearances: To be attached. For the reasons stated on the record, the
                                                            Court approved the Motion for Entry of an Order Authorizing the
                                                            Debtors to File Under Seal 884. Order to be entered. (VrianaPortillo)
   05/08/2020                                               (Entered: 05/08/2020)

                                         902                BNC Certificate of Mailing. (Related document(s):900 Order on
                                         (11 pgs)           Emergency Motion) No. of Notices: 296. Notice Date 05/10/2020.
   05/10/2020                                               (Admin.) (Entered: 05/10/2020)

                                         903                Motion for Relief from Stay Case No. 3:19-cv-1305 pending in the
                                         (22 pgs; 3 docs)   Middle District of Pennsylvania. Receipt Number o, Fee Amount $181.
                                                            Filed by Creditor Hesham Ismail (Attachments: # 1 Exhibit # 2 Proposed
   05/12/2020                                               Order) (than) (Entered: 05/12/2020)

                                         904                Declaration re: Declaration of Disinterestedness of ENSafrica Pursuant
                                         (4 pgs)            to the Order Authorizing the Retention and Compensation of Certain
                                                            Professionals Utilized in the Ordinary Course of Business (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   05/12/2020                                               05/12/2020)

                                                            Receipt Number 190077, Fee Amount $181.00. (Related
                                                            document(s):903 Motion for Relief From Stay) (than) (Entered:
   05/12/2020                                               05/12/2020)

                                         905                Affidavit Re: Mailings for the Period from May 2, 2020 through May 8,
                                         (54 pgs)           2020. (related document(s):846 Notice, 886 Declaration, 889
                                                            Declaration, 900 Order on Emergency Motion). Filed by Prime Clerk
   05/13/2020                                               LLC (Steele, Benjamin) (Entered: 05/13/2020)

                                         906                Notice of Hearing. (Related document(s):760 Withdrawal of Claim, 859
                                         (29 pgs)           Response, 872 Reply) Filed by Maire Tecnimont SPA and MET Gas
   05/15/2020                                               Processing Technologies SPA (Judd, T.) (Entered: 05/15/2020)

                                         907
                                         (1 pg)                 PDF with attached Audio File. Court Date & Time [ 5/8/2020
                                                            9:00:00 AM ]. File Size [ 2863 KB ]. Run Time [ 00:05:58 ]. (In ref to
   05/15/2020                                               doc no. 884. Hearing held May 8, 2020). (admin). (Entered: 05/15/2020)

                                                            Certificate of Email Notice. Contacted Josh Judd. Movant to notice all
                                                            interested parties and file a certificate of service with the court (Related
                                                            document(s):760 Withdrawal of Claim) Hearing scheduled for
   05/15/2020                                               5/21/2020 at 10:00 AM (DRJ). (aalo) (Entered: 05/15/2020)

                                                            Certificate of Email Notice. Contacted Mike Warner. Movant to notice all
                                                            interested parties and file a certificate of service with the court (Related
                                                            document(s):747 Motion for Relief From Stay) Hearing scheduled for
   05/18/2020                                               5/27/2020 at 10:00 AM (DRJ). (aalo) (Entered: 05/18/2020)

                                         908                Notice of Continued Hearing (May 27, 2020 at 10:00 a.m.). (Related
                                         (2 pgs)            document(s):747 Motion for Relief From Stay, 865 Notice, 890 Notice)
                                                            Filed by Sinclair Wyoming Refining Company (Warner, Michael)
   05/18/2020                                               (Entered: 05/18/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             114/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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   05/18/2020                            909                 Declaration re: Declaration of Disinterestedness of Ganado001067
                                                                                                                        Advocates
                                         (11 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                             Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                             By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
                                                             05/18/2020)

                                         910                 Exhibit List, Witness List (Filed By Maire Tecnimont SPA and MET Gas
                                         (243 pgs; 5 docs)   Processing Technologies SPA ).(Related document(s):906 Notice)
                                                             (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4)
   05/19/2020                                                (Judd, T.) (Entered: 05/19/2020)

                                         911                 Witness List, Exhibit List (Filed By McDermott International, Inc. ).
                                         (4 pgs)             (Related document(s): Certificate of Notice) (Cavenaugh, Matthew)
   05/19/2020                                                (Entered: 05/19/2020)

                                         912                 AO 435 TRANSCRIPT ORDER FORM (Hourly) by Matthew Whitaker.
                                         (2 pgs)             This is to order a transcript of Order Authorizing 5/8/2020 before Judge
                                                             David R. Jones. Court Reporter/Transcriber: Exceptional Reporting
                                                             Services. (MelissaMorgan) Modified on 5/19/2020 (MelissaMorgan).
                                                             Electronically forwarded to Exceptional Reporting Services on 5-19-
                                                             2020. Estimated completion date: 5-20-2020. Modified on 5/19/2020
   05/19/2020                                                (MelissaMorgan). (Entered: 05/19/2020)

                                         913                 Transcript RE: HEARING held on 5/8/20 before Judge DAVID R.
                                         (7 pgs)             JONES. Transcript is available for viewing in the Clerk's Office. Filed by
                                                             Transcript access will be restricted through 08/17/2020. (thud) (Entered:
   05/19/2020                                                05/19/2020)

                                         914                 Affidavit Re: of Kelsey L. Gordon Regarding Declaration of
                                         (4 pgs)             Disinterestedness of ENSafrica Pursuant to the Order Authorizing the
                                                             Retention and Compensation of Certain Professionals Utilized in the
                                                             Ordinary Course of Business. (related document(s):904 Declaration).
   05/20/2020                                                Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 05/20/2020)

                                         915                 Notice of Filing of Official Transcript as to 913 Transcript. Parties
                                         (1 pg)              notified (Related document(s):913 Transcript) (gclair) (Entered:
   05/20/2020                                                05/20/2020)

                                         916                 Memorandum Opinion Signed on 5/20/2020 (Related document(s):434
                                         (10 pgs)            Application to Employ, 636 Application to Employ, 637 Application to
   05/20/2020                                                Employ) (aalo) (Entered: 05/20/2020)

                                         917                 Order Signed on 5/20/2020 (Related document(s):434 Application to
                                         (1 pg)              Employ, 636 Application to Employ, 637 Application to Employ) (aalo)
   05/20/2020                                                (Entered: 05/20/2020)

                                         918                 AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              D. Cavenaugh. This is to order a transcript of 05/21/2020 before Judge
                                                             David R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed
                                                             By McDermott International, Inc. ). (Cavenaugh, Matthew)
                                                             Electronically forwarded to Access Transcripts on 5-21-2020. Estimated
                                                             completion date: 5-22-2020. Modified on 5/21/2020 (MelissaMorgan).
   05/21/2020                                                (Entered: 05/21/2020)

   05/21/2020                                                Per the Courts instruction at the hearing on 5/21/2020, the Motion to
                                                             Withdraw Proofs of Claims filed at 760 has been transferred to Adv 20-
                                                             3056. (aalo) (Entered: 05/21/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             115/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 116 of 550
                                                                                     Southern
                                                                                                                          001068
                                                             Courtroom Minutes. Time Hearing Held: 10:00 AM. Appearances: Josh
                                                             Judd, Carollyn Callari, Howard Alperin, Matthew Cavenaugh, Jaime
                                                             Aycock. (Related document(s):6 Motion to Dismiss Adversary
                                                             Proceeding, 16 Document). The motion to withdraw filed at 760 has been
                                                             transferred to Adversary 20-3056. The Court will Status Conference in
                                                             the Adversary case on 6/15/2020 at 01:30 PM at Houston, Courtroom
   05/21/2020                                                400 (DRJ). (aalo) (aalo) (Entered: 05/21/2020)

                                         919                 Statement Quarterly Statement of Amounts Paid by the Debtors to
                                         (5 pgs)             Ordinary Course Professionals from January 22, 2020 to April 21, 2020
                                                             (Filed By McDermott International, Inc. ).(Related document(s):612
   05/21/2020                                                Generic Order) (Cavenaugh, Matthew) (Entered: 05/21/2020)

                                         920                 Declaration re: Declaration of Disinterestedness of Baker Donelson
                                         (3 pgs)             Bearman Caldwell & Berkowitz, P.C. Pursuant to the Order Authorizing
                                                             the Retention and Compensation of Certain Professionals Utilized in the
                                                             Ordinary Course of Business (Filed By McDermott International, Inc. ).
   05/22/2020                                                (Cavenaugh, Matthew) (Entered: 05/22/2020)

                                         921                 Transcript RE: Telephonic Motions Hearing held on 05/21/20 before
                                         (48 pgs)            Judge David R. Jones. Transcript is available for viewing in the Clerk's
                                                             Office. Filed by Transcript access will be restricted through 08/20/2020.
   05/22/2020                                                (AccessTranscripts) (Entered: 05/22/2020)

                                         922                 BNC Certificate of Mailing. (Related document(s):915 Notice of Filing
                                         (9 pgs)             of Official Transcript (Form)) No. of Notices: 297. Notice Date
   05/22/2020                                                05/22/2020. (Admin.) (Entered: 05/22/2020)

                                         923                 BNC Certificate of Mailing. (Related document(s):916 Opinion) No. of
   05/23/2020                            (18 pgs)            Notices: 297. Notice Date 05/23/2020. (Admin.) (Entered: 05/23/2020)

                                         924                 BNC Certificate of Mailing. (Related document(s):917 Generic Order)
                                         (9 pgs)             No. of Notices: 297. Notice Date 05/23/2020. (Admin.) (Entered:
   05/23/2020                                                05/23/2020)

                                         925                 Notice of Filing of Official Transcript as to 921 Transcript. Parties
                                         (1 pg)              notified (Related document(s):921 Transcript) (jdav) (Entered:
   05/26/2020                                                05/26/2020)

                                         926                 Final Application to Employ Baker Botts, L.L.P. as Special Counsel to
                                         (227 pgs; 7 docs)   the Debtors. Objections/Request for Hearing Due in 21 days. Filed by
                                                             Debtor McDermott International, Inc. (Attachments: # 1 Exhibit 1 # 2
                                                             Exhibit 2 # 3 Exhibit 3 # 4 Exhibit 4 # 5 Exhibit 5 # 6 Proposed Order)
   05/26/2020                                                (Cavenaugh, Matthew) (Entered: 05/26/2020)

                                         927                 Declaration re: Declaration of Disinterestedness of Ernst & Young
                                         (5 pgs)             Middle East (Dubai Branch) Pursuant to the Order Authorizing the
                                                             Retention and Compensation of Certain Professionals Utilized in the
                                                             Ordinary Course of Business (Filed By McDermott International, Inc. ).
   05/26/2020                                                (Cavenaugh, Matthew) (Entered: 05/26/2020)

   05/26/2020                            928                 Declaration re: Declaration of Disinterestedness of Ernst & Young & Co.
                                         (6 pgs)             (Certified Public Accountants) Pursuant to the Order Authorizing the
                                                             Retention and Compensation of Certain Professionals Utilized in the
                                                             Ordinary Course of Business (Filed By McDermott International, Inc. ).
                                                             (Cavenaugh, Matthew) (Entered: 05/26/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             116/133
11/18/21, 11:12 Case
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                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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                                         929                Motion to Extend Time . Filed by PJSC Nizhnekamskneftekhim.
   05/26/2020                            (3 pgs)            (ShoshanaArnow) (Entered: 05/26/2020)

                                         930                Notice of Continued Hearing (June 3, 2020 at 11:45 a.m.). (Related
                                         (2 pgs)            document(s):747 Motion for Relief From Stay, 865 Notice, 890 Notice,
                                                            908 Notice) Filed by Sinclair Wyoming Refining Company (Warner,
   05/26/2020                                               Michael) (Entered: 05/26/2020)

                                                            Certificate of Email Notice. Contacted Michael Warner. Movant to notice
                                                            all interested parties and file a certificate of service with the court
                                                            (Related document(s):747 Motion for Relief From Stay) Hearing
                                                            rescheduled for 6/3/2020 at 11:45 AM DRJ). (aalo) (Entered:
   05/27/2020                                               05/27/2020)

                                         931
   05/27/2020                            (2 pgs)            Motion to Extend Time (scas) (Entered: 05/28/2020)

                                         932                Declaration re: Declaration of Disinterestedness of Ernst & Young
                                         (6 pgs)            (Australia) Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course
                                                            of Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   05/28/2020                                               Matthew) (Entered: 05/28/2020)

                                         933                Affidavit Re: Mailings for the Period from May 16, 2020 through May
                                         (10 pgs)           22, 2020. (related document(s):846 Notice, 909 Declaration, 920
                                                            Declaration). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered:
   05/28/2020                                               05/28/2020)

                                         934                BNC Certificate of Mailing. (Related document(s):925 Notice of Filing
                                         (9 pgs)            of Official Transcript (Form)) No. of Notices: 297. Notice Date
   05/28/2020                                               05/28/2020. (Admin.) (Entered: 05/28/2020)

                                         935                Declaration re: Declaration of Disinterestedness of Burr Forman, L.L.P.
                                         (3 pgs)            Pursuant to the Order Authorizing the Retention and Compensation of
                                                            Certain Professionals Utilized in the Ordinary Course of Business (Filed
                                                            By McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   06/01/2020                                               06/01/2020)

                                         936                Stipulation By Sinclair Wyoming Refining Company and Stipulation and
                                         (10 pgs; 2 docs)   Order Granting Relief From the Automatic Stay. Does this document
                                                            include an agreed order or otherwise request that the judge sign a
                                                            document? Yes. (Filed By Sinclair Wyoming Refining Company ).
                                                            (Related document(s):747 Motion for Relief From Stay) (Attachments: #
   06/02/2020                                               1 Proposed Order) (Warner, Michael) (Entered: 06/02/2020)

                                         937                Stipulation and Agreed Order Granting Relief From the Automatic Stay
   06/03/2020                            (5 pgs)            (Related Doc # 747) Signed on 6/3/2020. (emiller) (Entered: 06/03/2020)

                                         938                Affidavit Re: Mailings for the Period from May 23, 2020 through May
                                         (30 pgs)           29, 2020. (related document(s):926 Application to Employ, 927
                                                            Declaration, 928 Declaration, 932 Declaration). Filed by Prime Clerk
   06/03/2020                                               LLC (Steele, Benjamin) (Entered: 06/03/2020)

                                         939                Notice of Filing. Filed by Michael Van Deelen (jtab) (Entered:
   06/03/2020                            (87 pgs)           06/04/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                        117/133
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                                               10-2   Filed
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   06/04/2020                            940                                                                           001070
                                                            Declaration re: Declaration of Disinterestedness of Alrud Law  Firm
                                         (2 pgs)            ("Alrud" JSC) Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course
                                                            of Business (Filed By McDermott International, Inc. ). (Cavenaugh,
                                                            Matthew) (Entered: 06/04/2020)

                                         941                Motion to Seal Certain Confidential Commercial Information Related to
                                         (14 pgs; 2 docs)   Evercore Group, L.L.C. and Evercore Partners International LLP's
                                                            Retention Application Filed by Debtor McDermott International, Inc.
                                                            (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   06/05/2020                                               06/05/2020)

                                         942                Proposed Order RE: Order Authorizing the Retention and Employment of
                                         (8 pgs)            Evercore Group L.L.P. and Evercore Partners International LLP as
                                                            Investment Bankers to the Debtors and Debtors in Possession (Filed By
                                                            McDermott International, Inc. ).(Related document(s):427 Application to
   06/05/2020                                               Employ) (Cavenaugh, Matthew) (Entered: 06/05/2020)

                                         943                Sealed Document Order Authorizing the Retention and Employment of
                                                            Evercore Group L.L.P. and Evercore Partners International LLP as
                                                            Investment Bankers to the Debtors and Debtors in Possession (Filed By
                                                            McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   06/05/2020                                               06/05/2020)

                                         944                BNC Certificate of Mailing. (Related document(s):937 Order on Motion
                                         (13 pgs)           For Relief From Stay) No. of Notices: 297. Notice Date 06/05/2020.
   06/05/2020                                               (Admin.) (Entered: 06/05/2020)

                                         945                Notice of Excess Fees of Arnold & Porter Kaye Scholer LLP for the
                                         (18 pgs)           Period from March 1, 2020 - March 31, 2020. Filed by McDermott
   06/08/2020                                               International, Inc. (Cavenaugh, Matthew) (Entered: 06/08/2020)

                                         946                Order Authorizing the Debtors to File Under Seal Certain Confidential
                                         (3 pgs)            Commercial Information Related to Evercore Group, L.L.C. and
                                                            Evercore Partners International LLP's Retention Application (Related
   06/10/2020                                               Doc # 941) Signed on 6/10/2020. (emiller) (Entered: 06/10/2020)

                                         947                Declaration re: Declaration of Disinterestedness of Law Office of Alan R.
                                         (4 pgs)            Hinaman, PLLC Pursuant to the Order Authorizing the Retention and
                                                            Compensation of Certain Professionals Utilized in the Ordinary Course
                                                            of Business (Filed By McDermott International, Inc. ). (Cavenaugh,
   06/10/2020                                               Matthew) (Entered: 06/10/2020)

                                         948                Order (Related Doc # 903) Signed on 6/11/2020. (VrianaPortillo)
   06/11/2020                            (1 pg)             (Entered: 06/11/2020)

                                         949                Affidavit Re: Mailings for the Period from May 30, 2020 through June 5,
                                         (69 pgs)           2020. (related document(s):935 Declaration, 940 Declaration, 942
                                                            Proposed Order). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered:
   06/11/2020                                               06/11/2020)

                                         950                Certificate of Counsel (Filed By McDermott International, Inc. ).(Related
                                         (12 pgs; 2 docs)   document(s):942 Proposed Order) (Attachments: # 1 Proposed Order)
   06/12/2020                                               (Cavenaugh, Matthew) (Entered: 06/12/2020)

   06/12/2020                            951                BNC Certificate of Mailing. (Related document(s):946 Order on Motion
                                         (8 pgs)            to Seal) No. of Notices: 217. Notice Date 06/12/2020. (Admin.) (Entered:
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         118/133
11/18/21, 11:12 Case
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                                                           06/12/2020)                                               001071



                                         952               AO 435 TRANSCRIPT ORDER FORM (Expedited (7 days)) by T. Josh
                                         (1 pg)            Judd. This is to order a transcript of May 21, 2020 Hearing before Judge
                                                           David R. Jones. Court Reporter/Transcriber: Access Transcripts (Filed
                                                           By Maire Tecnimont SPA and MET Gas Processing Technologies SPA ).
                                                           (Judd, T.) Copy request forwarded to Access Transcripts, LLC on June
                                                           15, 2020. Estimated completion date: June 22, 2020. Modified on
   06/15/2020                                              6/15/2020 (ClaudiaGutierrez). (Entered: 06/15/2020)

                                         953               Notice of Withdrawal of Objection and Reservation of Rights of Chevron
                                         (1 pg)            Lummus Global LLC to Debtors Notice to Contract Parties to Potentially
                                                           Assumed or Assumed and Assigned Executory Contracts and Unexpired
                                                           Leases in Connection With the Sale of the Debtors Technology Business.
                                                           (Related document(s):880 Objection) Filed by Chevron Lummus Global
   06/15/2020                                              LLC (Zottnick, Kelsey) (Entered: 06/15/2020)

                                         954               Withdrawal of Claim: 65 (State of Minnesota) (sgue) (Entered:
   06/15/2020                            (1 pg)            06/15/2020)

                                         955               Order Granting Application to Employ the Retention and Employment of
                                         (8 pgs)           Evercore Group LLC (Related Doc # 427) Signed on 6/16/2020. (aalo)
   06/16/2020                                              (Entered: 06/16/2020)

                                         956               Response Debtors' Response to PJSC Nizhnekamskneftekhim's Motion to
                                         (6 pgs)           Extend Time (related document(s):929 Motion to Extend Time). Filed by
                                                           McDermott International, Inc. (Cavenaugh, Matthew) (Entered:
   06/16/2020                                              06/16/2020)

                                         957               Affidavit Re: Mailings for the Period from June 6, 2020 through June 12,
                                         (52 pgs)          2020. (related document(s):945 Notice, 946 Order on Motion to Seal,
                                                           947 Declaration, 950 Certificate). Filed by Prime Clerk LLC (Steele,
   06/17/2020                                              Benjamin) (Entered: 06/17/2020)

                                         958               Certificate of No Objection to the Final Application to Employ Baker
                                         (5 pgs; 2 docs)   Botts, L.L.P. as Special Counsel to the Debtors (Filed By McDermott
                                                           International, Inc. ).(Related document(s):926 Application to Employ)
                                                           (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   06/17/2020                                              06/17/2020)

                                         959               BNC Certificate of Mailing. (Related document(s):948 Order on Motion
                                         (20 pgs)          For Relief From Stay) No. of Notices: 297. Notice Date 06/17/2020.
   06/17/2020                                              (Admin.) (Entered: 06/17/2020)

                                         960               BNC Certificate of Mailing. (Related document(s):955 Order on
                                         (16 pgs)          Application to Employ) No. of Notices: 297. Notice Date 06/18/2020.
   06/18/2020                                              (Admin.) (Entered: 06/19/2020)

                                         961               Order Signed on 6/23/2020 (Related document(s):929 Motion to Extend
   06/23/2020                            (1 pg)            Time, 931 Motion to Extend Time) (emiller) (Entered: 06/23/2020)

                                         962               Notice of Modified Schedules of Potentially Assumed or Assumed and
                                         (17 pgs)          Assigned Executory Contracts and Unexpired Leases in Connection with
                                                           the Sale of the Debtors Technology Business. (Related document(s):476
                                                           Generic Order, 684 Generic Order, 846 Notice) Filed by McDermott
   06/23/2020                                              International, Inc. (Cavenaugh, Matthew) (Entered: 06/23/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       119/133
11/18/21, 11:12 Case
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                                                                                                                       001072
   06/24/2020                            963                 Application for Compensation First and Final Fee Application of Ernst
                                         (691 pgs; 2 docs)   & Young LLP for Compensation and Reimbursement of Expenses for the
                                                             Period From January 21, 2020 Through March 12, 2020.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                                             Matthew D Cavenaugh (Attachments: # 1 Proposed Order) (Cavenaugh,
                                                             Matthew) (Entered: 06/24/2020)

                                         964                 Notice of Anticipated Effective Date. (Related document(s):684 Generic
                                         (2 pgs)             Order) Filed by McDermott International, Inc. (Cavenaugh, Matthew)
   06/25/2020                                                (Entered: 06/25/2020)

                                         965                 Stipulation By McDermott International, Inc. and Entergy Louisiana,
                                         (7 pgs)             LLC and Entergy Texas, Inc.. Does this document include an agreed
                                                             order or otherwise request that the judge sign a document? Yes. (Filed By
                                                             McDermott International, Inc. ). (Cavenaugh, Matthew) (Entered:
   06/25/2020                                                06/25/2020)

                                         966                 BNC Certificate of Mailing. (Related document(s):961 Generic Order)
                                         (9 pgs)             No. of Notices: 297. Notice Date 06/25/2020. (Admin.) (Entered:
   06/25/2020                                                06/25/2020)

                                         967                 Stipulation and Agreed Order Authorizing Immediate Assumption of
                                         (7 pgs)             Certain Contracts with Entergy Signed on 6/29/2020 (Related
   06/29/2020                                                document(s):965 Stipulation) (emiller) (Entered: 06/29/2020)

                                         968                 Affidavit Re: Mailings for the Period from June 13, 2020 through June
                                         (49 pgs)            19, 2020. (related document(s):955 Order on Application to Employ, 956
                                                             Response, 958 Certificate of No Objection). Filed by Prime Clerk LLC
   06/29/2020                                                (Steele, Benjamin) (Entered: 06/29/2020)

                                         969                 Notice of Fourth Amended Plan Supplement. (Related document(s):622
                                         (853 pgs)           Notice, 647 Notice, 696 Notice) Filed by McDermott International, Inc.
   06/30/2020                                                (Cavenaugh, Matthew) (Entered: 06/30/2020)

                                         970                 Notice of (I) Entry of an Order Approving the Debtors' Disclosure
                                         (2 pgs)             Statement and Confirming the Second Amended Joint Prepackaged
                                                             Chapter 11 Plan of Reorganization (Technical Modifications) of
                                                             McDermott International, Inc. and its Debtor Affiliates and (II)
                                                             Anticipated Occurrence of Effective Date. Filed by McDermott
   06/30/2020                                                International, Inc. (Cavenaugh, Matthew) (Entered: 06/30/2020)

                                         971                 Order Granting Final Application to Employ Baker Botts, L.L.P. as
                                         (2 pgs)             Special Counsel to the Debtors Signed on 7/1/2020 (Related
                                                             document(s):958 Certificate of No Objection) (aalo) (Entered:
   07/01/2020                                                07/01/2020)

                                         972                 Notice of Revised Exhibit D to Fourth Amended Plan Supplement.
                                         (2 pgs)             (Related document(s):969 Notice) Filed by McDermott International,
   07/01/2020                                                Inc. (Cavenaugh, Matthew) (Entered: 07/01/2020)

                                         973                 Stipulation By McDermott International, Inc. and Columbia Texas
                                         (6 pgs)             Westchase II Office Properties, LLC. Does this document include an
                                                             agreed order or otherwise request that the judge sign a document? Yes.
                                                             (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   07/02/2020                                                (Entered: 07/02/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          120/133
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   07/02/2020                            974                                                                           001073 June
                                                             Affidavit Re: Mailings for the Period from June 21, 2020 through
                                         (335 pgs)           27, 2020. (related document(s):846 Notice, 961 Generic Order, 962
                                                             Notice, 963 Application for Compensation, 964 Notice). Filed by Prime
                                                             Clerk LLC (Steele, Benjamin) (Entered: 07/02/2020)

                                         975                 BNC Certificate of Mailing. (Related document(s):967 Generic Order)
                                         (15 pgs)            No. of Notices: 297. Notice Date 07/02/2020. (Admin.) (Entered:
   07/02/2020                                                07/02/2020)

                                         976                 BNC Certificate of Mailing. (Related document(s):971 Generic Order)
                                         (10 pgs)            No. of Notices: 297. Notice Date 07/03/2020. (Admin.) (Entered:
   07/03/2020                                                07/03/2020)

                                         977                 Notice of Withdrawal of Attorney. Filed by W-Industries of Texas LLC
   07/06/2020                            (2 pgs)             (Mitchell, John) (Entered: 07/06/2020)

                                         978                 Stipulation and Agreed Order Authorizing Immediate Assumption of
                                         (6 pgs)             Certain Lease Agreement with Columbia Texas Westchase Signed on
                                                             7/7/2020 (Related document(s):973 Stipulation) (VrianaPortillo)
   07/07/2020                                                (Entered: 07/07/2020)

                                         979                 BNC Certificate of Mailing. (Related document(s):978 Generic Order)
                                         (14 pgs)            No. of Notices: 299. Notice Date 07/09/2020. (Admin.) (Entered:
   07/09/2020                                                07/09/2020)

                                         980                 Affidavit Re: Mailings for the Period from June 27, 2020 through July 3,
                                         (4205 pgs)          2020. (related document(s):969 Notice, 970 Notice, 971 Generic Order,
                                                             972 Notice, 973 Stipulation). Filed by Prime Clerk LLC (Steele,
   07/13/2020                                                Benjamin) (Entered: 07/13/2020)

                                         981                 Notice of Change of Address Filed by Maricopa County Attorney's
   07/14/2020                            (2 pgs)             Office (gkel) (Entered: 07/14/2020)

                                         982                 Notice of Video Platform Upgrade. Effective August 1, 2020, the Court
                                         (1 pg)              will utilize GoToMeeting for all video hearings. See attached. (emiller)
   07/15/2020                                                (Entered: 07/15/2020)

                                         983                 Adversary case 20-03309. Nature of Suit: (01 (Determination of removed
                                         (55 pgs; 2 docs)    claim or cause)),(02 (Other (e.g. other actions that would have been
                                                             brought in state court if unrelated to bankruptcy))) Notice of Removal
                                                             Michael Van Deelen. Fee Amount $350 (Attachments: # 1 Adversary
   07/17/2020                                                Cover Sheet) (Cavenaugh, Matthew) (Entered: 07/17/2020)

                                         984                 Chapter 11 Post-Confirmation Report for Quarter Ended 6/30/2020
                                         (17 pgs)            (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   07/24/2020                                                (Entered: 07/24/2020)

                                         985                 Notice of Withdrawal of Attorney - Amy Edgy. Filed by Credit Agricole
   07/31/2020                            (3 pgs)             Corporate and Investment Bank (Wood, William) (Entered: 07/31/2020)

   08/06/2020                            986                 Application for Compensation First and Final Fee Application of
                                         (119 pgs; 2 docs)   PricewaterCoopers LLP for Services Rendered and Reimbursement of
                                                             Expenses to Provide Certain Accounting, Transaction, and Valuation
                                                             Services for the Debtors for the Period January 21, 2020 Through March
                                                             12, 2020. Objections/Request for Hearing Due in 21 days. Filed by


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          121/133
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                                                             Attorney Matthew D Cavenaugh (Attachments: # 1 Proposed Order)
                                                             (Cavenaugh, Matthew) (Entered: 08/06/2020)

                                         987
   08/10/2020                            (2 pgs)             Withdrawal of Claim: 57 (Streusand, Sabrina) (Entered: 08/10/2020)

                                         988
   08/10/2020                            (2 pgs)             Withdrawal of Claim: 1 (Streusand, Sabrina) (Entered: 08/10/2020)

                                         989                 Notice of Appearance and Request for Notice Filed by Paul M. Lopez
                                         (2 pgs)             Filed by on behalf of COLLIN COUNTY TAX
   08/12/2020                                                ASSESSOR/COLLECTOR (Lopez, Paul) (Entered: 08/12/2020)

                                         990                 Application for Compensation First and Final Fee Application of
                                         (600 pgs; 2 docs)   Kirkland & Ellis LLP and Kirkland & Ellis International LLP Attorneys
                                                             for the Debtors and Debtors in Possession for the Period From January
                                                             21, 2020 Through and Including March 12, 2020. Objections/Request for
                                                             Hearing Due in 21 days. Filed by Attorney Matthew D Cavenaugh
                                                             (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   08/14/2020                                                08/14/2020)

                                         991                 Application for Compensation Jackson Walker LLP's First and Final Fee
                                         (79 pgs; 2 docs)    Application for Allowance and Payment of Fees and Expenses as Co-
                                                             Counsel and Conflicts Counsel to the Debtors for the Period from
                                                             January 21, 2020 Through March 12, 2020. Objections/Request for
                                                             Hearing Due in 21 days. Filed by Attorney Matthew D Cavenaugh
                                                             (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   08/14/2020                                                08/14/2020)

                                         992                 Application for Compensation Final Application of AP Services, LLC
                                         (490 pgs; 2 docs)   and AlixPartners, LLP for Allowance and Payment of (I) Compensation
                                                             for Services Rendered and for Reimbursement of Expenses Incurred as
                                                             Chief Transformation Officer and Financial Advisor to the Chapter 11
                                                             Reorganized Debtors for the Period January 21, 2020 Through March
                                                             12, 2020 and (II) Success Fee. Objections/Request for Hearing Due in 21
                                                             days. Filed by Attorney Matthew D Cavenaugh (Attachments: # 1
   08/14/2020                                                Proposed Order) (Cavenaugh, Matthew) (Entered: 08/14/2020)

                                         993                 Application for Compensation Final Fee Application of Holland &
                                         (145 pgs; 2 docs)   Knight LLP, Special Litigation and Colombia Counsel to the Debtors and
                                                             Debtors in Possession, for the Period From January 21, 2020 Through
                                                             and Including March 12, 2020. Objections/Request for Hearing Due in
                                                             21 days. Filed by Attorney Matthew D Cavenaugh (Attachments: # 1
   08/14/2020                                                Proposed Order) (Cavenaugh, Matthew) (Entered: 08/14/2020)

                                         994                 Application for Compensation First and Final Fee Application of K&L
                                         (291 pgs; 2 docs)   Gates LLP, as Special Counsel to the Debtors, for Allowance and
                                                             Payment of Compensation for Professional Services Rendered and
                                                             Reimbursement of Actual and Necessary Expenses Incurred, for the
                                                             Period from January 21, 2020 Through March 12, 2020.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                                             Matthew D Cavenaugh (Attachments: # 1 Proposed Order) (Cavenaugh,
   08/14/2020                                                Matthew) (Entered: 08/14/2020)

   08/14/2020                            995                 Application for Compensation Final Fee Application of KPMG LLP for
                                         (263 pgs; 2 docs)   Entry of an Order Granting Final Allowance of Compensation for
                                                             Services Rendered and Reimbursement of Expenses Incurred as Tax

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          122/133
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                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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                                                                                                                     001075to the
                                                             Compliance, Tax Consultant, Financial Accountant and Advisor
                                                             Debtors for the Final Period from January 21, 2020 Through March 12,
                                                             2020; and Authorizing and Directing the Debtors to Pay any and all
                                                             Unpaid Fees. Objections/Request for Hearing Due in 21 days. Filed by
                                                             Attorney Matthew D Cavenaugh (Attachments: # 1 Proposed Order)
                                                             (Cavenaugh, Matthew) (Entered: 08/14/2020)

                                         996                 Application for Compensation First and Final Fee Application of
                                         (97 pgs; 2 docs)    Evercore Group L.L.C. and Evercore Partners International LLP,
                                                             Investment Banker to the Debtors and Debtors in Possession, for
                                                             Allowance and Payment of an Administrative Expense Claim for
                                                             Compensation for the Period from January 21, 2020 Through and
                                                             Including June 30, 2020 and Related Expense Reimbursement.
                                                             Objections/Request for Hearing Due in 21 days. Filed by Attorney
                                                             Matthew D Cavenaugh (Attachments: # 1 Proposed Order) (Cavenaugh,
   08/14/2020                                                Matthew) (Entered: 08/14/2020)

                                         997                 Declaration re: Declaration of Disinterestedness of Ernst & Young
                                         (37 pgs)            Belastingadviseurs LLP - The Netherlands (Filed By McDermott
                                                             International, Inc. ).(Related document(s):478 Order on Emergency
   08/17/2020                                                Motion) (Cavenaugh, Matthew) (Entered: 08/17/2020)

                                         998                 Declaration re: Declaration of Disinterestedness of Ernst & Young
                                         (36 pgs)            Chartered Accountants - Ireland (Filed By McDermott International, Inc.
                                                             ).(Related document(s):478 Order on Emergency Motion) (Cavenaugh,
   08/17/2020                                                Matthew) (Entered: 08/17/2020)

                                         999                 Declaration re: Declaration of Disinterestedness of Ernst & Young LLP -
                                         (38 pgs)            United Kingdom (Filed By McDermott International, Inc. ).(Related
                                                             document(s):478 Order on Emergency Motion) (Cavenaugh, Matthew)
   08/17/2020                                                (Entered: 08/17/2020)

                                         1000                Emergency Motion Debtors' Emergency Omnibus Motion for Entry of an
                                         (12 pgs; 2 docs)    Order Authorizing the Debtors to File Under Seal Certain Confidential
                                                             Commercial Information Related to Ernst & Young Member Firms'
                                                             Declarations of Disinterestedness Filed by Debtor McDermott
                                                             International, Inc. (Attachments: # 1 Proposed Order) (Cavenaugh,
   08/17/2020                                                Matthew) (Entered: 08/17/2020)

                                         1001                Sealed Document (Filed By McDermott International, Inc. ).
   08/17/2020                                                (Cavenaugh, Matthew) (Entered: 08/17/2020)

                                         1002                Sealed Document (Filed By McDermott International, Inc. ).
   08/17/2020                                                (Cavenaugh, Matthew) (Entered: 08/17/2020)

                                         1003                Sealed Document (Filed By McDermott International, Inc. ).
   08/17/2020                                                (Cavenaugh, Matthew) (Entered: 08/17/2020)

                                         1004                Withdrawal of Claim: 68 by Minnesota Department of Revenue (sgue)
   08/17/2020                            (1 pg)              (Entered: 08/19/2020)

                                         1005                Order (Related Doc # 1000) Signed on 8/20/2020. (aalo) (Entered:
   08/20/2020                            (3 pgs)             08/20/2020)

   08/20/2020                            1006                Affidavit Re: Mailings for the Period from July 29, 2020 through August
                                         (302 pgs; 5 docs)   14, 2020. (related document(s):684 Generic Order, 865 Notice, 986
                                                             Application for Compensation, 990 Application for Compensation, 992
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         123/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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                                                                                     Southern
                                                                                                                       001076 994
                                                            Application for Compensation, 993 Application for Compensation,
                                                            Application for Compensation, 995 Application for Compensation, 996
                                                            Application for Compensation). Filed by Prime Clerk LLC (Attachments:
                                                            # 1 Affidavit of 7/29/2020 Supplemental Service of Amended Order
                                                            Approving the Debtors' Disclosure Statement and Confirming the Second
                                                            Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                            (Technical Modifications) of McDermott International, Inc. and it # 2
                                                            Affidavit of 8/6/2020 Service of First and Final Fee Application of
                                                            PricewaterCoopers LLP for Services Rendered and Reimbursement of
                                                            Expenses to Provide Certain Accounting, Transaction, and Valuation
                                                            Services for the Debtors for the Period January 21, 2020 # 3 Affidavit of
                                                            8/11/2020 Supplemental Service of Notice of (A) Executory Contracts
                                                            and Unexpired Leases to be Assumed by the Debtors Pursuant to the
                                                            Plan, and (B) Related Procedures in Connection Therewith and Notice to
                                                            Contract Parties to Potentially Assume # 4 Affidavit of 8/14/2020
                                                            Service of Various First and Final Fee Applications)(Steele, Benjamin)
                                                            (Entered: 08/20/2020)

                                         1007               BNC Certificate of Mailing. (Related document(s):1005 Order on
                                         (11 pgs)           Emergency Motion) No. of Notices: 304. Notice Date 08/22/2020.
   08/22/2020                                               (Admin.) (Entered: 08/22/2020)

                                         1008               Notice of Appearance and Request for Notice Filed by Union Pacific
   08/24/2020                            (4 pgs)            Railroad Company (than) (Entered: 08/25/2020)

                                         1009               Certificate of No Objection (Filed By McDermott International, Inc. ).
                                         (5 pgs; 2 docs)    (Related document(s):963 Application for Compensation) (Attachments:
   08/26/2020                                               # 1 Proposed Order) (Cavenaugh, Matthew) (Entered: 08/26/2020)

                                         1010               Affidavit Re: Mailings for the Period from August 15, 2020 through
                                         (24 pgs; 2 docs)   August 21, 2020. (related document(s):997 Declaration, 998 Declaration,
                                                            999 Declaration). Filed by Prime Clerk LLC (Attachments: # 1 Affidavit
                                                            of 8/17/2020 Service of Declarations of Disinterestedness (DN 997, 998,
                                                            999) and Debtors' Emergency Omnibus Motion for Entry of an Order
                                                            Authorizing the Debtors to File Under Seal Certain Confidential
                                                            Commercial Information Related to Ernst)(Steele, Benjamin) (Entered:
   08/27/2020                                               08/27/2020)

                                         1011               Order Approving First and Final Application of Ernst & Young LLP for
                                         (2 pgs)            Compensation and Reimbursement of Expenses for the Period from
                                                            January 21, 2020 through and Including March 12, 2020 (Related Doc #
   08/28/2020                                               963). Signed on 8/28/2020. (emiller) (Entered: 08/28/2020)

                                         1012               BNC Certificate of Mailing. (Related document(s):1011 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   08/30/2020                                               08/30/2020. (Admin.) (Entered: 08/30/2020)

                                         1013               Motion for Final Decree Filed by Debtor McDermott International, Inc.
                                         (16 pgs; 2 docs)   (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   08/31/2020                                               08/31/2020)

                                         1014               Certificate of No Objection (Filed By McDermott International, Inc. ).
                                         (5 pgs; 2 docs)    (Related document(s):986 Application for Compensation) (Attachments:
   09/01/2020                                               # 1 Proposed Order) (Cavenaugh, Matthew) (Entered: 09/01/2020)

                                         1015               Notice of Appearance and Request for Notice Filed by Aldine ISD
   09/02/2020                            (2 pgs)            (Morales, Yolanda) (Entered: 09/02/2020)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                         124/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
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                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 125 of 550
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                                                                                                                     001077
   09/02/2020                            1016               Amended Motion for Final Decree Filed by Debtor McDermott
                                         (17 pgs; 2 docs)   International, Inc. (Attachments: # 1 Proposed Order) (Cavenaugh,
                                                            Matthew) (Entered: 09/02/2020)

                                         1017               Affidavit Re: Mailings for the Period from August 22, 2020 through
                                         (29 pgs; 2 docs)   August 28, 2020. (related document(s):970 Notice). Filed by Prime Clerk
                                                            LLC (Attachments: # 1 Affidavit of 8/25/2020 Supplemental Service of
                                                            Notice of (I) Entry of an Order Approving the Debtors' Disclosure
                                                            Statement and Confirming the Second Amended Joint Prepackaged
                                                            Chapter 11 Plan of Reorganization (Technical Modifications) of
   09/04/2020                                               McDermott)(Steele, Benjamin) (Entered: 09/04/2020)

                                         1018               Certificate of No Objection Omnibus Certificate of No Objection (Filed
                                         (18 pgs; 8 docs)   By McDermott International, Inc. ).(Related document(s):990
                                                            Application for Compensation, 991 Application for Compensation, 992
                                                            Application for Compensation, 993 Application for Compensation, 994
                                                            Application for Compensation, 995 Application for Compensation, 996
                                                            Application for Compensation) (Attachments: # 1 Proposed Order
                                                            Kirkland & Ellis LLP # 2 Proposed Order Jackson Walker LLP # 3
                                                            Proposed Order AlixPartners # 4 Proposed Order Holland & Knight # 5
                                                            Proposed Order K&L Gates LLP # 6 Proposed Order KPMG LLP # 7
                                                            Proposed Order Evercore Group L.L.C.) (Cavenaugh, Matthew)
   09/08/2020                                               (Entered: 09/08/2020)

                                         1020               Order Granting First and Final Fee Application of Kirkland & Ellis LLP
                                         (2 pgs)            and Kirkland & Ellis International LLP, Attorneys for the Debtors and
                                                            Debtors in Possession, for the Period from January 21, 2020 Through and
                                                            Including March 12, 2020 (Related Doc # 990) Signed on 9/8/2020.
   09/08/2020                                               (emiller) (Entered: 09/10/2020)

                                         1021               Order Granting Jackson Walker LLP's First and Final Fee Application
                                         (2 pgs)            For Allowance and Payment of Fees and Expenses as Co-Counsel to the
                                                            Debtors for the Period from January 21, 2020 Through and Including
                                                            March 12, 2020 (Related Doc # 991) Signed on 9/8/2020. (emiller)
   09/08/2020                                               (Entered: 09/10/2020)

                                         1022               Order Approving the Final Application of AP Services, LLC and
                                         (2 pgs)            AlixPartners, LLP for Allowance and Payment of (I) Compensation for
                                                            Services Rendered and for Reimbursement of Expenses Incurred as Chief
                                                            Transformation Officer of and Financial Advisor to the Chapter 11
                                                            Reorganized Debtors for the Period January 21, 2020 Through March 12,
                                                            2020 and (II) a Success Fee (Related Doc # 992) Signed on 9/8/2020.
   09/08/2020                                               (emiller) (Entered: 09/10/2020)

                                         1023               Order Granting the Final Fee Application of Holland & Knight LLP,
                                         (2 pgs)            Special Litigation and Colombia Counsel to the Debtors and Debtors in
                                                            Possession for the Period From January 21, 2020 Through and Including
                                                            March 12, 2020 (Related Doc # 993) Signed on 9/8/2020. (emiller)
   09/08/2020                                               (Entered: 09/10/2020)

                                         1024               Order Granting First and Final Application of K&L Gates LLP, as
                                         (2 pgs)            Special Counsel to the Debtors, for Allowance and Payment of
                                                            Compensation for Professional Services Rendered and Reimbursement of
                                                            Actual and Necessary Expenses Incurred, for the Period from January 21,
                                                            2020 Through March 12, 2020 (Related Doc # 994) Signed on 9/8/2020.
   09/08/2020                                               (emiller) (Entered: 09/10/2020)


https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                        125/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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   09/08/2020                            1025               Order Granting Final Fee Application of KPMG LLP, as Tax  001078
                                         (2 pgs)            Compliance, Tax Consultant, Financial Accountant and Advisor to the
                                                            Debtors and Debtors in Possession for the Final Period From January 21,
                                                            2020 Through March 12, 2020 (Related Doc # 995) Signed on 9/8/2020.
                                                            (emiller) (Entered: 09/10/2020)

                                         1026               Order Approving First and Final Fee Application of Evercore Group
                                         (2 pgs)            L.L.C. nd Evercore Partners International LLP, Investment Banker to the
                                                            Debtors and Debtors in Possession, for Allowance and Payment of an
                                                            Administrative Expense Claim for Compensation for the Period from
                                                            January 21, 2020 Through and Including June 30, 2020 (Related Doc #
   09/08/2020                                               996) Signed on 9/8/2020. (emiller) (Entered: 09/10/2020)

                                         1019               Order Granting First and Final Fee Application of
                                         (2 pgs)            PricewaterhouseCoopers LLP for Services Rendered and Reimbursement
                                                            of Expenses to Provide Certain Accounting Transaction, and Valuation
                                                            Services for the Debtors for the Period January 21, 2020 through March
                                                            12, 2020 (Related Doc # 986) Signed on 9/10/2020. (emiller) (Entered:
   09/10/2020                                               09/10/2020)

                                         1027               BNC Certificate of Mailing. (Related document(s):1019 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1028               BNC Certificate of Mailing. (Related document(s):1020 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1029               BNC Certificate of Mailing. (Related document(s):1021 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1030               BNC Certificate of Mailing. (Related document(s):1022 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1031               BNC Certificate of Mailing. (Related document(s):1023 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1032               BNC Certificate of Mailing. (Related document(s):1024 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1033               BNC Certificate of Mailing. (Related document(s):1025 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

                                         1034               BNC Certificate of Mailing. (Related document(s):1026 Order on
                                         (10 pgs)           Application for Compensation) No. of Notices: 306. Notice Date
   09/12/2020                                               09/12/2020. (Admin.) (Entered: 09/12/2020)

   09/15/2020                            1035               Affidavit Re: Mailings for the Period from August 29, 2020 through
                                         (45 pgs; 4 docs)   September 4, 2020. (related document(s):970 Notice, 1013 Final Decree,
                                                            1016 Final Decree). Filed by Prime Clerk LLC (Attachments: # 1
                                                            Affidavit of 9/1/2020 Service of Reorganized Debtors Motion for Entry
                                                            of a Final Decree Closing Certain of the Chapter 11 Cases [DN 1013] # 2
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                       126/133
11/18/21, 11:12 Case
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                                                                                                                        001079Motion
                                                             Affidavit of 9/2/2020 Service of Reorganized Debtors Amended
                                                             for Entry of a Final Decree Closing Certain of the Chapter 11 Cases [DN
                                                             1016] # 3 Affidavit of 9/4/2020 Service of Notice of (I) Entry of an
                                                             Order Approving the Debtors' Disclosure Statement and Confirming the
                                                             Second Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                             (Technical Modifications) of McDermott International, Inc.)(Steele,
                                                             Benjamin) (Entered: 09/15/2020)

                                         1036                ***Per conversation with attys office, this document was filed in
                                         (32 pgs; 2 docs)    error.*** Affidavit Re: Mailings for the Period from September 6, 2020
                                                             through September 12, 2020. (related document(s):844 Affidavit, 845
                                                             Notice, 846 Notice). Filed by Prime Clerk LLC (Attachments: # 1
                                                             Affidavit of 9/9/2020 Service of Eleventh Omnibus Objection [DN 844],
                                                             Twelfth Omnibus Objection [DN 845], and Thirteenth Omnibus
                                                             Objection)(Steele, Benjamin) Modified on 9/18/2020 (ckrus). (Entered:
   09/17/2020                                                09/17/2020)

                                         1037                Final Decree Granting Reorganized Debtors' Motion to Close Certain of
                                         (5 pgs)             the Chapter 11 Cases (Related Doc # 1016) Signed on 9/17/2020.
   09/17/2020                                                (emiller) (Entered: 09/17/2020)

                                         1038                BNC Certificate of Mailing. (Related document(s):1037 Order on Motion
                                         (15 pgs)            for Final Decree) No. of Notices: 368. Notice Date 09/20/2020. (Admin.)
   09/20/2020                                                (Entered: 09/20/2020)

                                         1039
   09/21/2020                            (2 pgs)             Letter from Shareholder (JeannieAndresen) (Entered: 09/21/2020)

                                         1040                Affidavit Re: Mailings for the Period from September 5, 2020 through
                                         (276 pgs; 4 docs)   September 11, 2020. (related document(s):846 Notice, 962 Notice, 970
                                                             Notice, 1019 Order on Application for Compensation, 1020 Order on
                                                             Application for Compensation, 1021 Order on Application for
                                                             Compensation, 1022 Order on Application for Compensation, 1023
                                                             Order on Application for Compensation, 1024 Order on Application for
                                                             Compensation, 1025 Order on Application for Compensation). Filed by
                                                             Prime Clerk LLC (Attachments: # 1 Affidavit of September 9, 2020
                                                             Service of Notice of (A) Executory Contracts and Unexpired Leases to
                                                             be Assumed by the Debtors Pursuant to the Plan, and (B) Related
                                                             Procedures in Connection Therewith; Notice to Contract Parties to
                                                             Potentially Assumed or # 2 Supplemental Affidavit of September 11,
                                                             2020 of Service of Notice of (I) Entry of an Order Approving the
                                                             Debtors' Disclosure Statement and Confirming the Second Amended
                                                             Joint Prepackaged Chapter 11 Plan of Reorganization (Technical
                                                             Modifications) of # 3 Affidavit of September 11, 2020 of Service of
                                                             Order Granting First and Final Fee Application of
                                                             PricewaterhouseCoopers LLP for Services Rendered and Reimbursement
                                                             of Expenses to Provide Certain Accounting, Transaction, and Valuation
   09/22/2020                                                Services for the Debtor)(Steele, Benjamin) (Entered: 09/22/2020)

                                         1041                Affidavit Re: Mailings for the Period from September 12, 2020 through
                                         (23 pgs)            September 18, 2020. (related document(s):1037 Order on Motion for
                                                             Final Decree). Filed by Prime Clerk LLC (Steele, Benjamin) (Entered:
   09/23/2020                                                09/23/2020)

                                         1042                Motion to Appear pro hac vice Ana Sophia Garcia. Filed by Creditor
   09/24/2020                            (1 pg)              Victor Martinez (mmap) (Entered: 09/24/2020)

   09/24/2020                            1043                COPY OF: Request for Clerk's Entry of Default Against Defendant
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                          127/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
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                                         (13 pgs; 3 docs)    David Dickson by Michael D Deelen FILED IN: 20-AP-3309      001080
                                                             (Attachments: # 1 Plaintiff's Affidavit in Support of his Request for
                                                             Clerk's Entry of Default Against Defendant David Dickson # 2 Clerk's
                                                             Entry of Default Against Defendant David Dickson) (JesusGuajardo)
                                                             (Entered: 09/28/2020)

                                         1044                COPY OF: Corrected Request for Clerk's Entry of Default Against
                                         (14 pgs; 3 docs)    Defendant David Dickson by Michael V. Deelen FILE IN: 20-AP-3309
                                                             (Attachments: # 1 Plaintiff's Corrected Affidavit in Support of his
                                                             Request for Clerk's Entry of Default Against Defendant David Dickson #
                                                             2 Clerk's Entry of Default Against Defendant David Dickson)
   09/25/2020                                                (JesusGuajardo) (Entered: 09/28/2020)

                                         1045                Order Granting Motion To Appear pro hac vice - Ana Sophia Garcia
                                         (1 pg)              (Related Doc # 1042) Signed on 9/28/2020. (emiller) (Entered:
   09/28/2020                                                09/29/2020)

                                         1046                Affidavit Re: Mailings for the Period from September 19, 2020 through
                                         (5 pgs)             September 25, 2020. (related document(s):846 Notice). Filed by Prime
   09/30/2020                                                Clerk LLC (Steele, Benjamin) (Entered: 09/30/2020)

                                         1047                BNC Certificate of Mailing. (Related document(s):1045 Order on Motion
                                         (10 pgs)            to Appear pro hac vice) No. of Notices: 307. Notice Date 10/01/2020.
   10/01/2020                                                (Admin.) (Entered: 10/02/2020)

                                         1048                Notice of Change of Address Filed by Osha Liang LLP (Dunn, Tammy)
   10/08/2020                            (3 pgs)             (Entered: 10/08/2020)

                                         1049                Affidavit Re: of Andrew Chan Regarding Claim Transfer Notices.
                                         (3 pgs)             (related document(s):691 Transfer of Claim). Filed by Prime Clerk LLC
   10/15/2020                                                (Steele, Benjamin) (Entered: 10/15/2020)

                                         1050                Affidavit Re: Mailings for the Period from October 10, 2020 through
                                         (5 pgs; 2 docs)     October 16, 2020. (related document(s):970 Notice). Filed by Prime
                                                             Clerk LLC (Attachments: # 1 Affidavit)(Steele, Benjamin) (Entered:
   10/21/2020                                                10/21/2020)

                                         1051                Affidavit Re: Mailings for the Period from October 17, 2020 through
                                         (122 pgs; 2 docs)   October 23, 2020. (related document(s):846 Notice). Filed by Prime
                                                             Clerk LLC (Attachments: # 1 Affidavit of October 21)(Steele, Benjamin)
   10/28/2020                                                (Entered: 10/28/2020)

                                         1052                Chapter 11 Post-Confirmation Report for Quarter Ended 9/17/2020
                                         (17 pgs)            (Filed By McDermott International, Inc. ). (Polnick, Veronica) (Entered:
   10/29/2020                                                10/29/2020)

                                         1053                Chapter 11 Post-Confirmation Report for Quarter Ended 9/30/2020
                                         (4 pgs)             (Filed By McDermott International, Inc. ). (Polnick, Veronica) (Entered:
   10/29/2020                                                10/29/2020)

   11/04/2020                            1054                Affidavit Re: of Arnold A. Jaglal Regarding Notice of (I) Entry of an
                                         (4 pgs)             Order Approving the Debtors' Disclosure Statement and Confirming the
                                                             Second Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                             (Technical Modifications) of McDermott International, Inc. and its
                                                             Debtor Affiliates and (II) Anticipated Occurrence of Effective Date.
                                                             (related document(s):970 Notice). Filed by Prime Clerk LLC (Steele,
                                                             Benjamin) (Entered: 11/04/2020)
https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           128/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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                                                                                                                         001081

                                         1055                Non-Opposition Motion for Relief from Stay under 11 USC Section 362.
                                         (52 pgs)            Fee Amount $181. Filed by Interested Party Victor Arturo Martinez
   11/05/2020                                                (Garcia, Ana) (Entered: 11/05/2020)

                                                             Receipt of Motion for Relief From Stay(20-30336) [motion,mrlfsty] (
                                                             181.00) Filing Fee. Receipt number 22574008. Fee amount $ 181.00.
   11/05/2020                                                (U.S. Treasury) (Entered: 11/05/2020)

                                         1056                Affidavit Re: (Supplemental) of Arnold A. Jaglal Regarding Notice of (I)
                                         (4 pgs)             Entry of an Order Approving the Debtors' Disclosure Statement and
                                                             Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                             Reorganization (Technical Modifications) of McDermott International,
                                                             Inc. and its Debtor Affiliates and (II) Anticipated Occurrence of Effective
                                                             Date. (related document(s):970 Notice). Filed by Prime Clerk LLC
   11/11/2020                                                (Steele, Benjamin) (Entered: 11/11/2020)

                                         1057                Affidavit Re: (Supplemental) of Arnold A. Jaglal Regarding Notice of (I)
                                         (4 pgs)             Entry of an Order Approving the Debtors' Disclosure Statement and
                                                             Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                             Reorganization (Technical Modifications) of McDermott International,
                                                             Inc. and its Debtor Affiliates and (II) Anticipated Occurrence of Effective
                                                             Date. (related document(s):970 Notice). Filed by Prime Clerk LLC
   12/16/2020                                                (Steele, Benjamin) (Entered: 12/16/2020)

                                         1058                Notice of Appearance and Request for Notice Filed by Stephen R. Butler
                                         (1 pg)              Filed by on behalf of TN Dept of Revenue (Butler, Stephen) (Entered:
   12/23/2020                                                12/23/2020)

                                         1059                Emergency Motion to Enforce the Confirmation Order Filed by Debtor
                                         (447 pgs; 8 docs)   McDermott International, Inc. Hearing scheduled for 1/7/2021 at 03:00
                                                             PM at Houston, Courtroom 400 (DRJ). (Attachments: # 1 Exhibit A # 2
                                                             Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7
   01/06/2021                                                Proposed Order) (Cavenaugh, Matthew) (Entered: 01/06/2021)

                                         1060
                                         (1 pg)                  PDF with attached Audio File. Court Date & Time [ 1/7/2021
                                                             2:58:28 PM ]. File Size [ 14627 KB ]. Run Time [ 00:30:28 ]. (admin).
   01/07/2021                                                (Entered: 01/07/2021)

                                         1061                AO 435 TRANSCRIPT ORDER FORM (Daily (24 hours)) by Matthew
                                         (1 pg)              D. Cavenaugh. This is to order a transcript of 01/07/2021 before Judge
                                                             David R. Jones. Court Reporter/Transcriber: Judicial Transcribers of
                                                             Texas (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
                                                             Electronically forwarded to Judicial Transcribers of Texas on 1-8-2021.
                                                             Estimated completion date: 1-9-2021. Modified on 1/8/2021
   01/07/2021                                                (MelissaMorgan). (Entered: 01/07/2021)

                                         1062                Proposed Order RE: (Filed By Chicago Bridge & Iron Company ).
                                         (1 pg)              (Related document(s):1059 Emergency Motion (with hearing date))
   01/07/2021                                                (Cavenaugh, Matthew) (Entered: 01/07/2021)

                                         1063                Order (Related Doc # 1059) Signed on 1/8/2021. (emiller) (Entered:
   01/08/2021                            (1 pg)              01/08/2021)

   01/10/2021                            1064                Transcript RE: Emergency Motion Hearing (Via Zoom) held on January
                                         (22 pgs)            7, 2021 before Judge David R. Jones. Transcript is available for viewing

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                           129/133
11/18/21, 11:12 Case
                AM      4:21-cv-03369 DocumentBK
                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
                                                              US Bankruptcy in TXSD      Page 130 of 550
                                                                                     Southern
                                                                                                                          001082 through
                                                            in the Clerk's Office. Filed by Transcript access will be restricted
                                                            04/12/2021. (mhen) (Entered: 01/10/2021)

                                         1065               BNC Certificate of Mailing. (Related document(s):1063 Order on
                                         (10 pgs)           Emergency Motion) No. of Notices: 307. Notice Date 01/10/2021.
   01/10/2021                                               (Admin.) (Entered: 01/10/2021)

                                         1066               Notice of Filing of Official Transcript as to 1064 Transcript. Parties
                                         (1 pg)             notified (Related document(s):1064 Transcript) (dhan) (Entered:
   01/11/2021                                               01/11/2021)

                                         1067               Response (Filed By Zephyr Oil & Gas Funding Co. LLC ).
                                         (18 pgs; 3 docs)   (Attachments: # 1 Proposed Order # 2 Proposed Order (Alternative))
   01/11/2021                                               (Davidson, Timothy) (Entered: 01/11/2021)

                                         1068               Affidavit Re: Mailings for the Period from January 2, 2021 through
                                         (41 pgs; 4 docs)   January 8, 2021. (related document(s):970 Notice, 1059 Emergency
                                                            Motion (with hearing date), 1063 Order on Emergency Motion). Filed by
                                                            Prime Clerk LLC (Attachments: # 1 Affidavit of January 8 # 2 Affidavit
                                                            of January 6 # 3 Supplemental Affidavit of January 6)(Steele, Benjamin)
   01/13/2021                                               (Entered: 01/13/2021)

                                         1069               Notice of Appearance and Request for Notice Filed by Victoria Duncan
                                         (2 pgs)            Vonder Haar Filed by on behalf of Aldine ISD (Vonder Haar, Victoria)
   01/13/2021                                               (Entered: 01/13/2021)

                                         1070               BNC Certificate of Mailing. (Related document(s):1066 Notice of Filing
                                         (10 pgs)           of Official Transcript (Form)) No. of Notices: 304. Notice Date
   01/13/2021                                               01/13/2021. (Admin.) (Entered: 01/14/2021)

                                         1071               Proposed Order RE: Order Resolving Reorganized Debtors' Emergency
                                         (3 pgs)            Motion to Enforce the Confirmation Order (Filed By McDermott
                                                            International, Inc. ).(Related document(s):1059 Emergency Motion (with
   01/14/2021                                               hearing date)) (Cavenaugh, Matthew) (Entered: 01/14/2021)

                                         1072               Order Resolving Reorganized Debtor's Emergency Motion to Enforce the
                                         (3 pgs)            Confirmation Order Signed on 1/18/2021 (Related document(s):1059
                                                            Emergency Motion, 1071 Proposed Order) (emiller) (Entered:
   01/18/2021                                               01/18/2021)

                                         1073               BNC Certificate of Mailing. (Related document(s):1072 Generic Order)
                                         (12 pgs)           No. of Notices: 304. Notice Date 01/21/2021. (Admin.) (Entered:
   01/21/2021                                               01/21/2021)

                                         1074               Chapter 11 Post-Confirmation Report for Quarter Ended 12/31/2020
                                         (4 pgs)            (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   01/24/2021                                               (Entered: 01/24/2021)

                                         1075               Affidavit Re: Of Nicholas Vass Regarding Order Resolving Reorganized
                                         (20 pgs)           Debtor's Emergency Motion to Enforce the Confirmation Order. (related
                                                            document(s):1072 Generic Order). Filed by Prime Clerk LLC (Steele,
   01/27/2021                                               Benjamin) (Entered: 01/27/2021)

   01/27/2021                            1076               Notice of Withdrawal from Case and Termination of Electronic Case
                                         (1 pg)             Filings. Filed by W-Industries of Texas LLC (Mitchell, John) (Entered:
                                                            01/27/2021)

https://txsb-ecf.sso.dcn/cgi-bin/DktRpt.pl?caseid=439405                                                                             130/133
11/18/21, 11:12 Case
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                                               10-2   Filed
                                                 CM/ECF LIVE -on 11/19/21Court-Texas
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                                         1077                Notice of Withdrawal from Case and Termination of Electronic Case
                                         (1 pg)              Filings. Filed by W-Industries of Texas LLC (Archiyan, Yelena)
   01/27/2021                                                (Entered: 01/27/2021)

                                         1078                Notice of Change of Address Filed by Intergraph Corporation d/b/a
   01/28/2021                            (2 pgs)             Hexagon PPM (Guerrero, Aaron) (Entered: 01/28/2021)

                                         1079                Affidavit Re: Of Arnold A. Jaglal Regarding Notice of (I) Entry of an
                                         (4 pgs)             Order Approving the Debtors Disclosure Statement and Confirming the
                                                             Second Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                             (Technical Modifications) of McDermott International, Inc. and its
                                                             Debtor Affiliates and (II) Anticipated Occurrence of Effective Date.
                                                             (related document(s):970 Notice). Filed by Prime Clerk LLC (Steele,
   02/03/2021                                                Benjamin) (Entered: 02/03/2021)

                                         1080                Notice of Stephen L. Iacovo Withdrawal as Counsel. Filed by McDermott
   02/12/2021                            (3 pgs)             International, Inc. (Cavenaugh, Matthew) (Entered: 02/12/2021)

                                         1081                Motion Reorganized Debtors' Motion to Enforce the Confirmation Order
                                         (443 pgs; 2 docs)   with Respect to the SDNY Securities Litigation Filed by Debtor
                                                             McDermott International, Inc. (Attachments: # 1 Proposed Order)
   02/19/2021                                                (Cavenaugh, Matthew) (Entered: 02/19/2021)

                                         1082                Affidavit Re: of Asir U. Ashraf Regarding Reorganized Debtors' Motion
                                         (19 pgs)            to Enforce the Confirmation Order with Respect to the SDNY Securities
                                                             Litigation. (related document(s):1081 Generic Motion). Filed by Prime
   02/24/2021                                                Clerk LLC (Steele, Benjamin) (Entered: 02/24/2021)

                                         1083                Motion to Appear pro hac vice Richar A. Bodnar. Filed by Creditor Opt
   03/05/2021                            (1 pg)              Out Plaintffs (mmap) (Entered: 03/05/2021)

                                         1084                Motion to Appear pro hac vice Brandon Fierro. Filed by Creditor Opt
   03/05/2021                            (1 pg)              Out Plaintffs (mmap) (Entered: 03/05/2021)

                                         1085                Motion to Appear pro hac vice Jennifer A Randolph. Filed by Creditor
   03/05/2021                            (1 pg)              Opt Out Plaintffs (mmap) (Entered: 03/05/2021)

                                         1086                Order Granting Motion To Appear pro hac vice - Richard A. Bodnar
                                         (1 pg)              (Related Doc # 1083) Signed on 3/8/2021. (emiller) (Entered:
   03/08/2021                                                03/09/2021)

                                         1087                Order Granting Motion To Appear pro hac vice - Brandon Fierro
                                         (1 pg)              (Related Doc # 1084) Signed on 3/8/2021. (emiller) (Entered:
   03/08/2021                                                03/09/2021)

                                         1088                Order Granting Motion To Appear pro hac vice - Jennifer A. Randolph
                                         (1 pg)              (Related Doc # 1085) Signed on 3/8/2021. (emiller) (Entered:
   03/08/2021                                                03/09/2021)

                                         1089                Certificate of No Objection (Filed By Victor Martinez ).(Related
                                         (4 pgs; 2 docs)     document(s):1055 Motion for Relief From Stay) (Attachments: # 1
   03/10/2021                                                Proposed Order) (Garcia, Ana) (Entered: 03/10/2021)

   03/12/2021                            1090                BNC Certificate of Mailing. (Related document(s):1086 Order on Motion
                                         (10 pgs)            to Appear pro hac vice) No. of Notices: 310. Notice Date 03/12/2021.

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                                                           (Admin.) (Entered: 03/12/2021)                              001084



                                         1091              BNC Certificate of Mailing. (Related document(s):1087 Order on Motion
                                         (10 pgs)          to Appear pro hac vice) No. of Notices: 310. Notice Date 03/12/2021.
   03/12/2021                                              (Admin.) (Entered: 03/12/2021)

                                         1092              BNC Certificate of Mailing. (Related document(s):1088 Order on Motion
                                         (27 pgs)          to Appear pro hac vice) No. of Notices: 310. Notice Date 03/12/2021.
   03/12/2021                                              (Admin.) (Entered: 03/12/2021)

                                         1093              Order Signed on 3/24/2021 (Related document(s):1055 Motion for Relief
   03/24/2021                            (2 pgs)           From Stay) (VrianaPortillo) (Entered: 03/24/2021)

                                         1094              BNC Certificate of Mailing. (Related document(s):1093 Generic Order)
                                         (11 pgs)          No. of Notices: 307. Notice Date 03/27/2021. (Admin.) (Entered:
   03/27/2021                                              03/27/2021)

                                         1095              Chapter 11 Post-Confirmation Report for Quarter Ended 3/31/2021
                                         (4 pgs)           (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   04/27/2021                                              (Entered: 04/27/2021)

                                         1096              Affidavit Re: (Supplemental) of Arnold A. Jaglal Regarding Notice of (I)
                                         (2 pgs)           Entry of an Order Approving the Debtors Disclosure Statement and
                                                           Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                           Reorganization (Technical Modifications) of McDermott International,
                                                           Inc. and its Debtor Affiliates and (II) Anticipated Occurrence of Effective
                                                           Date. (related document(s):970 Notice). Filed by Prime Clerk LLC
   04/28/2021                                              (Steele, Benjamin) (Entered: 04/28/2021)

                                         1097              Affidavit Re: of Arnold A. Jaglal Regarding Notice of (I) Entry of an
                                         (2 pgs)           Order Approving the Debtors Disclosure Statement and Confirming the
                                                           Second Amended Joint Prepackaged Chapter 11 Plan of Reorganization
                                                           (Technical Modifications) of McDermott International, Inc. and its
                                                           Debtor Affiliates and (II) Anticipated Occurrence of Effective Date.
                                                           (related document(s):970 Notice). Filed by Prime Clerk LLC (Steele,
   05/12/2021                                              Benjamin) (Entered: 05/12/2021)

                                         1098              Stipulation and Agreed Order Dismissing Adversary Proceeding Signed
   06/10/2021                            (5 pgs)           on 6/10/2021 (emiller) (Entered: 06/11/2021)

                                         1099              Agreed Order and Certificate of Counsel (Filed By McDermott
                                         (7 pgs; 2 docs)   International, Inc. ).(Related document(s):1081 Generic Motion)
                                                           (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   06/18/2021                                              06/18/2021)

                                         1100              Order Resolving Reorganized Debtor's Motion to Enforce the
                                         (4 pgs)           Confirmation Order with Respect to the SDNY Securities Litigation
                                                           (Related Doc # 1081) Signed on 6/23/2021. (emiller) (Entered:
   06/23/2021                                              06/23/2021)

   06/23/2021                            1101              Affidavit Re: (Supplemental) of Xavi Flores regarding Notice of (I) Entry
                                         (2 pgs)           of an Order Approving the Debtors' Disclosure Statement and
                                                           Confirming the Second Amended Joint Prepackaged Chapter 11 Plan of
                                                           Reorganization (Technical Modifications) of McDermott International,
                                                           Inc. and its Debtor Affiliates and (II) Anticipated Occurrence of Effective
                                                           Date. (related document(s):970 Notice). Filed by Prime Clerk LLC
                                                           (Steele, Benjamin) (Entered: 06/23/2021)
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                                         1102              BNC Certificate of Mailing. (Related document(s):1100 Generic Order)
                                         (13 pgs)          No. of Notices: 306. Notice Date 06/25/2021. (Admin.) (Entered:
   06/25/2021                                              06/25/2021)

                                         1103              Agreed Order and Certificate of Counsel (Filed By McDermott
                                         (7 pgs; 2 docs)   International, Inc. ).(Related document(s):1081 Generic Motion)
                                                           (Attachments: # 1 Proposed Order) (Cavenaugh, Matthew) (Entered:
   07/02/2021                                              07/02/2021)

                                         1104              Chapter 11 Post-Confirmation Report for Quarter Ended 6/30/2021
                                         (4 pgs)           (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   07/26/2021                                              (Entered: 07/26/2021)

                                         1105              Affidavit Re: (Supplemental) of Nuno Cardoso Regarding Notice to
                                         (1 pg)            Contract Parties to Potentially Assumed or Assumed and Assigned
                                                           Executory Contracts and Unexpired Leases in Connection with the Sale
                                                           of the Debtors' Technology Business. (related document(s):846 Notice).
   07/28/2021                                              Filed by Prime Clerk LLC (Steele, Benjamin) (Entered: 07/28/2021)

                                         1106              Order Resolving Reorganized Debtor's Motion to Enforce the
                                         (4 pgs)           Confirmation Order with Respect to the SDNY Securities Litigation
                                                           Signed on 8/27/2021 (Related document(s):1081 Generic Motion, 1103
   08/27/2021                                              Agreed Order and Certificate of Counsel) (emiller) (Entered: 08/27/2021)

                                         1107              BNC Certificate of Mailing. (Related document(s):1106 Generic Order)
                                         (13 pgs)          No. of Notices: 304. Notice Date 09/01/2021. (Admin.) (Entered:
   09/01/2021                                              09/01/2021)

                                         1108
   10/12/2021                            (13 pgs)          Order Signed on 10/12/2021 (aalo) (Entered: 10/12/2021)

                                         1109              Chapter 11 Post-Confirmation Report for Quarter Ended 9/30/2021
                                         (3 pgs)           (Filed By McDermott International, Inc. ). (Cavenaugh, Matthew)
   10/21/2021                                              (Entered: 10/21/2021)




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                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                              )
    In re:                                                    )   Chapter 11
                                                              )
    MCDERMOTT INTERNATIONAL, INC., et al., 1                  )   Case No. 20-30336 (DRJ)
                                                              )
                              Debtors.                        )   (Joint Administration Requested)
                                                              )

              AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
               OF MCDERMOTT INTERNATIONAL, INC. AND ITS DEBTOR AFFILIATES
JACKSON WALKER L.L.P.                                                  KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                             KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                                Joshua A. Sussberg, P.C. (pro hac vice pending)
Kristhy M. Peguero (TX Bar No. 24102776)                               Christopher T. Greco, P.C. (pro hac vice pending)
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                                                                       -and-
Proposed Co-Counsel to the Debtors
and Debtors in Possession                                              James H.M. Sprayregen, P.C.
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                                                                                        john.luze@kirkland.com

                                                                       Proposed Co-Counsel to the Debtors
                                                                       and Debtors in Possession

Dated: January 22, 2020




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor
       McDermott International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 757 North Eldridge Parkway, Houston, Texas 77079.

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                                                  INTRODUCTION

         McDermott International, Inc. and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint prepackaged chapter 11 plan of reorganization (the “Plan”) for the resolution of the
outstanding claims against, and equity interests in, the Debtors. Although proposed jointly for administrative
purposes, the Plan constitutes a separate Plan for each Debtor. Holders of Claims or Interests may refer to the
Disclosure Statement for a discussion of the Debtors’ history, businesses, assets, results of operations, historical
financial information, risk factors, a summary and analysis of this Plan, the Restructuring Transactions, and certain
related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the Bankruptcy
Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         “2018 Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as Collateral
Agent in respect of the Credit Agreement, the 2021 LC Facility, and the Lloyds LC Facility.

       “2021 LC Agreement” means that certain letter of credit agreement dated as of October 30, 2018 by and
among certain of the Debtors as applicants and guarantors thereto, and the 2021 LC Administrative Agent, as may be
amended, supplemented, or otherwise modified from time to time.

       “2021 LC Administrative Agent” means Barclays Bank PLC, as administrative agent for the 2021 LC
Agreement.

       “2021 LC Facility” means the $230,000,000.00 senior secured letter of credit facility under the 2021 LC
Agreement.

          “2021 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2021 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2021 Letters of Credit” means the letters of credit issued under the 2021 LC Facility.

       “2023 LC Facility” means the $1,440,000,000.00 senior secured letter of credit facility under the Credit
Agreement.

          “2023 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2023 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2023 Letters of Credit” means the letters of credit issued under the 2023 LC Facility.

         “Achievement Target” means the (i) final, binding signed documentation reflecting (x) positive value
adjustment of $235 million in projected gross profit and (y) $285 million in letter of credit relief and (ii) project cost
savings of $560 million through the employment of risk mitigation strategies, in each case subject to the satisfaction
of the Required Consenting Term Lenders and the Required Consenting Revolving Lenders in their sole discretion.

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           “Additional Obligations” shall have the meaning specified in the DIP Credit Facility Term Sheet.

          “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11 Cases
pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of the Debtors
incurred on or after the Petition Date and through the Effective Date; (b) Allowed Professional Claims; and (c) all fees
and charges assessed against the Estates under chapter 123 of the Judicial Code.

           “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

         “Agents” means, collectively, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the 2021 LC Administrative Agent, the 2018 Collateral Agent, the Superpriority Revolving
Administrative Agent, the Superpriority Term Loan Agent, the Superpriority Collateral Agent, and each administrative
agent, collateral agent, trustee or other similar agent in respect of the Exit Facilities solely in its capacity as such.

         “Allowed” means, as to a Claim or Interest, a Claim or Interest allowed under the Plan, under the Bankruptcy
Code, or by a final order as applicable.

          “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or other
Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or other
authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes
of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy Code
or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

           “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended from time
to time.

           “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section 2075 of
the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as amended from time to
time.

           “Barclays Advisors” means Latham & Watkins LLP and any other local or foreign advisors.

        “Bidding Procedures” means the procedures governing the auction and the Technology Business Sale, as
approved by the Bankruptcy Court and as may be amended from time to time in accordance with their terms.

          “Bilateral Facilities” means those certain bilateral facilities entered into by various Debtors and their
affiliates and the individual lenders party thereto, including:

               (a) that certain facility agreement (as amended), dated April 13, 2016, between McDermott
                   International, Inc., as borrower, McDermott Middle East, Inc., McDermott Eastern Hemisphere,
                   Ltd., McDermott Arabia Company Limited, as guarantors, and Abu Dhabi Commercial Bank PJSC,
                   as lending bank;

               (b) that certain credit facility agreement (as amended), dated April 30, 2018, between CBI Eastern
                   Anstalt, as borrower, and Mashreqbank PSC, as lending bank;



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            (c) that certain credit agreement (as amended) dated as of July 19, 2018 between Arabian CBI Company
                Limited, as customer, McDermott International Inc., as guarantor, and Samba Financial Group, as
                lending bank;

            (d) that certain facility letter (as amended), dated as of January 29, 2018 between McDermott Middle
                East, Inc., and McDermott Eastern Hemisphere, Ltd., as applicants, McDermott International, Inc.,
                as guarantor, and International Bank of Qatar, as lending bank;

            (e) that certain reimbursement agreement for letters of credit or guarantees, dated July 30, 2015 between
                McDermott International, Inc., as applicant and Riyad Bank, as lending bank;

            (f) that certain facility agreement between McDermott Middle East Inc., as borrower, McDermott
                International, Inc., as guarantor, and First Gulf Bank, as lending bank;

            (g) that certain letter of credit reimbursement agreement (as novated), dated August 1, 2007 between J.
                Ray McDermott S.A., as applicant and Standard Chartered Bank, as lending bank;

            (h) that certain master reimbursement agreement between J. Ray McDermott S.A., as applicant,
                McDermott International, Inc., as guarantor, and ICICI Bank Limited, as lending bank;

            (i) that certain reimbursement agreement between Chicago Bridge and Iron Company, N.V., as
                customer, and Europe Arab Bank PLC, as lending bank;

            (j) that certain credit facilities agreement, dated April 4, 2019 between McDermott Middle East, Inc.
                and McDermott Middle East, Inc. Panama, as borrowers, McDermott International, Inc., as
                guarantor, and Commercial Bank of Dubai PSC, as lending bank; and

            (k) that certain (a) indemnity and undertaking, dated as of June 28, 2019 between Comet II, B.V. as
                borrower and The Standard Bank of South African Limited as lending bank and (b) parent company
                guarantee, dated as of June 28, 2019 between McDermott International, Inc. as guarantor and The
                Standard Bank of South Africa Limited as lending bank.

         “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the State of New York.

        “Business Plan” means the business plan for the Reorganized Debtors.

        “Cameron LNG Contractor” means CCJV, an unincorporated joint venture the members of which are CB&I
LLC (as successor in interest) and Chiyoda International Corporation.

         “Cameron LNG EPC Agreement” means that certain Engineering, Procurement and Construction Contract,
dated as of March 17, 2014, between Cameron LNG, LLC and the Cameron LNG Contractor (as amended).

         “Cameron LNG Project Obligations” means, collectively, the obligations of any Debtor under: (a) that
certain EPC Joint Venture Agreement, dated March 17, 2014 between CB&I LLC (as successor in interest) and
Chiyoda International Corporation (as amended); and (b) the Cameron LNG EPC Agreement.

         “Cameron LNG Replacement Guarantee” means a guarantee, which Reorganized McDermott shall execute
and deliver to Cameron LNG, LLC, guaranteeing on a joint and several basis on behalf of CB&I LLC the payment
and performance of the obligations of the Cameron LNG Contractor under the Cameron LNG EPC Agreement,
whether arising prior to or after the execution of such guarantee.

         “Cash” means cash in legal tender of the United States of America and cash equivalents, including bank
deposits, checks, and other similar items.

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      “Cash Management Bank” means any financial institution through which the Debtors have entered into “Cash
Management Arrangements” (as defined in the Credit Agreement).

        “Cash Secured LC Exit Facility” means a 4-year, cash secured letter of credit exit facility in an amount up
to $371 million, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Cash Secured Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the
Cash Secured Letters of Credit, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

          “Cash Secured Letters of Credit” means the “Cash Secured Letters of Credit” issued under and on the terms
set forth under the Credit Agreement.

          “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of action,
demands, rights, actions, controversies, proceedings, agreements, suits, obligations, liabilities, accounts, defenses,
offsets, powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, liquidated or unliquidated, secured or unsecured, assertable, directly or derivatively, matured or
unmatured, suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also include: (a)
all rights of setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law
or in equity; (b) the right to object to or otherwise contest Claims or Interests; (c) claims pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (e) any Avoidance Action.

         “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for that
Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference to all the
Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

          “Chiyoda Replacement Guarantee” means a guarantee which Reorganized McDermott shall execute and
deliver to Chiyoda International Corporation in accordance with Section 15.3 of the EPC Joint Venture Agreement,
dated March 17, 2014 between CB&I LLC (as successor in interest) and Chiyoda International Corporation (as
amended) as required by the Guaranty and Indemnity Agreement entered into by and between CB&I LLC, McDermott
International and Chiyoda International Corporation.

         “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the Debtors.

          “Claims and Balloting Agent” means Prime Clerk LLC, the notice, claims, and solicitation agent proposed
to be retained by the Debtors in the Chapter 11 Cases.

         “Claims Register” means the official register of Claims maintained by the Claims and Balloting Agent.

         “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to section 1122(a)
of the Bankruptcy Code.

         “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         “Company Party” has the meaning set forth in the Restructuring Support Agreement.

         “Compensation and Benefits Programs” means all employment and severance agreements and policies, and
all employment, compensation, and benefit plans, policies, workers’ compensation programs, savings plans,
retirement plans, deferred compensation plans, supplemental executive retirement plans, healthcare plans, disability
plans, severance benefit plans, incentive plans, life and accidental death and dismemberment insurance plans, and
programs of the Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees, former
employees, retirees, and non-employee directors and the employees, former employees and retirees of their
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subsidiaries, including all savings plans, retirement plans, health care plans, disability plans, severance benefit
agreements, and plans, incentive plans, deferred compensation plans and life, accidental death, and dismemberment
insurance plans.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

         “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order on the
docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of the Plan,
pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing may be
continued from time to time.

         “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to section 1129
of the Bankruptcy Code and approving the consummation of the Technology Business Sale.

         “Consenting 2021 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting 2023 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Cash Secured LC Issuers” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consummation” means the occurrence of the Effective Date.

        “Credit Agreement” means that certain credit agreement dated as of May 10, 2018, by and among certain of
the Debtors as borrowers and guarantors thereto, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the Issuers (as defined in the Credit Agreement), and the lenders from time to time party thereto,
as may be amended, supplemented, or otherwise modified from time to time.

         “Credit Agreement Hedging Claims” means Claims in respect of Credit Agreement Hedging Obligations,
which, for the avoidance of doubt, shall not include DIP Hedging Obligations.

         “Credit Agreement Hedging Obligations” means mark-to-market obligations arising out of the termination
of any “Hedging Obligations” (as defined under the Credit Agreement) prior to the Effective Date.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under an

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Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365 or 1123 of the
Bankruptcy Code.

       “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for directors’,
managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all agreements,
documents, or instruments relating thereto.

        “Definitive Documents” means the documents listed in Section 3 of the Restructuring Support Agreement.

        “DIP Agents” means the DIP LC Agent, the DIP Collateral Agent, and the DIP Term Loan Agent.

         “DIP Cash Secured Letter of Credit Claim” means any Claim for obligations arising under, or relating to, the
DIP Cash Secured LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

        “DIP Cash Secured Letters of Credit” means the letters of credit issued pursuant to the DIP Cash Secured
LC Facility.

         “DIP Cash Secured LC Facility” means the cash secured letter of credit facility pursuant to which up to $100
million of the DIP Letter of Credit Facility may be allocated.

          “DIP Claims” means all Claims (including adequate protection Claims) derived from, arising under, based
upon, or secured pursuant to the DIP Credit Agreement, including all prepetition Claims rolled into the DIP Credit
Facility and all other Claims in respect of principal amounts outstanding, interest, fees, expenses, costs, hedging
obligations, and other charges arising thereunder or related thereto, in each case, with respect to the DIP Credit
Facility.

        “DIP Collateral Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as collateral
agent under the DIP Credit Agreement.

         “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit agreement that
governs the DIP Credit Facility (as may be amended, supplemented, or otherwise modified from time to time), among
McDermott International, Inc., as parent, certain of the Debtors as borrowers, the lenders party thereto, the DIP
Lenders, the DIP Letter of Credit Issuers, and the DIP Agents.

         “DIP Credit Facility” means the superpriority committed credit facilities provided by the DIP Lenders,
which includes the DIP Letter of Credit Facility, the DIP Term Loan Facility, the DIP Hedging Obligations, and any
other obligations specified in the DIP Financing Orders.

         “DIP Credit Facility Term Sheet” means the DIP Credit Facility Term Sheet attached as Exhibit 2 to the
Restructuring Term Sheet.

        “DIP Financing Orders” means the interim order approving the DIP Credit Facility and the final order
approving the DIP Credit Facility, to be filed and approved by the Bankruptcy Court in the Chapter 11 Cases.

        “DIP Hedging Obligations” means all hedging obligations subject to or deemed incurred under the DIP
Credit Facility (including for the avoidance of doubt all obligations in respect of the Debtors’ prepetition foreign
currency hedging transactions and $500 million notional amount of interest rate hedging transactions rolled into the
DIP credit facility pursuant to the DIP Financing Orders and the Hedging Orders).

        “DIP LC Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as letter of credit
administrative agent under the DIP Credit Agreement.

         “DIP LC Claim” means any Claim of a DIP Lender, a DIP Letter of Credit Issuer, or the DIP Agents arising
under or relating to the DIP Letter of Credit Facility pursuant to the DIP Credit Agreement.
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         “DIP Lenders” means the lenders party to the DIP Credit Agreement with respect to the DIP Credit Facility.

          “DIP Letter of Credit Facility” means the senior secured superpriority letter of credit facility plus interest,
fees, and other amounts due in respect of the Superpriority Letters of Credit (including the DIP Cash Secured LC
Facility), provided under the DIP Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP
Financing Orders.

         “DIP Letter of Credit Issuers” means the “Issuing Banks” under the DIP Credit Agreement.

         “DIP Letters of Credit” means (i) the $543 million of new and incremental letters of credit to be provided
under the DIP Letter of Credit Facility (including the DIP Cash Secured Letters of Credit) plus (ii) the DIP Roll-Up
Letters of Credit.

          “DIP Roll-Up Letters of Credit” means (i) those Superpriority Letters of Credit, including Claims for all
reimbursement obligations outstanding, interest, fees, expenses, costs, and other charges arising thereunder or relating
thereto, that are “rolled-up” and deemed issued under the DIP Letter of Credit Facility pursuant to the final DIP
Financing Order and (ii) any obligations to be deemed outstanding under the DIP Letter of Credit Facility.

         “DIP Roll-Up Term Loans” means the term loans outstanding under the Superpriority Term Loan Facility
that upon entry of the final DIP Financing Order, shall be deemed to be issued under the DIP Term Loan Facility,
including all of the Claims arising under, derived from, based upon, or secured pursuant to the Superpriority Credit
Agreement, including Claims for all principal amounts outstanding, interest, fees, expenses, costs, the Make Whole
Amount, and other charges arising thereunder or related thereto, in each case, with respect to the Superpriority Term
Loan Facility.

        “DIP Term Loan Agent” means Barclays Bank PLC, in its capacity as term loan administrative agent under
the DIP Credit Agreement.

        “DIP Term Loan Claim” means any Claim of a DIP Lender or the DIP Agents arising under or relating to
the DIP Term Loan Facility pursuant to the DIP Credit Agreement or the DIP Financing Orders.

        “DIP Term Loan Facility” means a superpriority term loan facility, comprised of up to $1.2 billion principal
amount of New DIP Term Loans plus $800 million principal amount of the Superpriority Term Loans rolled into the
DIP Term Loan Facility plus the Make Whole Amount plus the Additional Obligations and approved by the
Bankruptcy Court pursuant to the DIP Financing Orders.

         “DIP Term Loans” means the New DIP Term Loans and the DIP Roll-Up Term Loans.

        “Disbursing Agent” means the Reorganized Debtors or the Entity or Entities selected by the Debtors or the
Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

          “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and schedules
thereto, to be approved by the Confirmation Order.

          “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed; (b) that is not
disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute is being
adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in the
Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

        “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the Debtors
or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or as soon as is
reasonably practicable after the Effective Date, upon which the Distribution Agent shall make distributions to holders
of Allowed Claims entitled to receive distributions under the Plan.
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         “Distribution Record Date” means, other than with respect to publicly held Securities, the record date for
purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or as soon as
is reasonably practicable after the Effective Date. For the avoidance of doubt, no distribution record date shall apply
to holders of public securities.

          “Effective Date” means the date that is the first Business Day on which (a) no stay of the Confirmation Order
is in effect and (b) all conditions precedent to the occurrence of the Effective Date set forth in Article IX.A of the Plan
have been satisfied or waived in accordance with Article IX.B of the Plan. Any action to be taken on the Effective
Date may be taken on or as soon as reasonably practicable thereafter.

           “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant to
section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

           “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended from time
to time.

          “Exculpated Parties” means collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the Consenting
Stakeholders and any affiliated Hedge Banks; (d) each Agent and the Senior Notes Trustee, and (e) with respect to
each of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current and former
Affiliates’ current and former equity holders, subsidiaries, officers, directors, managers, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals.

        “Executory Contract” means a contract to which one or more of the Debtors is a party and that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

         “Existing Common Equity Interests” means the common stock of McDermott, which is traded and quoted on
the New York Stock Exchange under the symbol “MDR,” any and all outstanding and unexercised or unvested
warrants, options, or rights to acquire such common stock existing prior to the Petition Date, and any Section 510(b)
Claims.

         “Existing Preferred Equity Interests” means all outstanding 12% Redeemable Preferred Stock in McDermott,
issued on November 29, 2018, and the Series A Preferred Stock of McDermott, issued on December 2, 2019, and any
Section 510(b) Claims.

         “Exit Facilities” means, collectively, the Term Loan Exit Facility, the Cash Secured LC Exit Facility, and
the Exit LC Facilities, as applicable.

         “Exit Facility Agents” means each of the administrative agents, trustees, or other similar agents under the
Exit Facility Agreement, solely in its capacity as such.

         “Exit Facility Agreement” means that certain agreement to provide the Exit Facilities, if any, dated as of the
Effective Date, by and among the Reorganized Debtors party thereto as borrowers, Reorganized McDermott, the Exit
Facility Agents, the issuing banks party thereto, and the lender parties thereto, which shall be included in the Plan
Supplement.

         “Exit Facility Documents” means, collectively, the Exit Facility Agreement, and any and all other
agreements, documents, and instruments delivered or to be entered into in connection therewith, including any
guarantee agreements, pledge and collateral agreements, intercreditor agreements, and other security documents, in
each case if any, the terms of which documents shall be acceptable to the Debtors or the Reorganized Debtors, as
applicable, and the Required Consenting Lenders.


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         “Exit LC Facilities” means the Super Senior Exit Facility, the Senior Exit LC Facility, and the Roll-Off LC
Exit Facility.

         “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

         “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized designee
in the Chapter 11 Cases.

          “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent jurisdiction with
respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on the docket in any
Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has been
taken or any petition for certiorari that has been or may be timely filed has been withdrawn or resolved by the highest
court to which the order or judgment was appealed or from which certiorari was sought or the new trial, reargument,
or rehearing will have been denied, resulted in no stay pending appeal of such order, or has otherwise been dismissed
with prejudice; provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules, may be filed with respect to such order will not preclude such order
from being a Final Order.

         “Funded DIP Indebtedness” means indebtedness under the DIP Credit Facility in respect of the DIP Term
Loans (which for the avoidance of doubt includes the Superpriority Term Loans rolled up into the DIP Credit Facility,
but excludes any DIP Hedging Obligations) and the Additional Obligations.

        “General Unsecured Claim” means any Unsecured Claim against a Debtor other than the Bilateral Facility
Claims and the Senior Notes Claims.

         “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         “Hedge Bank” means, with respect to any Consenting Lender, either such Consenting Lender or an affiliate
of such Consenting Lender that has entered into “Hedging Obligations” (as defined in the Credit Agreement) with the
Debtors.

         “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is impaired
within the meaning of section 1124 of the Bankruptcy Code.

         “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

        “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an Affiliate of
a Debtor.

         “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

         “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any Debtor
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
performance shares, performance units, redemption rights, repurchase rights, convertible, exercisable or exchangeable
Securities or other agreements, arrangements or commitments of any character relating to, or whose value is related
to, any such interest or other ownership interest in any Debtor.

         “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from time to
time.

         “Lloyds LC Bank” means Lloyds Bank PLC, as the Bank under the Lloyds Letter of Credit Agreement.



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          “Lloyds LC Facility” means the $127,000,000.00 senior secured letter of credit facility under the Lloyds
Letter of Credit Agreement.

         “Lloyds Letter of Credit Agreement” means that certain master agreement for stand-by letters of credit
originally dated as of June 10, 2013 by and among Lloyds Bank plc (formerly known as Lloyds TSB Bank plc) and
Comet II B.V., CB&I, LLC, Chicago Bridge and Iron Company B.V., CBI Services, LLC, CB&I UK Limited, CBI
Constructors PTY LTD, CB&I Group Inc., and Woodlands International Insurance Ltd, as amended and restated May
10, 2018 in connection with the Business Combination (as defined therein) with McDermott and certain of its
subsidiaries, as may be amended, supplemented, or otherwise modified from time to time.

          “Lloyds Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the Lloyds
LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “Lloyds Letters of Credit” means the letters of credit issued under the Lloyds LC Facility.

         “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         “Liquidity Lender Steering Committee” means those certain institutions comprising the steering committee
of lenders under the Superpriority Revolving Facility, the Revolving Credit Facility, and the 2023 LC Facility.

         “Lummus Assets and Interests” means the Debtors’ rights, titles, and interests in the Lummus Entities and
related assets, as described in the Purchase Agreement.

          “Lummus Entities” means Lummus Technology LLC; McDermott Technology (2), B.V.; McDermott
Technology (3), B.V.; OOO Lummus Technology; CB&I Lummus Engineering & Technology China Co. Ltd.;
Lummus Technology Heat Transfer B.V. (Netherlands); Lummus Technology Heat Transfer B.V. (India); Lummus
Novolen Technology GmbH; Novolen Technology Holdings C.V.; Lummus Technology B.V.; Lummus Gasification
Technology Licensing LLC; Lummus Engineered Products, LLC; Lummus Technology International LLC; Lummus
Technology Services LLC; Chemical Research and Licensing, LLC; Lummus Technology Ventures LLC; Catalytic
Distillation Technologies; Lummus Technology Overseas LLC, Chevron Lummus Global LLC, and CLG Technical
Services, LLC.

         “Make Whole Amount” means the make whole amount payable under Section 2.11(b) of the Superpriority
Credit Agreement solely with respect to the tranches of the Superpriority Term Loan Facility that were funded prior
to the Petition Date.

         “Make Whole Tranche” means that certain tranche under the Super Senior Exit Facility in an amount equal
to the portion of the Make Whole Amount remaining (if any) after applying the Technology Business Sale Proceeds
and proceeds from the Rights Offering, subject to the terms of the Exit Facilities Term Sheet.

         “Management Incentive Plan” has the meaning set forth in Article IV.P of the Plan.

         “Management Incentive Plan Pool” has the meaning set forth in Article IV.P of the Plan.

        “McDermott” means McDermott International, Inc. or any successor or assign, by merger, consolidation, or
otherwise, prior to the Effective Date.

       “New Board” means the board of directors of Reorganized McDermott. The identities of directors on the
New Board shall be set forth in the Plan Supplement.

         “New Common Stock” means, depending on the transaction structure and as detailed in the Restructuring
Transactions Memorandum, common equity in one or more Reorganized Debtors.

         “New DIP Term Loans” means the new money term loans to be provided under the DIP Term Loan Facility.
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         “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be consistent with the Restructuring Support Agreement
(including Section 3.02 of the Restructuring Support Agreement), this Plan, and section 1123(a)(6) of the Bankruptcy
Code (as applicable), and shall be included in the Plan Supplement.

          “New Tranche A Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) less (i) the proceeds of the Rights Offering,
(ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the Residual Prepetition
Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New Common Stock to the
holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate proceeds of the Rights
Offering divided by Plan Equity Value plus (y) the Prepetition Funded Secured Claims Excess Cash Adjustment.

          “New Tranche B Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) multiplied by 125%, less (i) the proceeds
of the Rights Offering, (ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the
Residual Prepetition Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New
Common Stock to the holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate
proceeds of the Rights Offering divided by Plan Equity Value and (y) the Prepetition Funded Secured Claims Excess
Cash Adjustment.

         “New Warrants” means, collectively, the New Tranche A Warrants and the New Tranche B Warrants.

         “New Warrants Agreements” means those certain agreements providing for, among other things, the issuance
and terms of the New Warrants, which shall be included in the Plan Supplement and in form and substance acceptable
to the Required Consenting Lenders and the Required Consenting Noteholders. The New Warrants Agreements shall
provide for full anti-dilution and Black-Scholes protection.

         “Other Prepetition Financing Claim” means any Secured Claim arising under:

              (a) that certain facility agreement dated September 30, 2010 among McDermott, as guarantor, and its
                  subsidiary NO 105 AS, as borrower, the BNP Paribas, in its capacity as facility agent and security
                  agent, and the lenders party thereto, as may be amended, supplemented, or otherwise modified from
                  time to time, to pay a portion of the construction costs of the NO 105;

              (b) that certain receivables factoring agreement dated November 25, 2016 among J. Ray McDermott de
                  Mexico S.A. de C.V. and the financing intermediaries thereto, as may be amended, supplemented,
                  or otherwise modified from time to time; or

              (c) that certain re-invoicing service agreement dated May 2019 among Bramid Outsource Limited, as
                  service provider, McDermott, as parent, and CB&I LLC, as customer.

          “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         “Other Secured Claim” means any Secured Claim other than a Revolving Credit Claim, a Term Loan Claim,
a 2021 Letter of Credit Claim, a 2023 Letter of Credit Claim, a Lloyds Letter of Credit Claim, a Cash Secured Letter
of Credit Claim, a Credit Agreement Hedging Claim, a Superpriority Term Loan Claim, a Superpriority Revolving
Facility Claim, an Other Prepetition Financing Claim, a Bilateral Facility Claim, or a DIP Claim.

         “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.
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          “Plan Distribution” means a payment or distribution to holders of Allowed Claims, Allowed Interests, or
other eligible Entities under this Plan.

         “Plan Equity Value” means $2,352,000,000.

         “Plan Objection Deadline” means the date the Bankruptcy Court establishes as the deadline to File an
objection to Confirmation of the Plan.

          “Plan Supplement” means the compilation of documents and forms of documents, agreements, schedules,
and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time to time in
accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to be Filed
prior to the Confirmation Hearing, and any additional documents Filed prior to the Effective Date as amendments to
the Plan Supplement, including the following, as applicable: (a) the New Organizational Documents; (b) to the extent
known, the identities of the members of the New Board; (c) the Assumed Executory Contracts and Unexpired Leases
Schedule; (d) the Rejected Executory Contracts and Unexpired Leases Schedule; (e) the Schedule of Retained Causes
of Action; (f) the Exit Facility Documents; (g) the definitive documentation related to the Management Incentive Plan;
(h) the Restructuring Transactions Memorandum; (i) the New Warrants Agreements; and (j) to the extent available,
the form of any Technology Business Sale Documents distributed by the Debtors to potentially interested parties, if
any. The Debtors shall have the right to alter, amend, modify, or supplement the documents contained in the Plan
Supplement up to the Effective Date as set forth in this Plan and in accordance with the Restructuring Support
Agreement (and subject to the applicable consent rights thereunder).

         “Prepetition Funded Secured Claims” means Claims in respect of (i) the Term Loans and the Revolving
Loans, (ii) any funded Prepetition Secured Letters of Credit, and (iii) the Credit Agreement Hedging Claims, but
excluding any amounts being rolled into the DIP Credit Facility.

         “Prepetition Funded Secured Claims Excess Cash Adjustment” has the meaning set forth in Article IV.D.4
of the Plan.

        “Prepetition Secured Letters of Credit” means the 2021 Letters of Credit, the 2023 Letters of Credit, the
Revolving LCs, the Lloyds Letters of Credit, and the Cash Secured Letters of Credit.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section 507(a)(8) of
the Bankruptcy Code.

         “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class bears to
the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated.

         “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          “Professional Amount” means the aggregate amount of Professional Claims and other unpaid fees and
expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors as set
forth in Article II.C of the Plan.

        “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

         “Professional Escrow Account” means an interest-bearing account funded by the Debtors with Cash on the
Effective Date in an amount equal to the Professional Amount.

         “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.
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        “Purchase Agreement” means, solely with respect to the Technology Business Sale, the share and asset
purchase agreement between the Debtors and the Purchaser.

         “Purchaser” means one or more Entities that are the purchasers with respect to the Technology Business
Sale.

          “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the Claim or
Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account of such
Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the Bankruptcy
Code.

          “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Related Party” means, collectively, current and former directors, managers, officers, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
predecessors, participants, successors, assigns, subsidiaries, affiliates, managed accounts or funds, partners, limited
partners, general partners, principals, members, management companies, fund advisors or managers, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, heirs, executors, and assigns, and other professionals, in each case solely in their capacities as such,
together with their respective past and present directors, officers, shareholders, partners, members, employees, agents,
attorneys, representatives, heirs, executors and assigns, in each case solely in their capacities as such.

         “Released Claims” means any Claims or Interests that have been released, discharged, or are subject to
exculpation pursuant to this Plan.

         “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) each current and former Affiliate of each Entity in clause (a) through (o); and (q) each Related
Party of each Entity in clause (a) through (o); provided that any holder of a Claim or Interest that opts out of the
releases shall not be a “Released Party.”

         “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) all holders of Claims or Interests that vote to accept or are deemed to accept the Plan; (q) all
holders of Claims or Interests that abstain from voting on the Plan and who do not affirmatively opt out of the releases
provided by the Plan by checking the box on the applicable ballot indicating that they opt not to grant the releases
provided in the Plan; (r) all holders of Claims or Interests that vote to reject the Plan or are deemed to reject the Plan
and who do not affirmatively opt out of the releases provided by the Plan by checking the box on the applicable ballot

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indicating that they opt not to grant the releases provided in the Plan; (s) each current and former Affiliate of each
Entity in clause (a) through (r); and (t) each Related Party of each Entity in clause (a) through (r).

         “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

        “Reorganized McDermott” means McDermott, or any successor or assign, by merger, consolidation, or
otherwise, on or after the Effective Date.

         “Required Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Lender” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Residual Prepetition Funded Secured Claims Pay Down” has the meaning set forth in Article IV.D.4 of the
Plan.

         “Restructuring Expenses” means the prepetition and postpetition reasonable and documented fees and
expenses of the Revolving and LC Administrative Agent Advisors, the Term Loan Ad Hoc Group Advisors, the Senior
Notes Ad Hoc Group Advisors, the Barclays Advisors, and the Senior Notes Trustee and its advisors, including local
and foreign counsel (in each case, in accordance with the terms of their respective engagement letters with their
respective clients, if any).

        “Restructuring Term Sheet” means the Restructuring Term Sheet attached as Exhibit A to the Restructuring
Support Agreement.

          “Restructuring Transactions” means any transaction and any actions as may be necessary or appropriate to
effect a corporate restructuring of the Debtors’ and the Reorganized Debtors’ respective businesses or a corporate
restructuring of the overall corporate structure of the Debtors on the terms set forth in the Plan, Restructuring Support
Agreement, and Restructuring Transactions Memorandum, including the issuance of all Securities, notes, instruments,
certificates, and other documents required to be issued pursuant to the Plan, one or more inter-company mergers,
consolidations, amalgamations, arrangements, continuances, restructurings, conversions, dissolutions, transfers,
liquidations, or other corporate transactions, as described in Article IV.B of the Plan.

         “Restructuring Transactions Memorandum” means a document, in form and substance acceptable to the
Required Consenting Lenders, to be included in the Plan Supplement that will set forth the material components of
the Restructuring Transactions, including the identity of the issuer or issuers of the New Common Stock and any
elections that must be made with respect to the receipt of the New Common Stock.

         “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as of
January 20, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified,
or supplemented from time to time, in accordance with its terms.

         “Revolving and LC Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in its
capacity as administrative agent for the Revolving Credit Facility and the 2023 LC Facility.



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        “Revolving and LC Administrative Agent Advisors” means Linklaters LLP, Bracewell LLP and FTI
Consulting, Inc., as advisors to the DIP LC Agent, the DIP Collateral Agent, the Revolving and LC Administrative
Agent, 2018 Collateral Agent, the Superpriority Revolving Administrative Agent and the Superpriority Collateral
Agent, and any other local or foreign advisors.

        “Revolving Credit” means the Revolving LCs and the Revolving Loans.

        “Revolving Credit Facility” means the senior secured revolving credit facility under the Credit Agreement.

        “Revolving LC Claims” means any Claim for obligations arising under, or relating to, the Revolving LCs
issued under the Revolving Credit Facility, including Claims for all principal amounts outstanding, interest, fees,
expenses, costs and other charges arising thereunder or related thereto.

         “Revolving LCs” means the letters of credit issued under and on the terms set forth under the Revolving
Credit Facility.

        “Revolving Lenders” means the lenders under the Revolving Credit Facility.

         “Revolving Loans” means the revolving loans issued under and on the terms set forth under the Revolving
Credit Facility.

        “Rights Offering” means a rights offering providing for the Consenting Noteholders with the right to purchase
up to $150 million of the New Common Stock otherwise earmarked for the holders of Prepetition Funded Secured
Claims valued at the Plan Equity Value in connection with the Restructuring Transactions and in accordance with the
Rights Offering Procedures and Section 12 of the Restructuring Support Agreement.

        “Rights Offering Procedures” means the procedures governing the Rights Offering, as approved by the
Bankruptcy Court.

         “Rights Offering Shares” means the shares of New Common Stock issued in accordance with the Rights
Offering and subject to the terms of the Rights Offering Procedures and the Restructuring Support Agreement.

         “Roll-Off LC Exit Facility” means a senior secured letter of credit exit facility pursuant to which each
outstanding Prepetition Secured Letter of Credit will be deemed issued on the Effective Date, ranked junior to the
Senior Exit LC Facility, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the
Definitive Documents to be included in the Plan Supplement.

          “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the Debtors that
are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or supplemented
from time to time.

         “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral to the
extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b)
subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          “Secured Creditor Equity Distribution” means 94% of the New Common Stock less the percentage of New
Common Stock to be turned over on account of (i) the Prepetition Funded Secured Claims Excess Cash Adjustment
and (ii) the Rights Offering, and subject to dilution on account of the Management Incentive Plan and the New
Warrants.




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        “Secured Creditor Funded Debt Distribution” means (a) Cash in an amount equal to the Residual Technology
Business Sale Proceeds; (b) Cash in an amount equal to any proceeds of the Rights Offering; (c) the Secured Creditor
Equity Distribution; and (d) the new term loans evidenced by the Term Loan Exit Facility.

          “Secured Creditor Pro Rata Share” means with respect to any recipient of any distribution from the Secured
Creditor Funded Debt Distribution under the Plan, such recipient’s pro rata share thereof measured by reference to the
aggregate amount of: (a) all Allowed Term Loan Claims, (b) all Allowed Revolving Credit Claims consisting of (x)
all Revolving Loans and (y) funded Revolving LCs, (c) all Allowed 2021 Letter of Credit Claims consisting of funded
2021 Letters of Credit, (d) all Allowed 2023 Letter of Credit Claims consisting of funded 2023 Letters of Credit, (e)
all Allowed Lloyds Letter of Credit Claims consisting of funded Lloyds Letters of Credit, and (f) all Credit Agreement
Hedging Claims consisting of Credit Agreement Hedging Obligations, that are not being rolled into the DIP Credit
Facility, in each case as of the date of such distribution.

         “Secured Letter of Credit Cap” has the meaning ascribed to it in the Exit Facilities Term Sheet.

         “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          “Senior Exit LC Facility” means a 4-year, senior secured letter of credit exit facility in an amount up to $1.326
billion, ranked junior to the Super Senior Exit Facility, on terms satisfactory to the Debtors or the Reorganized Debtors,
as applicable, and otherwise on terms satisfactory to the Required Consenting Lenders; and set forth in the Definitive
Documents to be included in the Plan Supplement; provided that the amount of the Senior Exit LC Facility shall be
reduced dollar-for-dollar for each Prepetition Secured Letter of Credit that is drawn and not reimbursed in full in Cash
during or after the Chapter 11 Cases.

        “Senior Notes” means the 10.625% senior notes due 2024 issued by certain of the Debtors pursuant to the
Senior Notes Indenture.

         “Senior Notes Ad Hoc Group” means, collectively, those certain institutions comprising the ad hoc groups of
holders of the Senior Notes represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP and Brown Rudnick LLP.

        “Senior Notes Ad Hoc Group Advisors” means Paul, Weiss, Rifkind, Wharton & Garrison LLP, Brown
Rudnick LLP, Houlihan Lokey Capital, Inc., counsel to the Senior Notes Trustee, and any local or foreign advisors.

         “Senior Notes Claims” means all principal and interest outstanding as of the Petition Date under the Senior
Notes.

        “Senior Notes Indenture” means that certain indenture dated as of April 18, 2018, by and among certain of
the Debtors and the Senior Notes Trustee, as may be amended, supplemented, or otherwise modified from time to
time.

         “Senior Notes Trustee” means UMB Bank, N.A., in its capacity as trustee for the Senior Notes Indenture.

        “Superpriority Agreement Agents” means the Superpriority Revolving Administrative Agent, the
Superpriority Collateral Agent and the Superpriority Term Loan Agent.

         “Superpriority Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as
Collateral Agent under the Superpriority Credit Agreement.

        “Superpriority Credit Agreement” means that certain superpriority senior secured credit agreement, dated
October 21, 2019, between certain of the Debtors as borrowers and guarantors, a syndicate of lenders and letter of

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credit issuers, the Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent, as amended
from time to time.

        “Superpriority Facility” means, collectively, the Superpriority Term Loan Facility and the Superpriority
Revolving Facility.

        “Superpriority Letters of Credit” means the superpriority letters of credit issued under the Superpriority
Revolving Facility.

         “Superpriority Revolving Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in
its capacity as administrative agent for the Superpriority Revolving Facility.

        “Superpriority Revolving Facility” means the superpriority secured letter of credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loan Agent” means Barclays Bank PLC in its capacity as administrative agent for the
Superpriority Term Loan Facility.

        “Superpriority Term Loan Facility” means the superpriority secured term loan credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loans” means the superpriority term loans issued under and on the terms set forth under
the Superpriority Term Loan Facility.

          “Super Senior Exit Facility” means a 4-year, super senior secured exit facility consisting of a letter of credit
facility in an amount of $743 million and the Make Whole Tranche (which Make Whole Tranche will be subordinate
in right of payment to the obligations with respect to the letters of credit under the Super Senior Exit Facility on the
terms provided therein), on terms satisfactory to the Required Consenting Lenders and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Technology Business Sale” means a sale of the Lummus Assets and Interests under this Plan, pursuant to
the Purchase Agreement, and to be agreed to or consummated by the Debtors on the Effective Date.

          “Technology Business Sale Proceeds” means Cash proceeds received from the Technology Business Sale,
net of (a) the reasonable transaction costs in connection with the Technology Business Sale, (b) taxes paid or
reasonably estimated to be payable by the Debtors or Reorganized Debtors as a result of the Technology Business
Sale, (c) any debt service payments due under the DIP Credit Agreement which are required to be repaid or otherwise
becomes due in connection with the Technology Business Sale, and (d) payment of $210 million of prepetition
accounts payable.

         “Technology Business Sale Proceeds Waterfall” means the distribution waterfall for the Technology Business
Sale Proceeds, as described in Article IV.D.3 of this Plan.

         “Term Lenders” means the lenders under the Term Loan Facility.

        “Term Loan Ad Hoc Group” means certain institutions comprising the ad hoc group of lenders in respect of
the Superpriority Term Loans and the lenders in respect of the Term Loan Facility.

         “Term Loan Ad Hoc Group Advisors” means Davis Polk & Wardwell LLP, Porter Hedges LLP, Centerview
Partners, Inc., Ankura Consulting Group, LLC, and any other local or foreign advisors.

       “Term Loan Administrative Agent” means Barclays Bank PLC, in its capacity as administrative agent for the
Term Loan Facility.

         “Term Loan Claims” means any Claim for obligations arising under, or relating to, the Term Loan Facility.
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         “Term Loan Exit Facility” means a 5-year senior secured term loan facility in an amount equal to $500 million
of take-back debt, ranked pari passu with the Roll-Off LC Exit Facility, and otherwise on terms satisfactory to the
Required Consenting Lenders, and set forth in Definitive Documents to be included in the Plan Supplement.

         “Term Loan Exit Facility Lenders” means those lenders party to the Exit Facility Agreement.

         “Term Loans” means the term loans issued and on the terms set forth under the Term Loan Facility.

         “Term Loan Facility” means the senior secured term loan facility under the Credit Agreement.

          “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to assumption
or rejection under section 365 of the Bankruptcy Code.

        “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         “Unsecured Claim” means any Claim that is not a Secured Claim.

         “Voting Deadline” means, subject to the approval of the Bankruptcy Court, February 18, 2020, or such other
date as ordered by the Bankruptcy Court.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; provided that nothing in this clause (2) shall affect any parties’ consent rights over any
of the Definitive Documents or any amendments thereto, as provided for in the Restructuring Support Agreement;
(3) unless otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not Filed,
having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended,
modified, or supplemented in accordance with the Plan or Confirmation Order, as applicable; (4) any reference to an
Entity as a holder of a Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified,
all references herein to “Articles” are references to Articles hereof or hereto; (6) unless otherwise specified, all
references herein to exhibits are references to exhibits in the Plan Supplement; (7) unless otherwise specified, the
words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;
(8) subject to the provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations arising pursuant to the Plan
shall be governed by, and construed and enforced in accordance with the applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless otherwise
specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (11) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may
be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the docket
numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless
otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs of
Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of Interests,”
“Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be interpreted by
the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan all without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all references


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herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have such
consent, acceptance, or approval rights, including by electronic mail.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

          Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the context
requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement set forth in the Restructuring Support Agreement
(including the exhibits thereto) with respect to the form and substance of this Plan, all exhibits to the Plan, and the
Plan Supplement, and all other Definitive Documents (as defined in the Restructuring Support Agreement), including
any amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this reference
(including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full herein.

       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

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                                            ARTICLE II.
                               ADMINISTRATIVE CLAIMS, DIP CLAIMS,
                          PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, or otherwise provided for under the Plan or the Restructuring Support Agreement,
each holder of an Allowed Administrative Claim (other than holders of Professional Claims and Claims for fees and
expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full and final
satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative Claim
in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not Allowed as of
the Effective Date, no later than thirty (30) days after the date on which an order allowing such Administrative Claim
becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is
based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date in accordance
with the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim without
any further action by the holders of such Allowed Administrative Claim; (4) at such time and upon such terms as may
be agreed upon by such holder and the Debtors or the Reorganized Debtors, as applicable; or (5) at such time and
upon such terms as set forth in an order of the Bankruptcy Court.

B.       DIP Claims.

         As set forth in Article IV.D of this Plan, certain of the Technology Business Sale Proceeds shall be used to
pay Allowed DIP Claims (including Allowed DIP Claims with respect to the Make Whole Amount pursuant to the
Technology Business Sale Proceeds Waterfall) outstanding on the Effective Date. Except to the extent that a holder
of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for, each holder of an Allowed DIP Claim shall receive the
following treatment:

                  (a)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP Term Loan Claim (other than the Make Whole
                            Amount, but including all principal, accrued and unpaid interest, fees and expenses and
                            non-contingent indemnity claims) shall receive payment in full in Cash;

                  (b)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall or the proceeds of the Rights Offering, each holder of an Allowed DIP Term
                            Loan Claim constituting the Make Whole Amount shall receive its Pro Rata share of the
                            term loans arising under the Make Whole Tranche;

                  (c)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP LC Claim with respect to drawn DIP Letters of
                            Credit that have not been reimbursed in full in Cash as of the Effective Date shall receive
                            payment in full in Cash;




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                  (d)      each holder of an Allowed DIP LC Claim (other than in respect of DIP Cash Secured
                           Letters of Credit) shall receive participation in the Super Senior Exit Facility in an amount
                           equal to each such holder’s DIP Letter of Credit Facility commitments;

                  (e)      each holder of a DIP Cash Secured Letter of Credit Claim shall receive participation in
                           the Cash Secured Exit LC Facility in an amount equal to such holder’s DIP Cash Secured
                           Letter of Credit Claim; provided that any cash collateral in the DIP Cash Secured LC
                           Account (as defined in the DIP Credit Facility Term Sheet) shall collateralize the Cash
                           Secured LC Exit Facility; and

                  (f)      all DIP Hedging Obligations shall be rolled into and deemed incurred under the Super
                           Senior Exit Facility.

         To the extent the Funded DIP Indebtedness is repaid in full prior to the Effective Date, the Debtors shall not
make any payments to trade vendors for penalty interest payments (excluding, for the avoidance of doubt, customary
liquidated damages to customers) unless such payments had otherwise been specified in the Approved Budget (as
defined in the DIP Credit Agreement) or authorized pursuant to the DIP Financing Orders.

C.       Professional Claims.

         1.   Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash
in the amount the Bankruptcy Court allows, including from the Professional Escrow Account, which the Reorganized
Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Amount on the
Effective Date.

         2.   Professional Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, in consultation with the Required Consenting Lenders,
establish and fund the Professional Escrow Account with Cash equal to the Professional Amount, which shall be
funded by the Reorganized Debtors. The Professional Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors.
The amount of Allowed Professional Claims shall be paid in Cash to the Professionals by the Reorganized Debtors
from the Professional Escrow Account as soon as reasonably practicable after such Professional Claims are Allowed.
When such Allowed Professional Claims have been paid in full, any remaining amount in the Professional Escrow
Account shall promptly be paid to the Reorganized Debtors without any further action or order of the Bankruptcy
Court.

         3.   Professional Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
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Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

D.       Priority Tax Claims.

          Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses, Consent Fee.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
and noteholder consent fees payable under Section 12 of the Restructuring Support Agreement payable in Cash, which,
for the avoidance of doubt, shall include the Noteholder Consent Fee (as defined in the Restructuring Support
Agreement), shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent
not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms of the
Restructuring Support Agreement, without any requirement to file a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses and Cash consent fees to be paid on the Effective Date shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least two (2) Business Days before the
anticipated Effective Date; provided that such estimates shall not be considered an admission or limitation with respect
to such Restructuring Expenses. On or as soon as practicable after the Effective Date, final invoices for all
Restructuring Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors. In addition,
the Debtors and the Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due
Restructuring Expenses related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status            Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Presumed to Accept)
                           Other Prepetition Financing                          Not Entitled to Vote
              Class 3                                           Unimpaired
                           Claims                                               (Presumed to Accept)
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                Class              Claims and Interests             Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 4      Bilateral Facility Claims             Unimpaired
                                                                                (Presumed to Accept)
              Class 5      2021 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6A     2023 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6B     Revolving Credit Claims               Impaired       Entitled to Vote

              Class 6C     Term Loan Claims                      Impaired       Entitled to Vote
                           Credit Agreement Hedging
              Class 6D                                           Impaired       Entitled to Vote
                           Claims
                           Cash Secured Letter of Credit
              Class 7                                            Impaired       Entitled to Vote
                           Claims
                           Lloyds Letter of Credit
              Class 8                                            Impaired       Entitled to Vote
                           Claims
              Class 9      Senior Notes Claims                   Impaired       Entitled to Vote
                                                                                Not Entitled to Vote
              Class 10     General Unsecured Claims              Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 11     Intercompany Claims                                  (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Equity Interests                            Not Entitled to Vote
                                                                 Unimpaired /
              Class 12     Other Than in McDermott                              (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Preferred Equity                            Not Entitled to Vote
              Class 13                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)
                           Existing Common Equity                               Not Entitled to Vote
              Class 14                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized Debtors
and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the holder of
an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
reasonably practicable thereafter.

         1.   Class 1 – Other Secured Claims

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: Each holder of an Allowed Other Secured Claim shall receive, at the option of
                           the applicable Debtor:

                           (i)         payment in full in Cash of its Allowed Other Secured Claim;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or



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                      (iv)     such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                               accordance with section 1124 of the Bankruptcy Code.

             (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    2.   Class 2 – Other Priority Claims

             (a)      Classification: Class 2 consists of all Other Priority Claims.

             (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive payment in full
                      in Cash.

             (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    3.   Class 3 – Other Prepetition Financing Claims

             (a)      Classification: Class 3 consists of all Other Prepetition Financing Claims.

             (b)      Treatment: Each Allowed Other Prepetition Financing Claim shall be Reinstated.

             (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Other Prepetition Financing
                      Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                      the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                      the Plan.

    4.   Class 4 – Bilateral Facility Claims

             (a)      Classification: Class 4 consists of all Bilateral Facility Claims.

             (b)      Treatment: Each Allowed Bilateral Facility Claim shall be Reinstated.

             (c)      Voting: Class 4 is Unimpaired under the Plan. Holders of Bilateral Facility Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    5.   Class 5 – 2021 Letter of Credit Claims

             (a)      Classification: Class 5 consists of all 2021 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2021 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2021 Letter of Credit Claims on account of unfunded 2021
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s Allowed 2021 Letter of Credit Claim,

                      (ii)     with respect to any 2021 Letter of Credit Claims on account of funded 2021
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor

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                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2021 Letter of Credit Claim pursuant to
                               Section 2.15 of the 2021 LC Agreement.

             (c)      Voting: Class 5 is Impaired under the Plan. Holders of 2021 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    6.   Class 6A – 2023 Letter of Credit Claims

             (a)      Classification: Class 6A consists of all 2023 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2023 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2023 Letter of Credit Claims on account of unfunded 2023
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s Allowed 2023 Letter of Credit Claim,

                      (ii)     with respect to any 2023 Letter of Credit Claims on account of funded 2023
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2023 Letter of Credit Claim pursuant to
                               Section 2.15 of the Credit Agreement.

             (c)      Voting: Class 6A is Impaired under the Plan. Holders of 2023 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    7.   Class 6B – Revolving Credit Claims

             (a)      Classification: Class 6B consists of all Revolving Credit Claims.

             (b)      Allowed Amount: As of the Effective Date, the Revolving Credit Claims shall be Allowed
                      and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                      Credit Facility, including all principal, accrued and unpaid interest at the applicable default
                      rate, and all accrued and unpaid fees, expenses, and noncontingent indemnity payable
                      under the Revolving Credit Facility and the DIP Financing Order.

             (c)      Treatment: Each holder of an Allowed Revolving Credit Claim shall receive:

                      (i)      with respect to any Revolving Credit Claims on account of unfunded Revolving
                               LCs, participation in the Roll-Off LC Exit Facility in an amount equal to each
                               such holder’s Allowed Revolving Credit Claim,

                      (ii)     with respect to any Revolving Credit Claims on account of (x) Revolving Loans
                               or (y) funded Revolving LCs, its Secured Creditor Pro Rata Share of the Secured
                               Creditor Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed Revolving Credit Claim pursuant to Section




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                              2.15 of the Credit Agreement.

             (d)     Voting: Class 6B is Impaired under the Plan. Holders of Revolving Credit Claims are
                     entitled to vote to accept or reject the Plan.

    8.   Class 6C – Term Loan Claims

             (a)     Classification: Class 6C consists of all Term Loan Claims.

             (b)     Allowed Amount: As of the Effective Date, the Term Loan Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Term Loan Facility,
                     including all principal, accrued and unpaid interest at the applicable default rate, and all
                     accrued and unpaid fees, expenses, and noncontingent indemnity payable under the Term
                     Loan Facility and the DIP Financing Order.

             (c)     Treatment: Each holder of an Allowed Term Loan Claim shall receive its Secured Creditor
                     Pro Rata Share of the Secured Creditor Funded Debt Distribution.

             (d)     Voting: Class 6C is Impaired under the Plan. Holders of Term Loan Claims are entitled
                     to vote to accept or reject the Plan.

    9.   Class 6D – Credit Agreement Hedging Claims

             (a)     Classification: Class 6D consists of all Credit Agreement Hedging Claims.

             (b)     Treatment: Each holder of an Allowed Credit Agreement Hedging Claim that remains
                     unpaid as of the Effective Date shall receive for any Allowed Credit Agreement Hedging
                     Claims such holder’s Secured Creditor Pro Rata Share of the Secured Creditor Funded
                     Debt Distribution.

             (c)     Voting: Class 6D is Impaired under the Plan. Holders of Credit Agreement Hedging
                     Claims are entitled to vote to accept or reject the Plan.

    10. Class 7 – Cash Secured Letter of Credit Claims

             (a)     Classification: Class 7 consists of all Cash Secured Letter of Credit Claims.

             (b)     Treatment: Each holder of an Allowed Cash Secured Letter of Credit Claim outstanding
                     as of such date shall:

                     (i)      be deemed to reissue its Cash Secured Letters of Credit under the Cash Secured
                              LC Exit Facility which shall be secured by the same cash collateral which secured
                              the Cash Secured Letters of Credit prior to the Petition Date, and

                     (ii)     payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                              due to such holder of an Allowed Cash Secured Letter of Credit Claim pursuant
                              to Section 2.15 of the Credit Agreement.

             (c)     Voting: Class 7 is Impaired under the Plan. Holders of Cash Secured Letter of Credit
                     Claims are entitled to vote to accept or reject the Plan.




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    11. Class 8 – Lloyds Letter of Credit Claims

            (a)      Classification: Class 8 consists of all Lloyds Letter of Credit Claims.

            (b)      Treatment: Each holder of an Allowed Lloyds Letter of Credit Claim shall receive:

                     (i)      with respect to any Lloyds Letter of Credit Claims on account of unfunded Lloyds
                              Letters of Credit, participation in the Roll-Off LC Exit Facility in amount equal
                              to such Allowed Lloyds Letter of Credit Claim,

                     (ii)     with respect to any Lloyds Letter of Credit Claims on account of funded Lloyds
                              Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                              Funded Debt Distribution, and

                     (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                              due to such holder of an Allowed Lloyds Letter of Credit Claim pursuant to
                              Section 2(b) of the Lloyds Letter of Credit Agreement.

            (c)      Voting: Class 8 is Impaired under the Plan. Holders of Lloyds Letter of Credit Claims are
                     entitled to vote to accept or reject the Plan.

    12. Class 9 – Senior Notes Claims

            (a)      Classification: Class 9 consists of all Senior Notes Claims.

            (b)      Allowed Amount: $[●].

            (c)      Treatment: Each holder of an Allowed Senior Notes Claim shall receive its pro rata share
                     of:

                     (i)      6% of the New Common Stock, plus additional shares of New Common Stock as
                              a result of the Prepetition Funded Secured Claims Excess Cash Adjustment,
                              subject to dilution on account of the New Warrants and the Management Incentive
                              Plan; and

                     (ii)     the New Warrants.

            (d)      Voting: Class 9 is Impaired under the Plan. Holders of Senior Notes Claims are entitled
                     to vote to accept or reject the Plan.

    13. Class 10 – General Unsecured Claims

            (a)      Classification: Class 10 consists of all General Unsecured Claims.

            (b)      Treatment: Each holder of an Allowed General Unsecured Claim shall receive, at the
                     option of the applicable Debtor:

                     (i)      payment in full in Cash; or

                     (ii)     Reinstatement.

            (c)      Voting: Class 10 is Unimpaired under the Plan. Holders of General Unsecured Claims are
                     conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                     Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                     Plan.
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    14. Class 11 – Intercompany Claims

            (a)      Classification: Class 11 consists of all Intercompany Claims.

            (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                     Debtor (with the consent of the Required Consenting Lenders), either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Intercompany Claims will not receive any distribution on account of such
                              Intercompany Claims.

            (c)      Voting: Class 11 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 11 is not entitled to vote to accept or reject the Plan.

    15. Class 12 – Existing Equity Interests Other Than in McDermott

            (a)      Classification: Class 12 consists of all Existing Equity Interests Other Than in McDermott.

            (b)      Treatment: Each Existing Equity Interests Other Than in McDermott shall be, at the option
                     of the applicable Debtor, either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Existing Equity Interests Other Than in McDermott will not receive any
                              distribution on account of such Existing Equity Interests Other Than in
                              McDermott.

            (c)      Voting: Class 12 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 12 is not entitled to vote to accept or reject the Plan.

    16. Class 13 – Existing Preferred Equity Interests

            (a)      Classification: Class 13 consists of all Existing Preferred Equity Interests.

            (b)      Treatment: Holders of Existing Preferred Equity Interests will not receive any distribution
                     on account of such Interests, which will be canceled, released, and extinguished as of the
                     Effective Date, and will be of no further force or effect.

            (c)      Voting: Class 13 is conclusively deemed to have rejected the Plan pursuant to
                     section 1126(g) of the Bankruptcy Code. Class 13 is not entitled to vote to accept or reject
                     the Plan.

    17. Class 14 – Existing Common Equity Interests

            (a)      Classification: Class 14 consists of all Existing Common Equity Interests.

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                  (b)      Treatment: Holders of Existing Common Equity Interests will not receive any distribution
                           on account of such Interests, which will be canceled, released, and extinguished as of the
                           Effective Date, and will be of no further force or effect.

                  (c)      Voting: Class 14 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve the
right, subject to the prior consent of the Required Consenting Lenders, which shall not be unreasonably withheld, to
modify the Plan in accordance with Article X hereof and the Restructuring Support Agreement to the extent, if any,
that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying
the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to
the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
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Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

         As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Superpriority
Term Loan Claims, 2021 Letter of Credit Claims, 2023 Letter of Credit Claims, Revolving LC Claims, Revolving
Loan Claims, Term Loan Claims, Cash Secured Letter of Credit Claims, Credit Agreement Hedging Claims, and
Senior Notes Claims and (2) any claim to avoid, subordinate, or disallow any 2021 Letter of Credit Claims, 2023
Letter of Credit Claims, Revolving LC Claims, Revolving Loan Claims, Term Loan Claims, Cash Secured Letter of
Credit Claims, Credit Agreement Hedging Claims, and Senior Notes Claims, whether under any provision of chapter
5 of the Bankruptcy Code, on any equitable theory (including equitable subordination, equitable disallowance, or
unjust enrichment) or otherwise. The Plan shall be deemed a motion to approve the good faith compromise and
settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such
settlement and compromise is fair, equitable, reasonable and in the best interests of the Debtors and their Estates.
Subject to Article VI hereof, all distributions made to holders of Allowed Claims and Allowed Interests (as applicable)
in any Class are intended to be and shall be final.

B.       Restructuring Transactions.

          On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The actions to implement the Restructuring Transactions may include:
(1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable
law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation
on terms consistent with the terms of the Plan and having other terms for which the applicable parties agree; (3) the
filing of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial law;
and (4) all other actions that the applicable Entities determine to be necessary, including making filings or recordings
that may be required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be
deemed to, pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as
may be necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the
Plan. On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable,
shall issue all securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Reorganized Debtors.

       On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under the Plan as necessary to consummate

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the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized Debtors. The
Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine
to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy their obligations
under the Plan. Except as set forth herein, any changes in intercompany account balances resulting from such transfers
will be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement practices
and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facility Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.

D.       Technology Business Sale.

         1.   Technology Business Sale Process.

         Following the Petition Date, in consultation with the Consultation Parties (as defined in the Bidding
Procedures), the Debtors shall continue their sale and marketing process and solicit bids for the sale or other disposition
of all or substantially all of the Technology Business Sale, in accordance with the terms and conditions of the
Restructuring Support Agreement (including the Milestones (as defined in the Restructuring Support Agreement)) and
in a manner acceptable to the Required Consenting Lenders. For the avoidance of doubt, the Debtors may only execute
an agreement for the sale or other disposition of any part of the Technology Business with the consent of the Required
Consenting Lenders.

         The Consultation Parties shall have the right to review all information, diligence, documents and other
materials provided by the Debtors or their advisors to any bidder or prospective bidder in connection with the
Technology Business Sale and to consult with the Debtors and their advisors with respect to the Technology Business
Sale. The Debtors shall provide to the Consultation Parties all term sheets, letters, proposals, offers, bids and other
materials, whether non-binding or not, that are received by the Debtors or their advisors in connection with the
Technology Business Sale within one (1) day of receipt by the Debtors or their advisors, as applicable.

         2.   Closing of the Technology Business Sale.

          On or before the Effective Date, the Debtors shall be authorized to consummate the Technology Business
Sale and, among other things, the Lummus Assets and Interests (including Executory Contracts and Unexpired Leases
assumed and assigned pursuant to Article V hereof) shall be transferred to and vest in the Purchaser free and clear of
all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Purchase Agreement and, as applicable,
the Confirmation Order or an order approving the Technology Business Sale; provided that, to the extent the
Technology Business Sale is to be consummated pursuant to the Confirmation Order, the Debtors may request entry
of any order supplementing the Confirmation Order that the Debtors believe is necessary or appropriate to implement
the terms and conditions of the Technology Business Sale. On and after the Effective Date, except as otherwise
provided in the Plan, the Debtors or the Purchaser, as applicable, may operate the Debtors’ businesses and may use,
acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.




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         3.   Technology Business Sale Proceeds Waterfall.

        Any Technology Business Sale Proceeds that have not otherwise been applied in accordance with the DIP
Credit Agreement shall be applied as follows:

                  (a)      first, to fund the minimum Cash balance of $820 million, as required by the Business Plan,

                  (b)      second, to repay Funded DIP Indebtedness (other than the Make Whole Amount);

                  (c)      third, payment of the Make Whole Amount; and

                  (d)      fourth, to fund cash to support new or additional letters of credit sufficient to meet the
                           $2.44 billion letter of credit capacity contemplated by the Exit Facilities Term Sheet; and

                  (e)      fifth, the repayment of Prepetition Funded Secured Claims on a Pro Rata basis.

         4.   Residual Prepetition Funded Secured Claims Pay Down.

          On the Effective Date, the Prepetition Funded Secured Claims will be repaid on a pro rata basis from (i) the
Residual Technology Business Sale Proceeds and (ii) any available Cash (such available Cash shall exclude Cash held
in variable interest entities associated with joint venture and consortium arrangements, Cash trapped in foreign
jurisdictions, and insurance captive Cash) in excess of $820 million available cash at emergence after payment of all
fees and transaction expenses ((i) and (ii) together the “Residual Prepetition Funded Secured Claims Pay Down”).

          If the Residual Prepetition Funded Secured Claims Pay Down amount is greater than $0, the initial allocation
of 94% of the New Common Stock to the holders of Prepetition Funded Secured Claims shall be reduced, and the initial
allocation of 6% of the New Common Stock to holders of Senior Notes Claim shall be increased, by the percentage
calculated by dividing:

                  (a)      the Residual Prepetition Funded Secured Claims Pay Down amount by

                  (b)      an amount equal to:

                           (i)      the aggregate amount of Prepetition Funded Secured Claims (including, without
                                    limitation, principal and any accrued prepetition or postpetition interest at the
                                    default rate as applicable) minus an amount equal to the sum of (y) the aggregate
                                    amount of the loans to be issued under the Term Loan Exit Facility and (z) any
                                    proceeds of the Rights Offering up to $150 million; divided by

                           (ii)     94% minus an amount equal to (y) the aggregate proceeds of the Rights Offering up
                                    to $150 million divided by (z) Plan Equity Value

(such adjustment of initial allocations, the “Prepetition Funded Secured Claims Excess Cash Adjustment”).

          For the avoidance of doubt, if the Technology Business Sale Proceeds paid pursuant to the Technology
Business Sale Proceeds Waterfall have not paid the Make Whole Amount in full, all proceeds of the Rights Offering
will (a) first go to the pay down of the Make Whole Amount and (b) once the Make Whole Amount is paid in full, the
Prepetition Funded Secured Claims will be repaid on a pro rata basis from such remaining proceeds of the Rights
Offering.

E.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations, the Rights Offering, or the Technology Business Sale in accordance

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with the Technology Business Sale Proceeds Waterfall, as applicable; (2) the New Common Stock; (3) the proceeds
from the Rights Offering; (4) the New Warrants; and (5) the proceeds from the Exit Facilities, as applicable.

         1.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities, the terms of which will
be set forth in the Exit Facility Documents.
         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facility Documents, and incur and pay any fees and expenses in
connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.
          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Exit Facility
Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the collateral
specified in the Exit Facility Documents. To the extent provided in the Exit Facility Documents, the Exit Facility
Agents or holder(s) of Liens under the Exit Facility Documents are authorized to file with the appropriate authorities
mortgages, financing statements and other documents, and to take any other action in order to evidence, validate, and
perfect such Liens or security interests. The guarantees, mortgages, pledges, Liens, and other security interests granted
to secure the obligations arising under the Exit Facility Documents have been granted in good faith, for legitimate
business purposes, and for reasonably equivalent value as an inducement to the lenders thereunder to extent credit
thereunder shall be deemed not to constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be
subject to avoidance, recharacterization, or subordination for any purposes whatsoever and shall not constitute
preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law,
and the priorities of such Liens and security interests shall be as set forth in the Exit Facility Documents. The
Reorganized Debtors and the persons and entities granted such Liens and security interests shall be authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and perfect
such Liens and security interests under the provisions of the applicable state, federal, or other law that would be
applicable in the absence of the Plan and the Confirmation Order (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order and any such filings, recordings, approvals, and
consents shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.
         In no event shall the sum of (v) the face amount of letters of credit issued and outstanding at any time under
the Senior Exit LC Facility, plus (w) the face amount of letters of credit issued and outstanding at any time under the
Super Senior Exit Facility, plus (x) the face amount of letters of credit issued or deemed issued and outstanding at any
time under the Roll-Off LC Exit Facility, plus (y) the face amount of letters of credit issued and outstanding at any
time under the Cash Secured LC Exit Facility, exceed the Secured Letter of Credit Cap plus permitted incremental
capacity set forth in the Exit Facilities Term Sheet.
         2.   Issuance of New Common Stock.

          The issuance of the New Common Stock, including the Rights Offering Shares and any options or other
equity awards, if any, reserved for the Management Incentive Plan and the New Warrants, by the Reorganized Debtors
(as set forth in the Restructuring Transactions Memorandum) shall be authorized without the need for any further
corporate action or without any further action by the holders of Claims or Interests. The Reorganized Debtors shall
be authorized to issue a certain number of shares, units or equity interests (as the case may be based on how the New
Common Stock is denominated and the identity of the Reorganized Debtor issuing such shares, units, or equity
interests) of New Common Stock required to be issued under the Plan and pursuant to their New Organizational
Documents. On the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall issue all Securities, notes,
instruments, certificates, and other documents required to be issued pursuant to the Plan.

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          All of the shares, units, or equity interests (as the case may be based on how the New Common Stock is
denominated) of New Common Stock issued or authorized to be issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI hereof shall be
governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance.

          On the Effective Date or as soon as reasonably practicable thereafter, the New Common Stock will be
distributed in accordance with the Plan.

         3.   Rights Offering.

         In accordance with the Restructuring Support Agreement, the applicable Reorganized Debtor shall
consummate the Rights Offering, through which each Consenting Noteholder shall have the opportunity, subject to
the terms and conditions set forth in the Plan and the Rights Offering Procedures, to purchase the Rights Offering
Shares.

          The Rights Offering Procedures shall be approved within 5 days of Petition Date and shall provide for a
subscription deadline of no later than the Voting Deadline. Subscription rights to participate in the Rights Offering
shall be distributed to the Consenting Noteholders in accordance with the Restructuring Support Agreement, the
Restructuring Term Sheet, and the Plan and the issuance of such subscription rights will be exempt from SEC
registration under applicable law. Proceeds of the Rights Offering to be used (a) first, for Cash pay down of any
portion Make Whole Amount that is not paid in full in Cash from Technology Business Sale Proceeds in accordance
with the Technology Business Sale Proceeds Waterfall and (b) second, for Cash pay down of Prepetition Funded
Secured Claims.

         4.   Issuance of New Warrants.

          On the Effective Date, the applicable Reorganized Debtor (as set forth in the Restructuring Transactions
Memorandum) will issue the New Warrants only to the extent required to provide for distributions to holders of the
Senior Notes Claims, as contemplated by this Plan. All of the New Warrants issued pursuant to the Plan shall be duly
authorized without the need for any further corporate action and without any further action by the Debtors or
Reorganized Debtors, as applicable, validly issued, fully paid, and non-assessable. Each distribution and issuance
referred to in Article VI hereof shall be governed by the terms and conditions set forth in the Restructuring Support
Agreement, the Plan, and the New Warrant Agreements applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance without the need for execution by any party thereto other
than the applicable Reorganized Debtor(s).

         The New Warrants shall be distributed to holders of Senior Notes Claims in accordance with the
Restructuring Support Agreement and the Plan. The New Warrants shall have full customary anti-dilution and Black-
Scholes protection.

F.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise,
in each case, consistent with the Plan and the Restructuring Support Agreement, and to the extent such documents are
amended in accordance therewith, such documents are deemed to be amended pursuant to the Plan and require no
further action or approval (other than any requisite filings required under applicable state, provincial, or federal law).

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After the Effective Date, the respective certificate of incorporation and bylaws (or other formation documents) of one
or more of the Reorganized Debtors may be amended or modified on the terms therein without supervision or approval
by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. After the Effective
Date, one or more of the Reorganized Debtors may be disposed of, dissolved, wound down, or liquidated without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.

G.       Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan shall vest in each
respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and after the
Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor may operate its business and may
use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

H.       Cancellation of Existing Securities and Agreements.

           On the Effective Date, except to the extent otherwise provided in the Plan or the Confirmation Order, all
notes, instruments, certificates, credit agreements, indentures, and other documents evidencing Claims or Interests
shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied
in full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities,
and other documentation will have no rights arising from or relating to such instruments, Securities, and other
documentation, or the cancellation thereof, except the rights provided for pursuant to this Plan. Notwithstanding
anything to the contrary herein, but subject to any applicable provisions of Article VI hereof, to the extent cancelled
pursuant to this paragraph, the DIP Credit Agreement, 2021 LC Agreement, the Credit Agreement, and the Senior
Notes Indenture shall continue in effect solely to the extent necessary to: (1) permit holders of Claims under the DIP
Credit Agreement, the 2021 LC Agreement, the Credit Agreement, and the Senior Notes Indenture to receive their
respective Plan Distributions, if any; (2) permit the Reorganized Debtors and the Disbursing Agent, as applicable, to
make Plan Distributions on account of the Allowed Claims under the DIP Credit Agreement, the 2021 LC Agreement,
the Credit Agreement, and the Senior Notes Indenture, as applicable; (3) permit each of the DIP Agents, the Revolving
and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, the
Superpriority Term Loan Agent, and the Senior Notes Trustee to seek compensation and/or reimbursement of fees
and expenses in accordance with the terms of this Plan; and (4) permit each of the DIP Agent, the Revolving and LC
Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, Superpriority Term
Loan Agent, and the Senior Notes Trustee to appear and be heard in the Chapter 11 Cases or in any proceeding in the
Bankruptcy Court, including to enforce any obligation owed to the DIP Agent, the Revolving and LC Administrative
Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, the Superpriority Term Loan Agent,
and the Senior Notes Trustee, or holders of Claims under the DIP Credit Agreement, the 2021 LC Agreement, the
Credit Agreement, and the Senior Notes Indenture. Except as provided in this Plan (including Article VI hereof), on
the Effective Date, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan Administrative
Agent, the 2021 LC Administrative Agent, the Superpriority Term Loan Agent, and the Senior Notes Trustee, and
their respective agents, successors, and assigns, shall be automatically and fully discharged of all of their duties and
obligations associated with the DIP Credit Agreement, the 2021 LC Agreement, the Credit Agreement, and the Senior
Notes Indenture, as applicable. To the extent cancelled in accordance with this paragraph, the commitments and
obligations (if any) of the holders of the Senior Notes and the lenders under the DIP Credit Agreement, the Credit
Agreement, and the 2021 LC Agreement to extend any further or future credit or financial accommodations to any of
the Debtors, any of their respective subsidiaries or any of their respective successors or assigns under the 2021 LC
Agreement, the Credit Agreement, and the Senior Notes Indenture, as applicable, shall fully terminate and be of no
further force or effect on the Effective Date.



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I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Compensation and Benefit Programs;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock; (4) implementation of the Restructuring Transactions, including the Rights Offering; (5) issuance
and distribution of the New Warrants; (6) entry into the New Warrants Agreements and the Exit Facility Documents,
as applicable; (7) all other actions contemplated under the Plan (whether to occur before, on, or after the Effective
Date); (8) adoption of the New Organizational Documents; (9) the rejection, assumption, or assumption and
assignment, as applicable, of Executory Contracts and Unexpired Leases; and (10) all other acts or actions
contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate, partnership,
limited liability company, or other governance action required by the Debtors or the Reorganized Debtor, as
applicable, in connection with the Plan shall be deemed to have occurred and shall be in effect, without any
requirement of further action by the Security holders, members, directors, or officers of the Debtors or the Reorganized
Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the
New Common Stock, the New Organizational Documents, the Exit Facility Documents, the New Warrants, the New
Warrants Agreements (as applicable), and any and all other agreements, documents, Securities, and instruments
relating to the foregoing. The authorizations and approvals contemplated by this Article IV.I shall be effective
notwithstanding any requirements under non-bankruptcy law.

J.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state or country of organization if and to the extent required
in accordance with the applicable laws of the respective state or country of organization. The New Organizational
Documents will (a) prohibit the issuance of non-voting equity Securities, to the extent required under
section 1123(a)(6) of the Bankruptcy Code and (b) provide for customary minority shareholder protections and
information and reporting requirements subject to the consent rights set forth in Section 3.02 of the Restructuring
Support Agreement.

          After the Effective Date, the Reorganized Debtors may amend and restate their respective New
Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may file such amended
certificates or articles of incorporation, bylaws, or such other applicable formation documents, and other constituent
documents as permitted by the laws of the respective states, provinces, or countries of incorporation and the New
Organizational Documents.

K.       Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for current and
former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other professionals
of the Debtors, as applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of
the Plan on terms no less favorable to such current and former directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtors than the indemnification provisions in place
prior to the Effective Date[; provided that the Reorganized Debtors shall not indemnify officers, directors, managers,
employees, attorneys, accountants, investment bankers, or other professionals of the Debtors for any claims or Causes


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of Action arising out of or relating to any act or omission that is a criminal act or constitutes intentional fraud, gross
negligence, or willful misconduct.]

L.       Directors and Officers of the Reorganized Debtors.

         The New Board will consist of [●] directors: (i) the Chief Executive Officer of Reorganized McDermott, (ii)
[●] directors selected by the Required Consenting Term Lenders, and (iii) [●] directors selected by the Required
Consenting Revolving Lenders and the Required Consenting LC Lenders. The identities of directors on the New
Board shall be set forth in the Plan Supplement to the extent known at the time of filing. Corporate governance for
Reorganized McDermott, including charters, bylaws, operating agreements, or other organization documents, as
applicable, shall: (a) be consistent with the Restructuring Term Sheet, Section 3 of the Restructuring Support
Agreement, and section 1123(a)(6) of the Bankruptcy Code; and (b) provide for customary minority shareholder
protections and information and reporting requirements reasonably acceptable to the Debtors and the Required
Consenting Stakeholders.

M.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants; (2) the Restructuring Transactions; (3) the
creation, modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
other security interest, or the securing of additional indebtedness by such or other means; (4) the making, assignment,
or recording of any lease or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations
under and in connection with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of, contemplated
by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, sales or use tax,
mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other
similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental assessment and accept
for filing and recordation any of the foregoing instruments or other documents without the payment of any such tax,
recordation fee, or governmental assessment. All filing or recording officers (or any other Person with authority over
any of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of section
1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any such
tax or governmental assessment.

O.       Director and Officer Liability Insurance.

         Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code
effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair,

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or otherwise modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

P.       Management Incentive Plan.

          Effective on the Effective Date, the Reorganized Debtors will reserve 7.5% of New Common Stock (on a
fully diluted and fully distributed basis) which may be granted in the form of options, restricted stock, restricted stock
units, warrants, stock appreciations rights or any combination thereof (each an “Award” and such reserve, the “MIP
Pool”) for grant to management employees and members of the New Board and enter into severance and change in
control arrangements (“Severance Arrangements”) with senior executives of the Debtors that are insiders pursuant
to Section 16 of the Exchange Act (“Senior Executives”) in amounts and on terms and conditions to be agreed with
and approved by the Required Consenting Lenders. The New Board shall grant no less than 53.33% of the MIP Pool
to the employees of the Debtors no later than 60 days following the Effective Date (the “Emergence Awards”) with
the terms of the Emergence Awards to be determined as set forth below and the remainder of the MIP Pool will be
available for future grants to management employees and members of the New Board with allocations, terms and
conditions to be determined by the New Board. From the Petition Date through entry of the Confirmation Order, the
Debtors, the Required Consenting Lenders and any consultants or advisors engaged by the Required Consenting
Lenders will use commercially reasonable efforts to agree on an allocation schedule and the terms, conditions, vesting
and composition (including, for the avoidance of doubt, which may be in any form of Award) of the Emergence
Awards (together, the “MIP Proposal”), and during this period the Debtors will use commercially reasonable efforts
to facilitate meetings between the Required Consenting Lenders and the Debtors’ key management personnel. As
soon as reasonably practicable following the Effective Date but no later than 60 days following the Effective Date,
the New Board shall consider the MIP Proposal for approval and New Board shall determine the final terms and
conditions of the actual grants. A Senior Executive will be permitted to voluntarily terminate for “Good Reason” and
receive the severance benefits under the Severance Arrangements if the Senior Executive does not receive an
Emergence Award.

Q.       Employee and Retiree Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all employee wages, compensation, and
benefit programs in place as of the Effective Date with the Debtors shall be assumed by the Reorganized Debtors and
shall remain in place as of the Effective Date, and the Reorganized Debtors will continue to honor such agreements,
arrangements, programs, and plans. For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy
Code, from and after the Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law. On the Effective Date, the Debtors shall
enter into severance and change in control arrangements with Senior Executives in amounts and on terms and
conditions to be agreed with and approved by the Required Consenting Lenders.

R.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations


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contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. The
Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of the
Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained
Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the objection
party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of Action of
the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the
Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or
as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in Article V.H.1 and elsewhere herein, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
Reorganized Debtor (and assigned to the party(ies) set forth in the Technology Business Sale Documents, as
applicable) in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule; (2)
previously expired or terminated pursuant to their own terms; (3) have been previously assumed or rejected by the
Debtors pursuant to a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or
(5) have an ordered or requested effective date of rejection that is after the Effective Date.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective

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as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right to alter, amend, modify, or supplement the Assumed Executory Contracts and Unexpired Leases Schedule
and the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to forty-five (45) days after the
Effective Date, so long as such allocation, amendment, modification, or supplement is consistent with the
Restructuring Support Agreement; provided that the Cameron LNG Project Obligations shall be assumed as of the
Effective Date in accordance with Article V.J.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.13 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         No later than seven (7) calendar days before the Confirmation Hearing, the Debtors shall provide notices of
proposed Cure amounts to the counterparties to the agreements listed on the Assumed Executory Contracts and
Unexpired Leases Schedule, which shall include a description of the procedures for objecting to the proposed Cure
amounts or the Reorganized Debtors’ ability to provide “adequate assurance of future performance thereunder” (within
the meaning of section 365 of the Bankruptcy Code). Unless otherwise agreed in writing by the parties in the
applicable Executory Contract or Unexpired Lease, any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption or related Cure amount must be Filed, served, and actually received by the
counsel to the Debtor no later than the date and time specified in the notice. Any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption or Cure amount will be deemed to have
assented to such assumption or Cure amount. Notwithstanding anything herein to the contrary, in the event that any
Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases Schedule
after such seven-day deadline, a notice of proposed Cure amounts with respect to such Executory Contract or
Unexpired Lease will be sent promptly to the counterparty thereof.

         Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or Unexpired
Lease, all requests for payment of Cure that differ from the amounts paid or proposed to be paid by the Debtors or the

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Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court on or before thirty (30) days after the
Effective Date. Any such request that is not timely filed shall be disallowed and forever barred, estopped, and enjoined
from assertion, and shall not be enforceable against any Reorganized Debtor, without the need for any objection by
the Reorganized Debtors or any other party in interest or any further notice to or action, order, or approval of the
Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and discharged upon payment by the Debtors
or the Reorganized Debtors of the Cure; provided that nothing herein shall prevent the Reorganized Debtors from
paying any Cure despite the failure of the relevant counterparty to file such request for payment of such Cure amount.
The Reorganized Debtors also may settle any Cure without any further notice to or action, order, or approval of the
Bankruptcy Court.

          The Debtors or the Reorganized Debtors, as applicable, shall pay the Cure amounts, if any, on the Effective
Date or as soon as reasonably practicable thereafter, or on such other terms as the parties to such Executory Contracts
or Unexpired Leases may agree. If there is any dispute regarding any Cure, the ability of the Reorganized Debtors or
any assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption, then payment of the applicable Cure amount shall
occur as soon as reasonably practicable after entry of a Final Order resolving such dispute, approving such assumption
(and, if applicable, assignment), or as may be agreed upon by the Debtors or the Reorganized Debtors, as applicable,
and the counterparty to the Executory Contract or Unexpired Lease.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result in
the full release and satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including
defaults of provisions restricting the change in control or ownership interest composition or any bankruptcy-related
defaults, arising at any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including pursuant
to the Confirmation Order, shall be deemed disallowed and expunged as of the later of (1) the date of entry of
an order of the Bankruptcy Court (including the Confirmation Order) approving such assumption, (2) the
effective date of such assumption or (3) the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, (1) the
Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and instruments
relating to coverage of all insured Claims and (2) such insurance policies and any agreements, documents, or
instruments relating thereto shall revest in the Reorganized Debtors.

F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.


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G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Employee Compensation and Benefits.

         1.   Compensation and Benefit Programs.

        Subject to the provisions of the Plan, all Compensation and Benefits Programs shall be treated as Executory
Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions of sections 365
and 1123 of the Bankruptcy Code, except for:

         a.       all employee equity or equity-based incentive plans, and any provisions set forth in the
                  Compensation and Benefits Program that provide for rights to acquire Existing Equity Interests in
                  any of the Debtors;

         b.       the change in control agreements entered into with current employees, unless otherwise determined
                  by the Required Consenting Lenders prior to the Effective Date;

         c.       Compensation and Benefits Programs that have been rejected pursuant to an order of a Bankruptcy
                  Court; and

         d.       Compensation and Benefits Programs that, as of the entry of the Confirmation Order, have been
                  specifically waived by the beneficiaries of any employee benefit plan or contract.

          Any assumption of Compensation and Benefits Programs pursuant to the terms herein shall be deemed not
to trigger (i) any applicable change of control, immediate vesting, termination (similar provisions therein) and (ii) an
event of “Good Reason” (or a term of like import), in each case as a result of the consummation of the Restructuring
Transactions. No counterparty shall have rights under a Compensation and Benefits Program assumed pursuant to the
Plan other than those applicable immediately prior to such assumption.

         On the Effective Date, the Debtors shall enter into severance and change in control arrangements with Senior
Executives in amounts and on terms and conditions to be agreed with and approved by the Required Consenting
Lenders.

         2.       Workers’ Compensation Programs.

          As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized Debtors
shall continue to honor their obligations under: (a) all applicable workers’ compensation laws in states in which the
Reorganized Debtors operate; and (b) the Debtors’ written contracts, agreements, agreements of indemnity,
self-insured workers’ compensation bonds, policies, programs, and plans for workers’ compensation and workers’
compensation insurance. All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court; provided that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to any such contracts, agreements, policies,
programs, and plans; provided further that nothing herein shall be deemed to impose any obligations on the Debtors
in addition to what is provided for under applicable state law.

I.       Contracts and Leases Entered Into After the Petition Date.

       Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized


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Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

J.       Assumption of Cameron LNG Project Obligations

         The Cameron LNG Project Obligations shall be assumed by the applicable Reorganized Debtor effective as
of the Effective Date, and the Cameron LNG Project Obligations shall not be subject to the provision of Section V.A.
hereof authorizing the Debtors or Reorganized Debtors, as applicable, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date. Within three Business Days after the
Effective Date, Reorganized McDermott shall issue the Cameron LNG Replacement Guarantee and the Chiyoda
Replacement Guarantee.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date.

           Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors, as the case may be, and the holder of the applicable Allowed Claim on the first Distribution
Date, the Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed on or
before the Effective Date, subject to the Reorganized Debtors’ right to object to Claims; provided that (1) Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business during the
Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the ordinary
course of business in accordance with the terms and conditions of any controlling agreements, course of dealing,
course of business, or industry practice, (2) Allowed Priority Tax Claims shall be paid in accordance with Article II.D
of the Plan, and (3) Allowed General Unsecured Claims shall be paid in accordance with Article III.B.13 of the Plan.
To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be paid
in full in Cash in accordance with the terms of any agreement between the Debtors and the holder of such Claim or as
may be due and payable under applicable non-bankruptcy law or in the ordinary course of business. Thereafter, a
Distribution Date shall occur no less frequently than once in every ninety (90) day period, as necessary, in the
Reorganized Debtors’ sole discretion.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Reorganized Debtors. The Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation


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and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Disbursing Agent shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors.

         3.   Minimum Distributions.

          No fractional shares of New Common Stock or New Warrants shall be distributed and no Cash shall be
distributed in lieu of such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed
Claim or Allowed Interest (as applicable) would otherwise result in the issuance of a number of shares of New
Common Stock or New Warrants that is not a whole number, the actual distribution of shares of New Common Stock
or New Warrants shall be rounded to the next lower whole number with no further payment therefor. The total number
of authorized shares of New Common Stock or New Warrants to be distributed to holders of Allowed Claims
hereunder shall be adjusted as necessary to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         5.   Surrender of Canceled Instruments or Securities.

          On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.H hereof shall be deemed to
have surrendered such certificate or instrument to the Distribution Agent. Such surrendered certificate or instrument
shall be cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of
any non-Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect
to any indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect
for purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not apply to certificates
or instruments evidencing Claims that are Unimpaired under the Plan.


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E.       Manner of Payment.

         1. All distributions of the New Common Stock and the New Warrants to the holders of the applicable
Allowed Claims under the Plan shall be made by the Disbursing Agent on behalf of the Debtors or Reorganized
Debtors, as applicable.

         2. All distributions of Cash to the holders of the applicable Allowed Claims under the Plan shall be made
by the Disbursing Agent on behalf of the applicable Debtor or Reorganized Debtor.

          3. At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

F.       Section 1145 Exemption.

          Pursuant to section 1145 of the Bankruptcy Code or any other applicable exemption, the offering, issuance,
and distribution of the New Common Stock (including the Rights Offering Shares) and the New Warrants, as
contemplated by Article III.B hereof, shall be exempt from, among other things, the registration requirements of
section 5 of the Securities Act and any other applicable law requiring registration prior to the offering, issuance,
distribution, or sale of Securities. In addition, under section 1145 of the Bankruptcy Code, the New Common Stock
and the New Warrants will be freely tradable in the U.S. by the recipients thereof, subject to the provisions of
(i) section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the
Securities Act, (ii) compliance with applicable securities laws and any rules and regulations of the Securities and
Exchange Commission, if any, applicable at the time of any future transfer of such Securities or instruments, and (iii)
any restrictions in the Reorganized Debtors’ New Organizational Documents.

G.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, Disbursing Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the DIP Financing Orders, the Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any
prepetition Claims, and no holder of a Claim shall be entitled to interest accruing on or after the Petition Date on such
Claim.

J.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
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exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

K.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court
of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of
any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all
claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the applicable
holder. In no event shall any holder of a Claim be entitled to recoup such Claim against any claim, right, or Cause of
Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G hereof on or before
the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder asserts, has, or
intends to preserve any right of recoupment.

L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.




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                                            ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         There is no requirement to file a Proof of Claim (or move the Bankruptcy Court for allowance) to have a
Claim Allowed for the purposes of the Plan, except as provided in Article V.B of the Plan. On and after the Effective
Date, except as otherwise provided in this Plan, all Allowed Claims shall be satisfied in the ordinary court of business
of the Reorganized Debtors. The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
authority to (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a
claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under this Plan. If the Debtors or Reorganized Debtors dispute any
Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the manner as if the
Chapter 11 Cases had not been commenced and shall survive the Effective Date as if the Chapter 11 Cases had not
been commenced; provided that the Debtors or Reorganized Debtors may elect, at their sole option, to object to any
Claim (other than Claims expressly Allowed by this Plan) and to have the validity or amount of any Claim adjudicated
by the Bankruptcy Court; provided further that holders of Claims may elect to resolve the validity or amount of any
Claim in the Bankruptcy Court. If a holder makes such an election, the Bankruptcy Court shall apply the law that
would have governed the dispute if the Chapter 11 Cases had not been filed. All Proofs of Claim Filed in the
Chapter 11 Cases shall be considered objected to and Disputed without further action by the Debtors. Except as
otherwise provided herein, all Proofs of Claim Filed after the Effective Date shall be disallowed and forever
barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any further notice to or action, order, or
approval of the Bankruptcy Court.

B.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.R of the Plan.

D.       Estimation of Claims and Interests..

          Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent
or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in
interest previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during
the litigation of any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding
any provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject
to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated

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Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or Interest for all
purposes under the Plan (including for purposes of distributions), and the relevant Reorganized Debtor may elect to
pursue any supplemental proceedings to object to any ultimate distribution on such Claim or Interest.

E.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

F.       Disallowance of Claims or Interests.

          Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which property is
sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the
Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547,
548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors or
the Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final
Order that such Entity or transferee is liable to turn over any property or monies under any of the aforementioned
sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property by the date set
forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if only
the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Disbursing Agent shall provide to the holder of such Claim or
Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

I.       No Interest.

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is made
on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Definitive Documents, the Plan, or in any contract, instrument, or other agreement or document created or entered
into pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
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satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any
of their assets or properties, regardless of whether any property shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to services
performed by employees of the Debtors prior to the Effective Date and that arise from a termination of employment,
any contingent or non-contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501
of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to section
502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The Confirmation
Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims) and Interests
(other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or in
any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and
assigns. Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and
directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of
any Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable
agents for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.

         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facility Agents that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.       Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is, and is deemed hereby to be, fully, conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized
Debtors, their Estates, and any person seeking to exercise the rights of the Debtors or their Estates, including
any successors to the Debtors or any Estates representatives appointed or selected pursuant to section
1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves and their respective successors, assigns,
and representatives, and any and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and Causes of

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Action, including any derivative claims asserted or assertable on behalf of the Debtors, whether known or
unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort or otherwise, that the Debtors, the Reorganized Debtors, or their
Estates, including any successors to the Debtors or any Estates representative appointed or selected pursuant
to section 1123(b) of the Bankruptcy Code, would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim against, or Interest in, a Debtor or other
Entity, or that any Holder of any Claim against, or Interest in, a Debtor or other Entity could have asserted on
behalf of the Debtors, based on or relating to, or in any manner arising from, in whole or in part:

    1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
         business or contractual arrangement between the Debtors and any Released Party, any Securities
         issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
         against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
         excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
         Debtors), intercompany transactions between or among a Company Party and another Company
         Party, the Superpriority Credit Agreement, the Credit Agreement, the 2021 LC Agreement, the Lloyds
         Letter of Credit Agreement, the Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the
         formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
         Agreement, the Disclosure Statement, the DIP Credit Agreement, the Exit Facility Documents, or the
         Plan (including, for the avoidance of doubt, the Plan Supplement);

    2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
         document or other agreement contemplated by the Plan or the reliance by any Released Party on the
         Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
         with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
         Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
         Supplement, before or during the Chapter 11 Cases;

    3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement or the Plan, the
         solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
         Consummation, the administration and implementation of the Plan, including the issuance or
         distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
         under the Plan or any other related agreement; or

    4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
         any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
         other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) post
Effective Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, any Definitive Document, or any other document, instrument, or agreement (including those set
forth in the Plan Supplement) executed to implement the Plan, including the Exit Facility Documents, the New
Warrants Agreements, or any Claim or obligation arising under the Plan, or (ii) the rights of any holder of
Allowed Claims to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Debtor release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding
that the foregoing Debtor release is: (a) in exchange for the good and valuable consideration provided by the
Released Parties, including, without limitation, the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (b) a good faith settlement and compromise of the
Claims released by the foregoing Debtor release; (c) in the best interests of the Debtors and their Estates and
all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and


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opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates
asserting any Claim or Cause of Action released pursuant to the foregoing Debtor release.

D.         Releases by the Releasing Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely, unconditionally, irrevocably
and forever, released and discharged by each Releasing Party, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may purport to assert
any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, from any
and all Claims and Causes of Action, whether known or unknown, foreseen or unforeseen, matured or
unmatured, existing or hereafter arising, contingent or non-contingent, in law, equity, contract, tort, or
otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of the holder of
any Claim against, or Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest
in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part:

      1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
           business or contractual arrangement between the Debtors and any Releasing Party, any Securities
           issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
           against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
           excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
           Debtors), intercompany transactions between or among a Company Party and another Company
           Party, the Superpriority Credit Agreement, the Credit Agreement, the 2021 LC Agreement, the Lloyds
           Letter of Credit Agreement, Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the
           formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
           Agreement, the Disclosure Statement, the DIP Credit Agreement, the Exit Facility Documents, or the
           Plan (including, for the avoidance of doubt, the Plan Supplement);

      2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
           (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
           document or other agreement contemplated by the Plan or the reliance by any Released Party on the
           Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
           with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
           Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
           Supplement, before or during the Chapter 11 Cases,

      3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement, or the Plan, the
           solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
           Consummation, the administration and implementation of the Plan, including the issuance or
           distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
           under the Plan or any other related agreement; or

      4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
           any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
           other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) any
party of any obligations related to customary banking products, banking services or other financial
accommodations (except as may be expressly amended or modified by the Plan and the Exit Facility
Documents, or any other financing document under and as defined therein), (ii) any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring Transaction, or
any document, instrument, any Definitive Document, or any agreement (including those set forth in the Plan

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Supplement) executed to implement the Plan, including the Exit Facility Documents, the New Warrants
Agreements, or any Claim or obligation arising under the Plan, or (iii) the rights of holders of Allowed Claims
to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing third-party release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that
the foregoing third-party release is: (a) consensual; (b) essential to the Confirmation of the Plan; (c) given in
exchange for a substantial contribution and for the good and valuable consideration provided by the Released
Parties that is important to the success of the Plan; (d) a good faith settlement and compromise of the Claims
released by the foregoing third-party release; (e) in the best interests of the Debtors and their Estates; (f) fair,
equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and (h) a bar to
any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the foregoing third-
party release.

E.       Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party shall be released and exculpated from any Claims
and Cause of Action for any claim related to any act or omission in connection with, relating to, or arising out
of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or termination of the
Restructuring Support Agreement and related prepetition transactions (including the Superpriority Credit
Agreement, the Credit Agreement, the Senior Notes Indenture or Senior Notes, the 2021 LC Agreement, and
the Lloyds Letter of Credit Agreement), the Disclosure Statement, the Plan, the DIP Credit Facility, the Exit
Facility Documents, the New Warrants Agreements, the Plan Supplement, the Rights Offering, or any
Restructuring Transaction, contract, instrument, release or other agreement or document (including any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu
of such legal opinion), including any Definitive Document, created or entered into before or during the Chapter
11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
pursuit of Consummation, the administration and implementation of the Plan, including the issuance or
distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.       Injunction.

         Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations or
distributions issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who
have held, hold, or may hold the Released Claims are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any Released Claims;
(2) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or

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order against such Entities on account of or in connection with or with respect to any Released Claims;
(3) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the property
of such Entities on account of or in connection with or with respect to any Released Claims; (4) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities or against
the property or the Estates of such Entities on account of or in connection with or with respect to any Released
Claims unless such holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such holder asserts,
has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any Released Claims released or settled pursuant to the Plan.

        Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Each holder of an
Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions under
or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have
consented to the injunction provisions set forth in this Article VIII.F hereof.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                       ARTICLE IX.
                    CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         a.   the Debtors shall have achieved the Achievement Target; and



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    b.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be a Final Order, in form
         and substance consistent in all respects with the Restructuring Support Agreement (including any
         consent rights thereunder) and otherwise in form and substance acceptable to the Debtors and the
         Required Consenting Stakeholders, and which shall:

           i.   authorize the Debtors to take all actions necessary to enter into, implement, and consummate the
                contracts, instruments, releases, leases, indentures, and other agreements or documents created in
                connection with the Plan;

          ii.   decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                dependent;

         iii.   authorize the Debtors, as applicable/necessary, to: (a) implement the Restructuring Transactions,
                including the Rights Offering; (b) distribute the New Common Stock and the New Warrants
                pursuant to the exemption from registration under the Securities Act provided by section 1145 of
                the Bankruptcy Code or such other applicable exemption from such registration or pursuant to
                one or more registration statements; (c) make all distributions and issuances as required under the
                Plan, including Cash and the New Common Stock; and (d) enter into any agreements,
                transactions, and sales of property as set forth in the Plan Supplement, including the Management
                Incentive Plan, in each case, in a manner consistent with the terms of the Restructuring Support
                Agreement and subject to the consent rights set forth therein;

         iv.    authorize the implementation of the Plan in accordance with its terms; and

          v.    provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
                any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
                executed in connection with any disposition or transfer of assets contemplated under the Plan,
                shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar tax;
                and

    c.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or documents
         that are necessary to implement and effectuate the Plan;

    d.   the final version of each of the Plan, the Definitive Documents, and all documents contained in any
         supplement to the Plan, including Plan Supplement and any exhibits, schedules, amendments,
         modifications, or supplements thereto or other documents contained therein shall have been executed or
         filed, as applicable in form and substance consistent in all respects with the Restructuring Support
         Agreement, the Restructuring Term Sheet, and the Plan, and comply with the applicable consent rights
         set forth in the Restructuring Support Agreement and/or the Plan for such documents and shall not have
         been modified in a manner inconsistent with the Restructuring Support Agreement;

    e.   the Exit Facility Documents shall have been duly executed and delivered by all of the Entities that are
         parties thereto and all conditions precedent (other than any conditions related to the occurrence of the
         Effective Date) to the effectiveness of the Exit Facilities shall have been satisfied or duly waived in
         writing in accordance with the terms of each of the Exit Facilities and the closing of each of the Exit
         Facilities shall have occurred;

    f.   the Final Order approving the DIP Credit Facility shall have been entered and shall remain in full force
         and effect and no event of default shall have occurred and be continuing thereunder;

    g.   no more than $50 million principal amount of Prepetition Secured Letters of Credit or DIP Letters of
         Credit (other than cash collateralized letters of credit) shall have been drawn and unreimbursed in full in
         Cash as of the Effective Date; provided that this condition may be waived solely with the written consent
         of the Required Consenting LC Lenders;
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         h.   Reorganized McDermott shall have a minimum of $820 million of Cash on its balance sheet (which
              amount shall not include Cash held by the Debtors’ joint-venture affiliates or cash collateral securing the
              Cash Secured Letters of Credit, the Lloyds Letters of Credit, and the DIP Cash Secured Letters of Credit)
              assuming normal working capital; provided that this condition may be waived solely with the written
              consent of the [Required Consenting Lenders];

         i.   all professional fees and expenses of retained professionals that require the Bankruptcy Court’s approval
              shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective Date
              shall have been placed in a professional fee escrow account pending the Bankruptcy Court’s approval of
              such fees and expenses;

         j.   the Technology Business Sale shall have been consummated;

         k.   to the extent invoiced in accordance with the terms of the Plan, the payment in Cash in full of the
              Restructuring Expenses; and

         l.   the Debtors shall have implemented the Restructuring Transactions and all transactions contemplated in
              the Restructuring Term Sheet in a manner consistent with the Restructuring Support Agreement (and
              subject to, and in accordance with, the consent rights set forth therein), the Restructuring Term Sheet,
              and the Plan.

B.       Waiver of Conditions.

         Except as otherwise specified in the Plan or the Restructuring Support Agreement, any one or more of the
conditions to Consummation set forth in this Article IX may be waived by the Debtors with the prior written consent
of the Required Consenting Stakeholders (not to be withheld unreasonably), without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan, the Disclosure Statement, or Restructuring Support Agreement shall: (1) constitute a waiver or release of any
Claims by the Debtors, Claims, or Interests; (2) prejudice in any manner the rights of the Debtors, any holders of
Claims or Interests, or any other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the
Debtors, any holders of Claims or Interests, or any other Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

         Except as otherwise specifically provided in this Plan and subject to the consent rights set forth in the
Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements
of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its
respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
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Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         a.   allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
              status, or amount of any Claim or Interest, including the resolution of any request for payment of any
              Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
              priority, amount, or allowance of Claims or Interests;

         a.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
              for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
              Bankruptcy Code or the Plan;

         b.   resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
              Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
              may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including
              Cures pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under
              any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized Debtors amending,
              modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, any Executory
              Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases to be assumed
              or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or was executory
              or expired;

         c.   ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
              accomplished pursuant to the provisions of the Plan, including with respect to the New Warrants;

         d.   adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
              any other matters, and grant or deny any applications involving a Debtor that may be pending on the
              Effective Date;


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    e.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

    f.   enter and implement such orders as may be necessary to execute, implement, or consummate the
         provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
         documents created or entered into in connection with the Plan or the Disclosure Statement, including the
         Restructuring Support Agreement;

    g.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
         Bankruptcy Code;

    h.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
         the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
         connection with the Plan;

    i.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
         restrain interference by any Entity with Consummation or enforcement of the Plan;

    j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
         injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as
         may be necessary or appropriate to implement such releases, injunctions, and other provisions;

    k.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
         return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
         for amounts not timely repaid pursuant to Article VI.L hereof;

    l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
         stayed, reversed, revoked, or vacated;

    m. determine any other matters that may arise in connection with or relate to the Plan, the Plan Supplement,
       the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or
       other agreement or document created in connection with the Plan or the Disclosure Statement, including
       the Restructuring Support Agreement;

    n.   enter an order concluding or closing the Chapter 11 Cases;

    o.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

    p.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any inconsistency
         in any Bankruptcy Court order, including the Confirmation Order;

    q.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507 of
         the Bankruptcy Code;

    r.   hear and determine disputes arising in connection with the interpretation, implementation, or
         enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
         documents, or instruments executed in connection with the Plan;

    s.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
         505, and 1146 of the Bankruptcy Code;

    t.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
         exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
         hereof, regardless of whether such termination occurred prior to or after the Effective Date;

    u.   enforce all orders previously entered by the Bankruptcy Court; and
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         v.   hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion, whichever
comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.



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F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:


                        Debtors                                               Counsel to the Debtors
 McDermott International, Inc.                             Kirkland & Ellis LLP
 757 North Eldridge Parkway                                601 Lexington Avenue
 Houston, Texas 77079                                      New York, New York 10022
 Attention: John Freeman                                   Attention: Joshua A. Sussberg, P.C., Christopher T. Greco,
                                                           P.C., and Anthony R. Grossi
                                                           and
                                                           Kirkland & Ellis LLP
                                                           300 North LaSalle Street
                                                           Chicago, Illinois 60654
                                                           Attention: John R. Luze
                                                           and
                                                           Jackson Walker L.L.P.
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, Texas 77010
                                                           Attention: Elizabeth C. Freeman and Matthew D.
                                                           Cavenaugh

                                                                 Counsel to the Consenting Superpriority Term
                 United States Trustee
                                                                  Lenders and the Consenting Term Lenders
 Office of The United States Trustee                       Davis Polk & Wardwell LLP
 515 Rusk Street, Suite 3516                               450 Lexington Avenue
 Houston, TX 77002                                         New York, NY 10017
                                                           Attention: Damian S. Schaible and Natasha Tsiouris




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      Counsel to the proposed DIP LC Agent, the
     proposed DIP Collateral Agent, the Revolving         Counsel to the proposed DIP Term Loan Agent, the
        and LC Administrative Agent, the 2018              2021 LC Administrative Agent, the Superpriority
     Collateral Agent, the Superpriority Revolving       Term Loan Agent, and the Term Loan Administrative
      Administrative Agent and the Superpriority                                Agent
                   Collateral Agent
 Linklaters LLP                                         Latham & Watkins LLP
 1345 Avenue of the Americas                            885 Third Avenue
 New York, New York 10105                               New York, NY 10022
 Attention: Margot Schonholtz and Penelope Jensen       Attention: Andrew Parlen and Anupama Yerramalli

 and

 Bracewell LLP
 711 Louisiana Street
 Houston, Texas 77002
 Attention: William A. (Trey) Wood III

         Counsel to the Consenting Noteholders
 Paul, Weiss, Rifkind, Wharton & Garrison LLP
 1285 Avenue of the Americas
 New York, NY 10019
 Attention: Andrew N. Rosenberg and Alice B.
 Eaton

 -and-

 Brown Rudnick LLP
 7 Times Square
 New York, NY 10036
 Attention: Robert J. Stark and Bennett S. Silverberg


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.        Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.        Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

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J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://cases.primeclerk.com/McDermott or the Bankruptcy
Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the
Plan shall control.

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.

M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
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Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.




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Dated: January 22, 2020             MCDERMOTT INTERNATIONAL, INC.

                                    on behalf of itself and all other Debtors




                                    /s/ John Castellano
                                    John Castellano
                                    Chief Restructuring Officer




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SOLICITATION VERSION


                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                              )
    In re:                                                    )   Chapter 11
                                                              )
    MCDERMOTT INTERNATIONAL, INC., et al.,1                   )   Case No. 20-[_____] (___)-30336 (DRJ)
                                                              )
                              Debtors.                        )   (Joint Administration Requested)
                                                              )

              AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
               OF MCDERMOTT INTERNATIONAL, INC. AND ITS DEBTOR AFFILIATES

                THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE
           OR REJECTION IN ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY
       CODE AND WITHIN THE MEANING OF SECTION 1126 OF THE BANKRUPTCY CODE. THIS
       CHAPTER 11 PLAN WILL BE SUBMITTED TO THE BANKRUPTCY COURT FOR APPROVAL
      FOLLOWING SOLICITATION AND THE DEBTORS’ FILING FOR CHAPTER 11 BANKRUPTCY.


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                                                                       Proposed Co-Counsel to the Debtors
                                                                       and Debtors in Possession

 Dated: January 2122, 2020


1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor
       McDermott International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 757 North Eldridge Parkway, Houston, Texas 77079.

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                                                  INTRODUCTION

         McDermott International, Inc. and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint prepackaged chapter 11 plan of reorganization (the “Plan”) for the resolution of the
outstanding claims against, and equity interests in, the Debtors. Although proposed jointly for administrative
purposes, the Plan constitutes a separate Plan for each Debtor. Holders of Claims or Interests may refer to the
Disclosure Statement for a discussion of the Debtors’ history, businesses, assets, results of operations, historical
financial information, risk factors, a summary and analysis of this Plan, the Restructuring Transactions, and certain
related matters. The Debtors are the proponents of the Plan within the meaning of section 1129 of the Bankruptcy
Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         “2018 Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as Collateral
Agent in respect of the Credit Agreement, the 2021 LC Facility, and the Lloyds LC Facility.

       “2021 LC Agreement” means that certain letter of credit agreement dated as of October 30, 2018 by and
among certain of the Debtors as applicants and guarantors thereto, and the 2021 LC Administrative Agent, as may be
amended, supplemented, or otherwise modified from time to time.

       “2021 LC Administrative Agent” means Barclays Bank PLC, as administrative agent for the 2021 LC
Agreement.

       “2021 LC Facility” means the $230,000,000.00 senior secured letter of credit facility under the 2021 LC
Agreement.

          “2021 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2021 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2021 Letters of Credit” means the letters of credit issued under the 2021 LC Facility.

       “2023 LC Facility” means the $1,440,000,000.00 senior secured letter of credit facility under the Credit
Agreement.

          “2023 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2023 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2023 Letters of Credit” means the letters of credit issued under the 2023 LC Facility.

         “Achievement Target” means the (i) final, binding signed documentation reflecting (x) positive value
adjustment of $235 million in projected gross profit and (y) $285 million in letter of credit relief and (ii) project cost
savings of $560 million through the employment of risk mitigation strategies, in each case subject to the satisfaction
of the Required Consenting Term Lenders and the Required Consenting Revolving Lenders in their sole discretion.

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           “Additional Obligations” shall have the meaning specified in the DIP Credit Facility Term Sheet.

          “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11 Cases
pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of the Debtors
incurred on or after the Petition Date and through the Effective Date; (b) Allowed Professional Claims; and (c) all fees
and charges assessed against the Estates under chapter 123 of the Judicial Code.

           “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

         “Agents” means, collectively, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the 2021 LC Administrative Agent, the 2018 Collateral Agent, the Superpriority Revolving
Administrative Agent, the Superpriority Term Loan Agent, the Superpriority Collateral Agent, and each administrative
agent, collateral agent, trustee or other similar agent in respect of the Exit Facilities solely in its capacity as such.

         “Allowed” means, as to a Claim or Interest, a Claim or Interest allowed under the Plan, under the Bankruptcy
Code, or by a final order as applicable.

          “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or other
Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or other
authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes
of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy Code
or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

           “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended from time
to time.

           “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section 2075 of
the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as amended from time to
time.

           “Barclays Advisors” means Latham & Watkins LLP and any other local or foreign advisors.

        “Bidding Procedures” means the procedures governing the auction and the Technology Business Sale, as
approved by the Bankruptcy Court and as may be amended from time to time in accordance with their terms.

          “Bilateral Facilities” means those certain bilateral facilities entered into by various Debtors and their
affiliates and the individual lenders party thereto, including:

               (a) that certain facility agreement (as amended), dated April 13, 2016, between McDermott
                   International, Inc., as borrower, McDermott Middle East, Inc., McDermott Eastern Hemisphere,
                   Ltd., McDermott Arabia Company Limited, as guarantors, and Abu Dhabi Commercial Bank PJSC,
                   as lending bank;

               (b) that certain credit facility agreement (as amended), dated April 30, 2018, between CBI Eastern
                   Anstalt, as borrower, and Mashreqbank PSC, as lending bank;



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            (c) that certain credit agreement (as amended) dated as of July 19, 2018 between Arabian CBI Company
                Limited, as customer, McDermott International Inc., as guarantor, and Samba Financial Group, as
                lending bank;

            (d) that certain facility letter (as amended), dated as of January 29, 2018 between McDermott Middle
                East, Inc., and McDermott Eastern Hemisphere, Ltd., as applicants, McDermott International, Inc.,
                as guarantor, and International Bank of Qatar, as lending bank;

            (e) that certain reimbursement agreement for letters of credit or guarantees, dated July 30, 2015 between
                McDermott International, Inc., as applicant and Riyad Bank, as lending bank;

            (f) that certain facility agreement between McDermott Middle East Inc., as borrower, McDermott
                International, Inc., as guarantor, and First Gulf Bank, as lending bank;

            (g) that certain letter of credit reimbursement agreement (as novated), dated August 1, 2007 between J.
                Ray McDermott S.A., as applicant and Standard Chartered Bank, as lending bank;

            (h) that certain master reimbursement agreement between J. Ray McDermott S.A., as applicant,
                McDermott International, Inc., as guarantor, and ICICI Bank Limited, as lending bank;

            (i) that certain reimbursement agreement between Chicago Bridge and Iron Company, N.V., as
                customer, and Europe Arab Bank PLC, as lending bank;

            (j) that certain credit facilities agreement, dated April 4, 2019 between McDermott Middle East, Inc.
                and McDermott Middle East, Inc. Panama, as borrowers, McDermott International, Inc., as
                guarantor, and Commercial Bank of Dubai PSC, as lending bank; and

            (k) that certain (a) indemnity and undertaking, dated as of June 28, 2019 between Comet II, B.V.,. as
                borrower and tThe Standard Bank of South African Limited, as lending bank and (b) parent
                company guarantee, dated as of June 28, 2019 between McDermott International, Inc. as guarantor
                and The Standard Bank of South Africa Limited as lending bank.

         “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the State of New York.

        “Business Plan” means the business plan for the Reorganized Debtors.

        “Cameron LNG Contractor” means CCJV, an unincorporated joint venture the members of which are CB&I
LLC (as successor in interest) and Chiyoda International Corporation.

         “Cameron LNG EPC Agreement” means that certain Engineering, Procurement and Construction Contract,
dated as of March 17, 2014, between Cameron LNG, LLC and the Cameron LNG Contractor (as amended).

         “Cameron LNG Project Obligations” means, collectively, the obligations of any Debtor under: (a) that
certain EPC Joint Venture Agreement, dated March 17, 2014 between CB&I LLC (as successor in interest) and
Chiyoda International Corporation (as amended); and (b) the Cameron LNG EPC Agreement.

         “Cameron LNG Replacement Guarantee” means a guarantee, which Reorganized McDermott shall execute
and deliver to Cameron LNG, LLC, guaranteeing on a joint and several basis on behalf of CB&I LLC the payment
and performance of the obligations of the Cameron LNG Contractor under the Cameron LNG EPC Agreement,
whether arising prior to or after the execution of such guarantee.

         “Cash” means cash in legal tender of the United States of America and cash equivalents, including bank
deposits, checks, and other similar items.

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       “Cash Management Bank” means any financial institution through which the Debtors have entered into “Cash
Management Arrangements” (as defined in the Credit Agreement).

        “Cash Secured LC Exit Facility” means a 4-year, cash secured letter of credit exit facility in an amount up
to $371 million, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Cash Secured Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the
Cash Secured Letters of Credit, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

          “Cash Secured Letters of Credit” means the “Cash Secured Letters of Credit” issued under and on the terms
set forth under the Credit Agreement.

          “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of action,
demands, rights, actions, controversies, proceedings, agreements, suits, obligations, liabilities, accounts, defenses,
offsets, powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, liquidated or unliquidated, secured or unsecured, assertable, directly or derivatively, matured or
unmatured, suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also include: (a)
all rights of setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law
or in equity; (b) the right to object to or otherwise contest Claims or Interests; (c) claims pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (e) any Avoidance Action.

         “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for that
Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference to all the
Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

          “Chiyoda Replacement Guarantee” means a guarantee which Reorganized McDermott shall execute and
deliver to Chiyoda International Corporation in accordance with Section 15.3 of the EPC Joint Venture Agreement,
dated March 17, 2014 between CB&I LLC (as successor in interest) and Chiyoda International Corporation (as
amended) as required by the Guaranty and Indemnity Agreement entered into by and between CB&I LLC, McDermott
International and Chiyoda International Corporation.

         “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the Debtors.

          “Claims and Balloting Agent” means Prime Clerk LLC, the notice, claims, and solicitation agent proposed
to be retained by the Debtors in the Chapter 11 Cases.

         “Claims Register” means the official register of Claims maintained by the Claims and Balloting Agent.

         “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to section 1122(a)
of the Bankruptcy Code.

         “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         “Company Party” has the meaning set forth in the Restructuring Support Agreement.

         “Compensation and Benefits Programs” means all employment and severance agreements and policies, and
all employment, compensation, and benefit plans, policies, workers’ compensation programs, savings plans,
retirement plans, deferred compensation plans, supplemental executive retirement plans, healthcare plans, disability
plans, severance benefit plans, incentive plans, life and accidental death and dismemberment insurance plans, and
programs of the Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees, former
employees, retirees, and non-employee directors and the employees, former employees and retirees of their
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subsidiaries, including all savings plans, retirement plans, health care plans, disability plans, severance benefit
agreements, and plans, incentive plans, deferred compensation plans and life, accidental death, and dismemberment
insurance plans.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

         “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order on the
docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of the Plan,
pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing may be
continued from time to time.

         “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to section 1129
of the Bankruptcy Code and approving the consummation of the Technology Business Sale.

         “Consenting 2021 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting 2023 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Cash Secured LC Issuers” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consummation” means the occurrence of the Effective Date.

        “Credit Agreement” means that certain credit agreement dated as of May 10, 2018, by and among certain of
the Debtors as borrowers and guarantors thereto, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the Issuers (as defined in the Credit Agreement), and the lenders from time to time party thereto,
as may be amended, supplemented, or otherwise modified from time to time.

         “Credit Agreement Hedging Claims” means Claims in respect of Credit Agreement Hedging Obligations,
which, for the avoidance of doubt, shall not include DIP Hedging Obligations.

         “Credit Agreement Hedging Obligations” means mark-to-market obligations arising out of the termination
of any “Hedging Obligations” (as defined under the Credit Agreement) prior to the Effective Date.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under an

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Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365 or 1123 of the
Bankruptcy Code.

       “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for directors’,
managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all agreements,
documents, or instruments relating thereto.

         “Definitive Documents” means the documents listed in Section 3 of the Restructuring Support Agreement.

         “DIP Agents” means the DIP LC Agent, the DIP Collateral Agent, and the DIP Term Loan Agent.

         “DIP Cash Secured Letter of Credit Claim” means any Claim for obligations arising under, or relating to, the
DIP Cash Secured LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

        “DIP Cash Secured Letters of Credit” means the letters of credit issued pursuant to the DIP Cash Secured
LC Facility.

         “DIP Cash Secured LC Facility” means the cash secured letter of credit facility pursuant to which up to $100
million of the DIP Letter of Credit Facility may be allocated.

          “DIP Claims” means all Claims (including adequate protection Claims) derived from, arising under, based
upon, or secured pursuant to the DIP Credit Agreement, including all prepetition Claims rolled into the DIP Credit
Facility and all other Claims in respect of principal amounts outstanding, interest, fees, expenses, costs, hedging
obligations, and other charges arising thereunder or related thereto, in each case, with respect to the DIP Credit
Facility.

        “DIP Collateral Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as collateral
agent under the DIP Credit Agreement.

         “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit agreement that
governs the DIP Credit Facility (as may be amended, supplemented, or otherwise modified from time to time), among
McDermott International, Inc., as parent, certain of the Debtors as borrowers, the lenders party thereto, the DIP
Lenders, the DIP Letter of Credit Issuers, and the DIP Agents.

         “DIP Credit Facility” means the superpriority committed credit facilities provided by the DIP Lenders,
which includes the DIP Letter of Credit Facility, the DIP Term Loan Facility, the DIP Hedging Obligations, and any
other obligations specified in the DIP Financing Orders.

         “DIP Credit Facility Term Sheet” means the DIP Credit Facility Term Sheet attached as Exhibit 2 to the
Restructuring Term Sheet.

        “DIP Financing Orders” means the interim order approving the DIP Credit Facility and the final order
approving the DIP Credit Facility, to be filed and approved by the Bankruptcy Court in the Chapter 11 Cases.

        “DIP Hedging Obligations” means all hedging obligations subject to or deemed incurred under the DIP
Credit Facility (including for the avoidance of doubt all obligations in respect of the Debtors’ prepetition foreign
currency hedging transactions and $500 million notional amount of interest rate hedging transactions rolled into the
DIP credit facility pursuant to the DIP Financing Orders and the Hedging Orders).

         “DIP LC Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as letter of credit
administrative agent under the DIP Credit Agreement.

         “DIP LC Claim” means any Claim of a DIP Lender, a DIP Letter of Credit Issuer, or the DIP Agents arising
under or relating to the DIP Letter of Credit Facility pursuant to the DIP Credit Agreement.
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         “DIP Lenders” means the lenders party to the DIP Credit Agreement with respect to the DIP Credit Facility.

          “DIP Letter of Credit Facility” means the senior secured superpriority letter of credit facility plus interest,
fees, and other amounts due in respect of the Superpriority Letters of Credit (including the DIP Cash Secured LC
Facility), provided under the DIP Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP
Financing Orders.

         “DIP Letter of Credit Issuers” means the “Issuing Banks” under the DIP Credit Agreement.

         “DIP Letters of Credit” means (i) the $543 million of new and incremental letters of credit to be provided
under the DIP Letter of Credit Facility (including the DIP Cash Secured Letters of Credit) plus (ii) the DIP Roll-Up
Letters of Credit.

          “DIP Roll-Up Letters of Credit” means (i) those Superpriority Letters of Credit, including Claims for all
reimbursement obligations outstanding, interest, fees, expenses, costs, and other charges arising thereunder or relating
thereto, that are “rolled-up” and deemed issued under the DIP Letter of Credit Facility pursuant to the final DIP
Financing Order and (ii) any obligations to be deemed outstanding under the DIP Letter of Credit Facility.

         “DIP Roll-Up Term Loans” means the term loans outstanding under the Superpriority Term Loan Facility
that upon entry of the final DIP Financing Order, shall be deemed to be issued under the DIP Term Loan Facility,
including all of the Claims arising under, derived from, based upon, or secured pursuant to the Superpriority Credit
Agreement, including Claims for all principal amounts outstanding, interest, fees, expenses, costs, the Make Whole
Amount, and other charges arising thereunder or related thereto, in each case, with respect to the Superpriority Term
Loan Facility.

        “DIP Term Loan Agent” means Barclays Bank PLC, in its capacity as term loan administrative agent under
the DIP Credit Agreement.

        “DIP Term Loan Claim” means any Claim of a DIP Lender or the DIP Agents arising under or relating to
the DIP Term Loan Facility pursuant to the DIP Credit Agreement or the DIP Financing Orders.

        “DIP Term Loan Facility” means a superpriority term loan facility, comprised of up to $1.2 billion principal
amount of New DIP Term Loans plus $800 million principal amount of the Superpriority Term Loans rolled into the
DIP Term Loan Facility plus the Make Whole Amount plus the Additional Obligations and approved by the
Bankruptcy Court pursuant to the DIP Financing Orders.

         “DIP Term Loans” means the New DIP Term Loans and the DIP Roll-Up Term Loans.

        “Disbursing Agent” means the Reorganized Debtors or the Entity or Entities selected by the Debtors or the
Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

          “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and schedules
thereto, to be approved by the Confirmation Order.

          “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed; (b) that is not
disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute is being
adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in the
Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

        “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the Debtors
or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or as soon as is
reasonably practicable after the Effective Date, upon which the Distribution Agent shall make distributions to holders
of Allowed Claims entitled to receive distributions under the Plan.
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         “Distribution Record Date” means, other than with respect to publicly held Securities, the record date for
purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or as soon as
is reasonably practicable after the Effective Date. For the avoidance of doubt, no distribution record date shall apply
to holders of public securities.

          “Effective Date” means the date that is the first Business Day on which (a) no stay of the Confirmation Order
is in effect and (b) all conditions precedent to the occurrence of the Effective Date set forth in Article IX.A of the Plan
have been satisfied or waived in accordance with Article IX.B of the Plan. Any action to be taken on the Effective
Date may be taken on or as soon as reasonably practicable thereafter.

           “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant to
section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

           “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended from time
to time.

          “Exculpated Parties” means collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the Consenting
Stakeholders and any affiliated Hedge Banks; (d) each Agent and the Senior Notes Trustee, and (e) with respect to
each of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current and former
Affiliates’ current and former equity holders, subsidiaries, officers, directors, managers, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals.

        “Executory Contract” means a contract to which one or more of the Debtors is a party and that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

         “Existing Common Equity Interests” means the common stock of McDermott, which is traded and quoted on
the New York Stock Exchange under the symbol “MDR,” any and all outstanding and unexercised or unvested
warrants, options, or rights to acquire such common stock existing prior to the Petition Date, and any Section 510(b)
Claims.

         “Existing Preferred Equity Interests” means all outstanding 12% Redeemable Preferred Stock in McDermott,
issued on November 29, 2018, and the Series A Preferred Stock of McDermott, issued on December 2, 2019, and any
Section 510(b) Claims.

         “Exit Facilities” means, collectively, the Term Loan Exit Facility, the Cash Secured LC Exit Facility, and
the Exit LC Facilities, as applicable.

         “Exit Facility Agents” means each of the administrative agents, trustees, or other similar agents under the
Exit Facility Agreement, solely in its capacity as such.

         “Exit Facility Agreement” means that certain agreement to provide the Exit Facilities, if any, dated as of the
Effective Date, by and among the Reorganized Debtors party thereto as borrowers, Reorganized McDermott, the Exit
Facility Agents, the issuing banks party thereto, and the lender parties thereto, which shall be included in the Plan
Supplement.

         “Exit Facility Documents” means, collectively, the Exit Facility Agreement, and any and all other
agreements, documents, and instruments delivered or to be entered into in connection therewith, including any
guarantee agreements, pledge and collateral agreements, intercreditor agreements, and other security documents, in
each case if any, the terms of which documents shall be acceptable to the Debtors or the Reorganized Debtors, as
applicable, and the Required Consenting Lenders.


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         “Exit LC Facilities” means the Super Senior Exit Facility, the Senior Exit LC Facility, and the Roll-Off LC
Exit Facility.

         “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

         “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized designee
in the Chapter 11 Cases.

          “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent jurisdiction with
respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on the docket in any
Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has been
taken or any petition for certiorari that has been or may be timely filed has been withdrawn or resolved by the highest
court to which the order or judgment was appealed or from which certiorari was sought or the new trial, reargument,
or rehearing will have been denied, resulted in no stay pending appeal of such order, or has otherwise been dismissed
with prejudice; provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules, may be filed with respect to such order will not preclude such order
from being a Final Order.

         “Funded DIP Indebtedness” means indebtedness under the DIP Credit Facility in respect of the DIP Term
Loans (which for the avoidance of doubt includes the Superpriority Term Loans rolled up into the DIP Credit Facility,
but excludes any DIP Hedging Obligations) and the Additional Obligations.

        “General Unsecured Claim” means any Unsecured Claim against a Debtor other than the Bilateral Facility
Claims and the Senior Notes Claims.

         “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         “Hedge Bank” means, with respect to any Consenting Lender, either such Consenting Lender or an affiliate
of such Consenting Lender that has entered into “Hedging Obligations” (as defined in the Credit Agreement) with the
Debtors.

         “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is impaired
within the meaning of section 1124 of the Bankruptcy Code.

         “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

        “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an Affiliate of
a Debtor.

         “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

         “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any Debtor
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
performance shares, performance units, redemption rights, repurchase rights, convertible, exercisable or exchangeable
Securities or other agreements, arrangements or commitments of any character relating to, or whose value is related
to, any such interest or other ownership interest in any Debtor.

         “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from time to
time.

         “Lloyds LC Bank” means Lloyds Bank PLC, as the Bank under the Lloyds Letter of Credit Agreement.



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          “Lloyds LC Facility” means the $127,000,000.00 senior secured letter of credit facility under the Lloyds
Letter of Credit Agreement.

         “Lloyds Letter of Credit Agreement” means that certain master agreement for stand-by letters of credit
originally dated as of June 10, 2013 by and among Lloyds Bank plc (formerly known as Lloyds TSB Bank plc) and
Comet II B.V., CB&I, LLC, Chicago Bridge and Iron Company B.V., CBI Services, LLC, CB&I UK Limited, CBI
Constructors PTY LTD, CB&I Group Inc., and Woodlands International Insurance Ltd, as amended and restated May
10, 2018 in connection with the Business Combination (as defined therein) with McDermott and certain of its
subsidiaries, as may be amended, supplemented, or otherwise modified from time to time.

          “Lloyds Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the Lloyds
LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “Lloyds Letters of Credit” means the letters of credit issued under the Lloyds LC Facility.

         “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         “Liquidity Lender Steering Committee” means those certain institutions comprising the steering committee
of lenders under the Superpriority Revolving Facility, the Revolving Credit Facility, and the 2023 LC Facility.

         “Lummus Assets and Interests” means the Debtors’ rights, titles, and interests in the Lummus DebtorsEntities
and related assets, as described in the Purchase Agreement.

          “Lummus DebtorsEntities” means Lummus Technology LLC; McDermott Technology (2), B.V.; McDermott
Technology (3), B.V.; OOO Lummus Technology; CB&I Lummus Engineering & Technology China Co. Ltd.;
Lummus Technology Heat Transfer B.V. (Netherlands); Lummus Technology Heat Transfer B.V. (India); Lummus
Novolen Technology GmbH; Novolen Technology Holdings C.V.; Lummus Technology B.V.; Lummus Gasification
Technology Licensing LLC; Lummus Engineered Products, LLC; Lummus Technology International LLC; Lummus
Technology Services LLC; Chemical Research and Licensing, LLC; Lummus Technology Ventures LLC; Catalytic
Distillation Technologies; Lummus Technology Overseas LLC, Chevron Lummus Global LLC, and CLG Technical
Services, LLC.

         “Make Whole Amount” means the make whole amount payable under Section 2.11(b) of the Superpriority
Credit Agreement solely with respect to the tranches of the Superpriority Term Loan Facility that were funded prior
to the Petition Date.

         “Make Whole Tranche” means that certain tranche under the Super Senior Exit Facility in an amount equal
to the portion of the Make Whole Amount remaining (if any) after applying the Technology Business Sale Proceeds
and proceeds from the Rights Offering, subject to the terms of the Exit Facilities Term Sheet.

         “Management Incentive Plan” has the meaning set forth in Article IV.P of the Plan.

         “Management Incentive Plan Pool” has the meaning set forth in Article IV.P of the Plan.

        “McDermott” means McDermott International, Inc. or any successor or assign, by merger, consolidation, or
otherwise, prior to the Effective Date.

       “New Board” means the board of directors of Reorganized McDermott. The identities of directors on the
New Board shall be set forth in the Plan Supplement.

         “New Common Stock” means, depending on the transaction structure and as detailed in the Restructuring
Transactions Memorandum, common equity in one or more Reorganized Debtors.

         “New DIP Term Loans” means the new money term loans to be provided under the DIP Term Loan Facility.
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         “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be consistent with the Restructuring Support Agreement
(including Section 3.02 of the Restructuring Support Agreement), this Plan, and section 1123(a)(6) of the Bankruptcy
Code (as applicable), and shall be included in the Plan Supplement.

          “New Tranche A Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) less (i) the proceeds of the Rights Offering,
(ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the Residual Prepetition
Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New Common Stock to the
holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate proceeds of the Rights
Offering divided by Plan Equity Value plus (y) the Prepetition Funded Secured Claims Excess Cash Adjustment.

          “New Tranche B Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) multiplied by 125%, less (i) the proceeds
of the Rights Offering, (ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the
Residual Prepetition Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New
Common Stock to the holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate
proceeds of the Rights Offering divided by Plan Equity Value and (y) the Prepetition Funded Secured Claims Excess
Cash Adjustment.

         “New Warrants” means, collectively, the New Tranche A Warrants and the New Tranche B Warrants.

         “New Warrants Agreements” means those certain agreements providing for, among other things, the issuance
and terms of the New Warrants, which shall be included in the Plan Supplement and in form and substance acceptable
to the Required Consenting Lenders and the Required Consenting Noteholders. The New Warrants Agreements shall
provide for full anti-dilution and Black-Scholes protection.

         “Other Prepetition Financing Claim” means any Secured Claim arising under:

              (a) that certain facility agreement dated September 30, 2010 among McDermott, as guarantor, and its
                  subsidiary NO 105 AS, as borrower, the BNP Paribas, in its capacity as facility agent and security
                  agent, and the lenders party thereto, as may be amended, supplemented, or otherwise modified from
                  time to time, to pay a portion of the construction costs of the NO 105;

              (b) that certain receivables factoring agreement dated November 25, 2016 among J. Ray McDermott de
                  Mexico S.A. de C.V. and the financing intermediaries thereto, as may be amended, supplemented,
                  or otherwise modified from time to time; or

              (c) that certain re-invoicing service agreement dated May 2019 among Bramid Outsource Limited, as
                  service provider, McDermott, as parent, and CB&I LLC, as customer.

          “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         “Other Secured Claim” means any Secured Claim other than a Revolving Credit Claim, a Term Loan Claim,
a 2021 Letter of Credit Claim, a 2023 Letter of Credit Claim, a Lloyds Letter of Credit Claim, a Cash Secured Letter
of Credit Claim, a Credit Agreement Hedging Claim, a Superpriority Term Loan Claim, a Superpriority Revolving
Facility Claim, an Other Prepetition Financing Claim, a Bilateral Facility Claim, or a DIP Claim.

         “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.
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          “Plan Distribution” means a payment or distribution to holders of Allowed Claims, Allowed Interests, or
other eligible Entities under this Plan.

         “Plan Equity Value” means $2,352,000,000.

         “Plan Objection Deadline” means the date the Bankruptcy Court establishes as the deadline to File an
objection to Confirmation of the Plan.

          “Plan Supplement” means the compilation of documents and forms of documents, agreements, schedules,
and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time to time in
accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to be Filed
prior to the Confirmation Hearing, and any additional documents Filed prior to the Effective Date as amendments to
the Plan Supplement, including the following, as applicable: (a) the New Organizational Documents; (b) to the extent
known, the identities of the members of the New Board; (c) the Assumed Executory Contracts and Unexpired Leases
Schedule; (d) the Rejected Executory Contracts and Unexpired Leases Schedule; (e) the Schedule of Retained Causes
of Action; (f) the Exit Facility Documents; (g) the definitive documentation related to the Management Incentive Plan;
(h) the Restructuring Transactions Memorandum; (i) the New Warrants Agreements; and (j) to the extent available,
the form of any Technology Business Sale Documents distributed by the Debtors to potentially interested parties, if
any. The Debtors shall have the right to alter, amend, modify, or supplement the documents contained in the Plan
Supplement up to the Effective Date as set forth in this Plan and in accordance with the Restructuring Support
Agreement (and subject to the applicable consent rights thereunder).

         “Prepetition Funded Secured Claims” means Claims in respect of (i) the Term Loans and the Revolving
Loans, (ii) any funded Prepetition Secured Letters of Credit, and (iii) the Credit Agreement Hedging Claims, but
excluding any amounts being rolled into the DIP Credit Facility.

         “Prepetition Funded Secured Claims Excess Cash Adjustment” has the meaning set forth in Article IV.D.4
of the Plan.

        “Prepetition Secured Letters of Credit” means the 2021 Letters of Credit, the 2023 Letters of Credit, the
Revolving LCs, the Lloyds Letters of Credit, and the Cash Secured Letters of Credit.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section 507(a)(8) of
the Bankruptcy Code.

         “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class bears to
the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated.

         “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          “Professional Amount” means the aggregate amount of Professional Claims and other unpaid fees and
expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors as set
forth in Article II.C of the Plan.

        “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

         “Professional Escrow Account” means an interest-bearing account funded by the Debtors with Cash on the
Effective Date in an amount equal to the Professional Amount.

         “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.
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        “Purchase Agreement” means, solely with respect to the Technology Business Sale, the share and asset
purchase agreement between the Debtors and the Purchaser.

         “Purchaser” means one or more Entities that are the purchasers with respect to the Technology Business
Sale.

          “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the Claim or
Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account of such
Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the Bankruptcy
Code.

          “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Related Party” means, collectively, current and former directors, managers, officers, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
predecessors, participants, successors, assigns, subsidiaries, affiliates, managed accounts or funds, partners, limited
partners, general partners, principals, members, management companies, fund advisors or managers, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, heirs, executors, and assigns, and other professionals, in each case solely in their capacities as such,
together with their respective past and present directors, officers, shareholders, partners, members, employees, agents,
attorneys, representatives, heirs, executors and assigns, in each case solely in their capacities as such.

         “Released Claims” means any Claims or Interests that have been released, discharged, or are subject to
exculpation pursuant to this Plan.

         “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) each current and former Affiliate of each Entity in clause (a) through (o); and (q) each Related
Party of each Entity in clause (a) through (o); provided that any holder of a Claim or Interest that opts out of the
releases shall not be a “Released Party.”

         “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) all holders of Claims or Interests that vote to accept or are deemed to accept the Plan; (q) all
holders of Claims or Interests that abstain from voting on the Plan and who do not affirmatively opt out of the releases
provided by the Plan by checking the box on the applicable ballot indicating that they opt not to grant the releases
provided in the Plan; (r) all holders of Claims or Interests that vote to reject the Plan or are deemed to reject the Plan
and who do not affirmatively opt out of the releases provided by the Plan by checking the box on the applicable ballot

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indicating that they opt not to grant the releases provided in the Plan; (s) each current and former Affiliate of each
Entity in clause (a) through (r); and (t) each Related Party of each Entity in clause (a) through (r).

         “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

        “Reorganized McDermott” means McDermott, or any successor or assign, by merger, consolidation, or
otherwise, on or after the Effective Date.

         “Required Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Lender” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Residual Prepetition Funded Secured Claims Pay Down” has the meaning set forth in Article IV.D.4 of the
Plan.

         “Restructuring Expenses” means the prepetition and postpetition reasonable and documented fees and
expenses of the Revolving and LC Administrative Agent Advisors, the Term Loan Ad Hoc Group Advisors, the Senior
Notes Ad Hoc Group Advisors, the Barclays Advisors, and the advisors of the Senior Notes Trustee and its advisors,
including local and foreign counsel (in each case, in accordance with the terms of their respective engagement letters
with their respective clients, if any).

        “Restructuring Term Sheet” means the Restructuring Term Sheet attached as Exhibit A to the Restructuring
Support Agreement.

          “Restructuring Transactions” means any transaction and any actions as may be necessary or appropriate to
effect a corporate restructuring of the Debtors’ and the Reorganized Debtors’ respective businesses or a corporate
restructuring of the overall corporate structure of the Debtors on the terms set forth in the Plan, Restructuring Support
Agreement, and Restructuring Transactions Memorandum, including the issuance of all Securities, notes, instruments,
certificates, and other documents required to be issued pursuant to the Plan, one or more inter-company mergers,
consolidations, amalgamations, arrangements, continuances, restructurings, conversions, dissolutions, transfers,
liquidations, or other corporate transactions, as described in Article IV.B of the Plan.

         “Restructuring Transactions Memorandum” means a document, in form and substance acceptable to the
Required Consenting Lenders, to be included in the Plan Supplement that will set forth the material components of
the Restructuring Transactions, including the identity of the issuer or issuers of the New Common Stock and any
elections that must be made with respect to the receipt of the New Common Stock.

         “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as of
January 20, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified,
or supplemented from time to time, in accordance with its terms.

         “Revolving and LC Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in its
capacity as administrative agent for the Revolving Credit Facility and the 2023 LC Facility.



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        “Revolving and LC Administrative Agent Advisors” means Linklaters LLP, Bracewell LLP and FTI
Consulting, Inc., as advisors to the DIP LC Agent, the DIP Collateral Agent, the Revolving and LC Administrative
Agent, 2018 Collateral Agent, the Superpriority Revolving Administrative Agent and the Superpriority Collateral
Agent, and any other local or foreign advisors.

         “Revolving Credit” means the Revolving LCs and the Revolving Loans.

         “Revolving Credit Facility” means the senior secured revolving credit facility under the Credit Agreement.

        “Revolving LC Claims” means any Claim for obligations arising under, or relating to, the Revolving LCs
issued under the Revolving Credit Facility, including Claims for all principal amounts outstanding, interest, fees,
expenses, costs and other charges arising thereunder or related thereto.

         “Revolving LCs” means the letters of credit issued under and on the terms set forth under the Revolving
Credit Facility.

         “Revolving Lenders” means the lenders under the Revolving Credit Facility.

         “Revolving Loans” means the revolving loans issued under and on the terms set forth under the Revolving
Credit Facility.

        “Rights Offering” means a rights offering providing for the Consenting Noteholders with the right to purchase
up to $150 million of the New Common Stock otherwise earmarked for the holders of Prepetition Funded Secured
Claims valued at the Plan Equity Value in connection with the Restructuring Transactions and in accordance with the
Rights Offering Procedures and Section 12 of the Restructuring Support Agreement.

        “Rights Offering Procedures” means the procedures governing the Rights Offering, as approved by the
Bankruptcy Court.

         “Rights Offering Shares” means the shares of New Common Stock issued in accordance with the Rights
Offering and subject to the terms of the Rights Offering Procedures and the Restructuring Support Agreement.

         “Roll-Off LC Exit Facility” means a senior secured letter of credit exit facility pursuant to which each
outstanding Prepetition Secured Letter of Credit will be deemed issued on the Effective Date, ranked junior to the
Senior Exit LC Facility, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the
Definitive Documents to be included in the Plan Supplement.

          “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the Debtors that
are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or supplemented
from time to time.

         “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral to the
extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b)
subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          “Secured Creditor Equity Distribution” means 94% of the New Common Stock less the percentage of New
Common Stock to be turned over on account of (i) the Prepetition Funded Secured Claims Excess Cash Adjustment
and (ii) the Rights Offering, and subject to dilution on account of the Management Incentive Plan and the New
Warrants.




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        “Secured Creditor Funded Debt Distribution” means (a) Cash in an amount equal to the Residual Technology
Business Sale Proceeds; (b) Cash in an amount equal to any proceeds of the Rights Offering; (c) the Secured Creditor
Equity Distribution; and (d) the new term loans evidenced by the Term Loan Exit Facility.

          “Secured Creditor Pro Rata Share” means with respect to any recipient of any distribution from the Secured
Creditor Funded Debt Distribution under the Plan, such recipient’s pro rata share thereof measured by reference to the
aggregate amount of: (a) all Allowed Term Loan Claims, (b) all Allowed Revolving Credit Claims consisting of (x)
all Revolving Loans and (y) funded Revolving LCs, (c) all Allowed 2021 Letter of Credit Claims consisting of funded
2021 Letters of Credit, (d) all Allowed 2023 Letter of Credit Claims consisting of funded 2023 Letters of Credit, (e)
all Allowed Lloyds Letter of Credit Claims consisting of funded Lloyds Letters of Credit, and (f) all Credit Agreement
Hedging Claims consisting of Credit Agreement Hedging Obligations, that are not being rolled into the DIP Credit
Facility, in each case as of the date of such distribution.

         “Secured Letter of Credit Cap” has the meaning ascribed to it in the Exit Facilities Term Sheet.

         “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          “Senior Exit LC Facility” means a 4-year, senior secured letter of credit exit facility in an amount up to $1.326
billion, ranked junior to the Super Senior Exit Facility, on terms satisfactory to the Debtors or the Reorganized Debtors,
as applicable, and otherwise on terms satisfactory to the Required Consenting Lenders; and set forth in the Definitive
Documents to be included in the Plan Supplement; provided that the amount of the Senior Exit LC Facility shall be
reduced dollar-for-dollar for each Prepetition Secured Letter of Credit that is drawn and not reimbursed in full in Cash
during or after the Chapter 11 Cases.

        “Senior Notes” means the 10.625% senior notes due 2024 issued by certain of the Debtors pursuant to the
Senior Notes Indenture.

         “Senior Notes Ad Hoc Group” means, collectively, those certain institutions comprising the ad hoc groups of
holders of the Senior Notes represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP and Brown Rudnick LLP.

        “Senior Notes Ad Hoc Group Advisors” means Paul, Weiss, Rifkind, Wharton & Garrison LLP, Brown
Rudnick LLP, Houlihan Lokey Capital, Inc., counsel to the Senior Notes Trustee, and any local or foreign advisors.

         “Senior Notes Claims” means all principal and interest outstanding as of the Petition Date under the Senior
Notes.

        “Senior Notes Indenture” means that certain indenture dated as of April 18, 2018, by and among certain of
the Debtors and the Senior Notes Trustee, as may be amended, supplemented, or otherwise modified from time to
time.

         “Senior Notes Trustee” means UMB Bank, N.A., in its capacity as trustee for the Senior Notes Indenture.

        “Superpriority Agreement Agents” means the Superpriority Revolving Administrative Agent, the
Superpriority Collateral Agent and the Superpriority Term Loan Agent.

         “Superpriority Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as
Collateral Agent under the Superpriority Credit Agreement.

        “Superpriority Credit Agreement” means that certain superpriority senior secured credit agreement, dated
October 21, 2019, between certain of the Debtors as borrowers and guarantors, a syndicate of lenders and letter of

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credit issuers, the Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent, as amended
from time to time.

        “Superpriority Facility” means, collectively, the Superpriority Term Loan Facility and the Superpriority
Revolving Facility.

        “Superpriority Letters of Credit” means the superpriority letters of credit issued under the Superpriority
Revolving Facility.

         “Superpriority Revolving Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in
its capacity as administrative agent for the Superpriority Revolving Facility.

        “Superpriority Revolving Facility” means the superpriority secured letter of credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loan Agent” means Barclays Bank PLC in its capacity as administrative agent for the
Superpriority Term Loan Facility.

        “Superpriority Term Loan Facility” means the superpriority secured term loan credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loans” means the superpriority term loans issued under and on the terms set forth under
the Superpriority Term Loan Facility.

          “Super Senior Exit Facility” means a 4-year, super senior secured exit facility consisting of a letter of credit
facility in an amount of $743 million and the Make Whole Tranche (which Make Whole Tranche will be subordinate
in right of payment to the obligations with respect to the letters of credit under the Super Senior Exit Facility on the
terms provided therein), on terms satisfactory to the Required Consenting Lenders and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Technology Business Sale” means a sale of the Lummus Assets and Interests under this Plan, pursuant to
the Purchase Agreement, and to be agreed to or consummated by the Debtors on the Effective Date.

          “Technology Business Sale Proceeds” means Cash proceeds received from the Technology Business Sale,
net of (a) the reasonable transaction costs in connection with the Technology Business Sale, (b) taxes paid or
reasonably estimated to be payable by the Debtors or Reorganized Debtors as a result of the Technology Business
Sale, (c) any debt service payments due under the DIP Credit Agreement which are required to be repaid or otherwise
becomes due in connection with the Technology Business Sale, and (d) payment of $210 million of prepetition
accounts payable.

         “Technology Business Sale Proceeds Waterfall” means the distribution waterfall for the Technology Business
Sale Proceeds, as described in Article IV.D.3 of this Plan.

         “Term Lenders” means the lenders under the Term Loan Facility.

        “Term Loan Ad Hoc Group” means certain institutions comprising the ad hoc group of lenders in respect of
the Superpriority Term Loans and the lenders in respect of the Term Loan Facility.

         “Term Loan Ad Hoc Group Advisors” means Davis Polk & Wardwell LLP, Porter Hedges LLP, Centerview
Partners, Inc., Ankura Consulting Group, LLC, and any other local or foreign advisors.

       “Term Loan Administrative Agent” means Barclays Bank PLC, in its capacity as administrative agent for the
Term Loan Facility.

         “Term Loan Claims” means any Claim for obligations arising under, or relating to, the Term Loan Facility.
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         “Term Loan Exit Facility” means a 5-year senior secured term loan facility in an amount equal to $500 million
of take-back debt, ranked pari passu with the Roll-Off LC Exit Facility, and otherwise on terms satisfactory to the
Required Consenting Lenders, and set forth in Definitive Documents to be included in the Plan Supplement.

         “Term Loan Exit Facility Lenders” means those lenders party to the Exit Facility Agreement.

         “Term Loans” means the term loans issued and on the terms set forth under the Term Loan Facility.

         “Term Loan Facility” means the senior secured term loan facility under the Credit Agreement.

          “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to assumption
or rejection under section 365 of the Bankruptcy Code.

        “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         “Unsecured Claim” means any Claim that is not a Secured Claim.

         “Voting Deadline” means, subject to the approval of the Bankruptcy Court, February 18, 2020, or such other
date as ordered by the Bankruptcy Court.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; provided that nothing in this clause (2) shall affect any parties’ consent rights over any
of the Definitive Documents or any amendments thereto, as provided for in the Restructuring Support Agreement;
(3) unless otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not Filed,
having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended,
modified, or supplemented in accordance with the Plan or Confirmation Order, as applicable; (4) any reference to an
Entity as a holder of a Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified,
all references herein to “Articles” are references to Articles hereof or hereto; (6) unless otherwise specified, all
references herein to exhibits are references to exhibits in the Plan Supplement; (7) unless otherwise specified, the
words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;
(8) subject to the provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations arising pursuant to the Plan
shall be governed by, and construed and enforced in accordance with the applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless otherwise
specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (11) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may
be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the docket
numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless
otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs of
Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of Interests,”
“Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be interpreted by
the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan all without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all references


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herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have such
consent, acceptance, or approval rights, including by electronic mail.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

          Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the context
requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement set forth in the Restructuring Support Agreement
(including the exhibits thereto) with respect to the form and substance of this Plan, all exhibits to the Plan, and the
Plan Supplement, and all other Definitive Documents (as defined in the Restructuring Support Agreement), including
any amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this reference
(including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full herein.

       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

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                                            ARTICLE II.
                               ADMINISTRATIVE CLAIMS, DIP CLAIMS,
                          PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, or otherwise provided for under the Plan or the Restructuring Support Agreement,
each holder of an Allowed Administrative Claim (other than holders of Professional Claims and Claims for fees and
expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full and final
satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative Claim
in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not Allowed as of
the Effective Date, no later than thirty (30) days after the date on which an order allowing such Administrative Claim
becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is
based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date in accordance
with the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim without
any further action by the holders of such Allowed Administrative Claim; (4) at such time and upon such terms as may
be agreed upon by such holder and the Debtors or the Reorganized Debtors, as applicable; or (5) at such time and
upon such terms as set forth in an order of the Bankruptcy Court.

B.       DIP Claims.

         As set forth in Article IV.D of this Plan, certain of the Technology Business Sale Proceeds shall be used to
pay Allowed DIP Claims (including Allowed DIP Claims with respect to the Make Whole Amount pursuant to the
Technology Business Sale Proceeds Waterfall) outstanding on the Effective Date. Except to the extent that a holder
of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for, each holder of an Allowed DIP Claim shall receive the
following treatment:

                  (a)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP Term Loan Claim (other than the Make Whole
                            Amount, but including all principal, accrued and unpaid interest, fees and expenses and
                            non-contingent indemnity claims) shall receive payment in full in Cash;

                  (b)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall or the proceeds of the Rights Offering, each holder of an Allowed DIP Term
                            Loan Claim constituting the Make Whole Amount shall receive its Pro Rata share of the
                            term loans arising under the Make Whole Tranche;

                  (c)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP LC Claim with respect to drawn DIP Letters of
                            Credit that have not been reimbursed in full in Cash as of the Effective Date shall receive
                            payment in full in Cash;




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                  (d)      each holder of an Allowed DIP LC Claim (other than in respect of DIP Cash Secured
                           Letters of Credit) shall receive participation in the Super Senior Exit Facility in an amount
                           equal to each such holder’s DIP Letter of Credit Facility commitments;

                  (e)      each holder of a DIP Cash Secured Letter of Credit Claim shall receive participation in
                           the Cash Secured Exit LC Facility in an amount equal to such holder’s DIP Cash Secured
                           Letter of Credit Claim; provided that any cash collateral in the DIP Cash Secured LC
                           Account (as defined in the DIP Credit Facility Term Sheet) shall collateralize the Cash
                           Secured LC Exit Facility; and

                  (f)      all DIP Hedging Obligations shall be rolled into and deemed incurred under the Super
                           Senior Exit Facility.

         To the extent the Funded DIP Indebtedness is repaid in full prior to the Effective Date, the Debtors shall not
make any payments to trade vendors for penalty interest payments (excluding, for the avoidance of doubt, customary
liquidated damages to customers) unless such payments had otherwise been specified in the Approved Budget (as
defined in the DIP Credit Agreement) or authorized pursuant to the DIP Financing Orders.

C.       Professional Claims.

         1.   Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash
in the amount the Bankruptcy Court allows, including from the Professional Escrow Account, which the Reorganized
Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Amount on the
Effective Date.

         2.   Professional Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, in consultation with the Required Consenting Lenders,
establish and fund the Professional Escrow Account with Cash equal to the Professional Amount, which shall be
funded by the Reorganized Debtors. The Professional Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors.
The amount of Allowed Professional Claims shall be paid in Cash to the Professionals by the Reorganized Debtors
from the Professional Escrow Account as soon as reasonably practicable after such Professional Claims are Allowed.
When such Allowed Professional Claims have been paid in full, any remaining amount in the Professional Escrow
Account shall promptly be paid to the Reorganized Debtors without any further action or order of the Bankruptcy
Court.

         3.   Professional Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
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Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

D.       Priority Tax Claims.

          Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses, Consent Fee.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
and noteholder consent fees payable under Section 12 of the Restructuring Support Agreement payable in Cash, which,
for the avoidance of doubt, shall include the Noteholder Consent Fee (as defined in the Restructuring Support
Agreement), shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent
not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms of the
Restructuring Support Agreement, without any requirement to file a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses and Cash consent fees to be paid on the Effective Date shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least two (2) Business Days before the
anticipated Effective Date; provided that such estimates shall not be considered an admission or limitation with respect
to such Restructuring Expenses. On or as soon as practicable after the Effective Date, final invoices for all
Restructuring Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors. In addition,
the Debtors and the Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due
Restructuring Expenses related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status            Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Presumed to Accept)
                           Other Prepetition Financing                          Not Entitled to Vote
              Class 3                                           Unimpaired
                           Claims                                               (Presumed to Accept)
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                Class              Claims and Interests             Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 4      Bilateral Facility Claims             Unimpaired
                                                                                (Presumed to Accept)
              Class 5      2021 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6A     2023 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6B     Revolving Credit Claims               Impaired       Entitled to Vote

              Class 6C     Term Loan Claims                      Impaired       Entitled to Vote
                           Credit Agreement Hedging
              Class 6D                                           Impaired       Entitled to Vote
                           Claims
                           Cash Secured Letter of Credit
              Class 7                                            Impaired       Entitled to Vote
                           Claims
                           Lloyds Letter of Credit
              Class 8                                            Impaired       Entitled to Vote
                           Claims
              Class 9      Senior Notes Claims                   Impaired       Entitled to Vote
                                                                                Not Entitled to Vote
              Class 10     General Unsecured Claims              Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 11     Intercompany Claims                                  (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Equity Interests                            Not Entitled to Vote
                                                                 Unimpaired /
              Class 12     Other Than in McDermott                              (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Preferred Equity                            Not Entitled to Vote
              Class 13                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)
                           Existing Common Equity                               Not Entitled to Vote
              Class 14                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized Debtors
and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the holder of
an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
reasonably practicable thereafter.

         1.   Class 1 – Other Secured Claims

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: Each holder of an Allowed Other Secured Claim shall receive, at the option of
                           the applicable Debtor:

                           (i)         payment in full in Cash of its Allowed Other Secured Claim;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or



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                      (iv)     such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                               accordance with section 1124 of the Bankruptcy Code.

             (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    2.   Class 2 – Other Priority Claims

             (a)      Classification: Class 2 consists of all Other Priority Claims.

             (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive payment in full
                      in Cash.

             (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    3.   Class 3 – Other Prepetition Financing Claims

             (a)      Classification: Class 3 consists of all Other Prepetition Financing Claims.

             (b)      Treatment: Each Allowed Other Prepetition Financing Claim shall be Reinstated.

             (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Other Prepetition Financing
                      Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                      the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                      the Plan.

    4.   Class 4 – Bilateral Facility Claims

             (a)      Classification: Class 4 consists of all Bilateral Facility Claims.

             (b)      Treatment: Each Allowed Bilateral Facility Claim shall be Reinstated.

             (c)      Voting: Class 4 is Unimpaired under the Plan. Holders of Bilateral Facility Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    5.   Class 5 – 2021 Letter of Credit Claims

             (a)      Classification: Class 5 consists of all 2021 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2021 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2021 Letter of Credit Claims on account of unfunded 2021
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s Allowed 2021 Letter of Credit Claim,

                      (ii)     with respect to any 2021 Letter of Credit Claims on account of funded 2021
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor

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                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2021 Letter of Credit Claim pursuant to
                               Section 2.15 of the 2021 LC Agreement.

             (c)      Voting: Class 5 is Impaired under the Plan. Holders of 2021 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    6.   Class 6A – 2023 Letter of Credit Claims

             (a)      Classification: Class 6A consists of all 2023 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2023 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2023 Letter of Credit Claims on account of unfunded 2023
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s Allowed 2023 Letter of Credit Claim,

                      (ii)     with respect to any 2023 Letter of Credit Claims on account of funded 2023
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2023 Letter of Credit Claim pursuant to
                               Section 2.15 of the Credit Agreement.

             (c)      Voting: Class 6A is Impaired under the Plan. Holders of 2023 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    7.   Class 6B – Revolving Credit Claims

             (a)      Classification: Class 6B consists of all Revolving Credit Claims.

             (b)      Allowed Amount: As of the Effective Date, the Revolving Credit Claims shall be Allowed
                      and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                      Credit Facility, including all principal, accrued and unpaid interest at the applicable default
                      rate, and all accrued and unpaid fees, expenses, and noncontingent indemnity payable
                      under the Revolving Credit Facility and the DIP Financing Order.

             (c)      Treatment: Each holder of an Allowed Revolving Credit Claim shall receive:

                      (i)      with respect to any Revolving Credit Claims on account of unfunded Revolving
                               LCs, participation in the Roll-Off LC Exit Facility in an amount equal to each
                               such holder’s Allowed Revolving Credit Claim,

                      (ii)     with respect to any Revolving Credit Claims on account of (x) Revolving Loans
                               or (y) funded Revolving LCs, its Secured Creditor Pro Rata Share of the Secured
                               Creditor Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed Revolving Credit Claim pursuant to Section




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                              2.15 of the Credit Agreement.

             (d)     Voting: Class 6B is Impaired under the Plan. Holders of Revolving Credit Claims are
                     entitled to vote to accept or reject the Plan.

    8.   Class 6C – Term Loan Claims

             (a)     Classification: Class 6C consists of all Term Loan Claims.

             (b)     Allowed Amount: As of the Effective Date, the Term Loan Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Term Loan Facility,
                     including all principal, accrued and unpaid interest at the applicable default rate, and all
                     accrued and unpaid fees, expenses, and noncontingent indemnity payable under the Term
                     Loan Facility and the DIP Financing Order.

             (c)     Treatment: Each holder of an Allowed Term Loan Claim shall receive its Secured Creditor
                     Pro Rata Share of the Secured Creditor Funded Debt Distribution.

             (d)     Voting: Class 6C is Impaired under the Plan. Holders of Term Loan Claims are entitled
                     to vote to accept or reject the Plan.

    9.   Class 6D – Credit Agreement Hedging Claims

             (a)     Classification: Class 6D consists of all Credit Agreement Hedging Claims.

             (b)     Treatment: Each holder of an Allowed Credit Agreement Hedging Claim that remains
                     unpaid as of the Effective Date shall receive for any Allowed Credit Agreement Hedging
                     Claims such holder’s Secured Creditor Pro Rata Share of the Secured Creditor Funded
                     Debt Distribution.

             (c)     Voting: Class 6D is Impaired under the Plan. Holders of Credit Agreement Hedging
                     Claims are entitled to vote to accept or reject the Plan.

    10. Class 7 – Cash Secured Letter of Credit Claims

             (a)     Classification: Class 7 consists of all Cash Secured Letter of Credit Claims.

             (b)     Treatment: Each holder of an Allowed Cash Secured Letter of Credit Claim outstanding
                     as of such date shall:

                     (i)      be deemed to reissue its Cash Secured Letters of Credit under the Cash Secured
                              LC Exit Facility which shall be secured by the same cash collateral which secured
                              the Cash Secured Letters of Credit prior to the Petition Date, and

                     (ii)     payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                              due to such holder of an Allowed Cash Secured Letter of Credit Claim pursuant
                              to Section 2.15 of the Credit Agreement.

             (c)     Voting: Class 7 is Impaired under the Plan. Holders of Cash Secured Letter of Credit
                     Claims are entitled to vote to accept or reject the Plan.




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    11. Class 8 – Lloyds Letter of Credit Claims

            (a)      Classification: Class 8 consists of all Lloyds Letter of Credit Claims.

            (b)      Treatment: Each holder of an Allowed Lloyds Letter of Credit Claim shall receive:

                     (i)      with respect to any Lloyds Letter of Credit Claims on account of unfunded Lloyds
                              Letters of Credit, participation in the Roll-Off LC Exit Facility in amount equal
                              to such Allowed Lloyds Letter of Credit Claim,

                     (ii)     with respect to any Lloyds Letter of Credit Claims on account of funded Lloyds
                              Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                              Funded Debt Distribution, and

                     (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                              due to such holder of an Allowed Lloyds Letter of Credit Claim pursuant to
                              Section 2(b) of the Lloyds Letter of Credit Agreement.

            (c)      Voting: Class 8 is Impaired under the Plan. Holders of Lloyds Letter of Credit Claims are
                     entitled to vote to accept or reject the Plan.

    12. Class 9 – Senior Notes Claims

            (a)      Classification: Class 9 consists of all Senior Notes Claims.

            (b)      Allowed Amount: $[●].

            (c)      Treatment: Each holder of an Allowed Senior Notes Claim shall receive its pro rata share
                     of:

                     (i)      6% of the New Common Stock, plus additional shares of New Common Stock as
                              a result of the Prepetition Funded Secured Claims Excess Cash Adjustment,
                              subject to dilution on account of the New Warrants and the Management Incentive
                              Plan; and

                     (ii)     the New Warrants.

            (d)      Voting: Class 9 is Impaired under the Plan. Holders of Senior Notes Claims are entitled
                     to vote to accept or reject the Plan.

    13. Class 10 – General Unsecured Claims

            (a)      Classification: Class 10 consists of all General Unsecured Claims.

            (b)      Treatment: Each holder of an Allowed General Unsecured Claim shall receive, at the
                     option of the applicable Debtor:

                     (i)      payment in full in Cash; or

                     (ii)     Reinstatement.

            (c)      Voting: Class 10 is Unimpaired under the Plan. Holders of General Unsecured Claims are
                     conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                     Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                     Plan.
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    14. Class 11 – Intercompany Claims

            (a)      Classification: Class 11 consists of all Intercompany Claims.

            (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                     Debtor (with the consent of the Required Consenting Lenders), either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Intercompany Claims will not receive any distribution on account of such
                              Intercompany Claims.

            (c)      Voting: Class 11 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 11 is not entitled to vote to accept or reject the Plan.

    15. Class 12 – Existing Equity Interests Other Than in McDermott

            (a)      Classification: Class 12 consists of all Existing Equity Interests Other Than in McDermott.

            (b)      Treatment: Each Existing Equity Interests Other Than in McDermott shall be, at the option
                     of the applicable Debtor, either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Existing Equity Interests Other Than in McDermott will not receive any
                              distribution on account of such Existing Equity Interests Other Than in
                              McDermott.

            (c)      Voting: Class 12 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 12 is not entitled to vote to accept or reject the Plan.

    16. Class 13 – Existing Preferred Equity Interests

            (a)      Classification: Class 13 consists of all Existing Preferred Equity Interests.

            (b)      Treatment: Holders of Existing Preferred Equity Interests will not receive any distribution
                     on account of such Interests, which will be canceled, released, and extinguished as of the
                     Effective Date, and will be of no further force or effect.

            (c)      Voting: Class 13 is conclusively deemed to have rejected the Plan pursuant to
                     section 1126(g) of the Bankruptcy Code. Class 13 is not entitled to vote to accept or reject
                     the Plan.

    17. Class 14 – Existing Common Equity Interests

            (a)      Classification: Class 14 consists of all Existing Common Equity Interests.

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                  (b)      Treatment: Holders of Existing Common Equity Interests will not receive any distribution
                           on account of such Interests, which will be canceled, released, and extinguished as of the
                           Effective Date, and will be of no further force or effect.

                  (c)      Voting: Class 14 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve the
right, subject to the prior consent of the Required Consenting Lenders, which shall not be unreasonably withheld, to
modify the Plan in accordance with Article X hereof and the Restructuring Support Agreement to the extent, if any,
that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying
the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to
the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
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Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

         As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Superpriority
Term Loan Claims, 2021 Letter of Credit Claims, 2023 Letter of Credit Claims, Revolving LC Claims, Revolving
Loan Claims, Term Loan Claims, Cash Secured Letter of Credit Claims, Credit Agreement Hedging Claims, and
Senior Notes Claims and (2) any claim to avoid, subordinate, or disallow any 2021 Letter of Credit Claims, 2023
Letter of Credit Claims, Revolving LC Claims, Revolving Loan Claims, Term Loan Claims, Cash Secured Letter of
Credit Claims, Credit Agreement Hedging Claims, and Senior Notes Claims, whether under any provision of chapter
5 of the Bankruptcy Code, on any equitable theory (including equitable subordination, equitable disallowance, or
unjust enrichment) or otherwise. The Plan shall be deemed a motion to approve the good faith compromise and
settlement of all such Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the
Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such
settlement and compromise is fair, equitable, reasonable and in the best interests of the Debtors and their Estates.
Subject to Article VI hereof, all distributions made to holders of Allowed Claims and Allowed Interests (as applicable)
in any Class are intended to be and shall be final.

B.       Restructuring Transactions.

          On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The actions to implement the Restructuring Transactions may include:
(1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable
law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation
on terms consistent with the terms of the Plan and having other terms for which the applicable parties agree; (3) the
filing of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial law;
and (4) all other actions that the applicable Entities determine to be necessary, including making filings or recordings
that may be required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be
deemed to, pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as
may be necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the
Plan. On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable,
shall issue all securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Reorganized Debtors.

       On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under the Plan as necessary to consummate

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the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized Debtors. The
Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine
to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy their obligations
under the Plan. Except as set forth herein, any changes in intercompany account balances resulting from such transfers
will be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement practices
and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facility Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.

D.       Technology Business Sale.

         1.   Technology Business Sale Process.

         Following the Petition Date, in consultation with the Consultation Parties (as defined in the Bidding
Procedures), the Debtors shall continue their sale and marketing process and solicit bids for the sale or other disposition
of all or substantially all of the Technology Business Sale, in accordance with the terms and conditions of the
Restructuring Support Agreement (including the Milestones (as defined in the Restructuring Support Agreement)) and
in a manner acceptable to the Required Consenting Lenders. For the avoidance of doubt, the Debtors may only execute
an agreement for the sale or other disposition of any part of the Technology Business with the consent of the Required
Consenting Lenders.

         The Consultation Parties shall have the right to review all information, diligence, documents and other
materials provided by the Debtors or their advisors to any bidder or prospective bidder in connection with the
Technology Business Sale and to consult with the Debtors and their advisors with respect to the Technology Business
Sale. The Debtors shall provide to the Consultation Parties all term sheets, letters, proposals, offers, bids and other
materials, whether non-binding or not, that are received by the Debtors or their advisors in connection with the
Technology Business Sale within one (1) day of receipt by the Debtors or their advisors, as applicable.

         2.   Closing of the Technology Business Sale.

          On or before the Effective Date, the Debtors shall be authorized to consummate the Technology Business
Sale and, among other things, the Lummus Assets and Interests (including Executory Contracts and Unexpired Leases
assumed and assigned pursuant to Article V hereof) shall be transferred to and vest in the Purchaser free and clear of
all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Purchase Agreement and, as applicable,
the Confirmation Order or an order approving the Technology Business Sale; provided that, to the extent the
Technology Business Sale is to be consummated pursuant to the Confirmation Order, the Debtors may request entry
of any order supplementing the Confirmation Order that the Debtors believe is necessary or appropriate to implement
the terms and conditions of the Technology Business Sale. On and after the Effective Date, except as otherwise
provided in the Plan, the Debtors or the Purchaser, as applicable, may operate the Debtors’ businesses and may use,
acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.




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         3.   Technology Business Sale Proceeds Waterfall.

        Any Technology Business Sale Proceeds that have not otherwise been applied in accordance with the DIP
Credit Agreement shall be applied as follows:

                  (a)      first, to fund the minimum Cash balance of $820 million, as required by the Business Plan,

                  (b)      second, to repay Funded DIP Indebtedness (other than the Make Whole Amount);

                  (c)      third, payment of the Make Whole Amount; and

                  (d)      fourth, to fund cash to support new or additional letters of credit sufficient to meet the
                           $2.44 billion letter of credit capacity contemplated by the Exit Facilities Term Sheet; and

                  (e)      fifth, the repayment of Prepetition Funded Secured Claims on a Pro Rata basis.

         4.   Residual Prepetition Funded Secured Claims Pay Down.

          On the Effective Date, the Prepetition Funded Secured Claims will be repaid on a pro rata basis from (i) the
Residual Technology Business Sale Proceeds and (ii) any available Cash (such available Cash shall exclude Cash held
in variable interest entities associated with joint venture and consortium arrangements, Cash trapped in foreign
jurisdictions, and insurance captive Cash) in excess of $820 million available cash at emergence after payment of all
fees and transaction expenses ((i) and (ii) together the “Residual Prepetition Funded Secured Claims Pay Down”).

          If the Residual Prepetition Funded Secured Claims Pay Down amount is greater than $0, the initial allocation
of 94% of the New Common Stock to the holders of Prepetition Funded Secured Claims shall be reduced, and the initial
allocation of 6% of the New Common Stock to holders of Senior Notes Claim shall be increased, by the percentage
calculated by dividing:

                  (a)      the Residual Prepetition Funded Secured Claims Pay Down amount by

                  (b)      an amount equal to:

                           (i)      the aggregate amount of Prepetition Funded Secured Claims (including, without
                                    limitation, principal and any accrued prepetition or postpetition interest at the
                                    default rate as applicable) minus an amount equal to the sum of (y) the aggregate
                                    amount of the loans to be issued under the Term Loan Exit Facility and (z) any
                                    proceeds of the Rights Offering up to $150 million; divided by

                           (ii)     94% minus an amount equal to (y) the aggregate proceeds of the Rights Offering up
                                    to $150 million divided by (z) Plan Equity Value

(such adjustment of initial allocations, the “Prepetition Funded Secured Claims Excess Cash Adjustment”).

          For the avoidance of doubt, if the Technology Business Sale Proceeds paid pursuant to the Technology
Business Sale Proceeds Waterfall have not paid the Make Whole Amount in full, all proceeds of the Rights Offering
will (a) first go to the pay down of the Make Whole Amount and (b) once the Make Whole Amount is paid in full, the
Prepetition Funded Secured Claims will be repaid on a pro rata basis from such remaining proceeds of the Rights
Offering.

E.       Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations, the Rights Offering, or the Technology Business Sale in accordance

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with the Technology Business Sale Proceeds Waterfall, as applicable; (2) the New Common Stock; (3) the proceeds
from the Rights Offering; (4) the New Warrants; and (5) the proceeds from the Exit Facilities, as applicable.

         1.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities, the terms of which will
be set forth in the Exit Facility Documents.
         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facility Documents, and incur and pay any fees and expenses in
connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.
          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Exit Facility
Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the collateral
specified in the Exit Facility Documents. To the extent provided in the Exit Facility Documents, the Exit Facility
Agents or holder(s) of Liens under the Exit Facility Documents are authorized to file with the appropriate authorities
mortgages, financing statements and other documents, and to take any other action in order to evidence, validate, and
perfect such Liens or security interests. The guarantees, mortgages, pledges, Liens, and other security interests granted
to secure the obligations arising under the Exit Facility Documents have been granted in good faith, for legitimate
business purposes, and for reasonably equivalent value as an inducement to the lenders thereunder to extent credit
thereunder shall be deemed not to constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be
subject to avoidance, recharacterization, or subordination for any purposes whatsoever and shall not constitute
preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law,
and the priorities of such Liens and security interests shall be as set forth in the Exit Facility Documents. The
Reorganized Debtors and the persons and entities granted such Liens and security interests shall be authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and perfect
such Liens and security interests under the provisions of the applicable state, federal, or other law that would be
applicable in the absence of the Plan and the Confirmation Order (it being understood that perfection shall occur
automatically by virtue of the entry of the Confirmation Order and any such filings, recordings, approvals, and
consents shall not be required), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.
         In no event shall the sum of (v) the face amount of letters of credit issued and outstanding at any time under
the Senior Exit LC Facility, plus (w) the face amount of letters of credit issued and outstanding at any time under the
Super Senior Exit Facility, plus (x) the face amount of letters of credit issued or deemed issued and outstanding at any
time under the Roll-Off LC Exit Facility, plus (y) the face amount of letters of credit issued and outstanding at any
time under the Cash Secured LC Exit Facility, exceed the Secured Letter of Credit Cap plus permitted incremental
capacity set forth in the Exit Facilities Term Sheet.
         2.   Issuance of New Common Stock.

          The issuance of the New Common Stock, including the Rights Offering Shares and any options or other
equity awards, if any, reserved for the Management Incentive Plan and the New Warrants, by the Reorganized Debtors
(as set forth in the Restructuring Transactions Memorandum) shall be authorized without the need for any further
corporate action or without any further action by the holders of Claims or Interests. The Reorganized Debtors shall
be authorized to issue a certain number of shares, units or equity interests (as the case may be based on how the New
Common Stock is denominated and the identity of the Reorganized Debtor issuing such shares, units, or equity
interests) of New Common Stock required to be issued under the Plan and pursuant to their New Organizational
Documents. On the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall issue all Securities, notes,
instruments, certificates, and other documents required to be issued pursuant to the Plan.

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          All of the shares, units, or equity interests (as the case may be based on how the New Common Stock is
denominated) of New Common Stock issued or authorized to be issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI hereof shall be
governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance.

          On the Effective Date or as soon as reasonably practicable thereafter, the New Common Stock will be
distributed in accordance with the Plan.

         3.   Rights Offering.

         On or about the Effective DateIn accordance with the Restructuring Support Agreement, the applicable
Reorganized Debtor shall consummate the Rights Offering, through which each Consenting Noteholder shall have the
opportunity, subject to the terms and conditions set forth in the Plan and the Rights Offering Procedures, to purchase
the Rights Offering Shares.

          The Rights Offering Procedures shall be approved within 5 days of Petition Date and shall provide for a
subscription deadline of no later than the Voting Deadline. Subscription rights to participate in the Rights Offering
shall be distributed to the Consenting Noteholders in accordance with the Restructuring Support Agreement, the
Restructuring Term Sheet, and the Plan and the issuance of such subscription rights will be exempt from SEC
registration under applicable law. Proceeds of the Rights Offering to be used (a) first, for Cash pay down of any
portion Make Whole Amount that is not paid in full in Cash from Technology Business Sale Proceeds in accordance
with the Technology Business Sale Proceeds Waterfall and (b) second, for Cash pay down of Prepetition Funded
Secured Claims.

         4.   Issuance of New Warrants.

          On the Effective Date, the applicable Reorganized Debtor (as set forth in the Restructuring Transactions
Memorandum) will issue the New Warrants only to the extent required to provide for distributions to holders of the
Senior Notes Claims, as contemplated by this Plan. All of the New Warrants issued pursuant to the Plan shall be duly
authorized without the need for any further corporate action and without any further action by the Debtors or
Reorganized Debtors, as applicable, validly issued, fully paid, and non-assessable. Each distribution and issuance
referred to in Article VI hereof shall be governed by the terms and conditions set forth in the Restructuring Support
Agreement, the Plan, and the New Warrant Agreements applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance without the need for execution by any party thereto other
than the applicable Reorganized Debtor(s).

         The New Warrants shall be distributed to holders of Senior Notes Claims in accordance with the
Restructuring Support Agreement and the Plan. The New Warrants shall have full customary anti-dilution and Black-
Scholes protection.

F.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise,
in each case, consistent with the Plan and the Restructuring Support Agreement, and to the extent such documents are
amended in accordance therewith, such documents are deemed to be amended pursuant to the Plan and require no
further action or approval (other than any requisite filings required under applicable state, provincial, or federal law).

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After the Effective Date, the respective certificate of incorporation and bylaws (or other formation documents) of one
or more of the Reorganized Debtors may be amended or modified on the terms therein without supervision or approval
by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. After the Effective
Date, one or more of the Reorganized Debtors may be disposed of, dissolved, wound down, or liquidated without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.

G.       Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan shall vest in each
respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and after the
Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor may operate its business and may
use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

H.       Cancellation of Existing Securities and Agreements.

           On the Effective Date, except to the extent otherwise provided in the Plan or the Confirmation Order, all
notes, instruments, certificates, credit agreements, indentures, and other documents evidencing Claims or Interests
shall be cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied
in full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities,
and other documentation will have no rights arising from or relating to such instruments, Securities, and other
documentation, or the cancellation thereof, except the rights provided for pursuant to this Plan. Notwithstanding
anything to the contrary herein, but subject to any applicable provisions of Article VI hereof, to the extent cancelled
pursuant to this paragraph, the DIP Credit Agreement, 2021 LC Agreement, the Credit Agreement, and the Senior
Notes Indenture shall continue in effect solely to the extent necessary to: (1) permit holders of Claims under the DIP
Credit Agreement, the 2021 LC Agreement, the Credit Agreement, and the Senior Notes Indenture to receive their
respective Plan Distributions, if any; (2) permit the Reorganized Debtors and the Disbursing Agent, as applicable, to
make Plan Distributions on account of the Allowed Claims under the DIP Credit Agreement, the 2021 LC Agreement,
the Credit Agreement, and the Senior Notes Indenture, as applicable; (3) permit each of the DIP Agents, the Revolving
and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, the
Superpriority Term Loan Agent, and the Senior Notes Trustee to seek compensation and/or reimbursement of fees
and expenses in accordance with the terms of this Plan; and (4) permit each of the DIP Agent, the Revolving and LC
Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, Superpriority Term
Loan Agent, and the Senior Notes Trustee to appear and be heard in the Chapter 11 Cases or in any proceeding in the
Bankruptcy Court, including to enforce any obligation owed to the DIP Agent, the Revolving and LC Administrative
Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, the Superpriority Term Loan Agent,
and the Senior Notes Trustee, or holders of Claims under the DIP Credit Agreement, the 2021 LC Agreement, the
Credit Agreement, and the Senior Notes Indenture. Except as provided in this Plan (including Article VI hereof), on
the Effective Date, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan Administrative
Agent, the 2021 LC Administrative Agent, the Superpriority Term Loan Agent, and the Senior Notes Trustee, and
their respective agents, successors, and assigns, shall be automatically and fully discharged of all of their duties and
obligations associated with the DIP Credit Agreement, the 2021 LC Agreement, the Credit Agreement, and the Senior
Notes Indenture, as applicable. To the extent cancelled in accordance with this paragraph, the commitments and
obligations (if any) of the holders of the Senior Notes and the lenders under the DIP Credit Agreement, the Credit
Agreement, and the 2021 LC Agreement to extend any further or future credit or financial accommodations to any of
the Debtors, any of their respective subsidiaries or any of their respective successors or assigns under the 2021 LC
Agreement, the Credit Agreement, and the Senior Notes Indenture, as applicable, shall fully terminate and be of no
further force or effect on the Effective Date.



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I.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Compensation and Benefit Programs;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock; (4) implementation of the Restructuring Transactions, including the Rights Offering; (5) issuance
and distribution of the New Warrants; (6) entry into the New Warrants Agreements and the Exit Facility Documents,
as applicable; (7) all other actions contemplated under the Plan (whether to occur before, on, or after the Effective
Date); (8) adoption of the New Organizational Documents; (9) the rejection, assumption, or assumption and
assignment, as applicable, of Executory Contracts and Unexpired Leases; and (10) all other acts or actions
contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring Transactions
contemplated by the Plan (whether to occur before, on, or after the Effective Date). All matters provided for in the
Plan involving the corporate structure of the Debtors or the Reorganized Debtors, and any corporate, partnership,
limited liability company, or other governance action required by the Debtors or the Reorganized Debtor, as
applicable, in connection with the Plan shall be deemed to have occurred and shall be in effect, without any
requirement of further action by the Security holders, members, directors, or officers of the Debtors or the Reorganized
Debtors, as applicable. On or (as applicable) prior to the Effective Date, the appropriate officers of the Debtors or the
Reorganized Debtors, as applicable, shall be authorized and (as applicable) directed to issue, execute, and deliver the
agreements, documents, Securities, and instruments contemplated under the Plan (or necessary or desirable to effect
the transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors, including the
New Common Stock, the New Organizational Documents, the Exit Facility Documents, the New Warrants, the New
Warrants Agreements (as applicable), and any and all other agreements, documents, Securities, and instruments
relating to the foregoing. The authorizations and approvals contemplated by this Article IV.I shall be effective
notwithstanding any requirements under non-bankruptcy law.

J.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state or country of organization if and to the extent required
in accordance with the applicable laws of the respective state or country of organization. The New Organizational
Documents will (a) prohibit the issuance of non-voting equity Securities, to the extent required under
section 1123(a)(6) of the Bankruptcy Code and (b) provide for customary minority shareholder protections and
information and reporting requirements subject to the consent rights set forth in Section 3.02 of the Restructuring
Support Agreement.

          After the Effective Date, the Reorganized Debtors may amend and restate their respective New
Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may file such amended
certificates or articles of incorporation, bylaws, or such other applicable formation documents, and other constituent
documents as permitted by the laws of the respective states, provinces, or countries of incorporation and the New
Organizational Documents.

K.       Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for current and
former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other professionals
of the Debtors, as applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of
the Plan on terms no less favorable to such current and former directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtors than the indemnification provisions in place
prior to the Effective Date[; provided that the Reorganized Debtors shall not indemnify officers, directors, managers,
employees, attorneys, accountants, investment bankers, or other professionals of the Debtors for any claims or Causes


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of Action arising out of or relating to any act or omission that is a criminal act or constitutes intentional fraud, gross
negligence, or willful misconduct.]

L.       Directors and Officers of the Reorganized Debtors.

         The New Board will consist of [●] directors: (i) the Chief Executive Officer of Reorganized McDermott, (ii)
[●] directors selected by the Required Consenting Term Lenders, and (iii) [●] directors selected by the Required
Consenting Revolving Lenders and the Required Consenting LC Lenders. The identities of directors on the New
Board shall be set forth in the Plan Supplement to the extent known at the time of filing. Corporate governance for
Reorganized McDermott, including charters, bylaws, operating agreements, or other organization documents, as
applicable, shall: (a) be consistent with the Restructuring Term Sheet, Section 3 of the Restructuring Support
Agreement, and section 1123(a)(6) of the Bankruptcy Code; and (b) provide for customary minority shareholder
protections and information and reporting requirements reasonably acceptable to the Debtors and the Required
Consenting Stakeholders.

M.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

N.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants; (2) the Restructuring Transactions; (3) the
creation, modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
other security interest, or the securing of additional indebtedness by such or other means; (4) the making, assignment,
or recording of any lease or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations
under and in connection with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,
assignments, or other instrument of transfer executed in connection with any transaction arising out of, contemplated
by, or in any way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee,
intangibles or similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, sales or use tax,
mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other
similar tax or governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local
governmental officials or agents shall forego the collection of any such tax or governmental assessment and accept
for filing and recordation any of the foregoing instruments or other documents without the payment of any such tax,
recordation fee, or governmental assessment. All filing or recording officers (or any other Person with authority over
any of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of section
1146(a) of the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall
accept for filing and recordation any of the foregoing instruments or other documents without the payment of any such
tax or governmental assessment.

O.       Director and Officer Liability Insurance.

         Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code
effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair,

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or otherwise modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date.

P.       Management Incentive Plan.

          Effective on the Effective Date, the Reorganized Debtors will reserve 7.5% of New Common Stock (on a
fully diluted and fully distributed basis) which may be granted in the form of options, restricted stock, restricted stock
units, warrants, stock appreciations rights or any combination thereof (each an “Award” and such reserve, the “MIP
Pool”) for grant to management employees and members of the New Board and enter into severance and change in
control arrangements (“Severance Arrangements”) with senior executives of the Debtors that are insiders pursuant
to Section 16 of the Exchange Act (“Senior Executives”) in amounts and on terms and conditions to be agreed with
and approved by the Required Consenting Lenders. The New Board shall grant no less than 53.33% of the MIP Pool
to the employees of the Debtors no later than 60 days following the Effective Date (the “Emergence Awards”) with
the terms of the Emergence Awards to be determined as set forth below and the remainder of the MIP Pool will be
available for future grants to management employees and members of the New Board with allocations, terms and
conditions to be determined by the New Board. From the Petition Date through entry of the Confirmation Order, the
Debtors, the Required Consenting Lenders and any consultants or advisors engaged by the Required Consenting
Lenders will use commercially reasonable efforts to agree on an allocation schedule and the terms, conditions, vesting
and composition (including, for the avoidance of doubt, which may be in any form of Award) of the Emergence
Awards (together, the “MIP Proposal”), and during this period the Debtors will use commercially reasonable efforts
to facilitate meetings between the Required Consenting Lenders and the Debtors’ key management personnel. As
soon as reasonably practicable following the Effective Date but no later than 60 days following the Effective Date,
the New Board shall consider the MIP Proposal for approval and New Board shall determine the final terms and
conditions of the actual grants. A Senior Executive will be permitted to voluntarily terminate for “Good Reason” and
receive the severance benefits under the Severance Arrangements if the Senior Executive does not receive an
Emergence Award.

Q.       Employee and Retiree Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all employee wages, compensation, and
benefit programs in place as of the Effective Date with the Debtors shall be assumed by the Reorganized Debtors and
shall remain in place as of the Effective Date, and the Reorganized Debtors will continue to honor such agreements,
arrangements, programs, and plans. For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy
Code, from and after the Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law. On the Effective Date, the Debtors shall
enter into severance and change in control arrangements with Senior Executives in amounts and on terms and
conditions to be agreed with and approved by the Required Consenting Lenders.

R.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations


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contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. The
Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of the
Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained
Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the objection
party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of Action of
the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the
Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or
as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in Article V.H.1 and elsewhere herein, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
Reorganized Debtor (and assigned to the party(ies) set forth in the Technology Business Sale Documents, as
applicable) in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule; (2)
previously expired or terminated pursuant to their own terms; (3) have been previously assumed or rejected by the
Debtors pursuant to a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or
(5) have an ordered or requested effective date of rejection that is after the Effective Date.

         Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective

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as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right to alter, amend, modify, or supplement the Assumed Executory Contracts and Unexpired Leases Schedule
and the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to forty-five (45) days after the
Effective Date, so long as such allocation, amendment, modification, or supplement is consistent with the
Restructuring Support Agreement.; provided that the Cameron LNG Project Obligations shall be assumed as of the
Effective Date in accordance with Article V.J.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.13 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         No later than seven (7) calendar days before the Confirmation Hearing, the Debtors shall provide notices of
proposed Cure amounts to the counterparties to the agreements listed on the Assumed Executory Contracts and
Unexpired Leases Schedule, which shall include a description of the procedures for objecting to the proposed Cure
amounts or the Reorganized Debtors’ ability to provide “adequate assurance of future performance thereunder” (within
the meaning of section 365 of the Bankruptcy Code). Unless otherwise agreed in writing by the parties in the
applicable Executory Contract or Unexpired Lease, any objection by a counterparty to an Executory Contract or
Unexpired Lease to a proposed assumption or related Cure amount must be Filed, served, and actually received by the
counsel to the Debtor no later than the date and time specified in the notice. Any counterparty to an Executory Contract
or Unexpired Lease that fails to object timely to the proposed assumption or Cure amount will be deemed to have
assented to such assumption or Cure amount. Notwithstanding anything herein to the contrary, in the event that any
Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases Schedule
after such seven-day deadline, a notice of proposed Cure amounts with respect to such Executory Contract or
Unexpired Lease will be sent promptly to the counterparty thereof.

         Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or Unexpired
Lease, all requests for payment of Cure that differ from the amounts paid or proposed to be paid by the Debtors or the

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Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court on or before thirty (30) days after the
Effective Date. Any such request that is not timely filed shall be disallowed and forever barred, estopped, and enjoined
from assertion, and shall not be enforceable against any Reorganized Debtor, without the need for any objection by
the Reorganized Debtors or any other party in interest or any further notice to or action, order, or approval of the
Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and discharged upon payment by the Debtors
or the Reorganized Debtors of the Cure; provided that nothing herein shall prevent the Reorganized Debtors from
paying any Cure despite the failure of the relevant counterparty to file such request for payment of such Cure amount.
The Reorganized Debtors also may settle any Cure without any further notice to or action, order, or approval of the
Bankruptcy Court.

          The Debtors or the Reorganized Debtors, as applicable, shall pay the Cure amounts, if any, on the Effective
Date or as soon as reasonably practicable thereafter, or on such other terms as the parties to such Executory Contracts
or Unexpired Leases may agree. If there is any dispute regarding any Cure, the ability of the Reorganized Debtors or
any assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption, then payment of the applicable Cure amount shall
occur as soon as reasonably practicable after entry of a Final Order resolving such dispute, approving such assumption
(and, if applicable, assignment), or as may be agreed upon by the Debtors or the Reorganized Debtors, as applicable,
and the counterparty to the Executory Contract or Unexpired Lease.

          Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result in
the full release and satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary, including
defaults of provisions restricting the change in control or ownership interest composition or any bankruptcy-related
defaults, arising at any time prior to the effective date of assumption. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including pursuant
to the Confirmation Order, shall be deemed disallowed and expunged as of the later of (1) the date of entry of
an order of the Bankruptcy Court (including the Confirmation Order) approving such assumption, (2) the
effective date of such assumption or (3) the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, (1) the
Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and instruments
relating to coverage of all insured Claims and (2) such insurance policies and any agreements, documents, or
instruments relating thereto shall revest in the Reorganized Debtors.

F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.


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G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Employee Compensation and Benefits.

         1.   Compensation and Benefit Programs.

        Subject to the provisions of the Plan, all Compensation and Benefits Programs shall be treated as Executory
Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions of sections 365
and 1123 of the Bankruptcy Code, except for:

         a.       all employee equity or equity-based incentive plans, and any provisions set forth in the
                  Compensation and Benefits Program that provide for rights to acquire Existing Equity Interests in
                  any of the Debtors;

         b.       the change in control agreements entered into with current employees, unless otherwise determined
                  by the Required Consenting Lenders prior to the Effective Date;

         c.       Compensation and Benefits Programs that have been rejected pursuant to an order of a Bankruptcy
                  Court; and

         d.       Compensation and Benefits Programs that, as of the entry of the Confirmation Order, have been
                  specifically waived by the beneficiaries of any employee benefit plan or contract.

          Any assumption of Compensation and Benefits Programs pursuant to the terms herein shall be deemed not
to trigger (i) any applicable change of control, immediate vesting, termination (similar provisions therein) and (ii) an
event of “Good Reason” (or a term of like import), in each case as a result of the consummation of the Restructuring
Transactions. No counterparty shall have rights under a Compensation and Benefits Program assumed pursuant to the
Plan other than those applicable immediately prior to such assumption.

         On the Effective Date, the Debtors shall enter into severance and change in control arrangements with Senior
Executives in amounts and on terms and conditions to be agreed with and approved by the Required Consenting
Lenders.

         2.       Workers’ Compensation Programs.

          As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized Debtors
shall continue to honor their obligations under: (a) all applicable workers’ compensation laws in states in which the
Reorganized Debtors operate; and (b) the Debtors’ written contracts, agreements, agreements of indemnity,
self-insured workers’ compensation bonds, policies, programs, and plans for workers’ compensation and workers’
compensation insurance. All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court; provided that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to any such contracts, agreements, policies,
programs, and plans; provided further that nothing herein shall be deemed to impose any obligations on the Debtors
in addition to what is provided for under applicable state law.

I.       Contracts and Leases Entered Into After the Petition Date.

       Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized


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Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

J.       Assumption of Cameron LNG Project Obligations

         The Cameron LNG Project Obligations shall be assumed by the applicable Reorganized Debtor effective as
of the Effective Date, and the Cameron LNG Project Obligations shall not be subject to the provision of Section V.A.
hereof authorizing the Debtors or Reorganized Debtors, as applicable, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date. Within three Business Days after the
Effective Date, Reorganized McDermott shall issue the Cameron LNG Replacement Guarantee and the Chiyoda
Replacement Guarantee.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date.

           Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors, as the case may be, and the holder of the applicable Allowed Claim on the first Distribution
Date, the Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed on or
before the Effective Date, subject to the Reorganized Debtors’ right to object to Claims; provided that (1) Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business during the
Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the ordinary
course of business in accordance with the terms and conditions of any controlling agreements, course of dealing,
course of business, or industry practice, (2) Allowed Priority Tax Claims shall be paid in accordance with Article II.D
of the Plan, and (3) Allowed General Unsecured Claims shall be paid in accordance with Article III.B.13 of the Plan.
To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be paid
in full in Cash in accordance with the terms of any agreement between the Debtors and the holder of such Claim or as
may be due and payable under applicable non-bankruptcy law or in the ordinary course of business. Thereafter, a
Distribution Date shall occur no less frequently than once in every ninety (90) day period, as necessary, in the
Reorganized Debtors’ sole discretion.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Reorganized Debtors. The Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation


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and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Disbursing Agent shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors.

         3.   Minimum Distributions.

          No fractional shares of New Common Stock or New Warrants shall be distributed and no Cash shall be
distributed in lieu of such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed
Claim or Allowed Interest (as applicable) would otherwise result in the issuance of a number of shares of New
Common Stock or New Warrants that is not a whole number, the actual distribution of shares of New Common Stock
or New Warrants shall be rounded to the next lower whole number with no further payment therefor. The total number
of authorized shares of New Common Stock or New Warrants to be distributed to holders of Allowed Claims
hereunder shall be adjusted as necessary to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         5.   Surrender of Canceled Instruments or Securities.

          On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.H hereof shall be deemed to
have surrendered such certificate or instrument to the Distribution Agent. Such surrendered certificate or instrument
shall be cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of
any non-Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect
to any indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect
for purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not apply to certificates
or instruments evidencing Claims that are Unimpaired under the Plan.


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E.       Manner of Payment.

         1. All distributions of the New Common Stock and the New Warrants to the holders of the applicable
Allowed Claims under the Plan shall be made by the Disbursing Agent on behalf of the Debtors or Reorganized
Debtors, as applicable.

         2. All distributions of Cash to the holders of the applicable Allowed Claims under the Plan shall be made
by the Disbursing Agent on behalf of the applicable Debtor or Reorganized Debtor.

          3. At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

F.       Section 1145 Exemption.

          Pursuant to section 1145 of the Bankruptcy Code or any other applicable exemption, the offering, issuance,
and distribution of the New Common Stock (including the Rights Offering Shares) and the New Warrants, as
contemplated by Article III.B hereof, shall be exempt from, among other things, the registration requirements of
section 5 of the Securities Act and any other applicable law requiring registration prior to the offering, issuance,
distribution, or sale of Securities. In addition, under section 1145 of the Bankruptcy Code, suchthe New Common
Stock and the New Warrants will be freely tradable in the U.S. by the recipients thereof, subject to the provisions of
(i) section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section 2(a)(11) of the
Securities Act, (ii) compliance with applicable securities laws and any rules and regulations of the Securities and
Exchange Commission, if any, applicable at the time of any future transfer of such Securities or instruments, and (iii)
any restrictions in the Reorganized Debtors’ New Organizational Documents.

G.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, Disbursing Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the DIP Financing Orders, the Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any
prepetition Claims, and no holder of a Claim shall be entitled to interest accruing on or after the Petition Date on such
Claim.

J.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
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exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

K.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, each Reorganized Debtor may, pursuant to section 553 of the
Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on account of any Allowed Claim,
any and all claims, rights, and Causes of Action that such Reorganized Debtor may hold against the holder of such
Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount among the relevant Reorganized
Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the Bankruptcy Court or another court
of competent jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of
any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or its successor of any and all
claims, rights, and Causes of Action that such Reorganized Debtor or its successor may possess against the applicable
holder. In no event shall any holder of a Claim be entitled to recoup such Claim against any claim, right, or Cause of
Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder actually has performed such
recoupment and provided notice thereof in writing to the Debtors in accordance with Article XII.G hereof on or before
the Effective Date, notwithstanding any indication in any Proof of Claim or otherwise that such holder asserts, has, or
intends to preserve any right of recoupment.

L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.




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                                            ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         There is no requirement to file a Proof of Claim (or move the Bankruptcy Court for allowance) to have a
Claim Allowed for the purposes of the Plan, except as provided in Article V.B of the Plan. On and after the Effective
Date, except as otherwise provided in this Plan, all Allowed Claims shall be satisfied in the ordinary court of business
of the Reorganized Debtors. The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
authority to (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a
claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under this Plan. If the Debtors or Reorganized Debtors dispute any
Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the manner as if the
Chapter 11 Cases had not been commenced and shall survive the Effective Date as if the Chapter 11 Cases had not
been commenced; provided that the Debtors or Reorganized Debtors may elect, at their sole option, to object to any
Claim (other than Claims expressly Allowed by this Plan) and to have the validity or amount of any Claim adjudicated
by the Bankruptcy Court; provided further that holders of Claims may elect to resolve the validity or amount of any
Claim in the Bankruptcy Court. If a holder makes such an election, the Bankruptcy Court shall apply the law that
would have governed the dispute if the Chapter 11 Cases had not been filed. All Proofs of Claim Filed in the
Chapter 11 Cases shall be considered objected to and Disputed without further action by the Debtors. Except as
otherwise provided herein, all Proofs of Claim Filed after the Effective Date shall be disallowed and forever
barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any further notice to or action, order, or
approval of the Bankruptcy Court.

B.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.R of the Plan.

D.       Estimation of Claims and Interests..

          Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent
or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in
interest previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during
the litigation of any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding
any provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject
to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated

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Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or Interest for all
purposes under the Plan (including for purposes of distributions), and the relevant Reorganized Debtor may elect to
pursue any supplemental proceedings to object to any ultimate distribution on such Claim or Interest.

E.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

F.       Disallowance of Claims or Interests.

          Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which property is
sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the
Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547,
548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors or
the Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final
Order that such Entity or transferee is liable to turn over any property or monies under any of the aforementioned
sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property by the date set
forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if only
the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Disbursing Agent shall provide to the holder of such Claim or
Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

I.       No Interest.

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is made
on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

                                       ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

         Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Definitive Documents, the Plan, or in any contract, instrument, or other agreement or document created or entered
into pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
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satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any
of their assets or properties, regardless of whether any property shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to services
performed by employees of the Debtors prior to the Effective Date and that arise from a termination of employment,
any contingent or non-contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501
of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to section
502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The Confirmation
Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims) and Interests
(other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or in
any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and
assigns. Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and
directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of
any Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable
agents for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.

         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facility Agents that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.       Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is, and is deemed hereby to be, fully, conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized
Debtors, their Estates, and any person seeking to exercise the rights of the Debtors or their Estates, including
any successors to the Debtors or any Estates representatives appointed or selected pursuant to section
1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves and their respective successors, assigns,
and representatives, and any and all other Entities who may purport to assert any Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and Causes of

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Action, including any derivative claims asserted or assertable on behalf of the Debtors, whether known or
unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-
contingent, in law, equity, contract, tort or otherwise, that the Debtors, the Reorganized Debtors, or their
Estates, including any successors to the Debtors or any Estates representative appointed or selected pursuant
to section 1123(b) of the Bankruptcy Code, would have been legally entitled to assert in their own right (whether
individually or collectively) or on behalf of the Holder of any Claim against, or Interest in, a Debtor or other
Entity, or that any Holder of any Claim against, or Interest in, a Debtor or other Entity could have asserted on
behalf of the Debtors, based on or relating to, or in any manner arising from, in whole or in part:

    1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
         business or contractual arrangement between the Debtors and any Released Party, any Securities
         issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
         against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
         excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
         Debtors), intercompany transactions between or among a Company Party and another Company
         Party, the Superpriority Credit Agreement, the Credit Agreement, the 2021 LC Agreement, the Lloyds
         Letter of Credit Agreement, the Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the
         formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
         Agreement, the Disclosure Statement, the DIP Credit Agreement, the Exit Facility Documents, or the
         Plan (including, for the avoidance of doubt, the Plan Supplement);

    2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
         (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
         document or other agreement contemplated by the Plan or the reliance by any Released Party on the
         Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
         with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
         Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
         Supplement, before or during the Chapter 11 Cases;

    3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement or the Plan, the
         solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
         Consummation, the administration and implementation of the Plan, including the issuance or
         distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
         under the Plan or any other related agreement; or

    4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
         any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
         other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) post
Effective Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, any Definitive Document, or any other document, instrument, or agreement (including those set
forth in the Plan Supplement) executed to implement the Plan, including the Exit Facility Documents, the New
Warrants Agreements, or any Claim or obligation arising under the Plan, or (ii) the rights of any holder of
Allowed Claims to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Debtor release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding
that the foregoing Debtor release is: (a) in exchange for the good and valuable consideration provided by the
Released Parties, including, without limitation, the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (b) a good faith settlement and compromise of the
Claims released by the foregoing Debtor release; (c) in the best interests of the Debtors and their Estates and
all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and


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opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates
asserting any Claim or Cause of Action released pursuant to the foregoing Debtor release.

D.        Releases by the Releasing Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely, unconditionally, irrevocably
and forever, released and discharged by each Releasing Party, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may purport to assert
any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, from any
and all Claims and Causes of Action, whether known or unknown, foreseen or unforeseen, matured or
unmatured, existing or hereafter arising, contingent or non-contingent, in law, equity, contract, tort, or
otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of the holder of
any Claim against, or Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest
in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part:

     1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
          business or contractual arrangement between the Debtors and any Releasing Party, any Securities
          issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
          against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
          excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
          Debtors), intercompany transactions between or among a Company Party and another Company
          Party, the Superpriority Credit Agreement, the Credit Agreement, the 2021 LC Agreement, the Lloyds
          Letter of Credit Agreement, Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the
          formulation, preparation, dissemination, negotiation, or filing of the Restructuring Support
          Agreement, the Disclosure Statement, the DIP Credit Agreement, the Exit Facility Documents, or the
          Plan (including, for the avoidance of doubt, the Plan Supplement);

     2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
          (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
          document or other agreement contemplated by the Plan or the reliance by any Released Party on the
          Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
          with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
          Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
          Supplement, before or during the Chapter 11 Cases,

     3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement, or the Plan, the
          solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
          Consummation, the administration and implementation of the Plan, including the issuance or
          distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
          under the Plan or any other related agreement; or

     4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
          any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
          other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) any
party of any obligations related to customary banking products, banking services or other financial
accommodations (except as may be expressly amended or modified by the Plan and the Exit Facility
Documents, or any other financing document under and as defined therein), (ii) any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring Transaction, or
any document, instrument, any Definitive Document, or any agreement (including those set forth in the Plan

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Supplement) executed to implement the Plan, including the Exit Facility Documents, the New Warrants
Agreements, or any Claim or obligation arising under the Plan, or (iii) the rights of holders of Allowed Claims
to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing third-party release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that
the foregoing third-party release is: (a) consensual; (b) essential to the Confirmation of the Plan; (c) given in
exchange for a substantial contribution and for the good and valuable consideration provided by the Released
Parties that is important to the success of the Plan; (d) a good faith settlement and compromise of the Claims
released by the foregoing third-party release; (e) in the best interests of the Debtors and their Estates; (f) fair,
equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and (h) a bar to
any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the foregoing third-
party release.

E.       Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party shall be released and exculpated from any Claims
and Cause of Action for any claim related to any act or omission in connection with, relating to, or arising out
of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or termination of the
Restructuring Support Agreement and related prepetition transactions (including the Superpriority Credit
Agreement, the Credit Agreement, the Senior Notes Indenture or Senior Notes, the 2021 LC Agreement, and
the Lloyds Letter of Credit Agreement), the Disclosure Statement, the Plan, the DIP Credit Facility, the Exit
Facility Documents, the New Warrants Agreements, the Plan Supplement, the Rights Offering, or any
Restructuring Transaction, contract, instrument, release or other agreement or document (including any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu
of such legal opinion), including any Definitive Document, created or entered into before or during the Chapter
11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
pursuit of Consummation, the administration and implementation of the Plan, including the issuance or
distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.       Injunction.

         Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations or
distributions issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who
have held, hold, or may hold the Released Claims are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any Released Claims;
(2) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or

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order against such Entities on account of or in connection with or with respect to any Released Claims;
(3) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the property
of such Entities on account of or in connection with or with respect to any Released Claims; (4) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities or against
the property or the Estates of such Entities on account of or in connection with or with respect to any Released
Claims unless such holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such holder asserts,
has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any Released Claims released or settled pursuant to the Plan.

        Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Each holder of an
Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to accept, distributions under
or Reinstatement of such Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have
consented to the injunction provisions set forth in this Article VIII.F hereof.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                       ARTICLE IX.
                    CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         a.   the Debtors shall have achieved the Achievement Target; and



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    b.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be a Final Order, in form
         and substance consistent in all respects with the Restructuring Support Agreement (including any
         consent rights thereunder) and otherwise in form and substance acceptable to the Debtors and the
         Required Consenting Stakeholders, and which shall:

           i.   authorize the Debtors to take all actions necessary to enter into, implement, and consummate the
                contracts, instruments, releases, leases, indentures, and other agreements or documents created in
                connection with the Plan;

          ii.   decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                dependent;

         iii.   authorize the Debtors, as applicable/necessary, to: (a) implement the Restructuring Transactions,
                including the Rights Offering; (b) distribute the New Common Stock and the New Warrants
                pursuant to the exemption from registration under the Securities Act provided by section 1145 of
                the Bankruptcy Code or such other applicable exemption from such registration or pursuant to
                one or more registration statements; (c) make all distributions and issuances as required under the
                Plan, including Cash and the New Common Stock; and (d) enter into any agreements,
                transactions, and sales of property as set forth in the Plan Supplement, including the Management
                Incentive Plan, in each case, in a manner consistent with the terms of the Restructuring Support
                Agreement and subject to the consent rights set forth therein;

         iv.    authorize the implementation of the Plan in accordance with its terms; and

          v.    provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
                any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
                executed in connection with any disposition or transfer of assets contemplated under the Plan,
                shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar tax;
                and

    c.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or documents
         that are necessary to implement and effectuate the Plan;

    d.   the final version of each of the Plan, the Definitive Documents, and all documents contained in any
         supplement to the Plan, including Plan Supplement and any exhibits, schedules, amendments,
         modifications, or supplements thereto or other documents contained therein shall have been executed or
         filed, as applicable in form and substance consistent in all respects with the Restructuring Support
         Agreement, the Restructuring Term Sheet, and the Plan, and comply with the applicable consent rights
         set forth in the Restructuring Support Agreement and/or the Plan for such documents and shall not have
         been modified in a manner inconsistent with the Restructuring Support Agreement;

    e.   the Exit Facility Documents shall have been duly executed and delivered by all of the Entities that are
         parties thereto and all conditions precedent (other than any conditions related to the occurrence of the
         Effective Date) to the effectiveness of the Exit Facilities shall have been satisfied or duly waived in
         writing in accordance with the terms of each of the Exit Facilities and the closing of each of the Exit
         Facilities shall have occurred;

    f.   the Final Order approving the DIP Credit Facility shall have been entered and shall remain in full force
         and effect and no event of default shall have occurred and be continuing thereunder;

    g.   no more than $50 million principal amount of Prepetition Secured Letters of Credit or DIP Letters of
         Credit (other than cash collateralized letters of credit) shall have been drawn and unreimbursed in full in
         Cash as of the Effective Date; provided that this condition may be waived solely with the written consent
         of the Required Consenting LC Lenders;
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         h.   Reorganized McDermott shall have a minimum of $820 million of Cash on its balance sheet (which
              amount shall not include Cash held by the Debtors’ joint-venture affiliates or cash collateral securing the
              Cash Secured Letters of Credit, the Lloyds Letters of Credit, and the DIP Cash Secured Letters of Credit)
              assuming normal working capital; provided that this condition may be waived solely with the written
              consent of the [Required Consenting Lenders];

         i.   all professional fees and expenses of retained professionals that require the Bankruptcy Court’s approval
              shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective Date
              shall have been placed in a professional fee escrow account pending the Bankruptcy Court’s approval of
              such fees and expenses;

         j.   the Technology Business Sale shall have been consummated;

         k.   to the extent invoiced in accordance with the terms of the Plan, the payment in Cash in full of the
              Restructuring Expenses; and

         l.   the Debtors shall have implemented the Restructuring Transactions and all transactions contemplated in
              the Restructuring Term Sheet in a manner consistent with the Restructuring Support Agreement (and
              subject to, and in accordance with, the consent rights set forth therein), the Restructuring Term Sheet,
              and the Plan.

B.       Waiver of Conditions.

         Except as otherwise specified in the Plan or the Restructuring Support Agreement, any one or more of the
conditions to Consummation set forth in this Article IX may be waived by the Debtors with the prior written consent
of the Required Consenting LendersStakeholders (not to be withheld unreasonably), without notice, leave, or order of
the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

C.       Effect of Failure of Conditions.

         If Consummation does not occur, the Plan shall be null and void in all respects and nothing contained in the
Plan, the Disclosure Statement, or Restructuring Support Agreement shall: (1) constitute a waiver or release of any
Claims by the Debtors, Claims, or Interests; (2) prejudice in any manner the rights of the Debtors, any holders of
Claims or Interests, or any other Entity; or (3) constitute an admission, acknowledgment, offer, or undertaking by the
Debtors, any holders of Claims or Interests, or any other Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

         Except as otherwise specifically provided in this Plan and subject to the consent rights set forth in the
Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements
of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its
respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
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Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         a.   allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
              status, or amount of any Claim or Interest, including the resolution of any request for payment of any
              Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
              priority, amount, or allowance of Claims or Interests;

         a.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
              for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
              Bankruptcy Code or the Plan;

         b.   resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
              Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
              may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including
              Cures pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under
              any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized Debtors amending,
              modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, any Executory
              Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases to be assumed
              or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or was executory
              or expired;

         c.   ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
              accomplished pursuant to the provisions of the Plan, including with respect to the New Warrants;

         d.   adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
              any other matters, and grant or deny any applications involving a Debtor that may be pending on the
              Effective Date;


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    e.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

    f.   enter and implement such orders as may be necessary to execute, implement, or consummate the
         provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
         documents created or entered into in connection with the Plan or the Disclosure Statement, including the
         Restructuring Support Agreement;

    g.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
         Bankruptcy Code;

    h.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
         the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
         connection with the Plan;

    i.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
         restrain interference by any Entity with Consummation or enforcement of the Plan;

    j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
         injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as
         may be necessary or appropriate to implement such releases, injunctions, and other provisions;

    k.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
         return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
         for amounts not timely repaid pursuant to Article VI.L hereof;

    l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
         stayed, reversed, revoked, or vacated;

    m. determine any other matters that may arise in connection with or relate to the Plan, the Plan Supplement,
       the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or
       other agreement or document created in connection with the Plan or the Disclosure Statement, including
       the Restructuring Support Agreement;

    n.   enter an order concluding or closing the Chapter 11 Cases;

    o.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

    p.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any inconsistency
         in any Bankruptcy Court order, including the Confirmation Order;

    q.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507 of
         the Bankruptcy Code;

    r.   hear and determine disputes arising in connection with the interpretation, implementation, or
         enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
         documents, or instruments executed in connection with the Plan;

    s.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
         505, and 1146 of the Bankruptcy Code;

    t.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
         exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
         hereof, regardless of whether such termination occurred prior to or after the Effective Date;

    u.   enforce all orders previously entered by the Bankruptcy Court; and
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         v.   hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion, whichever
comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.



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F.        Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.        Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:


                        Debtors                                               Counsel to the Debtors
 McDermott International, Inc.                             Kirkland & Ellis LLP
 757 North Eldridge Parkway                                601 Lexington Avenue
 Houston, Texas 77079                                      New York, New York 10022
 Attention: John Freeman                                   Attention: Joshua A. Sussberg, P.C., Christopher T. Greco,
                                                           P.C., and Anthony R. Grossi
                                                           and
                                                           Kirkland & Ellis LLP
                                                           300 North LaSalle Street
                                                           Chicago, Illinois 60654
                                                           Attention: John R. Luze
                                                           and
                                                           Jackson Walker L.L.P.
                                                           1401 McKinney Street, Suite 1900
                                                           Houston, Texas 77010
                                                           Attention: Elizabeth C. Freeman and Matthew D.
                                                           Cavenaugh

                                                                 Counsel to the Consenting Superpriority Term
                 United States Trustee
                                                                  Lenders and the Consenting Term Lenders
 Office of The United States Trustee                       Davis Polk & Wardwell LLP
 515 Rusk Street, Suite 3516                               450 Lexington Avenue
 Houston, TX 77002                                         New York, NY 10017
                                                           Attention: Damian S. Schaible and Natasha Tsiouris

      Counsel to the proposed DIP LC Agent, the
     proposed DIP Collateral Agent, the Revolving            Counsel to the proposed DIP Term Loan Agent, the
        and LC Administrative Agent, the 2018                 2021 LC Administrative Agent, the Superpriority
     Collateral Agent, the Superpriority Revolving          Term Loan Agent, and the Term Loan Administrative
      Administrative Agent and the Superpriority                                   Agent
                   Collateral Agent




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 Linklaters LLP                                         Latham & Watkins LLP
 1345 Avenue of the Americas                            885 Third Avenue
 New York, New York 10105                               New York, NY 10022
 Attention: Margot Schonholtz and Penelope Jensen       Attention: Andrew Parlen and Anupama Yerramalli

 and

 Bracewell LLP
 711 Louisiana Street
 Houston, Texas 77002
 Attention: William A. (Trey) Wood III

         Counsel to the Consenting Noteholders
 Paul, Weiss, Rifkind, Wharton & Garrison LLP
 1285 Avenue of the Americas
 New York, NY 10019
 Attention: Andrew N. Rosenberg and Alice B.
 Eaton

 -and-

 Brown Rudnick LLP
 7 Times Square
 New York, NY 10036
 Attention: Robert J. Stark and Bennett S. Silverberg


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.        Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.        Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

J.        Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://cases.primeclerk.com/McDermott or the Bankruptcy

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Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the
Plan shall control.

K.       Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,
alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.

M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.


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Dated: January 2122, 2020          MCDERMOTT INTERNATIONAL, INC.

                                   on behalf of itself and all other Debtors




                                   /s/ John Castellano
                                   John Castellano
                                   Chief Restructuring Officer




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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    MCDERMOTT INTERNATIONAL, INC., et al., 1                          )   Case No. 20-30336 (DRJ)
                                                                      )
                              Debtors.                                )   (Jointly Administered)
                                                                      )
                                                                      )   Re: Docket No. 557

                  DEBTORS’ RESPONSE TO EXPEDITED MOTION
              FOR AN ORDER CONTINUING THE MARCH 12, 2020 PLAN
           CONFIRMATION HEARING UNTIL SUCH TIME AS THE LUMMUS
         STALKING HORSE PURCHASER HAS SHOWN IT HAS OBTAINED, OR
        CAN OBTAIN, FUNDS TO CONSUMMATE THE LUMMUS PURCHASE AND
        REQUEST FOR EARLIEST POSSIBLE HEARING DATE ON THIS MOTION

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this response (this “Response”) to the Expedited Motion

for an Order Continuing the March 12, 2020 Plan Confirmation Hearing Until Such Time as the

Lummus Stalking Horse Purchaser Has Shown It Has Obtained, or Can Obtain, Funds to

Consummate the Lummus Purchase and Request for Earliest Possible Hearing Date on this

Motion [Docket No. 557] filed by Michael D. Van Deelen.

                                                       Response

             1.    The Debtors take very seriously the due process rights of all their stakeholders,

especially existing equity holders like Mr. Van Deelen. To that end, the Debtors ensured that all

parties in interest received substantial notice of the pending March 12, 2020 hearing on the

Debtors’ Amended Joint Prepackaged Chapter 11 Plan of Reorganization of McDermott


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      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
      International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757
      North Eldridge Parkway, Houston, Texas 77079.
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International, Inc. and Its Debtor Affiliates [Docket No. 121] (as may be modified, amended, or

supplemented from time to time, the “Plan”).         The dates and timeline provided for in the

Scheduling Order [Docket No. 160] are an integral component of the Debtors’ restructuring

efforts; facilitate the value-maximizing restructuring transaction embodied in the Plan; are broadly

supported by the Debtors’ stakeholders; and, are tailored to mitigate the expenses of operating the

Debtors’ businesses in chapter 11. Adhering to the deadlines approved and established by this

Court is critical to preserving and maintaining the value of the Debtors’ estates and the

extraordinary consensus of the Debtors’ stakeholders. To the extent Mr. Van Deelen wishes to

pursue any objections to confirmation of the Plan, he may do so at the confirmation hearing.

The Debtors reserve all rights and defenses with respect to all other relief sought now or in the

future by Mr. Van Deelen.



                           [Remainder of page intentionally left blank.]




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       WHEREFORE, the Debtors respectfully request that the Court deny the Emergency

Motion and grant such other and further relief as is appropriate under the circumstances.

 Houston, Texas
 March 8, 2020

 /s/ Matthew D. Cavenaugh
 JACKSON WALKER L.L.P.                              KIRKLAND & ELLIS LLP
 Matthew D. Cavenaugh (TX Bar No. 24062656)         KIRKLAND & ELLIS INTERNATIONAL LLP
 Jennifer F. Wertz (TX Bar No. 24072822)            Joshua A. Sussberg, P.C. (admitted pro hac vice)
 Kristhy M. Peguero (TX Bar No. 24102776)           Christopher T. Greco, P.C. (admitted pro hac vice)
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                                     Certificate of Service

        I certify that on March 8, 2020, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION

                                                               )
    In re:                                                     )    Chapter 11
                                                               )
    MCDERMOTT INTERNATIONAL, INC., et al.,1                    )    Case No. 20-30336 (DRJ)
                                                               )
                               Debtors.                        )    (Jointly Administered)
                                                               )

                       SECOND AMENDED JOINT PREPACKAGED
                      CHAPTER 11 PLAN OF REORGANIZATION OF
               MCDERMOTT INTERNATIONAL, INC. AND ITS DEBTOR AFFILIATES
JACKSON WALKER L.L.P.                                                    KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                               KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)                                 Christopher T. Greco, P.C. (admitted pro hac vice)
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                                                                         Proposed Co-Counsel to the Debtors
                                                                         and Debtors in Possession

Dated: March 11, 2020




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
       International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757
       North Eldridge Parkway, Houston, Texas 77079.


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                                                  INTRODUCTION

         McDermott International, Inc. and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint prepackaged chapter 11 plan of reorganization (as modified, amended, or
supplemented from time to time, the “Plan”) for the resolution of the outstanding claims against, and equity interests
in, the Debtors. Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each
Debtor. Holders of Claims or Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history,
businesses, assets, results of operations, historical financial information, risk factors, a summary and analysis of this
Plan, the Restructuring Transactions, and certain related matters. The Debtors are the proponents of the Plan within
the meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                             ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

        “2018 Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as Collateral
Agent in respect of the Credit Agreement, the 2021 LC Facility, and the Lloyds LC Facility.

       “2021 LC Agreement” means that certain letter of credit agreement dated as of October 30, 2018 by and
among certain of the Debtors as applicants and guarantors thereto, and the 2021 LC Administrative Agent, as may be
amended, supplemented, or otherwise modified from time to time.

       “2021 LC Administrative Agent” means Barclays Bank PLC, as administrative agent for the 2021 LC
Agreement.

       “2021 LC Facility” means the $230,000,000.00 senior secured letter of credit facility under the 2021 LC
Agreement.

          “2021 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2021 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2021 Letters of Credit” means the letters of credit issued under the 2021 LC Facility.

       “2023 LC Facility” means the $1,440,000,000.00 senior secured letter of credit facility under the Credit
Agreement.

          “2023 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2023 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2023 Letters of Credit” means the letters of credit issued under the 2023 LC Facility.

         “Achievement Target” means the (i) final, binding signed documentation reflecting (x) positive value
adjustment of $235 million in projected gross profit and (y) $285 million in letter of credit relief and (ii) project cost
savings of $560 million through the employment of risk mitigation strategies, in each case subject to the satisfaction
of the Required Consenting Term Lenders and the Required Consenting Revolving Lenders in their sole discretion.

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           “Additional Obligations” shall have the meaning specified in the DIP Credit Facility Term Sheet.

          “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11 Cases
pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of the Debtors
incurred on or after the Petition Date and through the Effective Date; (b) Allowed Professional Claims; and (c) all fees
and charges assessed against the Estates under chapter 123 of the Judicial Code.

           “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

         “Agents” means, collectively, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the 2021 LC Administrative Agent, the 2018 Collateral Agent, the Superpriority Revolving
Administrative Agent, the Superpriority Term Loan Agent, the Superpriority Collateral Agent, and each administrative
agent, collateral agent, trustee or other similar agent in respect of the Exit Facilities solely in its capacity as such.

         “Allowed” means, as to a Claim or Interest, a Claim or Interest allowed under the Plan, under the Bankruptcy
Code, or by a final order (including the DIP Financing Orders) as applicable.

          “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or other
Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or other
authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes
of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the Bankruptcy Code
or under similar local, state, federal, or foreign statutes and common law, including fraudulent transfer laws.

           “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended from time
to time.

           “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section 2075 of
the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as amended from time to
time.

           “Barclays Advisors” means Latham & Watkins LLP and any other local or foreign advisors.

        “Bidding Procedures” means the procedures governing the auction and the Technology Business Sale, as
approved by the Bankruptcy Court and as may be amended from time to time in accordance with their terms.

          “Bilateral Facilities” means those certain bilateral facilities entered into by various Debtors and their
affiliates and the individual lenders party thereto, including:

               (a) that certain facility agreement (as amended), dated April 13, 2016, between McDermott
                   International, Inc., as borrower, McDermott Middle East, Inc., McDermott Eastern Hemisphere,
                   Ltd., McDermott Arabia Company Limited, as guarantors, and Abu Dhabi Commercial Bank PJSC,
                   as lending bank;

               (b) that certain credit facility agreement (as amended), dated April 30, 2018, between CBI Eastern
                   Anstalt, as borrower, and Mashreqbank PSC, as lending bank;



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            (c) that certain credit agreement (as amended) dated as of July 19, 2018 between Arabian CBI Company
                Limited, as customer, McDermott International Inc., as guarantor, and Samba Financial Group, as
                lending bank;

            (d) that certain facility letter (as amended), dated as of January 29, 2018 between McDermott Middle
                East, Inc., and McDermott Eastern Hemisphere, Ltd., as applicants, McDermott International, Inc.,
                as guarantor, and International Bank of Qatar, as lending bank;

            (e) that certain reimbursement agreement for letters of credit or guarantees, dated July 30, 2015 between
                McDermott International, Inc., as applicant and Riyad Bank, as lending bank;

            (f) that certain facility agreement between McDermott Middle East Inc., as borrower, McDermott
                International, Inc., as guarantor, and First Gulf Bank, as lending bank;

            (g) that certain letter of credit reimbursement agreement (as novated), dated August 1, 2007 between J.
                Ray McDermott S.A., as applicant and Standard Chartered Bank, as lending bank;

            (h) that certain master reimbursement agreement between J. Ray McDermott S.A., as applicant,
                McDermott International, Inc., as guarantor, and ICICI Bank Limited, as lending bank;

            (i) that certain reimbursement agreement between Chicago Bridge and Iron Company, N.V., as
                customer, and Europe Arab Bank PLC, as lending bank;

            (j) that certain credit facilities agreement, dated April 4, 2019 between McDermott Middle East, Inc.
                and McDermott Middle East, Inc. Panama, as borrowers, McDermott International, Inc., as
                guarantor, and Commercial Bank of Dubai PSC, as lending bank; and

            (k) that certain (a) indemnity and undertaking, dated as of June 28, 2019 between Comet II, B.V. as
                borrower and The Standard Bank of South African Limited as lending bank and (b) parent company
                guarantee, dated as of June 28, 2019 between McDermott International, Inc. as guarantor and The
                Standard Bank of South Africa Limited as lending bank.

         “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the State of New York.

        “Business Plan” means the business plan for the Reorganized Debtors.

        “Cameron LNG Contractor” means CCJV, an unincorporated joint venture the members of which are CB&I
LLC (as successor in interest) and Chiyoda International Corporation.

         “Cameron LNG EPC Agreement” means that certain Engineering, Procurement and Construction Contract,
dated as of March 17, 2014, between Cameron LNG, LLC and the Cameron LNG Contractor (as amended).

         “Cameron LNG Project Obligations” means, collectively, the obligations of any Debtor under: (a) that
certain EPC Joint Venture Agreement, dated March 17, 2014 between CB&I LLC (as successor in interest) and
Chiyoda International Corporation (as amended); and (b) the Cameron LNG EPC Agreement.

         “Cameron LNG Replacement Guarantee” means a guarantee, which Reorganized McDermott shall execute
and deliver to Cameron LNG, LLC, guaranteeing on a joint and several basis on behalf of CB&I LLC the payment
and performance of the obligations of the Cameron LNG Contractor under the Cameron LNG EPC Agreement,
whether arising prior to or after the execution of such guarantee.

         “Cash” means cash in legal tender of the United States of America and cash equivalents, including bank
deposits, checks, and other similar items.


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      “Cash Management Bank” means any financial institution through which the Debtors have entered into “Cash
Management Arrangements” (as defined in the Credit Agreement).

        “Cash Secured LC Exit Facility” means a 4-year, cash secured letter of credit exit facility in an amount up
to $371 million, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Cash Secured Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the
Cash Secured Letters of Credit, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

          “Cash Secured Letters of Credit” means the “Cash Secured Letters of Credit” issued under and on the terms
set forth under the Credit Agreement.

          “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of action,
demands, rights, actions, controversies, proceedings, agreements, suits, obligations, liabilities, accounts, defenses,
offsets, powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, liquidated or unliquidated, secured or unsecured, assertable, directly or derivatively, matured or
unmatured, suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also include: (a)
all rights of setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law
or in equity; (b) the right to object to or otherwise contest Claims or Interests; (c) claims pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (e) any Avoidance Action.

         “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for that
Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference to all the
Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

          “Chiyoda Replacement Guarantee” means a guarantee which Reorganized McDermott shall execute and
deliver to Chiyoda International Corporation in accordance with Section 15.3 of the EPC Joint Venture Agreement,
dated March 17, 2014 between CB&I LLC (as successor in interest) and Chiyoda International Corporation (as
amended) as required by the Guaranty and Indemnity Agreement entered into by and between CB&I LLC, McDermott
International and Chiyoda International Corporation.

         “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the Debtors.

        “Claims and Balloting Agent” means Prime Clerk LLC, the notice, claims, and solicitation agent retained by
the Debtors in the Chapter 11 Cases.

         “Claims Register” means the official register of Claims maintained by the Claims and Balloting Agent.

         “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to section 1122(a)
of the Bankruptcy Code.

         “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         “Company Party” has the meaning set forth in the Restructuring Support Agreement.

         “Compensation and Benefits Programs” means all employment and severance agreements and policies, and
all employment, compensation, and benefit plans, policies, workers’ compensation programs, savings plans,
retirement plans, deferred compensation plans, supplemental executive retirement plans, healthcare plans, disability
plans, severance benefit plans, incentive plans, life and accidental death and dismemberment insurance plans, and
programs of the Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees, former
employees, retirees, and non-employee directors and the employees, former employees and retirees of their

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subsidiaries, including all savings plans, retirement plans, health care plans, disability plans, severance benefit
agreements, and plans, incentive plans, deferred compensation plans and life, accidental death, and dismemberment
insurance plans.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

         “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order on the
docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of the Plan,
pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing may be
continued from time to time.

         “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to section 1129
of the Bankruptcy Code and approving the consummation of the Technology Business Sale and the Pipes Business
Sale.

         “Consenting 2021 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting 2023 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Cash Secured LC Issuers” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Superpriority Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

        “Credit Agreement” means that certain credit agreement dated as of May 10, 2018, by and among certain of
the Debtors as borrowers and guarantors thereto, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the Issuers (as defined in the Credit Agreement), and the lenders from time to time party thereto,
as may be amended, supplemented, or otherwise modified from time to time.

         “Credit Agreement Hedging Claims” means Claims in respect of Credit Agreement Hedging Obligations,
which, for the avoidance of doubt, shall not include DIP Hedging Obligations.

         “Credit Agreement Hedging Obligations” means mark-to-market obligations arising out of the termination
of any “Hedging Obligations” (as defined under the Credit Agreement) prior to the Effective Date.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under an

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Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365 or 1123 of the
Bankruptcy Code.

       “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for directors’,
managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all agreements,
documents, or instruments relating thereto.

         “Definitive Documents” means the documents listed in Section 3 of the Restructuring Support Agreement.

         “DIP Agents” means the DIP LC Agent, the DIP Collateral Agent, and the DIP Term Loan Agent.

         “DIP Cash Secured Letter of Credit Claim” means any Claim for obligations arising under, or relating to, the
DIP Cash Secured LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

        “DIP Cash Secured Letters of Credit” means the letters of credit issued pursuant to the DIP Cash Secured
LC Facility.

         “DIP Cash Secured LC Facility” means the cash secured letter of credit facility pursuant to which up to $100
million of the DIP Letter of Credit Facility may be allocated.

          “DIP Claims” means all Claims (including adequate protection Claims) derived from, arising under, based
upon, or secured pursuant to the DIP Credit Agreement, including all prepetition Claims rolled into the DIP Credit
Facility and all other Claims in respect of principal amounts outstanding, interest, fees, expenses, costs, hedging
obligations, and other charges arising thereunder or related thereto, in each case, with respect to the DIP Credit
Facility.

        “DIP Collateral Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as collateral
agent under the DIP Credit Agreement.

         “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit agreement that
governs the DIP Credit Facility (as may be amended, supplemented, or otherwise modified from time to time), among
McDermott International, Inc., as parent, certain of the Debtors as borrowers, the lenders party thereto, the DIP
Lenders, the DIP Letter of Credit Issuers, and the DIP Agents.

         “DIP Credit Facility” means the superpriority committed credit facilities provided by the DIP Lenders,
which includes the DIP Letter of Credit Facility, the DIP Term Loan Facility, the DIP Hedging Obligations, and any
other obligations specified in the DIP Financing Orders.

         “DIP Credit Facility Term Sheet” means the DIP Credit Facility Term Sheet attached as Exhibit 2 to the
Restructuring Term Sheet.

        “DIP Financing Orders” means the interim order approving the DIP Credit Facility and the final order
approving the DIP Credit Facility, approved by the Bankruptcy Court in the Chapter 11 Cases.

        “DIP Hedging Obligations” means all hedging obligations subject to or deemed incurred under the DIP
Credit Facility (including for the avoidance of doubt all obligations in respect of the Debtors’ prepetition foreign
currency hedging transactions and $500 million notional amount of interest rate hedging transactions rolled into the
DIP Credit Facility pursuant to the DIP Financing Orders and the Hedging Order).

        “DIP LC Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as letter of credit
administrative agent under the DIP Credit Agreement.

         “DIP LC Claim” means any Claim of a DIP Lender, a DIP Letter of Credit Issuer, or the DIP Agents arising
under or relating to the DIP Letter of Credit Facility pursuant to the DIP Credit Agreement.

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         “DIP Lenders” means the lenders party to the DIP Credit Agreement with respect to the DIP Credit Facility.

         “DIP Letter of Credit Facility” means the senior secured superpriority letter of credit facility plus interest,
fees, and other amounts due in respect of the DIP Letters of Credit (including the DIP Cash Secured LC Facility),
provided under the DIP Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP Financing
Orders.

         “DIP Letter of Credit Issuers” means the “Issuing Banks” under the DIP Credit Agreement.

         “DIP Letters of Credit” means (i) the $543 million of new and incremental letters of credit to be provided
under the DIP Letter of Credit Facility (including the DIP Cash Secured Letters of Credit) plus (ii) the DIP Roll-Up
Letters of Credit.

          “DIP Roll-Up Letters of Credit” means (i) those Superpriority Letters of Credit, including Claims for all
reimbursement obligations outstanding, interest, fees, expenses, costs, and other charges arising thereunder or relating
thereto, that are “rolled-up” and deemed issued under the DIP Letter of Credit Facility pursuant to the final DIP
Financing Order and (ii) any obligations to be deemed outstanding under the DIP Letter of Credit Facility.

         “DIP Roll-Up Term Loans” means the term loans outstanding under the Superpriority Term Loan Facility
that upon entry of the final DIP Financing Order, shall be deemed to be issued under the DIP Term Loan Facility,
including all of the Claims arising under, derived from, based upon, or secured pursuant to the Superpriority Credit
Agreement, including Claims for all principal amounts outstanding, interest, fees, expenses, costs, the Make Whole
Amount, and other charges arising thereunder or related thereto, in each case, with respect to the Superpriority Term
Loan Facility.

        “DIP Term Loan Agent” means Barclays Bank PLC, in its capacity as term loan administrative agent under
the DIP Credit Agreement.

        “DIP Term Loan Claim” means any Claim of a DIP Lender or the DIP Agents arising under or relating to
the DIP Term Loan Facility pursuant to the DIP Credit Agreement or the DIP Financing Orders.

        “DIP Term Loan Facility” means a superpriority term loan facility, comprised of up to $1.2 billion principal
amount of New DIP Term Loans plus $800 million principal amount of the Superpriority Term Loans rolled into the
DIP Term Loan Facility plus the Make Whole Amount plus the Additional Obligations and approved by the
Bankruptcy Court pursuant to the DIP Financing Orders.

         “DIP Term Loans” means the New DIP Term Loans and the DIP Roll-Up Term Loans.

        “Disbursing Agent” means the Reorganized Debtors or the Entity or Entities selected by the Debtors or the
Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

          “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and schedules
thereto, to be approved by the Confirmation Order.

          “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed; (b) that is not
disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute is being
adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in the
Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a Debtor
for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

        “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the Debtors
or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or as soon as is
reasonably practicable after the Effective Date, upon which the Distribution Agent shall make distributions to holders
of Allowed Claims entitled to receive distributions under the Plan.

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         “Distribution Record Date” means, other than with respect to publicly held Securities, the record date for
purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or as soon as
is reasonably practicable after the Effective Date. For the avoidance of doubt, no distribution record date shall apply
to holders of public securities.

           “DTC” means the Depository Trust Company.

          “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on which (a) no
stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective Date set
forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan. Any
action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

           “Emergence Awards” has the meaning set forth in Article IV.Q of the Plan.

           “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant to
section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

           “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended from time
to time.

          “Exculpated Parties” means collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the Consenting
Stakeholders and any affiliated Hedge Banks; (d) each Agent and the Senior Notes Trustee, and (e) with respect to
each of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current and former
Affiliates’ current and former equity holders, subsidiaries, officers, directors, managers, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals.

        “Executory Contract” means a contract to which one or more of the Debtors is a party and that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

         “Existing Common Equity Interests” means the common stock of McDermott, which is traded and quoted on
the New York Stock Exchange under the symbol “MDR,” any and all outstanding and unexercised or unvested
warrants, options, or rights to acquire such common stock existing prior to the Petition Date, and any Section 510(b)
Claims.

         “Existing Preferred Equity Interests” means all outstanding 12% Redeemable Preferred Stock in McDermott,
issued on November 29, 2018, and the Series A Preferred Stock of McDermott, issued on December 2, 2019, and any
Section 510(b) Claims.

           “Exit Facilities” means, collectively, the Term Loan Exit Facility and the Exit LC Facilities, as applicable.

         “Exit Facility Agents” means each of the administrative agents, trustees, or other similar agents under the
Exit Facility Agreement, solely in its capacity as such.

         “Exit Facility Agreement” means that certain agreement to provide the Exit Facilities, if any, dated as of the
Effective Date, by and among the Reorganized Debtors party thereto as borrowers, Reorganized McDermott, the Exit
Facility Agents, the issuing banks party thereto, and the lender parties thereto, which shall be included in the Plan
Supplement.

       “Exit Facility Documents” means, collectively, the Exit Facility Agreement, and any and all other
agreements, documents, and instruments delivered or to be entered into in connection therewith, including any
amendments to existing loan or other finance documentation, any guarantee agreements, pledge and collateral

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agreements, intercreditor agreements, and other security documents, in each case if any, the terms of which documents
shall be acceptable to the Debtors or the Reorganized Debtors, as applicable, and the Required Consenting Lenders.

         “Exit LC Facilities” means the Super Senior Exit Facility, the Senior Exit LC Facility, the Cash Secured LC
Exit Facility, and the Roll-Off LC Exit Facility.

         “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

         “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized designee
in the Chapter 11 Cases.

          “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent jurisdiction with
respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on the docket in any
Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or other
proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has been
taken or any petition for certiorari that has been or may be timely filed has been withdrawn or resolved by the highest
court to which the order or judgment was appealed or from which certiorari was sought or the new trial, reargument,
or rehearing will have been denied, resulted in no stay pending appeal of such order, or has otherwise been dismissed
with prejudice; provided that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or
any analogous rule under the Bankruptcy Rules, may be filed with respect to such order will not preclude such order
from being a Final Order.

         “Funded DIP Indebtedness” means indebtedness under the DIP Credit Facility in respect of the DIP Term
Loans (which for the avoidance of doubt includes the Superpriority Term Loans rolled up into the DIP Credit Facility,
but excludes any DIP Hedging Obligations) and the Additional Obligations.

        “General Unsecured Claim” means any Unsecured Claim against a Debtor other than the Bilateral Facility
Claims and the Senior Notes Claims.

         “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

         “Hedge Bank” means, with respect to any Consenting Lender, either such Consenting Lender or an affiliate
of such Consenting Lender that has entered into “Hedging Obligations” (as defined in the Credit Agreement) with the
Debtors.

        “Hedging Order” means the Order (I) Authorizing the Debtors to Enter into and Perform Under (A) Amended
and Restated Hedge Agreements and (B) New Hedge Agreements, (II) Granting DIP Liens and DIP Superpriority
Claims, (III) Modifying the Automatic Stay and (IV) Granting Related Relief entered by the Bankruptcy Court on
January 23, 2020 at Docket No. 145 in the Chapter 11 Cases.

         “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is impaired
within the meaning of section 1124 of the Bankruptcy Code.

         “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

         “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an Affiliate of
a Debtor.

         “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

        “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any Debtor
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
performance shares, performance units, redemption rights, repurchase rights, convertible, exercisable or exchangeable


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Securities or other agreements, arrangements or commitments of any character relating to, or whose value is related
to, any such interest or other ownership interest in any Debtor.

         “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from time to
time.

          “Lloyds LC Exit Facility” means a senior secured letter of credit exit facility with Lloyds LC Bank pursuant
to which each Lloyds Letter of Credit that is outstanding on the Effective Date under the Lloyds Letter of Credit
Agreement will be deemed issued on the Effective Date and which will be secured by only the cash collateral that
exclusively secured the Lloyds Letters of Credit as of the Effective Date and any standby letters of credit supporting
the Lloyds Letters of Credit as of the Effective Date; provided that the cash collateral and/or standby letters of credit,
as applicable, securing the Lloyds LC Exit Facility shall be reduced and/or released, as applicable, dollar-for-dollar
upon the reduction, expiration, or termination of any Lloyds Letter of Credit in accordance with its terms from and
after the Effective Date and upon any such release the applicable cash collateral shall become collateral securing
obligations of the Reorganized Debtors under the Exit Facilities. The definitive documentation for the Lloyds LC
Exit Facility shall be substantially in the form of the Lloyds Letter of Credit Agreement, and otherwise on terms
satisfactory to the Debtors and the Required Consenting Lenders, and set forth in the Definitive Documents to be
included in the Plan Supplement.

       “Lloyds LC Bank” means Lloyds Bank Corporate Markets plc (as successor to Lloyds Bank plc, formerly
known as Lloyds TSB Bank plc), as the Bank under the Lloyds Letter of Credit Agreement.

         “Lloyds LC Facility” means the $127,000,000.00 senior secured letter of credit facility under the Lloyds
Letter of Credit Agreement.

         “Lloyds Letter of Credit Agreement” means that certain master agreement for stand-by letters of credit
originally dated as of June 10, 2013 by and among Lloyds LC Bank and Comet II B.V., CB&I, LLC, Chicago Bridge
and Iron Company B.V., CBI Services, LLC, CB&I UK Limited, CBI Constructors PTY LTD, CB&I Group Inc., and
Woodlands International Insurance Ltd, as amended and restated May 10, 2018 in connection with the Business
Combination (as defined therein) with McDermott and certain of its subsidiaries, as may be amended, supplemented,
or otherwise modified from time to time.

          “Lloyds Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the Lloyds
LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “Lloyds Letters of Credit” means the letters of credit issued under the Lloyds LC Facility.

         “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         “Liquidity Lender Steering Committee” means those certain institutions comprising the steering committee
of lenders under the Superpriority Revolving Facility, the Revolving Credit Facility, and the 2023 LC Facility.

         “Lummus Assets and Interests” means the Debtors’ rights, titles, and interests in the Lummus Entities and
related assets, as described in the Purchase Agreement.

          “Lummus Entities” means Lummus Technology LLC; McDermott Technology (2), B.V.; McDermott
Technology (3), B.V.; OOO Lummus Technology; CB&I Lummus Engineering & Technology China Co. Ltd.;
Lummus Technology Heat Transfer B.V. (Netherlands); Lummus Technology Heat Transfer B.V. (India); Lummus
Novolen Technology GmbH; Novolen Technology Holdings C.V.; Lummus Technology B.V.; Lummus Gasification
Technology Licensing LLC; Lummus Engineered Products, LLC; Lummus Technology International LLC; Lummus
Technology Services LLC; Chemical Research and Licensing, LLC; Lummus Technology Ventures LLC; Catalytic
Distillation Technologies; Lummus Technology Overseas LLC, Chevron Lummus Global LLC, and CLG Technical
Services, LLC.


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        “Lummus Executory Contracts and Unexpired Leases” means any Executory Contracts and Unexpired
Leases of the Debtors proposed to be assumed or assumed and assigned in connection with the Technology Business
Sale.

         “Make Whole Amount” means the make whole amount payable under Section 2.11(b) of the Superpriority
Credit Agreement solely with respect to the tranches of the Superpriority Term Loan Facility that were funded prior
to the Petition Date.

         “Make Whole Tranche” means that certain tranche under the Super Senior Exit Facility in an amount equal
to the portion of the Make Whole Amount remaining (if any) after applying the Technology Business Sale Proceeds
and proceeds from the Rights Offering, subject to the terms of the Exit Facilities Term Sheet.

         “Management Incentive Plan” has the meaning set forth in Article IV.Q of the Plan.

        “McDermott” means McDermott International, Inc. or any successor or assign, by merger, consolidation, or
otherwise, prior to the Effective Date.

         “MIP Pool” has the meaning set forth in Article IV.Q of the Plan.

       “New Board” means the board of directors of Reorganized McDermott. The identities of directors on the
New Board shall be set forth in the Plan Supplement.

         “New Common Stock” means, depending on the transaction structure and as detailed in the Restructuring
Transactions Memorandum, common equity in one or more Reorganized Debtors.

         “New DIP Term Loans” means the new money term loans to be provided under the DIP Term Loan Facility.

         “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be consistent with the Restructuring Support Agreement
(including Section 3.02 of the Restructuring Support Agreement), this Plan, and section 1123(a)(6) of the Bankruptcy
Code (as applicable), and shall be included in the Plan Supplement.

          “New Tranche A Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) less (i) the proceeds of the Rights Offering,
(ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the Residual Prepetition
Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New Common Stock to the
holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate proceeds of the Rights
Offering divided by Plan Equity Value plus (y) the Prepetition Funded Secured Claims Excess Cash Adjustment. For
the avoidance of doubt, the New Tranche A Warrants shall not be subject to dilution on account of the Management
Incentive Plan.

          “New Tranche B Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) multiplied by 125%, less (i) the proceeds
of the Rights Offering, (ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the
Residual Prepetition Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New
Common Stock to the holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate
proceeds of the Rights Offering divided by Plan Equity Value and (y) the Prepetition Funded Secured Claims Excess
Cash Adjustment. For the avoidance of doubt, the New Tranche B Warrants shall not be subject to dilution on account
of the Management Incentive Plan.

         “New Warrants” means, collectively, the New Tranche A Warrants and the New Tranche B Warrants.


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         “New Warrants Agreements” means those certain agreements providing for, among other things, the issuance
and terms of the New Warrants, which shall be included in the Plan Supplement and in form and substance acceptable
to the Required Consenting Lenders and the Required Consenting Noteholders. The New Warrants Agreements shall
provide for full anti-dilution and Black-Scholes protection.

         “Non-Pipes Debtors” means any of the Debtors or Reorganized Debtors other than the Pipes Entities.

         “Other Prepetition Financing Claim” means any Secured Claim arising under:

              (a) that certain facility agreement dated September 30, 2010 among McDermott, as guarantor, and its
                  subsidiary NO 105 AS, as borrower, the BNP Paribas, in its capacity as facility agent and security
                  agent, and the lenders party thereto, as may be amended, supplemented, or otherwise modified from
                  time to time, to pay a portion of the construction costs of the NO 105;

              (b) that certain receivables factoring agreement dated November 25, 2016 among J. Ray McDermott de
                  Mexico S.A. de C.V. and the financing intermediaries thereto, as may be amended, supplemented,
                  or otherwise modified from time to time; or

              (c) that certain re-invoicing service agreement dated May 2019 among Bramid Outsource Limited, as
                  service provider, McDermott, as parent, and CB&I LLC, as customer.

          “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         “Other Secured Claim” means any Secured Claim other than a Revolving Credit Claim, a Term Loan Claim,
a 2021 Letter of Credit Claim, a 2023 Letter of Credit Claim, a Lloyds Letter of Credit Claim, a Cash Secured Letter
of Credit Claim, a Credit Agreement Hedging Claim, a Superpriority Term Loan Claim, a Superpriority Revolving
Facility Claim, an Other Prepetition Financing Claim, a Bilateral Facility Claim, or a DIP Claim.

         “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

      “Pipes Business Sale” means a sale of any or all of the Pipes Interests pursuant to the Pipes Business Sale
Documents, and to be agreed to or consummated by one or more of the Debtors after the Confirmation Date.

         “Pipes Business Sale Documents” means any executed purchase agreement for the sale of the Pipes Interests
between certain of the Debtors and the Pipes Buyers for the sale of all or part of the Pipes Interests, and any transition
services agreements, license agreements, supply agreements, and any other written ancillary agreements, documents,
instruments and certificates executed under or in connection therewith. The Pipes Business Sale Documents shall be
in form and substance satisfactory to the Required Consenting Lenders.

      “Pipes Buyers” means those Entities that purchase the Pipes Interests pursuant to the Pipes Business Sale
Documents.

        “Pipes Entities” means CB&I Walker LA, LLC; CB&I Lake Charles LLC; CB&I Clearfield, Inc.; CB&I El
Dorado, Inc.; CB&I Middle East Holding, Inc.; Shaw Overseas (Middle East) Ltd.; CB&I Nass Pipe Fabrication WLL;
CB&I SKE&C Middle East Ltd.; Shaw Pipe Fabrication Holdings, LLC; and Shaw Emirates Pipes Manufacturing
LLC, and any other Debtors or their non-Debtor Affiliates that may be identified in the Pipes Business Sale
Documents.

          “Pipes Interests” means all of the Debtors’ rights, titles, and interests (whether direct or indirect) in the Pipes
Entities and certain related assets, as described in the Pipes Business Sale Documents.



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          “Plan Distribution” means a payment or distribution to holders of Allowed Claims, Allowed Interests, or
other eligible Entities under this Plan.

         “Plan Equity Value” means $2,352,000,000.

         “Plan Objection Deadline” means the date the Bankruptcy Court establishes as the deadline to File an
objection to Confirmation of the Plan.

          “Plan Supplement” means the compilation of documents and forms of documents, term sheets, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed prior to the Confirmation Hearing to the extent available, and any additional documents Filed prior to the
Effective Date as amendments to the Plan Supplement, including the following, as applicable: (a) the New
Organizational Documents; (b) to the extent known, the identities of the members of the New Board; (c) the Assumed
Executory Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts and Unexpired Leases
Schedule; (e) the Schedule of Retained Causes of Action; (f) the Exit Facility Documents; (g) the definitive
documentation related to the Management Incentive Plan; (h) the Restructuring Transactions Memorandum; (i) the
New Warrants Agreements; and (j) to the extent applicable, the form of any Technology Business Sale Documents
distributed by the Debtors to potentially interested parties, if any. The Debtors shall have the right to alter, amend,
modify, or supplement the documents contained in the Plan Supplement up to the Effective Date as set forth in this
Plan and in accordance with the Restructuring Support Agreement (and subject to the applicable consent rights
thereunder).

         “Prepetition Funded Secured Claims” means Claims in respect of (i) the Term Loans and the Revolving
Loans, (ii) any funded Prepetition Secured Letters of Credit, and (iii) the Credit Agreement Hedging Claims, but
excluding any amounts being rolled into the DIP Credit Facility.

         “Prepetition Funded Secured Claims Excess Cash Adjustment” has the meaning set forth in Article IV.D.4
of the Plan.

        “Prepetition Secured Letters of Credit” means the 2021 Letters of Credit, the 2023 Letters of Credit, the
Revolving LCs, and the Cash Secured Letters of Credit.

        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section 507(a)(8) of
the Bankruptcy Code.

         “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class bears to
the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated.

         “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          “Professional Amount” means the aggregate amount of Professional Claims and other unpaid fees and
expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors as set
forth in Article II.C of the Plan.

        “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

         “Professional Escrow Account” means an interest-bearing account funded by the Debtors with Cash on the
Effective Date in an amount equal to the Professional Amount.


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         “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.

        “Purchase Agreement” means, solely with respect to the Technology Business Sale, the share and asset
purchase agreement between the Debtors and the Purchaser.

         “Purchaser” means one or more Entities that are the purchasers with respect to the Technology Business
Sale.

          “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the Claim or
Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account of such
Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the Bankruptcy
Code.

          “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory Contracts
and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included in the Plan
Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such schedule
shall be in form and substance acceptable to the Required Consenting Lenders.

         “Related Party” means, collectively, current and former directors, managers, officers, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
predecessors, participants, successors, assigns, subsidiaries, affiliates, managed accounts or funds, partners, limited
partners, general partners, principals, members, management companies, fund advisors or managers, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers, consultants,
representatives, heirs, executors, and assigns, and other professionals, in each case solely in their capacities as such,
together with their respective past and present directors, officers, shareholders, partners, members, employees, agents,
attorneys, representatives, heirs, executors and assigns, in each case solely in their capacities as such.

         “Released Claims” means any Claims or Interests that have been released, discharged, or are subject to
exculpation pursuant to this Plan.

          “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) Illuminate Buyer LLC; (q) each current and former Affiliate of each Entity in clause (a) through
(p); and (r) each Related Party of each Entity in clause (a) through (p); provided that any holder of a Claim or Interest
that opts out of the releases shall not be a “Released Party.”

          “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under the
Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior Notes
Ad Hoc Group; (p) Illuminate Buyer LLC; (q) all holders of Claims or Interests that vote to accept the Plan; (r) all
holders of Claims or Interests that are deemed to accept the Plan who do not affirmatively opt out of the releases
provided by the Plan by checking the box on the applicable Notice of Non-Voting Status indicating that they opt not
to grant the releases provided in the Plan; (s) all holders of Claims or Interests that abstain from voting on the Plan
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and who do not affirmatively opt out of the releases provided by the Plan by checking the box on the applicable ballot
indicating that they opt not to grant the releases provided in the Plan; (t) all holders of Claims or Interests that vote to
reject the Plan or are deemed to reject the Plan and who do not affirmatively opt out of the releases provided by the
Plan by checking the box on the applicable ballot or Notice of Non-Voting Status indicating that they opt not to grant
the releases provided in the Plan; (u) each current and former Affiliate of each Entity in clause (a) through (t); and
(v) each Related Party of each Entity in clause (a) through (t).

         “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

        “Reorganized McDermott” means McDermott, or any successor or assign, by merger, consolidation, or
otherwise, on or after the Effective Date.

         “Required Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Lender” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

         “Required Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

         “Residual Prepetition Funded Secured Claims Pay Down” has the meaning set forth in Article IV.D.4 of the
Plan.

         “Residual Technology Business Sale Proceeds” means any Technology Business Sale Proceeds remaining
after payment of items (a) through (d) of the Technology Business Sale Proceeds Waterfall for application in
accordance with item (e) of the Technology Business Sale Proceeds Waterfall in accordance with the Plan.

         “Restructuring Expenses” means the prepetition and postpetition reasonable and documented fees and
expenses of the Revolving and LC Administrative Agent Advisors, the Term Loan Ad Hoc Group Advisors, the Senior
Notes Ad Hoc Group Advisors, the Barclays Advisors, and the Senior Notes Trustee and its advisors, including local
and foreign counsel (in each case, in accordance with the terms of their respective engagement letters with their
respective clients, if any).

        “Restructuring Term Sheet” means the Restructuring Term Sheet attached as Exhibit A to the Restructuring
Support Agreement.

          “Restructuring Transactions” means any transaction and any actions as may be necessary or appropriate to
effect a corporate restructuring of the Debtors’ and the Reorganized Debtors’ respective businesses or a corporate
restructuring of the overall corporate structure of the Debtors on the terms set forth in the Plan, Restructuring Support
Agreement, and Restructuring Transactions Memorandum, including the issuance of all Securities, notes, instruments,
certificates, and other documents required to be issued or executed pursuant to the Plan, one or more inter-company
mergers, consolidations, amalgamations, arrangements, continuances, restructurings, conversions, dissolutions,
transfers, liquidations, or other corporate transactions, as described in Article IV.B of the Plan.

         “Restructuring Transactions Memorandum” means a document, in form and substance acceptable to the
Required Consenting Lenders, to be included in the Plan Supplement that will set forth the material components of
the Restructuring Transactions, including the identity of the issuer or issuers of the New Common Stock and any
elections that must be made with respect to the receipt of the New Common Stock.


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         “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as of
January 21, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended, modified,
or supplemented from time to time, in accordance with its terms.

         “Revolving and LC Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in its
capacity as administrative agent for the Revolving Credit Facility and the 2023 LC Facility.

        “Revolving and LC Administrative Agent Advisors” means Linklaters LLP, Bracewell LLP and FTI
Consulting, Inc., as advisors to the DIP LC Agent, the DIP Collateral Agent, the Revolving and LC Administrative
Agent, 2018 Collateral Agent, the Superpriority Revolving Administrative Agent and the Superpriority Collateral
Agent, and any other local or foreign advisors.

         “Revolving Credit” means the Revolving LCs and the Revolving Loans.

         “Revolving Credit Claims” means any Claim for obligations arising under, or relating to, the Revolving LCs
or the Revolving Loans issued under the Revolving Credit Facility, including Claims for all principal amounts
outstanding, interest, fees, expenses, costs and other charges arising thereunder or related thereto.

         “Revolving Credit Facility” means the senior secured revolving credit facility under the Credit Agreement.

         “Revolving LCs” means the letters of credit issued under and on the terms set forth under the Revolving
Credit Facility.

         “Revolving Lenders” means the lenders under the Revolving Credit Facility.

         “Revolving Loans” means the revolving loans issued under and on the terms set forth under the Revolving
Credit Facility.

        “Rights Offering” means a rights offering providing for the Consenting Noteholders with the right to purchase
up to $150 million of the New Common Stock otherwise earmarked for the holders of Prepetition Funded Secured
Claims valued at the Plan Equity Value in connection with the Restructuring Transactions and in accordance with the
Rights Offering Procedures and Section 12 of the Restructuring Support Agreement.

        “Rights Offering Procedures” means the procedures governing the Rights Offering, as approved by the
Bankruptcy Court.

         “Rights Offering Shares” means the shares of New Common Stock issued in accordance with the Rights
Offering and subject to the terms of the Rights Offering Procedures and the Restructuring Support Agreement.

          “Roll-Off LC Exit Facility” means each senior secured letter of credit facility (other than in respect of the
Cash Secured Letters of Credit) under the Credit Agreement and the 2021 LC Agreement, each as amended by the
Exit Facility Agreement, each of which will be ranked junior to the Senior Exit LC Facility, and otherwise contain
terms consistent with the Exit Facilities Term Sheet and satisfactory to the Required Consenting Lenders, which shall
be set forth in the Definitive Documents to be included in the Plan Supplement.

          “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the Debtors that
are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or supplemented
from time to time.

         “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral to the
extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or (b)
subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

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          “Secured Creditor Equity Distribution” means 94% of the New Common Stock less the percentage of New
Common Stock to be turned over on account of (i) the Prepetition Funded Secured Claims Excess Cash Adjustment
and (ii) the Rights Offering, and subject to dilution on account of the Management Incentive Plan and the New
Warrants.

        “Secured Creditor Funded Debt Distribution” means (a) Cash in an amount equal to the Residual Technology
Business Sale Proceeds; (b) Cash in an amount equal to any proceeds of the Rights Offering; (c) the Secured Creditor
Equity Distribution; and (d) the new term loans evidenced by the Term Loan Exit Facility.

          “Secured Creditor Pro Rata Share” means with respect to any recipient of any distribution from the Secured
Creditor Funded Debt Distribution under the Plan, such recipient’s pro rata share thereof measured by reference to the
aggregate amount of: (a) all Allowed Term Loan Claims, (b) all Allowed Revolving Credit Claims consisting of (x)
all Revolving Loans and (y) funded Revolving LCs, (c) all Allowed 2021 Letter of Credit Claims consisting of funded
2021 Letters of Credit, (d) all Allowed 2023 Letter of Credit Claims consisting of funded 2023 Letters of Credit, (e)
all Allowed Lloyds Letter of Credit Claims consisting of funded Lloyds Letters of Credit, and (f) all Credit Agreement
Hedging Claims consisting of Credit Agreement Hedging Obligations, that are not being rolled into the DIP Credit
Facility, in each case as of the date of such distribution.

         “Secured Letter of Credit Cap” has the meaning ascribed to it in the Exit Facilities Term Sheet.

         “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          “Senior Exit LC Facility” means a 4-year, senior secured letter of credit exit facility in an amount up to $1.326
billion, ranked junior to the Super Senior Exit Facility, on terms satisfactory to the Debtors or the Reorganized Debtors,
as applicable, and otherwise on terms satisfactory to the Required Consenting Lenders; and set forth in the Definitive
Documents to be included in the Plan Supplement; provided that the amount of the Senior Exit LC Facility shall be
reduced dollar-for-dollar for each Prepetition Secured Letter of Credit or Lloyds Letter of Credit that is drawn and not
reimbursed in full in Cash during or after the Chapter 11 Cases.

        “Senior Notes” means the 10.625% senior notes due 2024 issued by certain of the Debtors pursuant to the
Senior Notes Indenture.

         “Senior Notes Ad Hoc Group” means, collectively, those certain institutions comprising the ad hoc groups of
holders of the Senior Notes represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP and Brown Rudnick LLP.

        “Senior Notes Ad Hoc Group Advisors” means Paul, Weiss, Rifkind, Wharton & Garrison LLP, Brown
Rudnick LLP, Houlihan Lokey Capital, Inc., counsel to the Senior Notes Trustee, and any local or foreign advisors.

         “Senior Notes Claims” means all principal and interest outstanding as of the Petition Date under the Senior
Notes.

        “Senior Notes Indenture” means that certain indenture dated as of April 18, 2018, by and among certain of
the Debtors and the Senior Notes Trustee, as may be amended, supplemented, or otherwise modified from time to
time.

         “Senior Notes Trustee” means UMB Bank, N.A., in its capacity as trustee for the Senior Notes Indenture.

         “Severance Arrangements” has the meaning set forth in Article IV.Q of the Plan.

        “Superpriority Agreement Agents” means the Superpriority Revolving Administrative Agent, the
Superpriority Collateral Agent and the Superpriority Term Loan Agent.

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         “Superpriority Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as
Collateral Agent under the Superpriority Credit Agreement.

          “Superpriority Credit Agreement” means that certain superpriority senior secured credit agreement, dated
October 21, 2019, between certain of the Debtors as borrowers and guarantors, a syndicate of lenders and letter of
credit issuers, the Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent, as amended
from time to time.

        “Superpriority Facility” means, collectively, the Superpriority Term Loan Facility and the Superpriority
Revolving Facility.

        “Superpriority Letters of Credit” means the superpriority letters of credit issued under the Superpriority
Revolving Facility.

         “Superpriority Revolving Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in
its capacity as administrative agent for the Superpriority Revolving Facility.

        “Superpriority Revolving Facility” means the superpriority secured letter of credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loan Agent” means Barclays Bank PLC in its capacity as administrative agent for the
Superpriority Term Loan Facility.

        “Superpriority Term Loan Facility” means the superpriority secured term loan credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loans” means the superpriority term loans issued under and on the terms set forth under
the Superpriority Term Loan Facility.

          “Super Senior Exit Facility” means a 4-year, super senior secured exit facility consisting of a letter of credit
facility in an amount of $743 million and the Make Whole Tranche (which Make Whole Tranche will be subordinate
in right of payment to the obligations with respect to the letters of credit under the Super Senior Exit Facility on the
terms provided therein), on terms satisfactory to the Required Consenting Lenders and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Technology Business Sale” means a sale of the Lummus Assets and Interests under this Plan, pursuant to
the Purchase Agreement, and to be agreed to or consummated by the Debtors on the Effective Date.

          “Technology Business Sale Proceeds” means Cash proceeds received from the Technology Business Sale,
net of (a) the reasonable transaction costs in connection with the Technology Business Sale, (b) taxes paid or
reasonably estimated to be payable by the Debtors or Reorganized Debtors as a result of the Technology Business
Sale, (c) any debt service payments due under the DIP Credit Agreement which are required to be repaid or otherwise
becomes due in connection with the Technology Business Sale, and (d) payment of $210 million of prepetition
accounts payable.

         “Technology Business Sale Proceeds Waterfall” means the distribution waterfall for the Technology Business
Sale Proceeds, as described in Article IV.D.3 of this Plan.

         “Term Lenders” means the lenders under the Term Loan Facility.

        “Term Loan Ad Hoc Group” means certain institutions comprising the ad hoc group of lenders in respect of
the Superpriority Term Loans and the lenders in respect of the Term Loan Facility.

         “Term Loan Ad Hoc Group Advisors” means Davis Polk & Wardwell LLP, Porter Hedges LLP, Centerview
Partners, Inc., Ankura Consulting Group, LLC, and any other local or foreign advisors.

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       “Term Loan Administrative Agent” means Barclays Bank PLC, in its capacity as administrative agent for the
Term Loan Facility.

         “Term Loan Claims” means any Claim for obligations arising under, or relating to, the Term Loan Facility.

         “Term Loan Exit Facility” means a 5-year senior secured term loan facility in an amount equal to $500 million
of take-back debt, ranked pari passu with the Roll-Off LC Exit Facility, and otherwise on terms satisfactory to the
Required Consenting Lenders, and set forth in Definitive Documents to be included in the Plan Supplement.

         “Term Loan Exit Facility Lenders” means those lenders party to the Exit Facility Agreement.

         “Term Loans” means the term loans issued and on the terms set forth under the Term Loan Facility.

         “Term Loan Facility” means the senior secured term loan facility under the Credit Agreement.

          “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to assumption
or rejection under section 365 of the Bankruptcy Code.

        “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         “Unsecured Claim” means any Claim that is not a Secured Claim.

         “Voting Deadline” means, subject to the approval of the Bankruptcy Court, February 19, 2020, or such other
date as ordered by the Bankruptcy Court.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
particular terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; provided that nothing in this clause (2) shall affect any parties’ consent rights over any
of the Definitive Documents or any amendments thereto, as provided for in the Restructuring Support Agreement;
(3) unless otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not Filed,
having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended,
modified, or supplemented in accordance with the Plan or Confirmation Order, as applicable; (4) any reference to an
Entity as a holder of a Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified,
all references herein to “Articles” are references to Articles hereof or hereto; (6) unless otherwise specified, all
references herein to exhibits are references to exhibits in the Plan Supplement; (7) unless otherwise specified, the
words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;
(8) subject to the provisions of any contract, certificate of incorporation, by-law, instrument, release, or other
agreement or document entered into in connection with the Plan, the rights and obligations arising pursuant to the Plan
shall be governed by, and construed and enforced in accordance with the applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles are inserted for convenience of
reference only and are not intended to be a part of or to affect the interpretation of the Plan; (10) unless otherwise
specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall apply; (11) any term
used in capitalized form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy
Rules shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may
be; (12) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the docket
numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to statutes, regulations, orders, rules of
courts, and the like shall mean as amended from time to time, and as applicable to the Chapter 11 Cases, unless
otherwise stated; (14) the words “include” and “including,” and variations thereof, shall not be deemed to be terms of
limitation, and shall be deemed to be followed by the words “without limitation”; (15) references to “Proofs of

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Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of Interest,” “holders of Interests,”
“Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating provisions may be interpreted by
the Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of the Plan all without
further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; and (17) all references
herein to consent, acceptance, or approval may be conveyed by counsel for the respective parties that have such
consent, acceptance, or approval rights, including by electronic mail.

C.       Computation of Time.

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next succeeding
Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably practicable
after the Effective Date.

D.       Governing Law.

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and Bankruptcy
Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to the principles
of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General Obligations Law), shall
govern the rights, obligations, construction, and implementation of the Plan, any agreements, documents, instruments,
or contracts executed or entered into in connection with the Plan (except as otherwise set forth in those agreements,
in which case the governing law of such agreement shall control), and corporate governance matters; provided that
corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York shall be governed by the laws of the state of incorporation or formation of the relevant Debtor or the
Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

          Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors or
the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the context
requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

         Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement set forth in the Restructuring Support Agreement
(including the exhibits thereto) with respect to the form and substance of this Plan, all exhibits to the Plan, and the
Plan Supplement, and all other Definitive Documents (as defined in the Restructuring Support Agreement), including
any amendments, restatements, supplements, or other modifications to such agreements and documents, and any
consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by this reference
(including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full herein.

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       Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to any
document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

                                            ARTICLE II.
                               ADMINISTRATIVE CLAIMS, DIP CLAIMS,
                          PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.

A.       Administrative Claims.

          Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, or otherwise provided for under the Plan or the Restructuring Support Agreement,
each holder of an Allowed Administrative Claim (other than holders of Professional Claims and Claims for fees and
expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in full and final
satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed Administrative Claim
in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to the Effective Date, on the
Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such Allowed Administrative
Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative Claim is not Allowed as of
the Effective Date, no later than thirty (30) days after the date on which an order allowing such Administrative Claim
becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such Allowed Administrative Claim is
based on liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date in accordance
with the terms and conditions of the particular transaction giving rise to such Allowed Administrative Claim without
any further action by the holders of such Allowed Administrative Claim; (4) at such time and upon such terms as may
be agreed upon by such holder and the Debtors or the Reorganized Debtors, as applicable; or (5) at such time and
upon such terms as set forth in an order of the Bankruptcy Court.

B.       DIP Claims.

         As set forth in Article IV.D of this Plan, certain of the Technology Business Sale Proceeds shall be used to
pay Allowed DIP Claims (including Allowed DIP Claims with respect to the Make Whole Amount pursuant to the
Technology Business Sale Proceeds Waterfall) outstanding on the Effective Date. Except to the extent that a holder
of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for, each holder of an Allowed DIP Claim shall receive the
following treatment:

                  (a)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP Term Loan Claim (other than the Make Whole
                            Amount, but including all principal, accrued and unpaid interest, fees and expenses and
                            non-contingent indemnity claims) shall receive payment in full in Cash;

                  (b)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall or the proceeds of the Rights Offering, each holder of an Allowed DIP Term
                            Loan Claim constituting the Make Whole Amount shall receive its Pro Rata share of the
                            term loans arising under the Make Whole Tranche;

                  (c)       to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                            Waterfall, each holder of an Allowed DIP LC Claim with respect to drawn DIP Letters of
                            Credit that have not been reimbursed in full in Cash as of the Effective Date shall receive
                            payment in full in Cash;




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                  (d)      each holder of an Allowed DIP LC Claim (other than in respect of DIP Cash Secured
                           Letters of Credit) shall receive participation in the Super Senior Exit Facility in an amount
                           equal to each such holder’s DIP Letter of Credit Facility commitments;

                  (e)      each holder of a DIP Cash Secured Letter of Credit Claim shall receive participation in
                           the Cash Secured Exit LC Facility in an amount equal to such holder’s DIP Cash Secured
                           Letter of Credit Claim; provided that any cash collateral in the DIP Cash Secured LC
                           Account (as defined in the DIP Credit Facility Term Sheet) shall collateralize the Cash
                           Secured LC Exit Facility; and

                  (f)      all DIP Hedging Obligations shall be rolled into and deemed incurred under the Super
                           Senior Exit Facility.

         To the extent the Funded DIP Indebtedness is repaid in full prior to the Effective Date, the Debtors shall not
make any payments to trade vendors for penalty interest payments (excluding, for the avoidance of doubt, customary
liquidated damages to customers) unless such payments had otherwise been specified in the Approved Budget (as
defined in the DIP Credit Agreement) or authorized pursuant to the DIP Financing Orders.

C.       Professional Claims.

         1.   Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The Bankruptcy
Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in accordance with
the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay Professional Claims in Cash
in the amount the Bankruptcy Court allows, including from the Professional Escrow Account, which the Reorganized
Debtors will establish in trust for the Professionals and fund with Cash equal to the Professional Amount on the
Effective Date.

         2.   Professional Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, in consultation with the Required Consenting Lenders,
establish and fund the Professional Escrow Account with Cash equal to the Professional Amount, which shall be
funded by the Reorganized Debtors. The Professional Escrow Account shall be maintained in trust solely for the
Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized Debtors.
The amount of Allowed Professional Claims shall be paid in Cash to the Professionals by the Reorganized Debtors
from the Professional Escrow Account as soon as reasonably practicable after such Professional Claims are Allowed.
When such Allowed Professional Claims have been paid in full, any remaining amount in the Professional Escrow
Account shall promptly be paid to the Reorganized Debtors without any further action or order of the Bankruptcy
Court.

         3.   Professional Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and expenses
incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such estimate to the
Debtors no later than five days before the Effective Date; provided that such estimate shall not be deemed to limit the
amount of the fees and expenses that are the subject of each Professional’s final request for payment in the Chapter 11
Cases. If a Professional does not provide an estimate, the Debtors or Reorganized Debtors may estimate the unpaid
and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the

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Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses related
to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or approval
of the Bankruptcy Court.

D.       Priority Tax Claims.

          Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses, Consent Fee.

          The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
and noteholder consent fees payable under Section 12 of the Restructuring Support Agreement payable in Cash, which,
for the avoidance of doubt, shall include the Noteholder Consent Fee (as defined in the Restructuring Support
Agreement), shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent
not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms of the
Restructuring Support Agreement, without any requirement to file a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses and Cash consent fees to be paid on the Effective Date shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least two (2) Business Days before the
anticipated Effective Date; provided that such estimates shall not be considered an admission or limitation with respect
to such Restructuring Expenses. On or as soon as practicable after the Effective Date, final invoices for all
Restructuring Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors. In addition,
the Debtors and the Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when due
Restructuring Expenses related to implementation, consummation, and defense of the Plan, whether incurred before,
on, or after the Effective Date.

                                        ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article II
hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests               Status            Voting Rights
                                                                                Not Entitled to Vote
              Class 1      Other Secured Claims                 Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
              Class 2      Other Priority Claims                Unimpaired
                                                                                (Presumed to Accept)
                           Other Prepetition Financing                          Not Entitled to Vote
              Class 3                                           Unimpaired
                           Claims                                               (Presumed to Accept)

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                Class              Claims and Interests             Status           Voting Rights
                                                                                Not Entitled to Vote
              Class 4      Bilateral Facility Claims             Unimpaired
                                                                                (Presumed to Accept)
              Class 5      2021 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6A     2023 Letter of Credit Claims          Impaired       Entitled to Vote

              Class 6B     Revolving Credit Claims               Impaired       Entitled to Vote

              Class 6C     Term Loan Claims                      Impaired       Entitled to Vote
                           Credit Agreement Hedging
              Class 6D                                           Impaired       Entitled to Vote
                           Claims
                           Cash Secured Letter of Credit
              Class 7                                            Impaired       Entitled to Vote
                           Claims
                           Lloyds Letter of Credit                              Not Entitled to Vote
              Class 8                                            Unimpaired
                           Claims                                               (Presumed to Accept)
              Class 9      Senior Notes Claims                   Impaired       Entitled to Vote
                                                                                Not Entitled to Vote
              Class 10     General Unsecured Claims              Unimpaired
                                                                                (Presumed to Accept)
                                                                                Not Entitled to Vote
                                                                 Unimpaired /
              Class 11     Intercompany Claims                                  (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Equity Interests                            Not Entitled to Vote
                                                                 Unimpaired /
              Class 12     Other Than in McDermott                              (Presumed to Accept or
                                                                 Impaired
                                                                                Deemed to Reject)
                           Existing Preferred Equity                            Not Entitled to Vote
              Class 13                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)
                           Existing Common Equity                               Not Entitled to Vote
              Class 14                                           Impaired
                           Interests in McDermott                               (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the treatment
described below in full and final satisfaction, settlement, release, and discharge of and in exchange for such holder’s
Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the Reorganized Debtors
and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise indicated, the holder of
an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the Effective Date or as soon as
reasonably practicable thereafter. The Claims in Classes 5, 6A, 6B, 6C, 6D, and 7 shall be Allowed to the extent
provided in the DIP Financing Orders.

         1.   Class 1 – Other Secured Claims

                  (a)      Classification: Class 1 consists of all Other Secured Claims.

                  (b)      Treatment: Each holder of an Allowed Other Secured Claim shall receive, at the option of
                           the applicable Debtor:

                           (i)         payment in full in Cash of its Allowed Other Secured Claim;

                           (ii)        the collateral securing its Allowed Other Secured Claim;

                           (iii)       Reinstatement of its Allowed Other Secured Claim; or



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                      (iv)     such other treatment that renders its Allowed Other Secured Claim Unimpaired in
                               accordance with section 1124 of the Bankruptcy Code.

             (c)      Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    2.   Class 2 – Other Priority Claims

             (a)      Classification: Class 2 consists of all Other Priority Claims.

             (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive payment in full
                      in Cash.

             (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    3.   Class 3 – Other Prepetition Financing Claims

             (a)      Classification: Class 3 consists of all Other Prepetition Financing Claims.

             (b)      Treatment: Each Allowed Other Prepetition Financing Claim shall be Reinstated.

             (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Other Prepetition Financing
                      Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
                      the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject
                      the Plan.

    4.   Class 4 – Bilateral Facility Claims

             (a)      Classification: Class 4 consists of all Bilateral Facility Claims.

             (b)      Treatment: Each Allowed Bilateral Facility Claim shall be Reinstated.

             (c)      Voting: Class 4 is Unimpaired under the Plan. Holders of Bilateral Facility Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    5.   Class 5 – 2021 Letter of Credit Claims

             (a)      Classification: Class 5 consists of all 2021 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2021 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2021 Letter of Credit Claims on account of unfunded 2021
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s participation in any such unfunded 2021 Letters of Credit,

                      (ii)     with respect to any 2021 Letter of Credit Claims on account of funded 2021
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                               Funded Debt Distribution, and

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                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2021 Letter of Credit Claim pursuant to
                               Section 2.15 of the 2021 LC Agreement.

             (c)      Voting: Class 5 is Impaired under the Plan. Holders of 2021 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    6.   Class 6A – 2023 Letter of Credit Claims

             (a)      Classification: Class 6A consists of all 2023 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2023 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2023 Letter of Credit Claims on account of unfunded 2023
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount equal
                               to each such holder’s participation in any such unfunded 2023 Letters of Credit,

                      (ii)     with respect to any 2023 Letter of Credit Claims on account of funded 2023
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed 2023 Letter of Credit Claim pursuant to
                               Section 2.15 of the Credit Agreement.

             (c)      Voting: Class 6A is Impaired under the Plan. Holders of 2023 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    7.   Class 6B – Revolving Credit Claims

             (a)      Classification: Class 6B consists of all Revolving Credit Claims.

             (b)      Allowed Amount: As of the Effective Date, the Revolving Credit Claims shall be Allowed
                      and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                      Credit Facility, including all principal, accrued and unpaid interest at the applicable default
                      rate, and all accrued and unpaid fees, expenses, and noncontingent indemnity payable
                      under the Revolving Credit Facility and the DIP Financing Orders.

             (c)      Treatment: Each holder of an Allowed Revolving Credit Claim shall receive:

                      (i)      with respect to any Revolving Credit Claims on account of unfunded Revolving
                               LCs, participation in the Roll-Off LC Exit Facility in an amount equal to each
                               such holder’s participation in any such unfunded Revolving LCs,

                      (ii)     with respect to any Revolving Credit Claims on account of (x) Revolving Loans
                               or (y) funded Revolving LCs, its Secured Creditor Pro Rata Share of the Secured
                               Creditor Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition Date
                               due to such holder of an Allowed Revolving Credit Claim pursuant to
                               Section 2.15 of the Credit Agreement.

             (d)      Voting: Class 6B is Impaired under the Plan. Holders of Revolving Credit Claims are
                      entitled to vote to accept or reject the Plan.


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    8.   Class 6C – Term Loan Claims

             (a)     Classification: Class 6C consists of all Term Loan Claims.

             (b)     Allowed Amount: As of the Effective Date, the Term Loan Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Term Loan Facility,
                     including all principal, accrued and unpaid interest at the applicable default rate, and all
                     accrued and unpaid fees, expenses, and noncontingent indemnity payable under the Term
                     Loan Facility and the DIP Financing Orders.

             (c)     Treatment: Each holder of an Allowed Term Loan Claim shall receive its Secured Creditor
                     Pro Rata Share of the Secured Creditor Funded Debt Distribution.

             (d)     Voting: Class 6C is Impaired under the Plan. Holders of Term Loan Claims are entitled
                     to vote to accept or reject the Plan.

    9.   Class 6D – Credit Agreement Hedging Claims

             (a)     Classification: Class 6D consists of all Credit Agreement Hedging Claims.

             (b)     Treatment: Each holder of an Allowed Credit Agreement Hedging Claim that remains
                     unpaid as of the Effective Date shall receive for any Allowed Credit Agreement Hedging
                     Claims such holder’s Secured Creditor Pro Rata Share of the Secured Creditor Funded
                     Debt Distribution.

             (c)     Voting: Class 6D is Impaired under the Plan. Holders of Credit Agreement Hedging
                     Claims are entitled to vote to accept or reject the Plan.

    10. Class 7 – Cash Secured Letter of Credit Claims

             (a)     Classification: Class 7 consists of all Cash Secured Letter of Credit Claims.

             (b)     Treatment: Each holder of an Allowed Cash Secured Letter of Credit Claim outstanding
                     as of such date shall:

                     (i)      be deemed to reissue its Cash Secured Letters of Credit under the Cash Secured
                              LC Exit Facility which shall be secured by the same cash collateral which secured
                              the Cash Secured Letters of Credit prior to the Petition Date, and

                     (ii)     receive payment in full in Cash of any amounts accrued and unpaid as of the
                              Petition Date due to such holder of an Allowed Cash Secured Letter of Credit
                              Claim pursuant to Section 2.15 of the Credit Agreement.

             (c)     Voting: Class 7 is Impaired under the Plan. Holders of Cash Secured Letter of Credit
                     Claims are entitled to vote to accept or reject the Plan.

    11. Class 8 – Lloyds Letter of Credit Claims

             (a)     Classification: Class 8 consists of all Lloyds Letter of Credit Claims.

             (b)     Treatment: Each holder of an Allowed Lloyds Letter of Credit Claim shall:

                     (i)      be deemed to issue on the Effective Date its Lloyds Letters of Credit under the
                              Lloyds LC Exit Facility, which from and after the Effective Date shall be secured
                              on a senior and exclusive basis by the cash collateral held by Lloyds LC Bank

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                             and/or its affiliates that secured the Lloyds Letters of Credit as of the Effective
                             Date and any standby letters of credit supporting the Lloyds Letters of Credit as
                             of the Effective Date; provided that the cash collateral and/or standby letters of
                             credit, as applicable, securing the Lloyds LC Exit Facility shall be reduced and/or
                             released, as applicable, dollar-for-dollar upon the reduction, expiration, or
                             termination of any Lloyds Letter of Credit in accordance with its terms from and
                             after the Effective Date and upon any such release the applicable cash collateral
                             shall become collateral securing the obligations of the Reorganized Debtors under
                             the Exit Facilities;

                    (ii)     with respect to any Lloyds Letter of Credit Claims on account of funded Lloyds
                             Letters of Credit, receive payment in full in Cash of such amounts from cash
                             collateral and/or standby letters of credit which secure the Lloyds Letters of
                             Credit, and

                    (iii)    receive payment in full in Cash of any amounts accrued and unpaid as of the
                             Effective Date due to such holder of an Allowed Lloyds Letter of Credit Claim
                             pursuant to Section 1, Section 2(b), and Section 6 of the Lloyds Letter of Credit
                             Agreement.

            (c)     Voting: Class 8 is Unimpaired under the Plan. Holders of Lloyds Letter of Credit Claims
                    are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                    Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                    Plan.

    12. Class 9 – Senior Notes Claims

            (a)     Classification: Class 9 consists of all Senior Notes Claims.

            (b)     Allowed Amount: As of the Effective Date, the Senior Notes Claims shall be Allowed and
                    deemed to be Allowed Claims in the principal amount outstanding under the Senior Notes,
                    together with all accrued but unpaid interest as of the Petition Date.

            (c)     Treatment: Each holder of an Allowed Senior Notes Claim shall receive its pro rata share
                    of:

                    (i)      6% of the New Common Stock, plus additional shares of New Common Stock as
                             a result of the Prepetition Funded Secured Claims Excess Cash Adjustment,
                             subject to dilution on account of the New Warrants and the Management Incentive
                             Plan; and

                    (ii)     the New Warrants.

            (d)     Voting: Class 9 is Impaired under the Plan. Holders of Senior Notes Claims are entitled
                    to vote to accept or reject the Plan.

    13. Class 10 – General Unsecured Claims

            (a)     Classification: Class 10 consists of all General Unsecured Claims.

            (b)     Treatment: Each holder of an Allowed General Unsecured Claim shall receive, at the
                    option of the applicable Debtor:

                    (i)      payment in full in Cash; or


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                     (ii)     Reinstatement.

            (c)      Voting: Class 10 is Unimpaired under the Plan. Holders of General Unsecured Claims are
                     conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                     Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                     Plan.

    14. Class 11 – Intercompany Claims

            (a)      Classification: Class 11 consists of all Intercompany Claims.

            (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                     Debtor (with the consent of the Required Consenting Lenders), either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Intercompany Claims will not receive any distribution on account of such
                              Intercompany Claims.

            (c)      Voting: Class 11 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 11 is not entitled to vote to accept or reject the Plan.

    15. Class 12 – Existing Equity Interests Other Than in McDermott

            (a)      Classification: Class 12 consists of all Existing Equity Interests Other Than in McDermott.

            (b)      Treatment: Each Existing Equity Interests Other Than in McDermott shall be, at the option
                     of the applicable Debtor, either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Existing Equity Interests Other Than in McDermott will not receive any
                              distribution on account of such Existing Equity Interests Other Than in
                              McDermott.

            (c)      Voting: Class 12 is conclusively deemed to have accepted the Plan pursuant to
                     section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g) of
                     the Bankruptcy Code. Class 12 is not entitled to vote to accept or reject the Plan.

    16. Class 13 – Existing Preferred Equity Interests

            (a)      Classification: Class 13 consists of all Existing Preferred Equity Interests.

            (b)      Treatment: Holders of Existing Preferred Equity Interests will not receive any distribution
                     on account of such Interests, which will be canceled, released, and extinguished as of the
                     Effective Date, and will be of no further force or effect.



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                  (c)      Voting: Class 13 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 13 is not entitled to vote to accept or reject
                           the Plan.

         17. Class 14 – Existing Common Equity Interests

                  (a)      Classification: Class 14 consists of all Existing Common Equity Interests.

                  (b)      Treatment: Holders of Existing Common Equity Interests will not receive any distribution
                           on account of such Interests, which will be canceled, released, and extinguished as of the
                           Effective Date, and will be of no further force or effect.

                  (c)      Voting: Class 14 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or reject
                           the Plan.

C.       Special Provision Governing Unimpaired Claims.

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the Reorganized
Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable defenses to or
setoffs or recoupments against any such Unimpaired Claim.

D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes of
administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve the
right, subject to the prior consent of the Required Consenting Lenders, which shall not be unreasonably withheld, to
modify the Plan in accordance with Article X hereof and the Restructuring Support Agreement to the extent, if any,
that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying
the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to
the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.




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H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are Impaired,
the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the Confirmation
Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights relating
thereto, whether arising under general principles of equitable subordination, section 510(b) of the Bankruptcy Code,
or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled, compromised, and released
pursuant to the Plan.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

           As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to section 1123
of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification, distributions, releases,
and other benefits provided under the Plan, upon the Effective Date, the provisions of the Plan shall constitute a good
faith compromise and settlement of all Claims and Interests and controversies resolved pursuant to the Plan, including
(1) any challenge to the amount, validity, perfection, enforceability, priority or extent of the DIP Claims, Superpriority
Term Loan Claims, Superpriority Revolving Facility Claims, 2021 Letter of Credit Claims, 2023 Letter of Credit
Claims, Revolving Credit Claims, Term Loan Claims, Cash Secured Letter of Credit Claims, Credit Agreement
Hedging Claims, and Senior Notes Claims and (2) any claim to avoid, subordinate, or disallow any DIP Claims,
Superpriority Term Loan Claims, Superpriority Revolving Facility Claims, 2021 Letter of Credit Claims, 2023 Letter
of Credit Claims, Revolving Credit Claims, Term Loan Claims, Cash Secured Letter of Credit Claims, Credit
Agreement Hedging Claims, and Senior Notes Claims, whether under any provision of chapter 5 of the Bankruptcy
Code, on any equitable theory (including equitable subordination, equitable disallowance, or unjust enrichment) or
otherwise. The Plan shall be deemed a motion to approve the good faith compromise and settlement of all such
Claims, Interests, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy
Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise
is fair, equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to be
and shall be final.

B.       Restructuring Transactions.

          On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and shall
take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set forth in
the Restructuring Transactions Memorandum. The actions to implement the Restructuring Transactions may include:
(1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements of applicable
law and any other terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate
instruments of transfer, assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation
on terms consistent with the terms of the Plan and having other terms for which the applicable parties agree; (3) the
filing of appropriate certificates or articles of incorporation, formation, reincorporation, merger, consolidation,
conversion, amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial law;
and (4) all other actions that the applicable Entities determine to be necessary, including making filings or recordings
that may be required by applicable law in connection with the Plan. The Confirmation Order shall, and shall be
deemed to, pursuant to sections 363 and 1123 of the Bankruptcy Code, authorize, among other things, all actions as
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may be necessary or appropriate to effect any transaction described in, contemplated by, or necessary to effectuate the
Plan. On the Effective Date or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable,
shall issue all securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.       Reorganized Debtors.

         On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under the Plan as necessary to consummate
the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized Debtors. The
Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine
to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy their obligations
under the Plan. Except as set forth herein, any changes in intercompany account balances resulting from such transfers
will be accounted for and settled in accordance with the Debtors’ historical intercompany account settlement practices
and will not violate the terms of the Plan.

          From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth in
any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy Court
to raise additional capital and obtain additional financing, subject to the New Organizational Documents and the Exit
Facility Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.

D.       Technology Business Sale.

         1.   Technology Business Sale Process.

         Following the Petition Date, in consultation with the Consultation Parties (as defined in the Bidding
Procedures), the Debtors shall continue their sale and marketing process and solicit bids for the sale or other disposition
of all or substantially all of the Technology Business Sale, in accordance with the terms and conditions of the
Restructuring Support Agreement (including the Milestones (as defined in the Restructuring Support Agreement)) and
in a manner acceptable to the Required Consenting Lenders. For the avoidance of doubt, the Debtors may only execute
an agreement for the sale or other disposition of any part of the Technology Business with the consent of the Required
Consenting Lenders.

         The Consultation Parties shall have the right to review all information, diligence, documents and other
materials provided by the Debtors or their advisors to any bidder or prospective bidder in connection with the
Technology Business Sale and to consult with the Debtors and their advisors with respect to the Technology Business
Sale. The Debtors shall provide to the Consultation Parties all term sheets, letters, proposals, offers, bids and other
materials, whether non-binding or not, that are received by the Debtors or their advisors in connection with the
Technology Business Sale within one (1) day of receipt by the Debtors or their advisors, as applicable.

         2.   Closing of the Technology Business Sale.

          On or before the Effective Date, the Debtors shall be authorized to consummate the Technology Business
Sale and, among other things, the Lummus Assets and Interests (including Executory Contracts and Unexpired Leases
assumed and assigned pursuant to Article V hereof) shall be transferred to and vest in the Purchaser free and clear of
all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Purchase Agreement and, as applicable,
in accordance with the DIP Credit Agreement, the Confirmation Order or an order approving the Technology Business
Sale; provided that, to the extent the Technology Business Sale is to be consummated pursuant to the Confirmation
Order, the Debtors may request entry of any order supplementing the Confirmation Order that the Debtors believe is
necessary or appropriate to implement the terms and conditions of the Technology Business Sale. On and after the
Effective Date, except as otherwise provided in the Plan, the Debtors or the Purchaser, as applicable, may operate the
Debtors’ businesses and may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or
Causes of Action, in each case relating to the Lummus Assets and Interests, without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

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         3.   Technology Business Sale Proceeds Waterfall.

        On the Effective Date, any Technology Business Sale Proceeds that have not otherwise been applied in
accordance with the DIP Credit Agreement shall be applied as follows:

                  (a)      first, to fund the minimum Cash balance of $820 million, as required by the Business Plan,

                  (b)      second, to repay Funded DIP Indebtedness (other than the Make Whole Amount);

                  (c)      third, payment of the Make Whole Amount; and

                  (d)      fourth, to fund cash to support new or additional letters of credit sufficient to meet the
                           $2.44 billion letter of credit capacity contemplated by the Exit Facilities Term Sheet; and

                  (e)      fifth, the repayment of Prepetition Funded Secured Claims on a Pro Rata basis.

         4.   Residual Prepetition Funded Secured Claims Pay Down.

          On the Effective Date, the Prepetition Funded Secured Claims will be repaid on a pro rata basis from (i) the
Residual Technology Business Sale Proceeds and (ii) any available Cash (such available Cash shall exclude Cash held
in variable interest entities associated with joint venture and consortium arrangements, Cash trapped in foreign
jurisdictions, and insurance captive Cash) in excess of $820 million available cash at emergence after payment of all
fees and transaction expenses ((i) and (ii) together the “Residual Prepetition Funded Secured Claims Pay Down”).

          If the Residual Prepetition Funded Secured Claims Pay Down amount is greater than $0, the initial allocation
of 94% of the New Common Stock to the holders of Prepetition Funded Secured Claims shall be reduced, and the initial
allocation of 6% of the New Common Stock to holders of Senior Notes Claim shall be increased, by the percentage
calculated by dividing:

                  (a)      the Residual Prepetition Funded Secured Claims Pay Down amount by

                  (b)      an amount equal to:

                           (i)      the aggregate amount of Prepetition Funded Secured Claims (including, without
                                    limitation, principal and any accrued prepetition or postpetition interest at the
                                    default rate as applicable) minus an amount equal to the sum of (y) the aggregate
                                    amount of the loans to be issued under the Term Loan Exit Facility and (z) any
                                    proceeds of the Rights Offering up to $150 million; divided by

                           (ii)     94% minus an amount equal to (y) the aggregate proceeds of the Rights Offering up
                                    to $150 million divided by (z) Plan Equity Value

(such adjustment of initial allocations, the “Prepetition Funded Secured Claims Excess Cash Adjustment”).

          For the avoidance of doubt, if the Technology Business Sale Proceeds paid pursuant to the Technology
Business Sale Proceeds Waterfall have not paid the Make Whole Amount in full, all proceeds of the Rights Offering
will (a) first go to the pay down of the Make Whole Amount and (b) once the Make Whole Amount is paid in full, the
Prepetition Funded Secured Claims will be repaid on a pro rata basis from such remaining proceeds of the Rights
Offering.

E.       Pipes Business Sale.

         Following the Confirmation Date, the Debtors shall be authorized to consummate the Pipes Business Sale
with the consent of the Required Consenting Lenders pursuant to the terms of the Pipes Business Sale Documents, the
DIP Credit Agreement, the Plan, and the Confirmation Order. Pursuant to the consummation of the Pipes Business

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Sale, the Debtors shall, among other things, transfer all or part of the Pipes Interests to the Pipes Buyers free and clear
of all Liens, Claims, Interests, charges, and other encumbrances (other than any assumed liabilities) pursuant to
sections 363, 365, and/or 1123 of the Bankruptcy Code, this Plan, and the Confirmation Order; provided that all Liens,
Claims, Interests, charges and other encumbrances on Pipes Interests securing any obligations of the Debtors prior to
the closing of the Pipes Business Sale shall attach to the proceeds of the Pipes Business Sale, in the order of their
priority, with the same validity, force, and effect, if any, which they had against such Pipes Interests prior to the closing
of the Pipes Business Sale. The proceeds of the Pipes Business Sale shall be applied (i) prior to the Effective Date, in
accordance with the DIP Credit Agreement; and (ii) on the Effective Date, including to the extent any Pipes Business
Sale proceeds were applied as cash collateral securing the DIP Letters of Credit in accordance with the DIP Credit
Agreement, to fund Cash to the Debtors’ balance sheet to satisfy the conditions precedent for emergence under Article
IX.A of the Plan.

          Pursuant to Article IX hereof, if the conditions precedent to the closing of the Pipes Business Sale shall have
been satisfied in accordance with the Pipes Business Sale Documents (as approved by the Required Consenting
Lenders), then the conditions set forth in Article IX (other than in Article IX.A.b) shall be deemed automatically
waived with respect to the Pipes Entities without notice, leave, or order of the Bankruptcy Court, or any further action
by the Debtors, the Reorganized Debtors, or any Consenting Stakeholder. Notwithstanding anything to the contrary
herein, upon the closing of the Pipes Business Sale, (x) the Pipes Entities shall not retain any liability arising out of or
in connection with (i) Professional Claims incurred by the Pipes Entities prior to the closing of the Pipes Business
Sale or the funding of the Professional Fee Escrow, (ii) Restructuring Expenses and any consent fees, (iii) the
Restructuring Support Agreement and any fees or obligations thereunder, (iv) the Exit Facilities or the Lloyds LC Exit
Facility, (v) the DIP Cash Secured Letter of Credit Claims or the DIP Claims, and (iv) any adequate protection claims
under the DIP Financing Orders, Bankruptcy Code § 507(b), or otherwise; (y) any consent or consultation rights in
the Restructuring Support Agreement, the Plan, or the Confirmation Order of any Person or Entity other than the Pipes
Entities as Reorganized Debtors shall not be enforceable against or apply to the Pipes Entities; and (z) the Pipes
Interests shall be Reinstated pursuant to Article III of the Plan.

F.       Sources of Consideration for Plan Distributions.

          The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations, and the proceeds of the Rights Offering, the Technology Business
Sale (in accordance with the Technology Business Sale Proceeds Waterfall) and the Pipes Business Sale, as applicable;
(2) the New Common Stock; (3) the New Warrants; and (4) the distributions under the Exit Facilities, as applicable.

         1.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities (the terms of which will
be set forth in the Exit Facility Documents).
         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized Debtors,
as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facility Documents, and incur and pay any fees and expenses in
connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors, as
applicable, may deem to be necessary to consummate the Exit Facilities.
          Notwithstanding anything in the Plan or the Confirmation Order to the contrary: (x) on the Effective Date,
the cash collateral securing the Cash Secured Letters of Credit outstanding under the Credit Agreement and the cash
collateral securing the DIP Credit Facility shall be transferred to the collateral agent in respect of the Exit Facilities
for the benefit of the secured parties in respect of the Cash Secured LC Exit Facility on a first-priority basis and the
secured parties in respect of the other Exit Facilities as set forth in the Exit Facility Documents; and (y) all Liens
securing the Debtors’ obligations under the DIP Credit Agreement, the Superpriority Credit Agreement, the Credit
Agreement, and the 2021 LC Agreement: (i) shall be unaltered by the Plan, (ii) except as otherwise provided in the
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Confirmation Order regarding the release of Liens over Lummus Assets and Interest and the Pipes Interests upon
consummation of the Technology Business Sale and the Pipes Business Sale, shall continue and remain attached to
the property of the Reorganized Debtors and their Affiliates after the Effective Date to the same extent such Liens
were attached to the property of the Debtors prior to the Effective Date, and (iii) shall be deemed assigned on the
Effective Date to the collateral agent in respect of the Exit Facilities for the benefit of the secured parties in respect of
the Exit Facilities (other than the Cash Secured LC Exit Facility) to secure the joint and several obligations of the
Reorganized Debtors under the Exit Facilities as set forth in the Exit Facility Documents; provided that (a) such Liens
shall not secure the Lloyds LC Exit Facility as of the Effective Date and (b) on and after the Effective Date, the
granting, attachment, perfection, priority, and continuation of such Liens shall be governed by the terms of the Exit
Facilities.
          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Plan and the Exit
Facility Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in the
collateral specified in the Exit Facility Documents. The Exit Facility Agents or holder(s) of Liens under the Exit
Facility Documents are authorized to file with the appropriate authorities mortgages, financing statements, and other
documents, and to take any other action in order to evidence, validate, and perfect such Liens or security interests.
The guarantees, mortgages, pledges, Liens, and other security interests granted to secure the obligations arising under
the Exit Facility Documents have been granted in good faith, for legitimate business purposes, and for reasonably
equivalent value as an inducement to the lenders thereunder to extend credit thereunder and shall be deemed not to
constitute a fraudulent conveyance or fraudulent transfer and shall not otherwise be subject to avoidance,
recharacterization, or subordination for any purposes whatsoever and shall not constitute preferential transfers or
fraudulent conveyances under the Bankruptcy Code or any applicable nonbankruptcy law, and the priorities of such
Liens and security interests shall be as set forth in the Exit Facility Documents. The Reorganized Debtors and the
persons and entities granted such Liens and security interests shall be authorized to make all filings and recordings,
and to obtain all governmental approvals and consents necessary to establish and perfect such Liens and security
interests under the provisions of the applicable state, federal, or other law that would be applicable in the absence of
the Plan and the Confirmation Order (it being understood that perfection shall occur automatically by virtue of the
entry of the Confirmation Order), and will thereafter cooperate to make all other filings and recordings that otherwise
would be necessary under applicable law to give notice of such Liens and security interests to third parties.
         In no event shall the sum of (v) the face amount of letters of credit issued and outstanding at any time under
the Senior Exit LC Facility, plus (w) the face amount of letters of credit issued and outstanding at any time under the
Super Senior Exit Facility, plus (x) the face amount of letters of credit issued or deemed issued and outstanding at any
time under the Roll-Off LC Exit Facility, plus (y) the face amount of letters of credit issued and outstanding at any
time under the Cash Secured LC Exit Facility, plus (z) the face amount of letters of credit issued or deemed issued
and outstanding at any time under the Lloyds LC Exit Facility, exceed the Secured Letter of Credit Cap plus permitted
incremental capacity set forth in the Exit Facilities Term Sheet.
         2.   Issuance of New Common Stock.

          The issuance of the New Common Stock, including the Rights Offering Shares and any options or other
equity awards, if any, reserved for the Management Incentive Plan and the New Warrants (including the New Common
Stock that may be issuable upon exercise of the New Warrants), by the Reorganized Debtors (as set forth in the
Restructuring Transactions Memorandum) shall be authorized without the need for any further corporate action or
without any further action by the holders of Claims or Interests. The Reorganized Debtors shall be authorized to issue
a certain number of shares, units or equity interests (as the case may be based on how the New Common Stock is
denominated and the identity of the Reorganized Debtor issuing such shares, units, or equity interests) of New
Common Stock required to be issued under the Plan and pursuant to their New Organizational Documents. On the
Effective Date, the Debtors or Reorganized Debtors, as applicable, shall issue all Securities, notes, instruments,
certificates, and other documents required to be issued pursuant to the Plan.

          All of the shares, units, or equity interests (as the case may be based on how the New Common Stock is
denominated) of New Common Stock issued or authorized to be issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI hereof shall be
governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the terms
and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance.

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          On the Effective Date or as soon as reasonably practicable thereafter, the New Common Stock will be
distributed in accordance with the Plan.

         3.   Rights Offering.

         In accordance with the Restructuring Support Agreement, the applicable Reorganized Debtor shall
consummate the Rights Offering, through which each Consenting Noteholder shall have the opportunity, subject to
the terms and conditions set forth in the Plan and the Rights Offering Procedures, to purchase the Rights Offering
Shares.

          The Rights Offering Procedures shall be approved within 5 days of Petition Date and shall provide for a
subscription deadline of no later than the Voting Deadline. Subscription rights to participate in the Rights Offering
shall be distributed to the Consenting Noteholders in accordance with the Restructuring Support Agreement, the
Restructuring Term Sheet, and the Plan and the issuance of such subscription rights will be exempt from SEC
registration under applicable law. Proceeds of the Rights Offering to be used (a) first, for Cash pay down of any
portion of the Make Whole Amount that is not paid in full in Cash from Technology Business Sale Proceeds in
accordance with the Technology Business Sale Proceeds Waterfall and (b) second, for Cash pay down of Prepetition
Funded Secured Claims.

         4.   Issuance of New Warrants.

         On the Effective Date, the applicable Reorganized Debtor (as set forth in the Restructuring Transactions
Memorandum) will issue the New Warrants only to the extent required to provide for distributions to holders of the
Senior Notes Claims, as contemplated by this Plan. All of the New Warrants issued pursuant to the Plan and the shares
of New Common Stock that may be issued upon exercise of the New Warrants shall be duly authorized without the
need for any further corporate action and without any further action by the Debtors or Reorganized Debtors, as
applicable, validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI
hereof shall be governed by the terms and conditions set forth in the Restructuring Support Agreement, the Plan, and
the New Warrant Agreements applicable to such distribution or issuance and by the terms and conditions of the
instruments evidencing or relating to such distribution or issuance, which terms and conditions shall bind each Entity
receiving such distribution or issuance without the need for execution by any party thereto other than the applicable
Reorganized Debtor(s).

         The New Warrants shall be distributed to holders of Senior Notes Claims in accordance with the
Restructuring Support Agreement and the Plan. The New Warrants shall have full customary anti-dilution and Black-
Scholes protection.

         5.   Lloyds LC Exit Facility.

          On the Effective Date, the Reorganized Debtors and Lloyds LC Bank shall enter into the Lloyds LC Exit
Facility. To the extent applicable, entry of the Confirmation Order shall be deemed (a) approval of the Lloyds LC
Exit Facility and (b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice
to or order of the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate
to pursue or obtain the Lloyds LC Exit Facility, and (ii) act or take action under applicable law, regulation, order, or
rule or vote, consent, authorization, or approval of any Person as may be necessary to consummate the Lloyds LC Exit
Facility. Liens on the cash collateral held by Lloyds LC Bank and/or its affiliates that exclusively secures the Debtors’
obligations under the Lloyds Letter of Credit Agreement: (i) shall be unaltered by the Plan, (ii) shall continue and
remain (to the extent continued under the Lloyds LC Exit Facility) attached to the property of the Reorganized Debtors
after the Effective Date to the same extent such Liens were attached to the property of the Debtors prior to the Effective
Date, and (iii) shall continue to secure the joint and several obligations of the Reorganized Debtors under the Lloyds
LC Exit Facility.




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G.       Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or otherwise,
in each case, consistent with the Plan and the Restructuring Support Agreement, and to the extent such documents are
amended in accordance therewith, such documents are deemed to be amended pursuant to the Plan and require no
further action or approval (other than any requisite filings required under applicable state, provincial, or federal law).
After the Effective Date, the respective certificate of incorporation and bylaws (or other formation documents) of one
or more of the Reorganized Debtors may be amended or modified on the terms therein without supervision or approval
by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules. After the Effective
Date, one or more of the Reorganized Debtors may be disposed of, dissolved, wound down, or liquidated without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.

H.       Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt, the
Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan shall vest in each
respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and after the
Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor may operate its business and may
use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

I.       Cancellation of Existing Securities and Agreements.

          On the Effective Date, except to the extent otherwise provided in the Exit Facility Documents, the Plan
(including, without limitation, under Article IV.F.1 of the Plan) and the Confirmation Order, all notes, instruments,
certificates, credit agreements, indentures, and other documents evidencing Claims or Interests shall be cancelled and
the obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in full, cancelled,
discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities, and other
documentation will have no rights arising from or relating to such instruments, Securities, and other documentation,
or the cancellation thereof, except the rights provided for pursuant to this Plan or the Confirmation Order.
Notwithstanding anything to the contrary herein, but subject to any applicable provisions of Article VI hereof, to the
extent cancelled pursuant to this paragraph, the Senior Notes Indenture shall continue in effect solely to the extent
necessary to: (1) permit holders of Claims under the Senior Notes Indenture to receive their respective Plan
Distributions, if any; (2) permit the Reorganized Debtors and the Disbursing Agent, as applicable, to make Plan
Distributions on account of the Allowed Claims under the Senior Notes Indenture; (3) permit the Senior Notes Trustee
to seek compensation and/or reimbursement of fees and expenses in accordance with the terms of this Plan; (4) allow
the Senior Notes Trustee to enforce its rights, claims, and interests against any party other than the Debtors;
(5) preserve any rights of the Senior Notes Trustee to payment of fees, expenses, and indemnification obligations as
against any money or property distributable to holders of Claims under the Senior Notes Indenture, including any
rights to priority of payment and/or to exercise charging liens; and (6) permit the Senior Notes Trustee to appear and
be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court, including to enforce any obligation
owed to the Senior Notes Trustee or other holders of Claims under Senior Notes Indenture. Notwithstanding anything
to the contrary herein, but subject to any applicable provisions of Article VI hereof and the Confirmation Order, the
DIP Credit Agreement, the Superpriority Credit Agreement, 2021 LC Agreement, and the Credit Agreement shall
continue in effect to: (1) permit holders of Claims under the DIP Credit Agreement, the 2021 LC Agreement, and the
Credit Agreement to receive their respective Plan Distributions, if any; (2) permit the Reorganized Debtors and the
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Disbursing Agent, as applicable, to make Plan Distributions on account of the Allowed Claims under the DIP Credit
Agreement, the 2021 LC Agreement, and the Credit Agreement, as applicable; (3) permit each of the DIP Agents, the
Revolving and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent,
the Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent to seek compensation
and/or reimbursement of fees and expenses in accordance with the terms of this Plan and the Confirmation Order;
(4) allow each of (x) the Revolving and LC Administrative Agent and any issuer of a letter of credit under the Credit
Agreement to enforce its rights, claims, and interests against any Defaulting Lender (as defined in the Credit
Agreement); and (y) the 2021 LC Administrative Agent and any issuer of 2021 Letters of Credit to enforce its rights,
claims and interests against any Defaulting Participant (as defined in the 2021 LC Agreement); (5) permit each of the
DIP Agent, the Revolving and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC
Administrative Agent, Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent, to
appear and be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court, including to enforce any
obligation owed to the DIP Agent, the Revolving and LC Administrative Agent, the Term Loan Administrative Agent,
the 2021 LC Administrative Agent and the Superpriority Term Loan Agent or other holders of Claims under the DIP
Credit Agreement, the Superpriority Credit Agreement, the 2021 LC Agreement, and the Credit Agreement and (6)
preserve the rights and obligations of the parties under the Exit Facility Documents. Except as provided in this Plan
(including Article VI hereof), the Confirmation Order and the Exit Facilities, on the Effective Date, the DIP Agents,
the Revolving and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative
Agent, the Superpriority Term Loan Agent, the Superpriority Revolving Administrative Agent and the Senior Notes
Trustee, and their respective agents, successors, and assigns, shall be automatically and fully discharged of all of their
duties and obligations associated with the DIP Credit Agreement, the Superpriority Credit Agreement, the 2021 LC
Agreement, the Credit Agreement, and the Senior Notes Indenture, as applicable. To the extent cancelled in
accordance with this paragraph, the commitments and obligations (if any) of the holders of the Senior Notes and the
lenders under the DIP Credit Agreement, the Superpriority Credit Agreement, the Credit Agreement, and the 2021 LC
Agreement to extend any further or future credit or financial accommodations to any of the Debtors, any of their
respective subsidiaries or any of their respective successors or assigns under the DIP Credit Agreement, the 2021 LC
Agreement, the Superpriority Credit Agreement the Credit Agreement, and the Senior Notes Indenture, as applicable,
shall fully terminate and be of no further force or effect on the Effective Date.

J.       Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Compensation and Benefit Programs;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock; (4) implementation of the Restructuring Transactions, including the Rights Offering, the Pipes
Business Sale, and the Technology Business Sale; (5) issuance and distribution of the New Warrants; (6) entry into
the New Warrants Agreements and the Exit Facility Documents, as applicable; (7) all other actions contemplated
under the Plan (whether to occur before, on, or after the Effective Date); (8) adoption of the New Organizational
Documents; (9) the rejection, assumption, or assumption and assignment, as applicable, of Executory Contracts and
Unexpired Leases; and (10) all other acts or actions contemplated or reasonably necessary or appropriate to promptly
consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or after the
Effective Date). All matters provided for in the Plan involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate, partnership, limited liability company, or other governance action required
by the Debtors or the Reorganized Debtor, as applicable, in connection with the Plan shall be deemed to have occurred
and shall be in effect, without any requirement of further action by the Security holders, members, directors, or officers
of the Debtors or the Reorganized Debtors, as applicable. On or (as applicable) prior to the Effective Date, the
appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized and (as applicable)
directed to issue, execute, and deliver the agreements, documents, Securities, and instruments contemplated under the
Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the name of and on behalf of
the Reorganized Debtors, including the New Common Stock, the New Organizational Documents, the Exit Facility
Documents, the New Warrants, the New Warrants Agreements (as applicable), the Pipes Business Sale Documents,
the Purchase Agreement, and any and all other agreements, documents, Securities, and instruments relating to the
foregoing. The authorizations and approvals contemplated by this Article IV.J shall be effective notwithstanding any
requirements under non-bankruptcy law.



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K.       New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state or country of organization if and to the extent required
in accordance with the applicable laws of the respective state or country of organization. The New Organizational
Documents will (a) prohibit the issuance of non-voting equity Securities, to the extent required under
section 1123(a)(6) of the Bankruptcy Code and (b) provide for customary minority shareholder protections and
information and reporting requirements subject to the consent rights set forth in Section 3.02 of the Restructuring
Support Agreement.

          After the Effective Date, the Reorganized Debtors may amend and restate their respective New
Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may file such amended
certificates or articles of incorporation, bylaws, or such other applicable formation documents, and other constituent
documents as permitted by the laws of the respective states, provinces, or countries of incorporation and the New
Organizational Documents.

L.       Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for current and
former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other professionals
of the Debtors, as applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of
the Plan on terms no less favorable to such current and former directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtors than the indemnification provisions in place
prior to the Effective Date; provided that the Reorganized Debtors shall not indemnify current or former officers,
directors, managers, employees, attorneys, accountants, investment bankers, or other professionals of the Debtors for
any claims or Causes of Action arising out of or relating to any act or omission that is a criminal act or constitutes
intentional fraud, gross negligence, or willful misconduct. Notwithstanding the foregoing, in the event of the closing
of the Pipes Business Sale, the Pipes Entities shall maintain such indemnification obligations only to the extent
required under the Pipes Business Sale Documents.

M.       Directors and Officers of the Reorganized Debtors.

          As of the Effective Date, the terms of the current members of the board of directors of McDermott shall
expire and the new directors and officers of the Reorganized McDermott shall be appointed. The New Board will
consist of seven (7) directors: (i) the Chief Executive Officer of Reorganized McDermott, (ii) six (6) directors selected
by certain Required Consenting Term Lenders and the Required Consenting Revolving Lenders. The identities of
directors on the New Board shall be set forth in the Plan Supplement to the extent known at the time of filing. Corporate
governance for Reorganized McDermott, including charters, bylaws, operating agreements, or other organization
documents, as applicable, shall: (a) be consistent with the Restructuring Term Sheet, Section 3 of the Restructuring
Support Agreement, and section 1123(a)(6) of the Bankruptcy Code; and (b) provide for customary minority
shareholder protections and information and reporting requirements reasonably acceptable to the Debtors and the
Required Consenting Stakeholders.

N.       Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts, Securities,
instruments, releases, and other agreements or documents and take such actions as may be necessary or appropriate to
effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities entered into, and the
Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors, without the need for
any approvals, authorization, or consents except for those expressly required pursuant to the Plan.

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O.       Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants (including the New Common Stock that may be
issuable upon exercise of the New Warrants); (2) the Restructuring Transactions; (3) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or
the securing of additional indebtedness by such or other means; (4) the making, assignment, or recording of any lease
or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations under and in connection
with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other instrument of transfer under, in
furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instrument of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related to the Plan,
shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage
tax, real estate transfer tax, personal property transfer tax, sales or use tax, mortgage recording tax, Uniform
Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental
assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental officials or agents
shall forego the collection of any such tax or governmental assessment and accept for filing and recordation any of
the foregoing instruments or other documents without the payment of any such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing), wherever
located and by whomever appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code,
shall forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation any
of the foregoing instruments or other documents without the payment of any such tax or governmental assessment.

P.       Director and Officer Liability Insurance.

          Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code
effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair,
or otherwise modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

          In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce the
coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the Petition
Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who served in such
capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy for the full term
of such policy, to the extent set forth therein, regardless of whether such directors and officers remain in such positions
after the Effective Date. Notwithstanding the foregoing, in the event of the closing of the Pipes Business Sale, the
Pipes Entities shall maintain such D&O Liability Insurance Policies (including any “tail policy”) only to the extent
required under the Pipes Business Sale Documents.

Q.       Management Incentive Plan.

          Effective on the Effective Date, the Reorganized Debtors will (i) reserve 7.5% of New Common Stock (on a
fully diluted and fully distributed basis, but subject to dilution on account of the New Warrants) which may be granted
in the form of options, restricted stock, restricted stock units, warrants, stock appreciations rights or any combination
thereof (each an “Award” and such reserve, the “MIP Pool”) for grant to management employees and members of
the New Board in accordance with the terms of this Article IV.Q and as set forth in the Plan Supplement and (ii) enter
into severance and change in control arrangements (“Severance Arrangements”) with senior executives of the
Debtors that are insiders pursuant to Section 16 of the Exchange Act (“Senior Executives”) in amounts and on terms
and conditions to be agreed with and approved by the Required Consenting Lenders. The New Board shall grant no
less than 53.33% of the MIP Pool to the employees of the Debtors no later than 60 days following the Effective Date
(the “Emergence Awards”) with the terms of the Emergence Awards to be determined as set forth in the Plan
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Supplement and the remainder of the MIP Pool will be available for future grants to management, employees, and
members of the New Board with allocations, terms, and conditions to be determined by the New Board. A Senior
Executive will be permitted to voluntarily terminate for “Good Reason” and receive the severance benefits under the
Severance Arrangements if the Senior Executive does not receive an Emergence Award.

R.       Employee and Retiree Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all employee wages, compensation, and
benefit programs in place as of the Effective Date with the Debtors shall be assumed by the Reorganized Debtors and
shall remain in place as of the Effective Date, and the Reorganized Debtors will continue to honor such agreements,
arrangements, programs, and plans. For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy
Code, from and after the Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable law. Notwithstanding the foregoing, on the
Effective Date, the Debtors shall enter into severance and change in control arrangements with Senior Executives in
amounts and on terms and conditions to be agreed with and approved by the Required Consenting Lenders which, to
the extent provided therein, shall supersede and replace any severance or change of control agreements with such
Senior Executives existing prior to the Effective Date and the long-term components of any key employee retention
plan or key employee incentive plan existing on the Effective Date shall be subject to modification or termination, as
applicable, by the New Board upon adoption of the Management Incentive Plan.

S.       Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors and
the Reorganized Debtors as of the Effective Date.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with the
best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the absence of
a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of Action
against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue any and
all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors expressly
reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise expressly
provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the parties to
the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be Filed with
the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection that is not
timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion against any
Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized Debtors or
any other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. The
Reorganized Debtors may settle any such objection without any further notice to or action, order, or approval of the
Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained
Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as applicable, and the objection
party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes of Action of
the Debtors against an Entity are expressly waived, relinquished, exculpated, released, compromised, or settled in the
Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes of Action, for later adjudication, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to such Causes of Action upon, after, or
as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the
Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may hold
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against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan, including
Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any of the
foregoing without the consent or approval of any third party or further notice to or action, order, or approval of the
Bankruptcy Court.

                                     ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in Article V.H.1 and elsewhere herein, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
Reorganized Debtor (and assigned to the party(ies) set forth in the Technology Business Sale Documents, as
applicable) in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule;
(2) previously expired or terminated pursuant to their own terms; (3) have been previously assumed or rejected by the
Debtors pursuant to a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date; or
(5) have an ordered or requested effective date of rejection that is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the assumptions,
assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth in the Plan,
the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts and Unexpired
Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise specifically set
forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the Plan are effective
as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the Plan or by Bankruptcy
Court order but not assigned to a third party before the Effective Date shall re-vest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, except as such terms may have been modified
by the provisions of the Plan or any order of the Bankruptcy Court authorizing and providing for its assumption. Any
motions to assume Executory Contracts or Unexpired Leases pending on the Effective Date shall be subject to approval
by a Final Order on or after the Effective Date but may be withdrawn, settled, or otherwise prosecuted by the
Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or Unexpired
Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict or prevent,
or is breached or deemed breached by, the assumption or assumption and assignment of such Executory Contract or
Unexpired Lease (including any “change of control” provision), then such provision shall be deemed modified such
that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.
Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as applicable, reserve
the right to alter, amend, modify, or supplement the Assumed Executory Contracts and Unexpired Leases Schedule
and the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to forty-five (45) days after the
Effective Date, so long as such allocation, amendment, modification, or supplement is consistent with the
Restructuring Support Agreement; provided that the Cameron LNG Project Obligations shall be assumed as of the
Effective Date in accordance with Article V.J.

B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2) the
effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an Executory
Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be automatically
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disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or the Reorganized
Debtors, the Estates, or their property without the need for any objection by the Reorganized Debtors or
further notice to, or action, order, or approval of the Bankruptcy Court or any other Entity, and any Claim
arising out of the rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied,
released, and discharged, notwithstanding anything in the Proof of Claim to the contrary. All Allowed Claims
arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases shall be classified as General
Unsecured Claims and shall be treated in accordance with Article III.B.13 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases and Lummus Executory
         Contracts or Unexpired Leases.

          No later than seven (7) calendar days before the Confirmation Hearing, the Debtors shall provide notices of
proposed assumptions to the counterparties to the agreements listed on the Assumed Executory Contracts and
Unexpired Leases Schedule, which shall include a description of the procedures for resolving disputes related to the
proposed assumption of applicable Executory Contracts and Unexpired Leases. Absent any pending dispute, the
monetary and nonmonetary defaults existing as of the assumption of the Executory Contract(s) and Unexpired Lease(s)
assumed pursuant to this Article V will be satisfied by the Debtors in compliance with section 365(b)(1) of the
Bankruptcy Code. To the extent there is a dispute related to any cures of defaults arising under such Executory
Contract(s) and Unexpired Lease(s) (other than Lummus Executory Contracts or Unexpired Leases), payment of any
such disputed Cure amounts and the cure of any nonmonetary defaults shall be reconciled in the ordinary course of
the Debtors’ business and all parties’ rights shall be reserved with respect thereto, including all rights to receive
payment in full of any such Cures whether arising before or after the Effective Date and the right to object prior to or
after the Effective Date to any assumption or cures relating thereto. The reconciliation, settlement, and payment of
any monetary defaults over $7.5 million in respect of any single Executory Contract or Unexpired Lease or group of
related Executory Contracts or Unexpired Leases prior to or on the Effective Date shall be subject to the approval of
the Required Consenting Lenders.

         Except with regard to Lummus Executory Contracts or Unexpired Leases, there shall be no need to file an
objection to reserve rights with respect to disputes relating to monetary and nonmonetary cures and such cures will be
reconciled in the ordinary course of the Debtors’ business. Notwithstanding anything herein to the contrary, except
with regard to Lummus Executory Contracts or Unexpired Leases, in the event that any Executory Contract or
Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases Schedule after the provision of
notices of proposed assumptions described above, a notice of proposed assumption with respect to such Executory
Contract or Unexpired Lease will be sent promptly to the counterparty thereof.

         With regard to any Lummus Executory Contracts or Unexpired Leases, no later than thirty (30) days before
the Effective Date of the Plan, the Debtors shall provide notices of proposed assumptions to the counterparties to any
assumed Lummus Executory Contracts or Unexpired Leases, which shall include, with respect to each such Lummus
Executory Contract or Unexpired Lease, the Debtors’ good faith estimate of the amount of any cure. Each notice of
proposed assumption shall state whether the applicable Lummus Executory Contract or Unexpired Lease is being
assumed by the Debtors or assumed and assigned to the Lummus Buyer. To the extent there is a dispute related to
either a monetary Cure amount or nonmonetary default, the Debtors, with consent of the Lummus Buyer and in
accordance with the Stalking Horse SAPA, may elect to: (i) not assume or assume and assign to the Buyer the relevant
Lummus Executory Contract or Unexpired Lease; (ii) postpone the assumption of such Lummus Executory Contract
or Unexpired Lease until the resolution of such objection; or (iii) reserve the disputed portion of the Cure of the
monetary default and, and subject to cure of any nonmonetary defaults, assume such Lummus Executory Contract or
Unexpired Lease on the Effective Date. The assumption or assumption and assignment of the assumed Lummus
Executory Contracts or Unexpired Leases is subject to the cure of all nonmonetary defaults (other than defaults
triggered by the filing of the Chapter 11 Cases by the Debtors) prior to the Effective Date of the Plan.

         Unless otherwise agreed in writing by the parties in the applicable Lummus Executory Contract or Unexpired
Lease, any objection by a counterparty to a Lummus Executory Contract or Unexpired Lease to a proposed assumption
must be Filed, served, and actually received by the counsel to the Debtor no later than the date and time specified in
the notice. Any counterparty to a Lummus Executory Contract or Unexpired Lease that fails to object timely to the
proposed assumption will be deemed to have assented to such assumption.


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          The Debtors or the Reorganized Debtors, as applicable, shall pay the Cure amounts, if any, and satisfy all
nonmonetary defaults on the Effective Date or as soon as reasonably practicable thereafter, or on such other terms as
the parties to such Executory Contracts or Unexpired Leases may agree; provided that the Debtors shall pay or satisfy,
as applicable, any cures, or establish a reserve for any disputed portion of a Cure for any Lummus Executory Contract
or Unexpired Lease on or prior the Effective Date.

         Any Cure shall be deemed fully satisfied, released, and discharged upon payment or satisfaction by the
Debtors or the Reorganized Debtors of the Cure. If there is any dispute regarding any Cure, the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” within the meaning of
section 365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of the applicable
Cure amount shall occur as soon as reasonably practicable after entry of a Final Order resolving such dispute,
approving such assumption (and, if applicable, assignment), or as may be agreed upon by the Debtors or the
Reorganized Debtors, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. The
Reorganized Debtors also may settle any Cure without any further notice to or action, order, or approval of the
Bankruptcy Court.

         The Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall result
in the full release and satisfaction of any nonmonetary defaults arising from or triggered by the filing of these
chapter 11 cases, including defaults of provisions restricting the change in control or ownership interest composition
or any bankruptcy-related defaults, arising at any time prior to the effective date of assumption. Any and all Proofs
of Claim based upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11
Cases, including pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the later
of (1) the date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving
such assumption, (2) the effective date of such assumption or (3) the Effective Date without the need for any
objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court.

D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not constitute
a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable, under such
Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the contrary, the
Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing obligation of a
counterparty to provide, warranties or continued maintenance obligations with respect to goods previously purchased
by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, (1) the
Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and instruments
relating to coverage of all insured Claims and (2) such insurance policies and any agreements, documents, or
instruments relating thereto shall revest in the Reorganized Debtors.

F.       Reservation of Rights.

         Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract or
lease.




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G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with respect
to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to section 365(d)(4) of the
Bankruptcy Code.

H.       Employee Compensation and Benefits.

         1.   Compensation and Benefit Programs.

        Subject to the provisions of the Plan, all Compensation and Benefits Programs shall be treated as Executory
Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions of sections 365
and 1123 of the Bankruptcy Code, except for:

         a.       all employee equity or equity-based incentive plans, and any provisions set forth in the
                  Compensation and Benefits Program that provide for rights to acquire Existing Equity Interests in
                  any of the Debtors;

         b.       the change in control agreements entered into with current employees, unless otherwise determined
                  by the Required Consenting Lenders prior to the Effective Date;

         c.       Compensation and Benefits Programs that have been rejected pursuant to an order of a Bankruptcy
                  Court; and

         d.       Compensation and Benefits Programs that, as of the entry of the Confirmation Order, have been
                  specifically waived by the beneficiaries of any employee benefit plan or contract.

          Any assumption of Compensation and Benefits Programs pursuant to the terms herein and the Restructuring
Transactions and related matters contemplated by the Plan shall be deemed not to trigger (i) any applicable change of
control, immediate vesting, termination (similar provisions therein) and (ii) an event of “Good Reason” (or a term of
like import), in each case as a result of the consummation of the Restructuring Transactions. No counterparty shall
have rights under a Compensation and Benefits Program assumed pursuant to the Plan other than those applicable
immediately prior to such assumption.

         Notwithstanding the foregoing, on the Effective Date, the Debtors shall enter into severance and change in
control arrangements with Senior Executives in amounts and on terms and conditions to be agreed with and approved
by the Required Consenting Lenders which, to the extent provided therein, shall supersede and replace any severance
or change of control agreements with such Senior Executives existing prior to the Effective Date and the long-term
components of any key employee retention plan or key employee incentive plan existing on the Effective Date shall
be subject to modification or termination, as applicable, by the New Board upon adoption of the Management Incentive
Plan.

         2.       Workers’ Compensation Programs.

          As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized Debtors
shall continue to honor their obligations under: (a) all applicable workers’ compensation laws in states in which the
Reorganized Debtors operate; and (b) the Debtors’ written contracts, agreements, agreements of indemnity,
self-insured workers’ compensation bonds, policies, programs, and plans for workers’ compensation and workers’
compensation insurance. All Proofs of Claims on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court; provided that
nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of
Action, or other rights under applicable non-bankruptcy law with respect to any such contracts, agreements, policies,
programs, and plans; provided further that nothing herein shall be deemed to impose any obligations on the Debtors
in addition to what is provided for under applicable state law.



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I.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

J.       Assumption of Cameron LNG Project Obligations

         The Cameron LNG Project Obligations shall be assumed by the applicable Reorganized Debtor effective as
of the Effective Date, and the Cameron LNG Project Obligations shall not be subject to the provision of Section V.A.
hereof authorizing the Debtors or Reorganized Debtors, as applicable, to alter, amend, modify, or supplement the
Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired
Leases Schedule at any time up to forty-five (45) days after the Effective Date. Within three Business Days after the
Effective Date, Reorganized McDermott shall issue the Cameron LNG Replacement Guarantee and the Chiyoda
Replacement Guarantee.

                                             ARTICLE VI.
                                 PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date.

           Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors, as the case may be, and the holder of the applicable Allowed Claim on the first Distribution
Date, the Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed on or
before the Effective Date, subject to the Reorganized Debtors’ right to object to Claims; provided that (1) Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business during the
Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the ordinary
course of business in accordance with the terms and conditions of any controlling agreements, course of dealing,
course of business, or industry practice, (2) Allowed Priority Tax Claims shall be paid in accordance with Article II.D
of the Plan, and (3) Allowed General Unsecured Claims shall be paid in accordance with Article III.B.13 of the Plan.
To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such Claim shall be paid
in full in Cash in accordance with the terms of any agreement between the Debtors and the holder of such Claim or as
may be due and payable under applicable non-bankruptcy law or in the ordinary course of business. Thereafter, a
Distribution Date shall occur no less frequently than once in every ninety (90) day period, as necessary, in the
Reorganized Debtors’ sole discretion.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Reorganized Debtors. The Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

        Distributions in respect of all Claims under Classes 6A, 6B, 6D, and 7 shall be made based upon a distribution
schedule provided to the Debtors by Revolving and LC Administrative Agent after consultation with the holders of
such Claims.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

        The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements, instruments,
and other documents necessary to perform its duties under the Plan; (b) make all distributions contemplated hereby;
(c) employ professionals to represent it with respect to its responsibilities; and (d) exercise such other powers as may

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be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan, or as deemed by the
Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Disbursing Agent shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder as
indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors.

         3.   Minimum Distributions.

          No fractional shares of New Common Stock or New Warrants shall be distributed and no Cash shall be
distributed in lieu of such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed
Claim or Allowed Interest (as applicable) would otherwise result in the issuance of a number of shares of New
Common Stock or New Warrants that is not a whole number, the actual distribution of shares of New Common Stock
or New Warrants shall be rounded to the next lower whole number with no further payment therefor. The total number
of authorized shares of New Common Stock or New Warrants to be distributed to holders of Allowed Claims
hereunder shall be adjusted as necessary to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         5.   Surrender of Canceled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or instrument
evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.I hereof shall be deemed to
have surrendered such certificate or instrument to the Distribution Agent. Such surrendered certificate or instrument

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shall be cancelled solely with respect to the Debtors, and such cancellation shall not alter the obligations or rights of
any non-Debtor third parties vis-à-vis one another with respect to such certificate or instrument, including with respect
to any indenture or agreement that governs the rights of the holder of a Claim or Interest, which shall continue in effect
for purposes of allowing holders to receive distributions under the Plan, charging liens, priority of payment, and
indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not apply to certificates
or instruments evidencing Claims that are Unimpaired under the Plan or Claims in respect of Classes 5, 6A, 6B (in
respect of Revolving LCs), 7 or 8 to the extent such certificates or instruments are reinstated or amended on the
Effective Date under the terms of the Plan.

         6.   Delivery of Distributions on Senior Notes Claims.

          Except as otherwise reasonably requested by the Senior Notes Trustee, all distributions to holders of Allowed
Senior Notes Claims shall be deemed completed when made to the Senior Notes Trustee. The Senior Notes Trustee
shall hold or direct such distributions for the benefit of the holders of Allowed Senior Notes Claims. As soon as
practicable in accordance with the requirements set forth in this Article VI, the Senior Notes Trustee shall arrange to
deliver such distributions to or on behalf of its holders, subject to the Senior Notes Trustee’s charging lien. If the
Senior Notes Trustee is unable to make, or consents to the Debtors or the Reorganized Debtors, as applicable, making
such distributions, the Debtors or the Reorganized Debtors, as applicable, with the Senior Notes Trustee’s cooperation,
shall make such distributions to the extent practicable to do so; provided that until such distributions are made, the
Senior Notes Trustee’s charging lien shall attach to the property to be distributed in the same manner as if such
distributions were made through the Senior Notes Trustee. The Senior Notes Trustee shall have no duties or
responsibility relating to any form of distribution that is not DTC eligible and the Debtors or the Reorganized Debtors,
as applicable, shall seek the cooperation of DTC so that any distribution on account of an Allowed Senior Notes Claim
that is held in the name of, or by a nominee of, DTC shall be made through the facilities of DTC on the Effective Date
or as soon as practicable thereafter.

E.       Manner of Payment.

          1. All distributions of the New Common Stock, the New Warrants, participations in the Roll-Off LC Exit
Facilities, and the debt in respect of the Term Loan Exit Facility and the Make Whole Tranche (to the extent applicable)
to the holders of the applicable Allowed Claims under the Plan shall be made by the Disbursing Agent on behalf of
the Debtors or Reorganized Debtors, as applicable.

         2. All distributions of Cash to the holders of the applicable Allowed Claims under the Plan shall be made
by the Disbursing Agent on behalf of the applicable Debtor or Reorganized Debtor.

          3. At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

F.       Section 1145 Exemption.

          Pursuant to section 1145 of the Bankruptcy Code or any other applicable exemption, the offering, issuance,
and distribution of the New Common Stock (including the Rights Offering Shares) and the New Warrants, as
contemplated by Article III.B hereof, and the issuance of the New Common Stock upon exercise of the New Warrants,
shall be exempt from, among other things, the registration requirements of section 5 of the Securities Act and any
other applicable law requiring registration prior to the offering, issuance, distribution, or sale of Securities. In addition,
under section 1145 of the Bankruptcy Code, the New Common Stock, the New Warrants, and the New Common Stock
to be issued upon exercise of the New Warrants will be freely tradable in the U.S. by the recipients thereof, subject to
the provisions of (i) section 1145(b)(1) of the Bankruptcy Code relating to the definition of an underwriter in section
2(a)(11) of the Securities Act, (ii) compliance with applicable securities laws and any rules and regulations of the
Securities and Exchange Commission, if any, applicable at the time of any future transfer of such Securities or
instruments, and (iii) any restrictions in the Reorganized Debtors’ New Organizational Documents.




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G.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, Disbursing Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be authorized
to take all actions necessary or appropriate to comply with such withholding and reporting requirements, including
liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay applicable
withholding taxes, withholding distributions pending receipt of information necessary to facilitate such distributions,
or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and Reorganized
Debtors reserve the right to allocate all distributions made under the Plan in compliance with all applicable wage
garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims (as
determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal amount of
the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

          Unless otherwise specifically provided for in the DIP Financing Orders, the Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid on any
prepetition Claims, and no holder of a Claim shall be entitled to interest accruing on or after the Petition Date on such
Claim.

J.       Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using the
exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the Effective
Date.

K.       Setoffs and Recoupment.

          Except as expressly provided in this Plan, and the DIP Financing Orders, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on
account of any Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized Debtor may
hold against the holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount
among the relevant Reorganized Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the
Bankruptcy Court or another court of competent jurisdiction; provided that neither the failure to effectuate a setoff or
recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized Debtor
or its successor of any and all claims, rights, and Causes of Action that such Reorganized Debtor or its successor may
possess against the applicable holder. In no event shall any holder of a Claim be entitled to recoup such Claim against
any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable, unless such holder
actually has performed such recoupment and provided notice thereof in writing to the Debtors in accordance with
Article XII.G hereof on or before the Effective Date, notwithstanding any indication in any Proof of Claim or
otherwise that such holder asserts, has, or intends to preserve any right of recoupment.

L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

        The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall be
disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or approval

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of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of such Claim
from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph, to the extent
a holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days of receipt
thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
any such distribution under the Plan. The failure of such holder to timely repay or return such distribution shall result
in the holder owing the applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such
amount owed for each Business Day after the fourteen (14) day grace period specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies with respect
to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in part a
Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such insurers’
agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be Filed and
without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed a
waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers
under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such insurers
of any defenses, including coverage defenses, held by such insurers.

                                          ARTICLE VII.
                              PROCEDURES FOR RESOLVING CONTINGENT,
                                UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

         There is no requirement to file a Proof of Claim (or move the Bankruptcy Court for allowance) to have a
Claim Allowed for the purposes of the Plan, except as provided in Article V.B of the Plan. On and after the Effective
Date, except as otherwise provided in this Plan, all Allowed Claims shall be satisfied in the ordinary course of business
by the Reorganized Debtors. The Debtors and the Reorganized Debtors, as applicable, shall have the exclusive
authority to (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court, that a
claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle, compromise, withdraw, or litigate to
judgment any objections to Claims as permitted under this Plan. If the Debtors or Reorganized Debtors dispute any
Claim, such dispute shall be determined, resolved, or adjudicated, as the case may be, in the manner as if the
Chapter 11 Cases had not been commenced and shall survive the Effective Date as if the Chapter 11 Cases had not
been commenced; provided that the Debtors or Reorganized Debtors may elect, at their sole option, to object to any
Claim (other than Claims expressly Allowed by this Plan) and to have the validity or amount of any Claim adjudicated
by the Bankruptcy Court; provided further that holders of Claims may elect to resolve the validity or amount of any
Claim in the Bankruptcy Court. If a holder makes such an election, the Bankruptcy Court shall apply the law that
would have governed the dispute if the Chapter 11 Cases had not been filed. All Proofs of Claim Filed in the
Chapter 11 Cases shall be considered objected to and Disputed without further action by the Debtors. Except as
otherwise provided herein, all Proofs of Claim Filed after the Effective Date shall be disallowed and forever
barred, estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor,
without the need for any objection by the Reorganized Debtors or any further notice to or action, order, or
approval of the Bankruptcy Court.




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B.       Allowance of Claims.

          After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest immediately
prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be allowed under applicable non-bankruptcy law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors shall
have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or
compromise any Disputed Claim without any further notice to or action, order, or approval by the Bankruptcy Court;
and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises without any further
notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of doubt, except as otherwise
provided herein, from and after the Effective Date, each Reorganized Debtor shall have and retain any and all rights
and defenses such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim or Interest,
including the Causes of Action retained pursuant to Article IV.S of the Plan.

D.       Estimation of Claims and Interests.

          Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent
or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in
interest previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during
the litigation of any objection to any Claim or Interest or during the appeal relating to such objection. Notwithstanding
any provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but that either is subject
to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any contingent or unliquidated
Claim or Interest, that estimated amount shall constitute a maximum limitation on such Claim or Interest for all
purposes under the Plan (including for purposes of distributions), and the relevant Reorganized Debtor may elect to
pursue any supplemental proceedings to object to any ultimate distribution on such Claim or Interest.

E.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded
may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors
having to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

F.       Disallowance of Claims or Interests.

          Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which property is
sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the
Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547,
548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the Debtors or
the Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final
Order that such Entity or transferee is liable to turn over any property or monies under any of the aforementioned
sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property by the date set
forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or

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Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if only
the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest, distributions
(if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions of the Plan.
As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim or Interest becomes a Final Order, the Disbursing Agent shall provide to the holder of such Claim or
Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective Date, without any
interest to be paid on account of such Claim or Interest.

I.       No Interest.

         Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is made
on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.

                                        ARTICLE VIII.
                  SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Definitive Documents, the Plan, or in any contract, instrument, or other agreement or document created or entered
into pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date, whether
known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any
of their assets or properties, regardless of whether any property shall have been distributed or retained pursuant to the
Plan on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before
the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to services
performed by employees of the Debtors prior to the Effective Date and that arise from a termination of employment,
any contingent or non-contingent liability on account of representations or warranties issued on or before the Effective
Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each case
whether or not: (1) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant to section 501
of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or interest is Allowed pursuant to section
502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has accepted the Plan. The Confirmation
Order shall be a judicial determination of the discharge of all Claims (other than the Reinstated Claims) and Interests
(other than the Intercompany Interests that are Reinstated) subject to the occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or in
any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case of
a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date,
except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all mortgages,
deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall be fully
released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds of trust,
Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their successors and

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assigns. Any holder of such Secured Claim (and the applicable agents for such holder) shall be authorized and
directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or other property of
any Debtor (including any cash collateral and possessory collateral) held by such holder (and the applicable
agents for such holder), and to take such actions as may be reasonably requested by the Reorganized Debtors
to evidence the release of such Liens and/or security interests, including the execution, delivery, and filing or
recording of such releases. The presentation or filing of the Confirmation Order to or with any federal, state,
provincial, or local agency, records office, or department shall constitute good and sufficient evidence of, but
shall not be required to effect, the termination of such Liens.

         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant
to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security interests to
secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date, such holder (or
the agent for such holder) shall take any and all steps requested by the Debtors, the Reorganized Debtors, or
Exit Facility Agents that are necessary or desirable to record or effectuate the cancellation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable filings or
recordings, and the Reorganized Debtors shall be entitled to make any such filings or recordings on such
holder’s behalf.

C.         Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
on and after the Effective Date, each Released Party is, and is deemed hereby to be, fully, conclusively,
absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors, the Reorganized
Debtors, their Estates, and any person seeking to exercise the rights of the Debtors or their Estates, including
any successors to the Debtors or any Estates representatives appointed or selected pursuant to
section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves and their respective successors,
assigns, and representatives, and any and all other Entities who may purport to assert any Cause of Action,
directly or derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims and
Causes of Action, including any derivative claims asserted or assertable on behalf of the Debtors, whether
known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter arising, contingent
or non-contingent, in law, equity, contract, tort or otherwise, that the Debtors, the Reorganized Debtors, or
their Estates, including any successors to the Debtors or any Estates representative appointed or selected
pursuant to section 1123(b) of the Bankruptcy Code, would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim against, or Interest in, a
Debtor or other Entity, or that any Holder of any Claim against, or Interest in, a Debtor or other Entity could
have asserted on behalf of the Debtors, based on or relating to, or in any manner arising from, in whole or in
part:

      1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
           business or contractual arrangement between the Debtors and any Released Party, any Securities
           issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
           against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
           excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
           Debtors), intercompany transactions between or among a Company Party and another Company
           Party, the Superpriority Credit Agreement, the Credit Agreement, the Hedge Agreements (as defined
           in the Hedging Order), the 2021 LC Agreement, the Lloyds Letter of Credit Agreement, the Senior
           Notes Indenture, the Senior Notes, the Chapter 11 Cases, the formulation, preparation, dissemination,
           negotiation, or filing of the Restructuring Support Agreement, the Disclosure Statement, the DIP
           Credit Agreement, the Exit Facility Documents, or the Plan (including, for the avoidance of doubt, the
           Plan Supplement);

      2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
           (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
           document or other agreement contemplated by the Plan or the reliance by any Released Party on the
           Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
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          with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
          Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
          Supplement, before or during the Chapter 11 Cases;

     3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement or the Plan, the
          solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
          Consummation, the administration and implementation of the Plan, including the issuance or
          distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
          under the Plan or any other related agreement; or

     4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
          any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
          other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) post
Effective Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, any Definitive Document, or any other document, instrument, or agreement (including those set
forth in the Plan Supplement) executed to implement the Plan, including the Exit Facility Documents, the New
Warrants Agreements, or any Claim or obligation arising under the Plan, or (ii) the rights of any holder of
Allowed Claims to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Debtor release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding
that the foregoing Debtor release is: (a) in exchange for the good and valuable consideration provided by the
Released Parties, including, without limitation, the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (b) a good faith settlement and compromise of the
Claims released by the foregoing Debtor release; (c) in the best interests of the Debtors and their Estates and
all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and
opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates
asserting any Claim or Cause of Action released pursuant to the foregoing Debtor release.

D.        Releases by the Releasing Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely, unconditionally, irrevocably
and forever, released and discharged by each Releasing Party, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may purport to assert
any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, from any
and all Claims and Causes of Action, whether known or unknown, foreseen or unforeseen, matured or
unmatured, existing or hereafter arising, contingent or non-contingent, in law, equity, contract, tort, or
otherwise, including any derivative claims asserted on behalf of the Debtors, that such Entity would have been
legally entitled to assert in their own right (whether individually or collectively) or on behalf of the holder of
any Claim against, or Interest in, a Debtor or other Entity, or that any holder of any Claim against, or Interest
in, a Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part:

     1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
          business or contractual arrangement between the Debtors and any Releasing Party, any Securities
          issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
          against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions (but
          excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against the
          Debtors), intercompany transactions between or among a Company Party and another Company
          Party, the Superpriority Credit Agreement, the Credit Agreement, the Hedge Agreements (as defined
          in the Hedging Order), the 2021 LC Agreement, the Lloyds Letter of Credit Agreement, Senior Notes
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           Indenture, the Senior Notes, the Chapter 11 Cases, the formulation, preparation, dissemination,
           negotiation, or filing of the Restructuring Support Agreement, the Disclosure Statement, the DIP
           Credit Agreement, the Exit Facility Documents, or the Plan (including, for the avoidance of doubt, the
           Plan Supplement);

      2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
           (including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
           document or other agreement contemplated by the Plan or the reliance by any Released Party on the
           Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in connection
           with the Restructuring Support Agreement, the Rights Offering, the Disclosure Statement, the DIP
           Credit Agreement, the New Warrants Agreements, the Exit Facility Documents, the Plan, or the Plan
           Supplement, before or during the Chapter 11 Cases;

      3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement, or the Plan, the
           solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
           Consummation, the administration and implementation of the Plan, including the issuance or
           distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
           under the Plan or any other related agreement; or

      4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
           any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
           other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) any
party of any obligations related to customary banking products, banking services or other financial
accommodations (except as may be expressly amended or modified by the Plan and the Exit Facility
Documents, or any other financing document under and as defined therein), (ii) any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring Transaction, or
any document, instrument, any Definitive Document, or any agreement (including those set forth in the Plan
Supplement) executed to implement the Plan, including the Exit Facility Documents, the New Warrants
Agreements, or any Claim or obligation arising under the Plan, (iii) the rights of holders of Allowed Claims to
receive distributions under the Plan, or (iv) current and former directors, officers, managers, or employees of
the Debtors from any Claim or Cause of Action related to an act or omission that is determined in a Final Order
by a court of competent jurisdiction to have constituted actual fraud.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing third-party release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding that
the foregoing third-party release is: (a) consensual; (b) essential to the Confirmation of the Plan; (c) given in
exchange for a substantial contribution and for the good and valuable consideration provided by the Released
Parties that is important to the success of the Plan; (d) a good faith settlement and compromise of the Claims
released by the foregoing third-party release; (e) in the best interests of the Debtors and their Estates; (f) fair,
equitable, and reasonable; (g) given and made after due notice and opportunity for hearing; and (h) a bar to
any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the foregoing third-
party release.

E.         Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated Party
shall have or incur liability for, and each Exculpated Party shall be released and exculpated from any Claims
and Cause of Action for any claim related to any act or omission in connection with, relating to, or arising out
of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or termination of the
Restructuring Support Agreement and related prepetition transactions (including the Superpriority Credit
Agreement, the Credit Agreement, the Senior Notes Indenture or Senior Notes, the 2021 LC Agreement, and
the Lloyds Letter of Credit Agreement), the Disclosure Statement, the Plan, the DIP Credit Facility, the Exit
Facility Documents, the New Warrants Agreements, the Plan Supplement, the Rights Offering, or any
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Restructuring Transaction, contract, instrument, release or other agreement or document (including any legal
opinion requested by any Entity regarding any transaction, contract, instrument, document or other agreement
contemplated by the Plan or the reliance by any Released Party on the Plan or the Confirmation Order in lieu
of such legal opinion), including any Definitive Document, created or entered into before or during the Chapter
11 Cases, any preference, fraudulent transfer, or other avoidance claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
pursuit of Consummation, the administration and implementation of the Plan, including the issuance or
distribution of Securities pursuant to the Plan, or the distribution of property under the Plan or any other
related agreement, or upon any other related act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date, except for claims related to any act or omission that is
determined in a Final Order by a court of competent jurisdiction to have constituted actual fraud, willful
misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely upon the
advice of counsel with respect to their duties and responsibilities pursuant to the Plan.

          The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan shall
be deemed to have, participated in good faith and in compliance with the applicable laws with regard to the
solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.       Injunction.

          Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations or
distributions issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who
have held, hold, or may hold the Released Claims are permanently enjoined, from and after the Effective Date,
from taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors, the
Exculpated Parties, or the Released Parties: (1) commencing or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any Released Claims;
(2) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or
order against such Entities on account of or in connection with or with respect to any Released Claims;
(3) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the property
of such Entities on account of or in connection with or with respect to any Released Claims; (4) asserting any
right of setoff, subrogation, or recoupment of any kind against any obligation due from such Entities or against
the property or the Estates of such Entities on account of or in connection with or with respect to any Released
Claims unless such holder has filed a motion requesting the right to perform such setoff on or before the
Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise that such holder asserts,
has, or intends to preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection with or
with respect to any Released Claims released or settled pursuant to the Plan.

         Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective current
and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall be enjoined
from taking any actions to interfere with the implementation or Consummation of the Plan. Except as
otherwise set forth in the Confirmation Order, each holder of an Allowed Claim or Allowed Interest, as
applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such Claim or
Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction provisions set
forth in this Article VIII.F hereof.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
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Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.

I.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                        ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         a.   the Debtors shall have achieved the Achievement Target; and

         b.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be a Final Order, in form
              and substance consistent in all respects with the Restructuring Support Agreement (including any
              consent rights thereunder) and otherwise in form and substance acceptable to the Debtors and the
              Required Consenting Stakeholders, and which shall:

                i.   authorize the Debtors to take all actions necessary to enter into, implement, and consummate the
                     contracts, instruments, releases, leases, indentures, and other agreements or documents created in
                     connection with the Plan;

               ii.   decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                     dependent;

              iii.   authorize the Debtors, as applicable/necessary, to: (a) implement the Restructuring Transactions,
                     including the Rights Offering; (b) distribute the New Common Stock and the New Warrants, and
                     to issue the New Common Stock upon exercise of the New Warrants, pursuant to the exemption
                     from registration under the Securities Act provided by section 1145 of the Bankruptcy Code or
                     such other applicable exemption from such registration or pursuant to one or more registration
                     statements; (c) make all distributions and issuances as required under the Plan, including Cash
                     and the New Common Stock; and (d) enter into any agreements, transactions, and sales of
                     property as set forth in the Plan Supplement, including the Management Incentive Plan, in each
                     case, in a manner consistent with the terms of the Restructuring Support Agreement and subject
                     to the consent rights set forth therein;

              iv.    authorize the implementation of the Plan in accordance with its terms; and




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         v.    provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
               any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
               furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
               executed in connection with any disposition or transfer of assets contemplated under the Plan,
               shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar tax;
               and

    c.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or documents
         that are necessary to implement and effectuate the Plan;

    d.   the final version of each of the Plan, the Definitive Documents, and all documents contained in any
         supplement to the Plan, including Plan Supplement and any exhibits, schedules, amendments,
         modifications, or supplements thereto or other documents contained therein shall have been executed or
         filed, as applicable in form and substance consistent in all respects with the Restructuring Support
         Agreement, the Restructuring Term Sheet, and the Plan, and comply with the applicable consent rights
         set forth in the Restructuring Support Agreement and/or the Plan for such documents and shall not have
         been modified in a manner inconsistent with the Restructuring Support Agreement;

    e.   the definitive documents in respect of the Lloyds LC Exit Facility and the Exit Facility Documents shall
         have been duly executed and delivered by all of the Entities that are parties thereto and all conditions
         precedent (other than any conditions related to the occurrence of the Effective Date) to the effectiveness
         of the Exit Facilities shall have been satisfied or duly waived in writing in accordance with the terms of
         each of the Exit Facilities and the closing of each of the Exit Facilities and the Lloyds LC Exit Facility
         shall have occurred;

    f.   the Final Order approving the DIP Credit Facility shall have been entered and shall remain in full force
         and effect and no event of default shall have occurred and be continuing thereunder;

    g.   no more than $50 million principal amount of Prepetition Secured Letters of Credit, the Lloyds Letters
         of Credit, or the DIP Letters of Credit (other than cash collateralized letters of credit) shall have been
         drawn and unreimbursed in full in Cash as of the Effective Date; provided that this condition may be
         waived solely with the written consent of the Required Consenting LC Lenders;

    h.   Reorganized McDermott shall have a minimum of $820 million of Cash on its balance sheet (which
         amount shall not include Cash held by the Debtors’ joint-venture affiliates or cash collateral securing the
         Cash Secured Letters of Credit, the Lloyds Letters of Credit, and the DIP Cash Secured Letters of Credit)
         assuming normal working capital; provided that this condition may be waived solely with the written
         consent of the Required Consenting Lenders;

    i.   all professional fees and expenses of retained professionals that require the Bankruptcy Court’s approval
         shall have been paid in full or amounts sufficient to pay such fees and expenses after the Effective Date
         shall have been placed in a professional fee escrow account pending the Bankruptcy Court’s approval of
         such fees and expenses;

    j.   the Technology Business Sale shall have been consummated;

    k.   the Debtors’ shall have Filed a Notice of Anticipated Effective Date at least five (5) days in advance of
         such Effective Date;

    l.   to the extent invoiced in accordance with the terms of the Plan, the payment in Cash in full of the
         Restructuring Expenses; and




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         m. the Debtors shall have implemented the Restructuring Transactions and all transactions contemplated in
            the Restructuring Term Sheet in a manner consistent with the Restructuring Support Agreement (and
            subject to, and in accordance with, the consent rights set forth therein), the Restructuring Term Sheet,
            and the Plan.

B.       Waiver of Conditions.

          Except as otherwise specified in the Plan or the Restructuring Support Agreement, any one or more of the
conditions to Consummation (or component thereof) set forth in this Article IX may be waived by the Debtors with
the prior written consent of the Required Consenting Stakeholders (not to be withheld unreasonably), without notice,
leave, or order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the
Plan. Notwithstanding the foregoing, if the conditions precedent to the closing of the Pipes Business Sale shall have
been satisfied in accordance with the Pipes Business Sale Documents (as approved by the Required Consenting
Lenders), then the conditions set forth in this Article IX (other than in Article IX.A.b) shall be deemed automatically
waived solely with respect to the Pipes Entities, as applicable, without notice, leave, or order of the Bankruptcy Court,
or any further action by the Debtors, the Reorganized Debtors, or the Required Consenting Stakeholders.

C.       Effect of Failure of Conditions.

        If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such
Debtor shall: (1) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (2) prejudice in
any manner the rights of the Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of Claims or Interests, or any other
Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on the
Effective Date.

                                        ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in this Plan and subject to the consent rights set forth in the
Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the requirements
of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves its
respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such Debtor, one or
more times, after Confirmation, and, to the extent necessary may initiate proceedings in the Bankruptcy Court to so
alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any inconsistencies in the Plan, the
Disclosure Statement, or the Confirmation Order, in such matters as may be necessary to carry out the purposes and
intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.




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C.       Revocation or Withdrawal of Plan.

          To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors revoke
or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to an amount
certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory Contracts or
Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the Plan, shall be
deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of any Claims or
Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                               ARTICLE XI.
                                        RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         a.   allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
              status, or amount of any Claim or Interest, including the resolution of any request for payment of any
              Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
              priority, amount, or allowance of Claims or Interests;

         a.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
              for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to the
              Bankruptcy Code or the Plan;

         b.   resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
              Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
              may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including
              Cures pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual obligation under
              any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized Debtors amending,
              modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, any Executory
              Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases to be assumed
              or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or was executory
              or expired;

         c.   ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
              accomplished pursuant to the provisions of the Plan, including with respect to the New Warrants;

         d.   adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
              any other matters, and grant or deny any applications involving a Debtor that may be pending on the
              Effective Date;

         e.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         f.   enter and implement such orders as may be necessary to execute, implement, or consummate the
              provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
              documents created or entered into in connection with the Plan or the Disclosure Statement, including the
              Restructuring Support Agreement;

         g.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
              Bankruptcy Code;

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         h.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
              the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
              connection with the Plan;

         i.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
              restrain interference by any Entity with Consummation or enforcement of the Plan;

         j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
              injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders as
              may be necessary or appropriate to implement such releases, injunctions, and other provisions;

         k.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
              return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
              for amounts not timely repaid pursuant to Article VI.L hereof;

         l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
              stayed, reversed, revoked, or vacated;

         m. determine any other matters that may arise in connection with or relate to the Plan, the Plan Supplement,
            the Disclosure Statement, the Confirmation Order, or any contract, instrument, release, indenture, or
            other agreement or document created in connection with the Plan or the Disclosure Statement, including
            the Restructuring Support Agreement;

         n.   enter an order concluding or closing the Chapter 11 Cases;

         o.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

         p.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any inconsistency
              in any Bankruptcy Court order, including the Confirmation Order;

         q.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507 of
              the Bankruptcy Code;

         r.   hear and determine disputes arising in connection with the interpretation, implementation, or
              enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
              documents, or instruments executed in connection with the Plan;

         s.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
              505, and 1146 of the Bankruptcy Code;

         t.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
              exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
              hereof;

         u.   enforce all orders previously entered by the Bankruptcy Court; and

         v.   hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New Organizational
Documents and the Exit Facilities and any documents related thereto shall be governed by the jurisdictional provisions
therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.




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                                                ARTICLE XII.
                                         MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise,
upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt, the documents
and instruments contained in the Plan Supplement) shall be immediately effective and enforceable and deemed binding
upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests (irrespective of whether such
holders of Claims or Interests have, or are deemed to have accepted the Plan), all Entities that are parties to or are
subject to the settlements, compromises, releases, discharges, and injunctions described in the Plan, each Entity
acquiring property under the Plan, and any and all non-Debtor parties to Executory Contracts and Unexpired Leases
with the Debtors.

B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver
any agreements or documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof) until
the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion, whichever
comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date does
not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any action
by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be deemed
to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests prior to the
Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager, director,
agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.




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G.      Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:


                       Debtors                                           Counsel to the Debtors
 McDermott International, Inc.                         Kirkland & Ellis LLP
 757 North Eldridge Parkway                            601 Lexington Avenue
 Houston, Texas 77079                                  New York, New York 10022
 Attention: John Freeman                               Attention: Joshua A. Sussberg, P.C., Christopher T. Greco,
                                                       P.C., and Anthony R. Grossi
                                                       and
                                                       Kirkland & Ellis LLP
                                                       300 North LaSalle Street
                                                       Chicago, Illinois 60654
                                                       Attention: John R. Luze
                                                       and
                                                       Jackson Walker L.L.P.
                                                       1401 McKinney Street, Suite 1900
                                                       Houston, Texas 77010
                                                       Attention: Elizabeth C. Freeman and Matthew D.
                                                       Cavenaugh

                                                             Counsel to the Consenting Superpriority Term
               United States Trustee
                                                              Lenders and the Consenting Term Lenders
 Office of The United States Trustee                   Davis Polk & Wardwell LLP
 515 Rusk Street, Suite 3516                           450 Lexington Avenue
 Houston, TX 77002                                     New York, NY 10017
                                                       Attention: Damian S. Schaible and Natasha Tsiouris

 Counsel to the DIP LC Agent, the DIP Collateral
   Agent, the Revolving and LC Administrative            Counsel to the DIP Term Loan Agent, the 2021 LC
      Agent, the 2018 Collateral Agent, the              Administrative Agent, the Superpriority Term Loan
  Superpriority Revolving Administrative Agent            Agent, and the Term Loan Administrative Agent
     and the Superpriority Collateral Agent
 Linklaters LLP                                        Latham & Watkins LLP
 1345 Avenue of the Americas                           885 Third Avenue
 New York, New York 10105                              New York, NY 10022
 Attention: Margot Schonholtz and Penelope Jensen      Attention: Andrew Parlen and Anupama Yerramalli

 and

 Bracewell LLP
 711 Louisiana Street
 Houston, Texas 77002
 Attention: William A. (Trey) Wood III




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         Counsel to the Consenting Noteholders
 Paul, Weiss, Rifkind, Wharton & Garrison LLP
 1285 Avenue of the Americas
 New York, NY 10019
 Attention: Andrew N. Rosenberg and Alice B.
 Eaton

 -and-

 Brown Rudnick LLP
 7 Times Square
 New York, NY 10036
 Attention: Robert J. Stark and Bennett S. Silverberg


          After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed such
renewed requests.

H.        Term of Injunctions or Stays.

         Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the Confirmation Order)
shall remain in full force and effect until the Effective Date. All injunctions or stays contained in the Plan or the
Confirmation Order shall remain in full force and effect in accordance with their terms.

I.        Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

J.        Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://cases.primeclerk.com/McDermott or the Bankruptcy
Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is inconsistent with the
terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of the
Plan shall control.

K.        Nonseverability of Plan Provisions.

          If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and provisions
of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by such holding,

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alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall provide that
each term and provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or modified without the
Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good faith
and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and sold
under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the Reorganized
Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the solicitation of
votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any
previous plan.

M.       Closing of Chapter 11 Cases.

          The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court
to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default

         An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and costs
of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make such
other order as may be equitable that does not materially alter the terms of the Plan.




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Dated: March 11, 2020              MCDERMOTT INTERNATIONAL, INC.

                                   on behalf of itself and all other Debtors




                                   /s/ John Castellano
                                   John Castellano
                                   Chief Restructuring Officer




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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF TEXAS
                                            HOUSTON DIVISION

                                                              )
In re:                                                        )    Chapter 11
                                                              )
MCDERMOTT INTERNATIONAL, INC., et al.,1                       )    Case No. 20-30336 (DRJ)
                                                              )
                              Debtors.                        )    (Jointly Administered)
                                                              )

                        SECOND AMENDED JOINT PREPACKAGED
                       CHAPTER 11 PLAN OF REORGANIZATION OF
              OF MCDERMOTT INTERNATIONAL, INC. AND ITS DEBTOR AFFILIATES
JACKSON WALKER L.L.P.                                                   KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)                              KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)                                 Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)                                Christopher T. Greco, P.C. (admitted pro hac vice)
Veronica A. Polnick (TX Bar No. 24079148)                               Anthony R. Grossi (admitted pro hac vice)
1401 McKinney Street, Suite 1900                                        601 Lexington Avenue
Houston, Texas 77010                                                    New York, New York 10022
Telephone:         (713) 752-4200                                       Telephone:         (212) 446-4800
Facsimile:         (713) 752-4221                                       Facsimile:         (212) 446-4900
Email:             mcavenaugh@jw.com                                    Email:          joshua.sussberg@kirkland.com
                   jwertz@jw.com                                                        christopher.greco@kirkland.com
                   kpeguero@jw.com                                                      anthony.grossi@kirkland.com
                   vpolnick@jw.com
                                                                        -and-
Proposed Co-Counsel to the Debtors
and Debtors in Possession                                               James H.M. Sprayregen, P.C.
                                                                        John R. Luze (admitted pro hac vice)
                                                                        300 North LaSalle Street
                                                                        Chicago, Illinois 60654
                                                                        Telephone:       (312) 862-2000
                                                                        Facsimile:       (312) 862-2200
                                                                        Email:           james.sprayregen@kirkland.com
                                                                                         john.luze@kirkland.com

                                                                        Proposed Co-Counsel to the Debtors
                                                                        and Debtors in Possession

Dated: January 22March 11, 2020




1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
       International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is 757
       North Eldridge Parkway, Houston, Texas 77079.

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                                                  INTRODUCTION

          McDermott International, Inc. and the above-captioned debtors and debtors in possession (collectively,
the “Debtors”), propose this joint prepackaged chapter 11 plan of reorganization (as modified, amended, or
supplemented from time to time, the “Plan”) for the resolution of the outstanding claims against, and equity interests
in, the Debtors. Although proposed jointly for administrative purposes, the Plan constitutes a separate Plan for each
Debtor. Holders of Claims or Interests may refer to the Disclosure Statement for a discussion of the Debtors’
history, businesses, assets, results of operations, historical financial information, risk factors, a summary and analysis
of this Plan, the Restructuring Transactions, and certain related matters. The Debtors are the proponents of the Plan
within the meaning of section 1129 of the Bankruptcy Code.

      ALL HOLDERS OF CLAIMS, TO THE EXTENT APPLICABLE, ARE ENCOURAGED TO READ THE
PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR
REJECT THE PLAN.

                                              ARTICLE I.
                              DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

A.       Defined Terms.

         As used in this Plan, capitalized terms have the meanings set forth below.

         “2018 Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as
Collateral Agent in respect of the Credit Agreement, the 2021 LC Facility, and the Lloyds LC Facility.

       “2021 LC Agreement” means that certain letter of credit agreement dated as of October 30, 2018 by and
among certain of the Debtors as applicants and guarantors thereto, and the 2021 LC Administrative Agent, as may be
amended, supplemented, or otherwise modified from time to time.

       “2021 LC Administrative Agent” means Barclays Bank PLC, as administrative agent for the 2021 LC
Agreement.

       “2021 LC Facility” means the $230,000,000.00 senior secured letter of credit facility under the 2021 LC
Agreement.

          “2021 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2021 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2021 Letters of Credit” means the letters of credit issued under the 2021 LC Facility.

       “2023 LC Facility” means the $1,440,000,000.00 senior secured letter of credit facility under the Credit
Agreement.

          “2023 Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the 2023 LC
Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “2023 Letters of Credit” means the letters of credit issued under the 2023 LC Facility.

        “Achievement Target” means the (i) final, binding signed documentation reflecting (x) positive value
adjustment of $235 million in projected gross profit and (y) $285 million in letter of credit relief and (ii) project cost



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savings of $560 million through the employment of risk mitigation strategies, in each case subject to the satisfaction
of the Required Consenting Term Lenders and the Required Consenting Revolving Lenders in their sole discretion.

         “Additional Obligations” shall have the meaning specified in the DIP Credit Facility Term Sheet.

          “Administrative Claim” means a Claim for costs and expenses of administration of the Chapter 11 Cases
pursuant to sections 327, 328, 330, 365, 503(b), 507(a), 507(b), or 1114(e)(2) of the Bankruptcy Code, including:
(a) the actual and necessary costs and expenses of preserving the Estates and operating the businesses of the Debtors
incurred on or after the Petition Date and through the Effective Date; (b) Allowed Professional Claims; and (c) all
fees and charges assessed against the Estates under chapter 123 of the Judicial Code.

         “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code.

         “Agents” means, collectively, the DIP Agents, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the 2021 LC Administrative Agent, the 2018 Collateral Agent, the Superpriority Revolving
Administrative Agent, the Superpriority Term Loan Agent, the Superpriority Collateral Agent, and each
administrative agent, collateral agent, trustee or other similar agent in respect of the Exit Facilities solely in its
capacity as such.

        “Allowed” means, as to a Claim or Interest, a Claim or Interest allowed under the Plan, under the
Bankruptcy Code, or by a final order (including the DIP Financing Orders) as applicable.

        “Assumed Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be assumed by the Debtors pursuant to the Plan, which shall be included in the
Plan Supplement, as the same may be amended, modified, or supplemented from time to time; provided that such
schedule shall be in form and substance acceptable to the Required Consenting Lenders.

          “Avoidance Actions” means any and all actual or potential avoidance, recovery, subordination, or other
Claims, Causes of Action, or remedies that may be brought by or on behalf of the Debtors or their Estates or other
authorized parties in interest under the Bankruptcy Code or applicable non-bankruptcy law, including Claims,
Causes of Action, or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a) of the
Bankruptcy Code or under similar local, state, federal, or foreign statutes and common law, including fraudulent
transfer laws.

          “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended from
time to time.

         “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of Texas.

         “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under section 2075 of
the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each, as amended from time to
time.

         “Barclays Advisors” means Latham & Watkins LLP and any other local or foreign advisors.

        “Bidding Procedures” means the procedures governing the auction and the Technology Business Sale, as
approved by the Bankruptcy Court and as may be amended from time to time in accordance with their terms.

           “Bilateral Facilities” means those certain bilateral facilities entered into by various Debtors and their
affiliates and the individual lenders party thereto, including:

             (a) that certain facility agreement (as amended), dated April 13, 2016, between McDermott
                 International, Inc., as borrower, McDermott Middle East, Inc., McDermott Eastern Hemisphere,



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                 Ltd., McDermott Arabia Company Limited, as guarantors, and Abu Dhabi Commercial Bank
                 PJSC, as lending bank;

            (b) that certain credit facility agreement (as amended), dated April 30, 2018, between CBI Eastern
                Anstalt, as borrower, and Mashreqbank PSC, as lending bank;

            (c) that certain credit agreement (as amended) dated as of July 19, 2018 between Arabian CBI
                Company Limited, as customer, McDermott International Inc., as guarantor, and Samba Financial
                Group, as lending bank;

            (d) that certain facility letter (as amended), dated as of January 29, 2018 between McDermott Middle
                East, Inc., and McDermott Eastern Hemisphere, Ltd., as applicants, McDermott International, Inc.,
                as guarantor, and International Bank of Qatar, as lending bank;

            (e) that certain reimbursement agreement for letters of credit or guarantees, dated July 30, 2015
                between McDermott International, Inc., as applicant and Riyad Bank, as lending bank;

            (f) that certain facility agreement between McDermott Middle East Inc., as borrower, McDermott
                International, Inc., as guarantor, and First Gulf Bank, as lending bank;

            (g) that certain letter of credit reimbursement agreement (as novated), dated August 1, 2007 between
                J. Ray McDermott S.A., as applicant and Standard Chartered Bank, as lending bank;

            (h) that certain master reimbursement agreement between J. Ray McDermott S.A., as applicant,
                McDermott International, Inc., as guarantor, and ICICI Bank Limited, as lending bank;

            (i) that certain reimbursement agreement between Chicago Bridge and Iron Company, N.V., as
                customer, and Europe Arab Bank PLC, as lending bank;

            (j) that certain credit facilities agreement, dated April 4, 2019 between McDermott Middle East, Inc.
                and McDermott Middle East, Inc. Panama, as borrowers, McDermott International, Inc., as
                guarantor, and Commercial Bank of Dubai PSC, as lending bank; and

            (k) that certain (a) indemnity and undertaking, dated as of June 28, 2019 between Comet II, B.V. as
                borrower and The Standard Bank of South African Limited as lending bank and (b) parent
                company guarantee, dated as of June 28, 2019 between McDermott International, Inc. as guarantor
                and The Standard Bank of South Africa Limited as lending bank.

         “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial banks are
authorized to close under the laws of, or are in fact closed in, the State of New York.

        “Business Plan” means the business plan for the Reorganized Debtors.

       “Cameron LNG Contractor” means CCJV, an unincorporated joint venture the members of which are
CB&I LLC (as successor in interest) and Chiyoda International Corporation.

         “Cameron LNG EPC Agreement” means that certain Engineering, Procurement and Construction Contract,
dated as of March 17, 2014, between Cameron LNG, LLC and the Cameron LNG Contractor (as amended).

         “Cameron LNG Project Obligations” means, collectively, the obligations of any Debtor under: (a) that
certain EPC Joint Venture Agreement, dated March 17, 2014 between CB&I LLC (as successor in interest) and
Chiyoda International Corporation (as amended); and (b) the Cameron LNG EPC Agreement.

         “Cameron LNG Replacement Guarantee” means a guarantee, which Reorganized McDermott shall execute
and deliver to Cameron LNG, LLC, guaranteeing on a joint and several basis on behalf of CB&I LLC the payment
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and performance of the obligations of the Cameron LNG Contractor under the Cameron LNG EPC Agreement,
whether arising prior to or after the execution of such guarantee.

         “Cash” means cash in legal tender of the United States of America and cash equivalents, including bank
deposits, checks, and other similar items.

       “Cash Management Bank” means any financial institution through which the Debtors have entered into
“Cash Management Arrangements” (as defined in the Credit Agreement).

         “Cash Secured LC Exit Facility” means a 4-year, cash secured letter of credit exit facility in an amount up
to $371 million, and otherwise on terms satisfactory to the Required Consenting Lenders, and set forth in the
Definitive Documents to be included in the Plan Supplement.

         “Cash Secured Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the
Cash Secured Letters of Credit, including Claims for all principal amounts outstanding, interest, fees, expenses, costs
and other charges arising thereunder or related thereto.

          “Cash Secured Letters of Credit” means the “Cash Secured Letters of Credit” issued under and on the terms
set forth under the Credit Agreement.

          “Cause of Action” or “Causes of Action” means any claims, interests, damages, remedies, causes of action,
demands, rights, actions, controversies, proceedings, agreements, suits, obligations, liabilities, accounts, defenses,
offsets, powers, privileges, licenses, Liens, indemnities, guaranties, and franchises of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, liquidated or unliquidated, secured or unsecured, assertable, directly or derivatively, matured or
unmatured, suspected or unsuspected, in contract, tort, law, equity, or otherwise. Causes of Action also include: (a)
all rights of setoff, counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by law
or in equity; (b) the right to object to or otherwise contest Claims or Interests; (c) claims pursuant to section 362 or
chapter 5 of the Bankruptcy Code; (d) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code; and (e) any Avoidance Action.

         “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the case pending for that
Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and (b) when used with reference to all the
Debtors, the procedurally consolidated chapter 11 cases pending for the Debtors in the Bankruptcy Court.

          “Chiyoda Replacement Guarantee” means a guarantee which Reorganized McDermott shall execute and
deliver to Chiyoda International Corporation in accordance with Section 15.3 of the EPC Joint Venture Agreement,
dated March 17, 2014 between CB&I LLC (as successor in interest) and Chiyoda International Corporation (as
amended) as required by the Guaranty and Indemnity Agreement entered into by and between CB&I LLC,
McDermott International and Chiyoda International Corporation.

         “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any of the Debtors.

          “Claims and Balloting Agent” means Prime Clerk LLC, the notice, claims, and solicitation agent proposed
to be retained by the Debtors in the Chapter 11 Cases.

         “Claims Register” means the official register of Claims maintained by the Claims and Balloting Agent.

         “Class” means a class of Claims or Interests as set forth in Article III of the Plan pursuant to
section 1122(a) of the Bankruptcy Code.

         “CM/ECF” means the Bankruptcy Court’s Case Management and Electronic Case Filing system.

         “Company Party” has the meaning set forth in the Restructuring Support Agreement.

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         “Compensation and Benefits Programs” means all employment and severance agreements and policies, and
all employment, compensation, and benefit plans, policies, workers’ compensation programs, savings plans,
retirement plans, deferred compensation plans, supplemental executive retirement plans, healthcare plans, disability
plans, severance benefit plans, incentive plans, life and accidental death and dismemberment insurance plans, and
programs of the Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees,
former employees, retirees, and non-employee directors and the employees, former employees and retirees of their
subsidiaries, including all savings plans, retirement plans, health care plans, disability plans, severance benefit
agreements, and plans, incentive plans, deferred compensation plans and life, accidental death, and dismemberment
insurance plans.

        “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the docket of the
Chapter 11 Cases.

        “Confirmation Date” means the date upon which the Bankruptcy Court enters the Confirmation Order on
the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

         “Confirmation Hearing” means the hearing to be held by the Bankruptcy Court on confirmation of the Plan,
pursuant to Bankruptcy Rule 3020(b)(2) and sections 1128 and 1129 of the Bankruptcy Code, as such hearing may
be continued from time to time.

         “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code and approving the consummation of the Technology Business Sale and the
Pipes Business Sale.

        “Consenting 2021 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting 2023 LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Cash Secured LC Issuers” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

        “Consenting Superpriority LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

       “Consenting Superpriority Term Lenders” has the meaning set forth in the Restructuring Support
Agreement.

        “Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

        “Consummation” means the occurrence of the Effective Date as to the applicable Debtor.

          “Credit Agreement” means that certain credit agreement dated as of May 10, 2018, by and among certain of
the Debtors as borrowers and guarantors thereto, the Revolving and LC Administrative Agent, the Term Loan
Administrative Agent, the Issuers (as defined in the Credit Agreement), and the lenders from time to time party
thereto, as may be amended, supplemented, or otherwise modified from time to time.


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         “Credit Agreement Hedging Claims” means Claims in respect of Credit Agreement Hedging Obligations,
which, for the avoidance of doubt, shall not include DIP Hedging Obligations.

         “Credit Agreement Hedging Obligations” means mark-to-market obligations arising out of the termination
of any “Hedging Obligations” (as defined under the Credit Agreement) prior to the Effective Date.

        “Cure” means all amounts, including an amount of $0.00, required to cure any monetary defaults under any
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under an
Executory Contract or Unexpired Lease) that is to be assumed by the Debtors pursuant to sections 365 or 1123 of
the Bankruptcy Code.

        “D&O Liability Insurance Policies” means all insurance policies of any of the Debtors for directors’,
managers’, and officers’ liability existing as of the Petition Date (including any “tail policy”) and all agreements,
documents, or instruments relating thereto.

         “Definitive Documents” means the documents listed in Section 3 of the Restructuring Support Agreement.

         “DIP Agents” means the DIP LC Agent, the DIP Collateral Agent, and the DIP Term Loan Agent.

         “DIP Cash Secured Letter of Credit Claim” means any Claim for obligations arising under, or relating to,
the DIP Cash Secured LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses,
costs and other charges arising thereunder or related thereto.

        “DIP Cash Secured Letters of Credit” means the letters of credit issued pursuant to the DIP Cash Secured
LC Facility.

        “DIP Cash Secured LC Facility” means the cash secured letter of credit facility pursuant to which up to
$100 million of the DIP Letter of Credit Facility may be allocated.

          “DIP Claims” means all Claims (including adequate protection Claims) derived from, arising under, based
upon, or secured pursuant to the DIP Credit Agreement, including all prepetition Claims rolled into the DIP Credit
Facility and all other Claims in respect of principal amounts outstanding, interest, fees, expenses, costs, hedging
obligations, and other charges arising thereunder or related thereto, in each case, with respect to the DIP Credit
Facility.

        “DIP Collateral Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as collateral
agent under the DIP Credit Agreement.

         “DIP Credit Agreement” means that certain superpriority secured debtor-in-possession credit agreement
that governs the DIP Credit Facility (as may be amended, supplemented, or otherwise modified from time to time),
among McDermott International, Inc., as parent, certain of the Debtors as borrowers, the lenders party thereto, the
DIP Lenders, the DIP Letter of Credit Issuers, and the DIP Agents.

         “DIP Credit Facility” means the superpriority committed credit facilities provided by the DIP Lenders,
which includes the DIP Letter of Credit Facility, the DIP Term Loan Facility, the DIP Hedging Obligations, and any
other obligations specified in the DIP Financing Orders.

         “DIP Credit Facility Term Sheet” means the DIP Credit Facility Term Sheet attached as Exhibit 2 to the
Restructuring Term Sheet.

        “DIP Financing Orders” means the interim order approving the DIP Credit Facility and the final order
approving the DIP Credit Facility, to be filed and approved by the Bankruptcy Court in the Chapter 11 Cases.

        “DIP Hedging Obligations” means all hedging obligations subject to or deemed incurred under the DIP
Credit Facility (including for the avoidance of doubt all obligations in respect of the Debtors’ prepetition foreign
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currency hedging transactions and $500 million notional amount of interest rate hedging transactions rolled into the
DIP cCredit fFacility pursuant to the DIP Financing Orders and the Hedging Orders).

         “DIP LC Agent” means Crédit Agricole Corporate and Investment Bank in its capacity as letter of credit
administrative agent under the DIP Credit Agreement.

         “DIP LC Claim” means any Claim of a DIP Lender, a DIP Letter of Credit Issuer, or the DIP Agents arising
under or relating to the DIP Letter of Credit Facility pursuant to the DIP Credit Agreement.

            “DIP Lenders” means the lenders party to the DIP Credit Agreement with respect to the DIP Credit
Facility.

          “DIP Letter of Credit Facility” means the senior secured superpriority letter of credit facility plus interest,
fees, and other amounts due in respect of the SuperpriorityDIP Letters of Credit (including the DIP Cash Secured LC
Facility), provided under the DIP Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP
Financing Orders.

            “DIP Letter of Credit Issuers” means the “Issuing Banks” under the DIP Credit Agreement.

         “DIP Letters of Credit” means (i) the $543 million of new and incremental letters of credit to be provided
under the DIP Letter of Credit Facility (including the DIP Cash Secured Letters of Credit) plus (ii) the DIP Roll-Up
Letters of Credit.

          “DIP Roll-Up Letters of Credit” means (i) those Superpriority Letters of Credit, including Claims for all
reimbursement obligations outstanding, interest, fees, expenses, costs, and other charges arising thereunder or
relating thereto, that are “rolled-up” and deemed issued under the DIP Letter of Credit Facility pursuant to the final
DIP Financing Order and (ii) any obligations to be deemed outstanding under the DIP Letter of Credit Facility.

         “DIP Roll-Up Term Loans” means the term loans outstanding under the Superpriority Term Loan Facility
that upon entry of the final DIP Financing Order, shall be deemed to be issued under the DIP Term Loan Facility,
including all of the Claims arising under, derived from, based upon, or secured pursuant to the Superpriority Credit
Agreement, including Claims for all principal amounts outstanding, interest, fees, expenses, costs, the Make Whole
Amount, and other charges arising thereunder or related thereto, in each case, with respect to the Superpriority Term
Loan Facility.

        “DIP Term Loan Agent” means Barclays Bank PLC, in its capacity as term loan administrative agent under
the DIP Credit Agreement.

        “DIP Term Loan Claim” means any Claim of a DIP Lender or the DIP Agents arising under or relating to
the DIP Term Loan Facility pursuant to the DIP Credit Agreement or the DIP Financing Orders.

          “DIP Term Loan Facility” means a superpriority term loan facility, comprised of up to $1.2 billion
principal amount of New DIP Term Loans plus $800 million principal amount of the Superpriority Term Loans
rolled into the DIP Term Loan Facility plus the Make Whole Amount plus the Additional Obligations and approved
by the Bankruptcy Court pursuant to the DIP Financing Orders.

            “DIP Term Loans” means the New DIP Term Loans and the DIP Roll-Up Term Loans.

        “Disbursing Agent” means the Reorganized Debtors or the Entity or Entities selected by the Debtors or the
Reorganized Debtors, as applicable, to make or facilitate distributions pursuant to the Plan.

          “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and schedules
thereto, to be approved by the Confirmation Order.



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         “Disputed” means, as to a Claim or an Interest, any Claim or Interest: (a) that is not Allowed; (b) that is not
disallowed by the Plan, the Bankruptcy Code, or a Final Order, as applicable; (c) as to which a dispute is being
adjudicated by a court of competent jurisdiction in accordance with non-bankruptcy law; (d) that is Filed in the
Bankruptcy Court and not withdrawn, as to which a timely objection or request for estimation has been Filed; and
(e) with respect to which a party in interest has Filed a Proof of Claim or otherwise made a written request to a
Debtor for payment, without any further notice to or action, order, or approval of the Bankruptcy Court.

          “Distribution Date” means, except as otherwise set forth herein, the date or dates determined by the
Debtors or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or as soon
as is reasonably practicable after the Effective Date, upon which the Distribution Agent shall make distributions to
holders of Allowed Claims entitled to receive distributions under the Plan.

         “Distribution Record Date” means, other than with respect to publicly held Securities, the record date for
purposes of making distributions under the Plan on account of Allowed Claims, which date shall be on or as soon as
is reasonably practicable after the Effective Date. For the avoidance of doubt, no distribution record date shall apply
to holders of public securities.

         “DTC” means the Depository Trust Company.

          “Effective Date” means, as to the applicable Debtor, the date that is the first Business Day on which (a) no
stay of the Confirmation Order is in effect and (b) all conditions precedent to the occurrence of the Effective Date
set forth in Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan. Any
action to be taken on the Effective Date may be taken on or as soon as reasonably practicable thereafter.

         “Emergence Awards” has the meaning set forth in Article IV.Q of the Plan.

         “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

         “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case pursuant to
section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

          “Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. § 78a, et seq., as amended from
time to time.

          “Exculpated Parties” means collectively, and in each case in its capacity as such: (a) the Debtors; (b) any
official committees appointed in the Chapter 11 Cases and each of their respective members; (c) the Consenting
Stakeholders and any affiliated Hedge Banks; (d) each Agent and the Senior Notes Trustee, and (e) with respect to
each of the foregoing, such Entity and its current and former Affiliates, and such Entity’s and its current and former
Affiliates’ current and former equity holders, subsidiaries, officers, directors, managers, principals, members,
employees, agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,
consultants, representatives, and other professionals.

        “Executory Contract” means a contract to which one or more of the Debtors is a party and that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

         “Existing Common Equity Interests” means the common stock of McDermott, which is traded and quoted
on the New York Stock Exchange under the symbol “MDR,” any and all outstanding and unexercised or unvested
warrants, options, or rights to acquire such common stock existing prior to the Petition Date, and any Section 510(b)
Claims.

        “Existing Preferred Equity Interests” means all outstanding 12% Redeemable Preferred Stock in
McDermott, issued on November 29, 2018, and the Series A Preferred Stock of McDermott, issued on December 2,
2019, and any Section 510(b) Claims.



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         “Exit Facilities” means, collectively, the Term Loan Exit Facility, the Cash Secured LC Exit Facility, and
the Exit LC Facilities, as applicable.

         “Exit Facility Agents” means each of the administrative agents, trustees, or other similar agents under the
Exit Facility Agreement, solely in its capacity as such.

         “Exit Facility Agreement” means that certain agreement to provide the Exit Facilities, if any, dated as of the
Effective Date, by and among the Reorganized Debtors party thereto as borrowers, Reorganized McDermott, the
Exit Facility Agents, the issuing banks party thereto, and the lender parties thereto, which shall be included in the
Plan Supplement.

        “Exit Facility Documents” means, collectively, the Exit Facility Agreement, and any and all other
agreements, documents, and instruments delivered or to be entered into in connection therewith, including any
amendments to existing loan or other finance documentation, any guarantee agreements, pledge and collateral
agreements, intercreditor agreements, and other security documents, in each case if any, the terms of which
documents shall be acceptable to the Debtors or the Reorganized Debtors, as applicable, and the Required
Consenting Lenders.

         “Exit LC Facilities” means the Super Senior Exit Facility, the Senior Exit LC Facility, the Cash Secured LC
Exit Facility, and the Roll-Off LC Exit Facility.

         “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

         “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its authorized designee
in the Chapter 11 Cases.

          “Final Order” means an order or judgment of the Bankruptcy Court, or court of competent jurisdiction with
respect to the subject matter that has not been reversed, stayed, modified, or amended, as entered on the docket in
any Chapter 11 Case or the docket of any court of competent jurisdiction, and as to which the time to appeal, or seek
certiorari or move for a new trial, reargument, or rehearing has expired and no appeal or petition for certiorari or
other proceedings for a new trial, reargument, or rehearing has been timely taken, or as to which any appeal that has
been taken or any petition for certiorari that has been or may be timely filed has been withdrawn or resolved by the
highest court to which the order or judgment was appealed or from which certiorari was sought or the new trial,
reargument, or rehearing will have been denied, resulted in no stay pending appeal of such order, or has otherwise
been dismissed with prejudice; provided that the possibility that a motion under Rule 60 of the Federal Rules of
Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order will not
preclude such order from being a Final Order.

          “Funded DIP Indebtedness” means indebtedness under the DIP Credit Facility in respect of the DIP Term
Loans (which for the avoidance of doubt includes the Superpriority Term Loans rolled up into the DIP Credit
Facility, but excludes any DIP Hedging Obligations) and the Additional Obligations.

        “General Unsecured Claim” means any Unsecured Claim against a Debtor other than the Bilateral Facility
Claims and the Senior Notes Claims.

         “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

        “Hedge Bank” means, with respect to any Consenting Lender, either such Consenting Lender or an affiliate
of such Consenting Lender that has entered into “Hedging Obligations” (as defined in the Credit Agreement) with
the Debtors.

       “Hedging Order” means the Order (I) Authorizing the Debtors to Enter into and Perform Under (A)
Amended and Restated Hedge Agreements and (B) New Hedge Agreements, (II) Granting DIP Liens and DIP



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Superpriority Claims, (III) Modifying the Automatic Stay and (IV) Granting Related Relief entered by the
Bankruptcy Court on January 23, 2020 at Docket No. 145 in the Chapter 11 Cases.

        “Impaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
impaired within the meaning of section 1124 of the Bankruptcy Code.

         “Insider” has the meaning set forth in section 101(31) of the Bankruptcy Code.

        “Intercompany Claim” means any Claim held by a Debtor or an Affiliate against a Debtor or an Affiliate of
a Debtor.

         “Intercompany Interest” means an Interest in a Debtor held by a Debtor or an Affiliate of a Debtor.

          “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in any Debtor
and any other rights, options, warrants, stock appreciation rights, phantom stock rights, restricted stock units,
performance shares, performance units, redemption rights, repurchase rights, convertible, exercisable or
exchangeable Securities or other agreements, arrangements or commitments of any character relating to, or whose
value is related to, any such interest or other ownership interest in any Debtor.

         “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from time to
time.

          “Lloyds LC Exit Facility” means a senior secured letter of credit exit facility with Lloyds LC Bank pursuant
to which each Lloyds Letter of Credit that is outstanding on the Effective Date under the Lloyds Letter of Credit
Agreement will be deemed issued on the Effective Date and which will be secured by only the cash collateral that
exclusively secured the Lloyds Letters of Credit as of the Effective Date and any standby letters of credit supporting
the Lloyds Letters of Credit as of the Effective Date; provided that the cash collateral and/or standby letters of
credit, as applicable, securing the Lloyds LC Exit Facility shall be reduced and/or released, as applicable, dollar-for-
dollar upon the reduction, expiration, or termination of any Lloyds Letter of Credit in accordance with its terms from
and after the Effective Date and upon any such release the applicable cash collateral shall become collateral securing
obligations of the Reorganized Debtors under the Exit Facilities. The definitive documentation for the Lloyds LC
Exit Facility shall be substantially in the form of the Lloyds Letter of Credit Agreement, and otherwise on terms
satisfactory to the Debtors and the Required Consenting Lenders, and set forth in the Definitive Documents to be
included in the Plan Supplement.

         “Lloyds LC Bank” means Lloyds Bank PLCCorporate Markets plc (as successor to Lloyds Bank plc,
formerly known as Lloyds TSB Bank plc), as the Bank under the Lloyds Letter of Credit Agreement.

          “Lloyds LC Facility” means the $127,000,000.00 senior secured letter of credit facility under the Lloyds
Letter of Credit Agreement.

         “Lloyds Letter of Credit Agreement” means that certain master agreement for stand-by letters of credit
originally dated as of June 10, 2013 by and among Lloyds LC Bank plc (formerly known as Lloyds TSB Bank plc)
and Comet II B.V., CB&I, LLC, Chicago Bridge and Iron Company B.V., CBI Services, LLC, CB&I UK Limited,
CBI Constructors PTY LTD, CB&I Group Inc., and Woodlands International Insurance Ltd, as amended and
restated May 10, 2018 in connection with the Business Combination (as defined therein) with McDermott and
certain of its subsidiaries, as may be amended, supplemented, or otherwise modified from time to time.

          “Lloyds Letter of Credit Claims” means any Claim for obligations arising under, or relating to, the Lloyds
LC Facility, including Claims for all principal amounts outstanding, interest, fees, expenses, costs and other charges
arising thereunder or related thereto.

         “Lloyds Letters of Credit” means the letters of credit issued under the Lloyds LC Facility.



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            “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

         “Liquidity Lender Steering Committee” means those certain institutions comprising the steering committee
of lenders under the Superpriority Revolving Facility, the Revolving Credit Facility, and the 2023 LC Facility.

         “Lummus Assets and Interests” means the Debtors’ rights, titles, and interests in the Lummus Entities and
related assets, as described in the Purchase Agreement.

          “Lummus Entities” means Lummus Technology LLC; McDermott Technology (2), B.V.; McDermott
Technology (3), B.V.; OOO Lummus Technology; CB&I Lummus Engineering & Technology China Co. Ltd.;
Lummus Technology Heat Transfer B.V. (Netherlands); Lummus Technology Heat Transfer B.V. (India); Lummus
Novolen Technology GmbH; Novolen Technology Holdings C.V.; Lummus Technology B.V.; Lummus Gasification
Technology Licensing LLC; Lummus Engineered Products, LLC; Lummus Technology International LLC; Lummus
Technology Services LLC; Chemical Research and Licensing, LLC; Lummus Technology Ventures LLC; Catalytic
Distillation Technologies; Lummus Technology Overseas LLC, Chevron Lummus Global LLC, and CLG Technical
Services, LLC.

        “Lummus Executory Contracts and Unexpired Leases” means any Executory Contracts and Unexpired
Leases of the Debtors proposed to be assumed or assumed and assigned in connection with the Technology Business
Sale.

         “Make Whole Amount” means the make whole amount payable under Section 2.11(b) of the Superpriority
Credit Agreement solely with respect to the tranches of the Superpriority Term Loan Facility that were funded prior
to the Petition Date.

         “Make Whole Tranche” means that certain tranche under the Super Senior Exit Facility in an amount equal
to the portion of the Make Whole Amount remaining (if any) after applying the Technology Business Sale Proceeds
and proceeds from the Rights Offering, subject to the terms of the Exit Facilities Term Sheet.

            “Management Incentive Plan” has the meaning set forth in Article IV.P Article IV.Q of the Plan.

            “Management Incentive Plan Pool” has the meaning set forth in Article IV.P of the Plan.

        “McDermott” means McDermott International, Inc. or any successor or assign, by merger, consolidation, or
otherwise, prior to the Effective Date.

            “MIP Pool” has the meaning set forth in Article IV.Q of the Plan.

       “New Board” means the board of directors of Reorganized McDermott. The identities of directors on the
New Board shall be set forth in the Plan Supplement.

         “New Common Stock” means, depending on the transaction structure and as detailed in the Restructuring
Transactions Memorandum, common equity in one or more Reorganized Debtors.

            “New DIP Term Loans” means the new money term loans to be provided under the DIP Term Loan
Facility.

         “New Organizational Documents” means the documents providing for corporate governance of the
Reorganized Debtors, including charters, bylaws, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, which shall be consistent with the Restructuring Support Agreement
(including Section 3.02 of the Restructuring Support Agreement), this Plan, and section 1123(a)(6) of the
Bankruptcy Code (as applicable), and shall be included in the Plan Supplement.

          “New Tranche A Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
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accrued prepetition or postpetition interest at the default rate as applicable) less (i) the proceeds of the Rights
Offering, (ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the Residual
Prepetition Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New Common
Stock to the holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate proceeds of
the Rights Offering divided by Plan Equity Value plus (y) the Prepetition Funded Secured Claims Excess Cash
Adjustment. For the avoidance of doubt, the New Tranche A Warrants shall not be subject to dilution on account of
the Management Incentive Plan.

          “New Tranche B Warrants” means the 7-year warrants to purchase 10% of the New Common Stock at a
strike price equal to (a) the Prepetition Funded Secured Claims (including, without limitation, principal and any
accrued prepetition or postpetition interest at the default rate as applicable) multiplied by 125%, less (i) the proceeds
of the Rights Offering, (ii) the aggregate amount of the loans evidenced by the Term Loan Exit Facility, and (iii) the
Residual Prepetition Funded Secured Claims Pay Down, divided by (b) the initial allocation of 94% of the New
Common Stock to the holders of Prepetition Funded Secured Claims minus an amount equal to (x) the aggregate
proceeds of the Rights Offering divided by Plan Equity Value and (y) the Prepetition Funded Secured Claims Excess
Cash Adjustment. For the avoidance of doubt, the New Tranche B Warrants shall not be subject to dilution on
account of the Management Incentive Plan.

         “New Warrants” means, collectively, the New Tranche A Warrants and the New Tranche B Warrants.

         “New Warrants Agreements” means those certain agreements providing for, among other things, the
issuance and terms of the New Warrants, which shall be included in the Plan Supplement and in form and substance
acceptable to the Required Consenting Lenders and the Required Consenting Noteholders. The New Warrants
Agreements shall provide for full anti-dilution and Black-Scholes protection.

         “Non-Pipes Debtors” means any of the Debtors or Reorganized Debtors other than the Pipes Entities.

         “Other Prepetition Financing Claim” means any Secured Claim arising under:

              (a) that certain facility agreement dated September 30, 2010 among McDermott, as guarantor, and its
                  subsidiary NO 105 AS, as borrower, the BNP Paribas, in its capacity as facility agent and security
                  agent, and the lenders party thereto, as may be amended, supplemented, or otherwise modified
                  from time to time, to pay a portion of the construction costs of the NO 105;

              (b) that certain receivables factoring agreement dated November 25, 2016 among J. Ray McDermott
                  de Mexico S.A. de C.V. and the financing intermediaries thereto, as may be amended,
                  supplemented, or otherwise modified from time to time; or

              (c) that certain re-invoicing service agreement dated May 2019 among Bramid Outsource Limited, as
                  service provider, McDermott, as parent, and CB&I LLC, as customer.

          “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority Tax Claim,
entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        “Other Secured Claim” means any Secured Claim other than a Revolving Credit Claim, a Term Loan
Claim, a 2021 Letter of Credit Claim, a 2023 Letter of Credit Claim, a Lloyds Letter of Credit Claim, a Cash
Secured Letter of Credit Claim, a Credit Agreement Hedging Claim, a Superpriority Term Loan Claim, a
Superpriority Revolving Facility Claim, an Other Prepetition Financing Claim, a Bilateral Facility Claim, or a DIP
Claim.

         “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

         “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.



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      “Pipes Business Sale” means a sale of any or all of the Pipes Interests pursuant to the Pipes Business Sale
Documents, and to be agreed to or consummated by one or more of the Debtors after the Confirmation Date.

          “Pipes Business Sale Documents” means any executed purchase agreement for the sale of the Pipes
Interests between certain of the Debtors and the Pipes Buyers for the sale of all or part of the Pipes Interests, and any
transition services agreements, license agreements, supply agreements, and any other written ancillary agreements,
documents, instruments and certificates executed under or in connection therewith. The Pipes Business Sale
Documents shall be in form and substance satisfactory to the Required Consenting Lenders.

      “Pipes Buyers” means those Entities that purchase the Pipes Interests pursuant to the Pipes Business Sale
Documents.

        “Pipes Entities” means CB&I Walker LA, LLC; CB&I Lake Charles LLC; CB&I Clearfield, Inc.; CB&I El
Dorado, Inc.; CB&I Middle East Holding, Inc.; Shaw Overseas (Middle East) Ltd.; CB&I Nass Pipe Fabrication
WLL; CB&I SKE&C Middle East Ltd.; Shaw Pipe Fabrication Holdings, LLC; and Shaw Emirates Pipes
Manufacturing LLC, and any other Debtors or their non-Debtor Affiliates that may be identified in the Pipes
Business Sale Documents.

        “Pipes Interests” means all of the Debtors’ rights, titles, and interests (whether direct or indirect) in the
Pipes Entities and certain related assets, as described in the Pipes Business Sale Documents.

          “Plan Distribution” means a payment or distribution to holders of Allowed Claims, Allowed Interests, or
other eligible Entities under this Plan.

         “Plan Equity Value” means $2,352,000,000.

         “Plan Objection Deadline” means the date the Bankruptcy Court establishes as the deadline to File an
objection to Confirmation of the Plan.

          “Plan Supplement” means the compilation of documents and forms of documents, term sheets, agreements,
schedules, and exhibits to the Plan (in each case, as may be altered, amended, modified, or supplemented from time
to time in accordance with the terms hereof and in accordance with the Bankruptcy Code and Bankruptcy Rules) to
be Filed prior to the Confirmation Hearing, to the extent available, and any additional documents Filed prior to the
Effective Date as amendments to the Plan Supplement, including the following, as applicable: (a) the New
Organizational Documents; (b) to the extent known, the identities of the members of the New Board; (c) the
Assumed Executory Contracts and Unexpired Leases Schedule; (d) the Rejected Executory Contracts and Unexpired
Leases Schedule; (e) the Schedule of Retained Causes of Action; (f) the Exit Facility Documents; (g) the definitive
documentation related to the Management Incentive Plan; (h) the Restructuring Transactions Memorandum; (i) the
New Warrants Agreements; and (j) to the extent availableapplicable, the form of any Technology Business Sale
Documents distributed by the Debtors to potentially interested parties, if any. The Debtors shall have the right to
alter, amend, modify, or supplement the documents contained in the Plan Supplement up to the Effective Date as set
forth in this Plan and in accordance with the Restructuring Support Agreement (and subject to the applicable consent
rights thereunder).

         “Prepetition Funded Secured Claims” means Claims in respect of (i) the Term Loans and the Revolving
Loans, (ii) any funded Prepetition Secured Letters of Credit, and (iii) the Credit Agreement Hedging Claims, but
excluding any amounts being rolled into the DIP Credit Facility.

         “Prepetition Funded Secured Claims Excess Cash Adjustment” has the meaning set forth in Article IV.D.4
of the Plan.

        “Prepetition Secured Letters of Credit” means the 2021 Letters of Credit, the 2023 Letters of Credit, the
Revolving LCs, the Lloyds Letters of Credit, and the Cash Secured Letters of Credit.



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        “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in section 507(a)(8) of
the Bankruptcy Code.

         “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a particular Class bears
to the aggregate amount of Allowed Claims or Allowed Interests in that Class, unless otherwise indicated.

         “Professional” means an Entity: (a) employed pursuant to a Bankruptcy Court order in accordance with
sections 327, 363, or 1103 of the Bankruptcy Code and to be compensated for services rendered prior to or on the
Confirmation Date, pursuant to sections 327, 328, 329, 330, 331, and 363 of the Bankruptcy Code; or (b) awarded
compensation and reimbursement by the Bankruptcy Court pursuant to section 503(b)(4) of the Bankruptcy Code.

          “Professional Amount” means the aggregate amount of Professional Claims and other unpaid fees and
expenses that the Professionals estimate they have incurred or will incur in rendering services to the Debtors as set
forth in Article II.C of the Plan.

        “Professional Claim” means a Claim by a professional seeking an award by the Bankruptcy Court of
compensation for services rendered or reimbursement of expenses incurred through and including the Confirmation
Date under sections 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy Code.

         “Professional Escrow Account” means an interest-bearing account funded by the Debtors with Cash on the
Effective Date in an amount equal to the Professional Amount.

         “Proof of Claim” means a proof of Claim Filed against any of the Debtors in the Chapter 11 Cases.

        “Purchase Agreement” means, solely with respect to the Technology Business Sale, the share and asset
purchase agreement between the Debtors and the Purchaser.

         “Purchaser” means one or more Entities that are the purchasers with respect to the Technology Business
Sale.

          “Reinstate,” “Reinstated,” or “Reinstatement” means with respect to Claims and Interests, that the Claim or
Interest shall not be discharged hereunder and the holder’s legal, equitable, and contractual rights on account of such
Claim or Interest shall remain unaltered by Consummation in accordance with section 1124(1) of the Bankruptcy
Code.

         “Rejected Executory Contracts and Unexpired Leases Schedule” means the schedule of Executory
Contracts and Unexpired Leases to be rejected by the Debtors pursuant to the Plan, which schedule shall be included
in the Plan Supplement, as the same may be amended, modified, or supplemented from time to time; provided that
such schedule shall be in form and substance acceptable to the Required Consenting Lenders.

         “Related Party” means, collectively, current and former directors, managers, officers, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or investment
vehicles, predecessors, participants, successors, assigns, subsidiaries, affiliates, managed accounts or funds, partners,
limited partners, general partners, principals, members, management companies, fund advisors or managers,
employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, heirs, executors, and assigns, and other professionals, in each case solely in their
capacities as such, together with their respective past and present directors, officers, shareholders, partners,
members, employees, agents, attorneys, representatives, heirs, executors and assigns, in each case solely in their
capacities as such.

         “Released Claims” means any Claims or Interests that have been released, discharged, or are subject to
exculpation pursuant to this Plan.

        “Released Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
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Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under
the Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior
Notes Ad Hoc Group; (p) Illuminate Buyer LLC; (q) each current and former Affiliate of each Entity in clause (a)
through (op); and (qr) each Related Party of each Entity in clause (a) through (op); provided that any holder of a
Claim or Interest that opts out of the releases shall not be a “Released Party.”

         “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each Debtor; (b) each
Reorganized Debtor; (c) each Company Party; (d) each DIP Lender and each DIP Letter of Credit Issuer; (e) each
Agent; (f) the Senior Notes Trustee; (g) each Consenting Stakeholder; (h) each Hedge Bank; (i) each Cash
Management Bank; (j) each lender under the Superpriority Credit Agreement, Credit Agreement, the 2021 LC
Agreement, and the Lloyds Letter of Credit Agreement; (k) each holder of an Obligation (as defined in the
Superpriority Credit Agreement) under the Superpriority Credit Agreement; (l) each holder of an Obligation (as
defined in the Credit Agreement) under the Credit Agreement; (m) each Issuer (as defined in the Superpriority Credit
Agreement) under the Superpriority Credit Agreement; (n) each Issuer (as defined in the Credit Agreement) under
the Credit Agreement; (o) the Term Loan Ad Hoc Group, the Liquidity Lender Steering Committee, and the Senior
Notes Ad Hoc Group; (p) all holders of Claims or Interests that vote to accept or are deemed to accept the
PlanIlluminate Buyer LLC; (q) all holders of Claims or Interests that vote to accept the Plan; (r) all holders of
Claims or Interests that are deemed to accept the Plan who do not affirmatively opt out of the releases provided by
the Plan by checking the box on the applicable Notice of Non-Voting Status indicating that they opt not to grant the
releases provided in the Plan; (s) all holders of Claims or Interests that abstain from voting on the Plan and who do
not affirmatively opt out of the releases provided by the Plan by checking the box on the applicable ballot indicating
that they opt not to grant the releases provided in the Plan; (rt) all holders of Claims or Interests that vote to reject
the Plan or are deemed to reject the Plan and who do not affirmatively opt out of the releases provided by the Plan
by checking the box on the applicable ballot or Notice of Non-Voting Status indicating that they opt not to grant the
releases provided in the Plan; (su) each current and former Affiliate of each Entity in clause (a) through (rt); and
(tv) each Related Party of each Entity in clause (a) through (rt).

         “Reorganized Debtors” means collectively, a Debtor, or any successor or assign thereto, by merger,
consolidation, or otherwise, on and after the Effective Date, including any new entity established in connection with
the implementation of the Restructuring Transactions.

        “Reorganized McDermott” means McDermott, or any successor or assign, by merger, consolidation, or
otherwise, on or after the Effective Date.

            “Required Consenting LC Lenders” has the meaning set forth in the Restructuring Support Agreement.

            “Required Consenting Lender” has the meaning set forth in the Restructuring Support Agreement.

            “Required Consenting Noteholders” has the meaning set forth in the Restructuring Support Agreement.

       “Required Consenting Revolving Lenders” has the meaning set forth in the Restructuring Support
Agreement.

            “Required Consenting Stakeholders” has the meaning set forth in the Restructuring Support Agreement.

            “Required Consenting Term Lenders” has the meaning set forth in the Restructuring Support Agreement.

            “Residual Prepetition Funded Secured Claims Pay Down” has the meaning set forth in Article IV.D.4 of
the Plan.


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         “Residual Technology Business Sale Proceeds” means any Technology Business Sale Proceeds remaining
after payment of items (a) through (d) of the Technology Business Sale Proceeds Waterfall for application in
accordance with item (e) of the Technology Business Sale Proceeds Waterfall in accordance with the Plan.

         “Restructuring Expenses” means the prepetition and postpetition reasonable and documented fees and
expenses of the Revolving and LC Administrative Agent Advisors, the Term Loan Ad Hoc Group Advisors, the
Senior Notes Ad Hoc Group Advisors, the Barclays Advisors, and the Senior Notes Trustee and its advisors,
including local and foreign counsel (in each case, in accordance with the terms of their respective engagement letters
with their respective clients, if any).

        “Restructuring Term Sheet” means the Restructuring Term Sheet attached as Exhibit A to the Restructuring
Support Agreement.

          “Restructuring Transactions” means any transaction and any actions as may be necessary or appropriate to
effect a corporate restructuring of the Debtors’ and the Reorganized Debtors’ respective businesses or a corporate
restructuring of the overall corporate structure of the Debtors on the terms set forth in the Plan, Restructuring
Support Agreement, and Restructuring Transactions Memorandum, including the issuance of all Securities, notes,
instruments, certificates, and other documents required to be issued or executed pursuant to the Plan, one or more
inter-company mergers, consolidations, amalgamations, arrangements, continuances, restructurings, conversions,
dissolutions, transfers, liquidations, or other corporate transactions, as described in Article IV.B of the Plan.

         “Restructuring Transactions Memorandum” means a document, in form and substance acceptable to the
Required Consenting Lenders, to be included in the Plan Supplement that will set forth the material components of
the Restructuring Transactions, including the identity of the issuer or issuers of the New Common Stock and any
elections that must be made with respect to the receipt of the New Common Stock.

         “Restructuring Support Agreement” means that certain Restructuring Support Agreement, dated as of
January 201, 2020, by and among the Debtors and the Consenting Stakeholders, as may be further amended,
modified, or supplemented from time to time, in accordance with its terms.

         “Revolving and LC Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in its
capacity as administrative agent for the Revolving Credit Facility and the 2023 LC Facility.

        “Revolving and LC Administrative Agent Advisors” means Linklaters LLP, Bracewell LLP and FTI
Consulting, Inc., as advisors to the DIP LC Agent, the DIP Collateral Agent, the Revolving and LC Administrative
Agent, 2018 Collateral Agent, the Superpriority Revolving Administrative Agent and the Superpriority Collateral
Agent, and any other local or foreign advisors.

         “Revolving Credit” means the Revolving LCs and the Revolving Loans.

         “Revolving Credit Facility” means the senior secured revolving credit facility under the Credit Agreement.

         “Revolving LCCredit Claims” means any Claim for obligations arising under, or relating to, the Revolving
LCs or the Revolving Loans issued under the Revolving Credit Facility, including Claims for all principal amounts
outstanding, interest, fees, expenses, costs and other charges arising thereunder or related thereto.

         “Revolving Credit Facility” means the senior secured revolving credit facility under the Credit Agreement.

         “Revolving LCs” means the letters of credit issued under and on the terms set forth under the Revolving
Credit Facility.

         “Revolving Lenders” means the lenders under the Revolving Credit Facility.




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         “Revolving Loans” means the revolving loans issued under and on the terms set forth under the Revolving
Credit Facility.

        “Rights Offering” means a rights offering providing for the Consenting Noteholders with the right to
purchase up to $150 million of the New Common Stock otherwise earmarked for the holders of Prepetition Funded
Secured Claims valued at the Plan Equity Value in connection with the Restructuring Transactions and in
accordance with the Rights Offering Procedures and Section 12 of the Restructuring Support Agreement.

        “Rights Offering Procedures” means the procedures governing the Rights Offering, as approved by the
Bankruptcy Court.

         “Rights Offering Shares” means the shares of New Common Stock issued in accordance with the Rights
Offering and subject to the terms of the Rights Offering Procedures and the Restructuring Support Agreement.

          “Roll-Off LC Exit Facility” means aeach senior secured letter of credit exit facility pursuant to which each
outstanding Prepetition(other than in respect of the Cash Secured Letters of Credit will be deemed issued on the
Effective Date,) under the Credit Agreement and the 2021 LC Agreement, each as amended by the Exit Facility
Agreement, each of which will be ranked junior to the Senior Exit LC Facility, and otherwise oncontain terms
consistent with the Exit Facilities Term Sheet and satisfactory to the Required Consenting Lenders, andwhich shall
be set forth in the Definitive Documents to be included in the Plan Supplement.

         “Schedule of Retained Causes of Action” means the schedule of certain Causes of Action of the Debtors
that are not released, waived, or transferred pursuant to the Plan, as the same may be amended, modified, or
supplemented from time to time.

         “Section 510(b) Claim” means any Claim or Interest against a Debtor subject to subordination under
section 510(b) of the Bankruptcy Code, whether by operation of law or contract.

         “Secured Claim” means a Claim: (a) secured by a valid, perfected, and enforceable Lien on collateral to
the extent of the value of such collateral, as determined in accordance with section 506(a) of the Bankruptcy Code or
(b) subject to a valid right of setoff pursuant to section 553 of the Bankruptcy Code.

          “Secured Creditor Equity Distribution” means 94% of the New Common Stock less the percentage of New
Common Stock to be turned over on account of (i) the Prepetition Funded Secured Claims Excess Cash Adjustment
and (ii) the Rights Offering, and subject to dilution on account of the Management Incentive Plan and the New
Warrants.

        “Secured Creditor Funded Debt Distribution” means (a) Cash in an amount equal to the Residual
Technology Business Sale Proceeds; (b) Cash in an amount equal to any proceeds of the Rights Offering; (c) the
Secured Creditor Equity Distribution; and (d) the new term loans evidenced by the Term Loan Exit Facility.

          “Secured Creditor Pro Rata Share” means with respect to any recipient of any distribution from the
Secured Creditor Funded Debt Distribution under the Plan, such recipient’s pro rata share thereof measured by
reference to the aggregate amount of: (a) all Allowed Term Loan Claims, (b) all Allowed Revolving Credit Claims
consisting of (x) all Revolving Loans and (y) funded Revolving LCs, (c) all Allowed 2021 Letter of Credit Claims
consisting of funded 2021 Letters of Credit, (d) all Allowed 2023 Letter of Credit Claims consisting of funded 2023
Letters of Credit, (e) all Allowed Lloyds Letter of Credit Claims consisting of funded Lloyds Letters of Credit, and
(f) all Credit Agreement Hedging Claims consisting of Credit Agreement Hedging Obligations, that are not being
rolled into the DIP Credit Facility, in each case as of the date of such distribution.

         “Secured Letter of Credit Cap” has the meaning ascribed to it in the Exit Facilities Term Sheet.




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         “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa, or any similar
federal, state, or local law, as now in effect or hereafter amended, and the rules and regulations promulgated
thereunder.

         “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

          “Senior Exit LC Facility” means a 4-year, senior secured letter of credit exit facility in an amount up to
$1.326 billion, ranked junior to the Super Senior Exit Facility, on terms satisfactory to the Debtors or the
Reorganized Debtors, as applicable, and otherwise on terms satisfactory to the Required Consenting Lenders; and set
forth in the Definitive Documents to be included in the Plan Supplement; provided that the amount of the Senior Exit
LC Facility shall be reduced dollar-for-dollar for each Prepetition Secured Letter of Credit or Lloyds Letter of Credit
that is drawn and not reimbursed in full in Cash during or after the Chapter 11 Cases.

        “Senior Notes” means the 10.625% senior notes due 2024 issued by certain of the Debtors pursuant to the
Senior Notes Indenture.

         “Senior Notes Ad Hoc Group” means, collectively, those certain institutions comprising the ad hoc groups
of holders of the Senior Notes represented by Paul, Weiss, Rifkind, Wharton & Garrison LLP and Brown Rudnick
LLP.

        “Senior Notes Ad Hoc Group Advisors” means Paul, Weiss, Rifkind, Wharton & Garrison LLP, Brown
Rudnick LLP, Houlihan Lokey Capital, Inc., counsel to the Senior Notes Trustee, and any local or foreign advisors.

         “Senior Notes Claims” means all principal and interest outstanding as of the Petition Date under the Senior
Notes.

        “Senior Notes Indenture” means that certain indenture dated as of April 18, 2018, by and among certain of
the Debtors and the Senior Notes Trustee, as may be amended, supplemented, or otherwise modified from time to
time.

         “Senior Notes Trustee” means UMB Bank, N.A., in its capacity as trustee for the Senior Notes Indenture.

         “Severance Arrangements” has the meaning set forth in Article IV.Q of the Plan.

        “Superpriority Agreement Agents” means the Superpriority Revolving Administrative Agent, the
Superpriority Collateral Agent and the Superpriority Term Loan Agent.

         “Superpriority Collateral Agent” means Crédit Agricole Corporate and Investment Bank, in its capacity as
Collateral Agent under the Superpriority Credit Agreement.

         “Superpriority Credit Agreement” means that certain superpriority senior secured credit agreement, dated
October 21, 2019, between certain of the Debtors as borrowers and guarantors, a syndicate of lenders and letter of
credit issuers, the Superpriority Term Loan Agent, and the Superpriority Revolving Administrative Agent, as
amended from time to time.

        “Superpriority Facility” means, collectively, the Superpriority Term Loan Facility and the Superpriority
Revolving Facility.

        “Superpriority Letters of Credit” means the superpriority letters of credit issued under the Superpriority
Revolving Facility.

         “Superpriority Revolving Administrative Agent” means Crédit Agricole Corporate and Investment Bank, in
its capacity as administrative agent for the Superpriority Revolving Facility.



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        “Superpriority Revolving Facility” means the superpriority secured letter of credit facility under the
Superpriority Credit Agreement.

        “Superpriority Term Loan Agent” means Barclays Bank PLC in its capacity as administrative agent for the
Superpriority Term Loan Facility.

        “Superpriority Term Loan Facility” means the superpriority secured term loan credit facility under the
Superpriority Credit Agreement.

         “Superpriority Term Loans” means the superpriority term loans issued under and on the terms set forth
under the Superpriority Term Loan Facility.

           “Super Senior Exit Facility” means a 4-year, super senior secured exit facility consisting of a letter of credit
facility in an amount of $743 million and the Make Whole Tranche (which Make Whole Tranche will be subordinate
in right of payment to the obligations with respect to the letters of credit under the Super Senior Exit Facility on the
terms provided therein), on terms satisfactory to the Required Consenting Lenders and set forth in the Definitive
Documents to be included in the Plan Supplement.

         “Technology Business Sale” means a sale of the Lummus Assets and Interests under this Plan, pursuant to
the Purchase Agreement, and to be agreed to or consummated by the Debtors on the Effective Date.

          “Technology Business Sale Proceeds” means Cash proceeds received from the Technology Business Sale,
net of (a) the reasonable transaction costs in connection with the Technology Business Sale, (b) taxes paid or
reasonably estimated to be payable by the Debtors or Reorganized Debtors as a result of the Technology Business
Sale, (c) any debt service payments due under the DIP Credit Agreement which are required to be repaid or
otherwise becomes due in connection with the Technology Business Sale, and (d) payment of $210 million of
prepetition accounts payable.

        “Technology Business Sale Proceeds Waterfall” means the distribution waterfall for the Technology
Business Sale Proceeds, as described in Article IV.D.3 of this Plan.

         “Term Lenders” means the lenders under the Term Loan Facility.

        “Term Loan Ad Hoc Group” means certain institutions comprising the ad hoc group of lenders in respect of
the Superpriority Term Loans and the lenders in respect of the Term Loan Facility.

        “Term Loan Ad Hoc Group Advisors” means Davis Polk & Wardwell LLP, Porter Hedges LLP,
Centerview Partners, Inc., Ankura Consulting Group, LLC, and any other local or foreign advisors.

        “Term Loan Administrative Agent” means Barclays Bank PLC, in its capacity as administrative agent for
the Term Loan Facility.

         “Term Loan Claims” means any Claim for obligations arising under, or relating to, the Term Loan Facility.

         “Term Loan Exit Facility” means a 5-year senior secured term loan facility in an amount equal to $500
million of take-back debt, ranked pari passu with the Roll-Off LC Exit Facility, and otherwise on terms satisfactory
to the Required Consenting Lenders, and set forth in Definitive Documents to be included in the Plan Supplement.

         “Term Loan Exit Facility Lenders” means those lenders party to the Exit Facility Agreement.

         “Term Loans” means the term loans issued and on the terms set forth under the Term Loan Facility.

         “Term Loan Facility” means the senior secured term loan facility under the Credit Agreement.



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        “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is subject to
assumption or rejection under section 365 of the Bankruptcy Code.

        “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or Interests that is
unimpaired within the meaning of section 1124 of the Bankruptcy Code.

         “Unsecured Claim” means any Claim that is not a Secured Claim.

         “Voting Deadline” means, subject to the approval of the Bankruptcy Court, February 189, 2020, or such
other date as ordered by the Bankruptcy Court.

B.       Rules of Interpretation.

          For purposes of this Plan: (1) in the appropriate context, each term, whether stated in the singular or the
plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter
gender shall include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference
herein to a contract, lease, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions means that the referenced document shall be substantially in that form or
substantially on those terms and conditions; provided that nothing in this clause (2) shall affect any parties’ consent
rights over any of the Definitive Documents or any amendments thereto, as provided for in the Restructuring Support
Agreement; (3) unless otherwise specified, any reference herein to an existing document, schedule, or exhibit,
whether or not Filed, having been Filed or to be Filed shall mean that document, schedule, or exhibit, as it may
thereafter be amended, modified, or supplemented in accordance with the Plan or Confirmation Order, as applicable;
(4) any reference to an Entity as a holder of a Claim or Interest includes that Entity’s successors and assigns;
(5) unless otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto;
(6) unless otherwise specified, all references herein to exhibits are references to exhibits in the Plan Supplement;
(7) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than
to a particular portion of the Plan; (8) subject to the provisions of any contract, certificate of incorporation, by-law,
instrument, release, or other agreement or document entered into in connection with the Plan, the rights and
obligations arising pursuant to the Plan shall be governed by, and construed and enforced in accordance with the
applicable federal law, including the Bankruptcy Code and Bankruptcy Rules; (9) captions and headings to Articles
are inserted for convenience of reference only and are not intended to be a part of or to affect the interpretation of
the Plan; (10) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply; (11) any term used in capitalized form herein that is not otherwise defined but that is used in the
Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or
the Bankruptcy Rules, as the case may be; (12) all references to docket numbers of documents Filed in the Chapter
11 Cases are references to the docket numbers under the Bankruptcy Court’s CM/ECF system; (13) all references to
statutes, regulations, orders, rules of courts, and the like shall mean as amended from time to time, and as applicable
to the Chapter 11 Cases, unless otherwise stated; (14) the words “include” and “including,” and variations thereof,
shall not be deemed to be terms of limitation, and shall be deemed to be followed by the words “without limitation”;
(15) references to “Proofs of Claim,” “holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of
Interest,” “holders of Interests,” “Disputed Interests,” and the like, as applicable; (16) any immaterial effectuating
provisions may be interpreted by the Reorganized Debtors in such a manner that is consistent with the overall
purpose and intent of the Plan all without further notice to or action, order, or approval of the Bankruptcy Court or
any other Entity; and (17) all references herein to consent, acceptance, or approval may be conveyed by counsel for
the respective parties that have such consent, acceptance, or approval rights, including by electronic mail.

C.       Computation of Time.

         Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
succeeding Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably
practicable after the Effective Date.


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D.       Governing Law.

          Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving effect to
the principles of conflict of laws (other than section 5-1401 and section 5-1402 of the New York General
Obligations Law), shall govern the rights, obligations, construction, and implementation of the Plan, any agreements,
documents, instruments, or contracts executed or entered into in connection with the Plan (except as otherwise set
forth in those agreements, in which case the governing law of such agreement shall control), and corporate
governance matters; provided that corporate governance matters relating to the Debtors or the Reorganized Debtors,
as applicable, not incorporated in New York shall be governed by the laws of the state of incorporation or formation
of the relevant Debtor or the Reorganized Debtors, as applicable.

E.       Reference to Monetary Figures.

        All references in the Plan to monetary figures shall refer to currency of the United States of America, unless
otherwise expressly provided herein.

F.       Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the Debtors
or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the
context requires.

G.       Controlling Document.

         In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
control in all respects. In the event of an inconsistency between the Plan and the Plan Supplement, the terms of the
relevant provision in the Plan Supplement shall control (unless stated otherwise in such Plan Supplement document
or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
Confirmation Order shall control.

H.       Consultation, Information, Notice, and Consent Rights.

          Notwithstanding anything herein to the contrary, any and all consultation, information, notice, and consent
rights of the parties to the Restructuring Support Agreement set forth in the Restructuring Support Agreement
(including the exhibits thereto) with respect to the form and substance of this Plan, all exhibits to the Plan, and the
Plan Supplement, and all other Definitive Documents (as defined in the Restructuring Support Agreement),
including any amendments, restatements, supplements, or other modifications to such agreements and documents,
and any consents, waivers, or other deviations under or from any such documents, shall be incorporated herein by
this reference (including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full
herein.

        Failure to reference the rights referred to in the immediately preceding paragraph as such rights relate to
any document referenced in the Restructuring Support Agreement shall not impair such rights and obligations.

                                             ARTICLE II.
                               ADMINISTRATIVE CLAIMS, DIP CLAIMS,
                          PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

         In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP Claims,
Professional Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of
Claims and Interests set forth in Article III hereof.




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A.       Administrative Claims.

          Unless otherwise agreed to by the holder of an Allowed Administrative Claim and the Debtors or the
Reorganized Debtors, as applicable, or otherwise provided for under the Plan or the Restructuring Support
Agreement, each holder of an Allowed Administrative Claim (other than holders of Professional Claims and Claims
for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States Code) will receive in
full and final satisfaction of its Administrative Claim an amount of Cash equal to the amount of such Allowed
Administrative Claim in accordance with the following: (1) if an Administrative Claim is Allowed on or prior to the
Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not then due, when such
Allowed Administrative Claim is due or as soon as reasonably practicable thereafter); (2) if such Administrative
Claim is not Allowed as of the Effective Date, no later than thirty (30) days after the date on which an order allowing
such Administrative Claim becomes a Final Order, or as soon as reasonably practicable thereafter; (3) if such
Allowed Administrative Claim is based on liabilities incurred by the Debtors in the ordinary course of their business
after the Petition Date in accordance with the terms and conditions of the particular transaction giving rise to such
Allowed Administrative Claim without any further action by the holders of such Allowed Administrative Claim; (4)
at such time and upon such terms as may be agreed upon by such holder and the Debtors or the Reorganized
Debtors, as applicable; or (5) at such time and upon such terms as set forth in an order of the Bankruptcy Court.

B.       DIP Claims.

         As set forth in Article IV.D of this Plan, certain of the Technology Business Sale Proceeds shall be used to
pay Allowed DIP Claims (including Allowed DIP Claims with respect to the Make Whole Amount pursuant to the
Technology Business Sale Proceeds Waterfall) outstanding on the Effective Date. Except to the extent that a holder
of an Allowed DIP Claim agrees to less favorable treatment, on the Effective Date, in full and final satisfaction,
settlement, release, and discharge of, and in exchange for, each holder of an Allowed DIP Claim shall receive the
following treatment:

                  (a)      to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                           Waterfall, each holder of an Allowed DIP Term Loan Claim (other than the Make Whole
                           Amount, but including all principal, accrued and unpaid interest, fees and expenses and
                           non-contingent indemnity claims) shall receive payment in full in Cash;

                  (b)      to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                           Waterfall or the proceeds of the Rights Offering, each holder of an Allowed DIP Term
                           Loan Claim constituting the Make Whole Amount shall receive its Pro Rata share of the
                           term loans arising under the Make Whole Tranche;

                  (c)      to the extent not paid in full in accordance with the Technology Business Sale Proceeds
                           Waterfall, each holder of an Allowed DIP LC Claim with respect to drawn DIP Letters of
                           Credit that have not been reimbursed in full in Cash as of the Effective Date shall receive
                           payment in full in Cash;

                  (d)      each holder of an Allowed DIP LC Claim (other than in respect of DIP Cash Secured
                           Letters of Credit) shall receive participation in the Super Senior Exit Facility in an
                           amount equal to each such holder’s DIP Letter of Credit Facility commitments;

                  (e)      each holder of a DIP Cash Secured Letter of Credit Claim shall receive participation in
                           the Cash Secured Exit LC Facility in an amount equal to such holder’s DIP Cash Secured
                           Letter of Credit Claim; provided that any cash collateral in the DIP Cash Secured LC
                           Account (as defined in the DIP Credit Facility Term Sheet) shall collateralize the Cash
                           Secured LC Exit Facility; and

                  (f)      all DIP Hedging Obligations shall be rolled into and deemed incurred under the Super
                           Senior Exit Facility.


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        To the extent the Funded DIP Indebtedness is repaid in full prior to the Effective Date, the Debtors shall
not make any payments to trade vendors for penalty interest payments (excluding, for the avoidance of doubt,
customary liquidated damages to customers) unless such payments had otherwise been specified in the Approved
Budget (as defined in the DIP Credit Agreement) or authorized pursuant to the DIP Financing Orders.

C.       Professional Claims.

         1.   Final Fee Applications and Payment of Professional Claims.

         All requests for payment of Professional Claims for services rendered and reimbursement of expenses
incurred prior to the Confirmation Date must be Filed no later than 45 days after the Effective Date. The
Bankruptcy Court shall determine the Allowed amounts of such Professional Claims after notice and a hearing in
accordance with the procedures established by the Bankruptcy Court. The Reorganized Debtors shall pay
Professional Claims in Cash in the amount the Bankruptcy Court allows, including from the Professional Escrow
Account, which the Reorganized Debtors will establish in trust for the Professionals and fund with Cash equal to the
Professional Amount on the Effective Date.

         2.   Professional Escrow Account.

         On the Effective Date, the Reorganized Debtors shall, in consultation with the Required Consenting
Lenders, establish and fund the Professional Escrow Account with Cash equal to the Professional Amount, which
shall be funded by the Reorganized Debtors. The Professional Escrow Account shall be maintained in trust solely
for the Professionals. Such funds shall not be considered property of the Estates of the Debtors or the Reorganized
Debtors. The amount of Allowed Professional Claims shall be paid in Cash to the Professionals by the Reorganized
Debtors from the Professional Escrow Account as soon as reasonably practicable after such Professional Claims are
Allowed. When such Allowed Professional Claims have been paid in full, any remaining amount in the Professional
Escrow Account shall promptly be paid to the Reorganized Debtors without any further action or order of the
Bankruptcy Court.

         3.   Professional Amount.

         Professionals shall reasonably estimate their unpaid Professional Claims and other unpaid fees and
expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall deliver such
estimate to the Debtors no later than five days before the Effective Date; provided that such estimate shall not be
deemed to limit the amount of the fees and expenses that are the subject of each Professional’s final request for
payment in the Chapter 11 Cases. If a Professional does not provide an estimate, the Debtors or Reorganized
Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

         4.   Post-Confirmation Fees and Expenses.

          Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
shall, in the ordinary course of business and without any further notice to or action, order, or approval of the
Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
related to implementation of the Plan and Consummation incurred by the Debtors. Upon the Confirmation Date, any
requirement that Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in
seeking retention or compensation for services rendered after such date shall terminate, and the Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court.

D.       Priority Tax Claims.

         Except to the extent that a holder of an Allowed Priority Tax Claim agrees to a less favorable treatment, in
full and final satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax



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Claim, each holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code.

E.       Payment of Restructuring Expenses, Consent Fee.

         The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective Date,
and noteholder consent fees payable under Section 12 of the Restructuring Support Agreement payable in Cash,
which, for the avoidance of doubt, shall include the Noteholder Consent Fee (as defined in the Restructuring Support
Agreement), shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent
not previously paid during the course of the Chapter 11 Cases) in accordance with, and subject to, the terms of the
Restructuring Support Agreement, without any requirement to file a fee application with the Bankruptcy Court,
without the need for itemized time detail, or without any requirement for Bankruptcy Court review or approval. All
Restructuring Expenses and Cash consent fees to be paid on the Effective Date shall be estimated prior to and as of
the Effective Date and such estimates shall be delivered to the Debtors at least two (2) Business Days before the
anticipated Effective Date; provided that such estimates shall not be considered an admission or limitation with
respect to such Restructuring Expenses. On or as soon as practicable after the Effective Date, final invoices for all
Restructuring Expenses incurred prior to and as of the Effective Date shall be submitted to the Debtors. In addition,
the Debtors and the Reorganized Debtors (as applicable) shall continue to pay pre- and post-Effective Date, when
due Restructuring Expenses related to implementation, consummation, and defense of the Plan, whether incurred
before, on, or after the Effective Date.

                                         ARTICLE III.
                   CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.       Classification of Claims and Interests.

          This Plan constitutes a separate Plan proposed by each Debtor. Except for the Claims addressed in Article
II hereof, all Claims and Interests are classified in the Classes set forth below in accordance with sections 1122
and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is classified in a particular
Class only to the extent that any portion of such Claim or Interest fits within the description of that Class and is
classified in other Classes to the extent that any portion of the Claim or Interest fits within the description of such
other Classes. A Claim or an Interest also is classified in a particular Class for the purpose of receiving distributions
under the Plan only to the extent that such Claim or Interest is an Allowed Claim or Interest in that Class and has not
been paid, released, or otherwise satisfied prior to the Effective Date.

         The classification of Claims and Interests against the Debtors pursuant to the Plan is as follows:

                Class           Claims and Interests              Status              Voting Rights
                                                                                 Not Entitled to Vote
              Class 1      Other Secured Claims                Unimpaired
                                                                                 (Presumed to Accept)
                                                                                 Not Entitled to Vote
              Class 2      Other Priority Claims               Unimpaired
                                                                                 (Presumed to Accept)
                           Other Prepetition Financing                           Not Entitled to Vote
              Class 3                                          Unimpaired
                           Claims                                                (Presumed to Accept)
                                                                                 Not Entitled to Vote
              Class 4      Bilateral Facility Claims           Unimpaired
                                                                                 (Presumed to Accept)
              Class 5      2021 Letter of Credit Claims        Impaired          Entitled to Vote

              Class 6A     2023 Letter of Credit Claims        Impaired          Entitled to Vote

              Class 6B     Revolving Credit Claims             Impaired          Entitled to Vote

              Class 6C     Term Loan Claims                    Impaired          Entitled to Vote
                           Credit Agreement Hedging
              Class 6D                                         Impaired          Entitled to Vote
                           Claims
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                Class         Claims and Interests              Status            Voting Rights
                          Cash Secured Letter of Credit
              Class 7                                       Impaired         Entitled to Vote
                          Claims
                          Lloyds Letter of Credit                            Not Entitled to Vote
              Class 8                                       IUnimpaired
                          Claims                                             (Presumed to Accept)
              Class 9     Senior Notes Claims               Impaired         Entitled to Vote
                                                                             Not Entitled to Vote
              Class 10    General Unsecured Claims          Unimpaired
                                                                             (Presumed to Accept)
                                                                             Not Entitled to Vote
                                                            Unimpaired /
              Class 11    Intercompany Claims                                (Presumed to Accept or
                                                            Impaired
                                                                             Deemed to Reject)
                          Existing Equity Interests                          Not Entitled to Vote
                                                            Unimpaired /
              Class 12    Other Than in McDermott                            (Presumed to Accept or
                                                            Impaired
                                                                             Deemed to Reject)
                          Existing Preferred Equity                          Not Entitled to Vote
              Class 13                                      Impaired
                          Interests in McDermott                             (Deemed to Reject)
                          Existing Common Equity                             Not Entitled to Vote
              Class 14                                      Impaired
                          Interests in McDermott                             (Deemed to Reject)

B.       Treatment of Claims and Interests.

         Each holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under the Plan the
treatment described below in full and final satisfaction, settlement, release, and discharge of and in exchange for
such holder’s Allowed Claim or Allowed Interest, except to the extent different treatment is agreed to by the
Reorganized Debtors and the holder of such Allowed Claim or Allowed Interest, as applicable. Unless otherwise
indicated, the holder of an Allowed Claim or Allowed Interest, as applicable, shall receive such treatment on the
Effective Date or as soon as reasonably practicable thereafter. The Claims in Classes 5, 6A, 6B, 6C, 6D, and 7 shall
be Allowed to the extent provided in the DIP Financing Orders.

         1.   Class 1 – Other Secured Claims

                  (a)     Classification: Class 1 consists of all Other Secured Claims.

                  (b)     Treatment: Each holder of an Allowed Other Secured Claim shall receive, at the option of
                          the applicable Debtor:

                          (i)      payment in full in Cash of its Allowed Other Secured Claim;

                          (ii)     the collateral securing its Allowed Other Secured Claim;

                          (iii)    Reinstatement of its Allowed Other Secured Claim; or

                          (iv)     such other treatment that renders its Allowed Other Secured Claim Unimpaired
                                   in accordance with section 1124 of the Bankruptcy Code.

                  (c)     Voting: Class 1 is Unimpaired under the Plan. Holders of Other Secured Claims are
                          conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                          Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                          Plan.




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    2.   Class 2 – Other Priority Claims

             (a)      Classification: Class 2 consists of all Other Priority Claims.

             (b)      Treatment: Each holder of an Allowed Other Priority Claim shall receive payment in full
                      in Cash.

             (c)      Voting: Class 2 is Unimpaired under the Plan. Holders of Other Priority Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    3.   Class 3 – Other Prepetition Financing Claims

             (a)      Classification: Class 3 consists of all Other Prepetition Financing Claims.

             (b)      Treatment: Each Allowed Other Prepetition Financing Claim shall be Reinstated.

             (c)      Voting: Class 3 is Unimpaired under the Plan. Holders of Other Prepetition Financing
                      Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
                      of the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or
                      reject the Plan.

    4.   Class 4 – Bilateral Facility Claims

             (a)      Classification: Class 4 consists of all Bilateral Facility Claims.

             (b)      Treatment: Each Allowed Bilateral Facility Claim shall be Reinstated.

             (c)      Voting: Class 4 is Unimpaired under the Plan. Holders of Bilateral Facility Claims are
                      conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                      Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                      Plan.

    5.   Class 5 – 2021 Letter of Credit Claims

             (a)      Classification: Class 5 consists of all 2021 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2021 Letter of Credit Claim shall receive:

                      (i)       with respect to any 2021 Letter of Credit Claims on account of unfunded 2021
                                Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount
                                equal to each such holder’s Allowedparticipation in any such unfunded 2021
                                Letters of Credit Claim,

                      (ii)      with respect to any 2021 Letter of Credit Claims on account of funded 2021
                                Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                                Funded Debt Distribution, and




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                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition
                               Date due to such holder of an Allowed 2021 Letter of Credit Claim pursuant to
                               Section 2.15 of the 2021 LC Agreement.

             (c)      Voting: Class 5 is Impaired under the Plan. Holders of 2021 Letter of Credit Claims are
                      entitled to vote to accept or reject the Plan.

    6.   Class 6A – 2023 Letter of Credit Claims

             (a)      Classification: Class 6A consists of all 2023 Letter of Credit Claims.

             (b)      Treatment: Each holder of an Allowed 2023 Letter of Credit Claim shall receive:

                      (i)      with respect to any 2023 Letter of Credit Claims on account of unfunded 2023
                               Letters of Credit, participation in the Roll-Off LC Exit Facility in an amount
                               equal to each such holder’s Allowedparticipation in any such unfunded 2023
                               Letters of Credit Claim,

                      (ii)     with respect to any 2023 Letter of Credit Claims on account of funded 2023
                               Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                               Funded Debt Distribution, and

                      (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition
                               Date due to such holder of an Allowed 2023 Letter of Credit Claim pursuant to
                               Section 2.15 of the Credit Agreement.

             (c)      Voting: Class 6A is Impaired under the Plan. Holders of 2023 Letter of Credit Claims
                      are entitled to vote to accept or reject the Plan.

    7.   Class 6B – Revolving Credit Claims

             (a)      Classification: Class 6B consists of all Revolving Credit Claims.

             (b)      Allowed Amount: As of the Effective Date, the Revolving Credit Claims shall be Allowed
                      and deemed to be Allowed Claims in the full amount outstanding under the Revolving
                      Credit Facility, including all principal, accrued and unpaid interest at the applicable
                      default rate, and all accrued and unpaid fees, expenses, and noncontingent indemnity
                      payable under the Revolving Credit Facility and the DIP Financing Orders.

             (c)      Treatment: Each holder of an Allowed Revolving Credit Claim shall receive:




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                     (i)      with respect to any Revolving Credit Claims on account of unfunded Revolving
                              LCs, participation in the Roll-Off LC Exit Facility in an amount equal to each
                              such holder’s Allowedparticipation in any such unfunded Revolving Credit
                              ClaimLCs,

                     (ii)     with respect to any Revolving Credit Claims on account of (x) Revolving Loans
                              or (y) funded Revolving LCs, its Secured Creditor Pro Rata Share of the Secured
                              Creditor Funded Debt Distribution, and

                     (iii)    payment in full in Cash of any amounts accrued and unpaid as of the Petition
                              Date due to such holder of an Allowed Revolving Credit Claim pursuant to
                              Section 2.15 of the Credit Agreement.

             (d)     Voting: Class 6B is Impaired under the Plan. Holders of Revolving Credit Claims are
                     entitled to vote to accept or reject the Plan.

    8.   Class 6C – Term Loan Claims

             (a)     Classification: Class 6C consists of all Term Loan Claims.

             (b)     Allowed Amount: As of the Effective Date, the Term Loan Claims shall be Allowed and
                     deemed to be Allowed Claims in the full amount outstanding under the Term Loan
                     Facility, including all principal, accrued and unpaid interest at the applicable default rate,
                     and all accrued and unpaid fees, expenses, and noncontingent indemnity payable under
                     the Term Loan Facility and the DIP Financing Orders.

             (c)     Treatment: Each holder of an Allowed Term Loan Claim shall receive its Secured
                     Creditor Pro Rata Share of the Secured Creditor Funded Debt Distribution.

             (d)     Voting: Class 6C is Impaired under the Plan. Holders of Term Loan Claims are entitled
                     to vote to accept or reject the Plan.

    9.   Class 6D – Credit Agreement Hedging Claims

             (a)     Classification: Class 6D consists of all Credit Agreement Hedging Claims.

             (b)     Treatment: Each holder of an Allowed Credit Agreement Hedging Claim that remains
                     unpaid as of the Effective Date shall receive for any Allowed Credit Agreement Hedging
                     Claims such holder’s Secured Creditor Pro Rata Share of the Secured Creditor Funded
                     Debt Distribution.

             (c)     Voting: Class 6D is Impaired under the Plan. Holders of Credit Agreement Hedging
                     Claims are entitled to vote to accept or reject the Plan.

    10. Class 7 – Cash Secured Letter of Credit Claims

             (a)     Classification: Class 7 consists of all Cash Secured Letter of Credit Claims.

             (b)     Treatment: Each holder of an Allowed Cash Secured Letter of Credit Claim outstanding
                     as of such date shall:




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                     (i)      be deemed to reissue its Cash Secured Letters of Credit under the Cash Secured
                              LC Exit Facility which shall be secured by the same cash collateral which
                              secured the Cash Secured Letters of Credit prior to the Petition Date, and

                     (ii)     receive payment in full in Cash of any amounts accrued and unpaid as of the
                              Petition Date due to such holder of an Allowed Cash Secured Letter of Credit
                              Claim pursuant to Section 2.15 of the Credit Agreement.

            (c)      Voting: Class 7 is Impaired under the Plan. Holders of Cash Secured Letter of Credit
                     Claims are entitled to vote to accept or reject the Plan.

    11. Class 8 – Lloyds Letter of Credit Claims

            (a)      Classification: Class 8 consists of all Lloyds Letter of Credit Claims.

            (b)      Treatment: Each holder of an Allowed Lloyds Letter of Credit Claim shall receive:

                     (i) with respect to any Lloyds Letter of Credit Claims on account of unfunded Lloyds
                              Letters of Credit, participation in the Roll-Off LC Exit Facility in amount equal
                              to such Allowed Lloyds Letter of Credit Claim,

                     (i)      be deemed to issue on the Effective Date its Lloyds Letters of Credit under the
                              Lloyds LC Exit Facility, which from and after the Effective Date shall be
                              secured on a senior and exclusive basis by the cash collateral held by Lloyds LC
                              Bank and/or its affiliates that secured the Lloyds Letters of Credit as of the
                              Effective Date and any standby letters of credit supporting the Lloyds Letters of
                              Credit as of the Effective Date; provided that the cash collateral and/or standby
                              letters of credit, as applicable, securing the Lloyds LC Exit Facility shall be
                              reduced and/or released, as applicable, dollar-for-dollar upon the reduction,
                              expiration, or termination of any Lloyds Letter of Credit in accordance with its
                              terms from and after the Effective Date and upon any such release the applicable
                              cash collateral shall become collateral securing the obligations of the
                              Reorganized Debtors under the Exit Facilities;

                     (ii)     with respect to any Lloyds Letter of Credit Claims on account of funded Lloyds
                              Letters of Credit, its Secured Creditor Pro Rata Share of the Secured Creditor
                              Funded Debt Distributionreceive payment in full in Cash of such amounts from
                              cash collateral and/or standby letters of credit which secure the Lloyds Letters of
                              Credit, and

                     (iii)    receive payment in full in Cash of any amounts accrued and unpaid as of the
                              PetitionEffective Date due to such holder of an Allowed Lloyds Letter of Credit
                              Claim pursuant to Section 1, Section 2(b), and Section 6 of the Lloyds Letter of
                              Credit Agreement.

            (c)      Voting: Class 8 is IUnimpaired under the Plan. Holders of Lloyds Letter of Credit
                     Claims are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
                     of the Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or
                     reject the Plan.




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    12. Class 9 – Senior Notes Claims

            (a)      Classification: Class 9 consists of all Senior Notes Claims.

            (b)      Allowed Amount: $[●]As of the Effective Date, the Senior Notes Claims shall be Allowed
                     and deemed to be Allowed Claims in the principal amount outstanding under the Senior
                     Notes, together with all accrued but unpaid interest as of the Petition Date.

            (c)      Treatment: Each holder of an Allowed Senior Notes Claim shall receive its pro rata share
                     of:

                     (i)      6% of the New Common Stock, plus additional shares of New Common Stock as
                              a result of the Prepetition Funded Secured Claims Excess Cash Adjustment,
                              subject to dilution on account of the New Warrants and the Management
                              Incentive Plan; and

                     (ii)     the New Warrants.

            (d)      Voting: Class 9 is Impaired under the Plan. Holders of Senior Notes Claims are entitled
                     to vote to accept or reject the Plan.

    13. Class 10 – General Unsecured Claims

            (a)      Classification: Class 10 consists of all General Unsecured Claims.

            (b)      Treatment: Each holder of an Allowed General Unsecured Claim shall receive, at the
                     option of the applicable Debtor:

                     (i)      payment in full in Cash; or

                     (ii)     Reinstatement.

            (c)      Voting: Class 10 is Unimpaired under the Plan. Holders of General Unsecured Claims
                     are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the
                     Bankruptcy Code. Therefore, such holders are not entitled to vote to accept or reject the
                     Plan.

    14. Class 11 – Intercompany Claims

            (a)      Classification: Class 11 consists of all Intercompany Claims.

            (b)      Treatment: Each Allowed Intercompany Claim shall be, at the option of the applicable
                     Debtor (with the consent of the Required Consenting Lenders), either:

                     (i)      Reinstated;

                     (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                     (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                              Intercompany Claims will not receive any distribution on account of such
                              Intercompany Claims.




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                  (c)      Voting: Class 11 is conclusively deemed to have accepted the Plan pursuant to
                           section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g)
                           of the Bankruptcy Code. Class 11 is not entitled to vote to accept or reject the Plan.

         15. Class 12 – Existing Equity Interests Other Than in McDermott

                  (a)      Classification:   Class 12 consists of all Existing Equity Interests Other Than in
                           McDermott.

                  (b)      Treatment: Each Existing Equity Interests Other Than in McDermott shall be, at the
                           option of the applicable Debtor, either:

                           (i)      Reinstated;

                           (ii)     canceled, released, and extinguished, and will be of no further force or effect; or

                           (iii)    otherwise addressed at the option of each applicable Debtor such that holders of
                                    Existing Equity Interests Other Than in McDermott will not receive any
                                    distribution on account of such Existing Equity Interests Other Than in
                                    McDermott.

                 (c)      Voting: Class 12 is conclusively deemed to have accepted the Plan pursuant to
                          section 1126(f) of the Bankruptcy Code or rejected the Plan pursuant to section 1126(g)
                          of the Bankruptcy Code. Class 12 is not entitled to vote to accept or reject the Plan.

         16. Class 13 – Existing Preferred Equity Interests

                  (a)      Classification: Class 13 consists of all Existing Preferred Equity Interests.

                  (b)      Treatment: Holders of Existing Preferred Equity Interests will not receive any
                           distribution on account of such Interests, which will be canceled, released, and
                           extinguished as of the Effective Date, and will be of no further force or effect.

                  (c)     Voting: Class 13 is conclusively deemed to have rejected the Plan pursuant to
                          section 1126(g) of the Bankruptcy Code. Class 13 is not entitled to vote to accept or
                          reject the Plan.

         17. Class 14 – Existing Common Equity Interests

                  (a)      Classification: Class 14 consists of all Existing Common Equity Interests.

                  (b)      Treatment: Holders of Existing Common Equity Interests will not receive any
                           distribution on account of such Interests, which will be canceled, released, and
                           extinguished as of the Effective Date, and will be of no further force or effect.

                  (c)      Voting: Class 14 is conclusively deemed to have rejected the Plan pursuant to
                           section 1126(g) of the Bankruptcy Code. Class 14 is not entitled to vote to accept or
                           reject the Plan.

C.       Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
Reorganized Debtors’ rights regarding any Unimpaired Claim, including, all rights regarding legal and equitable
defenses to or setoffs or recoupments against any such Unimpaired Claim.

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D.       Elimination of Vacant Classes.

        Any Class of Claims or Interests that does not have a holder of an Allowed Claim or Allowed Interest or a
Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.       Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests eligible to vote
in such Class vote to accept or reject the Plan, the holders of such Claims or Interests in such Class shall be deemed
to have accepted the Plan.

F.       Intercompany Interests.

         To the extent Reinstated under the Plan, distributions on account of Intercompany Interests are not being
received by holders of such Intercompany Interests on account of their Intercompany Interests but for the purposes
of administrative convenience and due to the importance of maintaining the prepetition corporate structure for the
ultimate benefit of the holders of New Common Stock, and in exchange for the Debtors’ and Reorganized Debtors’
agreement under the Plan to make certain distributions to the holders of Allowed Claims.

G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
of the Plan by one or more of the Classes entitled to vote pursuant to Article III.B of the Plan. The Debtors reserve
the right, subject to the prior consent of the Required Consenting Lenders, which shall not be unreasonably withheld,
to modify the Plan in accordance with Article X hereof and the Restructuring Support Agreement to the extent, if
any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by
modifying the treatment applicable to a Class of Claims or Interests to render such Class of Claims or Interests
Unimpaired to the extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

H.       Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before the
Confirmation Date.

I.       Subordinated Claims.

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the respective
distributions and treatments under the Plan take into account and conform to the relative priority and rights of the
Claims and Interests in each Class in connection with any contractual, legal, and equitable subordination rights
relating thereto, whether arising under general principles of equitable subordination, section 510(b) of the
Bankruptcy Code, or otherwise. Any such contractual, legal, or equitable subordination rights shall be settled,
compromised, and released pursuant to the Plan.

                                             ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

A.       General Settlement of Claims and Interests.

          As discussed in detail in the Disclosure Statement and as otherwise provided herein, pursuant to
section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the classification,
distributions, releases, and other benefits provided under the Plan, upon the Effective Date, the provisions of the
Plan shall constitute a good faith compromise and settlement of all Claims and Interests and controversies resolved
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pursuant to the Plan, including (1) any challenge to the amount, validity, perfection, enforceability, priority or extent
of the DIP Claims, Superpriority Term Loan Claims, Superpriority Revolving Facility Claims, 2021 Letter of Credit
Claims, 2023 Letter of Credit Claims, Revolving LCCredit Claims, Revolving Loan Claims, Term Loan Claims,
Cash Secured Letter of Credit Claims, Credit Agreement Hedging Claims, and Senior Notes Claims and (2) any
claim to avoid, subordinate, or disallow any DIP Claims, Superpriority Term Loan Claims, Superpriority Revolving
Facility Claims, 2021 Letter of Credit Claims, 2023 Letter of Credit Claims, Revolving LCCredit Claims, Revolving
Loan Claims, Term Loan Claims, Cash Secured Letter of Credit Claims, Credit Agreement Hedging Claims, and
Senior Notes Claims, whether under any provision of chapter 5 of the Bankruptcy Code, on any equitable theory
(including equitable subordination, equitable disallowance, or unjust enrichment) or otherwise. The Plan shall be
deemed a motion to approve the good faith compromise and settlement of all such Claims, Interests, and
controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the
Bankruptcy Court’s approval of such compromise and settlement under section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable and in the best interests of the Debtors and their Estates. Subject to Article VI hereof, all
distributions made to holders of Allowed Claims and Allowed Interests (as applicable) in any Class are intended to
be and shall be final.

B.       Restructuring Transactions.

           On or before the Effective Date, the applicable Debtors or the Reorganized Debtors shall enter into and
shall take any actions as may be necessary or appropriate to effect the Restructuring Transactions, including as set
forth in the Restructuring Transactions Memorandum. The actions to implement the Restructuring Transactions may
include: (1) the execution and delivery of appropriate agreements or other documents of merger, amalgamation,
consolidation, restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase,
or liquidation containing terms that are consistent with the terms of the Plan and that satisfy the applicable
requirements of applicable law and any other terms to which the applicable Entities may agree; (2) the execution and
delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any asset, property, right,
liability, debt, or obligation on terms consistent with the terms of the Plan and having other terms for which the
applicable parties agree; (3) the filing of appropriate certificates or articles of incorporation, formation,
reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or dissolution
pursuant to applicable state or provincial law; and (4) all other actions that the applicable Entities determine to be
necessary, including making filings or recordings that may be required by applicable law in connection with the
Plan. The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the Bankruptcy
Code, authorize, among other things, all actions as may be necessary or appropriate to effect any transaction
described in, contemplated by, or necessary to effectuate the Plan. On the Effective Date or as soon as reasonably
practicable thereafter, the Reorganized Debtors, as applicable, shall issue all securities, notes, instruments,
certificates, and other documents required to be issued pursuant to the Restructuring Transactions.

C.       Reorganized Debtors.

         On the Effective Date, the New Board shall be established, and the Reorganized Debtors shall adopt their
New Organizational Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under the Plan as necessary to consummate
the Plan. Cash payments to be made pursuant to the Plan will be made by the Debtors or Reorganized Debtors. The
Debtors and Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine
to be necessary or appropriate to enable the Debtors or Reorganized Debtors, as applicable, to satisfy their
obligations under the Plan. Except as set forth herein, any changes in intercompany account balances resulting from
such transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate the terms of the Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations set forth
in any post-Effective Date agreement, shall have the right and authority without further order of the Bankruptcy
Court to raise additional capital and obtain additional financing, subject to the New Organizational Documents and
the Exit Facility Documents, as the boards of directors of the applicable Reorganized Debtors deem appropriate.


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D.       Technology Business Sale.

         1.   Technology Business Sale Process.

         Following the Petition Date, in consultation with the Consultation Parties (as defined in the Bidding
Procedures), the Debtors shall continue their sale and marketing process and solicit bids for the sale or other
disposition of all or substantially all of the Technology Business Sale, in accordance with the terms and conditions
of the Restructuring Support Agreement (including the Milestones (as defined in the Restructuring Support
Agreement)) and in a manner acceptable to the Required Consenting Lenders. For the avoidance of doubt, the
Debtors may only execute an agreement for the sale or other disposition of any part of the Technology Business with
the consent of the Required Consenting Lenders.

         The Consultation Parties shall have the right to review all information, diligence, documents and other
materials provided by the Debtors or their advisors to any bidder or prospective bidder in connection with the
Technology Business Sale and to consult with the Debtors and their advisors with respect to the Technology
Business Sale. The Debtors shall provide to the Consultation Parties all term sheets, letters, proposals, offers, bids
and other materials, whether non-binding or not, that are received by the Debtors or their advisors in connection with
the Technology Business Sale within one (1) day of receipt by the Debtors or their advisors, as applicable.

         2.   Closing of the Technology Business Sale.

          On or before the Effective Date, the Debtors shall be authorized to consummate the Technology Business
Sale and, among other things, the Lummus Assets and Interests (including Executory Contracts and Unexpired
Leases assumed and assigned pursuant to Article V hereof) shall be transferred to and vest in the Purchaser free and
clear of all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Purchase Agreement and, as
applicable, in accordance with the DIP Credit Agreement, the Confirmation Order or an order approving the
Technology Business Sale; provided that, to the extent the Technology Business Sale is to be consummated pursuant
to the Confirmation Order, the Debtors may request entry of any order supplementing the Confirmation Order that
the Debtors believe is necessary or appropriate to implement the terms and conditions of the Technology Business
Sale. On and after the Effective Date, except as otherwise provided in the Plan, the Debtors or the Purchaser, as
applicable, may operate the Debtors’ businesses and may use, acquire, or dispose of property and compromise or
settle any Claims, Interests, or Causes of Action, in each case relating to the Lummus Assets and Interests, without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules.

         3.   Technology Business Sale Proceeds Waterfall.

        AnyOn the Effective Date, any Technology Business Sale Proceeds that have not otherwise been applied in
accordance with the DIP Credit Agreement shall be applied as follows:

                  (a)      first, to fund the minimum Cash balance of $820 million, as required by the Business
                           Plan,

                  (b)      second, to repay Funded DIP Indebtedness (other than the Make Whole Amount);

                  (c)      third, payment of the Make Whole Amount; and

                  (d)      fourth, to fund cash to support new or additional letters of credit sufficient to meet the
                           $2.44 billion letter of credit capacity contemplated by the Exit Facilities Term Sheet; and

                  (e)      fifth, the repayment of Prepetition Funded Secured Claims on a Pro Rata basis.




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         4.   Residual Prepetition Funded Secured Claims Pay Down.

          On the Effective Date, the Prepetition Funded Secured Claims will be repaid on a pro rata basis from (i) the
Residual Technology Business Sale Proceeds and (ii) any available Cash (such available Cash shall exclude Cash
held in variable interest entities associated with joint venture and consortium arrangements, Cash trapped in foreign
jurisdictions, and insurance captive Cash) in excess of $820 million available cash at emergence after payment of all
fees and transaction expenses ((i) and (ii) together the “Residual Prepetition Funded Secured Claims Pay Down”).

          If the Residual Prepetition Funded Secured Claims Pay Down amount is greater than $0, the initial allocation
of 94% of the New Common Stock to the holders of Prepetition Funded Secured Claims shall be reduced, and the initial
allocation of 6% of the New Common Stock to holders of Senior Notes Claim shall be increased, by the percentage
calculated by dividing:

                  (a)      the Residual Prepetition Funded Secured Claims Pay Down amount by

                  (b)      an amount equal to:

                           (i)      the aggregate amount of Prepetition Funded Secured Claims (including, without
                                    limitation, principal and any accrued prepetition or postpetition interest at the
                                    default rate as applicable) minus an amount equal to the sum of (y) the aggregate
                                    amount of the loans to be issued under the Term Loan Exit Facility and (z) any
                                    proceeds of the Rights Offering up to $150 million; divided by

                           (ii)     94% minus an amount equal to (y) the aggregate proceeds of the Rights Offering up
                                    to $150 million divided by (z) Plan Equity Value

(such adjustment of initial allocations, the “Prepetition Funded Secured Claims Excess Cash Adjustment”).

          For the avoidance of doubt, if the Technology Business Sale Proceeds paid pursuant to the Technology
Business Sale Proceeds Waterfall have not paid the Make Whole Amount in full, all proceeds of the Rights Offering
will (a) first go to the pay down of the Make Whole Amount and (b) once the Make Whole Amount is paid in full,
the Prepetition Funded Secured Claims will be repaid on a pro rata basis from such remaining proceeds of the Rights
Offering.

E.       Pipes Business Sale.

          Following the Confirmation Date, the Debtors shall be authorized to consummate the Pipes Business Sale
with the consent of the Required Consenting Lenders pursuant to the terms of the Pipes Business Sale Documents,
the DIP Credit Agreement, the Plan, and the Confirmation Order. Pursuant to the consummation of the Pipes
Business Sale, the Debtors shall, among other things, transfer all or part of the Pipes Interests to the Pipes Buyers
free and clear of all Liens, Claims, Interests, charges, and other encumbrances (other than any assumed liabilities)
pursuant to sections 363, 365, and/or 1123 of the Bankruptcy Code, this Plan, and the Confirmation Order; provided
that all Liens, Claims, Interests, charges and other encumbrances on Pipes Interests securing any obligations of the
Debtors prior to the closing of the Pipes Business Sale shall attach to the proceeds of the Pipes Business Sale, in the
order of their priority, with the same validity, force, and effect, if any, which they had against such Pipes Interests
prior to the closing of the Pipes Business Sale. The proceeds of the Pipes Business Sale shall be applied (i) prior to
the Effective Date, in accordance with the DIP Credit Agreement; and (ii) on the Effective Date, including to the
extent any Pipes Business Sale proceeds were applied as cash collateral securing the DIP Letters of Credit in
accordance with the DIP Credit Agreement, to fund Cash to the Debtors’ balance sheet to satisfy the conditions
precedent for emergence under Article IX.A of the Plan.

        Pursuant to Article IX hereof, if the conditions precedent to the closing of the Pipes Business Sale shall
have been satisfied in accordance with the Pipes Business Sale Documents (as approved by the Required Consenting
Lenders), then the conditions set forth in Article IX (other than in Article IX.A.b) shall be deemed automatically
waived with respect to the Pipes Entities without notice, leave, or order of the Bankruptcy Court, or any further
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action by the Debtors, the Reorganized Debtors, or any Consenting Stakeholder. Notwithstanding anything to the
contrary herein, upon the closing of the Pipes Business Sale, (x) the Pipes Entities shall not retain any liability
arising out of or in connection with (i) Professional Claims incurred by the Pipes Entities prior to the closing of the
Pipes Business Sale or the funding of the Professional Fee Escrow, (ii) Restructuring Expenses and any consent fees,
(iii) the Restructuring Support Agreement and any fees or obligations thereunder, (iv) the Exit Facilities or the
Lloyds LC Exit Facility, (v) the DIP Cash Secured Letter of Credit Claims or the DIP Claims, and (iv) any adequate
protection claims under the DIP Financing Orders, Bankruptcy Code § 507(b), or otherwise; (y) any consent or
consultation rights in the Restructuring Support Agreement, the Plan, or the Confirmation Order of any Person or
Entity other than the Pipes Entities as Reorganized Debtors shall not be enforceable against or apply to the Pipes
Entities; and (z) the Pipes Interests shall be Reinstated pursuant to Article III of the Plan.

F.       E. Sources of Consideration for Plan Distributions.

         The Debtors and the Reorganized Debtors, as applicable, shall fund distributions under the Plan with:
(1) Cash on hand, including Cash from operations, and the proceeds of the Rights Offering, or the Technology
Business Sale (in accordance with the Technology Business Sale Proceeds Waterfall) and the Pipes Business Sale,
as applicable; (2) the New Common Stock; (3) the proceeds from the Rights Offering; (4) the New Warrants; and
(54) the proceeds fromdistributions under the Exit Facilities, as applicable.

         1.   Exit Facilities.

          On the Effective Date, the Reorganized Debtors shall enter into the Exit Facilities, (the terms of which will
be set forth in the Exit Facility Documents).
         To the extent applicable, Confirmation of the Plan shall be deemed (a) approval of the Exit Facilities
(including the transactions and related agreements contemplated thereby, and all actions to be taken, undertakings to
be made, and obligations to be incurred and fees and expenses to be paid by the Debtors or the Reorganized
Debtors, as applicable, in connection therewith), to the extent not approved by the Bankruptcy Court previously, and
(b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further notice to or order of
the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or appropriate to pursue or
obtain the Exit Facilities, including the Exit Facility Documents, and incur and pay any fees and expenses in
connection therewith, and (ii) act or take action under applicable law, regulation, order, or rule or vote, consent,
authorization, or approval of any Person, subject to such modifications as the Debtors or the Reorganized Debtors,
as applicable, may deem to be necessary to consummate the Exit Facilities.
          Notwithstanding anything in the Plan or the Confirmation Order to the contrary: (x) on the Effective Date,
the cash collateral securing the Cash Secured Letters of Credit outstanding under the Credit Agreement and the cash
collateral securing the DIP Credit Facility shall be transferred to the collateral agent in respect of the Exit Facilities
for the benefit of the secured parties in respect of the Cash Secured LC Exit Facility on a first-priority basis and the
secured parties in respect of the other Exit Facilities as set forth in the Exit Facility Documents; and (y) all Liens
securing the Debtors’ obligations under the DIP Credit Agreement, the Superpriority Credit Agreement, the Credit
Agreement, and the 2021 LC Agreement: (i) shall be unaltered by the Plan, (ii) except as otherwise provided in the
Confirmation Order regarding the release of Liens over Lummus Assets and Interest and the Pipes Interests upon
consummation of the Technology Business Sale and the Pipes Business Sale, shall continue and remain attached to
the property of the Reorganized Debtors and their Affiliates after the Effective Date to the same extent such Liens
were attached to the property of the Debtors prior to the Effective Date, and (iii) shall be deemed assigned on the
Effective Date to the collateral agent in respect of the Exit Facilities for the benefit of the secured parties in respect
of the Exit Facilities (other than the Cash Secured LC Exit Facility) to secure the joint and several obligations of the
Reorganized Debtors under the Exit Facilities as set forth in the Exit Facility Documents; provided that (a) such
Liens shall not secure the Lloyds LC Exit Facility as of the Effective Date and (b) on and after the Effective Date,
the granting, attachment, perfection, priority, and continuation of such Liens shall be governed by the terms of the
Exit Facilities.
          As of the Effective Date, upon the granting or continuation of Liens in accordance with the Plan and the
Exit Facility Documents, such Liens shall constitute valid, binding, enforceable, and automatically perfected Liens in
the collateral specified in the Exit Facility Documents. To the extent provided in the The Exit Facility Documents,
the Exit Facility Agents or holder(s) of Liens under the Exit Facility Documents are authorized to file with the
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appropriate authorities mortgages, financing statements, and other documents, and to take any other action in order
to evidence, validate, and perfect such Liens or security interests. The guarantees, mortgages, pledges, Liens, and
other security interests granted to secure the obligations arising under the Exit Facility Documents have been granted
in good faith, for legitimate business purposes, and for reasonably equivalent value as an inducement to the lenders
thereunder to extentd credit thereunder and shall be deemed not to constitute a fraudulent conveyance or fraudulent
transfer and shall not otherwise be subject to avoidance, recharacterization, or subordination for any purposes
whatsoever and shall not constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or
any applicable nonbankruptcy law, and the priorities of such Liens and security interests shall be as set forth in the
Exit Facility Documents. The Reorganized Debtors and the persons and entities granted such Liens and security
interests shall be authorized to make all filings and recordings, and to obtain all governmental approvals and
consents necessary to establish and perfect such Liens and security interests under the provisions of the applicable
state, federal, or other law that would be applicable in the absence of the Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order and any such
filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens and
security interests to third parties.
         In no event shall the sum of (v) the face amount of letters of credit issued and outstanding at any time under
the Senior Exit LC Facility, plus (w) the face amount of letters of credit issued and outstanding at any time under the
Super Senior Exit Facility, plus (x) the face amount of letters of credit issued or deemed issued and outstanding at
any time under the Roll-Off LC Exit Facility, plus (y) the face amount of letters of credit issued and outstanding at
any time under the Cash Secured LC Exit Facility, plus (z) the face amount of letters of credit issued or deemed
issued and outstanding at any time under the Lloyds LC Exit Facility, exceed the Secured Letter of Credit Cap plus
permitted incremental capacity set forth in the Exit Facilities Term Sheet.
         2.   Issuance of New Common Stock.

          The issuance of the New Common Stock, including the Rights Offering Shares and any options or other
equity awards, if any, reserved for the Management Incentive Plan and the New Warrants (including the New
Common Stock that may be issuable upon exercise of the New Warrants), by the Reorganized Debtors (as set forth
in the Restructuring Transactions Memorandum) shall be authorized without the need for any further corporate
action or without any further action by the holders of Claims or Interests. The Reorganized Debtors shall be
authorized to issue a certain number of shares, units or equity interests (as the case may be based on how the New
Common Stock is denominated and the identity of the Reorganized Debtor issuing such shares, units, or equity
interests) of New Common Stock required to be issued under the Plan and pursuant to their New Organizational
Documents. On the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall issue all Securities,
notes, instruments, certificates, and other documents required to be issued pursuant to the Plan.

          All of the shares, units, or equity interests (as the case may be based on how the New Common Stock is
denominated) of New Common Stock issued or authorized to be issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in Article VI hereof shall
be governed by the terms and conditions set forth in the Plan applicable to such distribution or issuance and by the
terms and conditions of the instruments evidencing or relating to such distribution or issuance, which terms and
conditions shall bind each Entity receiving such distribution or issuance.

          On the Effective Date or as soon as reasonably practicable thereafter, the New Common Stock will be
distributed in accordance with the Plan.

         3.   Rights Offering.

         In accordance with the Restructuring Support Agreement, the applicable Reorganized Debtor shall
consummate the Rights Offering, through which each Consenting Noteholder shall have the opportunity, subject to
the terms and conditions set forth in the Plan and the Rights Offering Procedures, to purchase the Rights Offering
Shares.



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          The Rights Offering Procedures shall be approved within 5 days of Petition Date and shall provide for a
subscription deadline of no later than the Voting Deadline. Subscription rights to participate in the Rights Offering
shall be distributed to the Consenting Noteholders in accordance with the Restructuring Support Agreement, the
Restructuring Term Sheet, and the Plan and the issuance of such subscription rights will be exempt from SEC
registration under applicable law. Proceeds of the Rights Offering to be used (a) first, for Cash pay down of any
portion of the Make Whole Amount that is not paid in full in Cash from Technology Business Sale Proceeds in
accordance with the Technology Business Sale Proceeds Waterfall and (b) second, for Cash pay down of Prepetition
Funded Secured Claims.

         4.   Issuance of New Warrants.

         On the Effective Date, the applicable Reorganized Debtor (as set forth in the Restructuring Transactions
Memorandum) will issue the New Warrants only to the extent required to provide for distributions to holders of the
Senior Notes Claims, as contemplated by this Plan. All of the New Warrants issued pursuant to the Plan and the
shares of New Common Stock that may be issued upon exercise of the New Warrants shall be duly authorized
without the need for any further corporate action and without any further action by the Debtors or Reorganized
Debtors, as applicable, validly issued, fully paid, and non-assessable. Each distribution and issuance referred to in
Article VI hereof shall be governed by the terms and conditions set forth in the Restructuring Support Agreement,
the Plan, and the New Warrant Agreements applicable to such distribution or issuance and by the terms and
conditions of the instruments evidencing or relating to such distribution or issuance, which terms and conditions
shall bind each Entity receiving such distribution or issuance without the need for execution by any party thereto
other than the applicable Reorganized Debtor(s).

         The New Warrants shall be distributed to holders of Senior Notes Claims in accordance with the
Restructuring Support Agreement and the Plan. The New Warrants shall have full customary anti-dilution and
Black-Scholes protection.

         5.   Lloyds LC Exit Facility.

          On the Effective Date, the Reorganized Debtors and Lloyds LC Bank shall enter into the Lloyds LC Exit
Facility. To the extent applicable, entry of the Confirmation Order shall be deemed (a) approval of the Lloyds LC
Exit Facility and (b) authorization for the Debtors or the Reorganized Debtors, as applicable, to, without further
notice to or order of the Bankruptcy Court, (i) execute and deliver those documents and agreements necessary or
appropriate to pursue or obtain the Lloyds LC Exit Facility, and (ii) act or take action under applicable law,
regulation, order, or rule or vote, consent, authorization, or approval of any Person as may be necessary to
consummate the Lloyds LC Exit Facility. Liens on the cash collateral held by Lloyds LC Bank and/or its affiliates
that exclusively secures the Debtors’ obligations under the Lloyds Letter of Credit Agreement: (i) shall be unaltered
by the Plan, (ii) shall continue and remain (to the extent continued under the Lloyds LC Exit Facility) attached to
the property of the Reorganized Debtors after the Effective Date to the same extent such Liens were attached to the
property of the Debtors prior to the Effective Date, and (iii) shall continue to secure the joint and several obligations
of the Reorganized Debtors under the Lloyds LC Exit Facility.

G.       F. Corporate Existence.

          Except as otherwise provided in the Plan or any agreement, instrument, or other document incorporated in
the Plan or the Plan Supplement, each Debtor shall continue to exist after the Effective Date as a separate corporate
entity, limited liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in the
jurisdiction in which each applicable Debtor is incorporated or formed and pursuant to the respective certificate of
incorporation and bylaws (or other formation documents) in effect prior to the Effective Date, except to the extent
such certificate of incorporation and bylaws (or other formation documents) are amended under the Plan or
otherwise, in each case, consistent with the Plan and the Restructuring Support Agreement, and to the extent such
documents are amended in accordance therewith, such documents are deemed to be amended pursuant to the Plan
and require no further action or approval (other than any requisite filings required under applicable state, provincial,
or federal law). After the Effective Date, the respective certificate of incorporation and bylaws (or other formation

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documents) of one or more of the Reorganized Debtors may be amended or modified on the terms therein without
supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy
Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed of, dissolved, wound
down, or liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

H.       G. Vesting of Assets in the Reorganized Debtors.

          Except as otherwise provided in the Confirmation Order, the Plan (including, for the avoidance of doubt,
the Restructuring Transactions Memorandum), or any agreement, instrument, or other document incorporated in, or
entered into in connection with or pursuant to, the Plan or Plan Supplement, on the Effective Date, all property in
each Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan shall vest in
each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances. On and
after the Effective Date, except as otherwise provided in the Plan, each Reorganized Debtor may operate its business
and may use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules.

I.       H. Cancellation of Existing Securities and Agreements.

          On the Effective Date, except to the extent otherwise provided in the Plan or theExit Facility Documents,
the Plan (including, without limitation, under Article IV.F.1 of the Plan) and the Confirmation Order, all notes,
instruments, certificates, credit agreements, indentures, and other documents evidencing Claims or Interests shall be
cancelled and the obligations of the Debtors thereunder or in any way related thereto shall be deemed satisfied in
full, cancelled, discharged, and of no force or effect. Holders of or parties to such cancelled instruments, Securities,
and other documentation will have no rights arising from or relating to such instruments, Securities, and other
documentation, or the cancellation thereof, except the rights provided for pursuant to this Plan or the Confirmation
Order. Notwithstanding anything to the contrary herein, but subject to any applicable provisions of Article VI
hereof, to the extent cancelled pursuant to this paragraph, the DIP Credit Agreement, 2021 LC Agreement, the
Credit Agreement, and the Senior Notes Indenture shall continue in effect solely to the extent necessary to: (1)
permit holders of Claims under the Senior Notes Indenture to receive their respective Plan Distributions, if any;
(2) permit the Reorganized Debtors and the Disbursing Agent, as applicable, to make Plan Distributions on account
of the Allowed Claims under the Senior Notes Indenture; (3) permit the Senior Notes Trustee to seek compensation
and/or reimbursement of fees and expenses in accordance with the terms of this Plan; (4) allow the Senior Notes
Trustee to enforce its rights, claims, and interests against any party other than the Debtors; (5) preserve any rights of
the Senior Notes Trustee to payment of fees, expenses, and indemnification obligations as against any money or
property distributable to holders of Claims under the Senior Notes Indenture, including any rights to priority of
payment and/or to exercise charging liens; and (6) permit the Senior Notes Trustee to appear and be heard in the
Chapter 11 Cases or in any proceeding in the Bankruptcy Court, including to enforce any obligation owed to the
Senior Notes Trustee or other holders of Claims under Senior Notes Indenture. Notwithstanding anything to the
contrary herein, but subject to any applicable provisions of Article VI hereof and the Confirmation Order, the DIP
Credit Agreement, the Superpriority Credit Agreement, 2021 LC Agreement, and the Credit Agreement shall
continue in effect to: (1) permit holders of Claims under the DIP Credit Agreement, the 2021 LC Agreement, and
the Credit Agreement, and the Senior Notes Indenture to receive their respective Plan Distributions, if any;
(2) permit the Reorganized Debtors and the Disbursing Agent, as applicable, to make Plan Distributions on account
of the Allowed Claims under the DIP Credit Agreement, the 2021 LC Agreement, and the Credit Agreement, and the
Senior Notes Indenture, as applicable; (3) permit each of the DIP Agents, the Revolving and LC Administrative
Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent, the Superpriority Term Loan
Agent, and the Senior Notes TrusteeSuperpriority Revolving Administrative Agent to seek compensation and/or
reimbursement of fees and expenses in accordance with the terms of this Plan; and (4 and the Confirmation Order;
(4) allow each of (x) the Revolving and LC Administrative Agent and any issuer of a letter of credit under the Credit
Agreement to enforce its rights, claims, and interests against any Defaulting Lender (as defined in the Credit
Agreement); and (y) the 2021 LC Administrative Agent and any issuer of 2021 Letters of Credit to enforce its rights,
claims and interests against any Defaulting Participant (as defined in the 2021 LC Agreement); (5) permit each of
the DIP Agent, the Revolving and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC
Administrative Agent, Superpriority Term Loan Agent, and the Senior Notes TrusteeSuperpriority Revolving
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Administrative Agent, to appear and be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court,
including to enforce any obligation owed to the DIP Agent, the Revolving and LC Administrative Agent, the Term
Loan Administrative Agent, the 2021 LC Administrative Agent, and the Superpriority Term Loan Agent, and the
Senior Notes Trustee, or or other holders of Claims under the DIP Credit Agreement, the Superpriority Credit
Agreement, the 2021 LC Agreement, and the Credit Agreement, and the Senior Notes Indenture(6) preserve the
rights and obligations of the parties under the Exit Facility Documents. Except as provided in this Plan (including
Article VI hereof), the Confirmation Order and the Exit Facilities, on the Effective Date, the DIP Agents, the
Revolving and LC Administrative Agent, the Term Loan Administrative Agent, the 2021 LC Administrative Agent,
the Superpriority Term Loan Agent, the Superpriority Revolving Administrative Agent and the Senior Notes
Trustee, and their respective agents, successors, and assigns, shall be automatically and fully discharged of all of
their duties and obligations associated with the DIP Credit Agreement, the Superpriority Credit Agreement, the 2021
LC Agreement, the Credit Agreement, and the Senior Notes Indenture, as applicable. To the extent cancelled in
accordance with this paragraph, the commitments and obligations (if any) of the holders of the Senior Notes and the
lenders under the DIP Credit Agreement, the Superpriority Credit Agreement, the Credit Agreement, and the 2021
LC Agreement to extend any further or future credit or financial accommodations to any of the Debtors, any of their
respective subsidiaries or any of their respective successors or assigns under the DIP Credit Agreement, the 2021 LC
Agreement, the Superpriority Credit Agreement the Credit Agreement, and the Senior Notes Indenture, as
applicable, shall fully terminate and be of no further force or effect on the Effective Date.

J.       I. Corporate Action.

          Upon the Effective Date, all actions contemplated under the Plan shall be deemed authorized and approved
in all respects, including: (1) adoption or assumption, as applicable, of the Compensation and Benefit Programs;
(2) selection of the directors and officers for the Reorganized Debtors; (3) the issuance and distribution of the New
Common Stock; (4) implementation of the Restructuring Transactions, including the Rights Offering, the Pipes
Business Sale, and the Technology Business Sale; (5) issuance and distribution of the New Warrants; (6) entry into
the New Warrants Agreements and the Exit Facility Documents, as applicable; (7) all other actions contemplated
under the Plan (whether to occur before, on, or after the Effective Date); (8) adoption of the New Organizational
Documents; (9) the rejection, assumption, or assumption and assignment, as applicable, of Executory Contracts and
Unexpired Leases; and (10) all other acts or actions contemplated or reasonably necessary or appropriate to
promptly consummate the Restructuring Transactions contemplated by the Plan (whether to occur before, on, or after
the Effective Date). All matters provided for in the Plan involving the corporate structure of the Debtors or the
Reorganized Debtors, and any corporate, partnership, limited liability company, or other governance action required
by the Debtors or the Reorganized Debtor, as applicable, in connection with the Plan shall be deemed to have
occurred and shall be in effect, without any requirement of further action by the Security holders, members,
directors, or officers of the Debtors or the Reorganized Debtors, as applicable. On or (as applicable) prior to the
Effective Date, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be authorized
and (as applicable) directed to issue, execute, and deliver the agreements, documents, Securities, and instruments
contemplated under the Plan (or necessary or desirable to effect the transactions contemplated under the Plan) in the
name of and on behalf of the Reorganized Debtors, including the New Common Stock, the New Organizational
Documents, the Exit Facility Documents, the New Warrants, the New Warrants Agreements (as applicable), the
Pipes Business Sale Documents, the Purchase Agreement, and any and all other agreements, documents, Securities,
and instruments relating to the foregoing. The authorizations and approvals contemplated by this Article IV.I Article
IV.J shall be effective notwithstanding any requirements under non-bankruptcy law.

K.       J. New Organizational Documents.

         On or immediately prior to the Effective Date, the New Organizational Documents shall be automatically
adopted by the applicable Reorganized Debtors. To the extent required under the Plan or applicable non-bankruptcy
law, each of the Reorganized Debtors will file its New Organizational Documents with the applicable Secretaries of
State and/or other applicable authorities in its respective state or country of organization if and to the extent required
in accordance with the applicable laws of the respective state or country of organization. The New Organizational
Documents will (a) prohibit the issuance of non-voting equity Securities, to the extent required under
section 1123(a)(6) of the Bankruptcy Code and (b) provide for customary minority shareholder protections and


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information and reporting requirements subject to the consent rights set forth in Section 3.02 of the Restructuring
Support Agreement.

         After the Effective Date, the Reorganized Debtors may amend and restate their respective New
Organizational Documents in accordance with the terms thereof, and the Reorganized Debtors may file such
amended certificates or articles of incorporation, bylaws, or such other applicable formation documents, and other
constituent documents as permitted by the laws of the respective states, provinces, or countries of incorporation and
the New Organizational Documents.

L.       K. Indemnification Obligations.

          Consistent with applicable law, all indemnification provisions in place as of the Effective Date (whether in
the by-laws, certificates of incorporation or formation, limited liability company agreements, other organizational
documents, board resolutions, indemnification agreements, employment contracts, or otherwise) for current and
former directors, officers, managers, employees, attorneys, accountants, investment bankers, and other professionals
of the Debtors, as applicable, shall be reinstated and remain intact, irrevocable, and shall survive the effectiveness of
the Plan on terms no less favorable to such current and former directors, officers, managers, employees, attorneys,
accountants, investment bankers, and other professionals of the Debtors than the indemnification provisions in place
prior to the Effective Date[; provided that the Reorganized Debtors shall not indemnify current or former officers,
directors, managers, employees, attorneys, accountants, investment bankers, or other professionals of the Debtors for
any claims or Causes of Action arising out of or relating to any act or omission that is a criminal act or constitutes
intentional fraud, gross negligence, or willful misconduct.] Notwithstanding the foregoing, in the event of the
closing of the Pipes Business Sale, the Pipes Entities shall maintain such indemnification obligations only to the
extent required under the Pipes Business Sale Documents.

M.       L. Directors and Officers of the Reorganized Debtors.

         As of the Effective Date, the terms of the current members of the board of directors of McDermott shall
expire and the new directors and officers of the Reorganized McDermott shall be appointed. The New Board will
consist of [●]seven (7) directors: (i) the Chief Executive Officer of Reorganized McDermott, (ii) [●]six (6) directors
selected by thecertain Required Consenting Term Lenders, and (iii) [●] directors selected by the Required
Consenting Revolving Lenders and the Required Consenting LCRevolving Lenders. The identities of directors on
the New Board shall be set forth in the Plan Supplement to the extent known at the time of filing. Corporate
governance for Reorganized McDermott, including charters, bylaws, operating agreements, or other organization
documents, as applicable, shall: (a) be consistent with the Restructuring Term Sheet, Section 3 of the Restructuring
Support Agreement, and section 1123(a)(6) of the Bankruptcy Code; and (b) provide for customary minority
shareholder protections and information and reporting requirements reasonably acceptable to the Debtors and the
Required Consenting Stakeholders.

N.       M. Effectuating Documents; Further Transactions.

         On and after the Effective Date, the Reorganized Debtors, and their respective officers, directors, members,
or managers (as applicable), are authorized to and may issue, execute, deliver, file, or record such contracts,
Securities, instruments, releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement, and further evidence the terms and conditions of the Plan, Exit Facilities
entered into, and the Securities issued pursuant to the Plan in the name of and on behalf of the Reorganized Debtors,
without the need for any approvals, authorization, or consents except for those expressly required pursuant to the
Plan.

O.       N. Section 1146 Exemption.

          To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfers (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan or pursuant to: (1) the issuance,
distribution, transfer, or exchange of any debt, equity Security, or other interest in the Debtors or the Reorganized
Debtors, including the New Common Stock and the New Warrants (including the New Common Stock that may be

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issuable upon exercise of the New Warrants); (2) the Restructuring Transactions; (3) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security interest, or
the securing of additional indebtedness by such or other means; (4) the making, assignment, or recording of any
lease or sublease; (5) the grant of collateral as security for the Reorganized Debtors’ obligations under and in
connection with the Exit Facilities; or (6) the making, delivery, or recording of any deed or other instrument of
transfer under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in any
way related to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, real estate transfer tax, personal property transfer tax, sales or use tax, mortgage recording
tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording fee, or other similar tax or
governmental assessment, and upon entry of the Confirmation Order, the appropriate state or local governmental
officials or agents shall forego the collection of any such tax or governmental assessment and accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such tax, recordation
fee, or governmental assessment. All filing or recording officers (or any other Person with authority over any of the
foregoing), wherever located and by whomever appointed, shall comply with the requirements of section 1146(a) of
the Bankruptcy Code, shall forego the collection of any such tax or governmental assessment, and shall accept for
filing and recordation any of the foregoing instruments or other documents without the payment of any such tax or
governmental assessment.

P.       O. Director and Officer Liability Insurance.

          Notwithstanding anything in the Plan to the contrary, the Reorganized Debtors shall be deemed to have
assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the Bankruptcy Code
effective as of the Effective Date. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of the Reorganized Debtors’ foregoing assumption of each of the unexpired D&O Liability Insurance Policies.
Notwithstanding anything to the contrary contained in the Plan, Confirmation of the Plan shall not discharge, impair,
or otherwise modify any indemnity obligations assumed by the foregoing assumption of the D&O Liability Insurance
Policies, and each such indemnity obligation will be deemed and treated as an Executory Contract that has been
assumed by the Debtors under the Plan as to which no Proof of Claim need be filed.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise reduce
the coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect on or after the
Petition Date, with respect to conduct occurring prior thereto, and all directors and officers of the Debtors who
served in such capacity at any time prior to the Effective Date shall be entitled to the full benefits of any such policy
for the full term of such policy, to the extent set forth therein, regardless of whether such directors and officers
remain in such positions after the Effective Date. Notwithstanding the foregoing, in the event of the closing of the
Pipes Business Sale, the Pipes Entities shall maintain such D&O Liability Insurance Policies (including any “tail
policy”) only to the extent required under the Pipes Business Sale Documents.

Q.       P. Management Incentive Plan.

          Effective on the Effective Date, the Reorganized Debtors will (i) reserve 7.5% of New Common Stock (on
a fully diluted and fully distributed basis, but subject to dilution on account of the New Warrants) which may be
granted in the form of options, restricted stock, restricted stock units, warrants, stock appreciations rights or any
combination thereof (each an “Award” and such reserve, the “MIP Pool”) for grant to management employees and
members of the New Board andin accordance with the terms of this Article IV.Q and as set forth in the Plan
Supplement and (ii) enter into severance and change in control arrangements (“Severance Arrangements”) with
senior executives of the Debtors that are insiders pursuant to Section 16 of the Exchange Act (“Senior Executives”)
in amounts and on terms and conditions to be agreed with and approved by the Required Consenting Lenders. The
New Board shall grant no less than 53.33% of the MIP Pool to the employees of the Debtors no later than 60 days
following the Effective Date (the “Emergence Awards”) with the terms of the Emergence Awards to be determined
as set forth belowin the Plan Supplement and the remainder of the MIP Pool will be available for future grants to
management, employees, and members of the New Board with allocations, terms, and conditions to be determined
by the New Board. From the Petition Date through entry of the Confirmation Order, the Debtors, the Required
Consenting Lenders and any consultants or advisors engaged by the Required Consenting Lenders will use

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commercially reasonable efforts to agree on an allocation schedule and the terms, conditions, vesting and
composition (including, for the avoidance of doubt, which may be in any form of Award) of the Emergence Awards
(together, the “MIP Proposal”), and during this period the Debtors will use commercially reasonable efforts to
facilitate meetings between the Required Consenting Lenders and the Debtors’ key management personnel. As soon
as reasonably practicable following the Effective Date but no later than 60 days following the Effective Date, the
New Board shall consider the MIP Proposal for approval and New Board shall determine the final terms and
conditions of the actual grants. A Senior Executive will be permitted to voluntarily terminate for “Good Reason”
and receive the severance benefits under the Severance Arrangements if the Senior Executive does not receive an
Emergence Award.

R.       Q. Employee and Retiree Benefits.

         Unless otherwise provided herein, and subject to Article V hereof, all employee wages, compensation, and
benefit programs in place as of the Effective Date with the Debtors shall be assumed by the Reorganized Debtors
and shall remain in place as of the Effective Date, and the Reorganized Debtors will continue to honor such
agreements, arrangements, programs, and plans. For the avoidance of doubt, pursuant to section 1129(a)(13) of the
Bankruptcy Code, from and after the Effective Date, all retiree benefits (as such term is defined in section 1114 of
the Bankruptcy Code), if any, shall continue to be paid in accordance with applicable law. OnNotwithstanding the
foregoing, on the Effective Date, the Debtors shall enter into severance and change in control arrangements with
Senior Executives in amounts and on terms and conditions to be agreed with and approved by the Required
Consenting Lenders. which, to the extent provided therein, shall supersede and replace any severance or change of
control agreements with such Senior Executives existing prior to the Effective Date and the long-term components of
any key employee retention plan or key employee incentive plan existing on the Effective Date shall be subject to
modification or termination, as applicable, by the New Board upon adoption of the Management Incentive Plan.

S.       R. Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, but subject to Article VIII hereof, each
Reorganized Debtor, as applicable, shall retain and may enforce all rights to commence and pursue, as appropriate,
any and all Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights to
commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding the occurrence of the
Effective Date, other than the Causes of Action released by the Debtors pursuant to the releases and exculpations
contained in the Plan, including in Article VIII hereof, which shall be deemed released and waived by the Debtors
and the Reorganized Debtors as of the Effective Date.

          The Reorganized Debtors may pursue such retained Causes of Action, as appropriate, in accordance with
the best interests of the Reorganized Debtors. No Entity (other than the Released Parties) may rely on the
absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the Reorganized Debtors, as applicable, will not pursue
any and all available Causes of Action of the Debtors against it. The Debtors and the Reorganized Debtors
expressly reserve all rights to prosecute any and all Causes of Action against any Entity, except as otherwise
expressly provided in the Plan, including Article VIII hereof. Unless otherwise agreed upon in writing by the
parties to the applicable Cause of Action, all objections to the Schedule of Retained Causes of Action must be
Filed with the Bankruptcy Court on or before thirty (30) days after the Effective Date. Any such objection
that is not timely filed shall be disallowed and forever barred, estopped, and enjoined from assertion against
any Reorganized Debtor, without the need for any objection or responsive pleading by the Reorganized
Debtors or any other party in interest or any further notice to or action, order, or approval of the
Bankruptcy Court. The Reorganized Debtors may settle any such objection without any further notice to or action,
order, or approval of the Bankruptcy Court. If there is any dispute regarding the inclusion of any Cause of Action on
the Schedule of Retained Causes of Action that remains unresolved by the Debtors or Reorganized Debtors, as
applicable, and the objection party for thirty (30) days, such objection shall be resolved by the Bankruptcy Court.
Unless any Causes of Action of the Debtors against an Entity are expressly waived, relinquished, exculpated,
released, compromised, or settled in the Plan or a Final Order, the Reorganized Debtors expressly reserve all Causes
of Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata,

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collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall
apply to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors notwithstanding the
rejection or repudiation of any Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to
the Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code, any Causes of Action that a Debtor may
hold against any Entity shall vest in the Reorganized Debtors, except as otherwise expressly provided in the Plan,
including Article VIII hereof. The applicable Reorganized Debtors, through their authorized agents or
representatives, shall retain and may exclusively enforce any and all such Causes of Action. The Reorganized
Debtors shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to
do any of the foregoing without the consent or approval of any third party or further notice to or action, order, or
approval of the Bankruptcy Court.

                                       ARTICLE V.
                TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided in Article V.H.1 and elsewhere herein, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected will be deemed assumed by the applicable
Reorganized Debtor (and assigned to the party(ies) set forth in the Technology Business Sale Documents, as
applicable) in accordance with the provisions and requirements of sections 365 and 1123 of the Bankruptcy Code,
other than those that are: (1) identified on the Rejected Executory Contracts and Unexpired Leases Schedule;
(2) previously expired or terminated pursuant to their own terms; (3) have been previously assumed or rejected by
the Debtors pursuant to a Final Order; (4) are the subject of a motion to reject that is pending on the Effective Date;
or (5) have an ordered or requested effective date of rejection that is after the Effective Date.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases as set forth
in the Plan, the Assumed Executory Contract and Unexpired Leases Schedule, or the Rejected Executory Contracts
and Unexpired Leases Schedule, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise
specifically set forth herein, assumptions or rejections of Executory Contracts and Unexpired Leases pursuant to the
Plan are effective as of the Effective Date. Each Executory Contract or Unexpired Lease assumed pursuant to the
Plan or by Bankruptcy Court order but not assigned to a third party before the Effective Date shall re-vest in and be
fully enforceable by the applicable contracting Reorganized Debtor in accordance with its terms, except as such
terms may have been modified by the provisions of the Plan or any order of the Bankruptcy Court authorizing and
providing for its assumption. Any motions to assume Executory Contracts or Unexpired Leases pending on the
Effective Date shall be subject to approval by a Final Order on or after the Effective Date but may be withdrawn,
settled, or otherwise prosecuted by the Reorganized Debtors.

          To the maximum extent permitted by law, to the extent any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to the Plan restricts or prevents, or purports to restrict
or prevent, or is breached or deemed breached by, the assumption or assumption and assignment of such Executory
Contract or Unexpired Lease (including any “change of control” provision), then such provision shall be deemed
modified such that the transactions contemplated by the Plan shall not entitle the non-Debtor party thereto to
terminate such Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect
thereto. Notwithstanding anything to the contrary in the Plan, the Debtors or the Reorganized Debtors, as
applicable, reserve the right to alter, amend, modify, or supplement the Assumed Executory Contracts and
Unexpired Leases Schedule and the Rejected Executory Contracts and Unexpired Leases Schedule at any time up to
forty-five (45) days after the Effective Date, so long as such allocation, amendment, modification, or supplement is
consistent with the Restructuring Support Agreement; provided that the Cameron LNG Project Obligations shall be
assumed as of the Effective Date in accordance with Article V.J.



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B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases.

          Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs of Claim with respect to
Claims arising from the rejection of Executory Contracts or Unexpired Leases, pursuant to the Plan or the
Confirmation Order, if any, must be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection,
(2) the effective date of such rejection, or (3) the Effective Date. Any Claims arising from the rejection of an
Executory Contract or Unexpired Lease not Filed with the Bankruptcy Court within such time will be
automatically disallowed, forever barred from assertion, and shall not be enforceable against the Debtors or
the Reorganized Debtors, the Estates, or their property without the need for any objection by the
Reorganized Debtors or further notice to, or action, order, or approval of the Bankruptcy Court or any other
Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired Lease shall be
deemed fully satisfied, released, and discharged, notwithstanding anything in the Proof of Claim to the
contrary. All Allowed Claims arising from the rejection of the Debtors’ Executory Contracts or Unexpired Leases
shall be classified as General Unsecured Claims and shall be treated in accordance with Article III.B.13 of this Plan.

C.       Cure of Defaults for Assumed Executory Contracts and Unexpired Leases and Lummus Executory
         Contracts or Unexpired Leases.

          No later than seven (7) calendar days before the Confirmation Hearing, the Debtors shall provide notices of
proposed Cure amountsassumptions to the counterparties to the agreements listed on the Assumed Executory
Contracts and Unexpired Leases Schedule, which shall include a description of the procedures for
objectingresolving disputes related to the proposed Cure amounts or the Reorganized Debtors’ ability to provide
“adequate assurance of future performance thereunder” (within the meaning ofassumption of applicable Executory
Contracts and Unexpired Leases. Absent any pending dispute, the monetary and nonmonetary defaults existing as of
the assumption of the Executory Contract(s) and Unexpired Lease(s) assumed pursuant to this Article V will be
satisfied by the Debtors in compliance with section 365(b)(1) of the Bankruptcy Code). Unless otherwise agreed in
writing by the parties in the applicable To the extent there is a dispute related to any cures of defaults arising under
such Executory Contract(s) and Unexpired Lease(s) (other than Lummus Executory Contracts or Unexpired Leases),
payment of any such disputed Cure amounts and the cure of any nonmonetary defaults shall be reconciled in the
ordinary course of the Debtors’ business and all parties’ rights shall be reserved with respect thereto, including all
rights to receive payment in full of any such Cures whether arising before or after the Effective Date and the right to
object prior to or after the Effective Date to any assumption or cures relating thereto. The reconciliation, settlement,
and payment of any monetary defaults over $7.5 million in respect of any single Executory Contract or Unexpired
Lease, any objection by a counterparty to anor group of related Executory Contracts or Unexpired Leases to a
proposed assumption or related Cure amount must be Filed, served, and actually received by the counsel to the
Debtor no later than the date and time specified in the notice. Any counterparty prior to or on the Effective Date
shall be subject to the approval of the Required Consenting Lenders.

         to anExcept with regard to Lummus Executory Contracts or Unexpired Leases that fails to object timely to
the proposed assumption or Cure amount will be deemed to have assented to such assumption or Cure amount, there
shall be no need to file an objection to reserve rights with respect to disputes relating to monetary and nonmonetary
cures and such cures will be reconciled in the ordinary course of the Debtors’ business. Notwithstanding anything
herein to the contrary, except with regard to Lummus Executory Contracts or Unexpired Leases, in the event that any
Executory Contract or Unexpired Lease is added to the Assumed Executory Contracts and Unexpired Leases
Schedule after such seven-day deadlinethe provision of notices of proposed assumptions described above, a notice
of proposed Cure amountsassumption with respect to such Executory Contract or Unexpired Lease will be sent
promptly to the counterparty thereof.

         With regard to any Lummus Executory Contracts or Unexpired Leases, no later than thirty (30) days before
the Effective Date of the Plan, the Debtors shall provide notices of proposed assumptions to the counterparties to
any assumed Lummus Executory Contracts or Unexpired Leases, which shall include, with respect to each such
Lummus Executory Contract or Unexpired Lease, the Debtors’ good faith estimate of the amount of any cure. Each
notice of proposed assumption shall state whether the applicable Lummus Executory Contract or Unexpired Lease is
being assumed by the Debtors or assumed and assigned to the Lummus Buyer. To the extent there is a dispute

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related to either a monetary Cure amount or nonmonetary default, the Debtors, with consent of the Lummus Buyer
and in accordance with the Stalking Horse SAPA, may elect to: (i) not assume or assume and assign to the Buyer the
relevant Lummus Executory Contract or Unexpired Lease; (ii) postpone the assumption of such Lummus Executory
Contract or Unexpired Lease until the resolution of such objection; or (iii) reserve the disputed portion of the Cure
of the monetary default and, and subject to cure of any nonmonetary defaults, assume such Lummus Executory
Contract or Unexpired Lease on the Effective Date. The assumption or assumption and assignment of the assumed
Lummus Executory Contracts or Unexpired Leases is subject to the cure of all nonmonetary defaults (other than
defaults triggered by the filing of the Chapter 11 Cases by the Debtors) prior to the Effective Date of the Plan.

          Unless otherwise agreed upon in writing by the parties toin the applicable Lummus Executory Contract or
Unexpired Lease, all requests for payment of Cure that differ from the amounts paid or proposed to be paid by the
Debtors or the Reorganized Debtors to a counterparty must be Filed with the Bankruptcy Court on or before thirty
(30) days after the Effective Date. Any such request that is not timely filed shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without the
need for any objection by the Reorganized Debtors or any other party in interest or any further notice to or action,
order, or approval of the Bankruptcy Court. Any Cure shall be deemed fully satisfied, released, and discharged upon
payment by the Debtors or the Reorganized Debtors of the Cure; provided that nothing herein shall prevent the
Reorganized Debtors from paying any Cure despite the failure of the relevant counterparty to file such request for
payment of such Cure amount. The Reorganized Debtors also may settle any Cure without any further notice to or
action, order, or approval of the Bankruptcy Court. any objection by a counterparty to a Lummus Executory
Contract or Unexpired Lease to a proposed assumption must be Filed, served, and actually received by the counsel
to the Debtor no later than the date and time specified in the notice. Any counterparty to a Lummus Executory
Contract or Unexpired Lease that fails to object timely to the proposed assumption will be deemed to have assented
to such assumption.

          The Debtors or the Reorganized Debtors, as applicable, shall pay the Cure amounts, if any, and satisfy all
nonmonetary defaults on the Effective Date or as soon as reasonably practicable thereafter, or on such other terms as
the parties to such Executory Contracts or Unexpired Leases may agree.; provided that the Debtors shall pay or
satisfy, as applicable, any cures, or establish a reserve for any disputed portion of a Cure for any Lummus Executory
Contract or Unexpired Lease on or prior the Effective Date.

         Any Cure shall be deemed fully satisfied, released, and discharged upon payment or satisfaction by the
Debtors or the Reorganized Debtors of the Cure. If there is any dispute regarding any Cure, the ability of the
Reorganized Debtors or any assignee to provide “adequate assurance of future performance” within the meaning of
section 365 of the Bankruptcy Code, or any other matter pertaining to assumption, then payment of the applicable
Cure amount shall occur as soon as reasonably practicable after entry of a Final Order resolving such dispute,
approving such assumption (and, if applicable, assignment), or as may be agreed upon by the Debtors or the
Reorganized Debtors, as applicable, and the counterparty to the Executory Contract or Unexpired Lease. The
Reorganized Debtors also may settle any Cure without any further notice to or action, order, or approval of the
Bankruptcy Court.

          The Assumption of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall
result in the full release and satisfaction of any Cures, Claims, or defaults, whether monetary or nonmonetary
defaults arising from or triggered by the filing of these chapter 11 cases, including defaults of provisions restricting
the change in control or ownership interest composition or any bankruptcy-related defaults, arising at any time prior
to the effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts or Unexpired
Leases that have been assumed in the Chapter 11 Cases, including pursuant to the Confirmation Order, shall
be deemed disallowed and expunged as of the later of (1) the date of entry of an order of the Bankruptcy
Court (including the Confirmation Order) approving such assumption, (2) the effective date of such
assumption or (3) the Effective Date without the need for any objection thereto or any further notice to or
action, order, or approval of the Bankruptcy Court.




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D.       Preexisting Obligations to the Debtors Under Executory Contracts and Unexpired Leases.

         Rejection of any Executory Contract or Unexpired Lease pursuant to the Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as applicable,
under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any non-bankruptcy law to the
contrary, the Reorganized Debtors expressly reserve and do not waive any right to receive, or any continuing
obligation of a counterparty to provide, warranties or continued maintenance obligations with respect to goods
previously purchased by the Debtors pursuant to rejected Executory Contracts or Unexpired Leases.

E.       Insurance Policies.

         Each of the Debtors’ insurance policies and any agreements, documents, or instruments relating thereto, are
treated as Executory Contracts under the Plan. Unless otherwise provided in the Plan, on the Effective Date, (1) the
Debtors shall be deemed to have assumed all insurance policies and any agreements, documents, and instruments
relating to coverage of all insured Claims and (2) such insurance policies and any agreements, documents, or
instruments relating thereto shall revest in the Reorganized Debtors.

F.       Reservation of Rights.

          Nothing contained in the Plan or the Plan Supplement shall constitute an admission by the Debtors or any
other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized
Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease is or was executory or
unexpired at the time of assumption or rejection, the Debtors or the Reorganized Debtors, as applicable, shall have
forty-five (45) days following entry of a Final Order resolving such dispute to alter their treatment of such contract
or lease.

G.       Nonoccurrence of Effective Date.

         In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

H.       Employee Compensation and Benefits.

         1.   Compensation and Benefit Programs.

        Subject to the provisions of the Plan, all Compensation and Benefits Programs shall be treated as Executory
Contracts under the Plan and deemed assumed on the Effective Date pursuant to the provisions of sections 365
and 1123 of the Bankruptcy Code, except for:

         a.       all employee equity or equity-based incentive plans, and any provisions set forth in the
                  Compensation and Benefits Program that provide for rights to acquire Existing Equity Interests in
                  any of the Debtors;

         b.       the change in control agreements entered into with current employees, unless otherwise determined
                  by the Required Consenting Lenders prior to the Effective Date;

         c.       Compensation and Benefits Programs that have been rejected pursuant to an order of a Bankruptcy
                  Court; and

         d.       Compensation and Benefits Programs that, as of the entry of the Confirmation Order, have been
                  specifically waived by the beneficiaries of any employee benefit plan or contract.

         Any assumption of Compensation and Benefits Programs pursuant to the terms herein and the Restructuring
Transactions and related matters contemplated by the Plan shall be deemed not to trigger (i) any applicable change
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of control, immediate vesting, termination (similar provisions therein) and (ii) an event of “Good Reason” (or a term
of like import), in each case as a result of the consummation of the Restructuring Transactions. No counterparty
shall have rights under a Compensation and Benefits Program assumed pursuant to the Plan other than those
applicable immediately prior to such assumption.

         OnNotwithstanding the foregoing, on the Effective Date, the Debtors shall enter into severance and change
in control arrangements with Senior Executives in amounts and on terms and conditions to be agreed with and
approved by the Required Consenting Lenders. which, to the extent provided therein, shall supersede and replace
any severance or change of control agreements with such Senior Executives existing prior to the Effective Date and
the long-term components of any key employee retention plan or key employee incentive plan existing on the
Effective Date shall be subject to modification or termination, as applicable, by the New Board upon adoption of the
Management Incentive Plan.

         2.       Workers’ Compensation Programs.

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized
Debtors shall continue to honor their obligations under: (a) all applicable workers’ compensation laws in states in
which the Reorganized Debtors operate; and (b) the Debtors’ written contracts, agreements, agreements of
indemnity, self-insured workers’ compensation bonds, policies, programs, and plans for workers’ compensation and
workers’ compensation insurance. All Proofs of Claims on account of workers’ compensation shall be deemed
withdrawn automatically and without any further notice to or action, order, or approval of the Bankruptcy Court;
provided that nothing in the Plan shall limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’
defenses, Causes of Action, or other rights under applicable non-bankruptcy law with respect to any such contracts,
agreements, policies, programs, and plans; provided further that nothing herein shall be deemed to impose any
obligations on the Debtors in addition to what is provided for under applicable state law.

I.       Contracts and Leases Entered Into After the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory Contracts
and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the Reorganized
Debtors in the ordinary course of their business. Accordingly, such contracts and leases (including any assumed
Executory Contracts and Unexpired Leases) will survive and remain unaffected by entry of the Confirmation Order.

J.       Assumption of Cameron LNG Project Obligations

         The Cameron LNG Project Obligations shall be assumed by the applicable Reorganized Debtor effective as
of the Effective Date, and the Cameron LNG Project Obligations shall not be subject to the provision of
Section V.A. hereof authorizing the Debtors or Reorganized Debtors, as applicable, to alter, amend, modify, or
supplement the Assumed Executory Contracts and Unexpired Leases Schedule and the Rejected Executory Contracts
and Unexpired Leases Schedule at any time up to forty-five (45) days after the Effective Date. Within three
Business Days after the Effective Date, Reorganized McDermott shall issue the Cameron LNG Replacement
Guarantee and the Chiyoda Replacement Guarantee.

                                             ARTICLE VI.
                                PROVISIONS GOVERNING DISTRIBUTIONS

A.       Distributions on Account of Claims Allowed as of the Effective Date.

         Except as otherwise provided herein, in a Final Order, or as otherwise agreed to by the Debtors or the
Reorganized Debtors, as the case may be, and the holder of the applicable Allowed Claim on the first Distribution
Date, the Reorganized Debtors shall make initial distributions under the Plan on account of Claims Allowed on or
before the Effective Date, subject to the Reorganized Debtors’ right to object to Claims; provided that (1) Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business during
the Chapter 11 Cases or assumed by the Debtors prior to the Effective Date shall be paid or performed in the
ordinary course of business in accordance with the terms and conditions of any controlling agreements, course of

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dealing, course of business, or industry practice, (2) Allowed Priority Tax Claims shall be paid in accordance with
Article II.D of the Plan, and (3) Allowed General Unsecured Claims shall be paid in accordance with Article
III.B.13 of the Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective Date, such
Claim shall be paid in full in Cash in accordance with the terms of any agreement between the Debtors and the
holder of such Claim or as may be due and payable under applicable non-bankruptcy law or in the ordinary course of
business. Thereafter, a Distribution Date shall occur no less frequently than once in every ninety (90) day period, as
necessary, in the Reorganized Debtors’ sole discretion.

B.       Disbursing Agent.

         All distributions under the Plan shall be made by the Reorganized Debtors. The Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

          Distributions in respect of all Claims under Classes 6A, 6B, 6D, and 7 shall be made based upon a
distribution schedule provided to the Debtors by Revolving and LC Administrative Agent after consultation with the
holders of such Claims.

C.       Rights and Powers of Disbursing Agent.

         1.   Powers of the Disbursing Agent.

         The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and (d) exercise
such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the provisions hereof.

         2.   Expenses Incurred On or After the Effective Date.

          Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and expenses
incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the Disbursing Agent
shall be paid in Cash by the Reorganized Debtors.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.   Record Date for Distribution.

          On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
Register as of the close of business on the Distribution Record Date. If a Claim, other than one based on a publicly
traded Security, is transferred twenty (20) or fewer days before the Distribution Record Date, the Distribution Agent
shall make distributions to the transferee only to the extent practical and, in any event, only if the relevant transfer
form contains an unconditional and explicit certification and waiver of any objection to the transfer by the transferor.

         2.   Delivery of Distributions in General.

          Except as otherwise provided herein, the Disbursing Agent shall make distributions to holders of Allowed
Claims and Allowed Interests (as applicable) as of the Distribution Record Date at the address for each such holder
as indicated on the Debtors’ records as of the date of any such distribution; provided that the manner of such
distributions shall be determined at the discretion of the Reorganized Debtors.



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         3.   Minimum Distributions.

          No fractional shares of New Common Stock or New Warrants shall be distributed and no Cash shall be
distributed in lieu of such fractional amounts. When any distribution pursuant to the Plan on account of an Allowed
Claim or Allowed Interest (as applicable) would otherwise result in the issuance of a number of shares of New
Common Stock or New Warrants that is not a whole number, the actual distribution of shares of New Common
Stock or New Warrants shall be rounded to the next lower whole number with no further payment therefor. The
total number of authorized shares of New Common Stock or New Warrants to be distributed to holders of Allowed
Claims hereunder shall be adjusted as necessary to account for the foregoing rounding.

         4.   Undeliverable Distributions and Unclaimed Property.

          In the event that any distribution to any holder of Allowed Claims or Allowed Interests (as applicable) is
returned as undeliverable, no distribution to such holder shall be made unless and until the Disbursing Agent has
determined the then-current address of such holder, at which time such distribution shall be made to such holder
without interest; provided that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one year from the Effective Date. After such date, all unclaimed property or
interests in property shall revert to the Reorganized Debtors automatically and without need for a further order by
the Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or unclaimed
property laws to the contrary), and the Claim of any holder of Claims and Interests to such property or Interest in
property shall be discharged and forever barred.

         5.   Surrender of Canceled Instruments or Securities.

          On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or
instrument evidencing a Claim or an Interest that has been cancelled in accordance with Article IV.H Article IV.I
hereof shall be deemed to have surrendered such certificate or instrument to the Distribution Agent. Such
surrendered certificate or instrument shall be cancelled solely with respect to the Debtors, and such cancellation shall
not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another with respect to such certificate
or instrument, including with respect to any indenture or agreement that governs the rights of the holder of a Claim
or Interest, which shall continue in effect for purposes of allowing holders to receive distributions under the Plan,
charging liens, priority of payment, and indemnification rights. Notwithstanding anything to the contrary herein, this
paragraph shall not apply to certificates or instruments evidencing Claims that are Unimpaired under the Plan or
Claims in respect of Classes 5, 6A, 6B (in respect of Revolving LCs), 7 or 8 to the extent such certificates or
instruments are reinstated or amended on the Effective Date under the terms of the Plan.

         6.   Delivery of Distributions on Senior Notes Claims.

           Except as otherwise reasonably requested by the Senior Notes Trustee, all distributions to holders of
Allowed Senior Notes Claims shall be deemed completed when made to the Senior Notes Trustee. The Senior Notes
Trustee shall hold or direct such distributions for the benefit of the holders of Allowed Senior Notes Claims. As
soon as practicable in accordance with the requirements set forth in this Article VI, the Senior Notes Trustee shall
arrange to deliver such distributions to or on behalf of its holders, subject to the Senior Notes Trustee’s charging
lien. If the Senior Notes Trustee is unable to make, or consents to the Debtors or the Reorganized Debtors, as
applicable, making such distributions, the Debtors or the Reorganized Debtors, as applicable, with the Senior Notes
Trustee’s cooperation, shall make such distributions to the extent practicable to do so; provided that until such
distributions are made, the Senior Notes Trustee’s charging lien shall attach to the property to be distributed in the
same manner as if such distributions were made through the Senior Notes Trustee. The Senior Notes Trustee shall
have no duties or responsibility relating to any form of distribution that is not DTC eligible and the Debtors or the
Reorganized Debtors, as applicable, shall seek the cooperation of DTC so that any distribution on account of an
Allowed Senior Notes Claim that is held in the name of, or by a nominee of, DTC shall be made through the
facilities of DTC on the Effective Date or as soon as practicable thereafter.




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E.       Manner of Payment.

         1. All distributions of the New Common Stock and, the New Warrants, participations in the Roll-Off LC
Exit Facilities, and the debt in respect of the Term Loan Exit Facility and the Make Whole Tranche (to the extent
applicable) to the holders of the applicable Allowed Claims under the Plan shall be made by the Disbursing Agent
on behalf of the Debtors or Reorganized Debtors, as applicable.

         2. All distributions of Cash to the holders of the applicable Allowed Claims under the Plan shall be made
by the Disbursing Agent on behalf of the applicable Debtor or Reorganized Debtor.

          3. At the option of the Disbursing Agent, any Cash payment to be made hereunder may be made by check
or wire transfer or as otherwise required or provided in applicable agreements.

F.       Section 1145 Exemption.

         Pursuant to section 1145 of the Bankruptcy Code or any other applicable exemption, the offering, issuance,
and distribution of the New Common Stock (including the Rights Offering Shares) and the New Warrants, as
contemplated by Article III.B hereof, and the issuance of the New Common Stock upon exercise of the New
Warrants, shall be exempt from, among other things, the registration requirements of section 5 of the Securities Act
and any other applicable law requiring registration prior to the offering, issuance, distribution, or sale of Securities.
In addition, under section 1145 of the Bankruptcy Code, the New Common Stock, the New Warrants, and the New
Common Stock to be issued upon exercise of the New Warrants will be freely tradable in the U.S. by the recipients
thereof, subject to the provisions of (i) section 1145(b)(1) of the Bankruptcy Code relating to the definition of an
underwriter in section 2(a)(11) of the Securities Act, (ii) compliance with applicable securities laws and any rules
and regulations of the Securities and Exchange Commission, if any, applicable at the time of any future transfer of
such Securities or instruments, and (iii) any restrictions in the Reorganized Debtors’ New Organizational
Documents.

G.       Compliance with Tax Requirements.

          In connection with the Plan, to the extent applicable, the Debtors, Reorganized Debtors, Disbursing Agent,
and any applicable withholding agent shall comply with all tax withholding and reporting requirements imposed on
them by any Governmental Unit, and all distributions made pursuant to the Plan shall be subject to such withholding
and reporting requirements. Notwithstanding any provision in the Plan to the contrary, such parties shall be
authorized to take all actions necessary or appropriate to comply with such withholding and reporting requirements,
including liquidating a portion of the distribution to be made under the Plan to generate sufficient funds to pay
applicable withholding taxes, withholding distributions pending receipt of information necessary to facilitate such
distributions, or establishing any other mechanisms they believe are reasonable and appropriate. The Debtors and
Reorganized Debtors reserve the right to allocate all distributions made under the Plan in compliance with all
applicable wage garnishments, alimony, child support, and similar spousal awards, Liens, and encumbrances.

H.       Allocations.

         Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
(as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
amount of the Claims, to any portion of such Claims for accrued but unpaid interest.

I.       No Postpetition Interest on Claims.

         Unless otherwise specifically provided for in the DIP Financing Orders, the Plan, or the Confirmation
Order, or required by applicable bankruptcy and non-bankruptcy law, postpetition interest shall not accrue or be paid
on any prepetition Claims, and no holder of a Claim shall be entitled to interest accruing on or after the Petition Date
on such Claim.



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J.       Foreign Currency Exchange Rate.

         Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim asserted in
currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S. dollar value using
the exchange rate for the applicable currency as published in The Wall Street Journal, National Edition, on the
Effective Date.

K.       Setoffs and Recoupment.

         Except as expressly provided in this Plan, and the DIP Financing Orders, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be made on
account of any Allowed Claim, any and all claims, rights, and Causes of Action that such Reorganized Debtor may
hold against the holder of such Allowed Claim to the extent such setoff or recoupment is either (1) agreed in amount
among the relevant Reorganized Debtor(s) and the holder of the Allowed Claim or (2) otherwise adjudicated by the
Bankruptcy Court or another court of competent jurisdiction; provided that neither the failure to effectuate a setoff
or recoupment nor the allowance of any Claim hereunder shall constitute a waiver or release by a Reorganized
Debtor or its successor of any and all claims, rights, and Causes of Action that such Reorganized Debtor or its
successor may possess against the applicable holder. In no event shall any holder of a Claim be entitled to recoup
such Claim against any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors, as applicable,
unless such holder actually has performed such recoupment and provided notice thereof in writing to the Debtors in
accordance with Article XII.G hereof on or before the Effective Date, notwithstanding any indication in any Proof of
Claim or otherwise that such holder asserts, has, or intends to preserve any right of recoupment.

L.       Claims Paid or Payable by Third Parties.

         1.   Claims Paid by Third Parties.

          The Debtors or the Reorganized Debtors, as applicable, shall reduce in full a Claim, and such Claim shall
be disallowed without a Claims objection having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the holder of such Claim receives payment in full on account of
such Claim from a party that is not a Debtor or a Reorganized Debtor. Subject to the last sentence of this paragraph,
to the extent a holder of a Claim receives a distribution on account of such Claim and receives payment from a party
that is not a Debtor or a Reorganized Debtor on account of such Claim, such holder shall, within fourteen (14) days
of receipt thereof, repay or return the distribution to the applicable Reorganized Debtor, to the extent the holder’s
total recovery on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as
of the date of any such distribution under the Plan. The failure of such holder to timely repay or return such
distribution shall result in the holder owing the applicable Reorganized Debtor annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen (14) day grace period
specified above until the amount is repaid.

         2.   Claims Payable by Third Parties.

         No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ insurance policies until the holder of such Allowed Claim has exhausted all remedies with
respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or in
part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
Filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

         3.   Applicability of Insurance Policies.

         Except as otherwise provided in the Plan, distributions to holders of Allowed Claims shall be in accordance
with the provisions of any applicable insurance policy. Nothing contained in the Plan shall constitute or be deemed
a waiver of any Cause of Action that the Debtors or any Entity may hold against any other Entity, including insurers


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under any policies of insurance, nor shall anything contained herein constitute or be deemed a waiver by such
insurers of any defenses, including coverage defenses, held by such insurers.

                                             ARTICLE VII.
                               PROCEDURES FOR RESOLVING CONTINGENT,
                                 UNLIQUIDATED, AND DISPUTED CLAIMS

A.       Disputed Claims Process.

          There is no requirement to file a Proof of Claim (or move the Bankruptcy Court for allowance) to have a
Claim Allowed for the purposes of the Plan, except as provided in Article V.B of the Plan. On and after the
Effective Date, except as otherwise provided in this Plan, all Allowed Claims shall be satisfied in the ordinary
courtse of business ofby the Reorganized Debtors. The Debtors and the Reorganized Debtors, as applicable, shall
have the exclusive authority to (i) determine, without the need for notice to or action, order, or approval of the
Bankruptcy Court, that a claim subject to any Proof of Claim that is Filed is Allowed and (ii) file, settle,
compromise, withdraw, or litigate to judgment any objections to Claims as permitted under this Plan. If the Debtors
or Reorganized Debtors dispute any Claim, such dispute shall be determined, resolved, or adjudicated, as the case
may be, in the manner as if the Chapter 11 Cases had not been commenced and shall survive the Effective Date as if
the Chapter 11 Cases had not been commenced; provided that the Debtors or Reorganized Debtors may elect, at
their sole option, to object to any Claim (other than Claims expressly Allowed by this Plan) and to have the validity
or amount of any Claim adjudicated by the Bankruptcy Court; provided further that holders of Claims may elect to
resolve the validity or amount of any Claim in the Bankruptcy Court. If a holder makes such an election, the
Bankruptcy Court shall apply the law that would have governed the dispute if the Chapter 11 Cases had not been
filed. All Proofs of Claim Filed in the Chapter 11 Cases shall be considered objected to and Disputed without
further action by the Debtors. Except as otherwise provided herein, all Proofs of Claim Filed after the Effective
Date shall be disallowed and forever barred, estopped, and enjoined from assertion, and shall not be
enforceable against any Reorganized Debtor, without the need for any objection by the Reorganized Debtors
or any further notice to or action, order, or approval of the Bankruptcy Court.

B.       Allowance of Claims.

         After the Effective Date, except as otherwise expressly set forth herein, each of the Reorganized Debtors
shall have and retain any and all rights and defenses such Debtor had with respect to any Claim or Interest
immediately prior to the Effective Date. The Debtors may affirmatively determine to deem Unimpaired Claims
Allowed to the same extent such Claims would be allowed under applicable non-bankruptcy law.

C.       Claims Administration Responsibilities.

          Except as otherwise specifically provided in the Plan, after the Effective Date, the Reorganized Debtors
shall have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to
settle or compromise any Disputed Claim without any further notice to or action, order, or approval by the
Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court. For the avoidance
of doubt, except as otherwise provided herein, from and after the Effective Date, each Reorganized Debtor shall
have and retain any and all rights and defenses such Debtor had immediately prior to the Effective Date with respect
to any Disputed Claim or Interest, including the Causes of Action retained pursuant to Article IV.R Article IV.S of
the Plan.

D.       Estimation of Claims and Interests..

          Before or after the Effective Date, the Debtors or the Reorganized Debtors, as applicable, may (but are not
required to) at any time request that the Bankruptcy Court estimate any Disputed Claim or Interest that is contingent
or unliquidated pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether any party in
interest previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during
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the litigation of any objection to any Claim or Interest or during the appeal relating to such objection.
Notwithstanding any provision otherwise in the Plan, a Claim that has been expunged from the Claims Register, but
that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to be estimated at zero
dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any
contingent or unliquidated Claim or Interest, that estimated amount shall constitute a maximum limitation on such
Claim or Interest for all purposes under the Plan (including for purposes of distributions), and the relevant
Reorganized Debtor may elect to pursue any supplemental proceedings to object to any ultimate distribution on such
Claim or Interest.

E.       Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the
Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal proceeding
seeking to object to such Claim or Interest and without any further notice to or action, order, or approval of the
Bankruptcy Court.

F.       Disallowance of Claims or Interests.

         Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which property is
sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the
Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545,
547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on the one hand, and the
Debtors or the Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined
by Final Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such
property by the date set forth in such agreement or Final Order.

G.       No Distributions Pending Allowance.

          Notwithstanding any other provision of the Plan, if any portion of a Claim or Interest is a Disputed Claim or
Interest, as applicable, no payment or distribution provided hereunder shall be made on account of such Claim or
Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or Interest; provided that if only
the Allowed amount of an otherwise valid Claim or Interest is Disputed, such Claim or Interest shall be deemed
Allowed in the amount not Disputed and payment or distribution shall be made on account of such undisputed
amount.

H.       Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the holder of such Allowed Claim or Interest in accordance with the provisions
of the Plan. As soon as reasonably practicable after the date that the order or judgment of the Bankruptcy Court
allowing any Disputed Claim or Interest becomes a Final Order, the Disbursing Agent shall provide to the holder of
such Claim or Interest the distribution (if any) to which such holder is entitled under the Plan as of the Effective
Date, without any interest to be paid on account of such Claim or Interest.

I.       No Interest.

          Unless otherwise specifically provided for herein or by order of the Bankruptcy Court, postpetition interest
shall not accrue or be paid on Claims, and no holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim or right. Additionally, and without limiting the foregoing, interest shall not accrue or be
paid on any Disputed Claim with respect to the period from the Effective Date to the date a final distribution is made
on account of such Disputed Claim, if and when such Disputed Claim becomes an Allowed Claim.



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                                        ARTICLE VIII.
                 SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.       Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided in the
Definitive Documents, the Plan, or in any contract, instrument, or other agreement or document created or entered
into pursuant to the Plan, the distributions, rights, and treatment that are provided in the Plan shall be in complete
satisfaction, discharge, and release, effective as of the Effective Date, of Claims (including any Intercompany Claims
resolved or compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of
any nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in, the
Debtors or any of their assets or properties, regardless of whether any property shall have been distributed or
retained pursuant to the Plan on account of such Claims and Interests, including demands, liabilities, and Causes of
Action that arose before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or
Interests relate to services performed by employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the
Bankruptcy Code, in each case whether or not: (1) a Proof of Claim based upon such debt or right is Filed or
deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based upon such debt, right, or
interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the holder of such a Claim or Interest has
accepted the Plan. The Confirmation Order shall be a judicial determination of the discharge of all Claims (other
than the Reinstated Claims) and Interests (other than the Intercompany Interests that are Reinstated) subject to the
occurrence of the Effective Date.

B.       Release of Liens.

         Except as otherwise provided in the Exit Facility Documents, the Plan, the Confirmation Order, or in
any contract, instrument, release, or other agreement or document created pursuant to the Plan, on the
Effective Date and concurrently with the applicable distributions made pursuant to the Plan and, in the case
of a Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective
Date, except for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates shall
be fully released and discharged, and all of the right, title, and interest of any holder of such mortgages, deeds
of trust, Liens, pledges, or other security interests shall revert to the Reorganized Debtors and their
successors and assigns. Any holder of such Secured Claim (and the applicable agents for such holder) shall
be authorized and directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral
or other property of any Debtor (including any cash collateral and possessory collateral) held by such holder
(and the applicable agents for such holder), and to take such actions as may be reasonably requested by the
Reorganized Debtors to evidence the release of such Liens and/or security interests, including the execution,
delivery, and filing or recording of such releases. The presentation or filing of the Confirmation Order to or
with any federal, state, provincial, or local agency, records office, or department shall constitute good and
sufficient evidence of, but shall not be required to effect, the termination of such Liens.

         To the extent that any holder of a Secured Claim that has been satisfied or discharged in full
pursuant to the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security
interests to secure such holder’s Secured Claim, then as soon as practicable on or after the Effective Date,
such holder (or the agent for such holder) shall take any and all steps requested by the Debtors, the
Reorganized Debtors, or Exit Facility Agents that are necessary or desirable to record or effectuate the
cancellation and/or extinguishment of such Liens and/or security interests, including the making of any
applicable filings or recordings, and the Reorganized Debtors shall be entitled to make any such filings or
recordings on such holder’s behalf.




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C.         Releases by the Debtors.

         Notwithstanding anything contained in the Plan to the contrary, pursuant to section 1123(b) of the
Bankruptcy Code, in exchange for good and valuable consideration, the adequacy of which is hereby
confirmed, on and after the Effective Date, each Released Party is, and is deemed hereby to be, fully,
conclusively, absolutely, unconditionally, irrevocably, and forever released and discharged by the Debtors,
the Reorganized Debtors, their Estates, and any person seeking to exercise the rights of the Debtors or their
Estates, including any successors to the Debtors or any Estates representatives appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, in each case on behalf of themselves and their
respective successors, assigns, and representatives, and any and all other Entities who may purport to assert
any Cause of Action, directly or derivatively, by, through, for, or because of the foregoing Entities, from any
and all Claims and Causes of Action, including any derivative claims asserted or assertable on behalf of the
Debtors, whether known or unknown, foreseen or unforeseen, matured or unmatured, existing or hereafter
arising, contingent or non-contingent, in law, equity, contract, tort or otherwise, that the Debtors, the
Reorganized Debtors, or their Estates, including any successors to the Debtors or any Estates representative
appointed or selected pursuant to section 1123(b) of the Bankruptcy Code, would have been legally entitled to
assert in their own right (whether individually or collectively) or on behalf of the Holder of any Claim
against, or Interest in, a Debtor or other Entity, or that any Holder of any Claim against, or Interest in, a
Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part:

      1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
           business or contractual arrangement between the Debtors and any Released Party, any Securities
           issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
           against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions
           (but excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against
           the Debtors), intercompany transactions between or among a Company Party and another Company
           Party, the Superpriority Credit Agreement, the Credit Agreement, the Hedge Agreements (as
           defined in the Hedging Order), the 2021 LC Agreement, the Lloyds Letter of Credit Agreement, the
           Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the formulation, preparation,
           dissemination, negotiation, or filing of the Restructuring Support Agreement, the Disclosure
           Statement, the DIP Credit Agreement, the Exit Facility Documents, or the Plan (including, for the
           avoidance of doubt, the Plan Supplement);

      2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
           (including any legal opinion requested by any Entity regarding any transaction, contract,
           instrument, document or other agreement contemplated by the Plan or the reliance by any Released
           Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
           connection with the Restructuring Support Agreement, the Rights Offering, the Disclosure
           Statement, the DIP Credit Agreement, the New Warrants Agreements, the Exit Facility Documents,
           the Plan, or the Plan Supplement, before or during the Chapter 11 Cases;

      3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement or the Plan, the
           solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
           Consummation, the administration and implementation of the Plan, including the issuance or
           distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
           under the Plan or any other related agreement; or

      4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
           any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
           other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) post
Effective Date obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring
Transaction, any Definitive Document, or any other document, instrument, or agreement (including those set

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forth in the Plan Supplement) executed to implement the Plan, including the Exit Facility Documents, the
New Warrants Agreements, or any Claim or obligation arising under the Plan, or (ii) the rights of any holder
of Allowed Claims to receive distributions under the Plan.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing Debtor release, which includes by reference each of the related
provisions and definitions contained in the Plan, and further, shall constitute the Bankruptcy Court’s finding
that the foregoing Debtor release is: (a) in exchange for the good and valuable consideration provided by the
Released Parties, including, without limitation, the Released Parties’ contributions to facilitating the
Restructuring Transactions and implementing the Plan; (b) a good faith settlement and compromise of the
Claims released by the foregoing Debtor release; (c) in the best interests of the Debtors and their Estates and
all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice
and opportunity for hearing; and (f) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’
Estates asserting any Claim or Cause of Action released pursuant to the foregoing Debtor release.

D.         Releases by the Releasing Parties.

         Except as otherwise expressly set forth in this Plan or the Confirmation Order, on and after the
Effective Date, in exchange for good and valuable consideration, the adequacy of which is hereby confirmed,
each Released Party is, and is deemed hereby to be, fully, conclusively, absolutely, unconditionally,
irrevocably and forever, released and discharged by each Releasing Party, in each case on behalf of
themselves and their respective successors, assigns, and representatives, and any and all other Entities who
may purport to assert any Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from any and all Claims and Causes of Action, whether known or unknown, foreseen or
unforeseen, matured or unmatured, existing or hereafter arising, contingent or non-contingent, in law,
equity, contract, tort, or otherwise, including any derivative claims asserted on behalf of the Debtors, that
such Entity would have been legally entitled to assert in their own right (whether individually or collectively)
or on behalf of the holder of any Claim against, or Interest in, a Debtor or other Entity, or that any holder of
any Claim against, or Interest in, a Debtor or other Entity could have asserted on behalf of the Debtors,
based on or relating to, or in any manner arising from, in whole or in part:

      1.   the Debtors (including the capital structure, management, ownership, or operation thereof), the
           business or contractual arrangement between the Debtors and any Releasing Party, any Securities
           issued by the Debtors and the ownership thereof, the assertion or enforcement of rights and remedies
           against the Debtors, the Debtors’ in- or out-of-court restructuring efforts, any Avoidance Actions
           (but excluding Avoidance Actions brought as counterclaims or defenses to Claims asserted against
           the Debtors), intercompany transactions between or among a Company Party and another Company
           Party, the Superpriority Credit Agreement, the Credit Agreement, the Hedge Agreements (as
           defined in the Hedging Order), the 2021 LC Agreement, the Lloyds Letter of Credit Agreement,
           Senior Notes Indenture, the Senior Notes, the Chapter 11 Cases, the formulation, preparation,
           dissemination, negotiation, or filing of the Restructuring Support Agreement, the Disclosure
           Statement, the DIP Credit Agreement, the Exit Facility Documents, or the Plan (including, for the
           avoidance of doubt, the Plan Supplement);

      2.   any Restructuring Transaction, contract, instrument, release, or other agreement or document
           (including any legal opinion requested by any Entity regarding any transaction, contract,
           instrument, document or other agreement contemplated by the Plan or the reliance by any Released
           Party on the Plan or the Confirmation Order in lieu of such legal opinion) created or entered into in
           connection with the Restructuring Support Agreement, the Rights Offering, the Disclosure
           Statement, the DIP Credit Agreement, the New Warrants Agreements, the Exit Facility Documents,
           the Plan, or the Plan Supplement, before or during the Chapter 11 Cases,;

      3.   the Chapter 11 Cases, the filing of the Chapter 11 Cases, the Disclosure Statement, or the Plan, the
           solicitation of votes with respect to the Plan, the pursuit of Confirmation, the pursuit of
           Consummation, the administration and implementation of the Plan, including the issuance or

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           distribution of Securities pursuant to the Plan, the Rights Offering, or the distribution of property
           under the Plan or any other related agreement; or

      4.   any related act or omission, transaction, agreement, event, or other occurrence related or relating to
           any of the foregoing taking place on or before the Effective Date, including all Avoidance Actions or
           other relief obtained by the Debtors in the Chapter 11 Cases.

Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release (i) any
party of any obligations related to customary banking products, banking services or other financial
accommodations (except as may be expressly amended or modified by the Plan and the Exit Facility
Documents, or any other financing document under and as defined therein), (ii) any post-Effective Date
obligations of any party or Entity under the Plan, the Confirmation Order, any Restructuring Transaction,
or any document, instrument, any Definitive Document, or any agreement (including those set forth in the
Plan Supplement) executed to implement the Plan, including the Exit Facility Documents, the New Warrants
Agreements, or any Claim or obligation arising under the Plan, or (iii) the rights of holders of Allowed
Claims to receive distributions under the Plan., or (iv) current and former directors, officers, managers, or
employees of the Debtors from any Claim or Cause of Action related to an act or omission that is determined
in a Final Order by a court of competent jurisdiction to have constituted actual fraud.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the foregoing third-party release, which includes by reference each of the related
provisions and definitions contained herein, and, further, shall constitute the Bankruptcy Court’s finding
that the foregoing third-party release is: (a) consensual; (b) essential to the Confirmation of the Plan; (c)
given in exchange for a substantial contribution and for the good and valuable consideration provided by the
Released Parties that is important to the success of the Plan; (d) a good faith settlement and compromise of
the Claims released by the foregoing third-party release; (e) in the best interests of the Debtors and their
Estates; (f) fair, equitable, and reasonable; (g) given and made after due notice and opportunity for hearing;
and (h) a bar to any of the Releasing Parties asserting any claim or Cause of Action released pursuant to the
foregoing third-party release.

E.         Exculpation.

         Except as otherwise specifically provided in the Plan or the Confirmation Order, no Exculpated
Party shall have or incur liability for, and each Exculpated Party shall be released and exculpated from any
Claims and Cause of Action for any claim related to any act or omission in connection with, relating to, or
arising out of, the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, filing, or
termination of the Restructuring Support Agreement and related prepetition transactions (including the
Superpriority Credit Agreement, the Credit Agreement, the Senior Notes Indenture or Senior Notes, the 2021
LC Agreement, and the Lloyds Letter of Credit Agreement), the Disclosure Statement, the Plan, the DIP
Credit Facility, the Exit Facility Documents, the New Warrants Agreements, the Plan Supplement, the Rights
Offering, or any Restructuring Transaction, contract, instrument, release or other agreement or document
(including any legal opinion requested by any Entity regarding any transaction, contract, instrument,
document or other agreement contemplated by the Plan or the reliance by any Released Party on the Plan or
the Confirmation Order in lieu of such legal opinion), including any Definitive Document, created or entered
into before or during the Chapter 11 Cases, any preference, fraudulent transfer, or other avoidance claim
arising pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the filing of the Chapter 11
Cases, the pursuit of Confirmation, the pursuit of Consummation, the administration and implementation of
the Plan, including the issuance or distribution of Securities pursuant to the Plan, or the distribution of
property under the Plan or any other related agreement, or upon any other related act or omission,
transaction, agreement, event, or other occurrence taking place on or before the Effective Date, except for
claims related to any act or omission that is determined in a Final Order by a court of competent jurisdiction
to have constituted actual fraud, willful misconduct, or gross negligence, but in all respects such Entities shall
be entitled to reasonably rely upon the advice of counsel with respect to their duties and responsibilities
pursuant to the Plan.


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         The Exculpated Parties and other parties set forth above have, and upon confirmation of the Plan
shall be deemed to have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of votes and distribution of consideration pursuant to the Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of the Plan or such distributions made
pursuant to the Plan.

F.       Injunction.

         Except as otherwise expressly provided in the Plan or the Confirmation Order or for obligations or
distributions issued or required to be paid pursuant to the Plan or the Confirmation Order, all Entities who
have held, hold, or may hold the Released Claims are permanently enjoined, from and after the Effective
Date, from taking any of the following actions against, as applicable, the Debtors, the Reorganized Debtors,
the Exculpated Parties, or the Released Parties: (1) commencing or continuing in any manner any action or
other proceeding of any kind on account of or in connection with or with respect to any Released Claims;
(2) enforcing, attaching, collecting, or recovering by any manner or means any judgment, award, decree, or
order against such Entities on account of or in connection with or with respect to any Released Claims;
(3) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the
property of such Entities on account of or in connection with or with respect to any Released Claims;
(4) asserting any right of setoff, subrogation, or recoupment of any kind against any obligation due from such
Entities or against the property or the Estates of such Entities on account of or in connection with or with
respect to any Released Claims unless such holder has filed a motion requesting the right to perform such
setoff on or before the Effective Date, and notwithstanding an indication of a Claim or Interest or otherwise
that such holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law or
otherwise; and (5) commencing or continuing in any manner any action or other proceeding of any kind on
account of or in connection with or with respect to any Released Claims released or settled pursuant to the
Plan.

         Upon entry of the Confirmation Order, all holders of Claims and Interests and their respective
current and former employees, agents, officers, directors, principals, and direct and indirect Affiliates shall
be enjoined from taking any actions to interfere with the implementation or Consummation of the Plan.
Except as otherwise set forth in the Confirmation Order, Eeach holder of an Allowed Claim or Allowed
Interest, as applicable, by accepting, or being eligible to accept, distributions under or Reinstatement of such
Claim or Interest, as applicable, pursuant to the Plan, shall be deemed to have consented to the injunction
provisions set forth in this Article VIII.F hereof.

G.       Protections Against Discriminatory Treatment.

          Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
Reorganized Debtors have been associated, solely because each Debtor has been a debtor under chapter 11 of the
Bankruptcy Code, has been insolvent before the commencement of the Chapter 11 Cases (or during the Chapter 11
Cases but before the Debtors are granted or denied a discharge), or has not paid a debt that is dischargeable in the
Chapter 11 Cases.

H.       Document Retention.

         On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance with their
standard document retention policy, as may be altered, amended, modified, or supplemented by the Reorganized
Debtors.




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I.       Reimbursement or Contribution.

          If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant to
section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the time of
allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding section 502(j) of
the Bankruptcy Code, unless prior to the Confirmation Date: (1) such Claim has been adjudicated as non-contingent
or (2) the relevant holder of a Claim has Filed a non-contingent Proof of Claim on account of such Claim and a Final
Order has been entered prior to the Confirmation Date determining such Claim as no longer contingent.

                                         ARTICLE IX.
                     CONDITIONS PRECEDENT TO CONSUMMATION OF THE PLAN

A.       Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied or waived
pursuant to the provisions of Article IX.B hereof:

         a.   the Debtors shall have achieved the Achievement Target; and

         b.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be a Final Order, in form
              and substance consistent in all respects with the Restructuring Support Agreement (including any
              consent rights thereunder) and otherwise in form and substance acceptable to the Debtors and the
              Required Consenting Stakeholders, and which shall:

               i.    authorize the Debtors to take all actions necessary to enter into, implement, and consummate the
                     contracts, instruments, releases, leases, indentures, and other agreements or documents created
                     in connection with the Plan;

               ii.   decree that the provisions in the Confirmation Order and the Plan are nonseverable and mutually
                     dependent;

              iii.   authorize the Debtors, as applicable/necessary, to:            (a) implement the Restructuring
                     Transactions, including the Rights Offering; (b) distribute the New Common Stock and the New
                     Warrants, and to issue the New Common Stock upon exercise of the New Warrants, pursuant to
                     the exemption from registration under the Securities Act provided by section 1145 of the
                     Bankruptcy Code or such other applicable exemption from such registration or pursuant to one
                     or more registration statements; (c) make all distributions and issuances as required under the
                     Plan, including Cash and the New Common Stock; and (d) enter into any agreements,
                     transactions, and sales of property as set forth in the Plan Supplement, including the
                     Management Incentive Plan, in each case, in a manner consistent with the terms of the
                     Restructuring Support Agreement and subject to the consent rights set forth therein;

              iv.    authorize the implementation of the Plan in accordance with its terms; and

               v.    provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or surrender of
                     any lease or sublease, and the delivery of any deed or other instrument or transfer order, in
                     furtherance of, or in connection with the Plan, including any deeds, bills of sale, or assignments
                     executed in connection with any disposition or transfer of assets contemplated under the Plan,
                     shall not be subject to any stamp, real estate transfer, mortgage recording, or other similar tax;
                     and

         c.   the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
              documents that are necessary to implement and effectuate the Plan;



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         d.   the final version of each of the Plan, the Definitive Documents, and all documents contained in any
              supplement to the Plan, including Plan Supplement and any exhibits, schedules, amendments,
              modifications, or supplements thereto or other documents contained therein shall have been executed
              or filed, as applicable in form and substance consistent in all respects with the Restructuring Support
              Agreement, the Restructuring Term Sheet, and the Plan, and comply with the applicable consent rights
              set forth in the Restructuring Support Agreement and/or the Plan for such documents and shall not have
              been modified in a manner inconsistent with the Restructuring Support Agreement;

         e.   the Exitdefinitive documents in respect of the Lloyds LC Exit Facility and the Exit Facility Documents
              shall have been duly executed and delivered by all of the Entities that are parties thereto and all
              conditions precedent (other than any conditions related to the occurrence of the Effective Date) to the
              effectiveness of the Exit Facilities shall have been satisfied or duly waived in writing in accordance
              with the terms of each of the Exit Facilities and the closing of each of the Exit Facilities and the Lloyds
              LC Exit Facility shall have occurred;

         f.   the Final Order approving the DIP Credit Facility shall have been entered and shall remain in full force
              and effect and no event of default shall have occurred and be continuing thereunder;

         g.   no more than $50 million principal amount of Prepetition Secured Letters of Credit or, the Lloyds
              Letters of Credit, or the DIP Letters of Credit (other than cash collateralized letters of credit) shall have
              been drawn and unreimbursed in full in Cash as of the Effective Date; provided that this condition may
              be waived solely with the written consent of the Required Consenting LC Lenders;

         h.   Reorganized McDermott shall have a minimum of $820 million of Cash on its balance sheet (which
              amount shall not include Cash held by the Debtors’ joint-venture affiliates or cash collateral securing
              the Cash Secured Letters of Credit, the Lloyds Letters of Credit, and the DIP Cash Secured Letters of
              Credit) assuming normal working capital; provided that this condition may be waived solely with the
              written consent of the [Required Consenting Lenders];

         i.   all professional fees and expenses of retained professionals that require the Bankruptcy Court’s
              approval shall have been paid in full or amounts sufficient to pay such fees and expenses after the
              Effective Date shall have been placed in a professional fee escrow account pending the Bankruptcy
              Court’s approval of such fees and expenses;

         j.   the Technology Business Sale shall have been consummated;

         k.   the Debtors’ shall have Filed a Notice of Anticipated Effective Date at least five (5) days in advance of
              such Effective Date;

         l.   k. to the extent invoiced in accordance with the terms of the Plan, the payment in Cash in full of the
              Restructuring Expenses; and

         m. l. the Debtors shall have implemented the Restructuring Transactions and all transactions contemplated
            in the Restructuring Term Sheet in a manner consistent with the Restructuring Support Agreement (and
            subject to, and in accordance with, the consent rights set forth therein), the Restructuring Term Sheet,
            and the Plan.

B.       Waiver of Conditions.

          Except as otherwise specified in the Plan or the Restructuring Support Agreement, any one or more of the
conditions to Consummation (or component thereof) set forth in this Article IX may be waived by the Debtors with
the prior written consent of the Required Consenting Stakeholders (not to be withheld unreasonably), without notice,
leave, or order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the
Plan. Notwithstanding the foregoing, if the conditions precedent to the closing of the Pipes Business Sale shall have
been satisfied in accordance with the Pipes Business Sale Documents (as approved by the Required Consenting
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Lenders), then the conditions set forth in this Article IX (other than in Article IX.A.b) shall be deemed automatically
waived solely with respect to the Pipes Entities, as applicable, without notice, leave, or order of the Bankruptcy
Court, or any further action by the Debtors, the Reorganized Debtors, or the Required Consenting Stakeholders.

C.       Effect of Failure of Conditions.

        If Consummation does not occur as to any Debtor, the Plan shall be null and void in all respects as to such
Debtor and nothing contained in the Plan, the Disclosure Statement, or Restructuring Support Agreement as to such
Debtor shall: (1) constitute a waiver or release of any Claims by the Debtors, Claims, or Interests; (2) prejudice in
any manner the rights of the Debtors, any holders of Claims or Interests, or any other Entity; or (3) constitute an
admission, acknowledgment, offer, or undertaking by the Debtors, any holders of Claims or Interests, or any other
Entity.

D.       Substantial Consummation

         “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on
the Effective Date.

                                         ARTICLE X.
                   MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

A.       Modification and Amendments.

          Except as otherwise specifically provided in this Plan and subject to the consent rights set forth in the
Restructuring Support Agreement, the Debtors reserve the right to modify the Plan, whether such modification is
material or immaterial, and seek Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit
votes on such modified Plan. Subject to those restrictions on modifications set forth in the Plan and the
requirements of section 1127 of the Bankruptcy Code, Rule 3019 of the Federal Rules of Bankruptcy Procedure,
and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly
reserves its respective rights to revoke or withdraw, or to alter, amend, or modify the Plan with respect to such
Debtor, one or more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or omission, or reconcile any
inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such matters as may be
necessary to carry out the purposes and intent of the Plan.

B.       Effect of Confirmation on Modifications.

          Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.       Revocation or Withdrawal of Plan.

         To the extent permitted by the Restructuring Support Agreement, the Debtors reserve the right to revoke or
withdraw the Plan prior to the Confirmation Date and to File subsequent plans of reorganization. If the Debtors
revoke or withdraw the Plan, or if Confirmation or Consummation does not occur, then: (1) the Plan shall be null
and void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to
an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory
Contracts or Unexpired Leases effected under the Plan, and any document or agreement executed pursuant to the
Plan, shall be deemed null and void; and (3) nothing contained in the Plan shall: (a) constitute a waiver or release of
any Claims or Interests; (b) prejudice in any manner the rights of such Debtor or any other Entity; or (c) constitute an
admission, acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.




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                                                 ARTICLE XI.
                                         RETENTION OF JURISDICTION

          Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising out of, or relating
to, the Chapter 11 Cases and the Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including
jurisdiction to:

         a.   allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured or unsecured
              status, or amount of any Claim or Interest, including the resolution of any request for payment of any
              Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
              priority, amount, or allowance of Claims or Interests;

         a.   decide and resolve all matters related to the granting and denying, in whole or in part, any applications
              for allowance of compensation or reimbursement of expenses to Professionals authorized pursuant to
              the Bankruptcy Code or the Plan;

         b.   resolve any matters related to: (a) the assumption, assumption and assignment, or rejection of any
              Executory Contract or Unexpired Lease to which a Debtor is party or with respect to which a Debtor
              may be liable and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom,
              including Cures pursuant to section 365 of the Bankruptcy Code; (b) any potential contractual
              obligation under any Executory Contract or Unexpired Lease that is assumed; (c) the Reorganized
              Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V hereof,
              any Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases
              to be assumed or rejected or otherwise; and (d) any dispute regarding whether a contract or lease is or
              was executory or expired;

         c.   ensure that distributions to holders of Allowed Claims and Allowed Interests (as applicable) are
              accomplished pursuant to the provisions of the Plan, including with respect to the New Warrants;

         d.   adjudicate, decide, or resolve any motions, adversary proceedings, contested or litigated matters, and
              any other matters, and grant or deny any applications involving a Debtor that may be pending on the
              Effective Date;

         e.   adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy Code;

         f.   enter and implement such orders as may be necessary to execute, implement, or consummate the
              provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
              documents created or entered into in connection with the Plan or the Disclosure Statement, including
              the Restructuring Support Agreement;

         g.   enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of the
              Bankruptcy Code;

         h.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection with
              the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in
              connection with the Plan;

         i.   issue injunctions, enter and implement other orders, or take such other actions as may be necessary to
              restrain interference by any Entity with Consummation or enforcement of the Plan;

         j.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the releases,
              injunctions, exculpations, and other provisions contained in Article VIII hereof and enter such orders
              as may be necessary or appropriate to implement such releases, injunctions, and other provisions;


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         k.   resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment or
              return of distributions and the recovery of additional amounts owed by the holder of a Claim or Interest
              for amounts not timely repaid pursuant to Article VI.L hereof;

         l.   enter and implement such orders as are necessary if the Confirmation Order is for any reason modified,
              stayed, reversed, revoked, or vacated;

         m. determine any other matters that may arise in connection with or relate to the Plan, the Plan
            Supplement, the Disclosure Statement, the Confirmation Order, or any contract, instrument, release,
            indenture, or other agreement or document created in connection with the Plan or the Disclosure
            Statement, including the Restructuring Support Agreement;

         n.   enter an order concluding or closing the Chapter 11 Cases;

         o.   adjudicate any and all disputes arising from or relating to distributions under the Plan;

         p.   consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
              inconsistency in any Bankruptcy Court order, including the Confirmation Order;

         q.   determine requests for the payment of Claims and Interests entitled to priority pursuant to section 507
              of the Bankruptcy Code;

         r.   hear and determine disputes arising in connection with the interpretation, implementation, or
              enforcement of the Plan or the Confirmation Order, including disputes arising under agreements,
              documents, or instruments executed in connection with the Plan;

         s.   hear and determine matters concerning state, local, and federal taxes in accordance with sections 346,
              505, and 1146 of the Bankruptcy Code;

         t.   hear and determine all disputes involving the existence, nature, scope, or enforcement of any
              exculpations, discharges, injunctions, and releases granted in the Plan, including under Article VIII
              hereof, regardless of whether such termination occurred prior to or after the Effective Date;

         u.   enforce all orders previously entered by the Bankruptcy Court; and

         v.   hear any other matter not inconsistent with the Bankruptcy Code.

          As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New
Organizational Documents and the Exit Facilities and any documents related thereto shall be governed by the
jurisdictional provisions therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.

                                                ARTICLE XII.
                                        MISCELLANEOUS PROVISIONS

A.       Immediate Binding Effect.

         Subject to Article IX.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of the Plan (including, for the avoidance of doubt,
the documents and instruments contained in the Plan Supplement) shall be immediately effective and enforceable
and deemed binding upon the Debtors, the Reorganized Debtors, any and all holders of Claims or Interests
(irrespective of whether such holders of Claims or Interests have, or are deemed to have accepted the Plan), all
Entities that are parties to or are subject to the settlements, compromises, releases, discharges, and injunctions
described in the Plan, each Entity acquiring property under the Plan, and any and all non-Debtor parties to Executory
Contracts and Unexpired Leases with the Debtors.

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B.       Additional Documents.

          On or before the Effective Date, and consistent in all respects with the terms of the Restructuring Support
Agreement, the Debtors may file with the Bankruptcy Court such agreements and other documents as may be
necessary to effectuate and further evidence the terms and conditions of the Plan and the Restructuring Support
Agreement. The Debtors or the Reorganized Debtors, as applicable, and all holders of Claims or Interests receiving
distributions pursuant to the Plan and all other parties in interest shall, from time to time, prepare, execute, and
deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of the Plan.

C.       Payment of Statutory Fees.

          All fees payable pursuant to section 1930(a) of the Judicial Code, as determined by the Bankruptcy Court at
a hearing pursuant to section 1128 of the Bankruptcy Code, shall be paid by each of the Reorganized Debtors (or the
Disbursing Agent on behalf of each of the Reorganized Debtors) for each quarter (including any fraction thereof)
until the earlier of entry of a final decree closing such Chapter 11 Cases or an order of dismissal or conversion,
whichever comes first.

D.       Statutory Committee and Cessation of Fee and Expense Payment.

         On the Confirmation Date, any statutory committee appointed in the Chapter 11 Cases shall dissolve and
members thereof shall be released and discharged from all rights and duties from or related to the Chapter 11 Cases.
The Reorganized Debtors shall no longer be responsible for paying any fees or expenses incurred by the members of
or advisors to any statutory committees after the Confirmation Date.

E.       Reservation of Rights.

          Except as expressly set forth in the Plan, the Plan shall have no force or effect unless the Bankruptcy Court
shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the Effective Date
does not occur. None of the Filing of the Plan, any statement or provision contained in the Plan, or the taking of any
action by any Debtor with respect to the Plan, the Disclosure Statement, or the Plan Supplement shall be or shall be
deemed to be an admission or waiver of any rights of any Debtor with respect to the holders of Claims or Interests
prior to the Effective Date.

F.       Successors and Assigns.

          The rights, benefits, and obligations of any Entity named or referred to in the Plan shall be binding on, and
shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer, manager,
director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

G.       Notices.

         All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
confirmed, addressed as follows:


                       Debtors                                             Counsel to the Debtors
 McDermott International, Inc.                           Kirkland & Ellis LLP
 757 North Eldridge Parkway                              601 Lexington Avenue
 Houston, Texas 77079                                    New York, New York 10022
 Attention: John Freeman                                 Attention: Joshua A. Sussberg, P.C., Christopher T. Greco,
                                                         P.C., and Anthony R. Grossi

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                                                       and
                                                       Kirkland & Ellis LLP
                                                       300 North LaSalle Street
                                                       Chicago, Illinois 60654
                                                       Attention: John R. Luze
                                                       and
                                                       Jackson Walker L.L.P.
                                                       1401 McKinney Street, Suite 1900
                                                       Houston, Texas 77010
                                                       Attention: Elizabeth C. Freeman and Matthew D.
                                                       Cavenaugh

                United States Trustee                      Counsel to the Consenting Superpriority Term
                                                              Lenders and the Consenting Term Lenders
Office of The United States Trustee                    Davis Polk & Wardwell LLP
515 Rusk Street, Suite 3516                            450 Lexington Avenue
Houston, TX 77002                                      New York, NY 10017
                                                       Attention: Damian S. Schaible and Natasha Tsiouris
Counsel to the DIP LC Agent, the DIP Collateral
  Agent, the Revolving and LC Administrative             Counsel to the proposed DIP Term Loan Agent, the
     Agent, the 2018 Collateral Agent, the                2021 LC Administrative Agent, the Superpriority
 Superpriority Revolving Administrative Agent           Term Loan Agent, and the Term Loan Administrative
    and the Superpriority Collateral Agent                                     Agent

Linklaters LLP                                         Latham & Watkins LLP
1345 Avenue of the Americas                            885 Third Avenue
New York, New York 10105                               New York, NY 10022
Attention: Margot Schonholtz and Penelope Jensen       Attention: Andrew Parlen and Anupama Yerramalli

and

Bracewell LLP
711 Louisiana Street
Houston, Texas 77002
Attention: William A. (Trey) Wood III

        Counsel to the Consenting Noteholders
Paul, Weiss, Rifkind, Wharton & Garrison LLP
1285 Avenue of the Americas
New York, NY 10019
Attention: Andrew N. Rosenberg and Alice B.
Eaton

-and-

Brown Rudnick LLP
7 Times Square
New York, NY 10036
Attention: Robert J. Stark and Bennett S. Silverberg




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         After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, such Entity must file a renewed request to receive
documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have Filed
such renewed requests.

H.       Term of Injunctions or Stays.

          Unless otherwise provided in the Plan or in the Confirmation Order, all injunctions or stays in effect in the
Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
Confirmation Order) shall remain in full force and effect until the Effective Date. All injunctions or stays contained
in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their terms.

I.       Entire Agreement.

         Except as otherwise indicated, and without limiting the effectiveness of the Restructuring Support
Agreement, the Plan (including, for the avoidance of doubt, the documents and instruments in the Plan Supplement)
supersedes all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into the Plan.

J.       Plan Supplement.

           All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
shall be available upon written request to the Debtors’ counsel at the address above or by downloading such exhibits
and documents from the Debtors’ restructuring website at https://cases.primeclerk.com/McDermott or the
Bankruptcy Court’s website at www.txs.uscourts.gov/bankruptcy. To the extent any exhibit or document is
inconsistent with the terms of the Plan, unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-
document portion of the Plan shall control.

K.       Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by
such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall
provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
modified without the Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually
dependent.

L.       Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to section 1125(e) of the
Bankruptcy Code, the Debtors and each of their respective Affiliates, agents, representatives, members, principals,
shareholders, officers, directors, employees, advisors, and attorneys will be deemed to have participated in good
faith and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of securities offered and
sold under the Plan and any previous plan, and, therefore, neither any of such parties or individuals or the
Reorganized Debtors will have any liability for the violation of any applicable law, rule, or regulation governing the
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solicitation of votes on the Plan or the offer, issuance, sale, or purchase of the Securities offered and sold under the
Plan and any previous plan.

M.       Closing of Chapter 11 Cases.

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File with the
Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of the
Bankruptcy Court to close the Chapter 11 Cases.

N.       Waiver or Estoppel.

          Each holder of a Claim or an Interest shall be deemed to have waived any right to assert any argument,
including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
secured or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity, if
such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed with the Bankruptcy Court
prior to the Confirmation Date.

O.       Creditor Default

          An act or omission by a holder of a Claim or an Interest in contravention of the provisions of this Plan shall
be deemed an event of default under this Plan. Upon an event of default, the Reorganized Debtors may seek to hold
the defaulting party in contempt of the Confirmation Order and shall be entitled to reasonable attorneys’ fees and
costs of the Reorganized Debtors in remedying such default. Upon the finding of such a default by a creditor, the
Bankruptcy Court may: (a) designate a party to appear, sign and/or accept the documents required under the Plan on
behalf of the defaulting party, in accordance with Bankruptcy Rule 7070; (b) enforce the Plan by order of specific
performance; (c) award judgment against such defaulting creditor in favor of the Reorganized debtor in an amount,
including interest, to compensate the Reorganized Debtors for the damages caused by such default; and (d) make
such other order as may be equitable that does not materially alter the terms of the Plan.




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Dated: January 22March 11, 2020     MCDERMOTT INTERNATIONAL, INC.

                                    on behalf of itself and all other Debtors




                                    /s/ John Castellano
                                    John Castellano
                                    Chief Restructuring Officer




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                                 Exhibit A

                             Sussberg Affidavit
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                                                                                                                001376




                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                     )
     In re:                                                          ) Chapter 11
                                                                     )
     MCDERMOTT INTERNATIONAL, INC., et al.,1                         ) Case No. 20-30336 (DRJ)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

                  AFFIDAVIT OF JOSHUA A. SUSSBERG
            IN SUPPORT OF DEBTORS’ EMERGENCY MOTION
     FOR MICHAEL VAN DEELEN TO APPEAR AND SHOW CAUSE WHY HE
   SHOULD NOT BE HELD IN CONTEMPT OF COURT AND PROHIBITED FROM
FURTHER CONTACT WITH THE DEBTORS, THEIR OFFICERS, OR THEIR COUNSEL

              I, Joshua A. Sussberg, hereby declare under penalty of perjury:

              1.     I am over the age of 18 and competent to testify. I am the president of Joshua A.

 Sussberg, P.C., a partner of the law firm of Kirkland & Ellis LLP, located at 601 Lexington

 Avenue, New York, New York 10022, and a partner of Kirkland & Ellis International, LLP

 (together with Kirkland & Ellis LLP, collectively, “Kirkland”). I am one of the lead attorneys

 from Kirkland working on the above-captioned chapter 11 cases. I am a member in good standing

 of the Bar of the State of New York, and I have been admitted to practice in the Southern District

 of New York. There are no disciplinary proceedings pending against me.

              2.     I submit this Affidavit (the “Affidavit”) in support of the Debtors’ Emergency

 Motion for Michael Van Deelen to Appear and Show Cause Why He Should Not Be Held in

 Contempt of Court and Prohibited From Further Contact with the Debtors, their Officers, or their




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor
       McDermott International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 757 North Eldridge Parkway, Houston, Texas 77079.
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 425 of 550
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Counsel (the “Motion”).2 Except as otherwise noted, I have personal knowledge of the matters set

forth herein.

         3.       I am authorized to submit this Affidavit, and, if I were called upon to testify, I could

and would testify competently to the facts set forth herein.

                                     Interactions with Mr. Van Deelen

         4.       On March 12, 2020, the Court conducted a hearing on confirmation of the Debtors’

plan of reorganization (the “March 12th Hearing”). During and after the March 12th Hearing,

Michael Van Deelen made certain false, threatening, and vulgar remarks to me.

         5.       Mr. Van Deelen made false and misleading statements about me, Kirkland, and the

Debtors on the record during the March 12th Hearing. During his closing argument, Mr. Van

Deelen suggested that the Debtors’ chapter 11 plan of reorganization could contain a provision

allowing either the Debtors or Kirkland to “come out to [his] house and shoot [him].” Mr. Van

Deelen also falsely stated on the record that I threatened him. Mr. Van Deelen also referred to the

Court as a “son of a bitch.” These statements can be heard on the Court’s audio recording of the

March 12th Hearing.

         6.       After the conclusion of the March 12th Hearing, Mr. Van Deelen waited outside of

the restroom to confront me. Mr. Van Deelen first asked for my name. Mr. Van Deelen did not

indicate why he was attempting to personally identify me. I responded to Mr. Van Deelen that it

“didn’t matter” what my name was. Mr. Van Deelen then called me a “pasty white fuck” and said

“I’ll have my way with your wife.”

         7.       On March 12, 2020, Mr. Van Deelen also sent me an email asking me to confirm

our seating positions during the March 12th Hearing. A copy of this email is attached to this


2    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.


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Affidavit as Exhibit 1. I believe this email was a further attempt by Mr. Van Deelen to personally

identify me.

       8.      In light of the statements on the record at the March 12th Hearing and herein, I

believe Mr. Van Deelen’s behavior is intended to threaten, harass, and intimidate me, the Debtors’

officers, and our families. Accordingly, I support the relief sought in the Motion.

       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct to the best of my knowledge, information, and belief.


 Dated: March 17, 2020                               /s/ Joshua A. Sussberg
                                                     Joshua A. Sussberg
                                                     as President of Joshua A. Sussberg, P.C., as
                                                     Partner of Kirkland & Ellis LLP; and as
                                                     Partner of Kirkland & Ellis International LLP




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                                    Exhibit 1

                                Van Deelen Email
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                                Exhibit B

                             Spence Affidavit
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                          IN THE UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                      )
     In re:                                                           ) Chapter 11
                                                                      )
     MCDERMOTT INTERNATIONAL, INC., et al.,1                          ) Case No. 20-30336 (DRJ)
                                                                      )
                              Debtors.                                ) (Jointly Administered)
                                                                      )

                    AFFIDAVIT OF STUART SPENCE
            IN SUPPORT OF DEBTORS’ EMERGENCY MOTION
     FOR MICHAEL VAN DEELEN TO APPEAR AND SHOW CAUSE WHY HE
   SHOULD NOT BE HELD IN CONTEMPT OF COURT AND PROHIBITED FROM
FURTHER CONTACT WITH THE DEBTORS, THEIR OFFICERS, OR THEIR COUNSEL

              I, Stuart Spence, hereby declare under penalty of perjury:

              1.     I am over the age of 18 and competent to testify. I am the former Executive Vice

 President and Chief Financial Officer of McDermott International, Inc.

              2.     I submit this Affidavit (the “Affidavit”) in support of the Debtors’ Emergency

 Motion for Michael Van Deelen to Appear and Show Cause Why He Should Not Be Held in

 Contempt of Court and Prohibited From Further Contact with the Debtors, their Officers, or their

 Counsel (the “Motion”).2 Except as otherwise noted, I have personal knowledge of the matters set

 forth herein.

              3.     I am authorized to submit this affidavit, and, if I were called upon to testify, I could

 and would testify competently to the facts set forth herein.




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       proposed claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor
       McDermott International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
       cases is 757 North Eldridge Parkway, Houston, Texas 77079.
 2     Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Motion.
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                               Interactions with Mr. Van Deelen

       4.      At approximately 10:57 a.m. on February 27, 2020, Michael Van Deelen arrived at

my private residence and knocked on the front door to my home. Mr. Van Deelen’s appearance

was unannounced and I had never spoken to him or contacted him prior to February 27, 2020. A

photograph captured from my doorbell camera is attached hereto as Exhibit 1.

       5.      Because I was on a conference call at the time, my wife answered the door. Mr.

Van Deelen spoke with my wife, purporting to do so to confirm he had my correct address for

purposes of sending a subpoena. Upon realizing the nature of Mr. Van Deelen’s presence at our

home, my wife became visibly shaken.

       6.      Despite this interaction, I voluntarily testified at the hearing in the Debtors’

chapter 11 cases on March 12, 2020. In light of the statements on the record at that hearing and

herein, I believe Mr. Van Deelen’s behavior is intended to threaten, harass, and intimidate me.

Accordingly, I support the relief sought in the Motion.

       Pursuant to 28 U.S.C. § 1746, I declare under the penalty of perjury that the foregoing is

true and correct to the best of my knowledge, information, and belief.


 Dated: March 17, 2020                            /s/ Stuart Spence
                                                  Stuart Spence
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                                 Exhibit 1

                        Doorbell Camera Photograph
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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 11
                                                                    )
    MCDERMOTT INTERNATIONAL, INC., et al.,3                         )   Case No. 20-30336 (DRJ)
                                                                    )
                             Debtors.                               )   (Jointly Administered)
                                                                    )   (Emergency Relief Requested)

                                         ORDER TO SHOW CAUSE
                                           (Re: Docket No. _____)


             Mr. Michael Van Deelen, Party-in-Interest, shall personally appear on ____________ at

________.m. in Courtroom 400, 4th Floor, 515 Rusk, Houston, TX 77002 and show cause why he

should not be held in contempt of court and prohibited from further contact with the Debtors, their

current and former officers, directors, and employees, and counsel and other professionals in these

Cases and their families.

             Failure to appear at the time and date above will result in the Court issuing a bench warrant

for Mr. Van Deelen’s arrest.



    Dated: __________, 2020
    Houston, Texas                                       DAVID R. JONES
                                                         UNITED STATES BANKRUPTCY JUDGE




3
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://cases.primeclerk.com/McDermott. The location of Debtor McDermott
      International, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      757 North Eldridge Parkway, Houston, Texas 77079.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION                                                  ENTERED
                                                                                                  03/23/2020
IN RE:                            §
                                  §                        CASE NO: 20-30336
MCDERMOTT INTERNATIONAL, INC., et §                        CHAPTER 11
al.,                              §                        (Jointly Administered)
                                  §
     Debtors.                     §                        DAVID R. JONES

                                            ORDER
                                         (Docket No. 694)

         The Court has reviewed the Emergency Motion for Michael Van Deelen to Appear and
Show Cause Why He Should Not be Held in Contempt and Prohibited from Further Contact with
the Debtors, their Officers, or their Counsel [Docket No. 694]. The Court has also reviewed Mr.
Van Deelen’s response to the motion [Docket No. 701]. Since the filing of the motion, the Court
is aware that Mr. Van Deelen came back to the courthouse to file a complaint against Debtors’
counsel on the basis of an alleged threat made at or after the confirmation hearing in this case 1.
In addition, the Court has reviewed Mr. Van Deelen’s conduct in other hearings before the Court
in this case.

       The focus of the emergency motion surrounds the recent confirmation hearing held in this
case on March 12, 2020. During the hearing, Mr. Van Deelen is alleged to have made certain
disparaging remarks about the Court as well as threats toward Debtors’ counsel. Mr. Van Deelen
denies that he made any disparaging remarks toward the Court and asserts that any threats
toward counsel were made outside the courtroom and therefore outside the Court’s jurisdiction.
Mr. Van Deelen further asserts that he made no such threats.

        In the movants’ motion, it is alleged that Mr. Van Deelen called the Court a “son of a
bitch.” Mr. Van Deelen denies that he made any such remark and that he was “sitting just a few
feet from the Court during the hearing . . . [and] [i]f Van Deelen would have called the Court a
“son of a bitch”, the Court would certainly have heard him do so.” Mr. Van Deelen’s denial is
set forth in his sworn affidavit attached to his response [Docket No. 701]. Unfortunately for Mr.
Van Deelen, the Court’s staff did hear Mr. Van Deelen’s statement and immediately reported it
to chambers. Moreover, although Mr. Van Deelen was facing away from the microphones
located on counsel table, Mr. Van Deelen’s statement is audible on the original audio with
headphones. While the Court was willing to overlook the insult, it cannot overlook a false
statement.

      The motion goes on to allege that Mr. Van Deelen made vulgar and threatening
comments to Mr. Sussberg and his family. Mr. Van Deelen denies under oath that any such
comments were made. Given that Mr. Van Deelen has demonstrated the propensity to make
1
   When the courthouse security officer offered to take the complaint, Mr. Van Deelen declined to make
an official report and left the building.
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false statements under oath, the Court has grave concerns about Mr. Van Deelen’s affidavit and
gives it little weight under the circumstances. Moreover, given Mr. Deelen’s prior conduct
before the Court and reference to “shooting” during the confirmation hearing, the Court has
concerns about Mr. Van Deelen’s mental stability. The Court concludes that Mr. Van Deelen
poses a legitimate risk to the safety of courthouse staff and litigants that oppose his position.

        Mr. Van Deelen goes to great length to assert that the Court cannot sanction him for his
conduct outside the courtroom and that no court order has been entered that he violated. Mr.
Van Deelen is correct in that statement. However, the Court has the authority and the duty to
protect those parties that appear before it. Further, the Court has a duty to ensure that the federal
courthouse is a place of safety and order for all persons who enter. Accordingly, it is

       ORDERED THAT:

       1.      Michael D. Van Deelen is prohibited from contacting the Court and its staff by
any means. Any communication to the Court or its staff must be made in writing and filed with
the Clerk of the Court.

        2.     Michael D. Van Deelen is prohibited from contacting Joshua Sussberg or any
member of his family in any manner. Should Mr. Sussberg find it necessary to seek the
assistance of law enforcement officials to protect his family and enforce this order, the Court
requests that upon presentation of a copy of this order and a determination that a violation of this
paragraph has occurred, such law enforcement officials should detain Mr. Van Deelen and
transfer him to this Court for further proceedings.

        3.     A copy of this Order shall be delivered to the United States Marshal for further
investigation of Mr. Van Deelen’s conduct. Further, Mr. Van Deelen may not enter the federal
courthouse except with the escort of a court security officer.

        4.     A copy of this Order shall be delivered to the United States Attorney for
investigation of Mr. Van Deelen’s conduct in this case.

       5.      The request for sanctions is denied.

      6.      Should Mr. Van Deelen wish to seek relief from this order or request a hearing, he
may do so by pleading filed within fourteen days.

       7.      This order is effective upon entry.

       SIGNED: March 23, 2020.


                                                  ___________________________________
                                                  DAVID R. JONES
                                                  UNITED STATES BANKRUPTCY JUDGE


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                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION                                              ENTERED
                                                                                            04/20/2020
   IN RE:                            §
                                     §                     CASE NO: 20-30336
   MCDERMOTT INTERNATIONAL, INC., et §                     CHAPTER 11
   al.,                              §                     (Jointly Administered)
                                     §
        Debtors.                                           DAVID R. JONES
                                     §

                                          ORDER
                                       (Docket No. 723)

        In its order entered March 23, 2020 concerning Michael D. Van Deelen, the Court
provided in paragraph 6 of the order that if Mr. Van Deelen wished to seek relief from the March
23, 2020 order or request a hearing, he could do so by filing a pleading within 14 days of the
order’s entry date (Docket No. 719). The intent of the paragraph was to ensure that no ambiguity
existed in terms of the Court’s directives to Mr. Van Deelen and that a proper balance was
achieved between public safety and court access.

        On March 24, 2020, Mr. Van Deelen filed a pleading requesting a hearing (Docket No.
723). In his pleading, Mr. Van Deelen identifies six topics for which he seeks “clarification.”
No other relief is sought. The pleading does nothing more than seek to disrupt further the
legitimate ends of the bankruptcy process and has no legitimate purpose. The request for hearing
is denied.

       SIGNED: April 20, 2020.


                                                ___________________________________
                                                DAVID R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE




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                                                                              DavitJ.Bratley,ClerkofCourt

     In re:
                                                                Case N o.20-30336
     M CDERM OTT INTERNATION AL,IN C,etal
                                                                Chapter 11
                            Debtorts).




                                      NOTICE OF FILING


              Please takenoticethatParty In InterestM ichaelVan Deelen hasfiled in the Fifth

     CircuitCourtofAppealsthe attached documentwhich isrelated to the above-captioned

     a,Ct10
         ' n.


     Houston,Texas

     June 3,2020
                                                         Respectfully submitted,

                                                                 '      V
                                                         M ichaelVan Deelen
                                                         Party ln Interest
                                                         16215 FriarCircle
                                                         Spring,TX 77379
                                                         832-562-0723
                                                         michaelvandeelen@ gmail.com
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ç)                                                                                      001417




                               CERTIFICATE OF SERVICE


     1,M ichaelV an D eelen,do hereby certify thatIcaused a copy ofthe foregoing docum ent
     to be served by the ElectronicCaseFiling System fortheUnited StatesBankruptcy Court
     forthe Southern DistrictofTexason this3rd day ofJune,2020.


                                                            '
                                                                      0-
                                                      M ichaelV an D eelen
                                                      16215 FriarCircle
                                                      Spring,TX 77379
                                                      832-562-0723
                                                      michaelvandeelen@ gmail.com




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                             No.w o .-yoz-eG

                  IN TH E FIFTH CIRCUIT COU RT OF A PPEA LS
                         N EW O RLEA N S,LO U ISIAN NA




                                       IN RE
                             V ICHAEL vAN DEELEN




                   OriginalProceeding toCaseNo.20-30336 (DRJ)
                    Pending ln The U nited States Bankruptcy Court
                         ForThe Sotlthern D istrictO fTexas
                                 H ouston D ivision
                          H onorable D avid Jones,Presiding



                    PETITIO N FO R W R IT O F M A N DA M U S
                 AG A IN ST THE H ON OR ABLE D AV ID R .JON ES,
            JUD G E OF THE UN ITED STA TES BAN K RU PTCY COU RT
                   FOR THE SO U THERN D ISTRICT O F TEX A S
                              H O U STO N D IV ISION



                                                M ichaelV an D eelen
                                                PetitionerPro Se
                                                16215 FriarCircle
                                                Spring,TX 77379
                                                832-562-0723
                                                michaelvandeelen@ glmail.colm
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G*w                                                                                001419




                   C ERTIFIC ATE O F IN TER ESTED PER SO N S

            The undersigned Petitionercertifiesthatthe follow ing listed persons

      and entities as described in the fotlrth sentence ofFifth CircuitC ourtof

      A ppealsRule 28.2.1 have an interestin the outcom e ofthis case. These

      representationsaremadeinorderthatthejudgesofthiscourtmayevaltlate
      possible disqualification orrecusal.


      M ichaelD .V an Deelen
      Petitioner
      162 15 FriarCircle
      Spring,TX 77379


      The H onorable D avid R.Jones
      Respondent
      Bob Casey U nited States Courthouse
      5l5 Rusk A venue
      Houston,TX 77002



      D ated :June 3,2020                          /s/M ichaelV an D eelen
                                                   Petitioner
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                STA TE M EN T R EG A R D IN G O RA L A RG U M EN T

            Petitionerdoes notbelieve oralargum entisnecessary.




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                                   TA BLE O F C O N TEN TS

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                        JU R ISDIC TIO N AL STA TEM ENT

       ThisCourthasoriginaljurisdictiontoissuetherequestedwritofmandamus,
       28U.S.C.Section l651(a).
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             CO M ES N O W PetitionerM ichaelV an D eelen and petitions the Fifth

       CircuitCourtofAppealsfora w ritofm andam usto the Honorable D avid R.

       Jones ofthe U nited StatesBankruptcy Courtforthe Southern D istrictof

       Texas,H ouston D ivision,and show sthe follow ing in supportof his

       petition.

                                       SUM M AR Y

             Petitioneris representing him selfas a Party ln Interestduring

       M cD erm ottIntel-national's Chapter 11 bankruptcy proceeding in the U .S.

       DistrictCourtfortheSotlthernDistrictofTexas(casenumber20-30336).
       OnM arch23,2020,thetrialcourt(theHonorableDavidR.Jones),without

       Grstaffording Petitionernoticeandatrial,issuedapermanentinjunetion
       againstPetitionerw hich prohibited Petitionerfrom contacting the trialcourt

       and its staff,prohibited Petitionerfrom contacting Joshua Sussberg,an

       attorney forthe debtors in the above-captioned case,orany m em berofhis

       fam ily in any m annerand prohibited Petitionerfrom entering the federal

       courthouse in H ouston w ithoutbeing escorted by a courtsecurity offcer.

       (Appendix 3).
             The trialcourt'sM arch 23,2020,Order(Appendix 3)stated that
       Petitionercould reqtlesta hearing on the trialcourt's O rder,w hich Petitioner

       didthefollow ing day,M arch 24,2020.(Appendix 4). On April20,2020,
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       thetrialcourtdenied Petitioner'srequestfora hearing stating,''The pleading

       (Petitioner'srequestforahearing)doesnothingmorethanseekto disrupt
       furtherthe legitim ate ends ofbankruptcy process and has no legitim ate

       purpose.''(Appendix 5).

             Priortothetrialcourt'sM arch23,2020,Orderpermanently enjoining
       Petitioner,therehadbeen nopreliminaryhearingsofany kind(e.g.-

       temporaryrestrainingorder,preliminary injunction)noticedorheldonthe
       mattersincludedintheM arch23,2020,permanentinjunction.
             The trialcourt'sdenialofPetitioner'srightto notice and a trialbefore

       itsilnplementationofapermanentinjtlnctionwascontrary to1aw anda
       violationofPetitioner'srightsofequalaccesstothecourts(First

       Amendment),dueprocess(FifthAmendment)andequalprotectionofthe
       laws(FourteenthAmendment).
             Petitionerseeksa w ritofm andam us from thisCourtqtlashing the trial

       cotlrt'sillegal,unconstittltional,M arch 23,2020,Order(permanent
       injunction).lnthealternative,Petitionerseeksawritofmandamusfrom this
       Courtordering the trialcourtto grantPetitionera trialon the actions

       prohibited by the trialcourt'sM arch 23,2020,Order. Ful-therm ore,should

       this Courtordera trialon the actionsprohibited by the trialCourt's M arch

       23,2020,O rder,Petitionerseeks a w ritofm andam us disqualifying the



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       currenttrialcourtjudge(theHonorableDavidR.Jones)from presidingover
       said trial. A sw illbe seen herein,the trialcourt'sanim oshy tow ard

       Petitioneris so greatthatPetitioneris concerned thatthe trialcourtw ill

       sim ply continue to m ake tlnlaw ful,unconstitutionalrulings during a trialon

       the actions prohibited by itsM arch 23,2020,Order.



                               STA TEM EN T O F FA CT S

             As noted above,Petitionerisrepl-esenting him selfas a Party ln

       Interestduring M cD erm ottlnternational's Chapter 11 bankruptcy proceeding

       intheU.S.DistrictCourtfortheSotlthernDistrictofTexas(casentlmber
       20-30336). Petitionerisessentially the only person advocating fortherights

       ofshareholdersduringtheproceedings.(Therehasalso beenone,andonly
       one,law yerrepresenting a sm allgroup ofshareholdersw hose representation

       ofsaidshareholdershasbeen minimal.) TheM cDermottbankrtlptcywasa
       prepackaged bankruptcy where the details ofthe bankruptcy had been

       w orked outbetw een M cDerm ottand its creditorspriorto the Chapter 11

       filing. Opposing Petitionerin the bankruptcy action w asa literalarm y of

       lawyersrepl-esenting M cD erm ottand itscreditors.




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c',

      TheTrialCourt'sUnlawful.UnconstitutionalPermananentlnjunction
      lssued A gainstPetitioner

            K irkland & Ellis is one ofthe firm s representing and advising

      M cD erm ottlnternationalin its bankruptcy case. K irkland becam e upset

      w ith Petitionerbecause on Febrtlary 27,2020,Petitionerfiled a pleading

      asking the trialcourtto order a crim inalinquiry pursuantto 18 U .S.C .

      Section l58(d)and 18U.S.C.Section3057into improper,criminal,
      activities pursued by M cD erm ottand its advisors before and during the

      pendency ofthe bankruptcy proceedings.

            D tlring the Plan Confirm ation H earing held on M arch 12,2020,

      PetitionerfurtherangeredKirklandwhenheobjectedtothereadingof
      K irkland's expertw itnessreportsfavoring bankruptcy directly into the

      record. lnstead,Petitionerm ade the experts testify during the hearing so that

      he cotlld ask them qtlestions. Thistook a lotoftim e. O ne ofthe K irkland

      attorneys,Joshua Sussberg,was sitting nextto Petitionerin the courtroom .

      The longerthe testim ony took,the angrierM r.Sussberg appeared.

      Eventually,M r.Sussberg began to glare atPetitionerand subsequently told

      Petitioner'Y ou are disgustingl''and m ade otherinsultsto Petitioner. A tthe

      time,Petitionerdid notknow M r.Sussberg'sname.(Appendix2,Appendix

      2:M ichaelVan Deelen affidavit).


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             A fterthe hearing w asover,Petitionerw entto the restroom . A s

       Petitionerw asentering the restroom ,M r.Sussberg w ascom ing out.

       Petitionerpolitely asked him forhis nam e. M r.Sussberg w ould notgive

       Petitionerhis nam e. H e becam e very angry and once again told Petitioner

       'Y ou are disgustingl'and also told Petitioner'You are a fooll' M r.Sussberg

       then w entaround a cornertow ards the elevators.Forsom e reason,M r.

       Stlssberg turned around and cam e storm ing back to the restroom area. H e

       aggressively chargedPetitionerandstoppedjustacoupleofinchesfrom
       Petitionerand once again began to berate Petitioner. Petitionerw asvery

       frightened. Petitioneris a 70 year-old seniorcitizen and M r.Sussberg is a

       muscularperson who appearsto bein his late30'sorearly 40's. (Appendix

       2,Appendix2:M ichaelVanDeelenaffidavit).
             Petitionerwas determ ined to find the nam e ofthisperson so Petitioner

       could com plain abouthisterrible behavior,including his assaultof

       Petitioner. Petitionergoton the K irkland w ebsite and found Stlssberg's

       picture w hich identified him as Joshua Sussberg. Petitionerthen sentM r.

       Sussberg a courtesy em ailasking him ifhe w as the one w ho had satacross

       from Petitioneratthe M arch 12,2020,Plan Confirm ation H earing.

       Petitionergave M r.Sussberg untilW ednesday,M arch 18,2020,to reply.

       (Appendix 2,Appendix 2:M ichaelVan Deelen affidavit).
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             O n M arch 17,2020,attorneys forthe debtorM cD erm ottlnternational,

       including M r.Sussberg ofK irkland & Ellis,LLP,tiled their'Em ergency

       M otion forM ichaelV an D eelen to A ppearand Show Cause W hy H e Shotlld

       N otBe H eld ln Contem ptO fCourtand Prohibited From Further C ontact

       W ith theDebtors,TheirOfficers,orTheirCounsel(emphasisaddedl'on

       behalfofdebtofM cDermottInternationai.(Appendix 1).lntheirmotion,
       w hich falsely accused the Petitionerofa hostofim proprieties,the

       defendantsasked the trialcourtto ''prohibitM r.V an D eelen from contacting

       the D ebtors,theirctlrrentofficers,directors,orem ployees,theircounselor

       otherprofessionals,orany oftheirfam iliesin person orvia telephone or

       electronicformsofcommunication....''(Appendix 1,para.17).Themotion

       also asked thetrialcourttoorderPetitioner(VanDeelen)toappear
       (emphasisadded)andshow causewhy heshouldnotbeheldin conlemptof
       courtand prohibited from furthercontactw ith the debtors,theircurrentor

       form erofGcers,directors,and em ployees,theircounselorother

       professionalsandtheirfamilies.''(Appendix 1,para.16).Themotion had
       notbeen preceded by a requestfora tem porary restraining orderor a

       preliminary injunction.lnthemotion,M cDermottaskedforahearing on

       thelmotiononadate'TBD'.(Appendix 1).




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             Petitionerbelieves K irkland's m otion w as an attem ptto intim idate

       Petitioner,colorPetitionerin a false lightin the eyes ofthe trialeourtand

       retaliate againstPetitionerand frustrate Petitionerin his desire to com plain

       abotlt(orpossibly evensue)M r.Sussberg forhisbadactsagainstPetitioner
       asdescribed herein.

             A fterbeing served the K irkland m otion,Petitionerfiled and served his

       'Party In lnterestM iehaelV an Deelen's Response to Em ergency M otion for

       M ichaelV an D eelen to Appearand Show Cause W hy H e Should N otBe

       H eld ln Contem ptofCourtand Prohibited From FurtherContactW ith the

       D ebtors,TheirO ftscers,orTheirCounsel',on M ay 18,2020. Said response

       denied the allegationsofim proper behaviorraised in the K irkland m otion.

       (Appendix2,Appendix2-M ichaelVanDeelenAffidavit).
             O n M arch 23,2020,the trialcourt,w ithoutholding the requested

       hearing,signedandissueditsOrder(Appendix 3),whichwaseffective
       immediately (emphasisadded),denying M cDermott'scontemptrequestand
       itsrequesttopermanently enjoinPetitionerfrom contactingtheDebtors,
       theircurrentofficers,directors,orem ployees,theircounselorother

       professionals,orany oftheirfam ilies in person orvia telephone orelectronic

       form s ofcom m tlnication,w ith the exception ofM r.Sussberg and hisfam ily.

       (Note:theKirklandmotiondidnotusetheword'permanentinjunction',bu1


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       aplainreadingofthemotionmakesitclearthatapermanentinjunctionwas
       whatwasbeingrequested.)
             H ow ever,w ithokltnotiee ortrial,the trialcourt'sM arch 23,2020,

       Orderpermanently enjoinedPetitioner1)from contactingorassociating
       withattorney Sussbergormembersofhisfamily inanymanner'
                                                            ,2)from

       contactingthecourtand itsstaff 'byanymeans'and3)from visitingthe
       Houston tkderalcourthouse w ithoutbeing escorted by courthouse security.

       TheOrderstatedthatPetitionerwould besubjecttoarrestifheattemptedto
       contactM r.Stlssbergorhisfamily.(Appendix 3).
             Thetrialcoklrt'sM arch 23,2020,Order(Appendix3)informed
       PetitionerthatifPetitionersoughtrelieffrom the OrderorifPetitioner

       wanted a hearing on the Order,Petitionercould requesta hearing w ithin the

       next14days.OnM arch24,2020,theday afterthepermanentinjunction
       was issued by the trialcourt,Petitionerfiled his 'Party In lnterestM ichael

       V an D eelen's ReqtlestforH earing'seeking clarification ofthe M arch 23,

       2020,Orderandrequestingahearing.(Appendix4).
             O n April20,2020,in violation of itsow n M arch 23,2020,O rder,the

       trialcourtissued an Orderw hich denied Petitioner'srequestfora hearing.

       (Appendix 5). TheApril20,2020,Orderdenying Petitioner'srequestfora
       hearing stated,''Thepleading (Appendix 5 -Petitioner'sreqtlestforhearing)


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      doesnothing m ore than seek to disruptfurtherthe legitim ate ends ofthe

      bankruptcy processand hasno legitim ate purpose.'' The trialcourt's

      anim osity tow ards Petitionercould nothave been m ade m ore clear.



      O ther D iscrim inatory A cts ofthe TrialC ourtA gainstPetitioner

            The trialcourthas consistently treated Petitioneras a second class

      citizen and persona non grata during the course ofthe proceedings to date,

      violated the 1aw and Petitioner'sconstitutionalrightsofeqtlalaccessto the

      cotlrts,due processand eqtlalprotection ofthe law s and retaliated against

      PetitionerforPetitioner's attem pted exercising ofhisrightofequalaccess to

      the courtsas follow s:

            A . O n February 27,2020,Petitionerfiled a m otion which m oved the

      bankruptcy courtto orderan investigation ofM cD erm ottand its advisors

      (whichincltldeM r.Sussbergand hisfirm,KirklandandEllis)by theU.S.
      Attorney pursuantto 18 U.S.C.Section 158(d)and 18U.S.C.Section 3057.
       The m otion concluded:

      ''Based on the above,V an D eelen allegesthatM cD erm ott,certain m em bers
      ofitsm anagem entand itsadvisors,violated 18 U .S.C.Section 152 w hen
      they m ade various false oaths and accountsto the bankruptcy court,
      incltlding w hen they claim ed thatM cD erm otthad to re-equitize the
      com pany as partofits bankruptcy plan and thatcertain docum ents tsled w ith
      the courtw ere accurate',violated 18 U .S.C.Section 154 w hen they failed to
      provide the U .S.Trustee docum ents which showed thatthey had previously
      concltlded thatthe com pany did nothave to file forChapter 11 bankruptcy
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       and docum entsw hich show ed that,once Chapter 11 bankruptcy w asfiled,
       the com pany did nothave to re-equitize;and violated 18 U .S.C .Sectionls7
       w hen they filed docum ents w ith the bankruptcy courtpurporting to show
       thatM cD erm otthad to re-equitize the com pany in orderto satisfactorily exit
       bankrtlptcy w hen they knew thatthe reason they claim ed the need to re-
       eqtlitize was so thatthey could be granted 7.5% ofthe com pany's new shares
       upon em ergence from bankrtlptcy.
               V an D eelen allegesthatM cD erm ott's bankruptcy plan has notbeen
       proposed in good faith and has been proposed by a m eans forbidden by 1aw
       inviolation of11U.S.C.Section 1129(3)becausetheplancallsforthe
       cancellation ofexisting shares,the elim ination ofvirtually allofthe
       com pany's otltstanding debtand the re-equitization ofthe com pany forthe
       sole purpose ofenriching M cD erm ott's m anagem entand Board and not
       becatlse said cancellation of shares,elim ination ofal1debtand re-
       equitization ofthe com pany is necessary forthe satisfactory em ergence of
       the com pany from bankruptcy.
               V an D eelen alleges thatM cD erm ott'sbankruptcy plan discrim inates
       tlnfairly and is notfairand eqtlitable w ith respectto currentshareholders in
       violationof11U.S.C.Section 1129 (b)(1)becauseitisnotnecessaryto
       cancelthe shares ofthe existing shareholders,to elim inate virtually allofthe
       com pany's outstanding debtand to re-equitize the com pany in orderforthe
       plan to be viable. The plan calls forthe cancellation ofexisting shares,the
       elim ination ofvirtually allofthe com pany'soutstanding debtand the re-
       equitization ofthe com pany forthe sole purpose ofenriching M cDerm ott's
       m anagem entand Board and notbecause said cancellation ofshares,
       elim ination ofalldebtand re-equitization ofthe com pany is necessary for
       the satisfactory em ergence ofthe com pany from bankruptcy.
             VanDeelen,pursuantto 18U.S.C.158(d)and 18U.S.C.Section
       3057,m oves the courtto referfor investigation the claim s ofM cD erm ott,
       certainlnembersofitsmanagementanditsadvisors(includingJoshua
       Sussberg)thatM cDermotthastore-equitizethecompany in orderto
       satisfactorily exitbankruptcy.''

             ln violation ofPetitioner's constitutionalrightsofequalaccessto the

       courts,due process and equalprotection ofthe law sand in retaliation against

       PetitionerforPetitioner'sattem pted exercising ofhis rightofeqtlalaccess to

       the courts and in violation oflocalrule and custom and the Fed.R.Civ.

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 %,                                                                                   001434




       Proc.,the trialcourtrefused to calendarorhearPetitioner's m otion even

       though Petitionerhad requested the sam e pursuantto localrule and custom

       and the Fed.R .Civ.Proc.

             B . The M cD erm ottPlan Confirm ation hearing w as held at9:00 a.m .,

       C .S.T.,on M arch 12,2020. A tapproxim ately 5:00 p.m .,C.S.T.,on M arch

       11,2020,M cD erm ott'sattorneys,including M r.Sussberg,filed and served

       the com pany's M odified Plan,w hich w asseveralhundred pages long. There

       w as simply no w ay Petitionerand otherpartiesto the bankruptcy

       proceedings could be prepared to study the M odified Plan in tim e forthe

       Plan Confirm ation hearing w hich w as a m ere l6 hours aw ay.

             Atthe very beginning ofthe Plan Contirm ation hearing,Petitioner

       m oved the trialcourtfora continuance so thatPetitionerand the other

       parties would have tim e to study the M odised Plan before the trialcourt

       ruled on it. ln violation ofPetitioner's constitutionalrightsofequalaccess to

       the courts,due processand equalprotection ofthe laws and in retaliation

       againstPetitionerforPetitioner's attem pted exercising ofhis rightofequal

       access to the courts and in violation oflocalrule and custom and the Fed.R .

       C iv.Proc.,the trialcourtdenied Petitioner's m otion and proceeded w ith the

       Plan Confirm ation H earing. In response to Petitioner'sm otion,the trial
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       courtsaidsomethingtotheeffectof,''You'vealready losteverythinggasa

       M cDermottshareholder)! How couldthenew planbeanyworse?''
             C. During the Plan Confirm ation hearing,the trialcourtfreqtlently

       yelled and scream ed atthe Petitionerand berated the Petitionerfor

       Petitioner'srespectfully asking to be heard during the proceedings. The trial

       court,in an attem ptto falsify the reporter's record,frequently loudly accused

       Petitionerof''talkingover''(interrupting)him andthreatenedPetitionerwith
       'consequences',even though Petitionerhad notinterrupted him . Evidence of

       this im proper behaviorby the trialcourtis available on the audio recording

       ofthe M arch 12,2020,Plan Confrm ation H earing. The trialcourt's actions

       w ere in violation ofPetitioner'sconstitutionalrightsofequalaccessto the

       courts,due process and equalprotection ofthe law s and in retaliation against

       PetitionerforPetitioner's attem pted exercising ofhis rightofequalaccess to

       the courtsand in violation oflocalrule and custom and the Fed.R .Civ.

       Proc.and m ade in the attem ptto chillftlrtherprotected speech by the

       Petitioner.

             D . D uring the M arch 12,2020,Plan Confirm ation hearing,the trial

       courtviolated allappearance ofim partiality w hen he told the audience of

       approxim ately 70 persons thatthe M cD erm ottbankruptcy advisors,

       including M r.Sussberg,were ''the sm artestpeople in the country''orw ords



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       to thateffect. O n the otherhand,the trialcourthaspublicly told Petitioner

       ''You know nothingl''w hen discussing Petitioner's qualitseations and

       know ledge ofthe case in open court.

             E. ln itsM arch 23,2020,O rder,the trialcourt,aw are thatPetitioner

       is a PhiBeta K appa graduate ofStanford,has a M aster'sfrom M .I.T.and is a

       memberofM ensa(becausePetitionerhadtoldhim so duringahearing in
       whichthetrialcourtaskedPetitionerabouthisqualifications)challengedthe
       Petitioner's ''m entalstability''by falsely stating thatPetitionerreferenced

       ''shooting''during the M arch 12,2020,Plan Confirm ation hearing. The

       record ofthe Plan Confirm ation hearing w illnotshow thatPetitionerever

       threatened orm entioned thathe had everorw asgoing to shootsom eone.

       The trialcourt'scom m entw as false,vindictive and outrageous. The trial

       court's actionsw ere in violation ofPetitioner'sconstitutionalrightsofequal

       accessto the cotlrts,due process and equalprotection ofthe laws and in

       retaliation againstPetitionerforPetitioner'sattempted exercising ofhisright

       ofequalaccessto the courts and in violation oflocalrule and custom and the

       Fed.R .Civ.Proc.and m ade in the attem ptto chillfurtherprotected speech

       by the Petitioner.

             F. Dtlring the course ofthe proceedings,Petitionerasked the U .S.

       Attorney to instittlte a crim inalinvestigation ofM cD erm ottand its advisors



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       (which include M r.Sussberg and hisfirm,Kirkland & Ellis)forpossible
       crim inalw rongdoing priorto and during the course ofthe bankruptcy

       proceedings in line w ith paragraph 'A'above. ln an apparentretaliatory tit

       fortatm ove,in violation ofPetitioner's constitutionalrights ofequalaccess

       to the courts,due process and equalprotection ofthe law s and in retaliation

       againstPetitionerforPetitioner's attem pted exercising ofhis rightofequal

       access to the courts and in violation oflocalrule and custom and the Fed.R.

       C iv.Proc.and in the attem ptto chillfurtherprotected speech by the

       Petitioner,the trialcotlrt'sM arch 23,2020,O rderasked the U .S.A ttorney to

       investigate Petitionerforhis ''conductin thiscase'',w ithoutnam ing any

       specitic alleged conductthe U .S.Attorney should investigate.

             G . AfterM r.Sussberg assaulted Petitioneron M arch 12,2020,

       Petitionerapproached a security guard in the courthouse,told him aboutthe

       assaultand w ho assaulted him and asked him to investigate ifthere could be

       a video record ofthe assault. The trialcourt'sM arch 23,2020,Order

       acknow ledges thatPetitionerspoke to the officer. ln an apparentretaliatory

       titfortatm ove,in violation ofPetitioner'sconstitutionalrightsofequal

       access to the courts,due process and equalprotection ofthe laws and in

       retaliation againstPetitionerforPetitioner'sattem pted exercising ofhisright

       ofeqtlalaccess to the courtsand in violation oflocalrtlle and custom and the
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     Fed.R .Civ.Proe.and in the attem ptto chillfurtherproteeted speech by the

     Petitioner,the trialcourt'sM arch 23,2020,Orderasked the U nited States

     M arshalto investigate Petitioner's conductw ithotltnam ing any specific

     alleged condtlctto be investigated.

           H .The trialcourt'sM arch 23,2020,orderaccused Petitionerof

     ealling the trialcourta 'son ofa bitch'during the M arch 12,2020,Plan

     Confirm ation H earing. Thisaccusation w as false,fraudulent,vindictive and

     m ade in violation ofPetitioner'sconstitutionalrightsofequalaccessto the

     courts,due processand equalprotection ofthe law s and in retaliation against

     PetitionerforPetitioner's attem pted exercising ofhis rightofeqtlalaccess to

     the courts and in violation oflocalrule and custom and the Fed.R .Civ.

     Proc.and in the attem ptto chillfurtherprotected speech by the Petitioner.

           There w asan audio recording m ade ofthe M arch 12,2020,Plan

     Confrm ation Hearing. N ow here on said atldio can Petitionerbe heard

     calling the trialcourta 'son ofa bitch'.petitioner's 'Party ln lnterestM ichael

     Van D eelen's RequestforH earing'filed and served M arch 24,2020,asked

     the trialcourtto identify where on the audio tape ofthe M arch 12,2020,

     Plan Confirm ation H earing Petitionercan be heard calling the trialcourta

     'son ofabitch'.(Appendix4).Insteadofproviding thisinformationto
,
    .L
     xx   Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 487 of 550
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            Petitioner,the trialcourtdenied Petitioner'srequestfora hearing in itsA pril

            20,2020,Order,asw e have seen.



                                      ISSU ES PR ESENT ED

                  Thetrialeourt'sM areh 23,2020,Order(Appendix 3)permanently

            enjoiningPetitionerfrom eontactingthetrialcourtanditsstaffby any
            m eans,from contacting Joshua Sussberg,an attorney forthe debtors in the

            above-captioned case,orany m em ber ofhis fam ily in any m annerand from

            entering the federalcourthotlse in H ouston w ithoutbeing escorted by a court

            sectlrityofficerwasanabuseofdiscretion,contraryto1aw (Fed.R.Civ.

            Proc.Rule 65 and subsections)and violated severalofPetitioner's
            Constitutionalrights,including,butnotlim ited to,Petitioner'sFirst

            Am endm entrightofequalaccess to the courts,Petitioner's Fifth

            Am endm entrightofdue process,Petitioner's Fourteenth rightofequal

            protection ofthe Iaw s and Petitioner's FirstA m endm entrightto be free from

            retaliation forhis attem pted exercising ofhisrightofequalaccessto the

            courts.

                  The trialcourtdid nothold a hearing on M cD erm ott's Em ergency

            M otion forM ichaelVan Deelen to Appearand Show cause W hy H e Should

            N otBe H eld In Contem ptofCourtand Prohibited From FtlrtherContact


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       W ith the D ebtors,TheirO fticers,orTheirCounseleven though one w as

       requested.(Appendix 1).lnstead,thetrialcourt,withoutnoticeto
       Petitionerand w ithouta hearing ortrial,unlaw ftllly issued w hatam ounted to

       apermanentinjunctionagainstthePetitionerinitsM arch23,2020,Order.
       (Appendix 3). Thetrialcotlrt'sM arch 23,2020,Order,which waseffective
       im m ediately,gave Petitioner 14 days from the date ofthe O rderto seek

       relieffrom the Orderorto requesta hearing. Petitionerfiled a m otion

       seeking reliefand requesting a hearing on the very nextday,M arch 24,

       2020.(Appendix 4).Butany chancesforPetitionerto arguehiscasewere
       dashed w hen the trialcourt'sA pril20,2020,O rderdenied Petitioner's

       requestforahearingstating,'Thepleading(Petitioner'smotion)does
       notlning m ore than seek to disruptfurtherthe legitim ate endsofthe

       bankruptcy processand hasno legitimatepurposea'(Appendix 5).
             TheM cDermottmotion (Appendix 1)did notrequesteithera
       temporary restraining orderorapreliminary injunction.lnstead,the
       M cDermottmotionappearstohaverequestedapermanentinjunction.ln its
       M arch23,2020,Order(Appendix3),thetrialcourtinfactpermanently
       enjoinedPetitionerasdiscussedhereinandthendenied(Appendix 5)
       Petitioner'sM arch 24,2020,request(Appendix 4)fora hearing seeking
       relieffrom the Ordereven though thetrialcourtgave Petitioner 14 days
ç )Case 4:21-cv-03369    Document 10-2 Filed on 11/19/21 in TXSD Page 489 of 550
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       from M arch 23,2020,to tile hisrequestfora hearing to seek such relief.

       From thetimeM cDermotttiled itsmotion(Appendix 1)tothetimethetrial
       eourtdenied Petitioner'sreqtlestfora hearing seeking relief(Appendix 5),
       Petitionerw as notafforded a single hearing. N otone. Petitioneris left

       w ondering w hatcountry he lives in.



                                    R ELIEF SO U G H T

             Petitionerseeks aw ritofm andam usfxom this Courtquashing the trial

       cotlrt'sillegal,unconstittltional,M arch 23,2020,Order(permanent

       injtlnction).Inthealternative,Petitionerseeksawritofmandamusfrom this
       Courtordering the trialcourtto grantPetitionera trialon the actions

       prohibited by the trialcourt'sM arch 23,2020,O rder.Ful-therm ore,should

       thisCourtordera trialon the actionsprohibited by the trialCourt'sM arch

       23,2020,Order,Petitionerseeks a w ritofm andam us disqtlalifying the

       ctlrrenttrialcotlrtjudge(theHonorableDavidJones)from presiding over
       said trial. The trialcourt's anim osity tow ard Petitioneris so greatthat

       Petitionerisconcerned thatthe trialcourtw illsim ply continue to m ake

       tlnlaw ful,unconstitutionalrulings during a trialon the actions prohibited by

       itsM arch 23,2020,Order.
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                   RE ASO N S W H Y TH E W R IT SH O U LD ISSU E

            This Courtshould issue the w ritbecause,asseen herein,the trial

      court'sM arch 23,2020,O rderis unlaw fuland unconstittltional. The

      Petitionerw illbe dam aged ifhe cannotvisitw ith trialcourtpersonnel,

      communicatewithoneofM cDermott'sbankruptcy lawyers(M r.Sussberg)
      and visitthe federalcourthouse w ithoutan escort. B ecause the trialcourt's

      recordsare public,Petitioner's reputation w illbe seriously dam aged in the

      ptlblic eye by allthose w ho read the trialcourt'sM arch 23,2020,O rder

      w hich m akesPetitionerappearto be a very unsavory person.

            Ftlrtherm ore,the trialcotlrt'sM arch 23,2020,O rdercallsfor

      Petitioner's arrestand subsequentlossoffreedom should M r.Sussberg

      com plain thatPetitionerhascontacted M r.Sussberg orhisfam ily. This is

      especially concerning because M r.Sussberg hasalready attem pted to

      deceive the trialcourtthrotlgh the false allegations againstPetitionerm ade

      in M cD erm ott's '
                        E m ergency M otion forM ichaelV an D eelen to A ppearand

      Show Cause W hy He Should N otBe H eld ln Contem ptO fCourtand

      Prohibited From FurtherContactW ith the D ebtors,TheirO fficers,orTheir

      Counsel'. (Appendix 1,Appendix 2,including Petitioner'sAffidavit).
      PetitionerfearsthatM r.Stlssberg w illuse the trialcourt'sM arch 23,2020,

      Orderas a m eansto continue to retaliate againstPetitionerby having him



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      falselyarrested.Petitioner'sfreedom isnow inthehandsofaperson(M r.

       Sussberg)whohaspreviously assaultedPetitioner.(Appendix2,ineluding
      Petitioner'sAftidavit).
             Petitionerhasno recourse otherthan to seek thisw rit. The trialcourt

       is a federalactorand assuch cannotbe sued underthe federalcivilrights

       statute,42 U .S.C .Section 1983. N eithercan Petitionerfile a B ivens action

       becausesuchactionsprecludedeclaratory orinjunctivereliefandFederal
      judgesareimmunefrom money damages.Bivensv.Six UnknownNamed
      AgentsofFederalBureauofNarcotics,403U.S.388(1971).
             An interlocutoryappealunder28U.S.C.Section 1292(b)isnot
       available because the M arch 23,2020,Orderdoesnotinvolve a controlling

       question oflaw as to which there is substantialground fordifference of

       opinion and thatan im m ediate appealfrom the order m ay m aterially advance

       the ultim ate term ination ofthe litigation. Furtherm ore,the chance thatthe

       trialcotlrtw ould certify an interlocutory appealchallenging its unlawftlland

       unconstitutionalaction tow ard the Petitioneris nil.

             W H EREFOR E,the prem isesconsidered,Petitionerprays thatthis

       Courtgrantthe petition and orderthatan answerto the petition be filed by

       the respondents.
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                                                                       001444




        D ated this 3rd day ofJune,2020.

                                           Respectfully subm itted,


                                           /s/M ichaelV an D eelen
                                           16215 FriarCircle
                                           Spring,TX 77379
                                           823-562-0723

                                           PetitionerPro Se




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ç

                         C ER TIFICA TE O F SER VIC E

           1certify that1have served copies ofthispetition on the respondent

     jtldgeandallotherpartiesto theactioninthetrialcourt.


                                                Respectfully subm itted,


                                                /s/M ichaelV an D eelen
                                                16215 FriarC ircle
                                                Spring,TX 77379




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                                                                                   001446




                        C ERT IFIC AT E O F C O M PLIAN C E

             1hereby certify thatthisdocum entcontains lessthan 6,000 w ords,not

       incltlding appendices.Ifurthercertify thatthisdocum enthas been prepared

       in a conventionaltypeface no sm allerthan l4-pointfortext.



       D ated:June 3,2020                        /s/M ichae lVan D eelen
                                                        -   -


                                                 Petitioner




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                                 A PPEN D IX 1




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                     IN TH E UNITED STA TES BA NK R UPTCY CO URT
                       FOR TH E SO UTH ERN D ISTR ICT O F TEXA S
                                 H O U STO N DIVISIO N


In re:                                                            C hapter 11

M CDERM O TT INTERNATIONAL,INC-,etJ/.,l                           CaseNo.20-30336 (DRJI

                           Debtors.                               (JointlyAdministered)
                                                                  (EmergencyReliefRequested)
             EM ERG ENCY M O TIO N FO R M IC H AEL V AN D EELEN
          TO A PPEAR A ND SH O W CAU SE W H Y H E SH OU LD NO T BE
     H ELD IN CO NTEM PT O F CO U RT AND PRO H IBITED FR O M FUR TH ER
    CO NTACT W ITH TH E DEBT OR S,TH EIR O FFICERS,O R TH EIR C OU NSEL

      Emergency reliefhasbeen requested.A hearing willbeconducted on tllis m atter
      on TBD atTBD in Courtroom 400,4tb Floor,515 Rusk,H ouston,TX 77002. lf
                       -


      you objectto thereliefrequested oryou believe thatemergency consideration is
      notw arranted,you m usteither appear at the hearing or 5le a written response
      prior to the hearing. O therwise the Courtm ay treatthe pleading asunopposed
      and grantthe reliefrequested.
      Reliefis requested notlaterthan M arch 20,2020.

      The above-captioned debtors and debtors in possession (collectively,the tolllebtors'')
respectfullystatethefollowinginsupportofthismotion(thisVçMotion''):
                                           ReliefRequested
                 M ichael Van Deelen has been engaging in harassing and abusive behavior

towardsa form erofficerofthe Debtorsand tow ardscounselforthe Debtors. From show ing up at

StuartSpence's hom e and rattling M r.Spence's wife,to vulgarrem arks both inside and outside

the courtroom on M arch 12,2020,M r.Van Deelen's behavior is disgusting and should notbe

tolerated. M r.Van Deelen is upsetaboutthe equity holders'treatment in the Debtors'plan of




   A completelistofeachoftheDebtorsinthesechapterl1casesm ay beobtainedonthewebsiteoftheDebtors'
   claimsand noticing ajentatho s://cases.vrimec-
                                                lerk.coA cDe= o-
                                                               u.. The Iocation ofDebtorMcDermot
                                                                                               l
   International,Inc.'s prlncipalplace ofbusiness and the Debtors' service address in these chapter 11 cases is
   757NorthEldridgeParkway,Houston,Texas77079.
ç .Case 4:21-cv-03369
          Case20-30336Document
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    reorganization. That does not, how ever excuse his vulgar and threatening behavior towards

    individualsdoingtheirjobswhoarecomplyingwiththelaw,ortheirfamilies.TheDebtorsask
    this Courtto order M r. Van Deelen to appear and show cause why he should not be held in

    contem ptand be prohibited from furtherdirectcontactw ith the Debtors,theircurrentor form er

    officers,directors,and em ployees,and theircounselorotherprofessionalsand theirfam ilies,and

    any otherm easuresthatthisCourtseesfitto imposeto ensure a civiland professionalproceeding.

                                       Jurisdiction and V enue

                  The United States Bankruptcy Court for the Southern District of Texas

    (thestcoulf'lhasjurisdiction overthismatterpursuantto 28 U.S.C.j l334. Thisisa core
    proceedingpursuantto 28U.S.C.j 157(b).TheDebtorsconfirm theirconsent,pursuantto rule
    7008oftheFederalRulesofBankruptcyProcedure(theQtBankruptcyRules''),totheentry ofan
    orderby the Cotlrtin connection w ith thisM otion to the extentthatitis laterdeterm ined thatthe

    Court,absentconsentoftheparties,cannotenterfinalordersorjudgmentsinconnectionherewith
    consistentw ith Article lIIofthe United States Constitution.

                  Venueisproperpursuantto28U.S.C.jj1408and 1409.
                  Thebasesforthereliefrequestedhereinaresection l05(a)oftitle l1oftheUnited
    States Code (the%tBankruptcyCode'') and the Court's inherent authority as set forth in
     Chambersv.NASCO,501U.S.32(1991).
                  On January21,2020 (thettpetition Date''),eachDebtorfiled avoluntarypetition
    forrelief underchapter 1lofthe Bankruptcy Code. A detailed description sunrunding the facts

    andcircumstancesofthesechapterllcases(thettcases'')issetforthintheDeclarationofDavid
    Dickson,Presidentand ChiefExecutiveOA ccrofMcDermottlnternational,lnc,in Supportof
    theChapter11Petitions(theçr icksonDeclaration'')andtheDeclarationoflohnR.Castellano,
     ChiefTransformationO' cerofMcDermottlnternational,Inc.,inSupportoftheDebtors'First
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DayMotions(theççcastellanoDeclarationn''togetherwiththeDicksonDeclaration,thettFirstDay
Declarations'),filedonJanuary22,2020,andincomoratedbyreferenceherein.
                                          Backeround

               M r.Van Deelen is a self-described partp in-interestwho 5led num erouspleadings

in these Cases including:

              . Letter/M otiontolnterveneandAccesstoFilingSystem gDocketNo.2531
              @ M otion for Appointm ent of Trustee or Exam iner and the Earliest Possible

                 HearingDate(DocketNo.436)
              * MotiontoAppointTrustee(DocketNo.4411
              . ObjectiontoConfirmationofPlan(DocketNo.5101
              . ExhibitandW itnessList(DocketNo.511)
              . NoticeofExpertReport(DocketNo.5271
              @ Expedited M otion for an Order Continuing the M arch l2,2020 Plan Hearing

                 (DocketNo.557)
               On M arch 12,2020,the Courtconducted a hearing on confirm ation ofthe Debtors'

Planofreorganization(theitMarch 12thHearing'').Duringandaherthathearing,Mr.VanDeelen
madecertainthreateningandvulgarremarkstoJoshuaSussbergCM r.Sussberg''),counselforthe
Debtors. The undersigned apologizesto theCourtin advance forthe natureofthe language which

follows.During the hearing,M r.Van Deelen can be heard ontheaudio recording calling the Court

aSsson ofabitch.''(AUDIO CLIP,M arch 12,2020 Hearing,3:19:29-3:21:20).2 Afterconclusion
ofthe M arch 12thH earing, M r.Van Deelen w aited forM r.Sussberg outside ofthe restroom and




? Thisaudio clipisan excerpttheA udioFileattachedtoDocketNo.557andavailablewithatranscriptionofthe
  interactionaswellastheaudioatthefollowinglink:hûps://voutu.beG kvieEEAkll.
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called him a t'pasty white fuck''and said ççl'IIhave m y way w ith yourw ife.'' Attached as Exhibit

A isthe affidavitofJoshuaA.Sussberg,who witnessed andheardthe out-of-courtsutementsby
Mr.VanDeelen(thettsussbergAffidavif').
       8.      Ordinarily,counselwould sim ply turn the othercheek to such rem arks. However,

Mr.VanDeelenalsoappearedunannouncedatthehomeofStuartSpence(ççMr.Spence'),former
ChiefFinancialOfficerofM cD erm ottlnternational,lnc. M r.Spence w ason a conference callat

the tim e and M r.Spence'sw ifeanswered thedoorand w asrattled by herinteraction w ith M r.Van

Deelen. M r.Spence's affidavitdescribing thisencounter isattached hereto as Exhibit B (the
tçspenceAffidavit').Below isaphotographfrom Mr.Spence'sdoorbellcamera.




See Exhibit 1 to the Spence A ffidavit. Appearing cm M r.Spence's doorstep is harassing and

borderson stalking.

       9.      ln addition to these in-person interactions,M r.V an Deelen has also sentan em ail

to M r.Sussberg asking him to confirm theirseating positionsduring theM arch 12thHearing:
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      Erom:MichaelVarlDeelen<micltaeh'andeelentYsme .com>
      Date:Nfarc.
                h 13,2020 at4:36:33 PM EDT
      To:''Sussberg,Josh''uisussbers@kt
                                      'rkland.comm
      Subject:IEXQI Marcb l2,2020,PlanConsa ationHearing forDebtorM cDermott
      luternational(casexumber20-30330

      Mr.Sussbergè

      lwas atthe above hearing and reprosented m yselfas a Party ln lnterestwho opposed the
      plan conhrm ation.You satacross the gap between the two conference tables at
      approximately arms length ffom m e. Ifm u deny this,please folw ard said denialto m e at
      yourearliestconvenience,butno Iatertharl5:00 C.S.T.on W ednesday,M arch 18,2020         .




      lrecognize you from yourpicture on the Kirkl
                                                 and & Ellis website w hich is where lobtained
      yourem ailaddress.

      Regards,

      M ichaelVan Deelen

    See Exhibit lto the Sussberg Affidavit. W hile facially a fairly innocuousinquiry,given M r.Van

    Deelen'spleadingsand behavio-
                                rin these Cases, theem ailtakeson adifferentand unsettling color.

                  M r.Van Deelen hasa history ofsanctionable behavior. ln 2006,M r.Van Deelen

    filed suit against the City of Kansas City,M issouri to determ ine the constitutionality of an

    employment-relatedresidencypolicy.MichalVanDeelenv.CityofKansasCffy'
                                                                       ,M issouri,2006
    WL2077640(W .D.Mo.2006).TheDistrictCourtupheldapriorsanctionsorderagainstMr.Van
    Deelen finding thatttvan Deelen failed to com ply w ith generalrulesgoverning propercourtroom

    decorum andrespectfortheCourtandthejudicialproceedingswhichhehadinitiated.Throughout
    the trialV an D eelen repeatedly interrupted and argued w ith the Judge,counselfor the City and

    num erous w itnesses. V an Deelen presented a volum inous am ount of cum ulative and irrelevant

    evidencewastingvaluablejudicialresources.Histlippantanddisrespectfulremarksimpededthe
    em cientresolution of his constitutionalclaim s. A dditionally,and perhaps m ostoffensive,Van
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       Deelenfabricated evidenceto supporthisclaims. VanDeelenv.City ofKansasCj@,M issouri,
       2006W L2077640at*1(W .D.Mo.2006).
              1l.     This behavior is not new or different for M r.Van Deelen. M r.V an Deelen's

       behavior is intended to threaten,harass and intim idate these individuals and their fam ilies. H is

       participation in this case should be lim ited to the protecticm of his interestas an alleged former

       shareholderoftht Debtors.

                                                  A reum ent

              12.     Section 105(a)oftheBankruptcy Code permitsthisCourtto ççissue any order,
       process,orjudgmentthatisnecessaryorappropriatetocarry outtheprovisionsofthistitle.''1l
       U.S.C.jl05(a).
              l3.     W hile M r.Van Deelen'soffensive conducthasbeen in-person ratherthan within a

       pleading,theCourtstillhasthepowertosanctionandregulatesuchconduct.çt(A)federalcourt's
       inherentpowerto sanction bad faith conductserves the dualpum ose ofcovering the gaps where

       there are no applicable rules and also covering situation where Eneitherthe statute northe Rules

       are up to the task.''' In re Cochener,360 B.R.542,569 tBankr.S.D.Tex.2007)(quoting
       Chambersv.NASCO,501U.S.32,50(1991)).
              14.     The Fifth Circuit has affirm ed the bankruptcy court's pow er to issue sanctions

       undersection 105oftheBankruptcy Code,seeewg.PlacidRef Co.v.TerrebonneFueltf fube,
       l08F.3d609(5thcir.21997);andMooney v.Green TreeServ.,Inc.,340B.R.351tBankr.E.D.
       Tex.2006).
              15.    The Debtorsunderstand M r.V an D eelen'sdispleasure w ith the factthatthe equity

       holders willnotreceive a distribution in thiscase. The Debtors also believe thatallparties to a

       case,even those outofthem oney,deserveto be treated w ith dignity and are entitled to dueprocess
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    under the law. M r.Van Deelen has been treated with respect and was afforded that process.

    Regardless,M r.V an Deelen's conduct,atabsolute m inim um ,risesto the levelofbad faith. H is

    conductthreatens violence againstparties in the case and theirfam iliesand is sanctionable under

    the Court'sinherentpow erundersection 105 oftheBankruptcy Codeand pursuantto the Suprem e

    Court'sholding in Cham bers.

                                           Praverfor Relief

           16.    The Debtorsask thisCourtto orderM r.Van Deelen to appearand show cause w hy

    he should notbe held in contemptofcourtand prohibited from furthercontactw ith the debtors,

    theircurrentorform erofscers,directors,and em ployees,their counselorotherprofessionalsand

    theirfam ilies.

           l7.    The Debtorsask the Courtto prohibitM r.Van Deelen from contacting theDebtors,

    theircurrentofficers,directors,orem ployees,theircounselorotherprofessionals,orany oftheir

    fam ilies in person orvia telephone orelectronic form s ofcom m unication and ask thatthis Court

    lim itM r.Van Deelen'scontactto any such party to filingson the docketin these Cases.

                                       Em ereencv Consideration

           18.        Pursuantto LocalRule 9013-1(i),the Debtors respectfully requestemergency
    consideration of this M otion. M r.Van Deelen has threatened physicalviolence against fam ily

    m em bersofcounselin these cases. M r.Van D eelen'sconductis continuing and unlikely to cease

    absentCourtintervention.

                                                Notice

                  TheDebtorswillprovidenoticeofthismotionto:(a)theOfficeoftheU.S.Trustee
    fortheSouthernDistrictofTexas;(b)theUnited StatesAttorney'sOfficefortheSouthern District
    ofTexas;and (c)any party thathas requested notice pursuantto Bankruptcy Rule 2002. The
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    Debtors subm itthat,in lightofthe nature ofthe reliefrequested,no otheror further notice need

    be given.

           W HEREFO RE,the Debtors respectfully requestthatthe Courtenterthe an order forM r.

    Van Deelen to appear and show cause why he should not be held in contem pt of courtand

    prohibited orenjoined from contactingtheDebtors,theircurrentandformerofficers,directors,
    and em ployees,and their counseland other professionals except for through pleading on this

    docketandforanyotherrelieftowhichtheDebtorsarejustlyentitled.
     Houston,Texas
     M arch 17,2020

     /s/M atthew Cavenaugh
     JACKSON W ALKER L.L.P.                         KIRKI,AND & ELLIS LLP
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                   jwertz@jw.com                                 christopher.greco@ kirkland.com
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                   vpolnick@jw.com
                                                    -   and-
     Co-counselto theDebtors
     and Debtorsin Possession                       JamesH.M .Sprayregen,P.C.
                                                    John R.Luze(admittedprohacvice)
                                                    300North Lasalle Street
                                                    Chicago,lllinois60654
                                                    Telephone: (312)862-2000
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                                                    Email:       ja es.sprayregen@ kirkland.com
                                                                 john.luze@kirkland.com
                                                    Proposed Co-counselto the Debtors
                                                    and Debtorsin Possession
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 504 of 550
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                                       Certificate ofService

            lcertify thaton M arch l7,2020,Icaused a copy ofthe foregoing docum entto be served
    by the Electronic Case Filing System forthe U nited StatesBankruptcy Courtforthe Southern
    DistrictofTexas.

                                                       /s/M atthew D .Cavenaugh
                                                       M atthew D .Cavenaugh
Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 505 of 550
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                                ExhibitA

                            Sussberg A fsdavit
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                                         edi
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                           IN TH E U NITED STATES BANK RUPTCY CO URT
                                  SO UTH ER N DISTRICT O F TEXA S
                                        H O USTON DIVISIO N


      ln re:                                                          Chapter 1l

      M CDERM OTT IN TERN ATIONA L,m C.,etJ1,l                        CaseNo.20-30336(DRJ)
                               Debtors.                               (JointlyAdministered)

                          AFFID AVIT O F JO SH UA A .SUSSBER G
                    IN SUPPO R T O F DEBTOR S'EM ER GEN CY M O TIO N
          FO R M ICH AEL VAN D EELEN TO APPEA R AN D SHO W CA USE W H Y H E
       SH O ULD N O T BE H ELD IN CO NTEM PT O F C OU RT AND PRO H IBITED FRO M
    FURTH ER CO NTA CT W ITH TH E D EBTO RS,TH EIR O FFICERS,O R TH EIR C O UNSEL

               1,JoshuaA.Sussberg,herebydeclareunderpenaltyofperjury:
                      Iam overthe age of 18 and com petentto testify. Iam the presidentofJoshua A .

     Sussberg,P.C., a partner of the law firm of K irkland & Ellis LLP, Iocated at 601 Lexington

     A venue,N ew York, New York 10022,and a partner of K irkland & Ellis lntem ational, LLP

     (togetherwith Kirkland & EllisLLP,collectively,EtKirkland''). lam 0ne ofthe leadattorneys
     from K irkland working on the above-captioned chapter 11 cases.Iam a m em berin good standing

     ofthe Barofthe State ofNew York,and Ihave been adm itted to practice in the Southern D istrict

     ofNew York. There are no disciplinae proceedingspending againstm e.

                      lsubmitthisAffidavit(the tçAffidavit'') in supportofthe Debtors'Emergency
     MotionforMichaelVan Deelen to Appear and Show Cause Why He Should NotBeHeld in
     ContemptofcourtandProhibitedFrom FurtherContactwiththeDebtors,theirOfhcers,ortheir



      1 A complete listofeach ofthe Debtors in these chapter l1 casesm ay be obtained on the website oftheDebtors'
        proposed claims and noticing agent at hapst//cases-primeclerk. comN cD e= ou. The location of Debtor
                                                                                      -

        M cDermottInternational,lnc.'sprincipalplaceofbusinessand theDebtors'serviceaddressinthesechapterll
        casesis757 North EldridgeParkway,Houston,Texas 77079.
      Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 507 of 550
V6
 U          Case20-30336 Document694-1Fil
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     Counsel(thettM otion'').2 Exceptasotherwisenoted,Ihavepersonalknowledgeofthemattersset
     forth herein.

            3.       lam authorized to subm itthisA ffidavit,and,iflw erecalled upon to testify,lcould

     and would testify com petently to the facts setforth herein.

                                      lnteractionsw ith M r.V an D eelen
            4.       On M arch l2,2020,the Courtconducted a hearing on confirm ation oftheD ebtors'

     plan ofreorganization (theççMarch 12thHearing''). During and aftertheM arch 12th Hearing,
     M ichaelVan Deelen m ade certain false,threatening,and vulgarrem arksto m e.

                     M r.V an Deelen m ade false and m isleading statem entsaboutm e,Kirkland,and the

     Debtors on the record during the M arch 12th Hearing. During his closing argum ent,M r.Van

     Deelen suggested thatthe Debtors' chapter 11 plan ofreorganization could contain a provision

     allowingeithertheDebtorsorKirklandto ççcomeoutto (hisjhouseand shoot(himl.''Mr.Van
     Deelen also falsely stated on the record thatlthreatened him . M r.Van Deelen also referred to the

     Courtasa ç'son ofa bitch.'' These statem ents can be heard on the Court's audio recording ofthe

     M arch 12thHearing.

            6.       A fterthe conclusion ofthe M arch 12thHearing, M r.Van D eelen waited outside of

     the restroom to confrontme. M r.V an Deelen firstasked form y nam e. M r.Van D eelen did not

     indicate w hy he w asattem pting to personally identify m e.lrespondtd to M r.Van Deelen thatit

     ttdidn'tm atter''whatm y name w as.M r.Van Deelen then called m e a ttpasty w hite fuck''and said

     (61'11have m y way w ith yourw ife.''

                     On M arch 12,2020,M r.Van Deelen also sentm e an em ailasking m e to confirm

     our seating positions during the M arch 12th Hearing. A copy of this em ail is attached to this


         Capitalized terms used butnototherwise defined herein shallhavethem eaningssetforth in theM otion.
     Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 508 of 550
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                                     l
                                     edinTXSBon03/17/20 Page4of6                               001460




    AffidavitasExhibit1. Ibelieve thisem ailw asa furtherattem ptby M r.Van Deelen to personally

    identify me.

           s.      ln light of the statem ents on the record atthe M arch 12th Hearing and hereinsl

    believe M r.Van Deelen'sbehaviorisintended to threaten,harass,and intim idate m e,the Debtors'

    offlcers,and ourfamilies.Accordingly,Isupportthereliefsoughtin theM otion.

           Pursuantto 28U.S.C.jl746,ldeclareunderthepenaltyofperjurythattheforegoingis
    true and correctto the bestofm y know ledge,inform ation,and belief.


     Dated:M arch l7,2020                           /s/loshua A.Sussberg
                                                    Joshua A.Sussberg
                                                    asPresidentofJoshua A .Sussberg,P.C.,as
                                                    PartnerofK irkland & EllisLLP;and as
                                                    PartnerofK irkland & Ellis lntem ationalLLP
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 509 of 550
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                                    edinTXSBOn03/17/20 Page5of6            001461




                                       Exhibit1

                                   Van D eelen Em ail
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ç          Case20-30336 Document694-1Fil
                                       edinTXSBon03/17/20 Page6of6                                                                                       001462




    Begà forww dedmessage:
           Fronl:MichaelVanDeeleaxzmichaelvantleeltxltoslnaçl.cx >
           Date:M atch t3,2020 at4:36:33PM EDT
           To;''Sussberg Josh''uisussbezuak'irklxndcom.>
           Subject:(EXI'
                       IMara l2,2B20.PlanCouirmatiouHeariogforDebtorMcDermottInteraatienal(casenumber20-30336)

           Mr.Sussbefg.
           lwasattheabovehearingand represented myselfasaPartyIn lntefestwho opposedthe planconfirmation You
           satacrossthegapbetweenthetwoconferencetablesatapproximatelyafmsIengthhom me.lfyoudenythls please
           forwardsaiddenialto meatyoureafliestcofwenience'butnoIaterthan5:00C.S.T onWednesday,Maçch 18 2020
           IrBcognlzeyoufrom yourpidureontheKirkland& Elliswebsitewhich iswhereIobtainedyouremalladdfess.
           Regards,
           MthaelVan Deeden


    FhekYk?rmatkmCgfttaintdinShdKnm miDalilmi:Nms* ltiY.fmqytyeO eyKe lA i*ged,maym re tulein* informdi
                                                                                                      œ zndi:inletA G1l7fortheurf(#Kee eea .lti:theprielhTgf
    Klrktmd&E- LLporKirklaad&EIk&In*matiepzLLP.1.:* *.* uee disdœureorcwye (#*ïcommtmicate ï3ranypad*elepfissthcW pr* bltedalxlfnayleœI* l1@yœ havefeceae. d
    *P3LCGOunzXioRinetrofease05:Q$iœnvtso W e qlGMRI@rW emdil10O A eK                        lrZ*$N0#ZWG6fTFNURZG RW a'KXVtbefeof*61% Y1ZIQYWWOY
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  n..
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                                       ExhibitB

                                    Spence Affidavit
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                          IN TH E UNITED STA TES BAN K R UPTCY CO URT
                                 SO UTH ER N DISTRICT O F TEXA S
                                      H O UST ON DIVISION

                                                                 )
      lnre:                                                      ) Chapter1l
                                                                 )
      M CDERM OU m TERNATIONAL,lNC.,etal.,t                      ) CaseNo.20-30336(DRJ)
                                                                 )
                              Debtors.                           ) (JointlyAdministered)
                                                                 )
                            AFFIDAV IT O F STUAR T SPEN CE
                    IN SUPPO RT O F DEBTO R S'EM ER GENC Y M O TIO N
          FO R M ICH AEL VAN D EELEN TO APPEA R AND SH O W CAU SE W H Y H E
       SH O ULD N OT BE H ELD IN CO NTEM PT O F C OU RT AND PRO H IBITED FRO M
    FURTH ER CO NTA CT W ITH TH E DEBTO RS,TH EIR O FFICERS,OR TH EIR C O UNSEL

             1,StuartSpence,herebydeclareunderpenaltyofperjury:
                     lam overthe age of 18 and com petentto testify. 1am the form erExecutive V ice

     Presidentand ChiefFinancialOfficerofM cD erm ottInternational,lnc.

                     lsubmitthis Affidavit (the tsAffidavit'') in supportofthe Debtors'Emergency
     MotionforMichaelVan Deelen to Appearand Show Cause IFJI
                                                           .pHeShould NotBe Held in
     ContemptofcourtandProhibitedFrom FurtherContactwiththeDebtors,theirOy cers,ortheir
     Counsel(the:iMotion'').2 Exceptasotherwisenoted,Ihavepersonalknow ledgeofthem attersset
     forth herein.

                     1am authorized to subm itthisaffidavit,and,if1werecalled upon to testify,Icould

     and would testify com petently to the facts setforth herein.




     ! A completelistofeachoftheDebtorsinthesechapter11casesmay beobtainedonthewebsiteoftheDebtors'
       proposed claim s and noticing agent at hlps://cases.orimeclerk.comN cDe= ou. The Iocation of Debtor
       M cDermottInternational,Inc.'sprincipalplace ofbusinessand the Debtors'service address in these chapterll
       casesis757NorthEldridgeParkway,Houston,Texas77079.
     2 Capitalizedtermsusedbutnototherwisedefinedherein shallhavethemeaningssetforthin theM otion.
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                                 lnteractionsw ith M r.Van Deelen
                                              -




           4.     A tapproxim ately 10:57 a.m .on February 27,2020,M ichaelV an D eelen arrived at

    my private residence and knocked on the frontdoorto m y hom e. M r.V an Deelen's appearance

    was unannounced and 1had neverspoken to him orcontacted him priorto February 27,2020. A

    photograph captured from m y doorbellcam era isattached hereto asExhibitl.

                  Because Iwas on a conference callatthe tim e,m y w ife answ ered the door. M r.

    Van Deelen spoke w ith m y w ife,purporting to do so to confirm he had m y correctaddress for

    PUV OSCS OfSending a Subpoena. Upon realizing the nature ofM r.V an Deelen'spresence atour

    hom e,m y w ife becam e visibly shaken.

                  Despite this interaction, l voluntarily testifled at the hearing in the Debtors'

    chapter l1 cases on M arch l2,2020. ln lightofthe statem ents on the record atthathearing and

    herein,I believe M r.Van D eelen's behavior is intended to threaten,harass,and intim idate me.

    A ccordingly,Isupportthe reliefsoughtin the M otion.

           Pursuantto28U.S.C.j l746,ldeclareunderthepenaltyofperjurythattheforegoingis
    true and correctto the bestofm y know ledge,inform ation,and belief.


     Dated:M arch l7,2020                          /s/StuartSpence
                                                   StuartSpence
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 514 of 550
                                                                           001466
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                                  ledinTXSBon03/17/20 Page4Of5

                                    Exhibit1

                           D oorbellC am era Photograph
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                                       nTXSBon03/17/20 Page5Of5            001467
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      Case 20-30336 Document694-3 Filed in TXSB on 03/17/20 Page 1 of1                                   001468




                     IN TH E UNITED STA TES BA NK R UPTCY C O URT
                       FO R THE SO U TH ERN D ISTRICT O F TEXA S
                                 H O U STO N DIVISIO N

                                        )
 Inre:                                  )                        Chapter11
                                        )
 M CDERM OTT INTERNATIONAL,INC.,etal.,3 )                        CaseNo.20-30336 (DRJ)
                                        )
                Debtors.                )                        (JointlyAdministered)
                                        )                        (EmergencyReliefRequested)
                                    O RDER TO SH O W CAU SE
                                       (Re:DocketNo.              )

       M r.M ichaelVan D eelen,Party-in-lnterest,shallpersonally appear on                                at

         .m .in Courtroom 400,4thFloor, 515 Rusk,Houston,TX 77002 and show cause why he

should notbe held in contem ptofcourtand prohibited from furthercontactw ith the Debtors,their

currentand form erofficers,directors,and em ployees,and counseland otherprofessionalsin these

Casesand theirfam ilies.

       Failureto appearatthetim eand dateabovew illresultin the Courtissuing a bench w arrant

forM r.V an D eelen'sarrest.



 D ated:               ,2020
 H ouston,Texas                                    DAV ID R.JON ES
                                                   U NITED STATES BAN K RUPTC Y JUDG E




   A com pletelistofeachoftheDebtorsin thesechapter11casesm ay beobtainedonthewebsiteoftheDebtors'
   claimsand noticing ajentathe s://cases.nrimeclerk.coeMcDe= oû. The Iocation ofDebtorMcDermott
   lntem ational,lnc.'s pnncipalplace ofbusiness and the Debtors'service address in these chapter 11 cases is
   757NorthEldridgeParkway,Houston,Texœs77079.
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ç                                                                          001469




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                         UNITED STATES BANK RUPTCY CO URT
                           SO U TH ERN D ISTR IC T O F TEX AS                        Unite StatesCœm a
                                                                                   Sotlthern DI
                                                                                              >I'
                                                                                                d ofTexas
                                 HO USTO N DIVISIO N                                       FILE D

                                                                                      Mà2 182221
                                                                                 DavldJ.Bmdl
                                                                                           ey,Clerknfcx r
                                                                                                        t
                                        )
       Inre:                            )
                                        )                        CaseNo.20-30336
       MCDERMOTT INTERNATIONAL,m C,etal )
                                        )                        Chapter l1
                     Debtorts).         )
                                        )
                                       D


             PARTY IN INTEREST M ICH A EL V AN DEE LEN'S RESPO NSE TO
         EM ER G ENCY M OTIO N FO R M ICH A EL V AN DEELEN TO APPEAR A N D
       SH O W CA USE W H Y H E SH O ULD NO T BE H ELD IN CO NTEM PT O F CO URT
         AND PROHIBITED FROM FURTHER CONTACT W ITH THE DEBTORS,
              TH EIR O FFICER S.O R TH EIR CO UN SEL;PR O PO SED O RD ER


                CO M ES N O W ,M ichaelD.Van Deelen,a Party In Interestin the instantaction

       and forhisResponse to Em ergency M otion forM ichaelV an Deelen to Appearand Show

       Cause W hy He Should N otBe H eld In Contem ptofCourtand Prohibited from Further

       ContactW ith the Debtors,TheirO fficers,orTheirCounselstates asfollow s:

                l. Van Deelen did notcallthe Courta '
                                                    son ofa bitch'as the m ovants claim in

      paragraph7oftheiremergencymotionandinparagraph5ofExhibitA (Sussberg
       Affidavit).Van Deelen respectfullyasksthisCourttolistentothatsection oftheaudio in
       which movantsclaim Van DeelencallstheCourta '
                                                   sonofabitch'(3219:29 -3:21:20).

       VanDeelenwassittingjustafew feetfrom theCourtduringthehearing.lfVanDeelen
       would have called the Courta 'son ofa bitch',the Courtwould certainly have heard him

       do So.



                                                  1
.'
 ib
    2
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                                                The Law

                 2. Exceptforthefalsely alleged profanity mentioned above,theotheralleged

          im proprietiesciaim ed ofby the m ovantsare alleged to have taken place w hen Courtw as

          notin session,outside the courtroom and in violation ofno Courtorder. The Courthad

          nojurisdictionoverVanDeelenundersuchcircumstances.
                 3.TheCourtdoesnothavejurisdictionofVanDeelen'sprivateactionstmrelated
          tothejudicialproceedingsunder11U.S.C.105(a).Section 105(a)authorizesthe
          bankruptcy courtto issue any ordernecessary orappropriate to carry outthe provisionsof

          the Code:

          ''The Suprem e Courthastaughtthatany grantofauthority given to the bankruptcy courts
          under5 105mustbeexercisedwithintheconfinesofthebankruptcycode.''Gouveiav.
          Tazbir,37F.3d295,301(7thCir.1994)(citingNorwestBankWorthingtonv.Ahlers,485
          U.S.197(1988)).Thus,courtsmaynotusej105tocreatesubstantivelightsunavailable
          undertheCode.SeeTaylorv.UnitedStates(1nreTaylor),263B.R.139(N.D.Ala.
          2001)(note:onappealto11thCir.);MFSTelecom,Inc.v.Motorola,Inc.(InreCII= NJ
          Communications,1nc. ),262B.R.893,899(D.Del.2001);Waugh v.Eldridge(lnre
          Waugh),165B.R.450,451tBankr.E.D.Ark.1994);seealsoInreOneTimesSquare
          Assocs.Ltd #' J/lI
                           #,l59B.R.695,702tBankr.S.D.N.Y.1993),aft'
                                                                   d,165B.R.773
          (S.D.N.Y.),aft'd,41F.3d 1502(2dCir.l994)(j105should beusedspazinglyandthen
          onlytosupplement,notsupplant,theCode).
                 4. The Courtm ay notissue a contem ptofcourtorderforbehaviorwhich does not

          directlydefytheCourtorwhichdoesnotviolateapreviouscourtorder.(Notethat
          Appendix A to the LocalRulesofthe Southem DistrictofTexmsdeals w ith Courtroom

          Etiquette,notwithbehavioroutsideofthecourtroom.)
                 5. ThemovantsciteChambersv.NASCO,501U.S.32 (199l),in theirargument
          thattheCourtcan sanction Van Deelensbutdonotinfonn thisCourtthatChambershas

          been superceded. There currently are no statutes,rulesorprocedures,eitherfederalor

          local,w hich givesthe Courtthe abizity to sanction a party's behaviorthatdoesnot
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      directlydefy thesanctioning courtorisbeyond theconfinesofacourtorder. lnF D.1C.

      v.M axxam,lnc.,the districtcourtin Texassanctioned an attorney form isconductthat

      occurred in an adm inistrativt proceeding in W ashington,D .C.,a proceeding thatw as not

      overseen by thedistrictcourt.532Fa3d 666.59l(5th Cire2098).Upon review,theFifth
      C ircuitheld thatthe court's inherentpowerto sanction did notextend to the

      adm inistrativehearing butratheronlyextended to situationsin which ''aparty engagesin

      bad-faithconductfthatdirectlydefieslthesanctioningcourt.''ld at591(internal
      quotationmarksomitted).Later,inPositivetio/rwareSolutions,lnc.v.New Century
      M ortgage Corporation,the Fifth Circuit,relying on itsM u xam decision,held that

      m isconductduring arbitration was beyond the reach ofthe districtcourt's inherentpower,

      statingthatthemisconduct''wasneitherbeforethedistrictcourtn0rin directdefiance

      ofitsorder.''619 F.3d458.461(5th Cir.20101.

             6.ThemovantsalsocitelnreCochener,360B.R.542,569lBankr.,S.D.Tex.
      2007)(quotingChambersv.NASCX 50IU.S.32(199l)),PlacidRef Co.v.Terrebonne
      Fuel(f.Lube,108F.3d609(5thCir.21997(sicl)andMooney v.GreenTreeServ.lnc.
      340B.R.35l(Bankr.E.D.Tex.2006)tosupporttheirclaim thatthisCourtcansanction
      Van Deelen. However,each ofthese casesinvolved actions inside the confines ofthe

      bankruptcycodeortheviolationofordersorproceduresthatthecourthadjurisdiction
      overand therefore do notapply to the instantcase as seen above.




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                                         T he A lleeations

       M rs.Spence

              7. Van Deelen subpoenaed M r.StuartSpence to testify during the 3/12/20 Plan

       Contirm ation Hearing. Van Deelen hired M s.Lisa M oberg,a processserver,to serve

       M r.Spence.M r.Spenceaccepted serviceon 2/19/20.Exhibitl.

              8. ln review ing the ProofofService,Van Deelen noticed thatthe description of

       M r.Spence given by M s.M oberg stated thathe was65 yearsoId w ith w hite hair. Van

       Dtelen called M s.M oberg w ho confirm ed the dtscription ofM r.Spence.

              9. Van DeelenbelievedthatM r.Spencewasin hisearly 50'sand bald.

       Accordingly,Van Deelen thoughtthatm aybe the wrong person had been served,

       especially sincetheaddressofservicewasnottheaddressgiven in publicrecordsasM r.

       Spence'
             s recentaddress. Van Deelen and M s.M oberg tried severaltim esto callM r.

       Spence to ask ifhe was the rightperson be served. M r.Spence did notanswerhisphone

       orreturn the calls.

              10. To avoid having possibly served the wrong person,Van Deelen w entto the

       ProofofServiceaddressandrang thebell.A middle-aged ladyanswered thebell. Van

       Deelenpolitelyasked ifM r.StuartSpencewmshom e.The ladysaid 'no'. Van Deelen

       then apologetically and very politely told the lady thathe had had a sum m ons issued to

       M r.Spence atthataddressand thatVan Deelenwasafraid thewrong person may have

       been served. V an Deelen then politely asked the lady ifM r.StuartSpence lived there.

       She said 'yes'. Van Deelen then politely asked the lady ifM r.Spence had worked at

       M cDerm ott. She replied 'yes'. A tthatp/int,Van D eelen apologized forhaving bothered

       the lady and left.



                                                  4
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                 Atno timeduringtheencounterwith thelady wasVan Deelen disrespectful         .



      Van Deelen neverraised hisvoice. Thelady neverrefusedtoanswerVan Deelen'
                                                                             s

      questions. Ifthe ladywould haveasked VanDeelentoleave, hewould have
      im m ediately done so. M rs.Spencehasnotpresented anaffidavitonbehalfofthe

      movants'claimsthatallegesany wrongdoing by Van Deelen.

             l2. Itwaswithin Van Deelen'scivilrightstospeak to M rs. Spence.The Court

      had notpreviouslydirected Van Deelentostay away from M r. orM rs.Spence.ln fact,

      theCourtdeclined to hearVan Deelen'sexplanation ofwhathad occurred with M rs.

      Spence w hen Van Deelen proffered testim ony concem ing theirinteraction during the

      3/l2/20 Plan Confinnation Hearing.

             l3. lfM r.Spence would have answered his phone orreturned M s. M oberg'sor

      Van Deelen'scalls,Van Deelen would nothave had to go to his residence to see ifhe was

     the rightperson to havebeen served.



     M r.Sussbkrz
       -         .




             l4. During the 3/12/20 hearing,a person now known asM r.Sussbergsatdirectly

     acrossthe isle between the two conference tables from Van Deelen.

             l5.Through VanDeelen'
                                 sobjection,theDebtorwitnessesweremadetotestifyin
     person instead ofhaving theirwritten statem ents adopted into the record. This wastim e

     consum ing. A sthe w itnesses testified and tim e proceeded,Van D eelen noticed M r.

     Sussberg becom ing m ore and more agitated. Finally,M r.Sussberg,withoutany cue

     from Van Deelen,said to Van Deelen and allwho could hear:''You aredisgustingl''and

     otherinsults. V an D eelen looked athim and told him to be quiet. The Courtheard this
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      exchange becausetherecord willshow thatthe Courttold M r.Sussberg and M r.Van

      Deelen to 'hold itdown'orwords to thateffect.

             l6.Afterthe hearing,Van Deelen did notfollow M r.Sussberg anywhere,

      includingtherestroom. Likemany attheend ofthelonghearing,Van Deelen neededto

      usetherestroom.AsVan Deelen wasentering the restroom,M r.Sussberg wmsleaving

      therestroom .Duetothe unprofessionalbehaviorexhibitedby M r.SussbergtowardsVan

      Deelen during the hearing asdetailed above,Van Deelen wanted to determ ine M r.

      Sussberg'sname so he couldmakeaformalcomplaintagainsthim .M r.Van Deelen said

      to M r.Sussberg:'M ay Ihave yournam e,sir?'' M r.Sussberg angrily refused to give V an

      Deelen hisnnme.lnstead,M r.Sussberg againtold Van Deelen:''You aredisgustingl''

      He also told V an Deelen otherthingsincluding'
                                                   .''Y ou are a fooll''M r.Sussberg isa

      youngsstocky,m an. Van Deelen isa 70 year-old seniorcitizen. M r.Sussberg's words,

      tenorandposturecaused Van Deelento beafraid forhissafety.Van Deelen beganto

      haveheartpalpitationsand heremainedneartherestroom whileSussberg leftand went

      down thehallway towardsthe elevators.Allofa sudden,Sussbergcam erushing back

      down thehallwayandtowardstherestroom area whereVan Deelen wasand angrily

      charged Van Deelen. M r.Sussberg then began calling Van Deelen nam esagain. M r.

      Sussberg stood only inches away from Van Deelen,shouting atVan D eelen.V an D eelen

      wdsterrified by M r.Sussbrrg'
                                  sactions. M r.Sussbergeventually leh and again went

      down the hallway towards the elevators.
             17. Van Deelen,terribly frightened,rem ained in the restroom area fora period of

      tim e untilhe hoped M r.Sussberg had leh. Eventually V an Deelen looked down the hall

      toward the elevatorsand saw thatM r.Sussberg had in factleh. Van D eelen was
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      extremely frightenedand upset.So upset,in fact,thathecould notlocatehisvehiclein

      theparking garage nvarthe courthouse thathe had used m any tim es before. Van Deelen

      had to ask a garage em ployee forassistance in finding hiscar.

             l8.Atno time did VanDeelen caliM r.Sussberg a'
                                                          pmsty whitefuck'orsay '1

      willhavem ywaywith yourwife'.ThatVan Deelenwould say thosethingsisincvedibly

      insultingand beyond belief.

             19. M r.Sussberg's comm entsto Van D eelen,ofwbich he failsto inform the

      Court,violateRule 14oftheCourt'sRulesofEtiquette:

      Avoid disparaging remarh and acrimony towardsanyone,especially adversepartiesand
      counsel,anddiscourageill-willbetweenthelitigants.Coum'elmustabstainfkom
      unnecessaryre#rencestoopposingcounsel,especiallypeculiarities.
             20. The Courtwillnote that,even though there were m any personswho had

      attended the hearing w ithin earshotfrom Sussberg and Van Deelen,Sussberg doesnot

      mentiontheirnamesorproduceam davitsfrom them substantiatinghis(false)accountof
      hisinteraction with VanDeelen.

             21.Stilltryingtodetermine M r.Sussberg'sidentity,Van Deelen found M r.

      Sussberg'sphoto on the Kirkland and Ellis website. Van D eelen then sentM r.Sussberg

      anemailstating thatVan Deelen had identiûed him from theKirklandand Elliswebsite.

      ln an abundance ofcaution,even though Van Deelen recognized him from hisphoto,Van

      Deelen wanted to give M r.Sussberg the opportunity to deny thathe was the onc sitting

      acrossfrom VanDeelen during the3/12/20hearing.(ItwmstheKirkland and Ellis
      employeesiuingacrossfrom VanDeelenwhotoldVanDeelenandothers:''You(Van
      Deeltn)aredisgustingl'')Theemailisrespectfulandcontainsnothreateninglanguage.
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               22. IfM r.Sussberg wouldhavegiven VanDeelenhisnamewhen Van Deelen

     politely asked foritaherthehearing, VanDeelen wouldnothavehadto emailM r.

     Sussberg.

               23. PlemseseeExhibit2,Van Deelen Affidavit.

     4x lw r
          .




               24. Paragraph 10 ofthe m ovants'Emergency M otion statesthatV an Deelen was

     sanctionedby theDistrictCourtin M ichaelVan Deelen v. C#       ofKansasC@ ,M issouri,
     2006W L 2077640(W .D.Mo.2006).Thiswasanon-bankruptcycase.Whatthe
     movantsfailtotellthisCourtisthatasignitk antamountofthe sanctionswere

     oNertum ed on appeai.Van Dttltn basneverfabricated evidenceand heneverwilï.On

     theotherhand,themovantshavefabritated evidenceto supporttheirEm ergency M otion,

     including when they claim thatVan Deelen calledthe Courta'son ofabitch'duringthe

     Plan Confirm ation Hearing. Exhibit2,Van D eelen A ffidavit.

               25. Paragraph 18 ofthe m ovants'Em ergency M otion claim sthat''M r.Van

     Deelen hasthreatened physicalviolenceagainstfamilym embersofcotmselin these

     cases.'' This statem entisunsupported by any factsotherthan the false allegation that

     Van Deelen allegedly said thathe wasgoing to 'have hisway'w ith M r.Sussberg'sw ife.

     Theparagraph l8statementstates'
                                   violenceagainstfnmilymembers(plural)ofcounsel
     (plural)inthesecases'(plural).W hatfamilymembers? W hatcounsel? Whatcases?
     The egregiousm anufacturing offalse evidence by the m ovants in theirEm ergency

     M otion isbeyond the pale. Van D eelen has neverthreatened violence againstfam ily

     m em bersofcounselorotherpersonsin any case he hasbeen involved with. Exhibit2,

     Van Deelen Affidavit.



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                  W hatisgoingon here? Itisno secretthatVan Deelen plansto tilesuit

      againstM cDerm ottem ployeesin Texmsstate courtfortheirm alfeasance relating to

      M cDermott'sbankruptcyand theeventsleading up thereto.Othershareholdershave

      indicated they m ay also file suit. V an Deelen believesthatthe m ovants'Em ergency

      MotionisanattempttopreventVanDeelenfrom filingsuitbyhavingthisCourtenjoin
      him from doing so.

                                            Sum m arv

          Themovantsapparentlyseek sanctionsagainstVan Deelen forthefollowing

      I'
       CaSOIIS:

             A. VanDeelen allegedlycalled theCourta 'son ofabitch'duringthePlan

      Conûrm ation hearing held cm 3/12/20. This false allegation can be easily refm ed by

      listening to the3/12/20audio clipfrom the PlanConfirmation hearing (tim estnmp
      3:l9:29-3:2l:20).
             B.Van Deelenfilednumerousdocumentsintheinstantaction,which washis

      Constitutionalright.

             C. Van D eelen was sanctioned by a M issouriD istrictCourtin 2006. Notonly

      was a significantportion ofthe sanction overtum ed on appeal,buta single resolved non-

      bankruptcy casefrom 14 yearsago hasno bearing (m the instantaction,

             D . A herbeing unable to contactM r.Spence by phone,Van D eelen wentto M r.

      Spence'sbelieved residence,wastold by hisw ife thatM r.Spence was nothom e,and

      then respectfully spoke to M r.Spence'sw ife forthe purpose ofdism issing M r.Spence

      from the subpoena he had been served ifhe was notthe correctperson to have been

      served.
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             E.AfterM r.Sussberg refused to giveVan Deelen hisnam twhenV anDeelen

      askedhim foritduringthe 3/12/20 PlanContirmationHearing,Van Detlen sentM r.

      Sussberg arespectful,non-titreatening,emailseekingto confirm ifM r.Sussberg wasthe

      person seated acrossfrom him duringthe 3/12/20 Plan Confirmation Hearing.

             F.Tbemovantsallege,witboutany factsorproof,that''M r.Van Deelenhas

      threatenedphysicalviolenceagainstfamilymembers(plural)ofcounsel(plural)inthese
      cases(plurall-''
             G . M r.Sussberg hœsfalsely alleged thatVan Deelen called him a 'pmsty white

      fuck' and said '!w illhave m y w ay with yourw ife'afterthe 3/12/20 Plan Confinnation

      Hearinghadbeenadjourned.Eventhoughmanypeopleweremillingaroundafterthe
      hearing,Mr.Sussbergdoesnotproduceoneaffdavitfrom asinglewitness(otherthan
      himselg discussingVanDeelen'sallegedbadbehavior.Notonlyarehisallegations
      patently false,butalso M r.Sussberg conveniently failed to tellthe Courtthathehad

      violated the Courfs rulesofetiquette when told V an Deelen ''You m'e disgustingl''during

      the3/12/20PlanConfrmationHearingandafterithadbeenadjollrned;thathehadtold
      Van Deelen ''You are a fooll''afterthe 3/12/20 Plan Confirm ation H earing had been

      adjourned;thathehadangrilyandphysicallychargedM r.VanDeelen,stoppingjust
      inchesfrom Van Deelen'sperson ahertbe3/12/20 PlanOonfirm ation Hearing had been

      adjourned;andthathelmdrefusedtogiveVanDeelenhisnamewhen VanDcelen
      politelyaskedforitaherthe3/12/20PlanConfirmationHearinghadbeenadjourned.
             28. V an Deelen has attem pted to contactthe m ovants to resolve theirEm ergency

      M otion w ithouttheneed fora hearing. The m ovantshave notretum ed the m essage leh

      with the m ovants'assistant. Exhibit2,Van D eelen A ffidavit.



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             W HEREFORE,forthereasonsdiscussed herein,VanDeelenrespectfully

      requeststhatthisCourtdeny in itsentirety the m ovants'Em ergency M otion forM ichael

      Van Deelen to A ppearand Show Cause W hy He Should N otBe Held In Contem ptof

      Courtand Prohibited from FurtherContactW ith the Debtors,TheirO fficers,orTheir

      Counsel.

      Houston,Texas

      M arch 18,2020

                                                       Respectfully subm itled,

                                                               '         p. );
                                                       M ichaelVan Deelen
                                                       Party In lnterest
                                                       16215 FriarCircle
                                                       Spring,TX 77379
                                                       832-562-0723
                                                       michaelvandeelen@ gmail.com



                                 C ERT IFIC ATE O F SER VIC E


       1,M ichaelVan Deelen,do hereby certify that1caused a copy ofthe foregoing document,
       including ProposedOrder,to beserved by theElectronicCaseFiling System forthe
       United States Bankruptcy Courtforthe Southern DistrictofTexason this 18th day of
       M arch:2020.


                                                                            <:@b*

                                                       M ichaelVan Deelen
                                                       16215 FriarCircle
                                                       Spring,TX 77379
                                                       832-562-0723
                                                       michaelvandeelen@ gmail.com
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                                  EX H IBIT 1

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                                                                                                                    Chapter-         11
                                                             Plaintiff
                                                                                                                    A dv.Proc.N (),
                                                           Defendant

                                            SU BPO ENA TO APPEA R AN D TESTIFY
                         AT A HEARING OR TRIAL IN A BAR RUPTCY CASE (OR ADVERSARY PROCEEDING)
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                                  EXH IB IT 2

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                                   UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION



                                             )
            Inre:                            )
                                             )                       CaseNo.20-30336
            MCDERMOTT INTERNATIONAL,INC,etal )
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                          Debtorts).         )
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               AFFIDA VIT O F M IC HA EL VA N DEELEN IN SUPPO RT O F H 1S RESPO NSE TO
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            STATE OF TEX A S

            COUNTY O F HARRIS


                    BEFORE M E,the undersigned authority,personally appeared M ichaelV an Deelen,who,

            being by m e duly sworn and deposed,stated the follow ing:

                    ''M y nam e is M ichaelVan Deelen,Iam over2lyears ofage,ofsound m ind,capable of

            making thisAffidavit,and havepersonalknowledgeofthe factsstated herein. In the following,

            lreferto m yselfas 'Van Deelen':
                      Van Deelen did notcallthe Courta 'son ofa bitch'during the 3/12/20 Plan

            ContirmationHearingintheinstantactionoratanyothertime.VanDeelenwassittingjusta




                                                               /&
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    few feetfrom theCourtduringtheheadng.IfVan Deelen wouldhave calledtheCourta'son of

    abitch',hebtlitvestheCourtwouldcertainly haveheard him do so.

          2. Van Deelen subpoenaed M r.StuartSpence to testify during the 3/12/20 Plan

    Confirm ation Hearing in the instantaction. Van Deelen hired M s.Lisa M oberg,a process

    server,to sel'
                 veM r.Spence.M r.Spenceaccepted serviceon2/19/20.

           3. ln review ing the ProofofService,Van D eelen noticed thatthe description ofM r.

    Spence given by M s.M oberg statedthathe was65yearso1d with white hair. VanDeelencalled

    M s.M oberg who confirmed thedescription ofM r.Spence.

           4. Van Deelen believed thatM r.Spencewasin hisearly50'sand bald.Accordingly,

    Van Deelen thoughtthatm aybe the wrong person had been served,especially since the address

    ofservice wasnottheaddressgiven in publicrecordsasM r.Spence'
                                                                srecentaddress. Van

    Deelen and M s.M oberg triedseveraltimesto callM r.Spencetomsk ifhewmsthe Hghtperson to

    be served. M r.Spencedid notanswerhis phone orreturn the calls.

              To rectify having possibly served the wrong person,Van Deelen wentto the Proofof

    Seniceaddressand rang the bell. A m iddle-aged lady answered the bell. Van D eelen politely

    asked ifM r.StuartSpence was hom e. The lady said 'no'. V an D eelen then apologetieally and
    ven'politely toldthe Iadythathehad had asum monsissued to M r.Spenceatthataddressand

    thatVan Deelen wmsafraid the wrong person m ay have been served. Van Deelen then politely

    asked the lady ifM r.StuartSpencelived there.Shesaid 'yes'.Van Deelen then politely asked

    the lady ifM r.Spence had w orked atM cDerm ott. She replied '
                                                                 yes'. Atthatpoint,V an Deelen

    apologized forhaving bothered the lady and left.




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           6.Atno time duringthe encounterwiththelady wasVan Deelen disrcspectful.Van

    Deelen neverraised hisvoice. The lady neverrefused to answerVan D eelen'squestions. lfthe

    lady would haveasked Van Deelentoleave,hewould haveimmediately doneso.

           7.TheCourtintheinstantadionhad notpreviously directed VanDeelen to stay away

    from M r.orM rs.Spence. ln fact,theCourtdeclinedtohearVan Deelen'sexplanation ofwhat

    had occurred with M rs.Spence w hen Van Deelen proffered testim ony concem ing their

    interaction duringthe 3/12/20 PlanConfirmation Hearing.

           8. IfM r.Spence would haveanswered his phone orreturned M s.M oberg'sorVan

    Deelen'scalls,Van Deelen would nothavehad to go to hi:residence to see ifhewasthe right

    pefson to have been served.

           9. During the 3/12/20 heming,a person now known asM r.Sussberg satdirectly across

    the islebetweenthe two conferencetablesfrom VanDeelen.

           10.Atthe3/12/20hearing,through VanDeelen'sobjection,theDebtorwitnesseswere
    m ade to testify in person instead ofhaving theirwritten statem entsadopted into the record. This

    wastim econsum ing. A sthe w itnessestestified and tim e proceeded,Van Deelen noticed M r.

    Sussbergbecoming more and more agitated.Finally,M r.Sussberg,withoutany eue from Van

    Deelen,said to V an Deelen and a11w ho could hear:''You are disgustingl''and Otherinsults. Van

    Deelen lookcd athim andtold hfm to bequiet. TheCourtheard thisexchange becausethe

    record willshow thatthe Courttold M r.Sussberg and Van D eelen to 'hold itdow n'orwordsto

    thateffect.
           ll. A fterthehearing,Van D eelen did notfollow M r.Sussberg anywhere,including the

    restroom . Like m any atthe end ofthe long hearing,Van Deelen needed to use the restroom . As

    Van Deelen w asentering the rtstroom ,M r.Sussberg w as leaving the restroom . D ue to the


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    unprofessionalbehaviorexhibited by M r.Sussberg tow a ds Van D eelen during the hearing as

    detailed above,V an Deelen wanted to determ ine M r.Sussberg'sname so he could m ake a form al

    com plaintagainsthim . V M Deelen said to M r.Sussberg:'M ay lhave yournam e,sir?'' M r.

    Sussberg angrily refused to give Van Deelen hisnam e. Instead,M r.Sussberg again told V M

    Deelen;''You are disgustingl''H e also told V an Deelen otherthings including:'You are a fooll''

    M r.Sussberg isa young,stocky,m an. Van Deelen is a 70 year-old seniorcitizen. M r.

    Sussberg'sw ords,tenorand posturecaused Van D eelen to be afraid forhis safety. V an Deelen

    began to have heartpalpitationsand he rem ained nearthe restroom while Sussberg Ief4and went

    down the hallw ay towardsthe elevators. A llofa sudden,Sussberg cam e rushing back dow n the

    hallway and tow ardsthe restroom arta w here Van Deelen wasand angrily charged Van D eelen.

    M r.Sussberg then began calling VanDeelennamesagain.M r.Sussberg stood only inchesaway

    from Van Deelen,shouting atVan D eelen.V an D eelen w asterrified by M r.Sussberg's actions.

    M r.Sussberg eventually leftand again w tntdow n the hallway tow ards the elevators.

               Van Deelen,terribly frightened,rem ained in the restroom area fora period oftime

    untilhe hoped M r.Sussberg had left. Eventually Van Deelen looked down the halltoward the

    elevatorsand saw thatM r.Sussberg had in factleft. V an Deelen wasextrem ely frightened and

    upset. So upset,in fact,thathecouldnotlocatehisvehiclein theparking garagenearthe

    courthouse thathe had used m any tim esbefore. Van Deelen had to msk a garage em ployee for

    assistance in finding hiscar.

           l3.Atno timedid Van Deelen callM r.Sussberg a'
                                                        pastywhitefuck'orsay '1willhave

    myway with yourwife'.ThatVanDeelen would saythosethingsisincredibly insulting and

    beyond belief.




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           l4.Stilltryingto determineM r.Sussberg'sidentity,Van Deelen found M r.Sussberg's

    photo on the K irkland and Elliswebsite. Van D eelen then sentM r.Sussberg an em ailstating

    thatVan Deelen had identified him from the Kirkland and Elliswebsite. In an abundance of

    caution,even though V an Deelen recognized him from hisphoto,Van D eelen wanted to give

    M r.Sussbergthe opportunitytodenythathewastheonesitting acrossfrom Van Deelen during

    the3/l2/20hearing.(1twastheKirklandandEllisemployeesittingacrossfrom VanDeelen
    whotoldVanDeelenandothers:''You (VanDeelen)aredisgustingll') Theemailisrespectful
    and containsnothreatening language.

               lfM r.Sussberg would have given Van Deelen hisnam e w hen Van D eelen politely

    asked foritafterthehearing,Van Deelen would nothavehad to emailM r.Sussberg.

           l6. Van Deelenwassanctioned by theDistrictCourtin M ichaelVan Deelenv.Cl
                                                                                  'r.pof

    KansasCf@,Missouri,2006W L2077640(W .D.Mo.2006).Thiswmsanon-bankruptcycase.
    The sanctionswerereduced significantlyon appeal.VanDeelen hasneverfabricated evidence

    and he neverwill.
           17.VanDeelen hmsnevertk eatened violenceagainstfamily membersofcounselor

    otherpersonsin any case he hmsbeen involved with.
           18. V an D eelen hasattem pted to contactthe m ovantsto resolve theirEm ergency M otion

    (Document694)withouttheneed forahearing.The movantshavenotretum ed the message left

    with themovants'assistant.




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    Further Affiantsayeth not.''


                u éA
    M ichaelVan Deelen
    Affiant



    SUBSCRIBED AN D SW O RN TO BEFORE M E ON TH E 18th day ofM arch,2020.




    Notary    blic,State ofTexas
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    My Commission Expires: t)      2, 2122.




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                                 H O U ST O N D IVISIO N


                                    )
    lnre:                           )
                                    )                       Case No.20-30336
    MCDERMOU INTERNATIONAL,INC,etal )
                                    )                       Chapter l1
                 Debtorts).         )
                                    )
                                   D


                                            O RD ER


            On              ,2020,a hearing washeld conccm ing the Em ergency M otion for

    M ichaelV M Deelen to A ppearand Show Cause W hy He Should N otBe Held In Contem ptof

    Courtand Prohibited from FurtherContactW ith the D ebtors,TheirOfficers,orTheirCounsel.



            ORDERED thatthe Em ergency M otion forM ichaelVan Deelen to Appearand Show

    Cause W hy He Should N otBeH eld ln Contem ptofCourtand Prohibited from FurtherContact

    W ith the D ebtors,TheirOfficers,orTheirCounselis denied in itsentirety.

    Houston,Texas

    Dated:                     ,2020




                                              bAVID R.JONES
                                              UN ITED STA TES BAN K RUPTCY JUD GE
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                          FO R TH E SO UTH ER N DISTRICT O F TEXA S
                                     H O U STO N DIVISIO N                                            ENTERED
                                                                                                      03/23/2020
    IN RE:                            j
                                      b                       CA SE N O :20-30336
    M CDERM OTT INTERNATIONAL,INC.,et j                       CH APTER 11
    al.,                              j                       (Jointly Adm inistered)
             oebtors.                                 j       DAV ID R .JON ES

                                                 O RDER
                                            (DocketNo.694)
          The Courthas reviewed the Em ergency M otion for M ichaelVan Deelen to Appearand
    Show Cause W hy He Should N otbeH eld in Contem ptand Prohibited from FurtherContactw ith
    theDebtors,theirOfficers,ortheirCounsel(DocketNo.6941.TheCourthasalsoreviewed Mr.
    VanDeelen'sresponsetothemotion(DocketNo.70l1.Sincethefilingofthemotion,theCourt
    is aw are that M r.Van Deelen came back to the courthouse to t5le a com plaintagainstDebtors'
    counselon the basis ofan alleged threatm ade atorafter the confirm ation hearing in thiscase1.
    In addition,the Courthas reviewed M r.Van Deelen's conductin otherhearings before the Court
    in thiscase.

           The focusofthe em ergency m otion surroundsthe recentconfirm ation hearing held in this
    case on M arch l2,2020. During the hearing,M r.Van Deelen is alleged to have m ade certain
    disparaging remarks aboutthe Courtasw ellasthreats tow ard Debtors'counsel. M r.V an Deelen
    denies that he m ade any disparaging rem arks tow ard the Court and asserts that any threats
    towardcounselweremadeoutsidethecourtroom and thereforeoutsidetheCourt'sjurisdiction.
    M r.Van Deelen furtherassertsthathe m ade no such threats.

            In the movants' motion, it is alleged that M r.Van Deelen called the Cotlrt a tsson of a
    bitch.'' Mr.VanDeelendeniesthathelnadeanysuchrelnarkandthathewasllsittingjustafew
    feetfrom theCourtduring thehearing ...(andlgilfVanDeelenwould havecalledtheCourta
    îson of a bitch''5the Courtw ould certainly have heard him do so.'' M r.Van Deelen'sdenialis
    '


    setforth inhisswornaffidavitattachedtohisresponsegDocketNo.7011.UnfortunatelyforM r.
    Van Deelen,the Court's staff did hear M r.Van Deelen's statem entand im m ediately reported it
    to cham bers. M oreover, although M r. Van Deelen was facing aw ay from the m icrophones
    located on counsel table, M r.V an Deelen's statem ent is audible on the original audio w ith
    headphones. W hile the Court was w illing to overlook the insult, it cannot overlook a false
    statem ent.

            The motion goes on to allege that M r. Van D eelen m ade vulgar and threatening
    com m ents to M r.Sussberg and his fam ily. M r.Van Deelen denies under oath that any such
    com m ents were m ade. Given that M r.Van Deelen has dem onstrated the propensity to m ake

    ' w hen the courthouse security officeroffered to take the complaint, M r.Van Deelen declined to make
    an ofscialreportand lef4thebuilding.
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 false statem ents under oath,the Courthas grave concernsaboutM r.V an D eelen's affidavitand
 gives it little weight under the circum stances. M oreover, given M r.D eelen's prior conduct
 before the Court and reference to itshooting''during the confirm ation hearing, the Cotlrt has
 concerns about M r.Van Deelen's m entalstability. The Courtconcludes that M r.Van Deelen
 posesa Iegitim ate risk to the safety ofcourthouse staffand litigantsthatoppose hisposition.

        M r.Van Deelen goesto greatlength to assertthatthe Courtcannotsanction him for his
 conductoutside the courtroom and that no courtorder has been entered thathe violated. M r.
 Van Deelen is correct in that statem ent. However,the Courthas the authority and the duty to
 protectthose partiesthatappearbefore it. Further,the Courthasa duty to ensure thatthe federal
 courthouse isa place ofsafety and orderforallpersons who enter. A ccordingly,itis

           O R DERED TH AT :

         1.    M ichaelD .Van Deelen is prohibited from contacting the Courtand its staff by
 any m eans. Any com m unication to the Courtorits staffm ustbe m ade in writing and filed w ith
 the Clerk ofthe Court.

         2.     M ichael D . Van D eelen is prohibited from contacting Joshua Sussberg or any
 member of his fam ily in any m anner. Should M r. Sussberg find it necessary to seek the
 assistance of law enforcem ent ofticials to protect his fam ily and enforce this order,the Court
 requeststhatupon presentation ofa copy ofthis orderand a determ ination thata violation ofthis
 paragraph has occurred, such law enforcement officials should detain M r.Van Deelen and
 transferhim to this Courtforfurtherproceedings.

         3.     A copy of this Order shallbe delivered to the U nited States M arshalfor further
 investigation of M r.Van Deelen's conduct. Further,M r.Van Deelen m ay notenterthe federal
 courthouse exceptwith the escortofa courtsecurity officer.

             4.     A copy of this Order shall be delivered to the United States Attorney for
     investigation ofM r.Van Deelen'sconductin thiscase.

           5.     The requestforsanctionsisdenied.

        6.      ShouldM r.VanDeelen wishto seek relieffrom thisorderorrequestahearing,he
 m ay do so by pleading filed w ithin fourteen days.

                  This orderiseffective upon entry.

           SIG NED :M arch 23,2020.

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                                                 DA     R .JO NES
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                     SOUTHERN DISTRICT O F TEXAS D MAq 24 2222
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 In re:
                                                             Case N o.20-30336
 M CDEIIM OW INTERNATION AL,IN C,etal
                                                             Chapterll
                       Debtorts).




  PARTY IM NTEREST M ICHAEL VAN DEELEN'S REOUEST FP R IS-
                                                        EARINGJ-
                                  PRO PO SED O RD ER


          lnitsOrder(Docket719)enteredon3/23/20,thecourtnotifiedPartylnlnterest
  M ichaelVan Deelen thathe could requesta hearing within 14 daysofthe entry ofthe

  Order.Plaintiffaccordingly requeststheearliestpossibleheming dateand tim e

  ccmsistentwith thecourt'sOrder.
          Van Deelen w illseek,among otherthings,clarification ofthe follow ing during

  thehtaring:
          A . The exactsection ofthe audio m ade during the 3/12/20 Plan Confinnation

  Hearing in w hich the courtclaim sV an D eelen called him a son-of-a-bitch. Plaintiff

  furtherrequeststhatthe courtplay said portion ofthe audio during the hearing.

          B. Clarification on whetherornotthe courtisordering thatV an Deelen is

  prohibited from filinga civillawsuitforassaultand possiblyothercausesofaclion

  againstJoshua Sussberg in HanisCounty D istrictCourt.
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             C . Ctarification on whetherornotthe courtis ordering thatVan Deelen is

      prohibited from filing a federalcivilrights lawsuitagainstDavid R.Jones.

             D . Clarification on the exactdates,tim es,placesand circum stancesin which Van

      Deelen hasbeen disrespectfulto courtpersormel.

             E. Clarification on the qualificationsand training the courthas in diagnosing

      mentalhealth issues.

             F. Claritication on whetherornotthe courthaseverheard Van D eelen say he

      w asgoing to shootsom eone. Ifthe courtclaim s ithaseverheard Van D eelen say he was

      going to shootsom eone,provide clarification on the exactdates,tim es,placesand

       circum stancesundtrw hich the courtheard Van Deelen say those words.

       Houston,Texas

       M arch 23,2020



                                                         Respectfully subm itted,

                                                                              (Ja
                                                         M ichaelV an Deelen
                                                         Party ln Interest
                                                         16215 FriarCircle
                                                         Spring,TX 77379
                                                         832-562-0723
                                                         michaelvandeelen@ gmail.com
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 546 of 550
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                               CERTIFICATE O F SERYICE

     1,M ichaelVan Deelen,do hereby certify thatlcaused a copy ofthe foregoing document
     to be served by the Electronic Case Filing System fortheU nited States Bankruptcy Coun
     forthe Southern DistrictofTexason this23rd day ofM arch,2020.



                                                     #:/'             (Jh
                                                       M ichaelVan D eelen
                                                       16215 FriarCircie
                                                       Spring,TX 77379
                                                       832-562-0723
                                                       michaelvandeelen@ gmail.com
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                         UNIT ED STA TES BA N K RU PTC Y C O U RT
                            SO UTH ERN DISTRICT O F TEXAS
                                  HO USTON DIVISIO N



    In re:
                                                              Case N o.20-30336
    M CDERM O TT IN TERNA TION A L,INC,etal
                                                              Chapter11
                           Debtorls).




                                              O R D ER


             On                   ,2020,a hearing washeld concerning clarification ofthe court's

    Order(Docket719)entered on3/23/20.
    Itisaccordingly

             ORDERED that:
             A.Theexactsection oftheaudiomadeduringthe3/12/20 Plan Confirmation Hearing in

    which the courtclaim sVan Deelen called him a son-of-a-bitch is                      . The

    requested portion ofthe audio was/was notplayed during the hearing.
             B. V an Deelen isnotprohibited from filing a civillawsuitforassaultand possibly other

    causesofaction againstJoshua Sussberg in HarrisCounty D istrictCourt.
             C . Van Deelen is notprohibited from filing a federalcivilrights lawsuitagainstDavid R.

    Jones.
              D . The exactdates,tim es,placesand circum stancesin which V an Deelen hasbeen

    disrespectfulto courtpersorm elare as follows:
    Case 4:21-cv-03369 Document 10-2 Filed on 11/19/21 in TXSD Page 548 of 550
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          E.Thecourthasnoqualificationsortraining in diagnosing mentalhealth issues .



          F. The courthasneverheard V an D eelen say thatVan D eelen w asgoing to shoot

    som eone.

    Houston,Texas

    Dated:                   ,   2020




                                            D AV ID R.JON ES
                                            UN ITED STATES BAN KRUPTCY JU DGE
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                       IN TH E UNITED STATES BA NK R UPTCY C O UR T                               +'lerrl -'<*%*
                         FOR TH E SOU TH ER N DISTRICT O F TEXA S
                                   H O U STO N DIVISIO N                                          ENTERED
                                                                                                   e4/20/2:20

       IN RE:                                           j
                                                              C ASE NO :20-30336
       M CDERM OTT INTERNATIONAL,INC.,e/ j                    C H APTER 11
       aI.,                              j                    (JointlyAdministered)
               Debtors.                                       D AVID R .JO N ES

                                              O RD ER
                                          (DocketNo.723)
           ln its order entered M arch 23, 2020 concerning M ichael D . Van D eelen,the Court
    provided in paragraph 6 ofthe orderthatifM r.V an D eelen w ished to seek relieffrom the M arch
    23,2020 order or requesta hearing,he could do so by filing a pleading w ithin 14 days of the
    order'sentry date(DocketNo.7l9).Theintentoftheparagraphwasto ensurethatno ambiguity
    existed in term s of the Court's directives to M r.V an Deelen and that a proper balance w as
    achieved between public safety and courtaccess.

           On March 24,2020,Mr.Van Deelenfiled apleadingrequesting ahearing (DocketNo.
    723). ln hispleading,M r.Van Deelen identifiessix topics forwhich he seeks('clarifscation.'-
    No other relief is sought. The pleading does nothing m ore than seek to disrupt further the
    legitim ate endsofthe bankruptcy processand hasno legitim atepurpose. The requestforhearing
    isdenied.

           SIG NED :April20,2020.


                                                                          *
                                                  DA     R .JO NES
                                                  U NITED STA TES BA NK R         TCY JUD G E
